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                 INFANTRY RIFLE PLATOON AND SQUAD




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             Army Techniques Publication                                                                  Headquarters
             No. 3-21.8                                                                          Department of the Army
                                                                                         Washington, DC,




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                                                    Preface
               ATP 3-21.8 provides doctrine for the Infantry rifle platoon and squad of the Infantry rifle
               company against a peer threat. This publication describes relationships, organizational roles
               and functions, capabilities and limitations, and responsibilities within the Infantry rifle
               platoon and squad. Techniques, non-prescriptive ways or methods used to perform missions,
               functions, or tasks are discussed in this publication and are intended to be used as a guide.
               They are not prescriptive. This publication supersedes the techniques and employment
               principles of the Infantry rifle platoon and squad in ATP 3-21.8, dated 12 April 2016.
               To comprehend the doctrine contained in this publication, readers must understand the tactics
               in FM 3-90 and FM 3-96. To comprehend how the Infantry rifle platoon organizes and is
               doctrinally employed, the reader must understand the techniques in ATP 3-21.10 and
               ATP 3-21.20.
               The principal audience for ATP 3-21.8 is the commanders, staff, officers, noncommissioned
               officers, and Soldiers within the Infantry battalion. The audience includes the United States
               Army Training and Doctrine Command institutions and components. This publication serves
               as an authoritative reference for personnel developing doctrine, materiel and force structure,
               institutional and unit training, and standard operating procedures for the Infantry rifle platoon
               and squad.
               Commanders, staffs, and subordinates must ensure that their decisions and actions comply
               with applicable U.S., international, and in some cases host-nation laws and regulations.
               Commanders at all levels will ensure that their Soldiers operate in accordance with the law
               of armed conflict and applicable rules of engagement. (See FM 6-27 for additional
               information.)
               ATP 3-21.8 uses joint terms where applicable. Selected joint and Army terms and definitions
               appear in both the glossary and the text. Terms and acronyms for which ATP 3-21.8 is the
               proponent publication (the authority) are marked with an asterisk (*) in the glossary.
               Definitions for which ATP 3-21.8 is the proponent publication are boldfaced in the text and
               the term is italicized. For other definitions shown in the text, the term is italicized, and the
               number of the proponent publication follows the definition.
               ATP 3-21.8 applies to the Active Army, the Army National Guard/the Army National Guard
               of the United States, and the United States Army Reserve unless otherwise stated.
               The proponent of ATP 3-21.8 is the United States Army Maneuver Center of Excellence.
               The preparing agency is the Doctrine and Collective Training Division, Directorate of
               Training and Doctrine, United States Army Maneuver Center of Excellence. Send comments
               and recommendations on DA Form 2028, (Recommended Changes to Publications and
               Blank Forms) to Commander, Maneuver Center of Excellence, Directorate of Training and
               Doctrine, Doctrine and Collective Training Division, ATTN: ATZK-TDD, 1 Karker Street,
               Fort Moore, GA 31905-5410; by email to usarmy.moore.mcoe.mbx.doctrine@army.mil; or
               submit an electronic DA Form 2028.



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                                            Introduction
               ATP 3-21.8 addresses the tactical application of techniques associated with the offense
               and defense for the Infantry rifle platoon and squad. ATP 3-21.8 does not discuss
               defense support of civil authorities (see ADP 3-28 and ATP 3-28.1) and the element of
               stability (see ATP 3-21.10 chapter 4). Employing the techniques addressed in
               ATP 3-21.8 requires using and integrating the techniques found in ATP 3-21.10 and
               ATP 3-21.20 and the tactics and procedures found in FM 3-96, tactics are the
               employment, ordered arrangement, and directed actions of forces in relation to each
               other (ADP 3-90). Procedures are standard, detailed steps that prescribe how to perform
               specific tasks.
               The techniques addressed in ATP 3-21.8 includes the movement and maneuver of units
               in relation to each other, the terrain, and the enemy. Techniques vary with terrain and
               other circumstances; they change frequently as the enemy reacts and friendly forces
               explore new approaches. Applying techniques usually entails acting under time
               constraints with incomplete information. Techniques always require judgment in
               application; they are always descriptive, not prescriptive.
               Fictional scenarios, used as discussion vehicles throughout this publication, illustrate
               different ways an Infantry rifle platoon and squad can accomplish its mission regardless
               of which inherent element (offense or defense) of conventional warfare currently
               dominates. Conventional warfare is a violent struggle for domination between
               nation-states or coalitions of nation-states (FM 3-0). Scenarios focus on potential
               challenges confronting the platoon leader and platoon subordinate leaders in
               accomplishing their mission but are not intended to be prescriptive of how the Infantry
               rifle platoon performs any particular operation.

                 Note. These same scenarios drive the techniques used in ATP 3-21.10 and
                 ATP 3-21.20. The scenarios focus on the techniques used to perform missions,
                 functions, or tasks in support of the Infantry rifle company.


               ATP 3-21.8 incorporates the significant changes in Army doctrinal terminology,
               concepts, constructs, and proven tactics developed during recent operations. It also
               incorporates changes based on newly published Army capstone doctrine and operational
               concept.




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           Introduction




                   Note. The Army’s operational concept is multidomain operations. Multidomain
                   operations are the combined arms employment of joint and Army capabilities to
                   create and exploit relative advantages to achieve objectives, defeat enemy forces,
                   and consolidate gains on behalf of joint force commanders (FM 3-0). Employing
                   Army and joint capabilities makes use of all available combat power from each
                   domain (air, land, maritime, space, and cyberspace) to accomplish missions.
                   Multidomain operations are the Army’s contribution to joint campaigns,
                   spanning the competition continuum. (See FM 3-0 for additional information.)


                 The following is a brief introduction and summary of changes by chapter:
                 Chapter 1 – Organization
                 Chapter 1 focuses on the Infantry rifle platoon and squads’ role and organization, as well
                 as the platoon’s mission, capabilities, and limitations. It provides a discussion on the
                 duties and responsibilities within the platoon and squads.
                 Chapter 2 – Planning and Preparing for Operations
                 Chapter 2 provides small-unit leaders with a framework (troop leading procedures) to
                 analyze a mission, develop a plan, and prepare for an operation. In addition, chapter 2:
                           Discusses parallel planning.
                           Addresses the intelligence preparation of the operational environment.
                           Describes mission command as the Army’s approach to command and
                           control.
                           Provides additional information on the mission variables of METT-TC (I)
                           mission, enemy, terrain and weather, troops and support available, time
                           available, civil considerations, and integrated into the other variables,
                           informational considerations.
                           Discusses mission orders and disciplined initiative.
                 Chapter 3 – Movement and Maneuver
                 Chapter 3 discusses considerations for tactical movement and maneuver. In addition,
                 chapter 3 discusses route selection, navigation and execution, movement formations,
                 movement techniques, and movement during limited visibility.
                 Chapter 4 – Offense
                 Chapter 4 discusses offensive actions to defeat, destroy, or neutralize the enemy. The
                 chapter addresses the characteristics of the offense and describes the four offensive
                 operations (discussion mainly focuses on movement to contact and attack). Chapter 4
                 also discusses—
                            Forms of maneuver (flank attack removed as a form; frontal assault now
                            frontal attack).
                            Offensive control measures and the tactical framework of the offense.



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                          Common offensive planning considerations.
                          Operations during limited visibility.
               Chapter 5 – Defense
               Chapter 5 discusses defensive actions to defeat enemy attacks, gain time, control key
               terrain, protect critical infrastructure, secure the population, and economize forces. The
               chapter addresses the characteristics of the defense and describes the three defensive
               operations (discussion mainly focuses on area defense and retrograde). Chapter 5 also
               discusses—
                           Defensive control measures and tactical framework of the defense.
                           Common defensive planning considerations.
                           Variations of an area defense and position selection.
                           Engagement area development.
                           Fighting position construction.
               Chapter 6 – Tactical Enabling Operations and Activities
               Chapter 6 discusses tactical enabling operations and activities in support of offensive
               and defensive operations. These operations and activities include breaching, relief in
               place, passage of lines, linkup, tactical deception, security, security operations, and troop
               movement.
               Chapter 7 – Patrols and Patrolling
               Chapter 7 provides an overview of patrolling and the patrols conducted by the Infantry
               rifle platoon and squad. It discusses in detail combat and reconnaissance patrols.
               Chapter 7 also discusses—
                          Common patrolling considerations, leader’s reconnaissance, and patrol base
                          activities.
                          Planning and preparation, and coordination measures.
                          Essential and supporting tasks to patrolling.
                          Pre- and post-departure activities.
                          Post patrol activities.
               Chapter 8 – Sustainment
               Chapter 8 discusses the process that the platoon leader and platoon sergeant use to
               anticipate the needs of the Infantry rifle platoon. In addition, chapter 8 addresses—
                           Sustainment responsibilities and relationships within the platoon.
                           Planning, preparation, execution, and assessment for:
                              Supply and field services.
                              Distribution and resupply operations.
                              Maintenance.
                           Tactical combat casualty care.




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           Introduction



                   Appendixes
                   Five appendixes complement the body of this publication. They include:
                             Appendix A: Direct Fires.
                             Appendix B: Fire Support Planning.
                             Appendix C: Machine Gun Employment and Theory.
                             Appendix D: Shoulder-Launched Munitions and Close Combat Missile
                             System.
                             Appendix E: Battle Drills.




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                                                  Chapter 1
                                             Organization

                   The primary mission of the Infantry rifle platoon and squad is to
                   close with the enemy—party identified as hostile against which the
                   use of force is authorized (ADP 3-0)—by means of fire and
                   movement to destroy, capture, or repel an assault by fire, close
                   combat, and counterattack. Fire and movement is the concept of
                   applying fires from all sources to suppress, neutralize, or destroy
                   the enemy, and the tactical movement of combat forces in relation
                   to the enemy (as components of maneuver, applicable at all
                   echelons). At the squad level, fire and maneuver entails a team
                   placing suppressive fire on the enemy as another team moves
                   against or around the enemy (FM 3-96). To succeed, Infantry rifle
                   platoons and squads are aggressive, physically fit, disciplined, and
                   well trained. The inherent strategic mobility of Infantry units
                   dictates a need to be prepared for rapid deployment in response to
                   situations in different operational environments. This chapter
                   focuses on the Infantry rifle platoon and squads’ role as well as the
                   exercise of command and control within the platoon and squad.

             SECTION I – ROLE OF THE INFANTRY RIFLE PLATOON AND
             SQUAD
               1-1. The Infantry rifle platoon and squad as part of the Infantry rifle company within
               the Infantry battalion is organized to conduct combined arms—the synchronized and
               simultaneous application of arms to achieve an effect greater than if each element was
               used separately or sequentially (ADP 3-0)—operations. An operation is a sequence of
               tactical actions with a common purpose or unifying theme (JP 1, Vol 1). The Infantry
               rifle platoon and squad can deploy rapidly and execute missions throughout the range of
               military operations. The rifle platoon and squad conduct effective combat or other
               operations immediately upon arrival in an operational area. This section addresses the
               mission, capabilities, and limitations, and the internal organization of the Infantry rifle
               platoon and squad.

                 Note. ATP 3-21.8 does not address defense support of civil authorities. (See
                 ADP 3-28 and ATP 3-28.1 for information.) It does not address stability
                 operations tasks. (See ATP 3-21.10 and ATP 3-21.20 for information.)




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           Chapter 1




           MISSION, CAPABILITIES, AND LIMITATIONS
                 1-2. The mission of the Infantry rifle platoon is to close with the enemy using fire and
                 movement to destroy or capture enemy forces, or to repel enemy attacks by fire, close
                 combat, and counterattack to control land areas, including populations and resources.
                 The Infantry rifle platoon leader exercises command and control and directs the
                 operation of the platoon and attached units while conducting combined arms warfare
                 throughout the depth of the platoon’s area of operations (AO). Platoon missions,
                 although not inclusive, may include reducing fortified areas, infiltrating and seizing
                 objectives in the enemy’s rear, eliminating enemy force remnants in restricted terrain,
                 securing key facilities and activities, and conducting operations in support of stability
                 operations tasks in the wake of maneuvering forces. Reconnaissance and surveillance
                 operations and security operations remain a core competency of the Infantry rifle platoon
                 and squad.
                 1-3. The following lists capabilities of the Infantry rifle platoon and squad:
                          Offensive and defensive operations in all types of environments, day and
                          night.
                          Seize, secure, occupy, and retain terrain.
                          Destroy, neutralize, suppress, interdict, disrupt, block, canalize, and fix
                          enemy forces.
                          Breach enemy obstacles.
                          Feint and demonstrate to deceive the enemy.
                          Screen and guard friendly units.
                          Reconnoiter, deny, bypass, clear, contain, and isolate. These tasks might be
                          oriented on terrain and enemy.
                          Small-unit operations.
                          Air assault operations.
                          Airborne operations (airborne units only).
                          Operate with mounted forces.
                          Operate with special operations forces.
                          Amphibious operations.
                 1-4. The Infantry rifle platoon and squad has the following limitations:
                          Limited vehicle mobility, the foot speed of organic elements may establish
                          the pace of operations.
                          Vulnerable to enemy armor, artillery, and air assets when employed in open
                          terrain.
                          Vulnerable to enemy chemical, biological, radiological, and nuclear (CBRN)
                          attacks with limited decontamination capability.

           ORGANIZATION OF THE INFANTRY RIFLE PLATOON
                 1-5. The Infantry rifle platoon and its squads (see figure 1-1) can be task organized
                 alone or as a combined arms force based upon the mission variables of METT-TC (I)

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                                                                                              Organization



               mission, enemy, terrain and weather, troops and support available, time available, civil
               considerations, and informational considerations. The platoon’s effectiveness increases
               through the synergy of combined arms including tanks, Bradley fighting vehicles and
               Stryker Infantry carrier vehicles, engineers, and other support elements. The Infantry
               rifle platoon and squad as a combined arms force can capitalize on the strengths of the
               team’s elements while minimizing their limitations.




                                      Figure 1-1. Infantry rifle platoon

               1-6. Infantry units can operate in all terrain and weather conditions. They might be the
               dominant force because of rapid strategic deployment. In such cases, they can take and
               gain the initiative early, seize and retain or control terrain, and mass fires to stop the
               enemy. Infantry units are particularly effective in urban terrain, where they can infiltrate
               and move rapidly to the rear of enemy positions. The leader can enhance their mobility
               by using rotary-wing and fixed-wing aircraft.
               1-7. The fundamental considerations for employing Infantry units result from the
               missions, types, equipment, capabilities, limitations, and organization of units. Other
               capabilities result from a unit’s training program, leadership, discipline, morale,
               personnel strengths, and many other factors. These other capabilities constantly change
               based on the current situation.

            INFANTRY RIFLE SQUAD
               1-8. The Infantry rifle squad’s primary role is as a maneuver or base-of-fire element.
               While the platoon’s task organization may change, the Infantry rifle squad’s
               organization generally remains standard. (See figure 1-2 on page 1-4.)

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           Chapter 1



                 1-9. The squad is comprised of two fire teams and a squad leader. It can establish a
                 base of fire, providing security for another element, or conducting fire and movement
                 with one team providing a base of fire, while the other team moves to the next position
                 of advantage or onto an objective. The squad leader has two subordinate leaders to lead
                 the two teams, freeing the squad leader to control the entire squad.
                 1-10. Fire teams are the fighting element within the Infantry platoon. Infantry platoons
                 and squads succeed or fail based on the actions of their fire teams.
                 1-11. Fire teams are designed as a self-contained team. The automatic rifleman provides
                 an internal base of fire with the ability to deliver sustained suppressive small arms fire
                 on area targets. The rifleman provides accurate, lethal direct fire for point targets. The
                 rifleman may be issued a shoulder-launched munition (known as SLM). The grenadier
                 provides high explosives (HEs) indirect fire for both point and area targets. A team
                 leader leads the team by example.

                   Note. The combat load—the minimum mission-essential equipment and supplies
                   as determined by the commander responsible for carrying out the mission,
                   required for Soldiers to fight and survive immediate combat operations
                   (FM 4-40)—for SLMs is two per rifle squad. Either two M72-series light
                   antitank (AT) weapon, M136-series antitank (AT4), M141 bunker defeat
                   munitions (known as BDMs), or a combination of types with each rifleman
                   normally being issued one.




                                         Figure 1-2. Infantry rifle squad


           INFANTRY WEAPONS SQUAD
                 1-12. The Infantry weapons squad provides the primary base of fire for the platoon’s
                 maneuver. It is comprised of two medium machine gun teams, two medium close
                 combat missile system (known as CCMS) Javelin teams, and a weapons squad leader.
                 (See figure 1-3.)

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                                                                                           Organization




                                   Figure 1-3. Infantry weapons squad


            Medium Machine Gun Team
               1-13. The two-Soldier medium machine gun team is comprised of a gunner and an
               assistant gunner. The weapons squad has two medium machine gun teams. These teams
               provide the platoon with medium-range area suppression at ranges up to 1,100 meters
               during day, night, and adverse weather conditions. (See appendix C for additional
               information.)

            Close Combat Missile System-Javelin Team
               1-14. The two-Soldier CCMS-Javelin team is comprised of a gunner and an ammunition
               handler. The weapons squad has two Javelin teams. This system provides the platoon
               with an extremely lethal fire-and-forget, man-portable, direct- and top-attack capability
               to defeat enemy armored vehicles and destroy fortified positions at ranges up to
               2,000 meters. The Javelin has proven effective during day, night, and adverse weather
               conditions. When the Javelin is replaced with the M3 Multi-role, Antiarmor,
               Antipersonnel Weapon System (known as MAAWS) the team employs the M3 to
               destroy enemy personnel, field fortifications, and enemy vehicles. It engages lightly
               armored targets at ranges up to 700 meters, and soft-skinned vehicles and similar targets
               at ranges up to 1,300 meters. (See appendix D for additional information.)

            INFANTRY RIFLE FORMATIONS
               1-15. Infantry rifle formations (specifically the rifle platoon and squad, and rifle
               company) of the Infantry battalion (of the Infantry brigade combat team [IBCT]) are
               task-organized alone or as a combined arms force based upon the mission variables of
               METT-TC (I). Their effectiveness increases through the synergy of combined arms
               including assault platoon vehicles of the Infantry weapons company, tanks, Bradley
               fighting vehicles and Stryker Infantry carrier vehicles, engineers, and other enabling
               elements. Effective application of the Infantry rifle formations as a combined arms force


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           Chapter 1



                 can capitalize on the strengths of the team’s elements while minimizing their respective
                 limitations. For example, the Infantry rifle company (see ATP 3-21.10) of the Infantry
                 battalion has a headquarters section, three rifle platoons, a mortar section, and an
                 unmanned aircraft system team. Habitual attachments to the Infantry rifle company
                 include a fire support team (FIST) and combat medics. Attachments from the Infantry
                 battalion may include elements from the Infantry weapons company (specifically, the
                 tube launched, optically tracked, wire guided missiles) as well as other elements (see
                 ATP 3-21.20 appendix D). Figure 1-4 shows the internal organization of the Infantry
                 rifle company within the Infantry battalion.




                       Figure 1-4. Infantry rifle formations of the Infantry battalion


             SECTION II – THE EXERCISE OF COMMAND AND CONTROL
                 1-16. The Infantry rifle platoon and squad within the Infantry rifle company can deploy
                 rapidly and can be sustained by an austere support structure. It conducts operations
                 against conventional and unconventional enemy forces in all types of terrain and climate
                 conditions. The platoon’s composition and training uniquely equip it to conduct its
                 mission. In addition to its primary warfighting missions, the rifle platoon and squad may

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                                                                                              Organization



               be tasked to perform other types of operations semi-independently or as an integral part
               of a larger force. This section addresses the exercise of command and control,
               specifically the duties and responsibilities, and habitual attachments of the Infantry rifle
               platoon and squad.

            DUTIES AND RESPONSIBILITIES
               1-17. The duties and responsibilities inherent within the Infantry rifle platoon and squad
               enable the exercise of command and control throughout the conduct of operations.
               Command and control is the exercise of authority and direction by a properly designated
               commander over assigned and attached forces in the accomplishment of the mission
               (JP 1, Vol 2). The command and control warfighting function is the related tasks and a
               system that enable commanders to synchronize and converge all elements of combat
               power (ADP 3-0). Combat power is the total means of destructive and disruptive force
               that a military unit/formation can apply against an enemy at a given time (JP 3-0).

                 Note. Combat power is the ability to fight. The complementary and reinforcing
                 effects that result from synchronized operations that yield a powerful blow that
                 overwhelms enemy forces and creates friendly momentum. Army forces deliver
                 that blow through a combination of five dynamics. The dynamics of combat
                 power are leadership, firepower, information, mobility, and survivability. (See
                 FM 3-0 for additional information on the five dynamics.)


               1-18. Leadership is the most essential dynamic of combat power. Leadership is the
               activity of influencing people by providing purpose, direction, and motivation to
               accomplish the mission and improve the organization (ADP 6-22). It is the multiplying
               and unifying dynamic of combat power, and it represents the qualitative difference
               between units. Leadership drives command and control but is also dependent upon it.
               The collaboration and shared understanding inherent in the operations process (see
               chapter 2) prepare leaders for operations, expand shared understanding, hone leader
               judgment, and improve the flexibility that leaders apply to the other dynamics of combat
               power against enemy forces. Leadership is a critical component that allows unit leaders
               to carry out their duties and responsibilities.
               1-19. During operations, no amount of technology or equipment can take the place of
               competent leadership. The leaders within the platoon and squad lead through a
               combination of personal example, persuasion, and compulsion. The following
               paragraphs address the duties and responsibilities of the key personnel common to the
               Infantry rifle platoon. (See paragraphs 8-2 to 8-5 for sustainment specific responsibilities
               within the platoon and squad.)




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           Chapter 1




                   Note. The duties and responsibilities of leaders and platoon members must be
                   executed even in the absence of a particular leader to ensure mission
                   accomplishment in accordance with the commander’s intent. A mission is the
                   essential task or tasks, together with the purpose, that clearly indicates the action
                   to be taken and the reason for the action (JP 3-0). The commander’s intent is a
                   clear and concise expression of the purpose of an operation and the desired
                   objectives and military end state (JP 3-0). The end state is the set of required
                   conditions that defines achievement of the commander’s objectives (JP 3-0). (See
                   ATP 3-21.10 for additional information.)



           HEADQUARTERS SECTION
                 1-20. The headquarters section provides the platoon with command and control, and
                 communications. It consists of the platoon leader, the platoon sergeant, and the platoon
                 radiotelephone operator (known as RTO).

           Platoon Leader
                 1-21. The platoon leader leads Soldiers by personal example and is responsible for
                 accountability of platoon members, assigned equipment, all the platoon does or fails to
                 do, and having complete authority over the subordinates. This centralized authority
                 enables the platoon leader to maintain unit discipline, unity, and to act decisively. The
                 platoon leader must be prepared to exercise initiative within the company commander’s
                 intent and without specific guidance for every situation. The platoon leader knows the
                 Soldiers of the platoon, how to employ the platoon, its weapons, and its systems. Relying
                 on the expertise of the platoon sergeant, the platoon leader regularly consults with the
                 platoon sergeant on all platoon matters. During operations, the platoon leader—
                            Leads the platoon in supporting the higher headquarters missions. Bases the
                            platoon’s actions on the assigned mission and intent and concept of the higher
                            commander(s).
                            Conducts troop leading procedures (TLP).
                            Maneuvers squads and fighting elements.
                            Synchronizes the efforts of squads.
                            Looks ahead to the next “move” of the platoon.
                            Plans and controls employment of direct and indirect fires.
                            Plans the emplacement and employment of key weapon systems and ensures
                            they are integrated to support the platoon’s maneuver.
                            Knows weapon effects, surface danger zones, and risk estimate distances for
                            the platoon’s weapon systems and supporting fires to synchronize the
                            platoon’s direct and indirect fires with movement.
                            Requests, controls, and synchronizes supporting assets.
                            Employs command and control systems available to the squads and platoon.
                            Confirms that squad leaders are maintaining coverage of assigned primary
                            and secondary sectors of fire in three dimensions.


           1-8                                        ATP 3-21.8




                                                                                                           OAG006598
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                                                                                              Organization



                          Confirms the emplacement and employment of the platoon’s key weapons
                          with the weapons squad leader.
                          Issues accurate and timely reports.
                          Positions where best to control and accomplish the mission.
                          Assigns clear tasks and purposes to the squads.
                          Understands the mission and commander’s intent two levels up (company
                          and battalion).
                          Receives on-hand status reports from the platoon sergeant and squad leaders
                          throughout the operation.
                          Coordinates and assists in the development and implementation of the
                          obstacle plan.
                          Oversees and is responsible for property management.
                          Works to develop and maintain situational awareness, and to the degree
                          possible, situational understanding through the product of four elements:
                              Attempts to know what is happening in present terms of friendly, enemy,
                              neutral, and terrain situations.
                              Knows the end state representing mission accomplishment.
                              Determines the critical actions and events occurring to move the unit from
                              the present to the end state.
                              Assesses the risk throughout the operation.

            Platoon Sergeant
               1-22. The platoon sergeant is the platoon’s most experienced noncommissioned officer
               and second-in-charge, accountable to the platoon leader for leadership, discipline,
               training, maintenance and accountability of assigned equipment, and welfare of the
               platoon’s Soldiers. The platoon sergeant sets the example in everything, advises the
               platoon leader, and assists the platoon leader by upholding standards and platoon
               discipline. The platoon sergeant’s expertise includes tactical maneuver, employment of
               weapons and systems, sustainment, administration, security, accountability, protection,
               and Soldier care. As the second-in-charge, the platoon sergeant assumes no formal duties
               except those prescribed by the platoon leader. However, the platoon sergeant
               traditionally—
                           Ensures the platoon is prepared to accomplish its mission, which includes
                           supervising precombat checks (PCCs), precombat inspections (PCIs), and
                           rehearsals.
                           Updates platoon leader on appropriate reports and forwards reports needed
                           by higher headquarters.
                           Prepares to assume the role and responsibilities of the platoon leader.
                           Takes charge of task-organized elements in the platoon during tactical
                           operations, which may include but is not limited to, quartering parties, special
                           purpose teams, and security patrols.
                           Monitors the morale, discipline, and health of the platoon.
                           Positions where best needed to help the engagement (either with the assault
                           element or base of fire element).


                                                    ATP 3-21.8                                        1-9




                                                                                                      OAG006599
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                            Receives squad leaders’ administrative, logistical, and maintenance reports.
                            Requests logistical support from the higher headquarters, and usually
                            coordinates with the company’s first sergeant or executive officer.
                            Ensures Soldiers maintain all equipment.
                            Ensures ammunition and supplies are properly and evenly distributed after
                            the platoon consolidates on the objective and while the platoon reorganizes.
                            Manages the unit’s combat load prior to operations and monitors logistical
                            status during operations.
                            Establishes and operates the unit’s casualty collection point (CCP). This
                            includes directing the platoon combat medic and aid/litter teams in moving
                            casualties, maintaining platoon strength level information, consolidating and
                            forwarding the platoon’s casualty reports, and receiving and orienting
                            replacements.
                            Employs the available digital command and control systems to the squads
                            and platoon.
                            Ensures Soldiers distribute supplies according to the platoon leader’s
                            guidance and direction.
                            Accounts for Soldiers, equipment, and supplies.
                            Coaches, counsels, and mentors squad leaders and team leaders.
                            Upholds standards and platoon discipline.
                            Understands the mission and commander’s intent two levels up (company
                            and battalion).
                            Assists with preparing the operation order (OPORD) (for example,
                            determining Soldier load and for example, echeloning loads, load
                            determination, and load tailoring [see ATP 3-21.18]).
                            Assists with preparation for rehearsals and priorities of work.

           Platoon Radiotelephone Operator
                  1-23. The RTO primarily is responsible for communication with its controlling
                  headquarters (usually the company). During operations, the RTO—
                            Establishes and maintains platoon communications with higher headquarters
                            and subordinate elements; conducts regular radio checks and immediately
                            informs platoon leaders about any change in communications status.
                            Conducts radio checks with higher according to unit standard operating
                            procedures (SOPs). If radio contact cannot be made as required, the RTO
                            informs the platoon sergeant or platoon leader.
                            Acts as an expert in radio procedures and report formats such as close air
                            support (CAS), call for mortar and artillery fire, medical evacuation
                            (MEDEVAC), or casualty evacuation (CASEVAC).
                            Acts as an expert in different types of field expedient antennas.
                            Maintains the frequencies and call signs on self in a location known to all
                            Soldiers in the platoon.
                            Assists the platoon leader with information management.



           1-10                                      ATP 3-21.8




                                                                                                      OAG006600
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                                                                                             Organization



                          Assists the platoon leader and platoon sergeant employing digital command
                          and control systems with individual squads and platoon.
                          Determines combat load prior to operations and manages battery utilization
                          during operations.
                          Assists with preparing the OPORD (for example, developing the primary,
                          alternate, contingency, and emergency [known as PACE]) communications
                          plan.
                          Assists with preparation for rehearsals (for example, building the platoon
                          sand table).
                          Maintains physical security of communications security devices.

            RIFLE SQUADS
               1-24. The squad leader and two team leaders provide the squad with command and
               control. Additionally, the squad has two rifleman, two automatic rifleman, and two
               grenadiers.

            Squad Leader
               1-25. The squad leader directs team leaders and leads by personal example. The squad
               leader is responsible for the accountability of squad members, has authority over
               subordinates, and overall responsibility of those subordinates’ actions. Centralized
               authority enables the squad leader to act decisively while maintaining troop discipline
               and unity. Under the fluid conditions of close combat, the squad leader accomplishes
               assigned missions without constant guidance from higher headquarters.
               1-26. The squad leader is the senior Infantry Soldier in the squad and is responsible for
               everything the squad does or fails to do. The squad leader is responsible for the care of
               the squad’s Soldiers, weapons, discipline, and equipment, and leads the squad through
               two team leaders. During operations, the squad leader—
                         Acts as the subject matter expert on all squad-level battle drills and individual
                         Soldier tasks.
                         Acts as the subject matter expert for the squad’s organic weapons
                         employment and employment of supporting assets.
                         Knows weapon effects, surface danger zones, and risk estimate distances for
                         munitions used by and with the squad.
                         Uses control measures for direct fire, indirect fire, and tactical movement
                         effectively.
                         Controls the movement of the squad and its rate and distribution of direct
                         fires.
                         Controls the employment of indirect fires within the squad (including call for
                         and adjust fire).
                         Fights the close fight by fire and movement with two fire teams and available
                         supporting weapons.
                         Selects the fire team’s general location and initial sector of fires.



                                                   ATP 3-21.8                                      1-11




                                                                                                     OAG006601
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           Chapter 1



                             Communicates timely and accurate situation reports and status reports
                             including—
                                 Size, activity, location, unit, time, and equipment (SALUTE) spot reports.
                                 Status to the platoon leader (including squad location and progress,
                                 enemy situation, enemy killed in action, and security posture).
                                 Status of ammunition, casualties, and equipment to the platoon sergeant.
                             Employs digital command and control systems available to the squad and
                             platoon.
                             Ensures Soldiers maintain all equipment and account for equipment and
                             supplies.
                             Operates in all environments.
                             Conducts TLP.
                             Coaches, counsels, and mentors team leaders.
                             Assumes duties as the platoon sergeant or platoon leader as required.
                             Understands the mission and commander’s intent two levels up (platoon and
                             company).

           Team Leader
                  1-27. The team leader leads the rifle team members by personal example, is responsible
                  for accountability of team members, and has authority over subordinates and overall
                  responsibility of their actions. Centralized authority enables the team leader to maintain
                  discipline and unity and to act decisively. Under the fluid conditions of close combat,
                  the team leader accomplishes assigned missions using initiative without needing
                  constant guidance from higher headquarters.
                  1-28. The team leader’s position on the battlefield requires immediacy and accuracy in
                  all performed actions and is a fighting leader who leads by example. The team leader is
                  responsible for all the team does or fails to do, and is responsible for caring of the team’s
                  Soldiers, discipline, weapons, and equipment. During operations, the team leader—
                             Acts as a subject matter expert for all the team’s weapons and duty positions
                             and all squad battle drills and individual Soldier tasks.
                             Leads the team in fire and movement.
                             Controls the movement of the team and its rate and distribution of fire.
                             Employs digital command and control systems available to the squad and
                             platoon.
                             Ensures the security of the team’s AO.
                             Assists the squad leader as required.
                             Prepares to assume the duties of squad leader and platoon sergeant.
                             Enforces field discipline and preventive medicine measures.
                             Manages the team’s combat load and its available classes of supply as
                             required.
                             Understands the mission two levels up (squad and platoon).




           1-12                                         ATP 3-21.8




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                                                                                          Organization



            Grenadier
               1-29. The grenadier is equipped with a 40-millimeter (mm) grenade launcher. The
               grenadier provides the fire team with a high trajectory and an HE capability. Grenadier
               fires enable the fire team to achieve complementary effects with high trajectory, HE
               munitions, and flat trajectory ball ammunition from the team’s weapons. The grenade
               launcher allows the grenadier to produce three effects: suppress and destroy enemy
               Infantry and lightly armored vehicles with HE or high explosive dual purpose (known
               as HEDP); provide obscurants to screen and cover the squad’s fire and movement; and
               employ illumination rounds to increase the squad’s visibility and mark enemy positions.
               The grenadier—
                          Accomplishes the same tasks of the rifleman.
                          Engages targets with appropriate type of rounds both day and night.
                          Covers dead space and denies dead space to the enemy.
                          Identifies 40-mm rounds by shape and color and knows how to employ each
                          type of round and its minimum safety constraints.
                          Knows the maximum ranges for each type of target of the grenade launcher.
                          Knows the leaf sight increments without seeing the markings.
                          Knows how to make an adjustment from the first round fired so a
                          second-round hit can be attained.
                          Loads the grenade launcher quickly in all firing positions and while running.
                          Prepares to assume the duties of the automatic rifleman and team leader.
                          Understands the mission two levels up (squad and platoon).

                 Note. In some cases, the team leader will assume the primary weapon system and
                 responsibilities of the grenadier in order to mitigate for a missing team member
                 or create an extra rifleman to assume additional duties within the squad.


            Automatic Rifleman
               1-30. The automatic rifleman’s primary weapon is the light machine gun. The automatic
               rifleman provides the unit with a high volume of sustained suppressive direct fires of
               area targets. The automatic rifleman employs the weapon system to suppress enemy
               Infantry and bunkers, destroy enemy automatic rifle and AT teams, and enable the
               movement of other teams and squads. The automatic rifleman is normally the senior
               Soldier of the fire team and must—
                          Be able to accomplish all tasks of the rifleman and grenadier.
                          Be prepared to assume the duties of team leader and squad leader.
                          Be able to engage groups of enemy personnel, thin-skinned vehicles, bunker
                          doors or apertures, and suspected enemy locations with automatic fire.
                          Be able to provide suppressive fire on these targets so other team members
                          can close with and destroy the enemy.
                          Be familiar with field expedient firing aids to enhance the effectiveness of
                          assigned weapon (an example is aiming stakes).


                                                  ATP 3-21.8                                     1-13




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                             Be able to engage targets from the prone, kneeling, and standing positions
                             with and without night observation devices.
                             Understand the mission two levels up (squad and platoon).

           Rifleman
                  1-31. The rifleman provides the baseline standard for all Infantry Soldiers and is an
                  integral part of the fire team. The rifleman is an expert in handling and employing the
                  weapon and placing well-aimed fire on the enemy. Additionally, the rifleman must—
                             Be an expert on assigned weapon system, its optics, and its laser-aiming
                             device, and is effective with this weapon system day or night.
                             Be capable of engaging all targets with well-aimed shots (specifically through
                             correct positioning on the battlefield and marksmanship proficiency).
                             Employ all weapons of the squad, as well as common munitions.
                             Construct and occupy a hasty firing position and know how to fire from it.
                             Know how to occupy covered and concealed positions in all environments
                             and what protection they provide from direct fire weapons and is competent
                             in the performance of these tasks while using night vision devices.
                             Fight as part of the team, which includes proficiency in individual tasks and
                             drills.
                             Know the duties of team members and is prepared to fill in with their
                             weapons, if needed (for example, assume the duties of the automatic rifleman
                             and team leader).
                             Contribute as a member of special teams, including detainee search, aid/litter,
                             and demolitions and wire/mine breach teams.
                             Inform team leader of everything heard and seen when in a tactical situation.
                             Perform individual preventive medical measures.
                             Administer buddy aid as required.
                             Manage supplied food, water, and ammunition during operations.
                             Understand the mission two levels up (squad and platoon).

           WEAPONS SQUAD
                  1-32. The weapons squad leader provides the squad with command and control. The
                  squad has two machine gunners, two assistant machine gunners, two Javelin (or M3)
                  gunners, and two Javelin (or M3) ammunition handlers. The weapons squad provides
                  the platoon with responsive crew served weapons and an antiarmor capability under the
                  platoon leader’s direct control. The M3 MAAWS, when replacing the Javelin, provides
                  the platoon with an antiarmor and antipersonnel capability. The team employs the M3
                  to destroy enemy personnel, field fortifications, and enemy vehicles.

           Weapons Squad Leader
                  1-33. The weapons squad leader leads the squad’s teams by personal example. The
                  weapons squad leader is responsible for the accountability of squad members and has
                  complete authority over squad subordinates and overall responsibility for those


           1-14                                        ATP 3-21.8




                                                                                                         OAG006604
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                                                                                           Organization



               subordinates’ actions. This centralized authority enables the weapons squad leader to
               act decisively while maintaining troop discipline and unity. Under the fluid conditions
               of modern warfare, the weapons squad leader accomplishes assigned missions using
               disciplined initiative without needing constant guidance from higher headquarters.
               1-34. The weapons squad leader is usually the senior squad leader, second only to the
               platoon sergeant, and performs all the duties of the rifle squad leader. In addition, the
               weapons squad leader—
                         Acts as the subject matter expert on all squad battle drills, crew drills, and
                         individual Soldier tasks.
                         Acts as the subject matter expert for the squad’s organic weapons
                         employment and employment of supporting assets.
                         Knows weapon effects, surface danger zones, and risk estimate distances for
                          munitions used by and with the squad.
                         Controls fires and establishes fire control measures.
                         Monitors ammunition expenditure.
                         Recommends medium machine gun and Javelin-CCMS (or M3 MAAWS)
                         employment to the platoon leader, for example:
                             Coordinates directly and plans accordingly with the platoon leader in
                             placement of the medium machine gun to best cover (base-of-fire effect)
                             the final protective line (FPL) in the defense, overwatch—a task that
                             positions an element to support the movement of another element with
                             immediate fire (ATP 3-21.10)—positions during movement techniques,
                             and support by fire positions in the offense (see appendix C).
                             Coordinates directly and plans accordingly with the platoon leader in
                             placement of the Javelin CCMS (or M3 MAAWS) to best cover armored
                             avenues of approach in the defense, overwatch positions during
                             movements techniques, and attack by fire—a tactical mission task using
                             direct and indirect fires to engage an enemy from a distance (FM 3-90)—
                             positions in the offense (see appendix D).
                         Employs command and control systems available to the squad and platoon.
                         Performs the role of the platoon sergeant as required.
                         Conducts TLP.
                         Understands the mission and commander’s intent two levels up (platoon and
                          company).

            Machine Gunner
               1-35. The gunner is normally the senior member of the medium machine gun team.
               During operations, the gunner—
                         Is responsible for the assistant gunner and all the gun equipment.
                         Is responsible for putting the gun in and out of action.
                         Acts as the subject matter expert for information contained in TC 3-22.240,
                         specifically information about the weapon, aiming devices, attachments, and
                         employment/engagement.



                                                   ATP 3-21.8                                     1-15




                                                                                                   OAG006605
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                             When attached to a rifle squad, is the subject matter expert for employment
                             of the medium machine gun and advises the rifle squad leader of the best way
                             to employ the medium machine gun.
                             Enforces field discipline while the gun team is employed tactically.
                             Knows the ballistic effects of the weapon on all types of targets.
                             Assists the weapons squad leader and is prepared to assume the
                             responsibilities.
                             Understands the mission two levels up (squad and platoon).

           Assistant Machine Gunner
                  1-36. The assistant gunner is the second member of the gun team. The assistant gunner
                  is prepared to assume the gunner’s role in any situation. During operations, the assistant
                  gunner—
                             Provides a supply of ammunition to the gun when employed.
                             Spots rounds and reports recommended corrections to the gunner.
                             Constantly updates the weapons squad leader on the round count and
                             serviceability of the medium machine gun.
                             Watches for Soldiers to the flanks of the target area or between the gun and
                             target.
                             Obtains ammunition from other Soldiers who are carrying 7.62-mm machine
                             gun ammunition.
                             Immediately assumes the role of gunner if the gunner is unable to continue
                             duties.
                             Understands the mission two levels up (squad and platoon).

           Javelin Gunner
                  1-37. The gunner is normally the senior member of the Javelin CCMS (M3 MAAWS
                  when replacing the Javelin) team. During operations, the gunner—
                            Is responsible for the ammunition handler and all the missile equipment.
                            Is responsible for putting the Javelin (or M3) in and out of action.
                            Acts as the subject matter expert for information contained in TC 3-22.37,
                            specifically information about the missile, launch tube assembly, battery
                            coolant unit, command launch unit (known as CLU), and
                            employment/engagement. (See TC 3-22.84 for information on the M3.)
                            When attached to a rifle squad, is the subject matter expert for employment
                            of the Javelin (or M3) and advises the rifle squad leader of the best way to
                            employ the missile.
                            Enforces field discipline while the Javelin (or M3) team is employed
                            tactically.
                            Knows the ballistic effects of the missile on all types of targets.
                            Assists the weapons squad leader and is prepared to assume the
                            responsibilities.
                            Understands the mission two levels up (squad and platoon).


           1-16                                        ATP 3-21.8




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                                                                                          Organization



            Javelin Ammunition Handler
               1-38. The ammunition handler is the second member of the Javelin CCMS (M3 when
               replacing the Javelin) team. The ammunition handler is prepared to assume the gunner’s
               role in any situation. During operations, the ammunition handler—
                          Provides a supply of missile rounds to the gun when employed.
                          Spots rounds and reports recommended corrections to the gunner.
                          Constantly updates the weapons squad leader on the round count and
                          serviceability of the Javelin missile system (or M3 MAAWS).
                          Watches for Soldiers to the flanks of the target area or between the Javelin
                          (or M3) and target.
                          Obtains ammunition (when carried) from other Soldiers within the platoon.
                          Immediately assumes the role of gunner if the gunner is unable to continue
                          duties.
                          Understands the mission two levels up (squad and platoon).

            ADDITIONAL DUTIES
               1-39. Additional duties assigned within the platoon normally include the assignment of
               squad-designated marksmen and CLSs with aid bag within each squad. These additional
               duties and the numbers required are dependent on the mission variables of
               METT-TC (I).

            Squad-Designated Marksman
               1-40. The squad-designated marksman (known as SDM) employs an optically enhanced
               general-purpose weapon. The SDM receives training available within the unit’s
               resources to improve the squad’s precision engagement capabilities at short and medium
               ranges.
               1-41. A rifleman may be assigned as the SDM. The SDM is chosen for the rifleman’s
               demonstrated shooting ability, maturity, reliability, good judgment, and experience. The
               SDM must be able to execute the entire range of individual and collective rifleman tasks
               within the squad.
               1-42. The SDM is not the squad sniper, though the SDM is a fully integrated member
               of the rifle squad and provides an improved capability for the rifle squad. The SDM does
               not operate as a semi-autonomous element on the battlefield as a sniper, nor does the
               SDM routinely engage targets at the extreme ranges common to snipers. (See TC 3-22.9
               for additional information.)

            Combat Lifesaver
               1-43. The CLS is a nonmedical Soldier trained to provide appropriate tactical combat
               casualty care (TCCC) skills beyond the level of self-aid or buddy aid. The CLS is not
               intended to take the place of medical personnel. Using specialized training, the CLS can
               slow deterioration of a wounded Soldier’s condition until treatment by medical
               personnel is possible. Each certified CLS is issued a CLS aid bag and should have a

                                                  ATP 3-21.8                                     1-17




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           Chapter 1



                  laminated quick reference GTA 08-01-004 (MEDEVAC Request Card). Whenever
                  possible, the platoon leader ensures each fire team includes at least one CLS. (See
                  chapter 8 section II for additional information on CLSs.) The CLS—
                             Ensures that the squad CLS bags and litters are properly packed and stored.
                             Identifies Class VIII shortages to the platoon medic.
                             Applies appropriate TCCC skills for injuries and participates in all manual
                             and litter-carry drills.
                             Uses appropriate TCCC skills in the field until casualties can be evacuated or
                             medical personnel take over.
                             Assists medical personnel in providing TCCC and preparing patients for
                             evacuation.
                             Knows the location of the CCP and the unit’s tactical SOP for establishing it.
                             Initiates DD Form 1380 (Tactical Combat Casualty Care [TCCC] Card),
                             when required (see paragraph 8-52).

                    Note. Leaders within the platoon should make the CLS program a training
                    priority.


           HABITUAL ATTACHMENTS
                  1-44. Habitual attachments for the Infantry rifle platoon normally include a platoon
                  forward observer (FO) team and a platoon combat medic. These habitual attachments
                  are normally attached whenever the platoon deploys.

           FORWARD OBSERVER
                  1-45. The FO, along with FO’s fire support RTO, is the platoon subject matter expert
                  on indirect fires planning and execution. The FO advises the platoon leader and
                  subordinate leader on the employment and execution for all fire support assets (if
                  assigned), including company mortars, battalion mortars, field artillery, and other
                  allocated fire support assets. The FO is responsible for locating targets and calling for
                  and adjusting indirect fires. The platoon FO team also knows the mission and concept
                  of operations, specifically the platoon’s scheme of maneuver and concept of fires. The
                  FO also—
                             Informs the company FIST of the platoon’s situation, location, and indirect
                             fire support requirements.
                             Prepares and uses maps, overlays, and terrain sketches.
                             Calls for and adjusts indirect fires.
                             Operates as a team with the fire support RTO.
                             Selects targets to support the platoon’s mission.
                             Selects observation posts and movement routes to and from selected targets.
                             Operates digital message devices and maintains communication with the
                             company and battalion fire support officers.


           1-18                                        ATP 3-21.8




                                                                                                        OAG006608
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                                                                                            Organization



                          Maintains grid coordinates of current location.
                          Prepares to employ Army aviation attack and reconnaissance, and joint and
                          multinational CAS assets.

            COMBAT MEDIC
               1-46. Combat medics are allocated to Infantry rifle companies based on one combat
               medic per platoon, and one senior combat medic per company. The platoon combat
               medic or the company senior combat medic goes to the casualty’s location, or the
               casualty is brought to the combat medic at the CCP. The CCP combat medic makes an
               assessment, administers initial medical care, initiates a DD Form 1380 (see
               paragraph 8-31), then requests evacuation or returns the individual to duty.
               1-47. The Infantry platoon combat medic usually locates with, or near, the platoon
               sergeant. When the platoon moves on foot in the platoon column formation, the combat
               medic positions near the platoon sergeant. If the platoon is mounted, the combat medic
               usually rides in the same vehicle as the platoon sergeant. Emergency medical treatment
               procedures performed by the combat medic may include opening an airway, starting
               intravenous fluids, controlling hemorrhage, preventing, or treating for shock, splinting
               fractures, or suspected fractures, and providing relief for pain.
               1-48. The Infantry platoon combat medic is trained under the supervision of the
               battalion surgeon or physician’s assistant and medical platoon leader. The platoon
               combat medic is under the direct supervision of company senior combat medic when
               attached to the company. The platoon combat medic—
                          Triages injured, wounded, or ill friendly and enemy personnel for priority of
                          treatment.
                          Conducts sick call screening.
                          Assists in the evacuation of sick, injured, or wounded personnel under the
                          direction of the platoon sergeant.
                          Assists in the training of the platoon’s CLSs in enhanced first-aid procedures.
                          Requisitions Class VIII supplies from the battalion aid station for the platoon
                          (individual first aid kit, CLS, aid bag) according to the tactical SOP.
                          Recommends locations for platoon CCP, when established.
                          Provides guidance to the platoon’s CLSs as required.




                                                   ATP 3-21.8                                      1-19




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                                                Chapter 2
                   Planning and Preparing for Operations

                   The platoon leader is the primary planner that receives the warning
                   order (WARNORD), operation order (OPORD), and fragmentary
                   order (FRAGORD) from the company and develops the platoon
                   plan to support the company’s mission. The platoon sergeant, squad
                   leaders, forward observer (FO), radiotelephone operator (known as
                   RTO) and other personnel may assist the platoon leader. The platoon
                   leader employs troop leading procedures (TLP) to develop the plan
                   and prepare for the mission. (See ATP 3-21.10 for additional
                   information.)

             SECTION I – INFANTRY SMALL-UNIT LEADERS
               2-1. Infantry small-unit leaders use TLP when working alone or with a small group to
               solve tactical problems. For example, an Infantry rifle platoon leader may use the
               platoon sergeant, squad leaders, RTO, and the FO to assist during TLP. The type,
               amount, and timeliness of information passed from higher to lower directly impact the
               lower unit leader’s TLP.




                                                 ATP 3-21.8                                    2-1




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                          Operational Framework and Terrain Management
                   In the context of the operational framework—a cognitive tool used
                   to assist commanders and staffs in clearly visualizing and
                   describing the application of combat power in time, space, purpose,
                   and resources in the concept of operations (ADP 1-01)—the platoon
                   will be tasked to conduct combat operations within some portion of
                   a higher command’s operational framework. As a visualization tool,
                   the operational framework bridges the gap between a commander’s
                   assessment of the operational environment, including all domains
                   and dimensions, and its need to generate detailed orders that direct
                   operations.
                   Within an operation, commanders will designate appropriate
                   graphics, direct fire control measures, and defensive positions (or
                   offensive actions) to synchronize the employment of combat power.
                   They may create new models to fit the circumstances, but they
                   generally apply a combination of common models according to
                   doctrine. Commanders may use any operational framework model
                   they find useful, but they must remain synchronized with their higher
                   echelon headquarters’ operational framework. The three models
                   commonly used to build an operational framework are:
                       Assigned areas (types include area of operations [AO], zone
                       [see chapter 4], and sector [see chapter 5]).
                       Deep, close, and rear operations (within deep, close, and rear
                       areas respectively).
                       Main effort, supporting effort, and reserve.
                   Assigning areas to subordinates is a key operational framework and
                   terrain management—the process of allocating terrain by specifying
                   locations for units and activities to deconflict activities that might
                   interfere with each other (FM 3-90)—consideration for headquarters
                   at every echelon. For example, a platoon is assigned a battle
                   position to provide direct fires into an engagement area or an axis
                   of advance or direction of attack to control its movement to an
                   objective. When appropriate, leaders may further subdivide their
                   assigned area into assigned areas for their subordinate formations.
                   A higher headquarters remains responsible for any area not
                   assigned to a subordinate unit. A unit moving through or delivering
                   effects into another unit’s assigned area must coordinate with the
                   assigned unit. (See FM 3-0 and FM 3-90 for additional information.)




           2-2                                   ATP 3-21.8




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            OPERATIONS PROCESS
               2-2. TLP begin when the small-unit leader receives the first indication (for example, a
               WARNORD or FRAGORD) of an upcoming mission and continues throughout the
               operations process—the major command and control activities performed during
               operations: planning, preparing, executing, and continuously assessing the operation
               (ADP 5-0). During the operations process, TLP are not a hard and fast set of rules. Some
               actions may be performed simultaneously or in an order different from those shown in
               the example outline in figure 2-1 on page 2-4. The outline is a guide to apply consistent
               with the situation and experience of the platoon leader and platoon subordinate leaders.
               The tasks involved in some actions (such as initiate movement, issue the WARNORD,
               and conduct reconnaissance) may recur several times during the process. (See
               ATP 3-21.10 for additional information on the operations process.)




                                                   ATP 3-21.8                                      2-3




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                                Figure 2-1. Troop leading procedures outline

                 2-3. In addition to the major activities of the operations process, the small-unit leader
                 uses several integrating processes to synchronize specific functions throughout the
                 operations process. Specifically, they include:
                            Intelligence preparation of the operational environment (known as IPOE)
                            process, see paragraphs 2-4 to 2-7.
                            Targeting, see appendix B.
                            Information collection (specifically reconnaissance and surveillance), see
                            note below and paragraphs 2-102 to 2-106.



           2-4                                        ATP 3-21.8




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                          Risk management, see paragraphs 2-26 to 2-33.
                          Knowledge management, see paragraph 2-9.

                 Note. Reconnaissance is a mission undertaken to obtain information about the
                 activities and resources of an enemy or adversary, or to secure data concerning
                 the meteorological, hydrographic, geographic, or other characteristics of a
                 particular area, by visual observation or other detection methods (JP 2-0).
                 Reconnaissance is one part of information collection; the other three parts that
                 comprise information collection are security, intelligence operations, and
                 surveillance. Surveillance is the systematic observation of aerospace,
                 cyberspace, surface or subsurface areas, places, persons, or things by visual,
                 aural, electronic, photographic, or other means (JP 3-0). Although there are
                 similarities between reconnaissance and surveillance to facilitate information
                 collection, reconnaissance collection uses multiple means, including
                 surveillance, to find information by systematically checking multiple locations
                 in a designated AO.


               2-4. IPOE is the systematic process of analyzing the mission variables of enemy,
               terrain, weather, and civil considerations, and integrated into these variables,
               informational considerations in an area of interest to determine their effect on
               operations. An area of interest is that area of concern to the commander, including the
               area of influence, areas adjacent to it, and extending into enemy territory (JP 3-0).
               Although there are four steps to the IPOE process, it is important to note that IPOE is a
               continuous process and one required by the small-unit leader for use during TLP.
               Continuous analysis and assessment (specifically informal assessments by the small-
               unit leader) are necessary to maintain situational understanding of an operational
               environment—the aggregate of the conditions, circumstances, and influences that affect
               the employment of capabilities and bear on the decisions of the commander (JP 3-0)—
               in constant flux. The ranges of a small unit’s tactical movement and maneuver
               capabilities typically define its area of influence—an area inclusive of and extending
               beyond an operational area wherein a commander is capable of direct influence by
               maneuver, fire support, and information normally under the commander’s command or
               control (JP 3-0); however, leaders consider all forms of contact they can make with
               enemy forces when visualizing their area of influence. (See ATP 2-01.3 for additional
               information.) The four steps of the IPOE process are:
                          Define the operational environment.
                          Describe environmental effects on operations.
                          Evaluate the threat.
                          Determine threat COAs (most likely and least likely [additionally most
                          dangerous]).
               2-5. Although the platoon leader does prepare IPOE products for use in preparation of
               analysis, and orders, the leader does not generally prepare individual products for
               subordinates. The platoon leader must be able to use the products of the battalion’s IPOE



                                                   ATP 3-21.8                                      2-5




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                 effectively during mission analysis and be able to inform subordinates based on the
                 compilation of platoon and higher IPOE products.
                 2-6. The intelligence staff at the battalion intelligence cell develops and provides the
                 IPOE products required by the small-unit leader for use during TLP. Small-unit leaders
                 should not need to do any other refinement of these products. The following includes
                 standard IPOE products provided by the battalion to assist the small-unit leader during
                 TLP:
                            Threat situation templates (known as SITEMPs) and course of action (COA)
                            statements.
                            Terrain and weather products.
                            Tactical decision aids (such as modified combined obstacle overlays
                            [MCOOs] and terrain effects evaluations, weather forecast charts, weather
                            effects matrices, and light and illumination data tables).
                            Civil considerations tools and products.

                   Note. Company commanders coordinate (and provide to their platoon leaders as
                   required) with the battalion intelligence cell for any IPOE products or tools they
                   may need.


                 2-7. Due to the lack of a staff and resources, as well as time constraints, the small-unit
                 leader depends on the timely delivery of IPOE products developed by higher
                 headquarters tailored to support small-unit planning. Specifically, the components of
                 IPOE inform TLPs steps 2 through 6 and actions (for example, information collection)
                 within the TLP.
                 2-8. The last action (activities associated with supervising and refining the plan) occurs
                 continuously throughout TLP and execution of the mission. The information in
                 section II concerning TLP assumes the small-unit leader will plan in a time-constrained
                 environment. All steps should be done, even if in abbreviated fashion. As such, the
                 suggested techniques are oriented to help a leader quickly develop and issue a mission
                 order.




           2-6                                        ATP 3-21.8




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                 Note. Mission command is the Army’s approach to command and control that
                 empowers subordinate decision making and decentralized execution appropriate
                 to the situation (ADP 6-0). Leaders use mission command, with its emphasis on
                 seizing, retaining, and exploiting operational initiative, through mission orders.
                 Mission orders are directives that emphasize to subordinates the results to be
                 attained, not how they are to achieve them (ADP 6-0). Disciplined initiative—as
                 it relates to mission command describes individual initiative. Mission command
                 requires the company commander to convey a clear commander’s intent and
                 concept of operations to subordinates leaders. Concept of operations is a
                 statement that directs the manner in which subordinate units cooperate to
                 accomplish the mission and establishes the sequence of actions the force will use
                 to achieve the end state (ADP 5-0). Often, subordinates acting on the higher
                 commander’s intent develop the situation in ways that exploit unforeseen
                 opportunities. (See ATP 3-21.10 for additional information.)


               2-9. Knowledge management is the process of enabling knowledge flow to enhance
               shared understanding, learning, and decision making (ADP 6-0). The purpose of
               knowledge management is to align people, processes, and tools within the organizational
               structure and culture to achieve shared understanding. This alignment improves
               collaboration and interaction between leaders and subordinates and information sharing
               with subordinate units and higher echelon headquarters. (See ATP 3-21.20 for
               information on knowledge management.)

            PROCESS COMPARISONS AND INITIAL
            CONSIDERATIONS
               2-10. Leaders start the operations process by identifying their units’ mission—the
               essential task or tasks, together with the purpose, that clearly indicates the action to be
               taken and the reason for the action (see JP 3-0). Throughout the process leaders remain
               flexible. They adapt TLP to fit the situation rather than try to alter the situation to fit a
               preconceived idea of how events should flow. At all levels, developing and describing
               the vision of leaders requires time, explanation, and ongoing clarification.

            PARALLEL PLANNING
               2-11. All leaders understand that their next higher commander’s concept of operations
               continues to mature, and continue parallel planning as it does so, up until execution.
               Parallel planning occurs when two or more echelons plan the same operation at about
               the same time. Parallel planning is easiest when the higher headquarters continuously
               shares information on future operations with subordinate units. For example, rather than
               waiting until the platoon leader finishes planning, the squad leader starts to develop the
               squad’s mission as information is received and fleshes out the mission as more
               information becomes available. Figure 2-2 on page 2-8 illustrates the parallel sequences
               of the TLP of the company with the TLP of its platoons and the TLP of the platoon with
               the TLP of its squads.

                                                    ATP 3-21.8                                         2-7




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                                          Figure 2-2. Parallel planning


           SEQUENCING OF STEPS
                 2-12. Normally, the first three steps (receive the mission, issue a WARNORD, and
                 make a tentative plan) of TLP (see paragraph 2-16) occur in order. However, the
                 sequence of subsequent steps is based on the situation. The tasks involved in some steps
                 for example, initiate movement and conduct reconnaissance may occur several times.
                 The last step, supervise and refine, occurs throughout.
                 2-13. A tension exists between executing current operations and planning for future
                 operations. Small-unit leaders must balance both. If engaged in a current operation, there
                 is less time for TLP. If in a lull, transition, or an assembly area—an area a unit occupies
                 to prepare for an operation (FM 3-90), leaders have more time to use TLP thoroughly.
                 In some situations, time constraints or other factors may prevent leaders from
                 performing each step of TLP as thoroughly as they would like. For example, during
                 Step 3 – Make a Tentative Plan, small-unit leaders often develop only one acceptable
                 COA vice multiple COAs. If time permits, leaders may develop, compare, and analyze
                 several COAs before arriving at a decision on which one to execute.

           INITIAL WARNING ORDER OR NEW MISSION
                 2-14. Small-unit leaders begin TLP once the initial WARNORD or a new mission is
                 received. As each subsequent order arrives, the leader modifies assessments, updates
                 tentative plans, and continues to supervise and assess preparations. In most situations,

           2-8                                        ATP 3-21.8




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               leaders will not receive or issue more than one WARNORD; security considerations
               and/or tempo make it impractical to do so. Leaders carefully consider decisions to
               eliminate WARNORDs. Subordinates always need to have enough information to plan
               and prepare for their mission. In other cases, TLP are started before receiving a
               WARNORD based on existing plans and orders (contingency plans or be-prepared
               missions) and on subordinate leaders’ understanding of the situation.

                 Note. Leaders filter relevant information into the categories of the mission
                 variables of METT-TC (I) mission, enemy, terrain and weather, troops and
                 support available, time available, civil considerations, and informational
                 considerations. METT-TC (I) represents the variables leaders use to analyze and
                 understand a situation in relationship to the unit’s mission. The first six variables
                 are not new. However, the increased use of information (both military and
                 civilian) to generate cognitive effects requires leaders to assess the informational
                 aspects and impacts on operations continuously. Because of this, informational
                 considerations, represented with (I) has been added to the familiar METT-TC
                 mnemonic. Informational considerations is expressed as a parenthetical variable
                 in that it is not an independent variable, but an important component of each
                 variable of METT-TC that leaders pay particular attention to when developing
                 understanding of a situation. (See paragraph 2-89 for additional information.)


               2-15. Parallel planning hinges on distributing information as it is received or developed.
               Subordinate leaders cannot complete their plans until they receive their unit mission. If
               each successive WARNORD contains enough information, the higher command’s final
               order should confirm what subordinate leaders have already analyzed and put into their
               tentative plans. In other cases, the higher command’s order may cause subordinates to
               conduct additional planning.

             SECTION II – SMALL-UNIT TROOP LEADING PROCEDURES
               2-16. Troop leading procedures are a dynamic process used by small-unit leaders to
               analyze a mission, develop a plan, and prepare for an operation (ADP 5-0). TLP
               comprise a sequence of actions helping the leader use available time effectively and
               efficiently to issue orders and execute an assigned mission. (See GTA 07-10-003
               [Infantry Reference Card for Small Unit Leaders {Troop Leading Procedures}] for
               additional information.) TLP eight steps are as follows:
                          Step 1. Receive the mission.
                          Step 2. Issue a WARNORD.
                          Step 3. Make a tentative plan.
                          Step 4. Initiate movement.
                          Step 5. Conduct reconnaissance.
                          Step 6. Complete the plan.
                          Step 7. Issue the order.
                          Step 8. Supervise and refine.

                                                   ATP 3-21.8                                        2-9




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           STEP 1 – RECEIVE THE MISSION
                  2-17. Leaders may receive one or more WARNORDs prior to receipt of the company
                  OPORD. In a time-constrained environment, they may not receive their mission until
                  receipt of the company OPORD. In the worst case, units may receive a change of mission
                  while in execution, or even realize themselves the requirement for a new mission to
                  achieve a higher commander’s intent. When units conduct parallel planning, subordinate
                  leaders will have a greater understanding of future missions, whether an order is issued
                  or not.
                  2-18. Upon receipt of the order, leaders conduct an initial analysis of the mission
                  variables of METT-TC (I) to understand their likely mission, the threat, and other details
                  necessary to start preparations for combat. Critical to success is the platoon leader’s time
                  analysis. The leader’s primary objective is to maximize the time available to the unit to
                  prepare the upcoming mission through effective time management.

                    Note. The HOPE-LW format (higher, operational, planning, enemy,
                    light/weather) is an effective tool leaders use to analyze time variables impacting
                    their operation.


                  2-19. Using the variables mentioned above, the leader develops a timeline to manage
                  the platoon’s planning and preparation for operations. While this timeline will be
                  updated with the plan, it is essential to time management that the leader identify
                  necessary tasks and starts movement on them in accordance with the timeline. The leader
                  should—
                             Analyze the time the unit has available, accounting for hours of darkness.
                             Apply one third of available time to planning, leaving two thirds for
                             preparation.
                             Identify externally imposed times (for example, rehearsals, orders, and so
                             forth).
                             Identify required movements (for example, reposition, reconnaissance, and
                             so forth).
                             Prepare an initial timeline for planning, preparation, and execution of the
                             mission.

                    Note. The WARNORD is the leader’s best tool to manage time. Even when the
                    company does not issue a WARNORD, the platoon leader can and should issue
                    a WARNORD providing any known information.



           STEP 2 – ISSUE WARNING ORDER
                  2-20. A WARNORD is a preliminary notice of an order or action to follow. Though
                  less detailed than a complete OPORD, a WARNORD aids in parallel planning. After
                  the leaders receive new missions and assess the time available for planning, preparing,

           2-10                                         ATP 3-21.8




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               and executing the mission, they immediately issue a WARNORD to their subordinates.
               By issuing the initial WARNORDs as quickly as possible, they enable subordinates to
               begin their own planning and preparation (parallel planning) while they begin to develop
               the OPORDs. When they obtain more information, they issue updated WARNORDs,
               giving subordinates as much as they know.
               2-21. Leaders can issue WARNORDs to their subordinates right after they receive
               higher command’s initial WARNORDs. In their own initial WARNORDs, they include
               the same elements given in their higher headquarters’ initial WARNORDs. If practical,
               leaders brief their subordinate leaders face-to-face, on the ground. Otherwise, they use
               a terrain model, sketch, or map. (See figure 2-3 for an example of a WARNORD format.)




                                     Figure 2-3. Warning order format

               2-22. The WARNORD follows the five-paragraph OPORD format and normally
               contains minimal information. The WARNORD generally alerts the leader that a new
               mission is pending. (See FM 5-0 for information on when the higher headquarters issues
               the full sequence of WARNORDs, specifically WARNORD two and three and the



                                                  ATP 3-21.8                                     2-11




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                  information contained in each.) The WARNORD to the platoon generally contains the
                  following information:
                             Type of operation.
                             General location of the operation.
                             Initial operational timeline (planning, preparation, and execution [assessing
                             throughout the timeline]).
                             Any movements necessary to initiate.
                             Any collaborative planning sessions directed by the commander.
                             Planning and preparation instructions (precombat checks [PCCs], precombat
                             inspections [PCIs] and rehearsal guidance).
                             Initial information requirements or commander’s critical information
                             requirements (CCIRs) (priority intelligence requirement [PIR] and friendly
                             force information requirement).
                             Initial information collection tasks (reconnaissance and surveillance to
                             initiate).

           STEP 3 – MAKE A TENTATIVE PLAN
                  2-23. The platoon leader begins TLP step 3 after having issued the WARNORD, or at
                  any point after having enough information to proceed. The platoon leader need not wait
                  for a complete OPORD before developing a tentative plan. Key steps include mission
                  analysis, COA development, COA analysis, COA comparison, and COA selection.

           MISSION ANALYSIS
                  2-24. Mission analysis is the process by which a platoon leader gains a full
                  understanding of what the platoon has been tasked to accomplish, and an understanding
                  of the commander’s intent, both of which inform mission planning. Mission analysis is
                  the most important part of making a tentative plan. There is no specific timeline allocated
                  to mission analysis, but leaders should always adhere to the one-third/two-thirds rule,
                  allocating roughly one-third of available planning and preparation time to themselves,
                  and allowing their subordinates the remaining two-thirds.
                  2-25. The platoon leader uses the mission variables of METT-TC (I) to conduct mission
                  analysis. This form of mission analysis is a continuation of the initial assessment
                  performed in TLP step 1. The potential informational considerations are embedded
                  within each of the other variables. At the conclusion, the platoon leader will
                  understand—
                             Commander’s intent at company and battalion.
                             Factors of the mission variables as they relate to what the platoon must
                             achieve.
                             Tentative decisive point(s) essential to mission success.
                             Tentative communications and electromagnetic warfare (EW) activities.
                             Type, nature, and probable location of enemy contact throughout the depth
                             of the operation.

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                          Threat-based and accident-based risks hazards to platoon operations.
                          The platoon’s mission statement, nested with higher mission and intent.

                 Note. Typically, leaders below company level do not issue a commander’s intent.
                 They reiterate the intent of their higher and next higher commanders.


            Risk Management
               2-26. Risk management is the process to identify, assess, and mitigate risks and make
               decisions that balance risk cost with mission benefits (JP 3-0). It is an ongoing and
               iterative process that is integral to planning and preparation during TLPs. WARNORDs
               are important to risk management (RM) since it is the leader’s first opportunity to
               identify and address the risks that may be associated with the operation. RM continues
               from the receipt of an initial WARNORD to the receipt of the OPORD. For the
               small-unit leader, information and assessments are continually revised and updated to
               reflect the current situation. The process of receiving, distributing, revising, and
               updating the hazards, risks, and controls for threat-based and accident-based hazards
               continue simultaneously until the order is issued. Leaders at the platoon and squad level
               must ensure they identify the RM information they receive to enable their planning and
               preparation for the mission. To be effective, small-unit leaders must remain especially
               alert for those controls that require coordination with adjacent and supporting units (for
               example, fire control measures).
               2-27. The RM principles and five-step process help leaders identify hazards, assess risk,
               and make sound risk decisions-the determination to accept or not accept the risk(s)
               associated with an action the leader will take or will direct others to take.
               2-28. The principles of RM are—
                         Integrate RM into all phases of missions and operations.
                         Make risk decisions at the appropriate level.
                         Accept no unnecessary risk.
                         Apply RM cyclically and continuously.
               2-29. The five steps of RM are—
                         Step 1-Identify the hazards.
                         Step 2-Assess the hazards.
                         Step 3-Develop controls and make risk decisions.
                         Step 4-Implement controls.
                         Step 5-Supervise and evaluate.
               2-30. Steps 1 and 2 of RM are assessment steps-risk assessment is the identification and
               assessment of hazards. Steps 3 through 5 of RM are management steps that allow a
               leader to implement measures to control hazards. The mission variables of METT-TC (I)
               serve as a standard format for identifying hazards (see ATP 5-19). Mission variables
               used primarily as part of TLPs for planning and preparing for operations provide a


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                  pattern for addressing threat-based and accident-based hazards and associated risk for
                  any activity. Leaders assess risk to protect the force and aid in mission accomplishment.
                  2-31. During mission analysis, the platoon leader uses informational and intelligence
                  tools (for example, the IPOE and other intelligence products [see paragraphs 2-4 to
                  2-10]) to help develop a picture of enemy capabilities and vulnerabilities. During
                  analysis, the leader looks for enemy presence or capabilities that pose hazards and risks
                  to an operation and evaluates what the enemy or outside influences could do to defeat
                  or spoil an operation. Informational and intelligence tools support threat-based risk
                  assessments by identifying opportunities and any constraints the operational
                  environment offers to both enemy and friendly forces.
                  2-32. Threat-based (tactical) risk is associated with hazards existing due to the enemy’s
                  presence. The consequences of tactical risk take two major forms:
                             Enemy action, where the leader has accepted risk such as an enemy attack
                             where the friendly leader has chosen to conduct an economy of force.
                             Lost opportunity, such as a decision to traverse across severely restricted
                             terrain that would restrict the unit’s ability to quickly mass the effects of
                             combat power once contact with the enemy is made.
                  2-33. Accident-based risks include all operational risks other than tactical risk and can
                  include hazards concerning friendly personnel, equipment readiness, and environment.
                  Once the platoon leader identifies an accidental risk based on the results of mission
                  analysis, the risk is reduced through controls. For example, fratricide is a hazard
                  categorized as an accident risk; surface danger zones and risk estimate distance are used
                  to identify the controls, such as target reference points (TRPs), restricted fire lines, and
                  phase lines, to reduce this accidental risk. When the leader decides what risk to accept,
                  the leader also must decide in the COA how to reduce risk to an acceptable level. (See
                  ATP 3-21.10 and ATP 5-19 for additional information.)

                    Note. Each commander must ensure a thorough understanding of the mission,
                    including the senior commander’s intent and the risk tolerance, while not overly
                    restricting subordinate initiative or ability to turn potential risk into opportunity.
                    An unnecessary risk is any risk that, if taken, will not contribute meaningfully to
                    mission accomplishment or will needlessly endanger lives or resources. Army
                    leaders accept only a level of risk in which the potential benefit outweighs the
                    potential loss. The process of weighing risks against opportunities and benefits
                    helps to maximize unit capability, save lives, and preserve resources. The
                    appropriate level of command makes risk acceptance decisions after applying
                    RM and weighing potential gain against potential loss. Commanders need not be
                    risk averse. Forces may undertake even high-risk endeavors when commanders
                    determine that the sum of the benefits exceeds the sum of the costs. Commanders
                    establish the basis for risk acceptance decisions through RM. (See ATP 5-19 for
                    additional information.)




           2-14                                         ATP 3-21.8




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            Communications
               2-34. The ability to communicate during operations is essential. Initially the platoon
               establishes radio nets to link the platoon leader with higher headquarters and subordinate
               leaders. During operations, subordinate elements may have their own control net with
               the platoon leader or primary command post. Other communications activities such as
               signals are established and rehearsed. The platoon must be prepared to operate with
               digital networks or during periods of degraded communications. Messengers and visual
               signals are excellent means of communication during movement or when in static
               positions. The platoon may move under radio silence, or may use radios only in
               emergencies, or when it can use no other means of communication.
               2-35. In an environment where every transmission is potentially targeted, the primary,
               alternate, contingency, and emergency (known as PACE) communications plan enables
               both mission success and survivability. To be effective, the PACE plan must be
               understood and rehearsed by every participant. The PACE plan is a communication plan
               that exists for a specific mission or task, not a specific unit, as the plan considers both
               intra- and inter-unit sharing of information. The platoon leader’s ability to exercise
               command and control during an operation can suffer due to communication systems not
               working properly or otherwise unavailable.
               2-36. When the platoon does not have four viable methods of communications, it is
               appropriate to issue a PACE plan that may only have two or three systems listed. If the
               platoon cannot execute the full PACE plan to the company, the platoon leader must
               inform the company commander with an assessment of shortfalls, gaps, and possible
               mitigations as part of the mission analysis process during the TLP. During COA
               development, the platoon leader nest the platoon’s plan with the company’s plan (in turn
               the company’s plan nest with the battalion’s plan) whenever practical. This aids in
               maintaining continuity of effort. (See ATP 3-21.10 for additional information.)
               2-37. During TLP units must prepare for denied, degraded, and disrupted command and
               control systems and reduced access to cyberspace and space operations capabilities. Key
               indicators that command and control systems are being degraded include:
                          Degraded voice communications.
                          Increased latency for data transmissions.
                          Frequent and accurate targeting by threat lethal and nonlethal effects.
                          Increased pings/network intrusions.
                          Inconsistent digital common operational picture, for example, spoofing.
                          Inaccurate Global Positioning System (GPS) data/no satellite lock and
                          inconsistency between inertial navigation aids and GPS-enabled systems.
                          Uncharacteristically few voice or digital transmissions.
               2-38. Efforts to increase survivability and prevent degraded command and control
               systems include—
                         Reduce radio power settings.
                         Use messengers and hand and arm signals.
                         Minimize length of frequency modulation transmissions.

                                                   ATP 3-21.8                                       2-15




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                            Use terrain to mask transmission signatures.
                            Employment of directional antennas.
                            Use remote antennas/carry spare antennas.
                            Require physical presence of leaders at briefings, for example, distribute
                            information via analog means in person.
                            Use of camouflage and deception in all environments.
                            Dig in command post.
                            Use of communications windows to reduce transmissions.
                            Employment of encryption/cypher techniques.
                  2-39. Efforts that counter the effects of degraded command and control systems
                  include—
                            Train to recognize indicators.
                            Develop and rehearse contingency plans during the planning process and
                            preparations.
                            Maintain analog common operational pictures at all echelons.
                            Train to operate from the commander’s intent, and analog graphics and
                            synchronization matrixes.
                            Keep plans as simple as possible that are less susceptible to friction.

           Electromagnetic Warfare
                  2-40. Electromagnetic warfare is military action involving the use of electromagnetic
                  and directed energy to control the electromagnetic spectrum or to attack the enemy
                  (JP 3-85). Commanders and subordinate leaders at each echelon integrate EW activities
                  into operations through cyberspace electromagnetic activities. EW capabilities are
                  applied from the air, land, sea, space, and cyberspace by manned, unmanned, attended,
                  or unattended systems. Cyberspace electromagnetic activities are the process of
                  planning, integrating, and synchronizing cyberspace and EW operations. Cyberspace
                  operations are the employment of cyberspace capabilities where the primary purpose is
                  to achieve objectives in or through cyberspace (JP 3-0). (See ATP 3-21.10 for additional
                  information.)

           Electromagnetic Warfare Capabilities
                  2-41. EW capabilities assist in shaping the operational environment to gain an
                  advantage. For example, EW may be used to set favorable conditions for cyberspace
                  operations by stimulating networked sensors, denying wireless networks, or other
                  related actions. Operations in cyberspace and the electromagnetic spectrum depend on
                  EW activities maintaining freedom of action in both. EW consists of three functions,
                  electromagnetic attack, electromagnetic protection (EP), and electromagnetic support.
                  In any environment, the primary focus at the platoon and company level is on EP
                  considerations as it relates to communications (see paragraphs 2-34 to 2-39) within
                  small-unit operations.



           2-16                                       ATP 3-21.8




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            Electromagnetic Protection
                2-42. Electromagnetic protection is a division of electromagnetic warfare involving
                actions taken to protect personnel, facilities, and equipment from any effects of friendly
                or enemy use of the electromagnetic spectrum that degrade, neutralize, or destroy
                friendly combat capability (JP 3-85). For example, EP includes actions taken by the
                commander and subordinate leaders to ensure friendly use of the electromagnetic
                spectrum, such as frequency agility in a radio or variable pulse repetition frequency in
                radar. They avoid confusing EP with self-protection. Both defensive electromagnetic
                attack and EP protect personnel, facilities, capabilities, and equipment. However, EP
                protects from the effects of electromagnetic attack (friendly and enemy) and
                electromagnetic interference, while defensive electromagnetic attack primarily protects
                against lethal attacks by denying enemy use of the electromagnetic spectrum to guide or
                trigger weapons. (See ATP 3-21.20 and ATP 3-12.3 for additional information on EW
                functions and activities.)

            Emission Control
                2-43. Leaders are responsible for emission control (known as EMCON) as an element
                of EP that inhibits enemy electromagnetic warfare (EW) capabilities from detecting,
                intercepting, finding, fixing, or engaging emitters. Emission control is the selective and
                controlled use of electromagnetic, acoustic, or other emitters to optimize command and
                control capabilities while minimizing, for operations security: a. detection by enemy
                sensors; b. mutual interference among friendly systems; and/or c. enemy interference
                with the ability to execute a military deception plan (JP 3-85).
                2-44. In large-scale combat operations against peer threats, the enemy is expected to
                use EW capabilities to detect, intercept, deny, degrade, disrupt, destroy, or manipulate
                friendly communications, command and control, and intelligence capabilities. EMCON
                is a planning aid designed to help leaders develop standard procedures and battle drills
                for their unit’s unique suite of emitters using an appropriate mix of the EMCON
                considerations listed in table 2-1 on page 2-18.




                                                    ATP 3-21.8                                      2-17




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                                 Table 2-1. Emission control considerations


            Minimize length and frequency of radio              Use satellite communications (SATCOM)
            transmissions.*                                     information on these practices.
            Use appropriate power settings. *                   Use high frequency (HF) transmissions.
            Plan radio messages. *                              Use electronic counter-countermeasures
                                                                (ECCM).
            Use electronic terrain masking. *                   Train while employing radio silence.
            Establish and enforce a primary, alternate,         Ensure electronic equipment is properly
            contingency, and emergency (PACE)                   grounded and has shield cables.
            communication plan (see paragraph 2-33). *
            Use remote antennas.                                Train on land navigation (without GPS).
            Use brevity codes and proword execution             Set radar cueing cycles.
            matrixes.
            Use secure landlines.                               Execute survivability moves.
            Use directional antennas.                           Ensure electronic equipment is properly
                                                                grounded and has shield cables.
            Use line-of-sight communications parallel to the    Understand the impact of terrain composition on
            forward line of own troops (FLOT).                  emissions.
            Use alternate means of communications for           Recognize communications jamming (reporting
            planning /preparation; use primary for execution.   criteria).
            Use data-burst transmissions.                       Recognize GPS jamming (reporting criteria).
            Mask with camouflage netting.                       Recognize radar jamming (reporting criteria).
            Use encrypted Global Positioning System             Recognize satellite jamming (reporting criteria).
            (GPS).
            * These emission control considerations should always be practiced, but leaders emphasize them
            more as threats involving the electromagnetic spectrum (EMS) elevate.

                  2-45. EMCON prevents the threat discovering and attacking the locations of friendly
                  forces with EW. When establishing EMCON best practices, it is important to understand
                  the general categories and status criteria for EMCON levels. Based on the tactical
                  situation, the commander can dictate the appropriate EMCON level to the platoon.
                  During operations, commanders consider EMCON level 3 (amber) as the baseline
                  condition. Figure 2-4 captures the five EMCON levels and the general descriptive
                  criteria associated with each level. (See ATP 3-12.3 and ATP 6-02.53 for additional
                  information.)




           2-18                                           ATP 3-21.8




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                                    Figure 2-4. Emission control status


            Decisive Point
               2-46. A decisive point is a key terrain, key event, critical factor, or function that, when
               acted upon, enables commanders to gain a marked advantage over an enemy or
               contribute materially to achieving success (JP 5-0). Identifying a tentative decisive
               point(s) during mission analysis and verifying it during COA development is the most
               important aspect of the TLP. Visualizing a valid decisive point is how leaders determine
               how to achieve success and accomplish their purpose. Leaders develop their entire COA
               from a decisive point. Without determining a valid decisive point, leaders cannot begin
               to develop a valid or tactically sound COA. Leaders, based on their initial analysis of
               METT-TC (I), situational awareness, vision, and insight into how such factors can affect
               the unit’s mission, should visualize where, when, and how their unit’s ability to apply
               combat power (for example, firepower, protection, maneuver, leadership, and
               information) achieves their assigned task(s). A decisive point might orient on terrain,
               enemy, time, or a combination of these. A decisive point might be where or how, or
               from where, the unit will combine the effects of combat power against the enemy. A
               decisive point might be the event or action (with respect to terrain, enemy, or time, and



                                                   ATP 3-21.8                                       2-19




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                  generation of combat power) which will ultimately and irreversibly lead to the unit
                  achieving its purpose.
                  2-47. A decisive point(s) does not simply restate the unit’s essential task or purpose; it
                  defines how, where, or when the unit will accomplish its purpose. The unit’s designated
                  main effort always focuses on a decisive point(s), and always accomplishes the unit’s
                  purpose. Designating a decisive point(s) is critical to the leader’s vision of how to use
                  combat power to achieve the purpose, how to task-organize units, and how to shape
                  operations to support the main effort, and how the main effort will accomplish the unit’s
                  purpose. This tentative decisive point(s) forms the basis of the leader’s planning and
                  COA development. Leaders should clearly explain what the decisive point(s) is to
                  subordinate leaders and why it is decisive; this summary, in conjunction with the
                  commander’s intent, facilitates subordinate initiative. A valid decisive point enables the
                  leader to clearly and logically link how the application of combat power with respect to
                  terrain, enemy, and time allows the unit to accomplish its purpose. If the leader
                  determines the tentative decisive point(s) is not valid during COA development or
                  analysis, then the leader must determine another decisive point(s) and restart COA
                  development.

           Actions on Contact
                  2-48. Actions on contact—is a process to help leaders understand what is happening and
                  to take action (FM 3-90). Leaders analyze the enemy throughout TLP to identify all
                  likely contact situations that may occur during an operation. This process should not be
                  confused with battle drills such as Battle Drill-React to Contact see appendix E. Battle
                  drills are the actions of individual Soldiers and small units when they meet the enemy.
                  Thorough planning and rehearsals conducted during TLP, enable leaders and Soldiers
                  to develop and refine a COA to deal with probable enemy actions. The COA becomes
                  the foundation for a scheme of maneuver.
                  2-49. Infantry platoons and squads execute actions on contact using a logical,
                  well-organized process of decision making and action entailing these four steps:
                            React.
                            Develop the situation.
                            Choose an action.
                            Execute and report.
                  2-50. This four-step process is not intended to generate a rigid, lockstep response to the
                  enemy. Rather, the goal is to provide an orderly framework enabling the Infantry rifle
                  platoon and its squads to survive the initial contact and apply sound decision making
                  and timely actions to complete the operation. Ideally, the unit sees the enemy (visual
                  contact) before being seen by the enemy; it then can initiate direct contact on its own
                  terms by executing the designated COA.
                  2-51. During movement once the lead element of a force (for example, during the
                  conduct of a movement to contact) encounters an enemy, they conduct actions on
                  contact. Obstacles encountered during movement are treated like enemy contact, in that,
                  the unit assumes the obstacles are covered by fire. Once contact is made the unit’s

           2-20                                        ATP 3-21.8




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                security force will seek to gain a tactical advantage over an enemy by using tempo and
                initiative to conduct these actions, allowing it to gain and maintain contact without
                becoming decisively engaged, a fully committed force or unit that cannot maneuver or
                extricate itself (FM 3-90). How quickly the unit develops the situation is directly related
                to its security, and the tempo is directly related to the unit’s initial planning and use of
                well-rehearsed tactical standard operating procedure (SOP) and battle drills.
                2-52. Leaders understand properly executed actions on contact require time at the squad
                and platoon levels. To develop the situation, a platoon may have to attack an assailable
                flank, conduct reconnaissance by fire—a technique in which a unit fires on a suspected
                enemy position (FM 3-90) see paragraph A-71, or call for and adjust indirect fires.

            Mission Variables of METT-TC (I)
                2-53. Analyzing the mission variables of METT-TC (I) is a continuous process. Leaders
                constantly receive information from the time they begin planning through execution.
                During execution, their continuous analysis enables them to issue well-developed
                fragmentary order—an abbreviated operation order issued as needed to change or
                modify an order or to execute a branch or sequel (JP 5-0). They must assess if the new
                information affects their missions and plans. If so, then they must decide how to adjust
                their plans to meet these new situations. They need not analyze METT-TC (I) in a
                particular order. How and when they do so depend on when they receive information as
                well as on their experience and preferences. One technique is to parallel the TLP based
                on the products received from higher. Using this technique, they would, but need not,
                analyze mission first; followed by terrain and weather; enemy; troops and support
                available; time available; and civil considerations and integrated into these variables,
                informational considerations.

            Analysis of Mission
                2-54. A mission is a task and purpose clearly indicating the action to be taken and reason
                for the action. In common usage, especially when applied to lower military units, a
                mission is a duty or task assigned to an individual or unit. The mission is always the first
                factor leaders consider and most basic information question: “What have I been told to
                do, and why?”
                2-55. Leaders at every echelon must understand the mission, intent, task, purpose,
                location, and concept of operation one and two levels higher. This understanding makes
                it possible to exercise disciplined initiative. Leaders capture their understanding of what
                their units are to accomplish in their revised mission statement. A mission statement is
                a short sentence or paragraph that describes the organization’s essential task(s), purpose,
                and action containing the elements of who, what, when, where, and why (JP 5-0).
                Leaders consider the following elements when analyzing the mission—
                            Higher headquarters’ (two levels up) mission, commander’s intent, and
                            concept of operations.
                            Immediate higher headquarters’ (one level up) mission, commander’s intent,
                            concept of operations, available assets, and timeline.
                            Unit’s assigned area of operation (AO), task, and purpose.

                                                     ATP 3-21.8                                      2-21




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                             The mission of adjacent, supporting, and supported units and their
                             relationships to the higher headquarters’ plan.
                             Assumptions and constraints.
                             Specified, implied, and essential tasks.
                             Restated mission.
                  2-56. Specific to platoon and squad mission, leaders must identify and understand tasks
                  required to accomplish a given mission. The three types of tasks are specified, implied,
                  and essential.
                  2-57. Specified tasks. Specified tasks are assigned to a unit by a higher headquarters
                  and are found throughout the OPORD. Specified tasks also may be found in annexes
                  and overlays; for example, “Seize Objective Fox;” “Reconnoiter route Blue;” “Assist the
                  forward passage of 1st platoon, B Company.” “Send two Soldiers to assist in the loading
                  of ammunition.”
                  2-58. Implied tasks. Implied tasks are those being performed to accomplish a specified
                  task, but that are not stated in a higher headquarters’ order. Implied tasks derive from a
                  detailed analysis of higher up orders, from the enemy situation and COA, from the
                  terrain, and from knowledge of doctrine and history. Analyzing the unit’s current
                  location in relation to future AO as well as the doctrinal requirements for each specified
                  task might reveal the implied tasks. For example, if the specified task is “Seize Objective
                  Fox,” and an updated intelligence assessment determines that Objective Fox is
                  surrounded by reinforcing obstacles, this intelligence assessment would drive the
                  implied task of “Breach reinforcing obstacles vicinity Objective Fox.”
                  2-59. Essential task. The essential task is the mission task—it accomplishes the assigned
                  purpose. It, along with the platoon’s purpose, is usually assigned by the higher
                  headquarters’ OPORD in concept of operations or tasks to maneuver units. For main
                  efforts, since the purposes are the same (nested concept), the essential task also
                  accomplishes the higher headquarters’ purpose. For supporting efforts, it accomplishes
                  the assigned purpose, which supports the main effort.
                  2-60. Leaders conclude their analysis of the mission by restating their mission in terms
                  of the platoon’s (or squad’s) mission statement. To do this, they answer the five Ws:
                              Who (the unit).
                              What (the unit’s essential task and type of operation).
                              When (this is the time given in the company OPORD).
                              Where (the objective or location stated in company OPORD).
                              Why (the unit’s purpose, taken from the company’s concept of operations).
                  2-61. Example platoon mission statement in the defense, “1st Platoon/B Company/1-31
                  Infantry defends no later than 281700(Z) December 2022 from GL 375652 to
                  GL 394660 to prevent the envelopment of A Company, the battalion main effort.”




           2-22                                        ATP 3-21.8




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            Analysis of Terrain and Weather
                2-62. Leaders consider the cumulative effects of the natural terrain, man-made features
                (including obstacles), climate, and weather on both friendly and enemy operations. In
                general, terrain, climate, and weather do not favor one side over the other unless one is
                better prepared to operate in the environment or is more familiar with it. The terrain,
                however, may favor defending or attacking. Analysis of terrain answers the question:
                “What is the terrain’s effect on the operation?” Leaders analyze terrain using the
                categories of observation and fields of fire, avenues of approach, key terrain, obstacles,
                and cover and concealment (OAKOC).

                  Note. See ATP 3-21.10 for additional information on analyzing the terrain using
                  the categories of OAKOC.


                2-63. The MCOO shows the critical military aspects of terrain. It not only facilitates
                planning, but also aids in briefing subordinates. Specific questions on the aspects of the
                MCOO include but are not limited to avenues of approach, key terrain, mobility
                corridors, natural and man-made obstacles, and terrain mobility classifications. The
                information within the MCOO depicts the terrain according to the mobility
                classification. These classifications are severely restricted, restricted, and unrestricted.
                2-64. Severely restricted terrain severely hinders or slows movement in movement
                formations unless some effort is made to enhance mobility, such as committing engineer
                assets to improving mobility or deviating to different movement formations. Severely
                restricted terrain for armored and mechanized forces is typically characterized by steep
                slopes and large or dense obstacle compositions with few bypasses.
                2-65. Restricted terrain hinders movement to some degree. Little effort is needed to
                enhance mobility, but units may have difficulty maintaining preferred speeds, moving
                in movement formations, or transitioning from one formation to another. Restricted
                terrain slows movement by requiring zigzagging or frequent detours. Restricted terrain
                for armored or mechanized forces typically consists of moderate-to-steep slopes or
                moderate-to-dense obstacle compositions, such as restrictive slopes or curves. Swamps
                or rugged terrain are examples of restricted terrain for dismounted Infantry forces.
                2-66. Unrestricted terrain is free from any restriction to movement. Nothing is required
                to enhance mobility. Unrestricted terrain for armored or mechanized forces is typically
                flat to moderately sloping terrain with few obstacles such as limiting slopes or curves.

                  Note. At company level and below, the commander and subordinate leaders
                  develop a graphic terrain analysis overlay (known as GTAO). This product is
                  similar to the MCOO in it shows the critical military aspects of terrain. Not only
                  does it facilitate planning, but it also aids in briefing subordinates.


                2-67. From the MCOO developed by higher headquarters (generally the battalion
                intelligence staff officer [S-2]), leaders can understand the general nature of the ground
                and effects of weather. However, at company level and below, they must conduct their

                                                     ATP 3-21.8                                      2-23




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                  own detailed analyses to determine how terrain and weather uniquely affects their units’
                  missions and the enemy. They must go beyond merely passing along the MCOO to their
                  subordinate leaders and making general observations of the terrain such as “This is high
                  ground,” or “This is a stream.” During the development of the GTAO, they determine
                  how the terrain and weather will affect the enemy and their units. Additionally, they
                  apply these conclusions when they develop COA for both enemy forces and their units.
                  (See ATP 3-21.10 and ATP 2-01.3 for additional information.)
                  2-68. Terrain analysis should produce several specific conclusions for example:
                            Battle, support by fire, and/or attack by fire position—the general position
                            from which a unit performs the tactical task of attack by fire (ADP 3-90).
                            Engagement areas and ambush sites.
                            Immediate and intermediate objectives.
                            Asset locations such as enemy command posts or ammunition caches.
                            Assembly areas (AAs), attack positions, assault positions, objective rally
                            points (known as ORPs), and/or casualty collection points (CCPs).
                            Observation posts.
                            Artillery firing positions.
                            Air defense artillery system positions.
                            Reconnaissance, surveillance, and target-acquisition positions.
                            Forward area arming and refueling points.
                            Ford site (wet/dry) (gap—is a ravine, mountain pass, river, or other terrain
                            feature that presents an obstacle that may be bridged [ATP 3-90.4]—
                            locations).
                            Landing and drop zones.
                            Breach locations.
                            Infiltration lanes.
                  2-69. The five military aspects of weather are visibility; winds; precipitation; cloud
                  cover; temperature, humidity, and atmospheric pressure (see ATP 2-01.3).
                  Consideration of the weather’s effects is an essential part of the leader’s mission
                  analysis. Leaders go past observing to application. They determine how the weather will
                  affect the visibility, mobility, and survivability of the unit and that of the enemy. Leaders
                  review their commander’s conclusions and identifies their own. They apply the results
                  to the friendly and enemy COA they develop. (See ATP 3-21.10 for additional
                  information.)

           Analysis of Enemy
                  2-70. Leaders analyze the enemy’s general situation, dispositions, compositions,
                  strengths, doctrine, equipment, and capabilities by warfighting function, vulnerabilities,
                  and probable COA. Analyzing the enemy answers, the question, “What is the enemy
                  doing and why?” Leaders also answer—
                             What is the composition and strength of the enemy force?
                             What are the capabilities of the weapons? Other systems?

           2-24                                         ATP 3-21.8




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                         What is the location of current and probable enemy positions?
                         What is the enemy’s most likely COA (additionally most dangerous)?
                         (Memory aid defend, reinforce, attack, withdraw, or delay [known as
                         DRAW-D].)
               2-71. Platoon leaders must understand the assumptions their company commander, in
               coordination with the battalion S-2, used to portray the enemy’s COA. Their own
               assumptions about the enemy should be consistent with those of their commander. When
               not, their assumptions must be known by the commander.
               2-72. Leaders continually improve their situational understanding of the enemy and
               update their enemy SITEMP as new information or trends become available. Deviations
               or significant conclusions reached during their enemy analysis that could positively or
               negatively affect the battalion’s and company’s plan should be shared immediately with
               the battalion, company commander, and S-2.
               2-73. In analyzing the enemy, platoon leaders must understand the IPOE (see
               paragraphs 2-4 to 2-7). Although platoon leaders usually do not prepare IPOE products
               for their subordinates, platoon leaders must be able to use the products of the higher
               headquarters’ IPOE.
               2-74. Leaders must know more than just the number and types of vehicles, Soldiers, and
               weapons the enemy has. The leaders must thoroughly understand when, where, and how
               the enemy prefers or tends to use their assets. A SITEMP is a visual illustration of how
               the enemy force might look and act without the effects of weather and terrain. Leaders
               look at specific enemy actions during a given operation and use the appropriate SITEMP
               to gain insights into how the enemy may fight. Likewise, leaders must understand enemy
               doctrinal objectives. In doctrinal terms, leaders ask “Is the enemy oriented on terrain
               objectives, friendly force objectives, civilian objective, or some combination? What
               effect will this have on the way the enemy fights?”
               2-75. Depending on the situation, some threat forces may lack structured doctrine. In
               such a situation, a leader must rely on information provided by battalion or higher
               echelon reconnaissance and surveillance assets and, most importantly, the leader and the
               leader’s higher headquarters’ pattern analysis and deductions about the enemy in their
               AO. The leader also may make sound assumptions about the enemy, human nature, and
               local culture. Questions to determine the enemy’s general situation include:
                          Who are they?
                          What are they doing?
                          When did they get there?
                          Where are they generally located?
                          Why are they there?
                          What is the nature of the threat they pose?
               2-76. Gaining complete understanding of the enemy’s intentions can be difficult when
               the enemy SITEMPs, composition, and disposition are unclear. In all cases, the enemy’s
               recent activities must be understood, because they can provide insight into the enemy’s
               future activities and intentions. If time permits, a leader might be able to conduct a
               pattern analysis of the enemy’s actions to predict future actions. In the operational

                                                  ATP 3-21.8                                     2-25




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                  environment, this might be the most important analysis the leader conducts and is likely
                  to yield the most useful information to the leader.
                  2-77. Leaders develop their enemy SITEMP after terrain and weather analysis so they
                  better understand how the enemy will fight in a specific scenario. The leader includes in
                  this SITEMP the likely sectors of fire of the enemy weapons and tactical and protective
                  obstacles, either identified or merely template, which support defensive operations.
                  Table 2-2 shows recommended SITEMP items. (See ATP 3-21.10 and ATP 2-01.3 for
                  additional information.)
                          Table 2-2. Recommended enemy situation template items

             Primary, alternate, subsequent positions             Attack formations and axes of advance
             Engagement area                                      Battle positions, trenches, and area of
                                                                  operations
             Individual vehicles                                  Coordinated fire line and restrictive firing lines
             Crew-served weapons                                  Objective(s), phase lines, and support (attack)
                                                                  by fire position(s)
             Tactical (directed, situational, and reserved)       Maximum engagement line
             obstacles (for example, persistent and
                                                                  Planned indirect-fire targets
             nonpersistent minefields)
             Planned indirect-fire targets                        Electromagnetic warfare capabilities
             Observation posts                                    Reconnaissance/security objectives
             Command and control positions                        Reconnaissance force routes
             Final protective fires and final protective line     Fires (indirect fires and manned and unmanned
                                                                  aircraft systems)
             Locations of reserves                                Fires (indirect fires and manned and unmanned)
             Routes for reserve commitment                        Chemical, biological, radiological, and nuclear
                                                                  employment
             Travel time for reserve commitment                   Protective obstacle locations
             Reserve force commitment triggers                    Enemy scheme of maneuver
             Sectors of fire                                      Unmanned aircraft system capabilities


           Analysis of Troops and Support Available
                  2-78. Leaders study their task organization to determine the number, type, capabilities,
                  and condition of available friendly troops and other support. Analysis of troops follows
                  the same logic as analyzing the enemy by identifying capabilities, vulnerabilities, and
                  strengths. Leaders should know the disposition, composition, strength, and capabilities
                  of their forces one and two levels down. This information can be maintained in a
                  checkbook-style matrix for use during COA development (specifically array forces).
                  They maintain understanding of subordinates’ readiness, including maintenance,
                  training, strengths and weaknesses, leaders, and logistics status (known as LOGSTAT).
                  Analysis of troops and support answers the question: What assets are available to
                  accomplish the mission? Leaders also answer these questions:
                              What are the strengths and weaknesses of subordinate leaders?


           2-26                                             ATP 3-21.8




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                           What is the supply status of ammunition, water, fuel (if required), and other
                           necessary items?
                           What is the present physical condition of Soldiers (morale, sleep)?
                           What is the condition of equipment?
                           What is the unit’s training status and experience relative to the mission?
                           What additional Soldiers or units will accompany?
                           What additional assets are required to accomplish the mission?
                           What are the command and support relationships for all supporting or
                           attached forces?
                2-79. Perhaps the most critical aspect of mission analysis is determining the combat
                potential of one’s own force. Leaders must realistically and unemotionally determine all
                available resources and new limitations based on level of training or recent fighting.
                This includes troops who are attached either to or in direct support of the unit. It also
                includes understanding the full array of assets in support of the unit. Leaders must know
                what fires are available (and when) by type, quantity, and priority of fires.
                2-80. Throughout planning and preparation for an operation, leaders continually assess
                their unit’s combat effectiveness—the ability of a unit to perform its mission.
                Information factors such as ammunition, personnel, fuel status, and weapon systems are
                evaluated and rated. (See FM 1-02.2.) The ratings used are—
                           Fully operational – green (85 percent or greater).
                           Substantially operational – amber (70 to 84 percent).
                           Marginally operational – red (50 to 69 percent).
                           Not operational – black (less than 50 percent).
                           Unknown.
                2-81. Because of the uncertainty always present in operations at the small-unit level,
                leaders cannot be expected to think of everything during their analysis. This fact forces
                leaders to determine how to get assistance when the situation exceeds their capabilities.
                Therefore, a secondary product of analysis of troops and support available should be an
                answer to the question, how do I get help?

            Analysis of Time Available
                2-82. The fifth mission variable of METT-TC (I) is time available. Time refers to many
                factors during the operations process (plan, prepare, execute, and assess). The five
                categories leaders consider include the memory aide HOPE-LW:
                           Next higher echelon’s timeline.
                           Operational.
                           Planning and preparation.
                           Enemy timeline.
                           Light and weather.
                2-83. During all phases, leaders consider critical times, unusable time, the time it takes
                to accomplish activities, the time it takes to move, priorities of work, and tempo of

                                                    ATP 3-21.8                                      2-27




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                  operations. Other critical conditions to consider include visibility and weather data, and
                  events such as higher headquarters tasks and required rehearsals. Implied in the analysis
                  of time is leader prioritization of events and sequencing of activities.
                  2-84. As addressed in step 1 of the TLP, time analysis is a critical aspect to planning,
                  preparation, and execution. Time analysis is often the first thing a leader does. The leader
                  must not only appreciate how much time is available, but also must be able to appreciate
                  the time/space aspects of preparing, moving, fighting, and sustaining. The leader must
                  be able to see the leader’s own tasks and enemy actions in relation to time. Most
                  importantly, as events occur and more information is available, the leader must adjust
                  the time available and assess its impact on what the leader wants to accomplish. Finally,
                  the leader must update previous timelines for subordinates, listing all events affecting
                  the platoon and its subordinate elements.
                  2-85. As an example, leaders estimate the time available to plan and prepare for the
                  mission. Leaders begin by identifying the times they must complete major planning and
                  preparation events, including rehearsals. Reverse planning assists in this process.
                  Leaders identify critical times specified by higher headquarters and work backwards,
                  estimating how much time each event will consume. Critical times might include times
                  to load aircraft, cross the line of departure (LD), or the reach the start point for
                  movement.

           Analysis of Civil Considerations
                  2-86. Civil considerations include the influences of man-made infrastructure, civilian
                  institutions, and attitudes, activities of civilian leaders, populations, and organizations
                  within an AO, with regard to the conduct of military operations. Civil considerations
                  generally focus on the immediate impact of civilians on operations in progress. Civil
                  considerations of the environment can either help or hinder friendly or enemy forces;
                  the difference lies in which leader has the information needed and taken the time to learn
                  the situation and its possible effects on the operation. Analysis of civil considerations
                  answers critical questions:
                              How do civilian considerations affect the operation?
                              How does the operation affect the civilians?
                              What operations security measure can we implement to protect our critical
                              information?
                              For support we need from headquarters, when is it available?
                  2-87. The battalion, through the company commander, provides the platoon leader with
                  civil considerations affecting the mission within the platoon’s AO. The memory aid:
                  areas, structures, capabilities, organizations, people, and events (ASCOPE) is used to
                  analyze and describe these civil considerations.
                  2-88. The line between enemy combatants and civilian noncombatants is sometimes
                  unclear. This requires the leader to understand the laws of war, the rules of engagement
                  (ROE), and local situation. (See ATP 3-21.10 and FM 3-24.2 for additional
                  information.)



           2-28                                         ATP 3-21.8




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            Informational Considerations
                2-89. Informational considerations are those aspects of the human, information, and
                physical dimensions that affect how humans and automated systems derive meaning
                from, use, act upon, and are impacted by information (FM 3-0). Understanding the
                physical, information, and human dimensions of each domain—a physically defined
                portion of an operational environment requiring a unique set of warfighting capabilities
                and skills (FM 3-0), helps the leader assess and anticipate the impacts of their operations.
                Their definitions follow:
                            Physical dimension is the material characteristics and capabilities, both
                            natural and manufactured, within an operational environment (FM 3-0).
                            Information dimension is the content and data that individuals, groups, and
                            information systems communicate and exchange, as well as the analytics and
                            technical processes used to exchange information within an operational
                            environment (FM 3-0).
                            Human dimension encompasses people and the interaction between
                            individuals and groups, how they understand information and events, make
                            decisions, generate will, and act within an operational environment (FM 3-0).

                  Note. Within the context of an operational environment, a domain (land,
                  maritime, air, space, and cyberspace) is a physically defined portion of an
                  operational environment requiring a unique set of warfighting capabilities and
                  skills. Each military Service and branch trains and educates its leaders to be
                  experts about operations in a primary domain, although each Service has some
                  capability in each of the domains, and each develops shared understanding of
                  how to integrate capabilities from different domains. (See FM 3-0 for additional
                  information.)


                2-90. Operations reflect the reality that war is an act of force (in the physical dimension)
                to compel (in the information dimension) the decision making and behavior of enemy
                forces (in the human dimension). Actions in one dimension influence factors in the other
                dimensions. Understanding the interrelationship enables decision making about how to
                create and exploit advantages in one dimension and achieve objectives in the others
                without causing undesirable consequences.
                2-91. The platoon leader integrates information into all operations and activities to
                create favorable support and circumstances for friendly action, limit enemy or adversary
                action, and minimize unintended consequences. Informational considerations are the
                relevant friendly, threat, and neutral (both military and civilian) individuals,
                organizations, and systems capable of generating cognitive effects and influencing
                behavior. Informational considerations and example information related questions
                within each mission variable are addressed in paragraphs 2-54 to 2-88. These
                considerations and example questions are not intended to be an all-inclusive, but they
                can help guide the platoon leader to integrate informational considerations into the
                analysis of the mission variables. (See FM 5-0 and FM 3-13 for additional information.)



                                                     ATP 3-21.8                                      2-29




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           Specific Operational Environments
                  2-92. Specific operational environments include urban, mountain (includes cold
                  weather regions), jungle, and desert. Subsurface areas are conditions found in all
                  operational environments. Offensive, defensive, and stability operations in these
                  environments follow the same planning process as operations in any other environment,
                  but they do impose specific techniques and methods for success. The uniqueness of each
                  environment may affect more than their physical aspects but also their informational
                  systems, flow of information, and decision-making. As such, mission analysis must
                  account for the information environment, space operations, and cyberspace within each
                  specific operational environment. Each specific operational environment has a specific
                  publication because of their individual characteristics. They include:
                             Urban terrain—see ATTP 3-06.11 and ATP 3-06 for additional information.
                             Mountainous terrain and cold weather environments—see ATP 3-90.97,
                             ATP 3-21.50, and ATP 3-21.18 for additional information.
                             Jungle terrain—see ATP 3-90.98 for additional information.
                             Desert terrain—see ATP 3-90.99 for additional information.
                             Subsurface areas:
                                 See ATP 3-21.51 for information on threat and hazardous subterranean
                                 structures existing or operating in concealment or hidden or when utilized
                                 in secret by an enemy or adversary.
                                 See ATTP 3-06.11, ATP 3-06.1, ATP 3-21.50, ATP 3-06, and
                                 ATP 3-34.81 for additional information on subsurface areas.

                    Note. Subsurface areas are below the surface level (ground level) that may
                    consist of underground facilities, passages, subway lines, utility corridors or
                    tunnels, sewers and storm drains, caves, or other subterranean spaces. This
                    dimension includes areas both below the ground and below water. In older cities,
                    subsurface areas can include preindustrial age hand-dug tunnels and catacombs.



           COURSE OF ACTION DEVELOPMENT
                  2-93. The purpose of COA development is to determine one or more ways to
                  accomplish the mission consistent with the immediate higher commander’s intent. A
                  COA describes how the unit might generate the effects of overwhelming combat power
                  against the enemy at the decisive point(s) with the least friendly casualties. Each COA
                  the leader develops must be detailed enough to describe clearly how the leader envisions
                  using all of the assets and combat multipliers to achieve the unit’s mission-essential task
                  and purpose.

                    Note. Decisive points are not centers of gravity; they are keys to attacking or
                    protecting them. A center of gravity is the source of power that provides moral
                    or physical strength, freedom of action, or will to act. (See FM 5-0 for additional
                    information.)


           2-30                                        ATP 3-21.8




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               2-94. To develop a COA, leaders focus on the actions the unit must take at the decisive
               point(s) and works backward to the start point. For example, leaders ensure sufficient
               combat power is available to enable the required actions against anticipated enemy
               contact(s) during movement. Leaders focus their efforts to develop at least one
               well-synchronized COA; if time permits, leaders should develop several. The result of
               the COA development process is paragraph 3 of the OPORD. A COA should position
               the unit for future operations and provide flexibility to meet unforeseen events during
               execution. It also should give subordinates the maximum latitude for initiative.

            Screening Criteria
               2-95. Leaders use screening criteria to ensure solutions they consider can solve the
               tactical problem. Screening criteria defines the limits of an acceptable solution. They are
               tools to establish the baseline products for analysis. Leaders may reject a solution based
               solely on the application of screening criteria. (See ATP 3-21.10 for additional
               information.) Leaders apply five categories of screening criteria to test a possible
               solution:
                           Feasible—fits within available resources.
                           Acceptable—worth the cost or risk.
                           Suitable—solves the problem and is legal and ethical.
                           Distinguishable—differs significantly from other solutions.
                           Complete—contains the critical aspects of solving the problem from start to
                           finish.

                  Note. Leaders assess risk continuously throughout COA development.


            Actions (Generate Possible Solutions)
               2-96. After gathering information relevant to the tactical problem and developing
               criteria, the platoon leader formulates possible solutions to accomplish the mission. The
               leader carefully considers the guidance provided by the commander or their superiors
               and develop several alternatives to solve the tactical problem. Too many possible
               solutions may result in time wasted on similar options. Experience and time available
               determine how many solutions the leader considers. The leader should consider at least
               two solutions. Limiting solutions enables the problem solver to use both analysis and
               comparison as problem-solving tools. Developing only one solution to “save time” may
               produce a faster solution but risks creating more problems from factors not considered.
               The leader analyzes relative combat power, generates options, arrays forces (generally
               two levels below their echelon), develops a concept of operations, analyzes Soldier load,
               assigns responsibility, and prepares a COA statement and sketch for each COA. (See
               ATP 3-21.10 appendix B for additional information.)




                                                   ATP 3-21.8                                      2-31




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           COURSE OF ACTION ANALYSIS
                  2-97. COA analysis begins with both friendly and enemy COA and, using a method of
                  action-reaction-counteraction war game, results in a synchronized friendly plan,
                  identified strengths and weaknesses, updated risk assessment, and a gaining of insights
                  into possible branches and sequels to the basic plan. After developing the COA, leaders
                  analyze it to determine its strengths and weaknesses, visualize the flow of the battle,
                  identify the conditions or requirements necessary to enhance synchronization, and gain
                  insights into actions at the decisive point(s) of the mission. If leaders developed more
                  than one COA, they apply this same analysis to each COA developed.
                  2-98. Leaders do this analysis through war gaming or “fighting” the COA against at
                  least one enemy COA. For each COA, leaders think through the operation from start to
                  finish. Leaders compare their COA with the enemy’s most probable COA. During the
                  war game, leaders visualize a set of enemy and friendly actions and reactions. War
                  gaming is the process of determining “what if” factors of the overall operations. The
                  object is to determine what can go wrong and what decision leaders will likely have to
                  make as a result. COA analysis allows leaders to synchronize their assets, identify
                  potential hazards, and develop a better understanding of the upcoming mission.
                  2-99. The best way for the platoon leader to war game is to start at the platoon’s current
                  location and go through the mission from start to finish or start at a critical point such
                  as the objective or engagement area. Using the action-reaction method, the platoon
                  leader can think through the engagement beforehand. As war gaming proceeds, the
                  leader can either record observations into a matrix or keep notes in a notebook. The most
                  important aspect of this process is not the method but the output, meaning a more
                  in-depth understanding of the operation. Depending on the time available and the
                  platoon leader’s personal preference, the leader may use the box, belt, and
                  avenue-in-depth war gaming techniques. (See ATP 3-21.10 appendix B for additional
                  information on each technique.)

           COURSE OF ACTION COMPARISON AND SELECTION
                  2-100. If leaders developed more than one COA, they must compare them by weighing
                  the specific advantages, disadvantages, strengths, and weaknesses of each as noted
                  during the war game. These attributes may pertain to the accomplishment of the unit
                  purpose, the use of terrain, the destruction of the enemy or other aspect of the operation
                  they believe is important. Leaders make the final selection of a COA based on their own
                  judgment, the start time of the operation, the AO, the scheme of maneuver, and
                  subordinate unit tasks and purposes. (See ATP 3-21.10 for additional information.)

           STEP 4 – INITIATE MOVEMENT
                  2-101. Leaders initiate movements necessary to continue mission preparation or to
                  posture the unit for starting the mission. This step can be executed anytime throughout
                  the sequence of the TLP. It can include movement to a tactical assembly area (TAA),
                  battle position, attack position, or new AO, or the movement of guides or quartering
                  parties. (See chapter 6 section VIII for additional information on troop movement.)

           2-32                                        ATP 3-21.8




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            STEP 5 – CONDUCT RECONNAISSANCE
               2-102. To exploit the principles of speed and surprise, leaders should weigh the
               advantages of reconnoitering personally against just using the supplied information from
               higher echelon information systems. They realistically consider the dangers of
               reconnoitering personally, and time required to conduct them. Leaders might be able to
               plan their operations using combat information provided by higher echelon information
               collection assets. Combat information is the unevaluated data, gathered by or provided
               directly to the tactical commander which, due to its highly perishable nature or the
               criticality of the situation, cannot be processed into tactical intelligence in time to satisfy
               the user’s tactical intelligence requirements. It can be extremely important in a
               time-constrained environment. However, if time permits, leaders should verify higher
               headquarters’ intelligence requirement by reconnoitering visually. They should seek to
               confirm the PIR supporting their tentative plans. These PIRs usually consists of
               assumptions or critical facts about the enemy. This can include strength and location,
               especially at templated positions. It also can include information about the terrain. For
               example, verification that a tentative support by fire position—the general position from
               which a unit performs the tactical mission task of support by fire (ADP 3-90)—can
               suppress—a tactical mission task in which a unit temporarily degrades a force or weapon
               system from accomplishing its mission (FM 3-90)—the enemy, or an avenue of
               approach is useable.
               2-103. If possible, leaders should include their subordinate leaders in their
               reconnaissance efforts. This allows the subordinates to see as much of the terrain and
               enemy as possible. The reconnaissance also helps subordinate leaders gain insight into
               the leaders’ visions of the operation.
               2-104. The leaders’ reconnaissance (see paragraphs 7-15 to 7-16) might include
               moving to or beyond the LD, reconnaissance and surveillance of an AO, or walking
               from the forward edge of the battle area back to and through the platoon AO or battle
               position along likely enemy avenues of approach. If possible, leaders should select
               vantage points with the best possible view of the decisive point(s). In addition to the
               leaders’ reconnaissance efforts, units can conduct additional reconnaissance operations.
               Examples include surveillance of an area by subordinate elements, patrols (see
               chapter 7) to determine enemy locations, and establishment of observation posts/combat
               outpost (see chapter 6) to gain additional information. Leaders also can incorporate
               Javelin command launch unit (known as CLU) and small unmanned aircraft systems as
               surveillance tools (day or night), based on an analysis of METT-TC (I).
               2-105. The nature of the reconnaissance and surveillance, including what it covers and
               how long it lasts, depends on the tactical situation and time available. Leaders should
               use the results of the COA development process to identify information and security
               requirements of the unit’s reconnaissance and surveillance mission.
               2-106. Leaders must include disseminating results and conclusions arrived from
               reconnaissance and surveillance into their time analysis. They also must consider how
               to communicate changes in the COA to their subordinates and how these changes affect



                                                     ATP 3-21.8                                        2-33




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                  their plans, actions of the subordinates, and other supporting elements. (See
                  ATP 3-21.10 for additional information.)

           STEP 6 – COMPLETE THE PLAN
                  2-107. During this step, leaders expand their selected (or refined) COA into a complete
                  OPORD. The COA is finalized, maturing into a mission statement and intent, describing
                  the decisive point, the concept of operations, and the detailed scheme of maneuver. They
                  prepare overlays, refine the indirect fire list, complete sustainment and command and
                  control requirements and, of course, update the tentative plan based on the latest
                  reconnaissance or information. They prepare briefing sites and other briefing materials
                  they might need to present the OPORD directly to their subordinates.
                  2-108. Using the five-paragraph OPORD format helps them to explain all aspects of
                  the operation: terrain, enemy, higher and adjacent friendly units, unit mission, execution,
                  support, and command and control. The format also serves as a checklist to ensure they
                  cover all relevant details of the operation. It also gives subordinates a smooth flow of
                  information from beginning to end.

           STEP 7 – ISSUE OPERATION ORDER
                    Note. The platoon leader focuses the OPORD on the purpose of the operation
                    through mission orders (see note on page 2-6). Mission orders allow the leader’s
                    subordinates the greatest possible flexibility to accomplish assigned tasks.


                  2-109. The OPORD precisely and concisely explains both the leader’s intent and
                  concept of how the leader envisions the unit accomplishing the mission. The order does
                  not contain unnecessary information. The OPORD is delivered quickly and in a manner
                  allowing subordinates to concentrate on understanding the leader’s vision and not just
                  copying what the leader says verbatim. Leaders must prepare adequately and deliver the
                  OPORD confidently and quickly to build and sustain confidence in their subordinates.
                  2-110. When issuing the OPORD, leaders must ensure their subordinates understand
                  and share their vision of what must be done and when and how it must be done.
                  Subordinates must understand how all platoon elements work together to accomplish
                  the mission. They also must understand how the platoon mission supports the intentions
                  of the immediate higher commander and how the platoon interacts with adjacent units.
                  When a leader has finished issuing the order, subordinate leaders should leave with a
                  clear understanding of what the leader expects their elements to do. Leaders are
                  responsible for ensuring their subordinates understand.
                  2-111. Leaders must issue the order in a manner instilling subordinates with
                  confidence in the plan and a commitment to do their best to achieve the plan. Whenever
                  possible, leaders must issue the order in person either on a terrain model or the actual
                  terrain on which the operation will occur. Leaders look into the eyes of their subordinate
                  leaders to ensure each one understands the mission and what the element must achieve.


           2-34                                        ATP 3-21.8




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               2-112. Complete the order with a confirmation brief—a brief subordinate leaders give
               to the higher commander immediately after the operation order is given to confirm
               understanding (ADP 5-0). At a minimum, subordinate leaders should be able to brief the
               unit mission and intent, the immediate higher commander’s intent, their own tasks and
               purpose, and time they will issue their unit’s OPORD. Subordinate leaders should
               confirm they understand the commander’s vision and how the mission is accomplished
               with respect to the decisive point(s). This confirmation brief provides an opportunity to
               highlight issues or concerns.
               2-113. The five-paragraph OPORD format (see figure 2-5), help leaders paint a picture
               of all aspects of the operation, from the terrain to the enemy, and finally to the unit’s
               own actions from higher to lower. The format helps them decide what relevant details
               they must include and in providing subordinates with a smooth flow of information from
               beginning to end. At the same time, leaders must ensure the order is not only clear and
               complete but also as brief as possible. If leaders have already addressed an item
               adequately in a previous WARNORD, they can simply state “no change,” or provide
               necessary updates. Leaders are free to brief the OPORD in the most effective manner to
               convey information to their subordinates.




                                    Figure 2-5. Operation order format




                                                   ATP 3-21.8                                     2-35




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           STEP 8 – SUPERVISE AND REFINE
                  2-114. This final step of the TLP is crucial. After issuing the OPORD, leaders and
                  subordinate leaders must ensure the required activities and tasks are completed in a
                  timely manner prior to mission execution. Supervision is the primary responsibility of
                  all leaders. Both officers and noncommissioned officers must check everything
                  important for mission accomplishment. These checks include, but are not limited to—
                             Conducting numerous backbriefs on all aspects of the platoon and
                             subordinate unit operations.
                             Ensuring the second in command in each element is prepared to execute in
                             the leaders’ absence.
                             Listening to subordinates’ OPORD.
                             Observing rehearsals of subordinate units.
                             Checking load plans to ensure units are carrying only what is necessary for
                             the mission or what the OPORD specified.
                             Checking the status and serviceability of weapons.
                             Checking on maintenance activities of subordinates.
                             Ensuring local security is maintained.

           REHEARSALS
                  2-115. A rehearsal is a session in which the commander and staff or unit practices
                  expected actions to improve performance during execution (ADP 5-0). They are
                  essential in ensuring thorough preparation, coordination, and understanding of the
                  commander’s plan and intent. Leaders should never underestimate the value of
                  rehearsals.
                  2-116. Rehearsals require leaders and, when time permits, other platoon Soldiers to
                  perform required tasks, ideally under conditions as close as possible to those expected
                  for the actual operation. At their best, rehearsals are interactive, while verbalizing their
                  elements’ actions. During every rehearsal, the focus is on the how element, allowing
                  subordinates to practice the actions called for in their individual scheme of maneuver.

                    Note. Rehearsals are different from a discussion of what is supposed to happen
                    during the actual event. Leaders can test subordinates understanding of the plan
                    by ensuring they push the rehearsal forward rather than waiting to dictate each
                    step of the operation.


                  2-117. Leaders use well-planned, efficiently run rehearsals to accomplish the
                  following:
                             Reinforce training and increase proficiency in critical tasks.
                             Reveal weaknesses or problems in the plan, leading to more refinement of
                             the plan or development of additional branch plans.
                             Integrate the actions of subordinate elements, to include actions on contact
                             during movement and maneuver.

           2-36                                         ATP 3-21.8




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                         Confirm coordination requirements within the platoon and between the
                         platoon and adjacent units.
                         Improve each Soldier’s understanding of the concept of operations, the direct
                         fire plan, anticipated contingencies, and possible actions and reactions for
                         various situations may arise during the operation.
                         Ensure seconds-in-command are prepared to execute in their leaders’
                         absence.

            Types of Rehearsals
               2-118. Each rehearsal type achieves different results and has a specific place in the
               timeline. (See ATP 3-21.10 and FM 6-0 for additional information.) The four types of
               rehearsals are—
                          Backbrief.
                          Combined arms rehearsal.
                          Support rehearsal.
                          Battle drill or SOP rehearsal.

            Methods of Rehearsals
               2-119. Rehearsals should follow the crawl-walk-run training methodology whenever
               possible. This prepares the platoons and subordinate elements for increasingly difficult
               conditions. (See ATP 3-21.10 and FM 6-0 for additional information.) Units may
               conduct these methods of rehearsals dependent on the situation and as time permits—
                          Full-dress rehearsal.
                          Reduced-force rehearsal.
                          Terrain-model rehearsal.
                          Digital terrain-model rehearsal.
                          Sketch-map rehearsal.
                          Map rehearsal.
                          Network rehearsal.

                 Note. Because time is scarce during TLP, leaders should direct certain rehearsals
                 (for example, special teams, breach, battle drills) to occur by way of the
                 WARNORD.



            PRECOMBAT CHECKS AND INSPECTIONS
               2-120. PCCs and PCIs are critical to the success of missions. These checks and
               inspections are leader tasks and cannot be delegated below the team-leader level. For
               example, at the platoon echelon, the platoon sergeant spot checks throughout the unit’s
               preparation for combat. The platoon leader and platoon sergeant make a final inspection.
               For the squad echelon, team leaders spot check throughout preparation, and the squad
               leader makes a final inspection. They ensure the Soldier is prepared to execute the

                                                  ATP 3-21.8                                     2-37




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           Chapter 2



                  required individual and collective tasks supporting the mission. Checks and inspections
                  are part of the TLP protecting against shortfalls endangering Soldiers’ lives and
                  jeopardize the execution of a mission.
                  2-121. PCCs and PCIs must be tailored to the specific unit and mission requirements.
                  Each mission and each patrol may require a separate set of checklists. A rifle squad will
                  have its own established set of PCCs and PCIs, but each squad within its rifle platoon
                  should have identical checklists. Weapons squads will have a different checklist than
                  rifle squads, but each weapons squad within a company should be the same.
                  2-122. One of the best ways to ensure PCCs and PCIs are complete and thorough is
                  with full-dress rehearsals. These rehearsals, run at combat speed with communication
                  and full-battle equipment, allow the leader to envision minute details, as they will occur
                  in the AO. If the operation is to be conducted at night, Soldiers should conduct full-dress
                  rehearsals at night as well. PCCs and PCIs should include backbriefs on the mission, the
                  task and purpose of the mission, and how the Soldiers’ role fits into the scheme of
                  maneuver. The Soldiers should be familiar with the latest intelligence assessments,
                  ROE, and be versed casualty evacuation (CASEVAC) and in medical evacuation
                  (MEDEVAC) procedures and sustainment requirements.
                  2-123. Table 2-3 lists sensitive items, high dollar value items, pieces of equipment,
                  and supplies that a unit may be equipped with during a particular mission. A unit’s SOP
                  generally addresses PCC and PCI specific to an individual unit. Table 2-3 is only
                  provided for discussion purposes and is not all inclusive for every mission.




           2-38                                        ATP 3-21.8




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                                                                        Planning and Preparing for Operations



             Table 2-3. Precombat checks and precombat inspection checklist, example

              - Identification                 - Traversing and elevating        - Grappling hook
              card/identification tags         mechanisms                        - Sling sets
              - Canteens/hydration bladder     - Spare barrels                   - Flashlights
              - Protective mask                - Spare barrel bags               - VS-17 panel
              -All clothing items in packing   - Extraction tools                - Pick-up zone marking kit
              list                             - Asbestos gloves                 - Radios and backup
              - Poncho                         - Barrel changing handles         communications
              - Improved rain suit top and     - Tripods                         - Global Positioning
              bottom                           - Pintles                         System/laser range finder
              - Earplugs                       - Counterradio/electromagnetic    - Handheld microphones
              - Camouflage stick               warfare device                    - Night vision devices
              - Ammunition/magazines           - Vehicle tools (if applicable)   - Night vision goggles
              - Individual weapons             - Binoculars                      mounting plate
              - Bayonet and scabbard           - Meals and food                  - Batteries and spare
              - Weapons cleaning kit           - Visual/language translator      batteries
              - Weapon tie downs               card                              - Improved outer tactical vest
              - Pocket mirror                  - Concertina wire gloves          - Ruck/assault pack systems
              - Water purification tablets     - Equipment packed according      - Knee and elbow pads
              - Watch                          to standard operating             - Ballistic spectacles
              - Lip balm and sunscreen         procedure                         - Insect repellent
              - Advanced combat helmet         - Call for fire procedures        - Infrared strobe
              - Combat boots                   - 9-line medical evacuation       - Chemical lights
              - Entrenching tool               procedures                        - Combat lifesaver bags
              - Flexi cuffs
              - Litter
              - Protractor/map
              - Lensatic compass
              - Notebook/pen/pencil




                                                       ATP 3-21.8                                           2-39




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                                                  Chapter 3
                                 Movement and Maneuver

                   Movement is the positioning of combat power to establish the
                   conditions for maneuver (ADP 3-90). Maneuver is movement in
                   conjunction with fires (ADP 3-90). Maneuver happens once a unit
                   has made contact with the enemy and combines movement with
                   fires to gain a position of advantage over the enemy. Leaders use
                   their understanding of the enemy situation to identify where and
                   when to deliberately transition from movement to maneuver before
                   making contact with the enemy. This chapter discusses route
                   movement selection, navigation, and execution and situations of
                   tactical movement and maneuver within the Infantry rifle platoon
                   and squad.

             SECTION I – ROUTE SELECTION, NAVIGATION, AND
             EXECUTION
               3-1. Leaders analyze the terrain from two perspectives. First, to see how it can provide
               tactical advantage to friendly and enemy forces. Second, they look at the terrain to
               determine how it can aid navigation. Leaders identify areas or terrain features
               dominating their movement route—the prescribed course to be traveled from a point of
               origin to a destination (FM 3-90). These areas can become possible intermediate
               (commonly called march) and final objectives.

            ROUTE SELECTION AND NAVIGATION
               3-2. Leaders identify good ground along the route that facilitates navigation and the
               destruction of enemy forces in the event contact occurs. If the leader wants to avoid
               contact, the leader chooses terrain that conceals the unit’s movement. If the leader wants
               to make contact, the leader chooses terrain from where the leader can easily scan and
               observe the enemy. On other occasions, the leader may require terrain allowing stealth
               or speed. Regardless of the requirement, the leader must ensure most of the terrain along
               the route provides some tactical advantage.

            AID OF TECHNOLOGY
               3-3. Route selection and navigation are made easier with the aid of technology. The
               latest command and control systems enhance the Infantry platoon’s and squad’s ability
               to ensure they are in the right place at the right time, and to determine the location of
               adjacent units.

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                   Note. Soldiers must be proficient in land navigation standard map, terrain
                   association, and compass skills unassisted by technology.



           NAVIGATION AIDS
                 3-4. There are two categories of navigational aids: linear and point. Linear
                 navigational aids are terrain features such as trails, streams, ridgelines, wood lines,
                 power lines, streets, and contour lines. Point terrain features include hilltops and
                 prominent buildings. Navigation aids usually are assigned control measures to facilitate
                 communication during the movement. Typically, linear features are labeled as phase
                 lines while point features are labeled as checkpoints (or rally points). Three navigational
                 aid techniques include catching features, handrails, and navigational attack points.

           Catching Features
                 3-5. Catching features are obvious terrain features which go beyond a waypoint or
                 control measure and can be either linear or point. The general idea is if the unit moves
                 past the objective, limit of advance (LOA), or checkpoint, the catching feature will alert
                 it that it has traveled too far. Two catching features methods include the offset-compass
                 and boxing-in the route.

           The Offset-Compass Method
                 3-6. If there is the possibility of missing a particular point along the route (such as the
                 endpoint or a navigational attack point), it is sometimes preferable to aim deliberately
                 at the leg to the left or right of the end point toward a prominent catching feature. Once
                 reached, the unit simply turns the appropriate direction and moves to the desired
                 endpoint. This method is especially helpful when the catching feature is linear.

           Boxing-In the Route Method
                 3-7. Another method leaders use to prevent themselves from making navigational
                 errors is to “box in” the leg or the entire route. This method uses catching features,
                 handrails, and navigational attack points to form boundaries. Creating a box around the
                 leg or route assists in easily recognizing and correcting deviation from the planned leg
                 or route.

           Handrails
                 3-8. Handrails are linear features parallel to the proposed route. The general idea is to
                 use the handrail to keep the unit oriented in the right direction. Guiding off a handrail
                 can increase the unit’s speed while also acting as a catching feature.

           Navigational Attack Points
                 3-9. Navigational attack points are an obvious landmark near the objective, LOA, or
                 checkpoint that can be found easily. Upon arriving at the navigational attack point, the

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                                                                                 Movement and Maneuver



               unit transitions from rough navigation (terrain association or general azimuth
               navigation) to point navigation (dead reckoning). Navigational attack points typically
               are labeled as checkpoints.

            ROUTE PLANNING
               3-10. Route planning must consider enabling tasks specific to tactical movement. These
               tasks facilitate the overall operation. Tactical movement normally contains some or all
               the following enabling tasks:
                           Planning movement with Global Positioning System (GPS) waypoints or
                           checkpoints utilizing navigation skills.
                           Movement to and passage of friendly lines.
                           Movement to an objective rally point (known as ORP).
                           Movement to a probable line of deployment (PLD).
                           Movement to an LOA.
                           Linkup with another unit.
                           Movement to a patrol base or tactical assembly area (TAA).
                           Movement back to and reentry of friendly lines.
               3-11. Leaders first identify where they want to end up (the objective or LOA). Then,
               working back to their current location, they identify all the critical information and
               actions required as they relate to the route. For example, navigational aids, tactical
               positions, known and suspected enemy positions, and friendly control measures. Using
               this information, they break up their route in manageable parts called legs. Finally, they
               capture their information and draw a sketch on a route chart. There are three decisions
               leaders make during route planning:
                          The type of (or combination of) navigation to use.
                          The type of route during each leg.
                          The start point and end point of each leg.
               3-12. All routes have a designated start point and release point that are easily
               recognizable on the map and on the ground. The start point is a designated place on a
               route where elements fall under the control of a designated march commander
               (FM 3-90). It is far enough from the TAA to allow units to organize and move at the
               prescribed speed and interval when they reach the start point. A release point is a
               designated place on a route where elements are released from centralized control
               (FM 3-90). Once released from centralized control they are released back to the
               authority of their respective commanders. Each start point must have a corresponding
               release point, which must also be easy to recognize on the ground. Marching units do
               not stop at the release point; instead, as they move through the release point and continue
               toward their own appropriate destination.
               3-13. The leader assesses the terrain in the proposed AO. In addition to the standard
               Army map, the leader may have aerial photographs and terrain analysis overlays from
               the parent unit, or information is provided by someone familiar with the area.



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                 3-14. To control movement, a leader may use an axis of advance, direction of attack,
                 infiltration lanes, phase lines, PLD, checkpoints (waypoints), final coordination line,
                 rally points, TAA, and routes. Assigning an AO both restricts and facilitates the
                 movement of units and use of fires.

           TYPES OF NAVIGATION
                 3-15. The general types of navigation are terrain association, general azimuth, and point
                 navigation. Leaders use whichever type or combination best suits the situation. The
                 principles of land navigation while mounted are basically the same as while dismounted.

           Terrain Association
                 3-16. Terrain association is the ability to identify terrain features on the ground by the
                 contour intervals depicted on the map. The leader analyzes the terrain using the factors
                 of observation and field of fire, avenues of approach, key terrain, obstacles, and cover
                 and concealment (OAKOC), and identifies major terrain features, contour changes, and
                 man-made structures along the axis of advance. The leader uses these features to orient
                 the unit and to associate ground positions with map locations. The use of terrain
                 association is that it forces the leader to assess the terrain continually. This leads to
                 identifying tactically advantageous terrain and using terrain to the unit’s advantage.

           General Azimuth
                 3-17. For this type of navigation, the leader selects linear terrain features; then while
                 maintaining map orientation and a general azimuth, the leader guides on the terrain
                 feature. An advantage the general azimuth navigation has is it speeds movement, avoids
                 fatigue, and often simplifies navigation because the unit follows the terrain feature. The
                 disadvantage is it usually puts the unit on a natural line of drift. This type of navigation
                 ends like terrain association, with the unit reaching a catching feature or a navigational
                 attack point, then switching to point navigation.

           Point Navigation
                 3-18. Point navigation, also called dead reckoning, is done by starting from a known
                 point and strictly following a predetermined azimuth and distance. This type of
                 navigation requires a high level of leader control because even a slight deviation over
                 the course of a movement can cause navigation errors. One method for this type of
                 navigation uses a handheld compass and a distance from the pace Soldier to follow a
                 prescribed route. Another method can involve a Soldier with a GPS following the
                 steering arrow from waypoint to waypoint. Point navigation requires the leader to follow
                 these steps:
                             Use the compass to maintain direction.
                             Use the pace Soldier’s pace (or when mounted use a vehicle odometer) to
                             measure the distance traveled for each leg or part.
                             Review the written description of the route plan to help prevent navigational
                             errors.

           3-4                                         ATP 3-21.8




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                 Note. Do not take compass reading from inside vehicles. Move away from
                 vehicles when using a lensatic compass.


               3-19. When performed correctly, point navigation is very reliable, but time-consuming.
               It is best used when the need for navigational accuracy outweighs the importance of
               using terrain. Point navigation is particularly useful when recognizable terrain features
               do not exist or are too far away to be helpful. One of the problems with point navigation
               is negotiating severely restrictive terrain or danger areas. For example, deserts, swamps,
               and thick forest make terrain association difficult. Using point navigation early on in a
               long movement can stress the compass Soldier and it may be advisable to switch the
               compass Soldier. One of the problems with point navigation is negotiating severely
               restrictive terrain or danger areas.

            Combination
               3-20. Leaders can benefit from combining these types of navigation. Terrain association
               and general azimuth method enable leaders to set a rough compass bearing and move as
               quickly as the situation allows toward a catching feature or a navigational attack point.
               Once reached, leaders switch to point navigation by paying close attention to detail,
               taking as much time as necessary to analyze the situation and find their point. Terrain
               association and general azimuth method allow for some flexibility in the movement, and
               do not require the same level of control as point navigation. Point navigation, on the
               other hand, enables leaders to locate their objective or point precisely.

            Mounted Land Navigation
               3-21. The principles of land navigation while mounted are basically the same as while
               dismounted. The major differences are the speed and distances associated with mounted
               movement. To be effective at mounted land navigation, the travel speed must be
               considered. When preparing to move, the effects of terrain on navigating mounted
               vehicles must be determined. Soldiers will cover great distances very quickly, and they
               must develop the ability to estimate the distance they have traveled. Using the odometer
               on the vehicle can assists with distance traveled but can be misleading on a map due to
               turns and going up and down hills for instance. Having a mobility advantage helps while
               navigating. Mobility makes it much easier if Soldiers get disoriented to move to a point
               where they can reorient themselves. When determining a route to be used when
               mounted, consider the capabilities of the vehicles to be used. Most military vehicles are
               limited in the degree of slope they can climb and the type of terrain they can negotiate.
               Swamps, thickly wooded areas, or deep streams may present no problems to dismounted
               Soldiers, but the same terrain may completely stop mounted Soldiers.

            ROUTE TYPES
               3-22. There are three types of routes leaders can choose from: those which follow linear
               terrain features; those which follow a designated contour interval; and those which go
               cross compartment. Terrain association can be used with all three route types. The

                                                   ATP 3-21.8                                       3-5




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                 general azimuth type of navigation is used with the contour and terrain feature route
                 types. Point navigation is used primarily with cross compartment.

           Terrain Feature
                 3-23. Following a terrain feature is nothing more than moving along linear features such
                 as ridges, valleys, and streets. The advantage of this method is the unit is moving with
                 the terrain. This is normally the least physically taxing of the methods. The disadvantage
                 of following terrain features also means following natural lines of drift, which leads to
                 a higher probability of chance contact with the enemy.

           Contouring
                 3-24. Contouring (remaining at the same height the entire leg) follows the imaginary
                 contour line around a hill or along a ridgeline. Contouring has two advantages. First, it
                 prevents undue climbing or descending. Second, following the contour acts as handrail
                 or catching feature. The disadvantage of contouring is it can be physically taxing.

           Cross Compartment
                 3-25. Cross compartment means following a predetermined azimuth and usually means
                 moving against the terrain. The advantage of this method is it provides the most direct
                 route from the start point to the end point of the leg or route. There are two primary
                 disadvantages to this type of route. First, this method can be physically taxing. Second,
                 the unit might expose itself to enemy observation.

           DEVELOP A LEG
                 3-26. The best way to manage a route is to divide it into segments called “legs.” By
                 breaking the overall route into several smaller segments, the leader is able to plan in
                 detail. Legs typically have only one distance and direction. A change in direction usually
                 ends the leg and begins a new one.
                 3-27. A leg must have a definite beginning and ending, marked with a control measure
                 such as a checkpoint or phase line. (When using GPS, these are captured as waypoints.)
                 When possible, the start point and end point should correspond to a navigational aid
                 (catching feature or navigational attack point).
                 3-28. To develop a leg, leaders first determine the type of navigation and route best
                 suiting the situation. Once these two decisions are made, the leader determines the
                 distance and direction from the start point to the end point. The leader then identifies
                 critical METT-TC (I) mission, enemy, terrain and weather, troops and support available,
                 time available, civil considerations, and informational considerations as it relates to the
                 specific leg. Finally, leaders capture this information and draw a sketch on a route chart.
                 (See figure 3-1.)




           3-6                                        ATP 3-21.8




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                                  Figure 3-1. Sketching of legs, example


            ROUTE EXECUTION
               3-29. Using decisions about the route and navigation made during planning and
               preparation, leaders execute their route and direct their subordinates. In addition to
               executing the plan, leaders—
                          Determine and maintain accurate location.
                          Designate rally points.

            DETERMINE AND MAINTAIN ACCURATE LOCATION
               3-30. A leader must always know the unit’s location during movement. Without an
               accurate location, the unit cannot rapidly receive help from supporting arms, integrate
               reserve forces, or accomplish their mission. To ensure an accurate location, a leader uses
               many techniques, including:
                          Executing common skills.
                          Designating a compass Soldier and pace Soldier.
                          Using command and control systems (for example, GPS).

                                                   ATP 3-21.8                                       3-7




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           Common Skills
                 3-31. All Infantry Soldiers, particularly leaders, must be experts in land navigation.
                 Important navigation tasks common to all include:
                           Locating a point using grid coordinates. Using a compass (day/night).
                           Determining location using resection, intersection, or modified resection.
                           Interpreting terrain features.
                           Measuring distance and elevation.
                           Employing command and control systems.

           Compass Soldier
                 3-32. The compass Soldier assists in navigation by ensuring the lead fire team leader
                 remains on course at all times. The compass Soldier should be thoroughly briefed.
                 Instructions to the compass Soldier must include an initial azimuth with subsequent
                 azimuths provided as necessary. The platoon leader or squad leader should also
                 designate an alternate compass Soldier and validate the patrol’s navigation with GPS
                 devices.

           Pace Solder
                 3-33. The pace Soldier maintains an accurate pace at all times. The platoon leader or
                 squad leader should designate how often the pace Soldier reports the pace. The pace
                 Soldier also should report the pace at the end of each leg. The platoon leader or squad
                 leader should designate an alternate pace Soldier.

           Global Positioning Systems
                 3-34. During planning, leaders enter their waypoints into the GPS. Once entered, the
                 GPS can display information such as distance and direction from waypoint to waypoint.
                 During execution, leaders use the GPS to establish their exact location.
                 3-35. GPS signals are subject to denial by threat forces. Also, GPS signals may be
                 inaccurate in dense foliage. Both mean that GPS should always be backed with map,
                 compass, and pace count.

                   Note. Leaders need to remember GPS and digital displays are not the only
                   navigational tools they can use. The best use of GPS or digital displays is for
                   confirming the unit’s location during movement. Terrain association and
                   map- reading skills still are necessary, especially for point navigation. Over
                   reliance of GPS and digital displays can cause leaders to ignore the effects of
                   terrain, travel faster than conditions allow, miss opportunities, or fail to modify
                   routes when necessary.




           3-8                                       ATP 3-21.8




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            DESIGNATE RALLY POINTS
               3-36. A rally point is a place designated by the leader where the unit moves to
               reassemble and reorganize if it becomes dispersed. It also can be a place for a temporary
               halt to reorganize and prepare for actions at the objective, to depart from friendly lines,
               or to reenter friendly lines. Planned rally points are common control measures used
               during tactical movement. (See chapter 7 for additional information.)

             SECTION II – TACTICAL MOVEMENT (APPROACH MARCH)
               3-37. This section discusses the tactical movement of Infantry small units (specifically
               the fire team, squad, and platoon) during the conduct of an approach march. Platoon
               leaders use tactical movement for several purposes: to conduct movement, to relate one
               squad to another on the ground; to position firepower to support the direct-fire plan; to
               establish responsibilities for security among squads; and/or to aid in the execution of
               battle drills. Just as leaders do with maneuver, leaders plan tactical movements based on
               where they expect enemy contact, and how they are to react to contact (see chapter 2).
               Platoon leaders evaluate the situation and decide what type of tactical movement best
               suits the situation and mission. During approach marches, units use movement
               formations and movement techniques to balance security and speed throughout the
               operation. (See chapter 6 section VIII for additional information on tactical and
               nontactical movement.)

                 Note. Tactical movement involves movement of a unit assigned a mission under
                 combat conditions when not in direct ground contact with the enemy. Tactical
                 movement is based on the anticipation of early ground contact with the enemy,
                 either en route or shortly after arrival at the destination. Tactical movement ends
                 when ground contact is made, or the unit reaches its destination. Tactical
                 movement is not maneuver.



            MOVEMENT FORMATIONS
               3-38. A movement formation is an ordered arrangement of forces for a specific purpose
               and describes the general configuration of a unit on the ground (ADP 3-90). They are
               composed of two variables: lateral frontage, represented by the line formation; and
               depth, represented by the column formation. The advantages attributed to one of these
               variables are disadvantages to the other. Leaders combine the elements of lateral
               frontage and depth to determine the best formation for their situation. In addition to the
               line and column/file, the other five types of formations—box, vee, wedge, diamond, and
               echelon—combine these elements to varying degrees. Each does so with different
               degrees of emphasis resulting in unique advantages and disadvantages.

            MOVEMENT CONSIDERATIONS
               3-39. Movement formations do not demand parade-ground precision. Platoons and
               squads must retain the flexibility needed to vary their formations to the situation. Using

                                                   ATP 3-21.8                                        3-9




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                  formations allows Soldiers to execute battle drills quickly and gives them the assurance
                  their leaders and buddy team members are in the expected positions and performing the
                  right tasks. Formations also provide 360-degree security and allow units to give most of
                  their firepower to the flanks or front in anticipation of enemy contact.
                  3-40. Sometimes platoon and company formations differ due to the mission variables
                  of METT-TC (I). For example, the platoons could move in wedge formations within a
                  company vee. It is not necessary for platoon formations to be the same as the company
                  formation unless directed by the company commander. However, platoon leaders
                  coordinate their formation with other elements moving in the main body’s formation.

                    Note. Formation illustrations shown in this chapter are examples only. They
                    might not depict actual situation or circumstances. Leaders must be prepared to
                    adapt their choice of formation to the specific situation. Leaders always should
                    position themselves where they can best control their formations.


                  3-41. The seven movement formations can be grouped into two categories: formations
                  with one lead element, and formations with more than one lead element. The formations
                  with more than one lead element, as a general rule, are better for achieving fire
                  superiority—the dominating fires of one force over another force that permits that force
                  to maneuver at a given time and place without prohibitive interference by the other
                  (FM 3-90)—to the front but are more difficult to control. Conversely, the formations
                  with only one lead element are easier to control but are not as useful for achieving fire
                  superiority to the front.
                  3-42. Leaders attempt to maintain flexibility in their formations. Doing so enables them
                  to react when unexpected enemy actions occur. The line, echelon, and column
                  formations are the least flexible of the seven formations. The line formation masses fires
                  to the front but has vulnerable flanks. The echelon is optimized for a flank threat,
                  something units want to avoid. The column has difficulty reinforcing an element in
                  contact. Leaders using these formations should consider ways to reduce the risks
                  associated with their general lack of flexibility. For example, by expanding or
                  contracting the formation depending on the terrain.
                  3-43. During movement, every squad and Soldier has a standard position within a
                  tactical movement. During movement Soldiers can see their fire team leaders. Fire team
                  leaders can see their squad leaders. Leaders control their units using dismounted hand
                  and arm signals and intra-squad and team communications (see TC 3-21.60 and
                  ATP 6-02.53). Movement formation considerations and hand and arm (dismounted)
                  signals are addressed and illustrated, respectively in table 3-1.




           3-10                                        ATP 3-21.8




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             Table 3-1. Movement formation considerations with hand and arm signals




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           FIRE TEAM MOVEMENT FORMATIONS
                  3-44. The term fire team formation refers to the Soldiers’ relative positions within the
                  fire team. The most common fire team formations among the movement options
                  addressed in table 3-1 on page 3-11 include the fire team wedge and fire team
                  column/file. (See table 3-2.) Both formations have advantages and disadvantages.
                  Regardless of which formation the team employs, Soldiers must know their location in
                  the formation relative to the other fire team members and team leader. Each Soldier
                  covers a set area of responsibility for observation and direct fire as the team is moving.
                  To provide the unit with all-around protection, these areas interlock. Team leaders are
                  constantly aware of their teams’ sectors of fire and correct them as required.
                                Table 3-2. Comparison of fire team formations




                                 Basic fire
                  Fire team                                                  Allows immediate
                                   team          Easy          Good                                  All-round
                   wedge                                                    fires in all direction
                                 formation
                                    Close
                                   terrain,                                  Allows immediate
                                                                Less
                   Fire team       limited                                  fires to the flanks,
                                                Easiest     flexible than                             Least
                  column/file     visibility,                               masks most fires to
                                                             the wedge
                                    dense                                         the rear
                                 vegetation

                  3-45. The team leader adjusts the team’s formation as necessary while the team is
                  moving. The distance between Soldiers will be determined by the mission, the nature of
                  the threat, the closeness of the terrain (such as swamps, woods, hilly and mountainous
                  areas, and urban areas), and by the visibility. As a rule, the unit should be dispersed up
                  to the limit of control. This allows for a wide area to be covered, makes the team’s
                  movement difficult to detect, and makes it less vulnerable to enemy ground and air
                  attack. Fire teams rarely act independently. However, in the event they do, when halted,
                  they use a perimeter defense to ensure all-around security.

           Fire Team Wedge
                  3-46. The wedge (see figure 3-2) is the basic formation of the fire team. The interval
                  between Soldiers in the wedge formation is normally 10 meters. The wedge expands and
                  contracts depending on the terrain. Fire teams modify the wedge when encountering
                  rough terrain, poor visibility, or other factors make control of the wedge difficult. The
                  normal interval is reduced so all team members still can see their team leader and all
                  team leaders still can see their squad leader. The sides of the wedge can contract to the
                  point where the wedge resembles a single file. Soldiers expand or resume their original
                  positions when moving in less rugged terrain where control is easier.



           3-12                                           ATP 3-21.8




                                                                                                                 OAG006662
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                                                                                 Movement and Maneuver



               3-47. In this formation, fire team leaders are in the lead position with their Soldiers
               echeloned to the right and left behind them. The positions for all but the leader may vary.
               This simple formation permits the fire team leader to lead by example. The leader’s
               standing order to the Soldiers is, “Follow me and do as I do.” When the leader moves to
               the right, the Soldiers should move to the right. When the leader fires, the Soldiers fire.
               When using the lead-by-example technique, it is essential for all Soldiers to maintain
               visual contact with their leader.




                                        Figure 3-2. Fire team wedge


            Fire Team Column/File
               3-48. Team leaders use the column/file when employing the wedge is impractical. This
               formation most often is used in severely restrictive terrain, when inside a building, in
               dense vegetation, experiencing limited visibility, and so forth. The distance between
               Soldiers in the column/file changes due to constraints of the situation, particularly when
               in urban operations. (See figure 3-3.)




                                      Figure 3-3. Fire team column/file




                                                   ATP 3-21.8                                      3-13




                                                                                                     OAG006663
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           SQUAD MOVEMENT FORMATIONS
                  3-49. The term squad movement formation refers to the relative locations of the fire
                  teams. Squad formations include the squad column, the squad line, and squad file.
                  Table 3-3 compares squad formations.
                                  Table 3-3. Comparison of squad formations




                                                                    Aids
                                                                                     Allows large
                                                                 maneuver,
                                  The main                                         volume of fire to
                   Squad                                            good
                                    squad            Good                        the flanks but only   All-around
                   column                                        dispersion
                                  formation                                       limited volume to
                                                                laterally and
                                                                                       the front
                                                                  in-depth
                                                                   Limited
                                                                                                         Good to
                                                     Not as       maneuver
                                For maximum                                      Allows maximum         the front,
                                                    good as       capability
                  Squad line   firepower to the                                  immediate fire to     little to the
                                                      the         (both fire
                                     front                                           the front          flank and
                                                    column         teams
                                                                                                            rear
                                                                 committed)
                                Close terrain,
                                                                Most difficult   Allows immediate
                                    dense
                                                                formation to     fire to the flanks,
                  Squad file     vegetation,        Easiest                                              Least
                                                                 maneuver        masks most fire to
                               limited visibility
                                                                    from         the front and rear
                                  conditions

                  3-50. Squad leaders adjust their squad’s formation as necessary while moving, primarily
                  through the three movement techniques (see paragraphs 3-75 to 3-96). Squad leaders
                  exercise command and control primarily through the two team leaders and move in the
                  formation where they can best achieve this. Squad leaders are responsible for 360-degree
                  security, for ensuring the team’s sectors of fire are mutually supporting, and for being
                  able to rapidly transition the squad upon contact.
                  3-51. Squad leaders designate one of the fire teams as the base fire team. Squad leaders
                  control the squad’s speed and direction of movement through the base fire team while
                  the other team and attachments cue their movement off the base fire team. This concept
                  applies when not in contact and when in contact with the enemy.
                  3-52. Weapons from the weapons squad (a medium machine gun or a Javelin) (or M3
                  Multi-role, Antiarmor, Antipersonnel Weapon System [known as MAAWS]) may be
                  attached to the squad for movement or throughout the operation. These high value assets
                  need to be positioned so they are protected and can be quickly brought into the
                  engagement when required. Ideally, these weapons should be positioned so they are
                  between the two fire teams.




           3-14                                             ATP 3-21.8




                                                                                                                   OAG006664
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                                                                                 Movement and Maneuver



            Squad Column
               3-53. The squad column is the squad’s main formation for movement unless preparing
               for an assault—a short and violent well-ordered attack against a local objective
               (FM 3-90). (See figure 3-4.) It provides good dispersion both laterally and in-depth
               without sacrificing control. It also facilitates maneuver. The lead fire team is the base
               fire team. Squads can move in either a column wedge (squad column-team wedge) or a
               modified column wedge. A modified column wedge occurs when rough terrain, poor
               visibility, and other factors require the squad to modify the wedge into a file for control
               purposes. As the terrain becomes less rugged and control becomes easier, the Soldiers
               resume their original positions.




                             Figure 3-4. Squad column, fire teams in wedge


            Squad Line
               3-54. The squad line provides maximum firepower to the front and is used to assault or
               as a pre-assault formation. (See figure 3-5 on page 3-16.) To execute the squad line, the
               squad leader designates one of the teams as the base team. The other team cues its
               movement off the base team. This applies when the squad is in close combat as well.
               From this formation, the squad leader can employ any of the three movement techniques
               or conduct fire and movement.




                                                   ATP 3-21.8                                      3-15




                                                                                                     OAG006665
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                                               Figure 3-5. Squad line


           Squad File
                  3-55. The squad file has the same characteristics as the fire team file. (See figure 3-6.)
                  In the event the terrain is severely restrictive or extremely close, teams within the squad
                  file also may be in file. This disposition is not optimal for enemy contact but provides
                  squad leaders with maximum control. They increase control over the formation by
                  moving forward to the second or third position. Moving forward enables them to exert
                  greater morale presence by leading from the front, and to be immediately available to
                  make vital decisions. Moving a team leader to the last position can provide additional
                  control over the rear of the formation.




                                               Figure 3-6. Squad file




           3-16                                        ATP 3-21.8




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                                                                                 Movement and Maneuver



            WEAPONS SQUAD MOVEMENT FORMATION
               3-56. The weapons squad is not a rifle squad and should not be treated as such. During
               tactical movement, platoon leaders have one of two options when it comes to positioning
               the weapons squad. The weapons squad can either travel as a separate entity or can be
               broken up and distributed throughout the formation. The advantage to keeping the
               weapons squad together is the ability to generate a support by fire—a tactical mission
               task in which a unit engages the enemy by direct fire in support of another maneuvering
               force (FM 3-90)—quickly and gain fire superiority under the direction of the weapons
               squad leader. The disadvantage to this approach is the lack of redundancy throughout
               the formation. The advantage to distributing the weapons squad throughout the rifle
               squads is the coverage afforded to the entire formation. The disadvantage is losing the
               weapons squad leader as a single command and control element and time required
               reassembling the weapons squad, if needed.
               3-57. When the weapons squad travels dispersed, it can either be attached to squads or
               attached to the essential leaders like the platoon leader, platoon sergeant, and weapons
               squad leader. There is no standard method for its employment. Rather, the platoon leader
               places the weapons using three criteria: ability to generate fire superiority quickly,
               ability to protect high value assets, and the ability to control or deny enemy avenues of
               approach.
               3-58. Like the rifle squad, the weapons squad, when traveling as a squad, uses either a
               column or line formation. Within these formations, the two sections can be in column
               or line formation.

            PLATOON MOVEMENT FORMATIONS
               3-59. The actual number of useful combinations of squad and fire team movement
               formations within the platoon movement formations is numerous, creating a significant
               training requirement for the unit. Add to the requirement to modify formations with
               movement techniques, immediate action drills, and other techniques, and it is readily
               apparent that what the platoon leader needs a few simple methods. These methods
               should be detailed in the unit tactical standard operating procedure (SOP).

            Platoon Leader Responsibilities
               3-60. Like squad leaders, platoon leaders exercise command and control primarily
               through their subordinates and move in the formation where they can best achieve this.
               The squad leader and team leader execute the movement formations and movement
               techniques within their capabilities based on the platoon leader’s guidance.
               3-61. Platoon leaders are responsible for 360-degree security, for ensuring each
               subordinate unit’s sectors of fire are mutually supporting, and for being able to transition
               the platoon rapidly upon contact. They adjust their platoon’s formation as necessary
               while moving, primarily through the three movement techniques. Like the squad and
               team, this determination is a result of the task, the nature of the threat, the closeness of
               terrain, and visibility.


                                                    ATP 3-21.8                                      3-17




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                  3-62. Platoon leaders are responsible for ensuring their squads can perform their
                  required actions. They do this through training before combat and rehearsals during
                  combat. Well-trained squads can employ movement formations, movement techniques,
                  actions on contact (see chapter 2), and stationary formations (for example, security halts,
                  see paragraphs 6-70 to 6-75).

           Platoon Headquarters
                  3-63. Platoon leaders must decide how to disperse the platoon headquarters elements
                  (themselves, their radiotelephone operator [known as RTO], forward observer [FO],
                  platoon sergeant, and combat medic). These elements do not have fixed positions in the
                  formations. Rather, they should be positioned where they can best accomplish their
                  tasks. Platoon leaders position their element where best to conduct actions on contact,
                  supervise navigation, and communicate with higher. The FO team should be where they
                  can best see the battlefield and where they can communicate with the platoon leader and
                  company fire support officer. This is normally near the platoon leader. The platoon
                  sergeant’s element should be wherever the platoon leader is not. Typically, this means
                  the platoon leader is toward the front of the formation, while the platoon sergeant is
                  toward the rear of the formation. Because of the platoon sergeant’s experience, the
                  platoon sergeant should be given the freedom to assess the situation and advise the
                  platoon leader accordingly.

           Base Squad
                  3-64. Platoon leaders designate one of the squads as the base squad. They control the
                  platoon’s speed and direction of movement through the base squad, while the other
                  squads and attachments cue their movement off the base squad.

           Moving as Part of a Larger Unit’s Movement
                  3-65. Infantry platoons and squads often move as part of a larger unit’s movement. The
                  next higher commander assigns the platoon a position within the formation. Platoon
                  leaders assign their subordinates an appropriate formation based on the situation and use
                  the appropriate movement technique. Regardless of the platoon’s position within the
                  formation, it must be ready to make contact or to support the other elements by
                  movement, by fire, or by both.
                  3-66. When moving in a company formation, the company commander normally
                  designates a base platoon to facilitate control. The other platoons cue their speed and
                  direction on the base platoon. This permits quick changes and lets the commander
                  control the movement of the entire company by controlling only the base platoon. The
                  company commander normally locates within the formation where best to see and direct
                  the movement of the base platoon. The base platoon’s center squad is usually its base
                  squad. When the platoon is not acting as the base platoon, its base squad is its flank
                  squad nearest the base platoon.




           3-18                                        ATP 3-21.8




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                                                                              Movement and Maneuver



            Platoon Movement Formation Comparisons and Examples
               3-67. Platoon formations include the column, the line (squads online or in column), the
               vee, the wedge, and the file. Leaders should weigh these carefully to select the best
               formation based on the unit’s mission and on their METT-TC (I) analysis. Comparisons
               of the different formations are in table 3-4. Figures 3-7 to 3-12 on pages 3-21 through
               3-26 are examples and do not dictate the location of the platoon leader or platoon
               sergeant.
                       Table 3-4. Comparison of platoon movement formations




                                                  ATP 3-21.8                                    3-19




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               Table 3-4. Comparison of platoon movement formations (continued)




        Platoon Column
               3-68. In the platoon column formation, the lead squad is the base squad. (See
               figure 3-7.)




        3-20                                   ATP 3-21.8




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                                                                          Movement and Maneuver




                                Figure 3-7. Platoon column, example

               Note. METT-TC (I) considerations determine where the weapons squad or
               medium machine gun teams locate in the platoon formation.


         Platoon Line, Squads Online
             3-69. In the platoon line, squad’s online formation, or when two or more platoons are
             attacking, the company commander chooses one of them as the base platoon. The base
             platoon’s center squad is its base squad. When the platoon is not acting as the base

                                               ATP 3-21.8                                   3-21




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               platoon, its base squad is its flank squad nearest the base platoon. The weapons squad
               may move with the platoon, or it can provide the support by fire position. This is the
               basic platoon assault formation. (See figure 3-8.)
               3-70. The platoon line with squads online is the most difficult formation from which to
               make the transition to other formations. It may be used in the assault to maximize the
               firepower and shock effect of the platoon. This is normally done when there is no
               intervening terrain between the unit and the enemy when antitank (AT) systems are
               suppressed, or when the unit is exposed to artillery fire and must move rapidly.




                         Figure 3-8. Platoon line with squads online, example

        Platoon Line, Squads in Column
               3-71. When two or more platoons are moving, the company commander chooses one of
               them as the base platoon. The base platoon’s center squad is its base squad. When the
               platoon is not the base platoon, its base squad is its flank squad nearest the base platoon.
               (See figure 3-9.) The platoon line with squads in column formation is difficult to
               transition to other formations.




        3-22                                         ATP 3-21.8




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                                                                            Movement and Maneuver




                       Figure 3-9. Platoon line with squads in column, example

         Platoon Vee
            3-72. This formation has two squads upfront to provide a heavy volume of fire on
            contact. (See figure 3-10 on page 3-24.) It also has one squad in the rear either
            overwatching or trailing the other squads. The platoon leader designates one of the front
            squads as the platoon’s base squad.




                                                ATP 3-21.8                                     3-23




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                                    Figure 3-10. Platoon vee, example

        Platoon Wedge
               3-73. This formation has two squads in the rear overwatching or trailing the lead squad.
               (See figure 3-11.) The lead squad is the base squad. The wedge formation—
                          Can be used with the traveling and traveling overwatch techniques.
                          Allows rapid transition to bounding overwatch.




        3-24                                       ATP 3-21.8




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                                                                               Movement and Maneuver




                                 Figure 3-11. Platoon wedge, example

         Platoon File
             3-74. This formation may be set up in several methods. (See figure 3-12 on page 3-26.)
             One method is to have three-squad files follow one another using one of the movement
             techniques. Another method is to have a single platoon file with a front security element
             (point) and flank security elements. The distance between Soldiers is less than normal
             to allow communication by passing messages up and down the file. The platoon file has
             the same characteristics as the fire team and squad files. It normally is used for traveling
             only.




                                                  ATP 3-21.8                                      3-25




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                                    Figure 3-12. Platoon file, example


        MOVEMENT TECHNIQUES
               3-75. Movement techniques are not fixed formations. They refer to the distances
               between Soldiers, teams, and squads, and vary based on mission, enemy, terrain,
               visibility, and other factors affecting control. There are three movement techniques:
               traveling, traveling overwatch, and bounding overwatch.
                           Traveling is a movement technique used when speed is necessary and contact
                           with enemy forces is not likely (FM 3-90).


        3-26                                      ATP 3-21.8




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                                                                            Movement and Maneuver



                        Traveling overwatch is a movement technique used when contact with enemy
                        forces is possible (FM 3-90).
                        Bounding overwatch is a movement technique used when contact with enemy
                        forces is expected (FM 3-90).
            3-76. The selection of a movement technique is based on the likelihood of enemy
            contact and need for speed. Factors to consider for each technique are control,
            dispersion, speed, and security. (See table 3-5.)
                        Table 3-5. Movement techniques and characteristics




                           Contact
            Traveling                   More          Less             Fastest            Least
                           not likely
            Traveling       Contact
                                        Less          More             Slower             More
            overwatch       possible
            Bounding        Contact
                                        Most          Most             Slowest            Most
            overwatch      expected


              Note. In addition to walking Soldiers may move, dependent on the situation, in
              one of three other methods known as individual movement techniques. The three
              methods include the low crawl, high crawl, or rush. The low crawl method
              provides the Soldier with the lowest silhouette. Use the low crawl to cross places
              where the cover and/or concealment are very low and enemy fire or observation
              prevents a Soldier from getting up. The high crawl lets the Soldier move faster
              than the low crawl while still providing the Soldier with a low silhouette. Use the
              high crawl when there is good cover and concealment, but enemy fire prevents
              you from getting up. The rush is the fastest way to move from one covered
              position to another. Each rush should last from 3 to 5 seconds. Rushes are kept
              short to prevent enemy machine gunners or riflemen from tracking you.
              However, do not stop and hit the ground in the open just, because 5 seconds have
              passed. Always try to hit the ground behind some cover. Before moving, pick out
              your next covered and concealed position and the best route to it. (See
              TC 3-21.75 for additional information on each method.)



         SQUAD MOVEMENT TECHNIQUES
            3-77. The platoon leader determines and directs which movement technique the squad
            will use. Squad movement techniques include traveling, traveling overwatch, and
            bounding overwatch.




                                               ATP 3-21.8                                        3-27




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        Squad Traveling
               3-78. Traveling is a movement technique used when speed is necessary and contact with
               enemy forces is not likely. (See figure 3-13.)




                                 Figure 3-13. Squad traveling, example


        Squad Traveling Overwatch
               3-79. Traveling overwatch is used when contact with enemy forces is possible. Attached
               weapons move near and under the control of the squad leader so they can employ
               quickly. Rifle squads normally move in column or wedge formation. (See figure 3-14.)
               Ideally, the lead team moves at least 50 meters in front of the rest of the element.




        3-28                                      ATP 3-21.8




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                                                                             Movement and Maneuver




                        Figure 3-14. Squad traveling overwatch, example


         Squad Bounding Overwatch
            3-80. Bounding overwatch is used when contact with enemy forces is expected, the
            squad leader feels the enemy is near (based upon movement, noise, reflection, trash,
            fresh tracks, or even a hunch), or a large open danger area must be crossed. The lead fire
            team overwatches first. Soldiers in the overwatch team scan for enemy positions. The
            squad leader usually stays with the overwatch team. The trail fire team bounds and
            signals the squad leader when the team completes its bound and is prepared to overwatch
            the movement of the other team.
            3-81. Both team leaders must know with which team the squad leader will be. The
            overwatching team leader must know the route and destination of the bounding team.
            The bounding team leader must know the team’s destination and route, possible enemy
            locations, and actions to take when they arrive there. The bounding team leader must
            know where the overwatching team will be and how the bounding team will receive
            their instructions. (See figure 3-15 on page 3-30.) The cover and concealment on the
            bounding team’s route dictates how its Soldiers move.




                                                ATP 3-21.8                                      3-29




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                           Figure 3-15. Squad bounding overwatch, example


        Alternate Bounds or Successive Bounds
               3-82. During bounding overwatch, the squad can employ either of two methods of this
               technique: alternate bounds or successive bounds (see figure 3-16). In the alternate and
               successive bound techniques, the overwatching elements cover the bounding elements
               from covered, concealed positions with good observation and fields of fire against
               possible enemy positions. Overwatching elements can immediately support the
               bounding elements with fires if the bounding elements make contact. Unless they make
               contact en route, the bounding elements move via covered and concealed routes into the
               next set of support by fire positions. The length of the bound is based on the terrain and
               the range of overwatching weapons.




        3-30                                        ATP 3-21.8




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                                                                             Movement and Maneuver




                Figure 3-16. Squad successive and alternate bounds, example

         Alternate Bounds
            3-83. Covered by the rear element, the lead element moves forward, halts, and assumes
            overwatch positions. The rear element advances past the lead element and takes up
            overwatch positions. This sequence continues as necessary with only one element
            moving at a time. This method is usually more rapid than successive bounds.

         Successive Bounds
            3-84. In the successive bounding method, the lead element, covered by the rear element,
            advances and takes up overwatch positions. The rear element then advances to an
            overwatch position roughly abreast of the lead element, halts, and takes up overwatch.
            The lead element then moves to the next position, and so on. Only one element moves
            at a time, and the rear element avoids advancing beyond the lead element. This method
            is easier to control and more secure than the alternate bounding method, but it is slower.

         PLATOON MOVEMENT TECHNIQUES
            3-85. A movement technique is the manner a platoon uses to traverse terrain. The
            platoon leader determines and directs which movement technique the platoon uses.
            Movement at the company level and above often entails use of a security force and main
            body; however, Infantry platoons and squads are not large enough to separate their
            forces into separate security forces and main body forces. Platoons can accomplish these
            security functions by employing movement techniques.
            3-86. As the probability of enemy contact increases, the platoon leader adjusts the
            movement technique to provide greater security. The essential factor to consider is that
            the overwatching element must be able to ensure observation and supporting fires
            throughout, and beyond, the depth of the bounding element’s move. Additionally,
            Soldiers must be able to see their fire team leader. Squad leaders must be able to see
            their fire team leaders. The platoon leader should be able to see the lead squad leader.




                                                ATP 3-21.8                                      3-31




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        Traveling
               3-87. Platoons often use the traveling technique when contact is not likely, and speed is
               needed. (See figure 3-17.) When using the traveling technique, all unit elements move
               continuously. In continuous movement, all Soldiers travel at a moderate rate of speed,
               with all personnel alert. During traveling, formations are essentially not altered except
               for effects of terrain.




                                 Figure 3-17. Platoon traveling, example


        Traveling Overwatch
               3-88. Traveling overwatch is an extended form of traveling in which the lead element
               moves continuously but trailing elements open the distance between themselves and the
               lead element by dropping back, while varying their speed and sometimes pausing to
               provide overwatch of the lead element. (See figure 3-18 on page 3-34.) Traveling
               overwatch is used when enemy contact is possible but not expected. Caution is justified
               but speed is desirable.
               3-89. The trail element maintains dispersion based on its ability to provide immediate
               suppressive fires in support of the lead element. The intent is to maintain depth, provide
               flexibility, and continue movement in case the lead element is engaged. The trailing
               elements cue their movement to the terrain, overwatching from a position where they
               can support the lead element if needed. Trailing elements overwatch from positions and

        3-32                                        ATP 3-21.8




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                                                                              Movement and Maneuver



            at distances that do not prevent them from firing or moving to support the lead element.
            The idea is to put enough distance between the lead units and trail units so that if the
            lead unit comes into contact, the trail units will be out of contact but have the ability to
            maneuver on the enemy.
            3-90. Traveling overwatch require leaders to control their subordinates’ spacing to
            ensure mutual support. This involves a constant process of concentrating (close it up)
            and dispersion (spread it out). The primary factor is mutual support, with its two critical
            variables being weapon ranges and terrain. Infantry platoons’ and squads’ weapon range
            and terrain limitations dictate the distance between two units that their direct fires can
            cover effectively. In compartmentalized terrain, this distance is closer, but in open
            terrain this distance is greater.

              Note. Mutual support has two aspects—supporting range and supporting
              distance. Supporting range is the distance one unit may be geographically
              separated from a second unit yet remain within the maximum range of the second
              unit’s weapons systems. For small units (such as squads, sections, and platoons),
              it is the distance between two units that their direct fires can cover effectively.
              Visibility may limit the supporting range. If one unit cannot effectively or safely
              fire to support another, the first may not be in supporting range, even though its
              weapons have the required range. Supporting distance is the distance between
              two units that can be traveled in time for one to come to the aid of the other and
              prevent its defeat by an enemy. (See ATP 3-21.10 for additional information.)




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                          Figure 3-18. Platoon traveling overwatch, example


        Bounding Overwatch
               3-91. Bounding overwatch is like fire and movement in which one unit overwatches the
               movement of another. (See figure 3-19.) The difference is there is no actual enemy
               contact. Bounding overwatch is used when the leader expects contact. The key to this
               technique is the proper use of terrain.




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                       Figure 3-19. Platoon bounding overwatch, example

         One Squad Bounding
            3-92. One squad bounds forward to a chosen position; it then becomes the overwatching
            element unless contact is made en route. The bounding squad can use traveling
            overwatch, bounding overwatch, or individual movement techniques (low and high
            crawl, and 3- to 5-second rushes by the fire team or buddy teams [see note on
            page 3-27]).
            3-93. The mission variables of METT-TC (I) dictate the length of the bounds. However,
            the bounding squads never should move beyond the range at which the base-of-fire
            squads can suppress known, likely, or suspected enemy positions. In severely restrictive
            terrain, the bounding squads make shorter bounds than they would in more open areas.
            The destination of the bounding element is based on the suitability of the next location
            as an overwatch position. When deciding where to send the bounding squad, a platoon
            leader considers—
                        The requirements of the mission.
                        Where the enemy is likely to be.


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                          The routes to the next overwatch position.
                          The ability of an overwatching element’s weapons to cover the bound.
                          The responsiveness of the rest of the platoon.

        One Squad Overwatching
               3-94. One squad overwatches the bounding squad from covered positions and from
               where it can see and suppress likely enemy positions. The platoon leader remains with
               the overwatching squad. Normally, at least one of the platoon’s medium machine guns
               are located with the initial overwatching squad.

        One Squad Awaiting Orders
               3-95. Based on the situation, one squad is uncommitted and ready for employment as
               directed by the platoon leader. The platoon sergeant and leader of the squad awaiting
               orders position themselves close to the platoon leader. On contact, this unit should be
               prepared to support the overwatching element, move to assist the bounding squad, or
               move to another location based on the platoon leader’s assessment.

        Weapons Squad
               3-96. Medium machine guns normally are employed in one of two ways—
                        Attached to the overwatch squad or the weapons squad supporting the
                        overwatching element.
                        Awaiting orders to move (with the platoon sergeant) or as part of a bounding
                        element.

        Command and Control of the Bounding Element
               3-97. Ideally, the overwatch element maintains visual contact with the bounding
               element. However, the leader of the overwatch element may have the ability to track the
               location of the bounding element digitally without maintaining visual contact. This
               provides the bounding element further freedom in selecting covered and concealed
               routes to its next location. Before a bound, platoon leaders give an order to their squad
               leaders from the overwatch position. (See figure 3-20.) They tell and show them the
               following:
                           The direction or location of the enemy (if known).
                           The positions of the overwatching squad.
                           The next overwatch position.
                           The route of the bounding squad.
                           What to do after the bounding squad reaches the next position.
                           What signal the bounding squad will use to announce it is prepared to
                           overwatch.
                           How the squad will receive its next orders.




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             Figure 3-20. Platoon leader order for bounding overwatch, example


         MOVEMENT DURING LIMITED VISIBILITY
            3-98. At night or when visibility is poor, a platoon must be able to function in the same
            way as during daylight. It must be able to control, navigate, and maintain security, move,
            and stalk at night or during limited visibility. (See ATP 3-21.10 for additional
            information.) Additional considerations include—
                      When visibility is poor, the following methods aid in control:
                          Use of night vision devices.
                          Infrared chemical lights.
                          Leaders move closer to the front.
                          The platoon reduces speed.
                          Soldiers use two small strips of luminous tape on the rear of their helmet,
                          allowing Soldiers behind them to see them from the rear.

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                             Leaders reduce the interval between Soldiers and units to make sure they
                             can see each other.
                             Leaders conduct headcounts at regular intervals and after each halt to
                             ensure personnel accountability.
                          To assist in navigation during limited visibility, leaders use—
                             Terrain association (general direction of travel coupled with recognition
                             of prominent map and ground features).
                             Dead reckoning, compass direction and specific distances or legs. (At the
                             end of each leg, leaders should verify their location.)
                             Movement routes that parallel identifiable terrain features.
                             Guides or marked routes.
                             Command and control systems.
                          For stealth and security in night moves, squads, and platoons—
                             Designate a point Soldier to maintain alertness, the lead team leader to
                             navigate, and a pace Soldier to count the distance traveled.
                             Alternate compass and pace Soldiers are designated.
                             Ensure good noise and light discipline.
                             Use radio-listening silence.
                             Camouflage Soldiers and equipment.
                             Use terrain to avoid detection by enemy surveillance or night vision
                             devices.
                             Make frequent listening halts.
                             Mask the sounds of movement with artillery fires.

          SECTION III – MANEUVER
               3-99. Maneuver begins once a unit has made contact with the enemy. Direct fire is
               inherent in maneuver, as is close combat. At the platoon level, maneuver forms the heart
               of every tactical operation and task. Platoon leaders maneuver their squads to close with,
               gain positional advantage over, and ultimately destroy the enemy.

        BASE-OF-FIRE ELEMENT
               3-100. Combining fire and movement requires a base of fire. Some platoon elements
               (usually a squad, for example, the weapons squad) remain stationary to provide
               protection for bounding elements by suppressing or destroying enemy elements. For
               example, the rifle squads of the platoon can maneuver while protected by the weapons
               squad in a base-of-fire position and then establish another base of fire with the weapons
               or a rifle squad.
               3-101. Because maneuver is decentralized in nature, platoon leaders determine from
               their terrain analysis where and when they want to establish a base of fire. During actions
               on contact, they adjust maneuver plans as needed. Making maneuver decisions normally



        3-38                                        ATP 3-21.8




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            falls to the leader on the ground, who knows what enemy elements can engage the
            maneuvering element and what friendly forces can provide the base of fire.
            3-102. The base-of-fire element occupies positions that afford the best possible cover
            and concealment, a clear view, and clear fields of fire. Platoon leaders normally
            designate a general location for the base of fire, and the element leader selects the exact
            location. Once in position, the base-of-fire element suppresses known, likely, or
            suspected enemy elements while aggressively scanning its assigned sector. It identifies
            previously unknown elements and then suppresses them with direct and indirect (when
            available) fires. The base-of-fire element allows the bounding unit to keep maneuvering
            so it can retain the initiative even when the enemy can see and fire on it. While
            maneuvering to or in position, the base-of-fire element leader is constantly looking for
            other locations that may provide better support for the maneuvering element. If a more
            suitable position is identified, the base of fire element leader will direct buddy team
            maneuver, while the rest of the element continues supporting the maneuvering element
            until the base of fire element has reached its new position.

         BOUNDING ELEMENT
            3-103. Maneuver is inherently dangerous. Enemy weapons, unknown terrain, and
            other operational factors all increase the danger. When maneuvering, the platoon leader
            considers the following:
                       The bounding element must take full advantage of whatever cover and
                       concealment the terrain offers.
                       Squad members must always maintain all-around security and continuously
                       scan their assigned sector of fire.
                       The mission variables of METT-TC (I) dictate the length of the bounds.
                       However, the bounding element should never move beyond the range at
                       which the base-of-fire element can effectively suppress known, likely, or
                       suspected enemy positions. General practice is to limit movement to no more
                       than two-thirds the effective range of the supporting weapon system.
                       In severely restricted terrain, the bounding element makes shorter bounds
                       than it would in more open areas.
                       The bounding element must focus on its ultimate goal—gaining a positional
                       advantage. Once achieved, the element uses this advantage to destroy the
                       enemy with direct fires and dismounted Infantry assault.

              Note. Skillful integration of supporting direct fires improves the survivability and
              lethality of the Infantry rifle platoon. For example, the supporting heavy weapon
              systems of the Infantry weapons company of the Infantry battalion (see
              ATP 3-21.20 appendix D) may focus on destroying armored enemy vehicles and
              dismounted Soldiers at long ranges or become the base of fire while an Infantry
              maneuver element bounds.




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        PLATOON AS THE RESERVE
               3-104. The designation of a reserve allows the commander to retain flexibility during
               an attack or the defense. The commander should be prepared to commit the reserve to
               exploit success and to continue the attack or to reinforce the defense. The reserve may
               repulse counterattacks during consolidate and reorganization. The reserve is normally
               under a commander’s control and positioned where it can best exploit the success of the
               attack or defense. The reserve should not be so close that it loses flexibility during the
               assault or defense.
               3-105. During the attack or defense, the Infantry rifle platoon may be designated the
               company or battalion reserve. A reserve is an uncommitted unit, though it may have a
               be-prepared mission. The company or battalion commander commits the reserve to
               reinforce the main effort and to maintain the momentum. To exploit the success of the
               other attacking units, the reserve should attack the enemy from a new or unexpected
               direction. Because of the many missions the platoon may be assigned, the platoon leader
               has to maintain situational awareness, know the missions and tactical plans of the other
               units, and be familiar with the terrain and enemy situation in the whole AO. It must react
               quickly and decisively when committed.
               3-106. The reserve platoon may be assigned one or more of the following be-prepared
               missions:
                         Protect the flank and rear of the unit.
                         Conduct a counterattack or establish a blocking position.
                         Maintain contact with adjacent units.
                         Clear—a tactical mission task in which a unit eliminates all enemy forces
                         within an assigned area (FM 3-90)—a position that has been overrun or
                         bypassed by another unit.
                         Reduce—a tactical mission task in which a unit destroys an encircled or
                         bypassed enemy force (FM 3-90)—a position that has been encircled or
                         bypassed enemy.
                         Establish a support by fire position.
                         Assume the mission of an attacking or defending unit.
                         Attack from a new or unexpected direction.
                         Protect or assist in the consolidate and reorganization on the objective.




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                                                 Chapter 4
                                                Offense

                Platoon leaders and squad leaders must understand the principles
                and tactics, techniques, and procedures associated with the offense.
                They must comprehend their role when operating within a larger
                organization’s operations, and when operating independently.
                Leaders must recognize the complementary and reinforcing effects
                of other maneuver elements and supporting elements with their own
                capabilities and understand the impact of open or restrictive terrain
                on their operations. The primary purpose of the offense for the
                Infantry rifle platoon is to decisively defeat, destroy, or neutralize
                the enemy force, or to seize key terrain. This chapter covers the
                basic components during the conduct of the offense, common
                offensive planning considerations, movement to contact, and attack.

           SECTION I – CONDUCT OF THE OFFENSE
            4-1. Offensive action is the critical part of any engagement. Successful offensive
            operations require units to seize, retain, and exploit the initiative to defeat—to render a
            force incapable of achieving its objectives (ADP 3-0)—the enemy. Even when
            conducting primarily defensive operations, taking the initiative from the enemy requires
            offensive operations that are force- or terrain-oriented. Force-oriented tasks focus on the
            enemy while terrain-oriented tasks focus on seizing, retaining, and controlling terrain
            and facilities. The tactical mission tasks, seize, retain, and control are defined as follows:
                        Seize is a tactical mission task in which a unit takes possession of a designated
                        area by using overwhelming force (FM 3-90).
                        Retain is a tactical mission task in which a unit prevents enemy occupation
                        or use of terrain (FM 3-90).
                        Control is a tactical mission task in which a unit maintains physical influence
                        over an assigned area (FM 3-90).

         CHARACTERISTICS OF THE OFFENSE
            4-2. The offense is characterized by audacity, concentration, surprise, and tempo. The
            ability to gain and maintain the initiative to defeat an enemy greatly depends upon the
            proper application of the characteristics of the offense. (See FM 3-96 for additional
            information.)




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        AUDACITY
              4-3. Audacity is a willingness to take bold risks. The bold execution of plans increases
              the chance for surprise and enables leaders to control the tempo. This depends upon the
              leader’s ability to see opportunities for action and accept prudent risks commensurate
              with the value of their objectives to take advantage of those opportunities. Leaders dispel
              uncertainty by acting decisively and inspire Soldiers to overcome adversity and danger.
              They compensate for a lack of information by developing the situation aggressively and
              seizing the initiative. The Infantry platoon and squad demonstrate audacity through—
                         Building flexible plans that allow leaders to adapt to changing circumstances.
                         Maintaining situational awareness to identify and take advantage of
                         opportunities.
                         Understanding the true value of an objective to the larger operation and the
                         risks involved in achieving it.
                         Maintain continuous communications to ensure others are aware of changes
                         to the plan.
                         Requesting additional support as required to mitigate unnecessary risks.

        CONCENTRATION
              4-4. Concentration is massing the effects of combat power in time and space at the
              decisive point(s) to achieve a single purpose. This requires coordination and an
              awareness of the environment to position forces in ways that enable concentration
              without losing surprise, sacrificing tempo, or creating lucrative targets for the enemy.
              The Infantry platoon and squad achieve concentration through—
                        Careful planning and coordination to synchronize efforts based on a thorough
                        terrain and enemy analysis and accurate reconnaissance and surveillance.
                        Designating a main effort and allocating resources to support it.
                        Integrating effects from higher-level assets, including indirect fires, Army
                        and joint and multinational aviation assets, and electromagnetic warfare
                        (EW) with maneuver.
                        Maintaining continuous information flow to keep operations synchronized.

        SURPRISE
              4-5. Surprise is an effect achieved by attacking the enemy at a time or place they do
              not expect or in a manner for which they are unprepared. Surprise delays enemy
              reactions, overloads and confuses enemy command and control systems, induces
              psychological shock in enemy Soldiers and leaders, and reduces the coherence of
              defensive missions. By diminishing enemy combat power, surprise enables the attackers
              to exploit enemy paralysis and hesitancy. The Infantry platoon and squad achieve
              surprise by—
                         Conducting thorough reconnaissance and surveillance to confirm enemy
                         disposition, determine what actions they are prepared for, and identify
                         opportunities to exploit in unexpected ways.


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                       Changing the tempo of operations or accepting risk in a way the enemy was
                       unable to anticipate.
                       Conducting counterreconnaissance, employing stealth, and disrupting
                       communications to deny enemy situational understanding.
                       Striking the enemy from an unexpected direction, at an unexpected time, and
                       with a combination of capabilities that they are unable to defeat.

         TEMPO
            4-6. Tempo is the relative speed and rhythm of military operations over time with
            respect to the enemy (ADP 3-0). Tempo is not simply moving fast, but the idea that the
            cumulative effects of offense operations place enemy forces under continuous pressure.
            Even if portions of friendly forces are in a tactical pause, someone is always applying
            pressure, resulting in an enemy force that is reactive. Controlling or altering tempo is
            necessary to retain the initiative. A faster tempo allows attackers to quickly penetrate
            barriers and defenses and destroy enemy forces in-depth before they can react. Leaders
            can also purposely slow the tempo to lull the enemy into a false sense of security, but
            this is rarely done at the platoon or squad level. Leaders adjust tempo as tactical
            situations, sustainment necessity, or operational opportunities allow. They ensure
            synchronization and proper coordination, but not at the expense of losing opportunities
            to defeat the enemy. Rapid tempo denies the enemy the chance to rest while continually
            creating offensive opportunities but demands quick decisions and places ever increasing
            strain on Soldiers, equipment, and systems. The Infantry platoon and squad control the
            tempo by—
                        Streamlining planning, preparation, and recovery activities to start movement
                        more quickly than expected from a previous action.
                        Moving more quickly than expected, especially across restrictive terrain.
                        Engaging the enemy at multiple locations within a short time or
                        simultaneously.
                        Maintaining situational awareness and audaciously exploiting opportunities
                        as they appear.

         OFFENSIVE OPERATIONS
            4-7. An offensive operation is an operation to defeat or destroy enemy forces and gain
            control of terrain, resources, and population centers (ADP 3-0). Offensive operations
            impose the leader’s will on an enemy. The offense is the most direct means of seizing,
            retaining, and exploiting the initiative to gain a physical and psychological advantage.
            In the offense, the platoon’s main effort is a sudden action directed toward enemy
            weaknesses and capitalizing on speed, surprise, and shock. If that effort fails to destroy
            an enemy, operations continue until enemy forces are defeated. The offense compels an
            enemy to react, creating new or larger weaknesses the attacking force can exploit. The
            four types of offensive operations are movement to contact, attack, exploitation, and
            pursuit.



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        MOVEMENT TO CONTACT
              4-8. Movement to contact is a type of offensive operation designed to establish or
              regain contact to develop the situation (FM 3-90). The goal of a movement to contact is
              to make initial contact with the smallest friendly force possible, consistent with
              protecting the force while retaining enough combat power to develop the situation and
              mitigate the associated risk. The unit conducts a movement to contact when the enemy
              situation is vague or not specific enough to conduct an attack. A movement to contact
              creates favorable conditions for subsequent tactical actions. Once the platoon makes
              contact with the enemy force, the leader has five options: attack (platoon assault),
              defend, bypass, delay, or withdraw. Subordinate variations of a movement to contact
              include search and attack, and cordon and search operations. (See section III of this
              chapter for additional information.)

        ATTACK
              4-9. An attack is a type of offensive operation that defeats enemy forces, seizes terrain,
              or secures terrain (FM 3-90). An attack differs from a movement to contact because
              enemy main body dispositions are at least partially known, allowing the leader to
              achieve greater synchronization. This enables more effective massing of an attacking
              forces’ combat power than in a movement to contact. The attack can be hasty or
              deliberate depending upon the time available for assessing the situation, planning, and
              preparing. (See section IV of this chapter for additional information.)
              4-10. Variations of the attack are ambush, counterattack, raid, and spoiling attack (see
              section IV of this chapter). The platoon leader’s intent and the mission variables guide
              which of these variations of attack to employ. Units conduct each of these variations,
              except for a raid, as either a hasty or a deliberate operation. (See chapter 7 for additional
              information on the ambush and raid.)

        EXPLOITATION
              4-11. An exploitation is a type of offensive operation following a successful attack to
              disorganize the enemy in depth (FM 3-90). While Infantry platoons and squads might
              be part of a higher echelon exploitation as a fixing or striking force, they will not plan
              or execute one on their own. (See ATP 3-21.20 for additional information.)

        PURSUIT
              4-12. A pursuit is a type of offensive operation to catch or cut off a disorganized hostile
              force attempting to escape, with the aim of destroying it (FM 3-90). There are two
              variations of the pursuit: frontal and combination. A pursuit normally follows a
              successful exploitation but can follow any type of offensive operation if the enemy
              resistance breaks down and they begin fleeing the battlefield. Infantry platoons and
              squads do not plan pursuits at their levels and are unlikely to participate in a higher
              echelon pursuit due to a lack of mobility. (See ATP 3-21.20 for additional information.)



        4-4                                         ATP 3-21.8




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                                                                                               Offense




         FORMS OF MANEUVER
            4-13. Forms of maneuver are distinct tactical combinations of fire and movement with
            a unique set of doctrinal characteristics that differ primarily in the relationship between
            the maneuvering force and the enemy (ADP 3-90). Leaders select the form of maneuver
            based on their analysis of the mission variables of METT-TC (I) mission, enemy, terrain
            and weather, troops and support available, time available, civil considerations, and
            informational considerations. Leaders then synchronize the contributions of all
            warfighting functions to the selected form of maneuver. A platoon operation may
            contain several forms of offensive maneuver, such as a frontal attack to clear enemy
            security forces prior to establishing a support by fire position, followed by an
            envelopment focused on attacking an assailable flank—a flank exposed to attack or
            envelopment (ADP 3-90)—to avoid the enemy’s strength to the front of an objective. A
            form of maneuver can also be used in the defense (see chapter 5). For example, in an
            area defense or mobile defense the counterattacking force or striking force, respectively,
            conducts an envelopment to destroy the enemy. While Infantry platoons and squads do
            not have the combat power to conduct all forms of maneuver on their own, they will
            participate as part of a larger organization. The five forms of maneuver are—
                       Frontal attack.
                       Envelopment.
                       Infiltration.
                       Turning movement.
                       Penetration.

         FRONTAL ATTACK
            4-14. A frontal attack is a form of maneuver in which an attacking force seeks to destroy
            a weaker enemy force or fix a larger enemy force in place over a broad front (FM 3-90).
            The frontal attack is usually the least desirable form of maneuver because it exposes the
            majority of the offensive force to the concentrated fires of the defender. The Infantry
            rifle platoon normally conducts a frontal attack as part of a larger operation against a
            stationary or moving enemy force. (See figure 4-1 on page 4-6.) Unless frontal attacks
            are executed with overwhelming and well-synchronized speed and strength against a
            weaker enemy, they are seldom decisive. The frontal attack may be appropriate in an
            attack (see section VI) or meeting engagement (see section III) where speed and
            simplicity are paramount to maintain tempo and, ultimately, the initiative or in a
            supporting effort to fix an enemy force.




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                                         Figure 4-1. Frontal attack


        ENVELOPMENT
              4-15. Envelopment is a form of maneuver in which an attacking force avoids an enemy’s
              principal defense by attacking along an assailable flank (FM 3-90). The attacking
              element’s main effort focuses on attacking an assailable flank. It avoids the enemy’s
              strength at the front where the effects of fires and obstacles are greatest. Generally, an
              envelopment is the preferred form of maneuver instead of a penetration or frontal attack
              because the attacking force tends to suffer fewer casualties while having the most
              opportunities to destroy the enemy. If no assailable flank is available, the attacking force
              creates one. At the tactical level (specifically at platoon and company echelons), the
              enveloping force’s main effort is focused on the enemy’s flank while the supporting
              effort of the envelopment usually engages the enemy’s front by fire. The supporting
              effort diverts the enemy’s attention from the threatened flank and prevents maneuver
              against the main effort. This form of maneuver is often used for a hasty operation
              (specifically an attack) or meeting engagement where speed and simplicity are
              paramount to maintaining battle tempo and, ultimately, the initiative. The three
              variations of the envelopment are—
                          Single envelopment—a variation of envelopment where a force attacks along
                          one flank of an enemy force (FM 3-90). (See figure 4-2.)
                          Double envelopment—a variation of envelopment where forces
                          simultaneously attack along both flanks of an enemy force (FM 3-90). (See
                          ATP 3-21.20.)
                          Vertical envelopment—a variation of envelopment where air-dropped or
                          airlanded troops attack an enemy forces rear, flank, or both (FM 3-90). (See
                          ATP 3-21.20 and FM 3-99.)




        4-6                                         ATP 3-21.8




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              Note. When the Infantry rifle company and platoon are involved in an
              envelopment as part of a larger attacking force (generally conducted on a deeper
              axis), the envelopment will generally focus on seizing terrain, destroying specific
              enemy forces, and interdicting enemy withdrawal routes. Interdict is a tactical
              mission task in which a unit prevents, disrupts, or delays the enemy’s use of an
              area or route in any domain (FM 3-90). (See ATP 3-21.20 for additional
              information on the double and vertical envelopments.)




                                   Figure 4-2. Single envelopment


         INFILTRATION
            4-16. An infiltration is a form of maneuver in which an attacking force conducts
            undetected movement through or into an area occupied by enemy forces (FM 3-90). The
            platoon leader uses infiltration to—
                       Attack lightly defended positions or stronger positions from the flank and
                       rear.
                       Secure key terrain in support of the main effort.
                       Disrupt or harass enemy defensive preparations/operations.
                       Relocate the platoon by moving to battle positions around an engagement
                       area.
                       Reposition to attack vital facilities or enemy forces from the flank or rear.
            4-17. The platoon leader can impose measures to control the infiltration including
            checkpoints, linkup points, phase lines, and assault position—a covered and concealed
            position short of the objective from which final preparations are made to assault the
            objective (ADP 3-90)—on the flank or rear of enemy positions. If it is not necessary for
            the entire infiltrating unit to reassemble to accomplish its mission, the objective area—
            a geographical area, defined by competent authority, within which is located an
            objective to be captured or reached by the military forces (JP 3-06)—may be broken into
            smaller objectives or positions. Each infiltrating element would move through a release

                                                ATP 3-21.8                                      4-7




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              point or move directly to its objective or position to conduct operations. (See figure 4-3.)
              A checkpoint—is a predetermined point on the ground used to control movement,
              tactical maneuver, and orientation (FM 3-90). The commander designates checkpoints
              along the route to assist marching units in complying with the timetable. A
              linkup point—is a designated place where two forces are scheduled to meet (FM 3-90).
              A linkup point (see paragraphs 6-44 to 6-52) should be an easily identifiable point on
              the ground, large enough for all infiltrating elements to assemble, and offer cover and
              concealment. Additional control measures for an infiltration may include—
                         An area of operations (AO) for the infiltrating unit.
                         One or more infiltration lanes.
                         A line of departure (LD) or point of departure (PD).
                         Movement routes with their associated start points and release points, or a
                         direction or axis of attack.
                         Linkup or rally points, including objective rally points (known as ORPs).
                         Support by fire, attack by fire, or assault positions.
                         A limit of advance (LOA).




        4-8                                         ATP 3-21.8




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                                      Figure 4-3. Infiltration route

            4-18. Mission analysis will dictate the location of the infiltration route(s), the number
            of infiltration lanes, the size of the infiltration lane(s), the anticipated speed of
            movement, and the time of departure. An infiltration should be planned during limited
            visibility through areas the enemy does not occupy or cover by surveillance and fire.
            Planning should incorporate infiltration lanes, rally points along the route or axis, and
            contact points. Platoons and companies usually conduct infiltrations, but it is possible to
            execute at a battalion or squad level also. Planning considerations for the integration of
            attachments must be identified to increase effectiveness and to identify the potential for
            detection. Additional considerations during mission analysis can include:
                        Level of cover and concealment.
                        Movement distance and timeframe.
                        Size of infiltrating force.
                        Time required to linkup/reassemble.
                        Movement of units simultaneously vice sequentially.


                                                ATP 3-21.8                                        4-9




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               4-19. An infiltration lane is a control measure that coordinates forward and lateral
               movement of infiltrating units and fixes fire planning responsibilities (FM 3-90). Single
               or multiple infiltration lanes can be planned. Using a single infiltration lane facilitates
               navigation, control, and reassembly, reduces susceptibility to detection, reduces the area
               requiring detailed intelligence, and increases the time required to move the force through
               enemy positions. Using multiple infiltration lanes reduces the possibility of compromise
               and allows more rapid movement but makes control more challenging. (See figure 4-4.)




                                          Figure 4-4. Infiltration lane

               4-20. Infantry forces conducting an infiltration, or a patrol (see chapter 7) commonly
               use a rally point as a control measure. A rally point is an easily identifiable point on the
               ground at which units can reassemble and reorganize if they become dispersed
               (FM 3-90). An objective rally point is an easily identifiable point where all elements of
               the infiltrating unit assemble and prepare to attack the objective (ADP 3-90). This rally
               point is typically near the infiltrating unit’s objective; however, there is no standard
               distance from the objective to the ORP. It should be far enough away from the objective
               so that the enemy will not detect the infiltrating unit’s attack preparations.

        TURNING MOVEMENT
               4-21. A turning movement is a form of maneuver in which the attacking force seeks to
               avoid the enemy’s principal defensive positions by attacking to the rear of their current
               positions forcing them to move or divert forces to meet the threat (FM 3-90). A turning

        4-10                                         ATP 3-21.8




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            movement seeks to make the enemy force displace from their current locations, whereas
            an enveloping force seeks to engage the enemy in their current locations from an
            unexpected direction. A turning movement is particularly suited for division-sized or
            larger forces possessing a high degree of tactical mobility. The Infantry rifle platoon
            participates in a turning movement as part of that larger force, most likely as a supporting
            effort or fixing force as opposed to the main effort involving the turning force. (See
            ATP 3-21.20 for additional information.)

         PENETRATION
            4-22. A penetration is a form of maneuver in which a force attacks on a narrow front
            (FM 3-90). Destroying the continuity of defense allows the enemy’s subsequent
            isolation and defeat in detail by exploiting friendly forces. The penetration extends from
            the enemy’s security area through main defensive positions into the enemy support area.
            The leader employs a penetration when there is no assailable flank, enemy defenses are
            overextended and weak spots are detected in the enemy’s positions, or time pressures
            do not permit envelopment. Penetrations are normally only conducted at battalion
            echelon and above. When essential to the accomplishment of the mission, intermediate
            objectives should be planned for the attack. Usually, when the penetration is successfully
            completed, Infantry units within the battalion transition to another form of maneuver.
            (See ATP 3-21.20 for additional information.)

         COMMON OFFENSIVE CONTROL MEASURES
            4-23. The higher commander defines the leader’s intent and establishes control
            measures allowing for decentralized execution and leader initiative to the greatest extent.
            Common control measures for the offense are the—
                      Assault position, assault time, and tactical assembly area (TAA).
                      Attack by fire position, attack position, and axis of advance.
                      Battle handover line (BHL).
                      Direction of attack.
                      Final coordination line and forward line of own troops (FLOT).
                      LOA and LD.
                      Objective and ORP.
                      Phase line.
                      Passage line, passage point, and PD
                      Probable line of deployment (PLD).
                      Rally point and release point.
                      Support by fire position.
                      Time of attack.
                      Zone.
            4-24. An AO defines the location where subordinate units conduct their offensive
            actions. One technique breaks the battalion and company AO into many-named smaller
            AO. Units remain in designated AO as they conduct their missions. Battalion and higher

                                                 ATP 3-21.8                                      4-11




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               reconnaissance assets might be used to observe an AO not assigned to a subordinate
               unit, while platoons or companies provide their own reconnaissance in their AO. This
               technique, along with target reference points (TRPs), help avoid fratricide in
               noncontiguous operations. Using a TRP facilitates the responsiveness of fixing and
               finishing elements once a reconnaissance element detects the enemy. Objectives and
               checkpoints guide the movement of subordinates and help leaders control their
               organizations. Contact points help coordination among the unit operating in adjacent
               areas.
               4-25. When looking for terrain features to use as control measures, leaders consider
               three types: contiguous; point; and area. Contiguous features follow major natural and
               man-made features such as ridgelines, valleys, trails, streams, power lines, and streets.
               Point features can be identified by a specific feature or a grid coordinate including,
               hilltops and prominent buildings. Area features are significantly larger than point
               features and require a combination of grid coordinates and terrain orientation.
               4-26. A zone is an operational area assigned to a unit in the offense that only has rear
               and lateral boundaries (FM 3-0). The non-bounded side of a zone is open towards enemy
               forces. A higher echelon headquarters uses fire support coordination and maneuver
               control measures such as an LOA and a coordinated fire line to synchronize its deep
               operations with those of a subordinate unit. Zones allow higher headquarters to adjust
               deep operations without having to change unit boundaries. This gives greater flexibility
               to the higher headquarters for controlling deep operations, allowing subordinate units to
               focus on close and rear operations. A zone is best for front-line units executing
               high-tempo offensive operations characterized by direct fire contact with the enemy and
               a fluid FLOT. Units treat everything behind the FLOT as an AO. Zone can be further
               subdivided as needed. (See FM 3-90 appendix A for additional information on zones.)
               (See ATP 3-21.10 and FM 3-96 for additional information.)

        TACTICAL FRAMEWORK OF THE OFFENSE
               4-27. Offensive operations are typically executed in a four-step tactical framework. (See
               paragraphs 4-81 to 4-87 and 4-137 to 4-154.) The framework is for discussion purposes
               only and is not the only way of executing offensive operations. These steps overlap
               during the conduct of the offense. Normally the first two steps are supporting efforts,
               while the finish step is the main effort. Follow through is usually a sequel or branch to
               the plan based upon the situation. The four-step tactical framework of the offense during
               execution is—
                          Find the enemy. Intel drives fires and maneuver.
                          Fix the enemy. Prevent repositioning or reinforcement making them easier to
                          destroy.
                          Finish the enemy. Mass available combat power to accomplish the mission.
                          Follow through. Defeat in detail, consolidate, reorganize, and transition.




        4-12                                        ATP 3-21.8




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           SECTION II – COMMON OFFENSIVE PLANNING
           CONSIDERATIONS
            4-28. Platoon leaders begin with a designated AO, identified mission, and assigned
            forces. They develop and issue planning guidance based on visualization relating to the
            physical means to accomplish the mission. Within the planning process, a warfighting
            function is a group of tasks and systems united by a common purpose that the platoon
            leader uses to accomplish missions. Warfighting functions provide an intellectual
            organization for common critical functions. The following paragraphs discuss activities,
            functions, and specific operational environments as the framework for discussing
            offensive planning considerations.

              Note. A warfighting function is a group of tasks and systems united by a common
              purpose that commanders use to accomplish missions and training objectives
              (ADP 3-0). The six warfighting functions are command and control, movement
              and maneuver, intelligence, fires, sustainment, and protection. (See FM 3-96 for
              additional information.)



         COMMAND AND CONTROL
            4-29. In the Infantry rifle platoon, the platoon leader is the central figure in command
            and control and is essential to integrating the capabilities of the warfighting functions.
            Command and control provides the greatest possible freedom of action to subordinates,
            facilitating their abilities to develop the situation, adapt, and act decisively through
            disciplined initiative within the platoon leader’s intent. It focuses on empowering
            subordinate leaders and sharing information to facilitate decentralized execution.

              Note. The art of command comprises the creative and skillful exercise of
              authority through timely decision making and leadership. Commanders
              constantly use judgment gained from experience and training to delegate
              authority, make decisions, determine the appropriate degree of control, and
              allocate resources. Control, as contrasted with command, is more science than
              art. As such, it relies on objectivity, facts, empirical methods, and analysis.
              Control requires a realistic appreciation of time and distance factors, including
              the time required to initiate, complete, and assess directed actions. Commanders
              exercise control to direct and adjust operations as conditions dictate. The science
              of control supports the art of command. (See FM 3-96 for additional
              information.)


            4-30. Command and control conveys the leader’s intent and an appreciation of
            METT-TC (I), with special emphasis on—
                     Enemy positions, strengths, and capabilities.
                     Missions and objectives, including task and purpose, for each subordinate
                     element’s shared understanding.

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                          Higher commander’s intent and scheme of maneuver.
                          AO for use of each subordinate element with associated control graphics.
                          Time the operation is to begin.
                          Scheme of maneuver and leaders positioning that allows for timely decisions
                          and the application of judgement.
                          Special tasks required to accomplish the mission.
                          Risk acceptance.
                          Options for accomplishing the mission.

        MOVEMENT AND MANEUVER
               4-31. The platoon conducts tactical movement when contact with the enemy is possible
               or anticipated. The platoon maintains integrity throughout the movement and plans for
               enemy interference en route to or shortly after arrival at its destination. During tactical
               movements, the platoon leader must be prepared to maneuver against an enemy force.
               Once deployed in its assigned AO, the platoon moves using proper techniques for
               assigned missions. When contact is made, fire and movement is executed.
               4-32. The platoon leader’s mission analysis helps to facilitate the decision on how to
               move most effectively. When planning platoon movements, the platoon leader ensures
               the unit is moving in a way that supports a rapid transition to maneuver. Platoon
               movement should be as rapid as the terrain, mobility of the force, and enemy situation
               permit while ensuring Soldiers arrive in a condition to accomplish their mission. The
               ability to gain and maintain the initiative often depends on movement being undetected
               by the enemy. The platoon depends heavily upon the terrain for protection from enemy
               fire. Once contact with the enemy is made, squads and platoons execute the appropriate
               actions on contact (see chapter 2), and leaders begin to maneuver their units.
               4-33. The platoon leader conducts movement and maneuver to avoid enemy strengths
               and create opportunities that increase the effects of combat power. Surprise is achieved
               by making unexpected maneuvers, rapidly changing the tempo of ongoing operations,
               avoiding observation, and using deceptive techniques and procedures. The platoon
               leader seeks to overwhelm the enemy with one or more unexpected actions before it has
               time to react in an organized fashion. This occurs when the attacking force can engage
               the defending enemy force from positions of advantage with respect to the enemy, such
               as engaging from an assailable flank.

        INTELLIGENCE
               4-34. The platoon leader uses threat event templates, the situation template (known as
               SITEMP), the likely threat course of action (COA), the most dangerous threat COA,
               civil consideration products, terrain analysis products, and other intelligence products
               and assessments. During offensive operations, the evaluation of avenues of approach
               leads to a recommendation of the best avenues of approach to a command’s objective
               and to the identification of avenues of approach available to the threat for counterattack,
               withdrawal, or the movement of reinforcements or reserves. By studying the terrain, the


        4-14                                        ATP 3-21.8




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            leader tries to determine the principal enemy heavy and light avenues of approach to the
            objective. The leader also tries to determine the most advantageous area from which
            enemy may defend, routes the enemy may use to conduct counterattacks, and other
            factors such as observation and field of fire, avenues of approach, key terrain, obstacles,
            and cover and concealment (OAKOC) (see paragraph 2-62). The attacking platoon
            continuously conducts information collection during the battle because it is unlikely the
            platoon leader has complete knowledge of the enemy’s intentions and actual actions.
            (See chapter 2 section II for additional information.)

         FIRES
            4-35. Prior to movement, the platoon leader plans for fires throughout the depth of the
            operation, specifically along the route to cover anticipated places of enemy contact,
            during actions on the objective, and during consolidate and reorganization activities.
            These targets (for example, TRPs and final protective fires [FPFs]) are a product of the
            platoon leader’s analysis of the mission variables of METT-TC (I) and must be
            incorporated into the company’s fire support plan.
            4-36. The platoon leader conducts fire support planning concurrently with the Infantry
            rifle company and Infantry battalion. The Infantry brigade combat team (IBCT) and
            Infantry battalion typically use top-down fire support planning, with bottom-up
            refinement of plans. As part of the top-down fire planning system, the company
            commander refines the fire support plan from higher headquarters to meet mission
            requirements, ensuring these refinements are incorporated into the higher headquarters’
            plan.
            4-37. A clearly defined concept of fires enables the platoon leader and forward observer
            (FO) to articulate precisely how they want indirect fires to affect the enemy during the
            different phases of the operation. In turn, this allows the company fire support officer to
            facilitate the development of fires supporting accomplishment of the company’s mission
            down to the squad level. (See appendix B for additional information.)

         SUSTAINMENT
            4-38. The objective of sustainment in the offense is to assist the platoon in maintaining
            the momentum. The platoon leader wants to take advantage of windows of opportunity
            and launch offensive operations with minimum advance warning time. The platoon
            sergeant and squad leaders must anticipate these events and maintain flexibility to
            support the offensive plan accordingly.
            4-39. A key to an offense is the ability to carry 72 hours of supplies specific to the
            platoon’s assigned mission, and to anticipate the requirement for resupply, specifically
            regarding ammunition, fuel, and water. This anticipation helps maintain the momentum
            of attack by resupplying as far forward as possible. Leaders use throughput distribution,
            and preplanned contingency resupply, preconfigured packages of essential items to help
            maintain offensive momentum and tempo. (See chapter 8 for additional information and
            ATP 3-21.10.)


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        PROTECTION
               4-40. The rapid tempo and changing nature of the offense presents challenges to the
               protection of friendly assets. The forward movement of subordinate units is critical if
               the leader is to maintain the initiative necessary for offensive operations. Denying the
               enemy, a chance to plan, prepare, and execute a response to the friendly offense by
               maintaining a high operational tempo is a vital means the leader employs to ensure the
               survivability of the platoon. Using multiple routes, dispersion, piecemeal destruction of
               isolated enemy forces, scheduled rotation, and relief of forces before they culminate,
               and wise use of terrain are techniques for maintaining a high tempo of offense. During
               the attack, the leader integrates and synchronizes the use of obscuration to support
               critical actions such as breaching or assaults. The mission variables of METT-TC (I)
               determine the exact techniques employed in a specific situation.
               4-41. Depending on the threat, primary protection concerns of the platoon leader may
               be enemy air threats, to include hostile small, unmanned aircraft systems. (See Battle
               Drill-React to Aircraft While Dismounted, appendix E.) If these threats exist, the leader
               prepares the unit and adjusts the scheme of maneuver accordingly. In the face of an
               enemy air threat, the platoon usually has minimal active and passive (with its organic
               weapons) air defenses. Air defense units are usually not assigned below IBCT level.
               However, air defense assets may be located near the platoon and may provide coverage.
               If air defense elements are assigned, the platoon leader with the advisement of the air
               defense element leader determines likely enemy air avenues of approach and plans
               movement routes accordingly. The platoon leader establishes priorities for protection
               during movement and during actions on the objective. (See ATP 3-01.81 for additional
               information.)
               4-42. Planning for air defense and implementing all forms of active and passive air
               defense measures are imperative to minimize the vulnerability to enemy air attack. The
               platoon leader integrates the fire support plan with any attached or supporting air defense
               assets. Should hostile aircraft attack during movement, the subordinate unit under attack
               moves off the road into a defensive posture and immediately engages the aircraft with
               all available automatic weapons. The rest of the platoon moves to covered and concealed
               areas until the engagement ends. Air defense units, when available, may move with the
               platoon. In this case, the air defense unit leader ensures both the current and projected
               weapons control status (WCS) and air defense warning are known. (See ATP 3-01.8 for
               additional information.)
               4-43. During the conduct of a passage of lines, units participating in the operation
               present a lucrative target for air attack. The passing unit leader coordinates air defense
               (when available) protection with the stationary force during the passage of lines. This
               method allows the passing force supporting air defense assets to conduct a move at the
               same time. If the passing force requires static air defense, then it coordinates the terrain
               with the stationary commander.
               4-44. When attached in a direct support role during the offense, air defense assets can
               increase protection for command posts. In addition, air defense assets may provide
               security to maneuver and sustainment units and positioned to overwatch key air and


        4-16                                         ATP 3-21.8




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            ground routes or avenues of approach. During the attack, active and passive air defense
            measures are integrated and synchronized with the use of obscuration to support critical
            actions such as breaching or assaults. (See paragraphs 5-78 to 5-79 for additional
            information on active and passive air defense.)

              Note. Survivability encompasses capabilities of military forces both while on the
              move and when stationary, see chapter 5 for additional information on
              survivability focus more on stationary capabilities—constructing fighting and
              protective positions and hardening facilities.


            4-45. The platoon leader integrates chemical, biological, radiological, and nuclear
            (CBRN) operations considerations (see paragraphs 5-80 to 5-101) into offensive
            planning depending on the CBRN threat. This includes CBRN passive defense
            principles, such as contamination avoidance, individual and collective protection, and
            decontamination. CBRN protective measures may slow the tempo, degrade combat
            power, and increase sustainment requirements. Soldiers wearing individual protective
            equipment find it difficult to work or fight for an extended period. CBRN considerations
            include the following:
                       Understand threat capabilities and likelihood to use CBRN.
                       Employ organic CBRN capabilities to maximize protection across the
                       platoon.
                       Disseminate information regarding observed CBRN threats or hazards to the
                       platoon immediately, send report to higher.
                       Understand duration of protection gear effectiveness (see paragraph 5-92 to
                       5-101).
                       Ensure Soldiers have necessary medical countermeasures (such as antidote
                       treatment nerve agent auto-injector) and decontamination kits.
                       Development of decontamination plans based on the platoon leader’s
                       priorities and vulnerability assessment.
                       Dissemination of information regarding planned and active decontamination
                       sites.
                       Preparate to conduct CBRN reconnaissance and surveillance (normally
                       conducted by the scout platoon) to assist in CBRN reconnaissance and
                       surveillance efforts.
            4-46. Like the protection requirements that are reflected in the mission-oriented
            protective posture (MOPP) level (see chapter 5 section II), personal protective
            equipment posture (PPEP) provides a threat-based framework for commanders and
            subordinate leaders to reference regarding the level of body armor and personal
            protective equipment Soldiers need to wear while conducting an operation. The PPEP
            levels range from PPEP 0 to PPEP 3 and act as a common language to standardize
            protection levels and suggested protection level based on the possible threats present on
            the battlefield. (See ATP 3-21.18 for additional information on PPEP.)



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               4-47. The most basic protection from enemy EW is radio discipline. This can take the
               form of limiting transmissions, antenna masking, and use of low power. Limiting the
               number of overall transmissions and transmission time when a radio microphone is
               keyed makes it more difficult for enemy EW operators to target friendly forces for
               geolocation and jamming. (See paragraphs 2-34 to 2-39 for additional information on
               radio discipline and paragraph 2-42 for additional information on EP.)
               4-48. Detainees and captured enemy equipment or materiel often provide excellent
               combat information (see paragraph 2-102). This information is of tactical value only if
               the platoon processes and evacuates detainees and materiel to the rear quickly. In all
               tactical situations, the platoon will have specific procedures and guidelines for
               processing detainees and captured materiel.
               4-49. As a matter of policy, all detainees are treated as enemy prisoners of war until
               their appropriate legal status is determined by a competent authority according to the
               criteria enumerated in the Geneva Convention Relatives to the Treatment of Prisoners
               of War. However, as a practical matter, when a platoon captures enemy personnel, they
               must provide the initial processing and holding for detainees. Detainee processing is a
               resource-intensive and politically sensitive operation requiring detailed training,
               guidance, and supervision.
               4-50. All detainees immediately shall be given humanitarian care and treatment. U.S.
               Armed Forces never will torture, maltreat, or purposely place detained persons in
               positions of danger. There is never a military necessity exception to violate these
               principles.
               4-51. Soldiers must process detainees using the “search, silence, segregate, speed,
               safeguard, and tag” (5 Ss and T) technique. The steps are as follows:
                          Search. Neutralize a detainee and confiscate weapons, personal items, and
                          items of potential intelligence or evidentiary value.
                          Silence. Prevent detainees from communicating with one another or making
                          audible clamor. Silence uncooperative detainees by muffling them with a
                          soft, clean cloth tied around their mouths and fastened at the backs of their
                          heads. Do not use duct tape or other adhesives, place a cloth or objects inside
                          the mouth, or apply physical force to silence detainees.
                          Segregate. Segregate detainees according to policy and SOPs. (Segregation
                          requirements differ from operation to operation.) The ability to segregate
                          detainees may be limited by the availability of manpower and resources at
                          the point of contact. At a minimum, try to segregate detainees by grade,
                          gender, age (keeping adults from juveniles and small children with mothers),
                          and security risk. Military intelligence and military police personnel can
                          provide additional guidance and support in determining the appropriate
                          segregation criteria.
                          Safeguard. Protect detainees and ensure the custody and integrity of all
                          confiscated items. Soldiers must safeguard detainees from combat risk, harm
                          caused by other detainees, and improper treatment or care. Report all injuries.
                          Correct and report violations of U.S. military policy that occur while
                          safeguarding detainees. Acts, omissions, or both that constitute inhumane

        4-18                                        ATP 3-21.8




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                       treatment are violations of the law of war and, as such, must be corrected
                       immediately. Simply reporting violations is insufficient. If a violation is
                       ongoing, a Soldier has an obligation to stop the violation and report it.
                       Speed to a safe area/rear. Quickly move detainees from the continuing risks
                       associated with other combatants or sympathizers who still may be in the area
                       of capture. If there are more detainees than the Soldiers can control, call for
                       additional support, search the detainees, and hold them in place until
                       reinforcements arrive. Evacuate detainees from the battlefield to a holding
                       area or facility as soon as possible. Transfer captured documents and other
                       property to the forces assuming responsibility of the detainees.
                       Tag. Ensure that each detainee is tagged using DD Form 2745
                       (Enemy Prisoner of War [EPW] Capture Tag). Confiscated equipment,
                       personal items, and evidence will be linked to the detainee using the
                       DD Form 2745 number. When a DA Form 4137 (Evidence/Property Custody
                       Document) is used to document confiscated items, it will be linked to the
                       detainee by annotating the DD Form 2745 control number on the form or by
                       field expedient means. Field expedient means should include tagging with
                       date and time of capture, location of capture, capturing unit, and
                       circumstances of capture. There are three parts to this form. DD Form 2745,
                       Unit Record Card, Part B, is the unit record copy. DD Form 2745,
                       Document/Special Equipment Weapons Card, Part C, is for detainee
                       confiscated property. Tagging is critical. If it does not happen, the ability of
                       higher headquarters to obtain pertinent tactical information quickly is
                       reduced greatly.
            4-52. Detainees should be evacuated as soon as is practical to the higher echelon
            detainee collection point. Military police teams, when attached, can assist in the rapid
            evacuation of detainees to these collection points. Tactical questioning of detainees is
            allowed relative to collection of commander’s critical information requirements
            (CCIRs). However, detainees must always be treated in accordance with Department of
            Defense (DOD) programs and policies that ensure compliance with the laws of the
            United States; the law of war, including the Geneva Conventions, and humane treatment
            during all intelligence interrogations, detainee debriefings, or tactical questioning. (See
            DODD 2310.01E, DODD 3115.09, and DODD 2311.01.)
            4-53. Soldiers capturing equipment, documents, and detainees should tag them (using
            the DD Form 2745, Part A), take digital pictures, and report the capture immediately.
            Detainees are allowed to keep individual protective equipment such as a protective
            mask. (See FM 3-63 for additional information.)
            4-54. The platoon leader protects subordinate squads to deny the enemy the capability
            to interfere with their ongoing operations. Protection also meets the leader’s legal and
            moral obligations to the organization’s Soldiers. Additional protection tasks (see
            ATP 3-21.10 for additional information) conducted by the platoon in the offense may
            include:




                                                ATP 3-21.8                                      4-19




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                         Employ safety techniques (including fratricide—the unintentional killing or
                         wounding of friendly or neutral personnel by friendly firepower
                         [ADP 3-37]—avoidance).
                         Implement operations security—a capability that identifies and controls
                         critical information, indicators of friendly force actions attendant to military
                         operations, and incorporates countermeasures to reduce the risk of an
                         adversary exploiting vulnerabilities (JP 3-13.3).
                         Implement physical security—that part of security concerned with physical
                         measures designed to safeguard personnel; to prevent unauthorized access to
                         equipment, installations, material, and documents; and to safeguard them
                         against espionage, sabotage, damage, and theft (JP 3-0)—procedures.

          SECTION III – MOVEMENT TO CONTACT
               4-55. Movement to contact is a type of offensive operation designed to develop the
               situation and establish or regain contact. It ends when enemy contact is made. The
               platoon usually conducts movement to contact as part of an Infantry rifle company or
               larger element. Based upon the mission variables of METT-TC (I), the platoon may
               conduct the operation independently. Search and attack, and cordon and search are
               variations of a movement to contact (see note below).

                 Note. In an environment focused on stability operations, the Infantry platoon
                 typically operates under more restrictive rules of engagement (ROE) and will
                 typically conduct either a cordon and search or search and attack when
                 conducting a movement to contact. Cordon and search is a variation of
                 movement to contact where a friendly force isolates and searches a target area
                 (FM 3-90). Search and attack is variation of a movement to contact where a
                 friendly force conducts coordinated attacks to defeat a distributed enemy force
                 (FM 3-90). (See ATP 3-21.10 and ATP 3-21.20 for additional information on
                 each variation.)



        CONDUCT OF A MOVEMENT TO CONTACT
               4-56. Purposeful and aggressive movement, decentralized control, and hasty
               deployment of formations from the march to conduct offensive operations characterize
               the movement to contact. The fundamentals of movement to contact—
                         Focus all efforts on finding the enemy.
                         Make initial contact with the smallest force possible, consistent with
                         protecting the force.
                         Make initial contact with small, mobile, self-contained forces to avoid
                         decisive engagement of the main body on ground chosen by the enemy. This
                         allows the leader maximum flexibility to develop the situation.
                         Task-organizes the force and uses movement formations to deploy and attack
                         rapidly in all directions.

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                                                                                              Offense



                       Keep subordinate forces within supporting distances to facilitate a flexible
                       response.
                       Maintains contact regardless of the COA adopted once contact is made.

         ORGANIZATION OF FORCES
            4-57. The Infantry rifle platoon normally conducts movement to contact as part of a
            company within the battalion; however, based on the mission variables of METT-TC (I)
            it can conduct the operation independently. As an example, the platoon may conduct a
            movement to contact prior to occupation of a screen line (see FM 3-98) or to expand an
            airhead line, assault objective, or security area boundary (see FM 3-99). Because the
            enemy situation is not clear, the platoon moves in a way that provides security and
            supports a rapid buildup of combat power against enemy units once they are identified.
            If no contact occurs, the platoon might be directed to conduct consolidate on the line,
            objective, or boundary. The platoon leader analyzes the situation and selects the proper
            movement formation and movement technique (see chapter 3 section II) to conduct the
            mission. The leader reports all information rapidly and accurately and strives to gain and
            maintain contact with the enemy. The platoon leader retains freedom of maneuver by
            moving the platoon in a manner that—
                       Employs a movement formation and technique that keeps the bulk of the
                       platoon out of contact and able to maneuver when making contact.
                       Rapidly develops the situation to gain understanding of the disposition of
                       threat forces.
                       Ensures continuous, effective overwatch of moving elements.
                       Ensures the platoon’s elements are not fixed in position by enemy fires.
                       Gains fire superiority when in contact to suppress enemy forces.

              Note. In both the offense and defense, forms of contact occur when a unit
              encounters any situation that requires an active or passive response to a threat or
              potential threat. The nine forms of contact are direct; indirect; nonhostile;
              obstacle; CBRN; aerial; visual; electromagnetic; and influence. The conduct of
              tactical offensive and defensive operations most often involves contact using the
              visual, direct, and indirect forms.


            4-58. When the Infantry rifle platoon conducts a movement to contact within the
            Infantry rifle company as part of the Infantry battalion’s independent movement to
            contact, the battalion normally organizes (as a minimum) with its companies and
            platoons allocated within the forward security force and a main body. (See figure 4-5 on
            page 4-22.) The forward security force generally comprises a reconnaissance and
            surveillance force (can be detailed from both the maneuver companies and the scout
            platoon), an advance guard, and flank and rear security. The main body consists of forces
            not detailed to security duties. Combat elements of the main body prepare to respond to
            enemy contact with security forces. Fire support teams (FISTs) may displace forward so
            they can respond to calls for fire immediately. The main body follows the advance guard
            and keeps enough distance between itself and the advance guard to maintain flexibility.

                                                ATP 3-21.8                                      4-21




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               The Infantry battalion commander may designate a portion of the main body as the
               reserve. (See ATP 3-21.10 for additional information.)




               Figure 4-5. Notional organization of forces for a movement to contact




        4-22                                    ATP 3-21.8




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                                                                                              Offense




         CONTROL MEASURES
            4-59. Execution of a movement to contact usually starts from an LD at the time specified
            in the operation order (OPORD). The unit’s movement is controlled by phase lines,
            contact points, and checkpoints as required. The depth of the movement to contact is
            usually controlled by a limit of advance—a phase line used to control forward progress
            of the attack (ADP 3-90)—or a forward boundary—a boundary that delineates the
            forward edge of a unit’s area of operation (FM 3-90). A lateral boundary is a boundary
            defining the left or right limit of a unit’s assigned area (FM 3-90). One or more
            objectives is designated to limit the extent of the movement to contact and to orient the
            force. However, these are often terrain-oriented (commonly called march objectives)
            and used only to guide movement. Although movement to contact may result in taking
            a terrain objective, the primary focus should be on the enemy force. The leader can
            designate a series of phase lines successively becoming the new rear boundary—a
            boundary that delineates the rearward limits of a unit’s assigned area (FM 3-90)—of
            forward security elements as the force advances. Each rear boundary becomes the
            forward boundary of the main body and shifts as the security force moves forward. The
            rear boundary of the main body designates the limit of responsibility of the rear security
            element. This line also shifts as the main body moves forward. When enough
            information is available to locate a significant enemy force(s), then another type of
            offensive operation (for example, an attack) should be conducted. (See FM 3-90 for
            additional information.)

         SEQUENCE OF EVENTS, EXAMPLE
            4-60. Most platoon movement to contacts will follow a sequence of events as part of a
            larger movement to contact. This sequence of events is used for discussion purposes and
            is not the only way to sequence a movement to contact. With any sequence, leaders
            understand events will vary depending on the mission variables of METT-TC (I) and to
            some degree, events will overlap. The sequence of events includes:
                       TAA.
                       Reconnaissance and surveillance.
                       Movement to the LD.
                       Movement after the LD.
                       Initial engagement (transition to a maneuver plan).

         TACTICAL ASSEMBLY AREA
            4-61. A tactical assembly area is an area that is generally out of the reach of light
            artillery and the location where units make final preparations (precombat checks and
            inspections) and rest, prior to moving to the line of departure (JP 3-35). Prior to
            establishing the TAA, a quartering party—a group dispatched to a new assigned area in
            advance of the main body (FM 3-90)—secures, reconnoiters, and organizes the TAA
            before the main body’s arrival and occupation. A quartering party is a group of unit
            representatives dispatched to a probable new site of operations in advance of the main


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               body. Guides within the quartering party guide the different elements of the main body
               into assigned locations within the TAA.
               4-62. Once the TAA is established, the platoon prepares for upcoming operations and
               leaders plan, direct, and supervise mission preparations. This time allows the platoon
               and squads to conduct precombat checks (PCCs), precombat inspections (PCIs),
               rehearsals, and sustainment activities. The platoon typically conducts these preparations
               within a company TAA, as it rarely occupies its own TAA. (See ATP 3-21.10 for
               additional information.)

        RECONNAISSANCE AND SURVEILLANCE
               4-63. All leaders should aggressively seek information about the terrain and enemy.
               Because the enemy situation and available planning time may limit a unit’s
               reconnaissance and surveillance activities, the platoon usually conducts reconnaissance
               to answer the CCIRs. An example is reconnoitering and timing routes from the TAA to
               the LD. The platoon may augment the efforts of the battalion scout platoon to answer
               the CCIRs. For example, the platoon may conduct an area or zone reconnaissance to
               reconnoiter an identified named area of interest (NAI). A named area of interest is a
               geospatial area or systems node or link against which information that will satisfy a
               specific information requirement can be collected, usually to capture indications of
               enemy and adversary courses of action (JP 2-0). Other forms of reconnaissance and
               surveillance provided to the platoon may include information from maps and terrain
               software/databases and unmanned aircraft systems. Updates from reconnaissance and
               surveillance activities can occur at any time while the platoon and squad are planning
               for, preparing for, or executing the mission. As a result, leaders must be prepared to
               adjust their plans.

        MOVEMENT TO THE LINE OF DEPARTURE
               4-64. The platoon and squad typically move from the TAA to the LD as part of the
               company movement plan. This plan may direct the platoon or squad to move to an
               attack position—the last position an attacking force occupies or passes through before
               crossing the line of departure (ADP 3-90)—and await orders to cross the LD. If so, the
               platoon leader reconnoiters, times, and rehearses the route to the attack position. Squad
               leaders know where they are to locate within the assigned attack position. The company
               commander may order all platoons to move within a company formation from the TAA
               directly to the point of departure—the point where the unit crosses the line of departure
               and begins moving along a direction of attack (ADP 3-90). If one PD is used, it is
               important the lead platoon and trail platoons reconnoiter, time, and rehearse the route to
               the point. This allows the company commander to maintain synchronization. To
               maintain flexibility and to maintain synchronization, a PD along the LD may be
               designated for each platoon. Movement to and/or across the LD may entail a forward
               passage of line (see chapter 6 section III for additional information).




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                                                                                              Offense



         MOVEMENT AFTER THE LINE OF DEPARTURE
            4-65. A movement to contact usually starts from a line of departure—in land warfare,
            a line designated to coordinate the departure of attack elements (JP 3-31)—at the time
            specified in the OPORD or fragmentary order (FRAGORD). The platoon leader controls
            the movement to contact of the platoon by using phase lines, contact points, and
            checkpoints as required and controls the depth of the movement to contact by using an
            LOA or a forward boundary. March objectives (one or more) may be used to limit the
            extent of the movement to contact and orient the force. This movement is often
            terrain-oriented and used only to guide the force. Although a movement to contact may
            result in taking a terrain objective, the primary focus should be on the enemy force.
            When the platoon leader has enough information to locate significant enemy forces, the
            leader should plan another type of offensive action.
            4-66. Platoon leaders plan the approach for the movement to contact, ensuring
            synchronization, security, speed, and flexibility by selecting the platoon’s routes,
            movement formation, and movement technique. Leaders must be prepared to make
            contact with the enemy. They must plan accordingly to reinforce the company
            commander’s needs for synchronization, security, speed, and flexibility. During the
            movement to contact, the platoon leader may exercise disciplined initiative and alter the
            platoon’s movement formation and movement technique or speed to maintain
            synchronization with the other platoons and squads. This retains flexibility for the
            company commander.

         INITIAL ENGAGEMENT
            4-67. Usually within the platoon’s movement technique (see paragraphs 3-85 to 3-97)
            during a movement to contact, the lead element, (usually a fire team or rifle squad) will
            make the initial contact with the enemy. Upon making contact, the lead element deploys
            and report, and evaluated and develops the situation. The lead element determines the
            size and activity of the enemy force and avoids being fixed or destroyed. If possible, the
            lead element avoids detection. When the enemy is moving, the lead element determines
            the direction of movement and the size and composition of the force. After evaluating
            and developing the situation, the element leader proposes a COA to use against the
            enemy. The element leader or attached FO can disrupt lead enemy forces by placing
            indirect fires on the enemy forces. Speed of selecting a COA and execution is critical
            when the enemy is moving. When the enemy is stationary, the lead element determines
            if the enemy is occupying prepared positions and is reinforced by obstacles and
            minefields. The lead element tries to identify any crew-served weapon or antitank (AT)
            weapon positions, the enemy’s flanks, and gaps in positions. The lead element passes
            this combat information and proposed COA to the platoon leader to assess the
            information and further develop the situation, if required. Developing the situation and
            achieving an understanding of the enemy force is critical to deciding how to continue
            the engagement.
            4-68. When the rifle platoon (or the platoon is the lead element of a company advance
            guard) is committed as the advance guard, the squad (see figure 4-6 on page 4-27), or
            platoon (see figure 4-7 on page 4-40) maneuvers to overpower and destroy a small

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               security team or squad-size element, respectively. Commitment against a larger force or
               an enemy strong point normally requires the deployment of the movement to contact’s
               main body (see ATP 3-21.10). The advance guard protects the main body by fixing
               enemy forces, which allows the movement to contact’s main body to retain its freedom
               to maneuver. In developing the situation, the advance guard platoon leader/commander
               maintains pressure on the enemy by fire and movement. The advance guard probes and
               conducts a vigorous reconnaissance of the enemy’s flanks to determine the enemy’s
               exact location, composition, and disposition. Once contact is made with an enemy force,
               there are one of five planned options—attack, defend, bypass, delay, or withdraw.




        4-26                                       ATP 3-21.8




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                                                                                       Offense




                    Figure 4-6. Initial engagement, example (squad assault)

            4-69. During planning, the five options are war-gamed, generating branch plans and
            decision points based on the current situation. The lead element within the
            platoon/company, most likely the lead team/squad of the lead squad/platoon

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               respectively, conducting the advanced guard develops the situation and reports,
               generating a decision by the higher commander. The decision points determined during
               war gaming define the conditions in terms of the enemy and friendly strengths and
               dispositions that are likely to trigger the execution of each option. Likely locations of
               enemy engagements are based on known or suspected enemy locations. The higher
               commander states the bypass criteria for the advance guard recognizing the loss of
               tempo that is created by the lead element fighting every small enemy force it encounters.
               Bypass criteria are measures established by higher echelon headquarters that specify the
               conditions and size under which enemy units and contact may be avoided (FM 3-90).
               Normally, the higher commander makes the final decision for execution of an option
               based on the progress of the initial engagement of the advance guard. The movement to
               contact generally ends with the commitment of the main body. (See ATP 3-21.10 for
               additional information.)

        OPERATIONS PROCESS
               4-70. In addition to the fundamentals of the operations process described in ADP 5-0,
               when planning and preparing for a movement to contact the platoon leader and
               subordinate leaders within the platoon recognize complexity; balance resources,
               capabilities, and activities; recognize planning horizons; and avoid pitfalls throughout
               the operations process.

                 Note. The Army’s framework for exercising command and control is the
                 operations process (plan, prepare, execute, and assess). See ADP 5-0 and FM 5-0
                 for additional information.


        PLAN
               4-71. As in any type of operation, the platoon leader plans to focus operations on finding
               the enemy and then delaying, disrupting, and destroying each enemy force as much as
               possible before direct-fire range. During troop leading procedures (TLP), the platoon
               leader analyzes the terrain to include enemy air avenues of approach and the enemy’s
               most dangerous COA as determined in the war-gaming portion of the TLP. (See
               chapter 2 for additional information on TLP.) Due to the uncertainty of the enemy’s
               precise location, the analysis during TLP may consist of multiple contingencies and
               branch plans. Because of the platoon’s vulnerability, by the nature of a movement to
               contact, the enemy must not be underestimated.
               4-72. The plan for the movement to contact addresses not only actions anticipated by
               the platoon leader based on available intelligence products and assessments, but also the
               conduct of meeting engagements—combat action that occurs when a moving force
               engages an enemy at an unexpected time and place (FM 3-90)—at anticipated times and
               locations where they might occur. The platoon leader enhances platoon security through
               a thorough analysis of the enemy as part of step 3 of TLP (make a tentative plan). The
               interpretation of the intelligence preparation of the operational environment (known as
               IPOE) products provided by the battalion through the company, and on-going

        4-28                                        ATP 3-21.8




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                                                                                                Offense



            understanding of the company commander’s visualization of the enemy and indicating
            danger areas where the platoon is most likely to make contact shapes the outcome of the
            enemy analysis. In analyzing the enemy, the platoon leader must understand the IPOE.
            Although the platoon leader does prepare IPOE products for use in preparation of
            analysis, and orders, the leader does not prepare individual products for subordinates.
            The platoon leader must be able to use the products of the battalion’s IPOE effectively
            during mission analysis and be able to inform subordinates based on the compilation of
            platoon and higher IPOE products.
            4-73. During the mission analysis conducted during step 3 of TLP, consideration of
            terrain and weather help to identify potential danger areas that are likely enemy
            defensive locations, engagement areas, observation posts, and obstacles. Fire support
            plans target potential danger areas, and they become on-order targets placed into effect
            and cancelled as the lead element can confirm or deny enemy presence. Air-ground
            operations enable fire superiority when organized correctly to fire immediate
            suppression missions to help maneuver forces get within direct-fire range of the enemy.
            The platoon movement to contact order must address coverage of these danger areas not
            only based on actions anticipated but also on available intelligence products and
            assessments.
            4-74. Lead elements of the movement to contact should have sufficient uncommitted
            forces to develop the situation without requiring the deployment of the main body in
            most cases. The platoon leader can rely on fire support assets to weight lead element
            combat power, but still provides the lead element with the combat multipliers (for
            example, internal to the platoon—a machine gun team, external to the platoon—
            company mortars, and/or external to the company—combat engineers) they need to
            accomplish their mission. The frontage assigned to the platoon and delegated to lead
            elements in a movement to contact must allow them to apply sufficient combat power
            to maintain the momentum of the operation. The frontage should also provide for
            efficient movement of the force.
            4-75. Unless there is a specific need to designate a main effort, the platoon leader may
            choose to retain control of any attached or organic assets. In this case, the platoon leader
            would designate a main effort and weight it accordingly upon contact with the enemy.
            Bypass criteria, which are measures during the conduct of a movement to contact, may
            be established by higher headquarters that specify the conditions and size under which
            enemy units and contact may be avoided. Bypass criteria are clearly stated by the higher
            commander, and dependent on the mission variables of METT-TC (I). Criteria may also
            include maneuver around an obstacle or position to maintain the momentum of the
            operation.
            4-76. A platoon leader uses the minimal number and type of control measures possible
            in a movement to contact because of the uncertain enemy situation. Control measures
            from higher may include designation of a platoon AO with left, right, front, and rear
            boundaries, or a separate AO bounded by a continuous boundary (noncontiguous
            operations). Boundaries are used to separate elements and clearly establish
            responsibilities between different elements. The platoon leader may further divide the
            AO into subordinate unit AO to facilitate subordinate unit actions.


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               4-77. The movement to contact usually starts from an LD at the time specified in the
               OPORD. The platoon leader controls the operation by using phase lines, contact points,
               and checkpoints as required. The platoon leader may control the depth of the movement
               to contact by using an LOA or a forward boundary. One or more objectives to limit the
               extent of the movement to contact and orient the force may be established. These control
               measures along with mission orders, coupled with battle drills and formation discipline,
               synchronize the movement to contact. When an axis of advance is used, for example, in
               limited visibility, the risk of enemy forces outside the axis not being detected, and thus
               being inadvertently bypassed must be understood. The platoon leader plans for the array
               and disposition of forces (for example, a hasty defense) when contact with the enemy is
               not made, or at the end of the movement to contact. (See ATP 3-21.10 for additional
               information.)

        PREPARE
               4-78. During preparation, the platoon leader and subordinate leaders must receive the
               most current information from organic and higher echelon information collection assets.
               The company commander must ensure that FRAGORDs are published and that plans
               are updated to reflect any changes to the platoon’s mission. The platoon leader must
               ensure subordinates understand the company commander’s intent and concept of
               operations and the platoon’s concept of operations and platoon’s intent, in addition to
               their individual missions even as new information becomes available. The platoon leader
               uses confirmation briefs, backbriefs, and rehearsals to ensure missions are understood
               and all actions are integrated and synchronized. Simple plans that are flexible and
               rehearsed repetitively against various enemy conditions and that rely on established
               tactical standard operating procedures (SOPs) are essential to success.
               4-79. Subordinate unit preparations are reviewed to ensure they are consistent with the
               platoon leader’s intent and concept of operations. Subordinate rehearsals should
               emphasize movement through danger areas, actions on contact, passage of lines, and
               transitions. The platoon leader and subordinate leaders ensure subordinate units (to
               include attachments) understand assigned missions during movement and maneuver
               options during execution. Plans are war-gamed and rehearsed against enemy COAs that
               would cause the platoon and/or squads to execute various maneuver options at different
               times and locations. The goal is to rehearse situations that may arise during execution to
               promote flexibility while reinforcing the platoon leader’s intent.
               4-80. The platoon leader seeks to rehearse the operation from initiation to occupation
               of the final march objective or LOA. Rehearsals include decision points and actions
               taken upon each decision. Often, the platoon leader prioritizes maneuver options and
               enemy COAs to be rehearsed based on the time available. The rehearsal focuses on
               locating the enemy, developing the situation, executing transition to a maneuver option,
               exercising direct and indirect fire control measures, and exploiting success. The
               rehearsal must consider the potential of encountering stationary or moving enemy
               forces. (See chapter 2 for additional information on preparation activities, specifically
               inspections.) Other actions to consider during rehearsals include—
                          Lead element actions on contact.


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                                                                                               Offense



                       Actions to cross danger areas.
                       Main body (participating as or in advance guard), making contact with a
                       small enemy force.
                       Main body (participating as or in advance guard), making contact with a large
                       force beyond its capabilities to defeat.
                       Main body (participating as or in advance guard), making contact with an
                       obstacle reconnaissance forces and surveillance assets did not identify and
                       report.
                       Flank/rear security force (participating in higher echelon movement to
                       contact), making contact with a small force.
                       Flank/rear security force (participating in higher echelon movement to
                       contact), making contact with a large force beyond its capability to defeat.
                       Actions to report and bypass—a tactical mission task in which a unit
                       deliberately avoids contact with an obstacle or enemy force (FM 3-90)—of
                       an enemy force (based on bypass criteria).
                       Maneuver options and transitions.

         EXECUTE
            4-81. During execution, the platoon moves rapidly to maintain the advantage of a rapid
            tempo. However, the platoon leader must balance the need for speed with the
            requirement for security. The platoon leader bases the decision on the effectiveness of
            higher echelon reconnaissance and surveillance efforts, effects of terrain, and the
            enemy’s capabilities. The platoon leader closely tracks the movement and location of
            subordinate squads, attachments, and adjacent units. This ensures that battalion and/or
            company security forces provide adequate security for the main body and that they
            remain within supporting range of the main body, mortars, and field artillery. The
            platoon synchronizes its actions with adjacent and supporting units, maintaining contact
            and coordination as prescribed in orders and unit SOP. The following paragraphs discuss
            executing a movement to contact (the platoon is subordinate to the company for this
            discussion) using the four-step tactical framework of the offense discussed earlier in this
            chapter.

         Find the Enemy
            4-82. Reconnaissance forces and surveillance assets focus on determining the enemy’s
            dispositions, providing the platoon leader through the company with relevant combat
            information. This relevant information helps to ensure subordinate squads and
            attachments are committed under optimal conditions. The platoon leader uses all
            available sources of intelligence and combat information to find the enemy’s location
            and dispositions. With this information, the platoon leader and squad leaders work to
            ensure that the platoon, as the lead element of the company, makes enemy contact with
            the smallest element possible to preserve combat power and conceal the size and
            capabilities of the company main body following the lead element.



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        Fix the Enemy
               4-83. Once contact is made, security forces and main body forces brings overwhelming
               fires onto the enemy to prevent the enemy, for example, from conducting a withdrawal,
               spoiling attack, or organizing a defense. Lead elements maneuver as quickly as possible
               to find gaps—areas free of obstacles that enable forces to maneuver in a tactical
               formation (FM 3-90)—in the enemy’s defense or where to position an attack on an
               assailable flank of the enemy. While assessing the situation the platoon leader continues
               to gather as much information as possible about the enemy’s dispositions, strengths,
               capabilities, and intentions. As more information becomes available, lead elements and
               the main body attack to destroy or disrupt enemy command and control centers, fire
               control nodes, and communication nets.
               4-84. The security force leader, (for example, the platoon leader), initiates the platoon’s
               maneuver at a tempo the enemy cannot match, since success in a meeting engagement
               (see paragraph 4-72) depends upon actions on contact. The security force, in this case
               the platoon, does not allow the enemy to maneuver against the protected main body of
               the company. The organization, size, and combat power of a security force are major
               factors determining the size of the enemy force it can defeat without deploying the main
               body. The techniques the security force leader employs to fix—a tactical mission task in
               which a unit prevents the enemy from moving from a specific location for a specific
               period (FM 3-90)—the enemy when both forces are moving are different from those
               employed when the enemy force is stationary during the meeting engagement. In both
               situations, when the security force cannot overrun the enemy by conducting a hasty
               operation, (for example, a frontal attack [see paragraph 4-14]), a portion of the main
               body is deployed. When this occurs, the unit is no longer conducting movement to
               contact but an attack. (See section IV for additional information on hasty versus
               deliberate operations and the attack.)

        Finish the Enemy
               4-85. If the security force, (for example, the platoon), cannot overrun the enemy with a
               frontal attack or by attacking an assailable flank of the enemy, the security force leader
               then fixes the enemy, if possible. The main body commander then quickly maneuvers
               units of the main body to conduct an attack (for example, an attack on an assailable
               flank) that overwhelms the enemy force before it can react or be reinforced. The main
               body commander attempts to defeat the enemy in detail while still maintaining the
               momentum of the advance. Defeat in detail is concentrating overwhelming combat
               power against separate parts of a force rather than defeating the entire force at once
               (ADP 3-90). Defeat in detail can occur sequentially or separately. It may finish during
               follow through. After an attack, the main body resumes the movement to contact and
               establishes another lead element (security force) moving ahead of the main body along
               the direction of attack or to the next march objective. If the enemy is not defeated in
               detail, the commander has two main options: bypass or transition to a more deliberate
               operation (for example, to attack or defend).
               4-86. Once the forward security element, (for example, the platoon), commits to fixing
               the enemy main body units deploy rapidly to the vicinity of the contact. The main body

        4-32                                        ATP 3-21.8




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            commander coordinates forward passage through security forces in contact as required.
            The intent is to deliver the assault before the enemy can deploy or reinforce engaged
            forces. The main body commander or a higher commander may order an attack from a
            march column, for example, platoon(s) or company, from one of the main body’s
            columns, while the rest of the main body deploys. The commander also can wait to
            attack until bringing the bulk of the main body forward. This avoids piecemeal
            commitment except when rapidity of action is essential, combat superiority at the vital
            point is present and can be maintained throughout the attack, or when
            compartmentalized terrain forces a different COA. When trying to conduct an
            envelopment (see paragraph 4-15), the commander focuses on attacking the enemy’s
            flanks and rear before the enemy prepares to counter these actions. The commander uses
            the security force to fix the enemy while the main body maneuvers to look for an
            assailable flank. Elements of the main body also can be used to fix the enemy while the
            security force finds the assailable flank. (See ATP 3-21.10 for additional information.)

         Follow Through
            4-87. If the enemy is defeated, the unit transitions back into movement to contact and
            continue to advance. The movement to contact terminates when the unit reaches the final
            march objective or LOA, or transitions to a more deliberate operation, attack, area
            defense, or retrograde.

         ASSESS
            4-88. By the nature of a movement to contact, when the enemy situation is vague or not
            specific enough to conduct another operation, the platoon leader assesses and reassesses
            the mission prior to and during the movement to contact. Assessment is the continuous
            monitoring and evaluation of a current situation, and the progress of an operation. It
            involves deliberately comparing forecasted outcomes to actual events to determine the
            overall effectiveness of force employment. Assessment allows the platoon leader to
            maintain accurate situational awareness and to a lesser degree situational understanding.
            Continued monitoring and evaluation of the current situation helps the platoon leader
            make timely and accurate decisions. Assessment of effects is determining how the
            platoon actions have succeeded against the enemy. Effects typically are assessed by
            measure of performance and measure of effectiveness. (See ATP 3-21.10 for additional
            information.)

           SECTION IV – ATTACK
            4-89. An attack destroys or defeats enemy forces, seizes and secures terrain, or both.
            The attack can be a hasty or deliberate operation depending upon the time available for
            assessing the situation, planning, and preparing. An attack incorporates coordinated
            movement supported by direct fires and fire support. An attack masses the effects of
            overwhelming combat power against selected portions of the enemy force with a tempo
            and intensity that cannot be matched by the enemy. The resulting combat should not be
            a contest between near equals. Attackers seek decisions on the ground of their choosing


                                                ATP 3-21.8                                     4-33




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               through the deliberate synchronization and employment of the combined arms team.
               Variations of an attack are ambush, counterattack, raid, and spoiling attack.

        HASTY VERSUS DELIBERATE OPERATIONS
               4-90. The primary difference between a deliberate operation and hasty operation is the
               extent of planning and preparation the attacking force conducts. A deliberate operation
               is an operation in which the tactical situation allows the development and coordination
               of detailed plans, including multiple branches and sequels (ADP 3-90). A
               hasty operation is an operation in which a commander directs immediately available
               forces, using fragmentary orders, to perform tasks with minimal preparation, trading
               planning and preparation time for speed of execution (ADP 3-90). At one end of the
               continuum, an Infantry unit launches a hasty operation as a continuation of an
               engagement that exploits a combat power advantage and preempts enemy actions. At
               the other end, an Infantry unit conducts a deliberate operation from a reserve position or
               TAA with detailed knowledge of the enemy, a task organization designed specifically
               for attacking, and a fully rehearsed plan. Most attacks fall somewhere between the two
               extremes.
               4-91. A deliberate operation normally is conducted when enemy positions are too strong
               to be overcome by a hasty operation. It is a fully synchronized operation employing
               every available asset against the enemy defense and is characterized by a high volume
               of planned fires, use of major supporting attacks, forward positioning of the resources
               needed to maintain momentum, and operations throughout the depth of enemy positions.
               Deliberate operations follow a preparatory period that includes planning, reconnaissance
               and surveillance, coordination, positioning of follow-on forces and reserve, preparation
               of troops and equipment, rehearsals, and operational refinement.
               4-92. A hasty operation is conducted during movement to contact, as part of a defense,
               or when the enemy is in a vulnerable position and can be defeated quickly with available
               resources. This type of operation may cause the attacking force to lose a degree of
               synchronization. To minimize this risk, the leader maximizes use of standard formations
               and well-rehearsed, thoroughly understood battle drills and SOPs. A hasty operation is
               often the preferred option during continuous operations, enabling the leader to maintain
               momentum while denying the enemy time for defense preparations.

        ORGANIZATION OF FORCES
               4-93. The Infantry rifle platoon normally conducts an attack as part of a company in an
               independent operation or as part of the company within a battalion operation. Once the
               scheme of maneuver is determined, the company commander (when the platoon operates
               within company) task-organizes the force to ensure platoons have enough combat power
               to accomplish their assign missions. The company commander normally organizes a
               main body and reserve (a security force, main body, and reserve is normally established
               during a battalion or higher echelon attack) for the attack, which are all supported by
               some type of sustainment organization (for example, company or field trains [see
               paragraphs 8-22 to 8-25]). The commander and subordinate platoon leaders should
               complete all changes in task organization on time to allow units to conduct rehearsals

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            with their attached and supporting elements. Based upon METT-TC (I), the platoon may
            conduct the attack (platoon assault) independently. As an example, the platoon may
            conduct an attack to seize an assault objective, key terrain, or other enemy position
            dependent on the size of the enemy force and/or terrain. (See ATP 3-21.10 and
            ATP 3-21.20 for additional information on an attack at the company and battalion
            echelons.)

         SECURITY FORCES
            4-94. The Infantry rifle platoon leader, as well as the Infantry rifle company
            commander, do not generally designate dedicated security forces for independent
            operations conducting an attack. During a platoon’s movement along its direction of
            attack, platoon leaders are responsible for 360-degree security, for ensuring each
            subordinate unit’s sectors of fire are mutually supporting, and for being able to transition
            the platoon rapidly upon contact with the enemy. Platoon leaders exercise command and
            control primarily through their subordinate leaders and move in the formation where
            they can best achieve this.
            4-95. Along the platoon’s direction of attack, squad leaders and team leaders execute
            movement formations and movement techniques based on the platoon leader’s guidance.
            They adjust their formations and techniques as necessary while moving (see chapter 3).
            This determination is a result of the platoon’s mission, the nature of the threat, the
            closeness of terrain, and visibility. Subordinate elements perform their required actions,
            through training before combat and rehearsals during combat.
            4-96. When the platoon is designated as a security force (flank and/or rear) within the
            Infantry battalion’s organization of forces for the attack, under normal circumstances,
            the commander resources dedicated security forces during an attack only if the attack
            uncovers one or more flanks, or the rear of the attacking force as it advances. In this
            case, the commander designates a flank or rear security force and assigns it a guard or
            screen mission, depending on METT-TC (I).

              Note. Normally an attacking unit does not need extensive forward security forces
              as most attacks are launched from positions in contact with the enemy, which
              reduces the usefulness of a separate forward security force. The exception occurs
              when the attacking unit is transitioning from defense to offense and had
              previously established a security area as part of the defense.



         MAIN BODY
            4-97. During an attack (platoon assault, see figure 4-7 on page 4-40), conducted
            independently of the company, the platoon leader establishes a main effort and
            supporting effort within the platoon. The main effort is a designated subordinate unit
            whose mission at a given point in time is most critical to overall mission success
            (ADP 3-0). The platoon leader usually weights the main effort with the preponderance
            of platoon’s combat power, or the operation is designed where the effort is singularly
            focused. Designating a main effort temporarily prioritizes resource allocation. The

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               platoon leader may shift the main effort during execution. A supporting effort is a
               designated subordinate unit with a mission that supports the success of the main effort
               (ADP 3-0). The platoon leader resources the supporting effort(s) with the minimum
               assets necessary to accomplish the mission. The platoon often realizes success of the
               main effort through the success of the supporting effort(s).
               4-98. During a deliberate operation, the platoon leader’s main effort accomplishes the
               destruction of the enemy force, seizure of a terrain objective, or the defeat of the enemy’s
               plan. The platoon’s scheme of maneuver identifies the focus of the main effort. Because
               the potential for obstacles always exists, the platoon leader should designate an assault,
               breach, and support element within the platoon to conduct a breach during the attack.
               4-99. During a hasty operation, the platoon leader retains flexibility by arranging forces
               in-depth and maintains more of a centralized control of subordinate elements, direct and
               indirect fires, and fire support systems. As soon as the tactical situation develops enough
               to allow the platoon leader to identify the decisive point(s), the platoon leader focuses
               available resources to support the designated main effort’s achievement of its objective.

        RESERVE
               4-100. The reserve is used to exploit success, defeat enemy counterattacks, or restore
               momentum to a stalled attack. The Infantry rifle platoon leader does not generally
               designate a dedicated reserve for platoon missions, whether conducted independent of
               the company or not. For a company mission, the dedicated reserve (when designated) is
               usually a squad-size element. For a battalion mission, the dedicated reserve (when
               designated) is usually a platoon-size element. The reserve is not a committed force and
               is not used as a follow and support force, or a follow and assume force. Follow and
               assume is a tactical mission task in which a committed force follows and supports a lead
               force conducting an offensive operation and continues mission if lead force cannot
               continue (FM 3-90). Follow and support is a tactical mission task in which a committed
               force follows and supports a lead force conducting an offensive operation (FM 3-90).
               Once committed, the reserve’s actions normally become or reinforce the echelon’s main
               effort. Once the reserve is committed, every effort is made to reconstitute another
               reserve from units made available by the revised situation. Often a commander’s most
               difficult and important decision concerns the time, place, and circumstances for
               committing the reserve.

        CONTROL MEASURES
               4-101. Units conducting an attack operate within an assigned AO. Regardless of
               whether the attack takes place in a contiguous or noncontiguous assigned area, the owner
               of the AO normally designates control measures.
               4-102. The owner uses only the control measures necessary to control the attack. Short
               of the LD or line of contact (LC), the leader may designate TAA and attack positions
               where the unit prepares for the mission or waits for the establishment of required
               conditions to initiate the attack. Beyond the LD or LC, leaders may designate
               checkpoints, phase lines, PLD, lateral boundaries, assault positions, and direct and

        4-36                                         ATP 3-21.8




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            indirect fire support coordination measures. Between the PLD and objective, a final
            coordination line, assault positions, support by fire and attack by fire positions, and time
            of assault to better control the final stage of attack can be used. Beyond the objective,
            the Infantry leader can impose an LOA or forward boundary. (See ATP 3-21.10 for
            additional information.)

         SEQUENCE OF EVENTS, EXAMPLE
            4-103. An attack at the platoon level is normally conducted as part of a larger force
            and is an offensive action characterized by close combat. Close combat is warfare
            carried out on land in a direct-fire fight, supported by direct and indirect fires and other
            assets (ADP 3-0). The following sequence of events is typical of an attack, regardless of
            echelon; however, specifics will vary due to the mission variables and the higher scheme
            of maneuver. Additionally, some elements may occur simultaneously. (See ATP 3-21.10
            for additional information.) Events include:
                       TAA.
                       Reconnaissance and surveillance.
                       Movement to the LD.
                       Movement to the PLD.
                       Actions on the objective (platoon assault).
                       Follow through (consolidate, reorganization, and transition).

         TACTICAL ASSEMBLY AREA
            4-104. The platoon leader and subordinate leaders within the TAA direct and supervise
            mission planning and preparation for the attack. Additional activities include
            coordination, PCCs and PCIs, rehearsals, and sustainment preparations for the mission.
            (See ATP 3-21.10 for additional information.)

         RECONNAISSANCE AND SURVEILLANCE
            4-105. Higher echelon reconnaissance and surveillance collection efforts provide
            combat information on the enemy situation and terrain in the platoon’s AO. The
            collection effort may begin prior to occupying the TAA and continues throughout the
            operation. The platoon may still receive current reports as it occupies the assault
            position. Reconnaissance and surveillance activities provide the platoon leader with the
            information needed to plan, prepare, execute, and assess the mission. The situation and
            available time may limit the ability to conduct reconnaissance and surveillance activities
            prior to crossing the LD. Leaders balance the benefits of reconnaissance forces and
            surveillance assets providing combat information with the level of risk involved with
            them compromising the operation.

         MOVEMENT TO THE LINE OF DEPARTURE
            4-106. When attacking from positions not in contact with the enemy, the platoon often
            stages in a rear TAA or moves to an attack position behind friendly units in contact with

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               the enemy, then conducts passage of lines to begin the attack. When attacking from a
               position in direct contact, the LD may also be the line of contact, a general trace
               delineating the locations where friendly and enemy forces are engaged (ADP 3-90). In
               certain circumstances, there may not be an LD, for example, an operation in a
               noncontiguous assigned area. Additionally, commanders may designate PDs for their
               attacking units instead of an LD for units attacking on foot using infiltration and stealth.
               4-107. The tactical situation and order in which the platoon leader wants subordinate
               elements to arrive at their attack position(s) (if necessary) and/or LD/PD govern the
               march formation. The platoon leader typically executes a planned movement through a
               start point(s), along a route(s) and through a release point(s), into an attack position(s)
               (if necessary) short of the LD/PD after which the leader will deploy into the appropriate
               movement formation and movement technique. The platoon leader develops an order of
               movement and timeline (by squad) to the attack position and/or LD/PD. Lead elements
               of the attacking force cross the LD/PD at the time specified in the OPORD or
               FRAGORD. Before movement, a small patrol from the platoon (see chapter 7) can be
               tasked to reconnoiter and mark the route and check the time it takes to move to the
               LD/PD. (See chapter 6 section III for additional information on the passage of lines prior
               to crossing the LD/PD.)

        MOVEMENT TO THE PROBABLE LINE OF DEPLOYMENT
               4-108. The platoon moves rapidly through their attack position(s) and across the
               LD/PD controlled by friendly forces. The platoon uses its designated attack position
               only by exception, for example, to adjust the march timing of the unit’s movement or
               when the conditions required to ensure the success of the planned maneuver is not yet
               established. The platoon should minimize the time it remains stationary in the attack
               position. Generally, the platoon should initiate actions to protect itself and increase
               survivability every 10 to 15 minutes. This includes such actions as deploying local
               security, improving cover and concealment, and starting the construction of fighting and
               survivability positions. The platoon leader considers the mission variables of
               METT-TC (I) when choosing the actions within an attack position which best balances
               firepower, tempo, security, and control.
               4-109. When crossing the LD controlled by a stationary unit, battle handover occurs
               along a general trace line designated as the BHL (see paragraph 5-18). A battle handover
               is a coordinated mission between two units that transfers responsibility for fighting an
               enemy force from one unit to another (FM 3-90). The stationary unit commander
               determines the location of the line, generally a phase line forward of the stationary unit.
               The BHL is the FLOT in the offense or forward edge of the battle area in the defense.
               The line is drawn where the direct fires of forward combat elements of the stationary
               unit can effectively support the passing unit until completion of the passage of lines (see
               chapter 6 section III). The area between the BHL and the stationary force belongs to the
               stationary unit commander. The BHL is within direct fire range and observed indirect
               fire range of the stationary force. During the passage of lines, the stationary force
               commander may employ security forces, obstacles, and fires in the area.



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            4-110. Probable line of deployment is a phase line that designates the location where
            the commander intends to deploy the unit into assault formation before beginning the
            assault (ADP 3-90). The attacking platoon splits into one or more assault force
            (generally the main effort) and support forces (generally the supporting effort) as it
            reaches the PLD, if not already accomplished. (See figure 4-7 on page 4-40 for an
            example platoon assault [conducted as the lead platoon for an independent company
            operation].) All forces supporting the assault should be set in their support by fire
            position, or other position, before the initiation of the attack by the assault force. The
            assault force maneuvers against or around the enemy to take advantage of the support
            force’s efforts to suppress targeted enemy positions.

              Note. As necessary, the platoon conducts a breach. The preferred method of
              fighting through a defended obstacle is to conduct an in-stride breach. However,
              the leader must be prepared to conduct a deliberate breach. (See chapter 6
              section I for additional information.)




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                    Figure 4-7. Sequence of events (platoon assault), example

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         ACTIONS ON THE OBJECTIVE (PLATOON ASSAULT)
            4-111. The platoon maintains the pace of its advance and deploys into one or more
            assault forces before or upon reaching the PLD. The platoon leader synchronizes the
            occupation of support by fire and/or attack by fire positions with the maneuver of the
            assault force to limit the vulnerability of the forces occupying these positions. The
            platoon leader maximizes of direct fires and fire support to destroy and to suppress the
            enemy, and to sustain the momentum of attack.

         Support by Fire
            4-112. Platoon support forces (supporting effort) occupy support by fire positions that,
            ideally, afford unobstructed observation, clear fields of fire, and cover and concealment.
            Selection of support by fire positions are based on a study of the terrain, knowledge of
            enemy locations, or likely enemy locations, and refined in execution through leader
            reconnaissance when possible. If the enemy situation is vague or unknown, positions are
            selected to place effective fire on terrain that dominates the area the assault force will
            traverse and seize. Once in position, support forces are responsible for both suppressing
            known enemy forces and for scanning assigned sectors of observation to identify
            previously unknown enemy elements to suppress them. The protection provided by
            support forces allow the assault force to continue movement and to retain the initiative
            even when under enemy observation or within range of enemy weapons.

         Assault
            4-113. The platoon leader retains the assault force in covered and concealed positions
            until the support force has set necessary conditions. The assault force must be prepared
            to deal with unanticipated protective obstacles in/around the objective area, particularly
            in buildings or fortified areas. Once committed, the platoon’s assault is short, violent,
            and well ordered. The assault force seizes or secures a geographic objective, or destroys,
            defeats, or disrupts a designated enemy force. From the PLD, the assault force
            maneuvers against or around the enemy to take advantage of support fires. The assault
            force must closely follow these supporting fires to gain ground that offers a positional
            advantage. Depending on the size and preparation of enemy forces, it may be necessary
            to isolate and destroy portions of the enemy in sequence. It may also be necessary to
            reposition support forces to continue to engage the depth of, or beyond, the objective
            area.
            4-114. Between the PLD and the objective, an assault position(s) and a final
            coordination line may be established to control the final stages of the assault. Assaulting
            forces usually plan to pass through the assault position and deploy to their final assault
            formation at final coordination line. Stopping at the assault position may allow the
            enemy to react to the assault and may make it difficult for the assault force to regain the
            momentum of the assault once the force halts in a covered position. When used, the
            assault force pauses at the assault position only to—
                       Make final equipment preparations, such as to make final preparations for
                       demolitions.
                       To ensure all assault forces are in their planned order.

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                          Wait for preparatory fires to finish.
                          Ensure conditions are set for the assault (for example, sufficient suppression,
                          obscuration, or a necessary breach).
               4-115. The objective for the assault force may vary from operation to operation. In
               every case, the assault force’s actions on the objective are critical. Assault forces
               maneuver through fire and movement. Supporting fires must immediately gain fire
               superiority on the objective in coordination with fires around and beyond the objective
               to disrupt enemy reinforcement. As the assault closes on the objective, fires shift just
               forward of the assault force as it moves across the objective or until ordered to stop or
               shift to other target beyond the assault force or LOA.

                 Note. The key is to minimize the time between the shifting of fires and the
                 maneuver of the assault force on the objective. The enemy must be suppressed
                 during this time when the assault force is most vulnerable.


        Follow Through (Consolidate, Reorganize, and Transition)
               4-116. The platoon and squad consolidate and reorganize as required by the situation
               and mission. During consolidate and reorganization, the platoon may use protective
               obstacles (see paragraphs 5-56 to 5-58) to aid in flank security and to protect against
               enemy counterattacks. Additionally, echelons above the platoon may use tactical
               obstacles (see paragraphs 5-52 to 5-55) to shape enemy routes of withdrawal and to cut
               off enemy reinforcements.
               4-117. Once the platoon takes an enemy position, it consolidates on that position if
               doing so is tactically necessary or advantageous. Consolidate is to organize and
               strengthen a captured position to use it against the enemy (FM 3-90). Normally, the
               attacking platoon tries to exploit its success; however, in some situations the platoon
               may have to pause to consolidate its gains. Consolidated may vary from a rapid
               repositioning of forces and security elements on the objective, to a reorganization of the
               attacking force, or to the organization and detailed improvement of the position for
               defense. Additional actions taken to consolidate include—
                          Seeking out and eliminating enemy pockets of resistance (on and off the
                          objective)/secure enemy detainees.
                          Searching and marking positions to indicate to other friendly forces that they
                          have been cleared.
                          Establishing local security (see paragraph 6-79) and hasty defensive fighting
                          positions (see paragraphs 5-229 to 5-232) while utilizing existing obstacles
                          (see paragraph 5-45) if possible.
                          Using security patrols, observation posts/combat outposts, and early warning
                          devices to provide protection and situational awareness.
                          Establishing indirect fire targets, FPF, and final protective line (FPL).
                          Establishing mutual support between individual fighting positions, adjacent
                          squads/adjacent platoons, to include:


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                          Automatic weapons (man position and assign principal direction of fire
                          [known as PDF] to Soldiers manning automatic weapons).
                          Fields of fire (establish sectors of fire and other direct fire control
                          measures for each subunit/Soldier).
                          Protection requirements such as defining type fighting position and
                          building fighting positions.
            4-118. Reorganization is all measures taken by the commander to maintain unit
            combat effectiveness or return it to a specified level of combat capability (ATP 3-94.4).
            While combat effectiveness is the ability of a unit to perform its mission, factors such
            as ammunition, personnel, status of fuel, and weapon systems are assessed and rated
            (see paragraph 2-80). Reorganization actions can include cross-leveling ammunition and
            ensuring key weapon systems are manned and vital leadership positions are filled if the
            operator or crew became casualties. Additional actions include—
                       Reestablishing the chain of command.
                       Manning key weapon systems.
                       Maintaining communications and reports, to include:
                           Restoring communication with any unit temporarily out of
                           communication.
                           Sending situation reports (at a minimum, subordinates report status of
                           mission accomplishment).
                           Identifying and requesting resupply of critical shortages.
                       Resupplying and redistributing ammunition and other critical supplies.
                       Performing special team actions such as—
                           Processing, and evacuating causalities, enemy prisoners of wars, enemy
                           weapons, noncombatants/refugees, and damaged equipment (not
                           necessarily in the same location).
                           Evacuating friendly killed in action.
            4-119. The platoon executes follow-on orders/missions as directed by the company
            commander. For example, to reposition the force on the objective and establish security
            observation posts forward of the objective to prepare for a counterattack, or to organize
            the force and conduct detailed improvement of fighting positions for defensive missions.
            A likely mission may be to continue the attack against the enemy within the AO.
            Regardless of the situation, the platoon and subordinate squads’ posture and prepare for
            continued offensive missions.

         OPERATIONS PROCESS
            4-120. During an attack, the platoon leader seeks to place the enemy in a position
            where the enemy can be defeated or destroyed easily. The platoon leader seeks to keep
            the enemy off-balance while continually reducing the enemy’s options. The platoon
            leader employs movement and maneuver supported by other warfighting capabilities to
            prevent the enemy from accomplishing its mission and objectives. The amount of time
            available for planning and preparation will determine whether the attack is conducted as


                                                ATP 3-21.8                                     4-43




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               a hasty or deliberate operation. Though a platoon may be tasked to conduct a hasty attack
               as a continuation of an ongoing engagement, it is always best to plan and prepare for a
               deliberate attack from a TAA or reserve position.
               4-121. In addition to accomplishing the mission, the platoon leader’s concept of
               operations must contain provisions to exploit successes and all advantages that arise
               during the operation. The platoon leader exploits success and maintains the advantage
               by continually assessing the process throughout planning and preparation, and by
               aggressively executing the plan, promoting subordinate leader initiative, and putting
               subordinate units in a position of advantage. (See ATP 3-21.10 for additional
               information.)

                 Note. The operations process (plan, prepare, execute, and assess) is the major
                 command and control activities performed during combat operations. The
                 operations process (specific to TLP) is a platoon leader-led activity. (See
                 chapter 2 for additional information on TLP.)



        PLAN
               4-122. During the planning process, the platoon leader integrates the scheme of fires
               with the scheme of maneuver. The scheme of fires is the detailed, logical sequence of
               targets and fire support events to find and engage targets to support the commander’s
               objectives (JP 3-09). The leader identifies the desired effect of fires on enemy weapon
               systems, such as suppression or destruction, as part of developing the scheme of fires.
               The scheme of fires identifies critical times and places where the platoon leader needs
               the maximum effects from fire-support assets. Leaders combine movement with fires to
               mass effects, achieve surprise, destroy enemy forces, and obtain decisive results.
               4-123. The platoon leader assigns subordinate squad leaders and attached element
               leaders their missions and imposes only those control measures necessary to synchronize
               and maintain control over the operation. Using the enemy situational and weapons
               templates, previously developed, the leader determines the probable LC and enemy
               trigger lines (see paragraph 5-208). As the leader arrays subordinate elements to shape
               the battlefield, friendly weapon systems are matched against the enemy to determine the
               PLD. Once the leader determines the PLD, the leader establishes how long it takes
               subordinates to move from the LD to the PLD and establish all necessary support by fire
               positions. The leader establishes when and where the force must maneuver into enemy
               direct-fire range.
               4-124. The platoon leader seeks to surprise the enemy by choosing an unexpected
               direction, time, type, or strength for attacking. Surprise delays enemy reactions,
               overloads and confuses enemy command and control, induces psychological shock in
               the enemy, and reduces the coherence of the enemy’s defensive operations. The leader
               achieves tactical surprise by attacking in bad weather and over seemingly impassible
               terrain, maintaining a high tempo, and employing sound operations security. The leader
               may plan different attack times for main and supporting efforts to mislead the enemy
               and allow the shifting of supporting fires. However, simultaneous attacks provide a

        4-44                                        ATP 3-21.8




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                                                                                              Offense



            means to maximize the effects of mass in the initial assault. They also prevent the enemy
            from concentrating defensive fires against successive attacks.
            4-125. In planning, the platoon leader and subordinate leaders focus on the routes,
            formations, and navigational aids they will use to traverse the ground from the LD or
            PLD to the objective. Some terrain locations may require the attacking platoon to change
            its movement formation, direction of movement, or movement technique when it
            reaches those locations. The platoon can post guides at these critical locations to ensure
            maintaining control over the movement.
            4-126. To employ the proper capabilities and tactics, the platoon leader and
            subordinate leaders must have detailed knowledge of the enemy’s organization,
            equipment, and tactics. They must understand enemy strengths and weaknesses. The
            platoon leader may need to request information to answer platoon information
            requirements.
            4-127. Generally, if the platoon leader does not have timely, relevant, and accurate
            intelligence products and assessments, and does not know where the overwhelming
            majority of the enemy’s units and systems are located, the leader cannot conduct a
            deliberate operation. The attacking unit must conduct a movement to contact, then
            conduct a hasty operation once contact is made, or collect more combat information.
            4-128. Leaders within the platoon may find themselves as the observer (and executor)
            of company- and battalion-level fires or exploiting the success of higher echelon military
            deception operations (for example, feints and demonstrations [see chapter 6 section V]).
            Understanding the concept of echelon fires is critical for indirect fire planning to be
            synchronized with the maneuver plan. The purpose of echeloning fires (see appendix B)
            is to maintain constant fires on a target while using the optimum delivery system up to
            the point of its risk-estimate distance in combat operations or minimum safe distance in
            training. Echeloning fires provides protection for friendly forces as they move to and
            assault an objective, allowing them to close with minimal casualties. It prevents the
            enemy from observing and engaging the assault by forcing the enemy to take cover,
            allowing the friendly force to continue the advance unimpeded.
            4-129. The goal of the platoon leader’s attack criteria is to focus fires on seizing the
            initiative. The leader emphasizes simple and rapidly integrated direct fires and fire
            support plans. This is done using quick-fire planning techniques (see ATP 3-21.10 for
            additional information) and good SOPs. Leaders integrate fire assets as far forward as
            possible in the movement formation to facilitate early emplacement. Leaders
            concentrate combat powers at decisive points and times on forward enemy elements to
            enable maneuver efforts to close with the enemy positions.




                                                ATP 3-21.8                                      4-45




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                 Note. Subordinate company fire support officers develop quick-fire plans to
                 support their respective commander’s mission. In quick-fire planning the fire
                 support officer assigns targets (and possibly a schedule of fires) to the most
                 appropriate fire support means available to support the mission. In this type of
                 fire support planning, the available time usually does not permit evaluation of
                 targets on the target list and consolidation with targets from related fire support
                 agencies. (See ATP 3-09.42 for additional information on quick-fire planning.)


               4-130. The platoon leader and subordinate leaders plan for sustainment to ensure the
               platoon’s freedom of action and prolong endurance through unit trains (for example,
               company trains and battalion field trains). (See chapter 8 for additional information on
               unit sustainment operations during the attack.)
               4-131. Protection increases a platoon’s survivability and their ability to maintain
               combat power. Planning for protection involves identifying enemy capabilities (for
               example, fires, aviation, and CBRN) and the necessary actions to counter or mitigate
               those threats. Emphasis on protection increases during preparation and continues
               throughout execution. Protection is a continuing activity; it integrates all protection
               capabilities to protect the force before, during, and after the attack. (See paragraphs 4-40
               to 4-47 on the challenges to protect the force during the offense.)

        PREPARE
               4-132. During preparation for the attack, the platoon leader and subordinate leaders
               must continue to analyze the most current information from organic and higher echelon
               information collection efforts. When possible, even in the most fluid of situations,
               attacks are best organized and coordinated in a currently established TAA, or one that is
               hastily established due to a change of mission.
               4-133. Unless already in a TAA or patrol base, the attacking platoon moves into one
               to prepare for future operations. The unit moves with as much secrecy as possible,
               normally at night and along routes preventing or degrading the enemy’s capabilities to
               visually observe or otherwise detect the movement. It avoids congesting its TAA or
               patrol base and occupies it for the minimal possible time. While in the TAA or patrol
               base, the platoon is responsible for its own protection activities, such as local security
               and electromagnetic emissions control and masking. (See chapter 7 for additional
               information on establishing a patrol base.)
               4-134. The platoon leader and subordinate leaders continue their TLP and priorities of
               work to the extent the situation and mission allow before moving towards their attack
               position(s) and/or LD and if established their LC. These preparations include but are not
               necessarily limited to:
                          Protecting the force.
                          Conducting task organization.
                          Performing reconnaissance.
                          Refining the plan.

        4-46                                         ATP 3-21.8




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                                                                                              Offense



                       Briefing the troops.
                       Conducting rehearsals, to include test firing (test firing dependent on the
                       situation, though not conducted past the LD) of weapons.
                       Moving logistics and medical support forward.
                       Promoting adequate rest for both leaders and Soldiers.
                       Positioning the force for subsequent action.
                       PCCs and PCIs.
            4-135. Preparation for an attack against a moving enemy force is limited because the
            opportunity to attack the enemy at the appropriate time and place depends on the
            enemy’s movement. This forces the platoon to focus the preparation on executing fires
            and movement and maneuver actions regarding the enemy’s location, or possible
            locations, and disposition when engaged. The platoon leader prioritizes each location to
            ensure the platoon prepares for the most likely engagements first. The platoon leader
            ensures all subordinate leaders understand their role at each location and the decision
            point for execution at each location. Leaders rehearse actions, as possible, in each
            location against various enemy conditions to promote flexibility and initiative consistent
            with the commander’s intent. Battle drills, SOPs, and rehearsals against likely enemy
            actions are essential for success in preparation for an attack.
            4-136. As part of TLP, a leader’s reconnaissance (see paragraph 7-15) of the actual
            terrain should be conducted with all key leaders when this will not compromise the
            attack or result in excessive risk to the leaders on the reconnaissance. Modern
            information systems can enable leaders to conduct a virtual reconnaissance when a
            physical reconnaissance is not practical. If a limited-visibility attack is planned, they
            should reconnoiter the terrain at night.

         EXECUTE
            4-137. During execution, the platoon leader maneuvers the platoon to close with and
            destroy or defeat enemy forces, seize, and secure terrain, or both. The following
            paragraphs discuss executing a company attack (specific to platoon scheme of
            maneuver) using the four-step tactical framework of the offense (find, fix, finish, and
            follow through) discussed earlier in this chapter.

              Note. Regarding the enemy’s plan, a defending enemy generally establishes a
              security zone around or forward of main enemy forces to make early contact with
              friendly attacking forces. This helps the enemy determine the attacking force’s
              capabilities, intent, chosen COA, and delays their approach. The enemy leader
              uses the security zone to strip away friendly reconnaissance forces and hide the
              enemy’s main body dispositions, capabilities, and intent. The goal is to compel
              the friendly attacking force to conduct movement to contact against the enemy
              defending force while knowing the exact location of attacking friendly forces.




                                                ATP 3-21.8                                      4-47




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        Find the Enemy
               4-138. Gaining and maintaining contact with the enemy (when the enemy is
               determined to hide, deny, or break contact) is vital to the success of an attack. As
               platoons moves from the LD and cross the PLD towards the objective and as current
               intelligence and relevant combat information on the enemy is updated, the enemy
               situation generally becomes clearer. Platoon leaders and subordinate leaders, through
               actions on contact (see paragraph 2-48), rapidly develop the situation in accordance with
               the company commander’s plan and intent for the attack.

                 Note. The fictional scenario, used as discussion vehicles in figure 4-8 on
                 page 4-49, figure 4-9 on page 4-52, and figure 4-10 on page 4-54, illustrate
                 different ways an Infantry rifle platoon can accomplish its mission within the
                 conduct of a higher echelon’s attack. For discussion purposes, the fictional
                 scenario will primarily focus on the actions of Company C, the battalion’s main
                 effort. These three examples illustrate potential challenges confronting the
                 platoon leader in accomplishing an attack (specifically platoon breach and
                 platoon assault) but are not intended to be prescriptive of how the Infantry rifle
                 platoon performs any particular operation. This same scenario drives the attack
                 techniques used in ATP 3-21.10 and ATP 3-21.20. ATP 3-21.8 focuses on the
                 techniques used to perform missions, functions, or tasks in support of the Infantry
                 rifle company within an Infantry battalion’s attack.


        Fix the Enemy
               4-139. Prior to the attack, battalion support by fire positions (SBF-3 and SBF-4,
               reference figure 4-8 on page 4-49) once established fix enemy actions prior to (initially),
               on, and surrounding the company objective. Additional operations to fix and/or
               disrupt—a tactical mission task in which a unit upsets an enemy’s formation or tempo
               and causes the enemy force to attack prematurely or in a piecemeal fashion (FM 3-90)—
               the enemy includes preparatory fires and deception operations to deceive the enemy. By
               fixing and/or disrupting the enemy, the objective of the attacker’s main effort is isolated
               to prevent the enemy from maneuvering to reinforce the enemy targeted for destruction.
               Massing forces in one place by using economy of force measures in other areas allows
               the attacker to mass the effects of overwhelming combat power against a portion of the
               enemy. The following example, see figure 4-8 on page 4-49, used for discussion
               purposes, represents one way to fix enemy actions prior to the assault. In the scenario,
               as assault forces close on the objective, Company C commander employs attached
               Assault Platoon 3 (with attached company mortar section) in such a way that the
               commander is best able to maximize isolation of the two points of breach (see chapter 6
               section I) locations forward of Objective Fox North.




        4-48                                        ATP 3-21.8




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                                                                                             Offense




              Note. On order Company D (-), with Assault Platoon 1 and Assault Platoon 2,
              battalion mortar Section A, and the battalion tactical command post, conducts
              approach march vicinity Phase Line Jim, moves on Axis Orange (not illustrated)
              into battalion Support by Fire Position 3 and Support by Fire Position 4
              (illustrated in figure 4-8, figure 4-9 on page 4-52, and figure 4-10 on page 4-54).
              (See ATP 3-21.10 and ATP 3-21.20 for additional information on the scenario at
              the company and battalion echelons, respectively.)




                           Figure 4-8. Attack (support by fire), example




                                               ATP 3-21.8                                      4-49




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        Finish the Enemy
               4-140. During the assault, the attacking force maneuvers to gain positional advantage
               to seize, retain, and exploit the initiative while avoiding the enemy’s defensive strength.
               The attacker employs tactics defeating the enemy by attacking through a point of relative
               weakness, such as a flank or the rear. The key for success is to strike hard and fast,
               overwhelm a portion of the enemy force, and quickly transition to the next objective or
               phase, thus maintaining the momentum of attack without reducing the pressure.

        Movement From the Line of Departure to the Probable Line of Deployment
               4-141. The platoon conducts tactical movement (approach march) once it crosses the
               LD. It moves aggressively and as quickly as the terrain and enemy situation allow. It
               moves forward using the appropriate movement formation and movement technique
               assisted by the fires (when required) of supporting units. Fire and movement are
               coordinated closely. Suppressive fires facilitate friendly movement, and friendly
               movement facilitates more fires. Whenever possible, the attacking platoon uses avenues
               of approach avoiding strong enemy defensive positions, takes advantage of all available
               cover and concealment, placing the unit on the flanks or rear of the defending enemy.
               Where cover and concealment are not available, the unit uses obscurants to conceal its
               movement.

        Actions at the Probable Line of Deployment, Assault Position, or Final Coordination
        Line
               4-142. The attacking platoon maintains the pace of its advance as it approaches its
               PLD. The attacking platoon splits into one or more assault and support forces once it
               reaches the PLD if not previously completed. Assaulting forces usually plan to pass
               through the assault position and deploy to their final assault formation at final
               coordination line (see paragraph 4-114). All forces supporting the assault force should
               be set in their support and attack by fire positions before the assault force begins its
               assault. The platoon leader synchronizes the occupation of support by fire positions with
               the maneuver of the supported attacking element to limit the vulnerability of forces
               occupying these positions. Leaders use unit tactical SOPs, battle drills, prearranged
               signals, engagement area, and TRP to control direct and indirect fires from these
               supporting positions and normally employs restrictive fire lines (RFLs) between
               converging forces.

        Conduct a Breach
               4-143. To conduct a breach successfully, the platoon applies the breaching
               fundamentals of suppress, obscure, secure, reduce, and assault (see chapter 6 section I
               for information on the fundamentals). The support force sets the conditions; the breach
               force reduces, clears, and marks the required number of lanes through the enemy’s
               tactical obstacles to support the maneuver of the assault force. The leader must clearly
               identify the conditions allowing the breach force to proceed to avoid confusion. For
               example, one condition is the use of a minimum safe line when a friendly element, such
               as a breach force, is moving toward an area of indirect fires. As the breach force

        4-50                                        ATP 3-21.8




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                                                                                             Offense



            approaches the minimum safe line, observers call for fires shift (or cease), allowing the
            breach force to move safely in the danger area (see paragraph A-29). From the PLD, the
            assault force maneuvers against or around the enemy to take advantage of support
            force’s efforts to suppress the targeted enemy positions.

              Note. For discussion purposes, the platoon breach and assault will primarily
              focus on the actions of Company C, the battalion’s main effort.


            4-144. The following example, see figure 4-9, used for discussion purposes, represents
            one way to conduct a platoon breach prior to the company’s assault on Objective Fox
            North. In the scenario, as breach forces close on the points of breach, Company C
            commander establishes local support by fire positions (with attached Assault Platoon 3)
            to support First Platoon’s breach. Assault Platoon 3 (with Company C mortar section to
            engage targets on the far side of the breach) moves by section on the company’s left
            flank. As Company C’s First Platoon advances, Assault Platoon 3, on order or as First
            Platoon starts to receive effective fires in route to the obstacle begins to suppress the
            enemy overwatching the obstacle to isolate—a tactical mission task in which a unit seals
            off an enemy, physically and psychologically, from sources of support and denies it
            freedom of movement (FM 3-90)—the points of breach, west of Phase Line Bob. Once
            the points of breach locations are isolated by Assault Platoon 3, First Platoon moves
            forward with attached engineers to conduct two explosive breaches of the wire obstacle.
            The effect of the enemy wire obstacle, west of Objective Fox North, is to block any
            eastward movement along the trail network. First and Second Squads of First Platoon
            establish local support by fire positions to support engineer breaches. Once the obstacle
            breach is open, attached engineers create and mark lanes, and guide Third Squad, Fire
            Team A (under control of the Third Squad leader, with one attached machine gun) and
            Third Squad, Fire Team B (under the control of the First Platoon, Weapons Squad
            Leader, with one attached machine gun) through the obstacle to establish two footholds
            on the far side of the two breaches. Once footholds are established, fire teams employ
            two local support by fire positions (SFB-A and SBF-B, reference figure 4-9 on
            page 4-52) to support Second and Third Platoons’ assault through the breach and
            movement to the platoon’s PLD for the assault of Objective Fox North. (See chapter 6
            section I for additional information on actions on the objective involving support,
            breach, and assault elements in the attack.)




                                                ATP 3-21.8                                     4-51




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                             Figure 4-9. Attack (platoon breach), example

               4-145. In the scenario, once conditions are set for the assault, Second and Third
               Platoons maneuver through the lanes established by First Platoon. (See figure 4-10 on
               page 4-54.) During the establishment of Support by Fire Positions A and B. Company
               C commander coordinates with Company D for Support by Fire Position 4 to the north

        4-52                                      ATP 3-21.8




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                                                                                           Offense



            to cease-fire. Support by Fire Position 3 continues to support Second Platoon and Third
            Platoon (assault forces) maneuver to seize Objective Fox North, assault forces clear to
            LOA, Phase Line Ted. Simultaneously, Company B (guiding off Company C’s rate of
            advance to LOA, Phase Line Ted) assaults with two platoons abreast (not illustrated),
            seizes Objective Fox South, assault forces clear to LOA, Phase Line Ted.




                                               ATP 3-21.8                                    4-53




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                    Figure 4-10. Attack (platoon assault), example


        4-54                          ATP 3-21.8




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                                                                                                  Offense



         Actions on the Objective
             4-146. The effects of overwhelming and simultaneous application of fire, movement,
             and shock action characterize the final assault. This violent assault destroys or defeats
             and drives the enemy from the objective area. Small units conduct the final assault while
             operating under the control of the appropriate echelon command post.
             4-147. Assaulting forces usually plan to pass through the assault position and deploy
             to their final assault formation at the final coordination line. The final coordination line
             is a phase line close to the enemy position used to coordinate the lifting or shifting of
             supporting fires with the final deployment of maneuver elements (ADP 3-90). Ideally
             when established and utilized, the platoon’s assault element occupies the assault position
             without the enemy detecting the platoon’s elements. Preparations in the assault position
             may include preparing Bangalore, other breaching equipment, or demolitions; fixing
             bayonets; lifting or shifting direct fires; or preparing generated obscuration (for example,
             smoke pots and hand grenades).
             4-148. If the platoon is detected as it nears its assault position, indirect fire suppression
             is required on the objective and the support element increases its volume of fire. If the
             platoon needs to make last-minute preparations, then it occupies the assault position. If
             the platoon does not need to stop, it passes through the assault position, treating it as a
             PLD and assaults the objective. Sometimes, a platoon must halt to complete preparation
             and to ensure synchronization of friendly forces. Once the assault element moves
             forward of the assault position, the assault continues. If the assault element stops or turns
             back, the element could sustain excessive casualties.
             4-149. Infantry leaders employ all direct and indirect fire support means to destroy and
             suppress the enemy and sustain the momentum of attack. By carefully synchronizing the
             effects of indirect-fire systems and available close air support (CAS), leaders improve
             the likelihood of success. Fires are planned in series or groups to support maneuver
             against enemy forces on or near the geographical objective. As leaders shift artillery
             fires and obscurants from the objective to other targets, the assault element moves
             rapidly across the objective. The support element must not allow its suppressive fires to
             lapse. These fires isolate the objective and prevent the enemy from reinforcing or
             counterattacking. They also destroy escaping enemy forces and systems.

         Follow Through
             4-150. Once an enemy is finished, actions by the platoon are not complete. Small
             remaining elements of the enemy may require the platoon to destroy them in detail. If
             all enemy forces are not neutralized—a tactical mission task in which a unit renders the
             enemy incapable of interfering with an operation (FM 3-90)—the platoon maintains
             constant pressure to keep them off balance while capitalizing on successful tactical
             actions.
             4-151. Consolidate is the process of organizing and strengthening a newly captured
             position so it can be defended. Normally, the attacking unit tries to exploit its success
             regardless the type of assault. In some situations, however, the unit may have to
             consolidate its gains. Consolidate may vary from a rapid repositioning of forces and


                                                  ATP 3-21.8                                       4-55




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               security elements on the objective, to a reorganization of the attacking force, to the
               organization and detailed improvement of positions for defensive missions.
               4-152. Consolidate consists of actions taken to secure the objective and defend against
               an enemy counterattack. Platoon leaders use TLP to plan and prepare for this phase of
               operation. They ensure the unit is ready to conduct the following actions (see
               paragraph 4-116 for a further discussion) that usually are part of consolidate:
                         Establish security beyond the objective by securing areas that may be the
                         source of enemy direct fires or enemy artillery observation.
                         Prepare for and assist the passage of follow-on forces (if required).
                         Continue to improve security by conducting other necessary defensive
                         actions. These defensive actions include engagement area development,
                         direct fire planning, and battle position preparation.
                         Adjust FPFs and register targets along likely mounted and dismounted
                         avenues of approach.
                         Protect the obstacle reduction effort.
                         Secure enemy detainees.
                         Prepare for enemy counterattack.
               4-153. Reorganization usually is conducted concurrently with consolidate. It consists
               of actions taken to prepare units for follow-on operations. As with consolidate, unit
               leaders plan and prepare for reorganization as they conduct TLP. (See paragraph 4-118
               for a further discussion.) Platoon leaders ensure the following actions are conducted:
                           Provide essential medical treatment and evacuate casualties, as necessary.
                           Treat and evacuate wounded detainees and process the remainder of
                           detainees.
                           Cross-level personnel and adjust task organization as required to support the
                           next phase or mission.
                           Conducts resupply operations, including rearming and refueling.
                           Redistribute ammunition.
                           Conduct required maintenance.
                           Continue improvement of defensive positions, as necessary.
               4-154. For all attacks, Infantry units should and must plan to exploit success. However,
               at the conclusion of an engagement, the platoon leader may be forced to defend. For
               short defenses, units make use of existing terrain to enhance their survivability. If a
               longer defense is envisioned, engineer assets immediately should refocus their efforts
               on providing survivability support (fighting positions and similar activities). Engineer
               assets should do this even as they sustain mobility and integrate countermobility into the
               planned defensive mission. The Infantry leader considers the higher commander’s
               concept of operations, friendly capabilities, and enemy situation when making the
               decision to defend or continue the offense.




        4-56                                        ATP 3-21.8




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                                                                                             Offense



         ASSESS
            4-155. Assessment refers to the continuous monitoring and evaluation of the current
            situation, particularly the enemy, and progress of an operation. Platoon leaders
            constantly assess the actual progress of the operation against the plan and look for
            variance in the form of emerging threats or opportunities. Assessment precedes and
            guides every operations process activity and concludes each operation or phase of an
            operation. It involves a comparison of forecasted outcomes to actual events. Assessment
            entails three tasks:
                        Continuously assessing the enemy’s reactions and vulnerabilities.
                        Continuously monitoring the situation and progress of operation towards the
                        commander’s desired end state.
                        Evaluating the operation against measures of effectiveness and measures of
                        performance.
            4-156. Upon receiving the mission, platoon leaders perform an initial assessment of
            the situation and the mission variables of METT-TC (I), focusing on the unit’s role in
            the larger operation, and allocating time for planning and preparing. The two most
            important products from this initial assessment should be at least a partial restated
            mission, and a timeline. Platoon leaders issue their initial warning order (WARNORD)
            on this first assessment and time allocation. Assessment continues during planning,
            updated as needed throughout preparation and execution based on information gained
            through the platoon leader’s continuous assessment.
            4-157. Assessment of risk assists the platoon leader in making informed decisions on
            changing task organization, shifting priorities of effort and support, and future
            operations. Effectiveness entails making accurate assessments and good decisions about
            how to fight the enemy. Vital supporting concepts are TLP, actions on contact, and risk
            management (see chapter 2). Leaders use the assessment process to generate combat
            power.
            4-158. Specific to execution, assessment involves a deliberate comparison of
            forecasted outcomes to actual events, using indicators to judge progress toward attaining
            desired end state conditions. Assessments help platoon leaders to adjust plans based on
            changes in the situation, when the operation is complete, and when to transition into the
            next cycle of the operations process. Platoon leaders constantly assess the actual
            progress of the operation against the plan through the following (although not
            all-inclusive) questions:
                        Is there new or changing intelligence from high headquarters?
                        Are there new priority intelligence requirements (PIRs) and/or information
                        requirements (and were current PIRs answered correctly)?
                        Is the platoon synched with the plan, for example:
                            Is the movement faster or slower than planned?
                            Are the obstacle types and locations templated correctly?
                            Is planned ammunition consumption correct?
                            Is combat power still adequate to accomplish the mission?


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                          Is the threat assessment made during planning and preparation still correct,
                          for example:
                              Is the enemy stronger or weaker than templated?
                              Are preparatory fires adequate?
                              Are enemy locations templated correctly?
                              Are there still local enemy remnants or unengaged counterattacking
                              forces?
                          Is there an ability, in terms of opportunity, to seize or regain the initiative, for
                          example:
                              Is there terrain to gain a better position of advantage over the enemy?
                              Is there an opportunity to catch the enemy by surprise or prior to the
                              employment of enemy forces?
                              Are there unplanned but now-identified enemy reinforcements or
                              capabilities on the way to, or on the objective that need to be engaged?

        VARIATIONS OF THE ATTACK
               4-159. Variations of the attack are ambush, counterattack, raid, and spoiling attack.
               (See ATP 3-21.10 for additional information.) The commander’s intent and analysis of
               the mission variables of METT-TC (I) determines which variation of the attack to
               employ. Each variation of attack, except for a raid, can be conducted as either a hasty or
               a deliberate operation. As variations of an attack, they share many of the planning,
               preparation, and execution considerations of attack.

        AMBUSH
               4-160. An ambush is an attack by fire or other destructive means from concealed
               positions on a moving or temporarily halted enemy. An ambush stops, denies, or
               destroys enemy forces by maximizing the element of surprise. Ambushes can employ
               direct fire systems as well as other destructive means, such as command-detonated
               mines, indirect fires, and supporting nonlethal effects. They may include an assault to
               close with and destroy enemy forces. In an ambush, ground objectives do not have to be
               seized and held.
               4-161. The three common forms of a small-unit ambush are point, area, and antiarmor
               ambushes. In a point ambush, a unit deploys to attack a single kill zone. In an area
               ambush, a unit deploys into two or more related point ambushes. Units smaller than a
               platoon normally do not conduct an area ambush. In an antiarmor ambush, a unit focuses
               on moving or temporarily halted enemy armored vehicles. (See chapter 7 for additional
               information.)

        COUNTERATTACK
               4-162. A counterattack is a variation of attack by a defending force against an
               attacking enemy force (FM 3-90). (For example, within a company’s area defense, a
               platoon or squad may conduct a counterattack from its subsequent battle position to

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            retake its prior primary battle position, see paragraphs 5-172 to 5-173.) The leader
            directs a counterattack to defeat or destroy enemy forces, exploit an enemy weakness
            such as an exposed flank, or to regain control of terrain and facilities after an enemy
            success. Units executing a counterattack can use all or part of the defending force, to
            include their reserve when given as a priority planning mission, against an enemy
            attacking force.
            4-163. A unit conducts a counterattack to seize the initiative from the enemy through
            offensive action. A counterattacking force may maneuver to isolate and destroy a
            designated enemy force, or it can be an attack by fire into an engagement area to defeat
            or destroy an enemy force, restore the original position, or block an enemy penetration.
            4-164. To be decisive, the counterattack occurs when the enemy is overextended,
            dispersed, and disorganized during the attack. All counterattacks should be rehearsed in
            the same conditions they will be conducted. During planning and preparation, leaders
            consider planning the commitment criteria and triggers for conducting a counterattack.
            In execution, leaders must be alert to those criteria and triggers emerging during an
            operation. If they do emerge, the platoon leader immediately launches the planned
            counterattack. Once committed, that force becomes the main effort.

         RAID
            4-165. A raid is a limited-objective, deliberate operation entailing swift penetration of
            hostile terrain. A raid is not intended to hold territory; and it requires detailed
            intelligence, preparation, and planning. (See chapter 7 for additional information.) The
            Infantry platoon and squad conducts raids as part of a larger force to accomplish several
            missions, including the following:
                       Capture prisoners, installations, or enemy materiel.
                       Capture or destroy specific enemy command and control locations.
                       Destroy enemy materiel or installations.
                       Obtain information concerning enemy locations, dispositions, strength,
                       intentions, or methods of operation.
                       Confuse the enemy or disrupt the enemy’s plans.
                       Liberate friendly personnel.

         SPOILING ATTACK
            4-166. A spoiling attack is a variation of an attack employed against an enemy
            preparing for an attack (FM 3-90). The spoiling attack usually employs armored, attack
            helicopter, or fire support elements to attack enemy assembly positions in front of a
            friendly commander’s main line of resistance or battle positions.




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               4-167. The objective of a spoiling attack is to disrupt the enemy’s offensive capabilities
               and timelines while destroying targeted enemy personnel and equipment, not to seize
               terrain and other physical objectives. Two conditions must be met to conduct a
               survivable spoiling attack:
                          The spoiling attack’s objective must be obtainable before the enemy is able
                          to respond to the attack in a synchronized and coordinated manner.
                          The force conducting the spoiling attack must be prevented from becoming
                          over extended, fixed, or having insufficient mobility to break contact and /or
                          withdraw.
               4-168. Infantry forces conduct a spoiling attack whenever possible during friendly
               defensive missions to strike an enemy force while it is in a TAA or attack position(s)
               preparing for its own offensive mission or is stopped temporarily. For example, a
               platoon may conduct an infiltration behind enemy lines to impair (platoon ambush or
               raid) an enemy’s ability to organize for its operation.

        OPERATIONS DURING LIMITED VISIBILITY
               4-169. Effective use of advanced optical sights and equipment during limited visibility
               attacks enhances the ability of squads and platoons to achieve surprise, hit targets, and
               cause panic in a lesser-equipped enemy. Advanced optics and equipment allow the
               Infantry Soldier to see farther and with greater clarity.

        USE OF ILLUMINATION, NIGHT VISION, AND INFRARED LASERS
               4-170. Night vision devices provide good visibility in all but pitch-black conditions
               but do somewhat limit the Soldier’s field of view. Leaders must understand that night
               vision devices emit light at the eyecups, and many have an infrared illuminator which
               can emit light that is visible to a peer threat. Night vision devices are also visible to other
               night vision devices. Infantry platoons have night vision equipment mounted on the
               helmet of each Soldier and weapon-mounted and handheld devices to identify and
               designate targets.
               4-171. Infantry leaders and Soldiers have an increased ability to designate and control
               fires during limited visibility. There are three types of advanced optics and equipment
               for use in fire control:
                           Target designators. Leaders can designate targets with greater precision using
                           infrared laser pointers to designate targets and sectors of fire and to
                           concentrate fire. The leader lazes a target for Soldiers to place their fires. The
                           Soldiers then use their weapon’s aiming lights to engage the target.
                           Aiming lights. Soldiers with aiming lights have greater accuracy of fires
                           during limited visibility. Each Soldier in the Infantry platoon is equipped with
                           an aiming light for the individual weapon. Aiming lights work with the
                           individual Soldier’s helmet-mounted night vision goggles. It puts an infrared
                           light on the target at the point of aim.
                           Target illuminators. Leaders can designate larger targets using target
                           illuminators. Target illuminators are essentially infrared light sources that

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                       light the target, making it easier to acquire effectively. Leaders and Soldiers
                       use the infrared devices to identify enemy or friendly personnel and then
                       engage targets using their aiming lights.
            4-172. Illuminating rounds fired to burn on the ground can mark objectives. This helps
            the platoon orient on the objective but may adversely affect night vision devices.
            4-173. Leaders plan but do not always use illumination during limited visibility
            attacks. Battalion commanders normally control conventional illumination but may
            authorize the company commander to do so. If the commander decides to use
            conventional illumination, the commander should not call for it until the assault is
            initiated or the attack is detected. It should be placed on several locations over a wide
            area to confuse the enemy as to the exact place of the attack. It should be placed beyond
            the objective to help assaulting Soldiers see and fire at withdrawing or counterattacking
            enemy Soldiers. Infrared illumination is a good capability to light the objective without
            lighting it for enemy forces without night vision devices. This advantage is degraded
            when used against a peer threat with the same night vision capabilities.
            4-174. The platoon leader, squad leaders, and vehicle commanders must know unit
            tactical SOP and develop sound COAs to synchronize the employment of infrared
            illumination devices, target designators, and aiming lights during their assault on the
            objective. These include using luminous tape or chemical lights to mark personnel and
            using weapons control restrictions.
            4-175. The platoon leader may use the following techniques to increase control during
            the assault:
                       Use no flares, grenades, or obscuration on the objective.
                       Use mortar or artillery rounds to orient attacking units.
                       Use a base squad or fire team to pace and guide others.
                       Reduce intervals between Soldiers and squads.
            4-176. Like a daylight attack, indirect and direct fires are planned for a limited
            visibility attack but are not executed unless the platoon is detected or is ready to assault.
            Some weapons may fire before the attack and maintain a pattern to deceive the enemy
            or to help cover noise made by the platoon’s movement. This is not done if it will
            disclose the attack.
            4-177. Obscuration further reduces the enemy’s visibility, particularly if the enemy has
            night vision devices. The FO fires obscuration rounds close to or on enemy positions,
            so it does not restrict friendly movement or hinder the reduction of obstacles. Employing
            obscuration on the objective during the assault may make it hard for assaulting Soldiers
            to find enemy fighting positions. If enough thermal sights are available, obscuration on
            the objective may provide a decisive advantage for a well-trained platoon.

              Note. If the enemy is equipped with night vision devices, leaders must evaluate
              the risk of using each technique and ensure the mission is not compromised by
              the enemy’s ability to detect infrared light sources.



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        DELIBERATE BATTLEFIELD OBSCURATION
               4-178. Battlefield obscuration missions can occur during both the offense and the
               defense and can be highly effective. Firing obscuration on enemy positions can degrade
               the vision of gunners and known or suspected observation posts, preventing them from
               seeing or tracking targets and, thereby, reducing their effectiveness. When employed for
               its incendiary effect, white phosphorous (WP) can cause confusion and disorientation
               by degrading the enemy’s command and control capabilities; while friendly units retain
               the ability to engage the enemy using thermal sights and DA Form 5517 (Standard
               Range Card). Enemy vehicles become silhouetted as they emerge from the obscuration.
               If obscuration employment is planned and executed correctly, this occurs as the enemy
               reaches the trigger line. (See ATP 3-11.50 for additional information.)

                 Note. Phosphorous obscuration is used in instantaneous burst munitions (for
                 example, artillery shells and mortar cartridges), with the showers of burning
                 phosphorous particles being highly incendiary. The projectile has an
                 incendiary-producing effect and is ballistically similar to the high explosive
                 projectile. Normally, shell WP is employed for its incendiary effect. The
                 projectile can also be used for screening, spotting, and signaling purposes.


        Projected Obscuration
               4-179. Projected obscuration is an obscurant produced by artillery or mortar munitions,
               naval gunfire, helicopter-delivered rockets or, potentially, weapon grenade launchers.
               The advantage of using projected obscurant munitions is that they can place obscurants
               directly on the target without becoming decisively engaged. The disadvantage of
               projected obscuration is that most projected obscurant devices and munitions are lethal;
               they cannot be used on or near friendly forces. Ideal military applications for projected
               obscuration systems are to produce protection effects by obscuring enemy forces at
               distant locations and to mark distant targets for destruction by lethal fire or protection
               obscuration to initiate protection screens forward of an attacking force.
               4-180. Obscuration employed to screen friendly forces and their interests is delivered
               in areas between friendly and enemy forces or in a friendly AO to degrade enemy ground
               or aerial detection, observation, and engagement capabilities. Units use screening
               obscuration to attack enemy target acquisition and guidance systems by placing
               obscuration effects between the friendly unit and enemy sensors. There are three
               visibility categories for visual screening obscuration that the supported unit commander
               uses to establish the visibility requirement for an obscuration mission. The visibility
               categories include obscuration blanket, haze, and curtain:
                           Obscuration blanket. An obscuration blanket is a dense horizontal
                           concentration of smoke covering an area of ground with visibility inside the
                           concentration less than 50 meters. The blanket is established over and around
                           friendly areas to protect them from air visual observation and visual precision
                           bombing attacks. An obscuration blanket may hamper the operations of



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                      friendly forces by restricting movement and activity within the screen. It
                      provides maximum concealment.
                      Obscuration haze. An obscuration haze is obscuration placed over friendly
                      areas to restrict adversary observation with fire, but not dense enough to
                      disrupt friendly operations within the screen.
                      Obscuration curtain. An obscuration curtain is a vertical development of
                      smoke that reduces the enemy’s ability to clearly identify what is occurring
                      on the other side of the cloud. Visual recognition depends on the curtain width
                      and obscurant density. It is placed between friendly and enemy positions to
                      prevent or degrade enemy ground observation of friendly positions. Since the
                      obscuration curtain is not placed directly on friendly troops, it will not
                      hamper friendly operations.

         Planning and Preparation Considerations
            4-181. Obscuration missions are important functions for grenade launchers and
            mortars. Obscuration missions must be planned well and prepared for in advance so that
            the grenade launchers or mortar carriers are loaded with enough obscuration rounds.
            4-182. Atmospheric stability, wind velocity, and wind direction are the most important
            factors when planning target effects for obscuration and WP mortar rounds. The effects
            of atmospheric stability can determine whether projected obscuration is effective at all
            or, if effective, how much ammunition is needed. The considerations are—
                        During unstable conditions, grenade and mortar obscuration rounds are
                        almost ineffective—the obscuration does not spread but often climbs straight
                        up and quickly dissipates.
                        Under stable conditions, both grenade and mortar obscuration rounds are
                        effective.
                        The higher the humidity, the better the screening effects of grenade and
                        mortar obscuration rounds.
            4-183. The terrain in the target area affects obscuration rounds. If the terrain in the
            target area is swampy, rain-soaked, or snow-covered, then burning obscuration rounds
            may not be effective. These rounds produce obscuration by ejecting felt wedges soaked
            in phosphorous. These wedges then burn on the ground, producing a dense, long-lasting
            cloud. If the wedges fall into mud, water, or snow, they can extinguish. Shallow water
            can reduce the obscuration produced by these rounds by as much as 50 percent.
            4-184. The vehicle mounted grenade launchers (from the assault platoon of the
            weapons company) can provide a screening, incendiary, marking, and
            casualty-producing effect. It produces a localized, instantaneous obscuration cloud by
            scattering burning WP particles. The 120-millimeter (mm) heavy mortar and 81-mm
            medium battalion mortar WP and red phosphorous rounds produce a long lasting and
            wide area obscuration screen and can be used for incendiary effects, such as marking,
            obscuring, screening, and casualty producing. The 60-mm lightweight company mortar
            WP round can be used as a screening, signaling, and incendiary agent. All mortar
            obscuration rounds can be used as an aid in target location and navigation.


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        Employment Considerations
               4-185. When used correctly obscurants can significantly reduce the enemy’s
               effectiveness both in daytime and at night. Use obscurants to reduce the ability of the
               enemy to deliver effective fires, to hamper hostile operations, and to deny the enemy
               information on friendly positions and maneuvers. Obscurant reduces the effectiveness
               of laser beams and inhibits electro optical systems including some night vision devices.
               Additional usage and purpose include:
                          Obscuration to:
                             Defeat flash to bang ranging and restrict the enemy’s counterfire program.
                             Obscure adversary observation posts and reduce their ability to provide
                             accurate target location for enemy fire support assets.
                             Obscure enemy direct fire weapons and lasers.
                             Instill apprehension and increase enemy patrolling.
                             Slow adversary vehicles to blackout speeds.
                             Increase control problems by preventing effective visual signals and
                             increasing radio traffic.
                             Defeat night observation devices and reduce the capability of most
                             infrared devices.
                          Obscuration curtain for:
                             Deceptive screens. Smoke draws fire. Deceptive screens cause the enemy
                             to disperse their fires and expend ammunition.
                             Flank screens. Smoke may be used to screen exposed flanks.
                             Areas forward of the objective. Smoke helps the maneuver units
                             consolidate on the objective unhindered by enemy ground observers.
                             Gap crossing operations. Screening the primary crossing site denies the
                             enemy information. Deceptive screens deceive the enemy as to the exact
                             location of the main crossing.
                             Obstacle breaching. The enemy is denied the ability to observe breaching
                             unit activities.




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                                              Chapter 5
                                             Defense

                The Infantry rifle platoon conducts defensive operations to defeat
                enemy attacks, gain time, control key terrain, protect critical
                infrastructure, secure the population, and economize forces. Most
                importantly, the platoon sets conditions to transition to the offense.
                Defensive operations alone are not decisive unless combined with
                offensive operations to surprise the enemy, attack enemy
                weaknesses, and pursue or exploit enemy vulnerabilities. Even
                within the conduct of the Infantry rifle company defense, the
                Infantry rifle platoon exploits opportunities to conduct offensive
                actions within its area of operations (AO) to deprive the enemy of
                the initiative and create the conditions to assume the offense. Other
                reasons for conducting defensive operations include, retain decisive
                terrain, or deny a vital area to the enemy, attrition or fix the enemy
                as a prelude to the offense, counter surprise action by the enemy, or
                to increase the enemy’s vulnerability by forcing the enemy
                commander to concentrate subordinate forces. This chapter covers
                the conduct of the defense, common defensive planning
                considerations, types of defensive operations, engagement area
                development, and fighting position construction.

           SECTION I – CONDUCT OF THE DEFENSE
            5-1. The Infantry platoon and squad use the defense to occupy—a tactical mission task
            in which a unit moves into an area to control it without enemy opposition (FM 3-90)—
            and prepare positions and mass the effects of fires on likely enemy avenues of approach
            or mobility corridors. Avenue of approach is a path used by an attacking force leading
            to its objective or to key terrain. Avenues of approach exist in all domains (ADP 3-90).
            Mobility corridors are areas that are relatively free of obstacles where a force will be
            canalized due to terrain restrictions allowing military forces to capitalize on the
            principles of mass and speed. While the offense is the most decisive type of combat
            operation, the defense is the stronger type. The inherent strength of the defense is the
            defender’s ability to occupy positions before an attack and use the available time to
            improve those defenses.




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        Chapter 5




        CHARACTERISTICS OF THE DEFENSE
              5-2. Successful defenses share the following characteristics: disruption, flexibility,
              maneuver, mass and concentration, operations in-depth, preparation, and security.
              Defenses are aggressive. Defenders use all available means to disrupt attacking enemy
              forces and isolate them from mutual support to defeat them in detail. Defenders seek to
              increase their freedom of maneuver while denying it to attackers. Defenders use every
              opportunity to transition to the offense, even if only temporarily. As attackers’ losses
              increase, they falter, and the initiative shifts to the defenders. Defenders strike swiftly
              when the attackers reach their decisive point(s). Surprise and speed enable
              counterattacking forces to seize the initiative and overwhelm the attackers’
              concentration, flexibility, maneuver, and operations in-depth. (See FM 3-96 for
              additional information.)

        DISRUPTION
              5-3. Defenders disrupt attackers’ tempo and synchronization with actions designed to
              prevent them from massing combat power. Disruptive actions attempt to unhinge the
              enemy’s preparations and, ultimately, enemy’s attack. Methods include defeating or
              misdirecting enemy reconnaissance forces, breaking up their formations, isolating their
              units, and attacking (for example, conduct aggressive combat patrols [see chapter 7]) or
              disrupting their systems.

        FLEXIBILITY
              5-4. The defense requires flexible plans. Planning focuses on preparation in-depth, use
              of reserves, and ability to shift the main effort. Defenders add flexibility by designating
              supplementary positions and designing counterattack plans. Planned flexibility only
              works when leaders recognize—and act on—the emerging conditions that necessitate
              that planned flexibility. Defenders can have a flexible plan but if they do not act because
              they are wedded to the base plan, they still lose the opportunity to regain the offensive
              element of conventional warfare.

        MANEUVER
              5-5. Maneuver allows the defender to take full advantage of AO and to mass and
              concentrate when desirable. Maneuver, through movement in combination with fire,
              allows the defender to achieve a position of advantage over the enemy to accomplish the
              mission. It also encompasses defensive actions such as security force operations in the
              security area and security patrol activities in the main battle area and rear area.

        MASS AND CONCENTRATION
              5-6. Defenders seek to mass the effects of overwhelming combat power where they
              choose and shift it to support the main effort. To obtain an advantage at decisive points,
              defenders economize and accept risk in some areas; retain and, when necessary,
              reconstitute a reserve; and maneuver to gain local superiority at the point of decision.


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                                                                                              Defense



            Defenders accept risk in some areas to mass effects elsewhere. Obstacles, security
            forces, and fires can assist in reducing risk.

         OPERATION IN-DEPTH
            5-7. Operations in depth—the simultaneous application of combat power throughout
            an area of operations (ADP 3-90)—improves the chances for success while minimizing
            friendly casualties. Quick, violent, and simultaneous action throughout the depth of the
            defender’s AO can hurt, confuse, and even paralyze an enemy force just as it is most
            exposed and vulnerable. Such actions weaken the enemy’s will and do not allow all early
            enemy successes to build the confidence of the enemy’s Soldiers and leaders. In-depth
            planning prevents the enemy from gaining momentum in the attack. Synchronization of
            main and supporting efforts facilitate mission success.

         PREPARATION
            5-8. The defense has inherent strengths. The defender arrives in the AO before the
            attacker and uses the available time to prepare. These preparations multiply the
            defense’s effectiveness. Preparations end only when the defenders retrograde or begin
            to fight. Until then, preparations are continuous. Preparations in-depth continues, even
            as the close fight begins.

         SECURITY
            5-9. Security helps deceive the enemy as to friendly locations, strengths, and
            weaknesses. It also inhibits or defeat enemy reconnaissance. Security measures (for
            example, security patrols and counterreconnaissance [see paragraphs 7-183 to 7-184])
            provide early warning and disrupt enemy attacks early and continuously.

              Note. Counterreconnaissance is a tactical mission task that encompasses all
              measures taken by a unit to counter enemy reconnaissance and surveillance
              efforts (FM 3-90). Counterreconnaissance is not a distinct mission, but a
              component of all security operations and local security measures. It prevents
              hostile observation of a force or area. It involves both active and passive elements
              and includes combat action to destroy or repel enemy reconnaissance units and
              surveillance (both air and ground) assets.



         DEFENSIVE OPERATIONS
            5-10. A defensive operation is an operation to defeat an enemy attack, gain time,
            economize forces, and develop conditions favorable for offensive or stability operations
            (ADP 3-0). The three types of defensive operations are area defense (see section III),
            mobile defense (see note on page 5-59), and retrograde (see section IV). Each contains
            elements of the others and usually contains both static and dynamic aspects.



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        Chapter 5



              5-11. These three operations have significantly different concepts and pose significantly
              different problems. Each defensive operation is dealt with differently when planning and
              executing the defense. As with offensive operations, defensive operations can result in
              non-physical effects, such as those generated in the information environment—the
              aggregate of social, cultural, linguistic, psychological, technical, and physical factors
              that affect how humans and automated systems derive meaning from, act upon, and are
              impacted by information, including the individuals, organizations, and systems that
              collect, process, disseminate, or use information (JP 3-04).
              5-12. For example, the use of deception in support of operations security can be highly
              effective at gaining time and tactical deception can support the economization of forces.
              Infantry forces use the three types of defensive operations to deny enemy forces
              advantages, each has its own focus—
                          Area defense focuses on terrain.
                          Mobile defense focuses on the movement of enemy forces.
                          Retrograde focuses on the movement of friendly forces.
              5-13. Infantry rifle platoons serve as the primary maneuver element or
              terrain-controlling units for the Infantry rifle company. They can defend within an AO
              or battle position or serve as a security force or a reserve as part of the Infantry rifle
              company’s or Infantry battalion’s coordinated defense. (See ATP 3-21.10 and
              ATP 3-21.20 for additional information.)
              5-14. As part of a defense, the platoon can (although not all-inclusive) defend, delay,
              withdraw, counterattack, block, fix, turn, or perform security operations. The Infantry
              platoon usually defends, as part of the Infantry rifle company’s defense in the main battle
              area. It conducts the defense to achieve one or more of the following:
                          Gain time.
                          Retain essential terrain.
                          Support other operations.
                          Preoccupy the enemy in one area while friendly forces attack in another.
                          Wear down enemy forces at a rapid rate while reinforcing friendly operations.

        COMMON DEFENSIVE CONTROL MEASURES
              5-15. The defending leader controls defensive operations by using control measures to
              provide the flexibility needed to respond to changes in the situation and allow the
              defender to concentrate combat power at the decisive point(s). Defensive control
              measures within the organization of forces of an AO includes designating the security
              area, the main battle area, within the close area, with its associated forward edge of the
              battle area, and rear area with its echeloned support areas. The defender can use battle
              positions and additional direct fire control and fire support coordination measures in
              addition to those control measures to synchronize the employment of combat power.
              The defender designates a disengagement line(s)—a phase line located on identifiable
              terrain that, when crossed by the enemy, signals to defending elements that it is time to
              displace to their next position (ADP 3-90)—to trigger the displacement of subordinate
              forces. (See FM 3-96 for additional information.)

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         SECURITY AREA
            5-16. A security area is that area occupied by a unit’s security elements and includes
            the areas of influence of those security elements (ADP 3-90). It may be located as
            necessary to the front, flanks, or rear of a protected unit, facility, or location. Forces in
            a security area furnish information on an enemy force; delay, deceive, and disrupt that
            enemy force; and conduct counterreconnaissance.

         MAIN BATTLE AREA
            5-17. The main battle area is the area where the commander intends to deploy the bulk
            of their unit to defeat an attacking enemy (FM 3-90). The defender’s major advantage is
            the ability to select the ground on which the battle takes place. The defender positions
            subordinate forces in mutually supporting positions in-depth to absorb enemy
            penetrations or canalize—a tactical mission task in which a unit restricts enemy
            movement to a narrow zone (FM 3-90)—them into prepared engagement area(s),
            defeating the enemy’s attack by concentrating the effects of overwhelming combat
            power. The natural defensive strength of positions determines the distribution of forces
            in relation to both frontage and depth. In addition, defending units typically employ field
            fortifications and obstacles to improve the terrain’s natural defensive strength.

         BATTLE HANDOVER LINE
            5-18. The battle handover line is a designated phase line where responsibility transitions
            from the stationary force to the moving force and vice versa (ADP 3-90). The common
            higher commander of the two forces establishes the battle handover line (BHL) after
            consulting with both forces. The stationary defender determines the exact location of the
            line. The BHL is forward of the forward edge of the battle area in the defense or the
            forward line of own troops (FLOT) in the offense and utilized during a passage of lines
            (forward or rearward).

         BATTLE POSITIONS
            5-19. A battle position is a defensive location oriented on a likely enemy avenue of
            approach (ADP 3-90). Units as large as battalion task forces and as small as squads or
            sections use battle positions. They may occupy the topographical crest of a hill, a
            forward slope, a reverse slope, or a combination of all areas. The platoon leader selects
            positions based on terrain, enemy capabilities, and friendly capabilities. The leader can
            assign all or some subordinates battle positions within the AO.
            5-20. There are five types of battle positions: primary, alternate, supplementary,
            subsequent, and strong point. When assigning battle positions within a company
            defense, the commander always designates the primary battle positions. Platoon leaders
            will generally define exactly where primary battle positions are location and designate
            alternate, supplementary, and subsequent positions as time and other resources permit,
            and if the terrain or situation requires them. (See figure 5-1 on page 5-6.) Before
            assigning a strong point, the commander ensures that the strong point force has sufficient
            time and resources to construct the position.

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              Figure 5-1. Primary, alternate, supplementary, and subsequent battle
                                             positions

              5-21. A primary position is the position that covers the enemy’s most likely avenue of
              approach into the assigned area (FM 3-90). It is the best position from which to
              accomplish the defensive mission, such as the overwatch of an engagement area to
              prevent enemy penetration.
              5-22. An alternate position is a defensive position that the commander assigns to a unit
              or weapon system for occupation when the primary position becomes untenable or
              unsuitable for carrying out the assigned task (FM 3-90). When established the alternate
              position covers the same area as the primary position. The correct positioning of an
              alternate position improves survivability by providing good cover and concealment for
              movement to the alternate position and back to the primary position. The position is
              located slightly to the front, flank, or rear of the primary battle position. The position
              may be positioned forward of the primary battle position during limited visibility
              operations. An alternate position is employed to supplement or support positions with
              weapons of limited range.

                Note. Supplementary and subsequent positions are a way to achieve both
                flexibility and depth within the defense; however, they use must be planned for
                with displacement criteria and then rehearsed. All leaders should know when and
                why squads and/or the platoon will move to one of those positions.


              5-23. A supplementary position is a defensive position located within a unit’s assigned
              area that provides the best sectors of fire and defensive terrain along an avenue of
              approach that is not the primary avenue where the enemy is expected to attack
              (FM 3-90). It is assigned when more than one avenue of approach runs into a unit’s AO.
              For example, an avenue of approach into a platoon’s AO from one of its flanks could
              require the company to direct its platoons to establish supplementary positions to allow

        5-6                                        ATP 3-21.8




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            the platoons to engage enemy forces traveling along an avenue. The platoon leader
            assigns supplementary positions when the platoon must cover more than one avenue of
            approach.
            5-24. A subsequent position is a position that a unit expects to move to during the course
            of battle (FM 3-90). Subsequent positions can have primary, alternate, and
            supplementary positions associated with them.
            5-25. A strong point is a heavily fortified battle position tied to a natural or reinforcing
            obstacle to create an anchor for the defense or to deny the enemy decisive or key terrain
            (ADP 3-90). A strong point implies retention of terrain to control key terrain and
            blocking, fixing, or canalizing enemy forces. Defending units require permission from
            the higher headquarters to withdraw from a strong point. All combat, maneuver
            enhancement, and sustainment assets within the strong point require fortified positions.
            In addition, extensive protective and tactical obstacles are required to provide an
            all-around defense. Primary positions cover the enemy’s most likely avenue of approach
            into the area. (See figure 5-2.)




                          Figure 5-2. Platoon strong point battle position

              Note. A minimally effective strong point typically requires a 1-day effort from
              an engineer unit the same size as the unit defending the strong point. (See
              ATP 3-21.10 for additional information.)



         FORWARD EDGE OF THE BATTLE AREA
            5-26. The forward edge of the battle area is the foremost limits of a series of areas in
            which ground combat units are deployed to coordinate fire support, the positioning of
            forces, or the maneuver of units, excluding areas in which covering or screening forces

                                                 ATP 3-21.8                                        5-7




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              are operating (JP 3-09.3). When the defender defends forward in an area defense the unit
              employs the majority of its combat forces near the forward edge of the battle area.

        FORWARD LINE OF OWN TROOPS
              5-27. The forward line of own troops is a line which indicates the most forward
              positions of friendly forces in any kind of military operation at a specific time (FM 3-90).
              The FLOT normally identifies the forward location of covering or screening forces. In
              the defense, it may be beyond, at, or short of the forward edge of the battle area. It does
              not apply to small, long-range reconnaissance assets and similar stay-behind forces.
              Friendly forces forward of the FLOT may have a restrictive fire support coordination
              measure, such as a restrictive fire area, placed around them to prevent fratricide
              incidents.

        TACTICAL FRAMEWORK OF THE DEFENSE
              5-28. Usually as part of a larger force, the Infantry rifle platoon conducts the defense
              performing several integrated and overlapping activities. As in the offense, defensive
              operations are typically executed in a four-step tactical framework. The framework is
              for discussion purposes only and is not the only way of executing defensive operations.
              Normally the first two steps are supporting efforts, while the finish step is the main
              effort. Follow through is usually a sequel or branch to the plan based upon the situation.
              These steps may not occur sequentially; they may occur simultaneously. These steps
              are—
                          Find the enemy. Intel drives fires and maneuver.
                          Fix the enemy. Prevent repositioning or reinforcement making them easier to
                          destroy.
                          Finish the enemy. Mass available combat power to accomplish the mission.
                          Follow through. Defeat in detail, consolidate, reorganize, and transition.

          SECTION II – COMMON DEFENSIVE PLANNING
          CONSIDERATIONS
              5-29. Planning a defensive operation is a complex effort requiring detailed planning and
              extensive coordination. In the defense, synchronizing the effects of the Infantry rifle
              platoon’s capabilities enables the platoon leader to apply overwhelming combat power
              against selected advancing enemy forces to disrupt the enemy’s plan. As an operation
              evolves, the platoon leader knows a shift to main and supporting efforts is a probability
              to press the fight and keep the enemy off balance. Warfighting functions provide the
              Infantry leader a means and structure for planning, preparing, executing, and assessing
              the defense. The following paragraphs discuss the synchronization and coordination of
              activities within each warfighting function critical to the success of the Infantry rifle
              platoon and squad. Additionally, this section addresses environmental planning
              considerations in the defense. (See FM 3-96 for additional information.)



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         COMMAND AND CONTROL
            5-30. The first step is the expression of the platoon leader’s vision of anticipated enemy
            actions integrated with the Infantry rifle company’s intelligence preparation of the
            operational environment (known as IPOE). The Infantry battalion and company IPOE
            should not differ significantly, giving the Infantry platoon and squad a clear
            understanding of how the Infantry battalion and company commanders envision the
            enemy fight and plan for the operation. The company commander refines the IPOE to
            focus on the details of the operation in the company AO. The platoon leader refines the
            IPOE to focus on the details of the mission in the platoon AO. The Infantry battalion
            commander usually defines where and how the Infantry battalion will defeat or destroy
            the enemy. The Infantry rifle company commander and platoon leader then describe a
            vision of how their units will execute their portion of the battalion fight.
            5-31. The platoon’s leaders will locate where they can best provide command and
            control to subordinate units and Soldiers. Understanding the enemy’s likely scheme of
            maneuver allows the platoon leader to select those decisive point(s) where best to
            position leaders and key weapons in order to mass their effects on enemy forces. When
            a platoon command post is established within the defense, it is located where the platoon
            leader determines it is best able to provide communications with higher, lower, adjacent,
            and supporting units; to assist the platoon leader in planning, coordinating, and issuing
            platoon orders, and to support continuous operations by the platoon. In static positions
            (for example, a battle position[s]), a stationary command post location may be
            designated by the platoon leader where field expedient antennas and/or land wire are
            employed to allow communications to be established with company, and subordinate
            static units, observation posts, and/or patrols within the platoon’s AO. Accurate primary,
            alternate, contingency, and emergency (known as PACE) communications plan (see
            paragraph 5-104) is crucial to a leader’s situational awareness. The PACE plan
            designates the order in which a leader will move through available communications
            systems until contact can be established with the desired element.

         MOVEMENT AND MANEUVER
            5-32. Movement and maneuver considerations involve the movement and employment
            of direct fire weapons on the battlefield. In the defense, weapons positioning is critical
            to the Infantry platoon’s and squads’ success. Weapons positioning enables the platoon
            to mass fires at critical points on the battlefield and shift fires as necessary. The platoon
            leader exploits the strengths of the weapon systems while minimizing the platoon’s
            exposure to enemy observation and fires.

         DEPTH AND DISPERSION
            5-33. Dispersing positions laterally and in-depth helps to protect the force from enemy
            observation and fires. The positions are established in-depth, allowing sufficient
            maneuver space within each position to establish in-depth placement of weapon systems
            and Infantry elements. Engagement areas are established to provide for the massing of
            fires at critical points on the battlefield. Sectors of fire are established to distribute and


                                                  ATP 3-21.8                                         5-9




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               shift fires throughout the extent of the engagement area. Once the direct fire plan is
               determined, fighting positions are constructed in a manner to support the fire support
               and obstacle plan.

        FLANK POSITIONS
               5-34. Flank positions enable a defending force to fire on an attacking force moving
               parallel to the defender’s forces. A flank position provides the defender with a larger
               and more vulnerable target while leaving the attacker unsure of the defense’s location.
               Major considerations for employment of a flank position are the defender’s ability to
               secure the flank and the ability to achieve surprise by remaining undetected.

        DISENGAGEMENT CRITERIA
               5-35. Disengagement criteria are the protocols that specify those circumstances where
               a friendly force must break contact with the direct fire and observed indirect fire to avoid
               becoming decisively engaged or to preserve friendly combat power (FM 3-90). It
               dictates to subordinate elements the circumstances, in which they will displace to
               alternate, supplementary, or subsequent positions. The criteria are tied to an enemy
               action, such as an enemy unit advancing past a certain phase line. They also are linked
               to the friendly situation. For example, the criteria might depend on whether artillery or
               an overwatch element can engage the enemy. Disengagement criteria are developed for
               each specific situation.

        DISPLACEMENT CRITERIA
               5-36. Displacement criteria define triggers for planned withdrawals, passage of lines, or
               reconnaissance handovers (battle handover for security operations) between units. As
               with engagement, disengagement, and bypass criteria, the conditions and parameters set
               in displacement criteria integrate the leader’s intent with tactical feasibility. Conditions
               and parameters are event-driven, time-driven, or enemy-driven. Displacement criteria
               conditions and parameters are key rehearsal events due to the criticality of identifying
               the triggers to anticipate during the mission. An example of event-driven conditions and
               parameters are associated priority intelligence requirements (PIRs) being met, enemy
               contact not expected in the area, and observed named area of interest (NAI) or avenue
               of approach denied to the enemy. Time-driven conditions and parameters ensure the
               time triggers are met (for example, latest time information is of value). An observation
               post compromised by threat or local civilian contact is a threat-driven condition. Failure
               to dictate conditions and parameters of displacement, nested within the higher scheme
               of maneuver, results in mission failure.

        DISENGAGEMENT AND DISPLACEMENT PLANNING
               5-37. Disengagement and displacement allow the platoon to retain its flexibility and
               tactical agility in the defense. For example, retrogrades (see section IV) are conducted
               to improve a tactical situation or preventing a worse situation from developing. Platoons
               usually conduct retrogrades as part of a larger force but may conduct independent


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            retrogrades (withdrawal) as required during defensive operations. The ultimate goals of
            disengagement and displacement are to enable the platoon to avoid being fixed or
            decisively engaged by the enemy. The overarching factor in a displacement is to
            maintain a mobility advantage over the enemy. The platoon leader must consider several
            important factors in displacement planning. These factors include, among others:
                       The enemy situation, for example, an enemy attack with one company-size
                       enemy unit might prevent the platoon from disengaging.
                       Disengagement criteria (see paragraph 5-35).
                       Availability of direct fire suppression that can support disengagement by
                       suppressing or disrupting the enemy.
                       Availability of cover and concealment, indirect fires, and obscurants to assist
                       disengagement.
                       Obstacle integration, including situational obstacles.
                       Positioning of forces on terrain that provides an advantage to the disengaging
                       elements such as linear obstacles.
                       Identification of displacement routes and times when disengagement or
                       displacement will take place. Routes and times are rehearsed.
                       The size of the friendly force that must be available to engage the enemy in
                       support of the displacing unit.
            5-38. While disengagement and displacement are valuable tactical tools, they can be
            extremely difficult to execute in the face of a rapidly moving enemy force. The platoon
            leader must establish clear disengagement criteria, and it must be rehearsed. In
            execution, leaders carefully evaluate the situation and are alert to those criteria. The
            platoon leader makes a displacement decision early enough to ensure that it is feasible
            and does not result in unacceptable personnel or equipment losses.
            5-39. For example, in a delay from alternate positions, First Platoon in an area defense
            occupies delaying positions in-depth. As First Squad engages the enemy vicinity Phase
            Line Dog, Second Squad occupies its next position in-depth adjacent to Third Squad and
            prepares to assume responsibility for the operation. When the enemy reaches Phase Line
            Cat, First Squad disengages and passes around (preferred method) or through Second
            Squad. First Squad then moves to its next position and prepares to reengage the enemy
            while Second Squad and Third Squad take up the fight.

         DIRECT FIRE SUPPRESSION
            5-40. The attacking enemy force must not be allowed to bring direct and indirect fires
            to bear on a disengaging friendly force. Direct fires from the base-of-fire element,
            employed to suppress or disrupt the enemy, are the most effective way to facilitate
            disengagement. The platoon may receive base of direct fire support from another
            element in the company, but in most cases, the platoon establishes its own base-of-fire
            element. Having an internal base of fire requires the platoon leader to sequence the
            displacement of forces.




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        COVER AND CONCEALMENT
               5-41. The platoon and subordinate squads use covered and concealed routes when
               moving to alternate, supplementary, or subsequent positions. Regardless of the degree
               of protection the route itself affords, the platoon and squads should rehearse the
               movement both day and night prior to contact. Rehearsals increase the speed at which
               they can conduct the move and provide an added measure of security. The platoon leader
               allocates available time to rehearse movement in limited visibility and degraded
               conditions.

        INDIRECT FIRES AND OBSCURANTS
               5-42. Artillery or mortar fires assist the platoon during disengagement. Suppressive
               fires slow the enemy and cause the enemy to seek cover. Smoke obscures the enemy’s
               vision, slows the progress, or screens the defender’s movement out of the battle position
               or along the displacement route.

        OBSTACLE INTEGRATION
               5-43. Obstacle efforts create opportunities to engage enemy forces with direct and
               indirect fires. Leaders should plan to mass fires on the places that obstacles will force
               enemy forces to go, not on the obstacles themselves. Ideally, obstacles should be
               positioned far enough away from the defender that enemy elements could be engaged
               on the far side of the obstacle while keeping the defender out of range of the enemy’s
               massed direct fires. One or two well-constructed obstacles are more valuable than more
               obstacles constructed to marginal standards.

        COUNTERMOBILITY
               5-44. Countermobility is a set of combined arms activities that use or enhance the effects
               of natural and man-made obstacles to prevent the enemy freedom of movement and
               maneuver (ATP 3-90.8). To succeed in the defense, defenders reinforce the terrain to
               prevent the enemy from gaining a position of advantage. Reinforcing the terrain focuses
               on existing and reinforcing obstacles. These categories of obstacles provide a way for
               viewing the obstacle classification described in paragraphs 5-45 to 5-64 from the
               countermobility perspective. (See ATP 3-21.10 for additional information on
               countermobility operations in the defense.)

        Existing Obstacles
               5-45. Existing obstacles are inherent aspects of the terrain that impede movement and
               maneuver. Existing obstacles may be natural (rivers, mountains, wooded areas) or
               man-made (enemy explosive and nonexplosive obstacles and structures, including
               bridges, canals, railroads, and their associated embankments). Although not specifically
               designed or intended as an obstacle, structures may pose as an obstacle based on existing
               characteristics or altered characteristics that result from combat operations or a
               catastrophic event. Structures, such as bridges and overpasses, present an inherent
               impediment to the enemy’s mobility based on weight and clearance restrictions. Existing

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            obstacles are shown on the combined obstacle overlay developed as part of the IPOE.
            As described in ATP 3-34.80, geospatial engineering is critical in accurately predicting
            the effects that existing obstacles will have on enemy and friendly movement and
            maneuver.

         Reinforcing Obstacles
            5-46. Reinforcing obstacles are those man-made obstacles that strengthen existing
            terrain to achieve a desired effect. For U.S. forces, reinforcing obstacles on land consist
            of land mines, networked munitions, and demolition and constructed obstacles. The
            basic employment principles for reinforcing obstacles are—
                        Support the maneuver commander’s plan.
                        Integrate with observation and fires.
                        Integrate with other obstacles.
                        Employ in-depth.
                        Employ for surprise.
            5-47. Land mines. A land mine is a munition on or near the ground or other surface area
            that is designed to explode by the presence, proximity, or contact of a person or vehicle.
            Land mines can be employed in quantities within a specific area to form a minefield, or
            they can be used individually to reinforce nonexplosive obstacles. Land mines can be
            further qualified as antivehicle or antipersonnel. They can be air-, artillery-, or
            ground-delivered. Land mines fall into two general categories:
                        Persistent. A persistent mine is a land mine, other than nuclear or chemical,
                        that is not designed to self-destruct. It is designed to be emplaced by hand or
                        mechanical means and can be buried or surface emplaced.
                        Nonpersistent. A nonpersistent mine remains active for a predetermined
                        period of time until self-destruction, self-neutralization, or self-deactivation
                        renders the mine inactive. This means that it is capable of self-destructing or
                        self-deactivating.

              Note. As of 31 January 2020, U.S. forces are not authorized to employ persistent
              or nondetectable land mines.


            5-48. Networked munitions. Networked munitions are remotely controlled,
            interconnected, weapon systems designed to provide rapidly emplaced ground-based
            countermobility and protection capability through scalable application of lethal and
            nonlethal means (JP 3-15).
            5-49. Demolition obstacles. Demolition obstacles are created using explosives.
            Examples include bridge or other structure demolition (rubble) and road craters. (See
            ATP 3-90.8 appendix B for additional information on demolition obstacles.)
            5-50. Constructed obstacles. Constructed obstacles are created without the direct use of
            explosives. Examples include wire obstacles, antivehicle ditches, or similar construction
            that involves the use of heavy equipment.


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               5-51. Reinforcing obstacles are categorized as tactical and protective. They are
               employed as part of the movement and maneuver and protection warfighting functions.
               (See ATP 3-90.8 for additional information.) In the defense, leaders use reinforcing
               obstacles to:
                          Slow the enemy’s advance to give the platoon or squad more time to mass
                          fires on the enemy.
                          Protect defending units.
                          Canalize the enemy into places where they can easily be engaged.
                          Separate the enemy’s armor from its infantry.
                          Strengthen areas that are lightly defended.

        Tactical Obstacles
               5-52. The primary purposes of tactical obstacles are to shape enemy maneuver and to
               maximize the effects of fires. Tactical obstacles directly attack the ability of a force to
               move, mass, and reinforce; therefore, they affect the tempo of operations. Leaders
               integrate obstacles into the scheme of movement and maneuver/scheme of maneuver to
               enhance the effects of fires. Preexisting obstacles that a unit reinforces and integrates
               with observation and fires may become tactical obstacles. The types of tactical obstacles
               are clearly distinguished by the differences in execution criteria. The three types are—
               directed obstacles, situational obstacles, and reserved obstacles.
               5-53. A directed obstacle is an obstacle directed by a higher commander as a specified
               task to a subordinate unit (ATP 3-90.8). The higher commander directs and resources
               these obstacles as specified tasks to a subordinate unit. Unit leaders plan, prepare, and
               execute directed obstacles during the preparation of the AO. Most tactical obstacles are
               directed obstacles.
               5-54. A situational obstacle is an obstacle that a unit plans and possibly prepares prior
               to starting an operation but does not execute unless specific criteria are met
               (ATP 3-90.8). They are preplanned obstacles as part of a target area of interest and
               provide the commander flexibility for emplacing tactical obstacles based on battlefield
               development. Situational obstacles can incorporate any type of obstacle that can be
               employed within the time required. Situational obstacles are used to get inside the
               decision cycle of the enemy or react promptly to unexpected situations. Situational
               obstacles help units retain flexibility to quickly adapt in changing environments.
               Situational obstacles support the maneuver commander’s synchronization matrix,
               decision support template, or branches and sequels. The following should be considered
               in addition to the obstacle employment principles:
                          Identifying the need for a situational obstacle.
                          Planning for the appropriate resources.
                          Planning for the obstacle.
                          Identifying obstacle execution triggers.
                          Withholding the execution of the obstacle until needed.




        5-14                                        ATP 3-21.8




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               Note. The U.S. ban on persistent land mines has resulted in a greater reliance on
               scatterable mines to fulfill tactical obstacle requirements. The limited duration of
               scatterable mines (after their activation) makes them the most suitable for use as
               situational obstacles.


             5-55. A reserved obstacle are obstacles of any type, for which the commander restricts
             execution authority (ATP 3-90.8). The commander specifies the unit that is responsible
             for preparing, guarding, and executing reserved-obstacle emplacement. Units execute
             them only on command of the designating commander or based on specific criteria
             identified by the commander. The purpose of a reserved obstacle is to retain control over
             the mobility along an avenue of approach. Commanders use reserved obstacles when
             failure to maintain control over the mobility along an avenue of approach will have
             disastrous effects on the current battle or future operations.

               Note. The three definitions above can apply to any type of obstacle. For example,
               the Modular Pack Mine System can be employed in support of disengagement,
               to either block a key displacement route once the displacing unit has passed
               through it or close a lane through a tactical obstacle. The location of obstacles in
               support of disengagement depends on mission variables of METT-TC (I)
               mission, enemy, terrain and weather, troops and support available, time
               available, civil considerations, and informational considerations.


         Protective Obstacles
             5-56. Protective obstacles have two roles: defense or security. Infantry platoons plan
             and construct their own protective obstacles. For best effect, protective obstacles are tied
             into existing or tactical reinforcing obstacles. The platoon can use mines and wire, or it
             might receive additional materiel from the company, for example, Classes IV or V. In
             planning protective obstacles:
                         The platoon leader evaluates the potential threat to the platoon’s position.
                         Then, employs the best system for that threat.
                         Protective obstacles usually are located beyond hand grenade distance (40 to
                         100 meters) from the Soldier’s fighting position and may extend out 300 to
                         500 meters to tie into tactical obstacles and existing restricted terrain. (As
                         with tactical obstacles, the platoon leader should plan protective obstacles in
                         depth and try to maximize the range of the platoon’s weapons.)
                         The platoon leader considers preparation time, the burden on the logistical
                         system, the Soldiers’ loads, and the risk of loss of surprise.
             5-57. The three types of wire obstacles (see figure 5-3 on page 5-16) are protective,
             tactical, and supplementary:
                         Protective wire can be a complex obstacle providing all-around protection of
                         a platoon perimeter. It also might be a simple wire obstacle on the likely
                         dismounted avenue of approach into a squad ambush position. Command

                                                  ATP 3-21.8                                      5-15




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                          detonated M18 claymores (see TC 3-22.23) can be integrated into the
                          protective wire or used separately.
                          Tactical wire is positioned to increase the effectiveness of the platoon’s fires.
                          Usually, it is positioned along the friendly side of the medium machine gun
                          final protective line (FPL). Tactical minefields also may be integrated into
                          these wire obstacles or used separately.
                          Supplementary wire obstacles can break up the line of tactical wire. This
                          helps prevent the enemy from locating friendly weapons (particularly the
                          medium machine guns) by following the tactical wire.




                                          Figure 5-3. Wire obstacles

                 Note. See ATP 3-90.8 for information on nuisance and phony obstacles.
                 Nuisance obstacles impose caution on opposing forces. They disrupt, delay, and
                 sometimes weaken or destroy follow-on echelons. Phony obstacles deceive the
                 attacking force concerning the exact location of real obstacles. They cause the
                 attacker to question its decision to breach and may cause the attacker to expend
                 reduction assets wastefully.


               5-58. Certain actions must occur when a protective obstacle (same actions apply for a
               tactical obstacle) is turned over or transferred to ensure that obstacle effectiveness or
               integration is not degraded. After an obstacle is completed, the emplacing unit (for
               example, the platoon) conducts obstacle transfer with the owning unit (for example, the
               company). The details for obstacle transfer (including who, what, when, and where) are
               established between the emplacing and owning units during obstacle siting. The owning
               unit may subsequently transfer ownership of an obstacle to another unit as part of a relief
               or unit rotation. (A withdrawal may involve obstacle removal.) Obstacle transfer ensures
               that the commander who is gaining ownership of the obstacle is familiar with the


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            obstacle characteristics and features and that the responsibilities for maintaining obstacle
            integration are understood. In addition to the information presented in obstacle records,
            demolition target folders, and transfer reports (if applicable), leaders who conduct
            obstacle transfer should consider providing the following information to the gaining unit
            leader:
                        Features or characteristics of the obstacle, such as the—
                            Obstacle data, including obstacle number, grid location, and emplacement
                            date and time.
                            Dimensions and composition.
                            Anchor points.
                            Lane-marking data.
                            Intended effect.
                            Strengths and weaknesses.
                        Updates on friendly and enemy activities near the obstacle.
                        Areas for enemy observation and likely points of breach.
                        Fire control measures.
                        Detailed instructions, along with demonstrations as necessary, for—
                            Closing lanes and gaps.
                            Repairing and maintaining obstacles.
                            Removing, clearing, dismantling, disabling, or disarming obstacles.
                            Reusing or properly disposing of recovered obstacle material.

              Note. Tracking obstacle removal and obstacles remaining on the battlefield is
              just as critical as tracking obstacle emplacement. (See ATP 3-90.8 for additional
              information.)


         Obstacle Intent
            5-59. Obstacle intent includes the target and desired effect (clear task and purpose) and
            the relative location of the obstacle group. The purpose influences many aspects of the
            operation, from selecting and designing obstacle sites to conducting the defense.
            Normally, the company commander designates the purpose of an obstacle group. When
            employing obstacles, the platoon leader considers the following principles:
                        Support the tactical plan. Ensures obstacles supplement combat power to
                        decrease the mobility of the enemy and provide security for the platoon.
                        While considering enemy avenues of approach, the platoon leader also
                        considers the platoon’s own movement requirements, such as routes for
                        resupply, withdrawal, counterattacks, patrols, and observation posts.
                        Tie in. Ensures reinforcing obstacles are tied in with existing or natural
                        obstacles. Ensures fire support plan supports obstacle plan, based on
                        estimated enemy’s rate of movement and formation, amount of time it will
                        take the enemy to breach or bypass specific obstacles, and how long it will
                        take to process and fire each target. This allows for the creation of effective

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                          triggers that quickly synchronize fires and achieve the desired effects against
                          enemy formations.
                          Covered by observation and fire. Ensures that all obstacles are covered by
                          observation and fire. This reduces the enemy’s ability to remove or breach
                          the obstacles out of contact.
                          Constructed in-depth. Emplaces obstacles so that each new obstacle
                          encountered by the enemy attrits the enemy force or equipment and causes a
                          desired and controlled reaction. Proper use of obstacles in-depth wears the
                          enemy down and significantly increases the overall effect.
                          Employed for surprise. Avoids an obvious pattern of obstacles that would
                          divulge locations of units and weapons. The platoon leader must avoid readily
                          discernable, repetitive obstacle patterns.
               5-60. The company commander assigns obstacle groups and tells the platoon leader and
               supporting engineers the intent of the obstacles against the enemy, and then resources
               the groups accordingly. Obstacle intent includes the elements of target, effect, and
               relative location:
                           Target identifies the targeted enemy force size, type, echelon, avenues of
                           approach, or any combination of these.
                           Effect describes how to affect the enemy’s maneuver with obstacles and fires.
                           Tactical obstacles block, turn, fix, or disrupt. Obstacle effect integrates the
                           obstacles with direct and indirect fires.
                           Relative location is the placement of the obstacle effect to occur against the
                           targeted enemy force. Initiates an obstacle integration process after
                           identifying where on the terrain the obstacle will most decisively affect the
                           enemy.
               5-61. For example, the battalion commander might say, “deny the enemy access to the
               battalion’s flank by turning the northern, enemy mechanized Infantry company into
               Engagement Area Crow to allow A Company (specifically First Platoon and Second
               Platoon) to mass their fires to destroy the enemy.” Scatterable mine systems and
               submunitions are the main means of constructing tactical obstacles. These systems, with
               their self- and command-destruct capabilities, are flexible, and they aid in rapid
               transitions between defensive and offensive operations. They do this better than other
               constructed obstacles. The force constructs conventional minefields and obstacles only
               for a deliberate, long-term defense. In those cases, the company and platoons usually are
               augmented with assets from the brigade engineer battalion of the Infantry brigade
               combat team (IBCT) and/or a divisional engineer battalion. Table 5-1 shows the symbols
               for each obstacle effect, and it describes the purpose and characteristics of each.




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                                                                                            Defense



                                Table 5-1. Tactical obstacle effects




         Obstacle Lanes
            5-62. Leaders identify mobility requirements to determine the need for lanes or gaps to
            be left in obstacles. Mission variables of METT-TC (I) are considered to determine if
            these areas remain open, closed on order, or closed with the defender able to open the
            lane. The on-off-on feature of networked munitions makes them well suited for lanes.
            Units use lanes or gaps to allow patrols (combat and reconnaissance), quick reaction
            forces—commander designated forces to respond to threat attacks or emergencies
            (FM 3-90), quick response forces, or tactical combat forces, and counterattack forces to
            enter and leave through the defense.

              Note. A quick response force is a dedicated force on a base with adequate tactical
              mobility and fire support designated to defeat Level I and Level II threats and
              shape Level III threats until they can be defeated by a tactical combat force or
              other available response forces (see FM 3-90).


            5-63. Lanes and gaps are weak points in protective obstacles, so units consider
            allocating increased direct and indirect fires to cover them. The lanes and gaps must be

                                               ATP 3-21.8                                     5-19




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               disseminated to all levels and overwatched as a protective measure to prevent fratricide.
               Obstacles that are used for rapid lane closure are often demolition obstacles or mines,
               for example, units may use a cratering charge to close a lane.
               5-64. When the platoon is responsible for actions related to lanes through obstacles. Its
               duties can include marking lanes in an obstacle, reporting locations of the start and ends
               of each lane, operating contact points, providing guides for elements passing through
               the obstacle, and planning and rehearsing lane closure. (See ATP 3-90.8 for additional
               information.)

        MOBILITY
               5-65. Mobility operations in the defense ensure the ability to reposition forces, delay,
               and counterattack. Initially during defensive preparations, mobility operations focus on
               the ability to resupply, reposition, and conduct rearward and forward passage of forces,
               materiel, and equipment. Once major defensive preparations are complete, the focus
               normally shifts to supporting the local reserve and counterattack(s), and the higher
               headquarters counterattack or reserve. Priorities set by the company may specify routes
               for improvement in support of such missions. Normally, most engineer assets go to
               survivability and countermobility. At a set time or trigger, engineers disengage from
               obstacle and survivability position construction and start preparing for focused mobility
               missions. The defender analyzes the scheme of maneuver, obstacle plan, fire support
               plan, and terrain to determine mobility requirements. (See ATP 3-21.10 for additional
               information on mobility operations in the defense.) Critical considerations may include:
                           Lanes and gaps in the obstacle plan.
                           Lane closure plan and subunit responsibility.
                           Route reconnaissance, improvement, and maintenance.

        SECTOR
               5-66. A sector is an operational area assigned to a unit in the defense that has rear and
               lateral boundaries and interlocking fires (FM 3-0). The non-bounded side is open
               towards the enemy. A higher echelon headquarters uses fire support coordination and
               maneuver control measures such as battle positions and trigger lines to synchronize
               subordinate units. Higher headquarters are responsible for synchronizing operations
               forward of the main battle and security areas or coordinated fire line. Units use sectors
               to synchronize and coordinate engagement areas and allow for mutually supporting
               fields of fire, which do not require coordination between adjacent units. Units treat
               everything behind the FLOT as an AO. Sectors can be further subdivided as needed.
               (See FM 3-90 for additional information on sectors.)

        RESERVE ROLE
               5-67. If the platoon, or squad are designated in a reserve role, positioning the reserve in
               a location where it can react to several contingency plans is vital to success. The
               designating commander considers terrain, trafficability of roads, potential engagement
               area(s), and probable points of enemy penetrations and commitment time when

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            positioning the reserve. Additionally, reserve forces must understand that they may be a
            primary target for enemy destruction through fires or CBRN attacks and must be
            prepared to react to this targeting. The reserve force must understand, plan for, and
            rehearse multiple assigned planning priorities, and must time, and provide those times
            to the designating commander, for all anticipated movements.
            5-68. The battalion commander can have a single reserve, or if the terrain dictates, the
            subordinate commanders can designate their own reserve (generally a squad or platoon).
            Commanders must ensure reserves are positioned in a covered and concealed position
            and that they cannot be trapped in these reserve positions by the enemy’s scatterable
            mines. Information concerning reserves may be considered essential element of friendly
            information and protected from enemy reconnaissance. The commander or platoon
            leader (when the platoon designates a reserve) might choose to position the reserve
            forward initially to deceive the enemy, or to move the reserve occasionally to prevent it
            from being targeted by enemy indirect fires.

         INTELLIGENCE
            5-69. The Infantry platoon leader never has all the information needed about the enemy.
            Therefore, the platoon leader obtains or develops the best possible IPOE products,
            conducts continuous reconnaissance, and integrates new and updated intelligence
            products and assessments and combat information throughout the operation. The leader
            requests information through the company from the battalion staff to answer platoon
            information requirements. (See ATP 3-21.10 for additional information.)
            5-70. As with all tactical planning, IPOE is a critical part of defensive planning. It helps
            the platoon leader define where to concentrate combat power, where to accept risk, and
            where to plan potential decisive points in the operation. To aid in the development of a
            flexible defensive plan, the IPOE must present all feasible enemy courses of action
            (COAs). The essential areas of focus are—
                       Analyze terrain and weather.
                       Determine enemy force size and likely COAs with associated decision points.
                       Determine enemy vulnerabilities and high-value targets (generally developed
                       during step 4 of the battalion’s IPOE, see chapter 2).
                       Impact of civilian population on the defense.
            5-71. The platoon leader, in coordination with the commander, base determinations of
            how and where to defeat the enemy on potential future enemy locations, the terrain, and
            forces available. The company may define a defeat mechanism (destroy, dislocate,
            disintegrate, and isolate, see ATP 3-21.10) including the use of single or multiple
            counterattacks to achieve success. The platoon leader analyzes the platoon’s role in the
            company fight and determines how to achieve success.




                                                 ATP 3-21.8                                      5-21




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        FIRES
               5-72. The Infantry platoon leader plans and executes fires in a manner, which achieves
               the intended task and purpose of each target. The platoon’s scheme of fires serves to:
                          Slow and disrupt enemy movement.
                          Prevent the enemy from executing breaching operations.
                          Destroy or delay enemy forces at obstacles using massed or precision fires.
                          Suppress enemy support by fire elements.
                          Defeat attacks along avenues of approach with final protective fires (FPFs).
                          Disrupt the enemy to enable friendly forces to displace or counterattack.
                          Obscure enemy observation or screen friendly movement during
                          disengagement and counterattacks.
                          Provide obscurants to separate enemy echelons or to silhouette enemy
                          formations to facilitate direct fire engagement.
                          Provide illumination, as necessary.
                          Execute suppression of enemy air defense missions to support aviation
                          operations.
               5-73. In developing the fire plan, the platoon leader evaluates the indirect fire systems
               available to provide support. Considerations when developing the plan include tactical
               capabilities, weapons ranges, and available munitions. These factors help the platoon
               leader and forward observer (FO) determine the best method for achieving the task and
               purpose for each target in the fire plan. The Infantry rifle company fire support Soldiers
               contribute significantly to the platoon fight. Positioning is critical. The platoon leader,
               in coordination with the company fire support officer, selects positions providing the
               platoon FO with unobstructed observation of the AO, ensuring survivability.

        SUSTAINMENT
               5-74. In addition to the sustainment functions (see chapter 8) required for all missions,
               the platoon leader’s planning process includes pre-positioning of ammunition caches,
               identifying the positioning of company trains, and Classes IV and V supply points, and
               explosive mine supply points.
               5-75. The platoon leader’s mission analysis may reveal the platoon’s ammunition
               requirements during an upcoming mission exceed its basic load. This requires the
               platoon to coordinate with the company to pre-position ammunition caches. The platoon
               usually positions ammunition caches at alternate or subsequent positions. The platoon
               also may dig in these caches and guard them to prevent their capture or destruction.
               5-76. The Infantry company trains usually operate 500 to 1,000 meters or one terrain
               feature to the rear of the company in covered and concealed positions close enough to
               the platoons to provide responsive support (support distance) but out of enemy direct
               fire. The company trains conduct evacuation (of those wounded in action, weapons, and
               equipment) and resupply as required. The company first sergeant or executive officer
               positions the trains and supervises sustainment operations with the platoon. It is the


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            Infantry company commander’s, along with the first sergeant’s, responsibility to ensure
            all subordinate units know the locations of battalion combat and field trains as well as
            the company casualty collection point (CCP), battalion aid station, and casualty
            evacuation (CASEVAC) and medical evacuation (MEDEVAC) procedures. The platoon
            leader’s analysis determines the measures for every mission. The platoon sergeant
            responses to whatever system of supply management the company establishes.

         PROTECTION
            5-77. Because the platoon defends to conserve combat power for use elsewhere or later,
            the platoon leader must secure—a tactical mission task in which a unit prevents the
            enemy from damaging or destroying a force, facility, or geographical location
            (FM 3-90)—the force. The leader enables security, by means of providing information
            about the activities and resources of the enemy, through the employment of
            reconnaissance and surveillance within its assigned AO. The leader may employ
            counterreconnaissance (security patrols) and establish observation posts to counter
            enemy reconnaissance and surveillance efforts. The platoon leader integrates platoon
            reconnaissance and surveillance efforts, and security patrols with those of the company
            information collection effort.

         ACTIVE AND PASSIVE AIR DEFENSES
            5-78. In the face of an enemy air threat, the platoon usually has only active and passive
            (with its organic weapons) air defenses. Air defense units are usually not assigned below
            brigade combat team level. However, air defense assets may be located near the platoon
            and may provide area coverage. If air defense elements are assigned, the higher
            commander with the advisement of the air defense leader determines likely enemy air
            avenues of approach, and plans positions accordingly. The higher commander
            establishes priorities for protection that may include the company command post, mortar
            positions, and logistics assets. A stinger section may support maneuver elements from
            positions to the rear of defensive battle positions or along offensive attack routes as
            operations transition. Stinger teams on the early warning net can warn supported units
            of an air attack. (See ATP 3-01.8 for additional information.)
            5-79. The platoon leader and subordinate leaders ensure all active and passive air
            defense measures are well planned and implemented, to include scanning for any hostile
            small-unmanned aircraft systems. (See Battle Drill-React to Aircraft While Dismounted,
            appendix E.) Passive measures include use of concealed routes and tactical assembly
            areas (TAAs), movement on secure routes, movement at night, increased intervals
            between elements of the columns, dispersion between Soldiers, using terrain to mask
            movement, and slowing or stopping movement to eliminate dust signature. Air guard
            duties assigned to specific Soldiers during dismounted (or mounted) movements and
            marches give each a specific search area. For movements and marches, seeing the enemy
            first gives the unit time to react. Leaders understand that scanning for long periods
            decreases the Soldier’s ability to identify enemy aircraft. During extended or long
            movements and marches, Soldiers are assigned air guard duties in shifts. Units take
            passive measures unless or until threat aircraft are within range of assigned or attached


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               weapons, at which time when threatened they take active measures. Active measures
               primarily involve engaging threat aircraft with a high volume of fires with the
               appropriate lead applied. Active measures include use of organic and attached weapons
               according to the OPORD and unit SOP. (See paragraphs 4-41 to 4-44 for additional
               information on active and passive air defense.)

                 Note. Counterrocket and artillery batteries, and countermortar fire elements may
                 be located in or near an assigned AO to support a mission. Battery sensors detect
                 incoming rockets, artillery, and mortar shells and may be used to detect Groups
                 1 and 2 unmanned aircraft systems. The battery’s fire control system predicts the
                 flight path of incoming rockets and shells, prioritizes targets, and activates in the
                 supported AO warning system according to established ROE. Exposed elements
                 within the AO then can take cover and provide cueing data that allows the
                 battery’s weapon system to defeat the target before the target can impact the area.
                 Commanders clearly define command and support relationships between
                 counterrocket, artillery, and mortar elements and supported units during
                 planning. (See ATP 3-01.60 for additional information on counterrocket,
                 artillery, and mortar fires and ATP 3-01.81 for additional information on
                 counter-unmanned aircraft system measures.)



        CHEMICAL, BIOLOGICAL, RADIOLOGICAL, AND NUCLEAR PASSIVE
        DEFENSE
               5-80. Operationally, chemical, biological, radiological, and nuclear (CBRN) passive
               defense enables the unit’s ability to continue military operations in a CBRN environment
               while minimizing the vulnerability of the force to the degrading effects of CBRN threats
               and hazards. Tactical-level doctrine is organized around the key activities of CBRN
               protection and mitigation. (See ATP 3-11.32 and ATP 3-21.10 appendix H for additional
               information on the CBRN environment and passive defense activities.)

        Chemical, Biological, Radiological, and Nuclear Protection
               5-81. CBRN protection measures are taken to keep CBRN threats and hazards from
               having an adverse effect on Soldiers, equipment, and facilities. Tasks that enable CBRN
               protection include the following:
                          Employ individual protective equipment and other CBRN protective
                          equipment.
                          Establish CBRN alarm conditions.
                          Exercise personal hygiene and force health protection programs.
                          Utilize shielding or protective cover.
               5-82. CBRN protection is an integral part of all operations. Other forms of protection
               involve sealing or hardening positions, protecting Soldiers, assuming appropriate
               mission-oriented protective posture (MOPP) levels (see table 5-2), reacting
               appropriately to the CBRN attack, maintaining dispersion, overhead cover (known as


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             OHC), employment of alarms upwind, and having CBRN-trained personnel for alarms,
             detection, and monitoring capabilities. Individual protective items include the protective
             mask, joint service lightweight integrated suit technology (also known as JSLIST),
             overboots, and gloves. The higher-level commander above the IBCT establishes the
             minimum level of protection. Subordinate units may increase this level as necessary but
             may not decrease it. Regardless of the directed MOPP level, in the event of an actual or
             suspected chemical attack, Soldiers will immediately don their protective mask and then
             the remainder of their protective equipment to come to MOPP 4.
             5-83. The JSLIST provides protection for 45 days with up to 6 launderings or up to
             120 days after being removed from packaging. The JSLIST still provides protection for
             up to 24 hours after it is contaminated.
                         Table 5-2. Mission-oriented protective posture levels



          Mask            Carried     Carried        Carried       Carried       Worn        Worn         Worn
                                                                                                          ***
          JSLIST          Ready*      Available**    Worn          Worn          Worn        Worn
          Overboots       Ready*      Available**    Available**   Worn          Worn        Worn
          Gloves          Ready*      Available**    Available**   Available**   Available   Worn
                                                                                 **
          Helmet          Ready*      Available**    Available**   Worn          Worn        Worn
          Cover
          Notes. *Items available to Soldier within 2 hours with replacement available within 6 hours.
          **Items must be positioned within arms-reach of the Soldier.
          ***Never “mask only” if nerve or blister agents are used in area of operation.
          Legend: JSLIST–joint service lightweight integrated suit technology; MOPP–mission-oriented
          protective posture

             5-84. Passive measures can be used to monitor for the presence of CBRN hazards.
             Depending on the threat and probability of use, periodic or continuous techniques are
             used. An area array of CBRN detectors and/or monitors can be positioned within a given
             area for detection and early warning of a CBRN incident.

                 Note. CBRN environment is an operational environment that includes CBRN
                 threats and hazards and their potential effects. CBRN environment conditions
                 can be the result of deliberate enemy action or the result of an industrial accident.
                 CBRN threats include the intentional employment of, or intent to employ CBRN
                 weapons. A CBRN hazard is a substance that could create adverse effects due to
                 an accidental or deliberate release and dissemination. CBRN hazards may result
                 from weapons of mass destruction employment. (See ATP 3-21.10 appendix H
                 or FM 3-11 for additional information on CBRN hazards.)




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        Chemical Hazards
               5-85. A chemical hazard is any chemical manufactured, used, transported, or stored that
               can cause death or other harm through toxic properties of those materials, including
               chemical agents and chemical weapons prohibited under the chemical weapons
               convention as well as toxic industrial chemicals. This includes—
                         Chemical weapons or toxic chemicals specifically designed as a weapon.
                         Chemical agents or chemical substance that are intended for use in military
                         operations to kill, seriously injure, or incapacitate, mainly through
                         physiological effects.
                         Toxic industrial chemicals are chemicals developed or manufactured for use
                         in industrial operations or research.
               5-86. A chemical weapon is a munition or device, specifically designed to cause death
               or other harm through the toxic properties of specified chemicals. Chemicals are
               released as a result of the employment of such munition or device; any equipment
               specifically designed for use directly in connection with the employment of munitions
               or devices.
               5-87. A chemical agent is a chemical substance that is intended for use in military
               operations to kill, seriously injure, or incapacitate mainly through its physiological
               effects. Chemical hazards cause casualties, degrade performance, slow maneuver,
               restrict terrain, and disrupt operations (see table 5-3). They can cover large areas and
               may be delivered as liquid, vapor, or aerosol. They can be delivered by various means
               including artillery, mortars, rockets, missiles, aircraft spray, bombs, land mines, and
               covert means. (See Battle Drill-React to a Chemical Agent Attack, appendix E.)
                             Table 5-3. Characteristics of chemical agents


               Protection    Mask and IPE              Mask and IPE        Mask            Mask
                             JCAD, M256A2, CAM,        JCAD, M256A2,       JCAD,           Odor (freshly
               Detection     and M8 and M9 paper       CAM, and M8         M256A2          mowed hay)
                                                       and M9 paper
                             Difficult breathing,      Burning eyes,       Convulsions     Coughing,
                             drooling, nausea,         stinging skin,      and coma        nausea, choking,
               Symptoms
                             vomiting, convulsions,    irritated nose                      headache, and
                             and blurred vision                                            tight chest
                             Incapacitates             Blisters skin,      Incapacitates   Floods and
                Effects                                damages                             damages lungs
                                                       respiratory tract
                             ATNAA and CANA            Treat for 2nd       None            Keep warm and
               First Aid     DECON                     and 3rd degree                      avoid movement
                                                       burns
                             RSDL and flush eyes       RSDL and flush      RSDL            RSDL
         Decontamination
                             with water                eyes with water
         Legend: ATNAA–antidote treatment nerve agent auto-injector; CAM–chemical agent monitor;
         CANA–convulsive antidote nerve agent; DECON–decontamination; IPE–individual protection
         equipment; JCAD–joint chemical agent detector; RSDL–reactive skin decontamination lotion



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         Unmasking Procedures
            5-88. During an actual or suspected chemical attack, Soldiers will go to MOPP 4. Once
            masked, Soldiers will not unmask until there is no remaining chemical threat, and only
            under the approval of their commander. Soldiers will use the unmasking procedures
            found in paragraphs 5-89 through 5-91 to determine if it is safe to unmask.

              Note. Persistent chemicals present a long-duration threat while non-persistent
              chemicals disperse within hours, depending on the weather.


         Unmasking with M256/M256A1/A2 Kit
            5-89. If an M256/M256A1/A2 detector kit is available, use it before conducing
            unmasking procedures. The kit does not detect all agents; therefore, proper unmasking
            procedures, which take approximately 15 minutes, must still be used. If all tests with the
            kit (including a check for liquid contamination using M8 detector paper) have been
            performed and the results are negative, use the following procedures:
                       The senior person should select one or two Soldiers to start the unmasking
                       procedures. If possible, they move to a shady place; bright, direct sunlight
                       can cause pupils in the eyes to constrict, giving a false symptom.
                       The selected Soldiers unmask for 5 minutes, then clear and reseal their masks.
                       Observe the Soldiers for 10 minutes. If no symptoms appear, leaders will
                       report the results of their unmasking procedures and request permission from
                       higher headquarters to signal ALL CLEAR.
                       Watch all Soldiers for possible delayed symptoms. Always have first-aid
                       treatment immediately available in case it is needed.

              Note. Time to complete two simultaneous M256/M256A1/A2 detector kits,
              including using M8 detector paper for liquid, is approximately 20 minutes.
              Unmasking procedures with the M256/M256A1/A2 detector kit will take
              approximately 35 minutes to complete.


         Unmasking without M256/M256A1/A2 Kit
            5-90. If an M256/M256A1/A2 kit is not available, the unmasking procedures take
            approximately 35 minutes. When a reasonable amount of time has passed after the
            attack, find a shady area. Use M8 paper to check the area for possible liquid
            contamination. Conduct unmasking using these procedures:
                       The senior person selects one or two Soldiers. They take a deep breath and
                       break their mask seals, keeping their eyes wide open.
                       After 15 seconds, the Soldiers clear and reseal their masks. Observe them for
                       10 minutes.
                       If no symptoms appear, the same Soldiers break their seals, take two or three
                       breaths, and clear and reseal their masks. Observe them for 10 minutes.

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                          If no symptoms appear, the same Soldiers unmask for 5 minutes, and then
                          re-mask.
                          If no symptoms appear in 10 minutes, leaders will report the results of their
                          unmasking procedures and request permission from higher headquarters to
                          signal ALL CLEAR. Continue to observe all Soldiers in case delayed
                          symptoms develop.

        All-Clear Signal
               5-91. Leaders initiate the request for ALL CLEAR after testing for contamination
               proves negative. Once approved, units pass the all-clear signal by word of mouth
               through their chain of command. The commander designates the specific all-clear signal
               and includes it in the unit SOP or the OPORD. If required, standard sound signals may
               be used, such as a continuous, sustained blast on a siren, vehicle horn, or similar device.
               When ALL CLEAR is announced on the radio, the receiving unit must authenticate the
               transmission before complying.

        Decontamination
               5-92. During continuous operations in areas of contamination, decontamination is
               essential in preventing casualties and severe combat degradation. The platoon gains
               maximum benefit from the available time and decontamination resources by observing
               these considerations:
                          The platoon should execute decontamination as soon as possible and as far
                          forward as possible.
                          Decontamination should be conducted only to the extent necessary to ensure
                          the platoon’s safety and operational readiness.
                          Decontamination priorities with regard to unit safety and mission
                          accomplishment should be strictly observed.
               5-93. These principles are consistent with doctrine that places the burden of
               decontamination at battalion or company level. For this reason, the platoon must develop
               a thorough SOP covering decontamination methods and priorities, using all available
               assets to the maximum extent possible. Paragraphs 5-94 to 5-101 address immediate and
               operational levels (see table 5-4) of decontamination. (See ATP 3-11.32 for additional
               information on decontamination procedures and higher level [thorough/clearance]
               decontamination.)




        5-28                                        ATP 3-21.8




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                                                                                                   Defense



             Table 5-4. Immediate and operational levels of decontamination tasks


          Immediate     - Saves lives      Skin decontamination   Before 1 minute     Individual
                        - Stops agent      Personal wipe down     Within 15           Individual or
                        from penetrating                          minutes             buddy
                        - Limits agent     Operator wipe down     Within 15           Individual or crew
                        spread                                    minutes
                                           Spot decontamination   Within 15           Individual or crew
                                                                  minutes
          Operational   - Continues        MOPP gear exchange     Within 6 hours      Contaminated unit
                        operations in a    CCS and/or CCA
                        contaminated
                                           Vehicle wash down      Within 6 hours      Battalion or
                        environment
                                                                  (CARC)              decontamination
                        - Limits agent                                                unit
                                                                  Or within 1 hours
                        spread
                                                                  (non-CARC)
          Legend: CARC–chemical agent resistance coating; CCA–contamination control area; CCS–
          contamination control station; MOPP–mission-oriented protective posture


         Immediate Decontamination
             5-94. Immediate decontamination minimizes casualties and limits the spread or transfer
             of contamination. This action is carried out by the contaminated individual and the
             purpose is to save lives and reduce penetration of agent into surfaces. This may include
             decontamination of Soldiers, clothing, and equipment (see paragraphs 5-95 to 5-98).
             Immediate decontamination limits casualties and permits the use of individual
             equipment and key systems.
             5-95. Skin decontamination is a basic survival skill and should be performed within
             1 minute of being contaminated. Decontaminate the eyes by flushing with water as soon
             as possible following contamination. Soldiers use their own reactive skin
             decontamination kit to decontaminate their skin and conduct personal wipe down (see
             paragraph 5-88). The skin decontamination kit should be stored in the individual’s mask
             carrier or if issued, in the individual equipment carrier bag.
             5-96. Personal wipe down decontamination is performed within 15 minutes of
             contamination to remove contamination from individual equipment with a M295
             decontamination kit. Use a chemical detector or detector paper to locate some chemical
             agents. Use a radiac meter to locate radiological contamination; and then brush, wipe,
             or shake it off.
             5-97. Teams and crews use joint chemical agent detectors to monitor potential chemical
             contamination and then use the M100 Sorbent Decontamination System for immediate
             decontamination of chemically contaminated surfaces, for example, weapon systems
             and communications equipment. In the event of chemical or biological contamination
             of optics, crews conduct tactical decontamination of vision blocks and optics including
             machine gun and close combat missile system (known as CCMS) optics, using the M334
             decontamination kit, individual equipment which augments the M295.


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               5-98. Operator wipe down decontamination is done within 15 minutes of contamination
               of surfaces that operators need to touch or contact to operate the equipment. Radiological
               contamination in the form of dust particles may be wiped, scraped, or brushed off.
               During operator wipe down, the unit or activity should use individual equipment
               decontamination kits.

        Operational Decontamination
               5-99. Operational decontamination allows a force to continue fighting and sustain
               momentum after being contaminated and eliminating or reducing the duration that
               MOPP equipment should be use.
               5-100. Operational decontamination is carried out by the contaminated unit under the
               control of the Infantry battalion (with assistance from a higher headquarters
               decontamination team with an M26 Joint Service Transportable Decontamination
               System or support CBRN unit decontamination organization). Operational
               decontamination is restricted to the specific parts of contaminated,
               operationally-essential equipment and material to minimize contact hazards and to
               sustain operations.
               5-101. MOPP gear exchange should be performed as mission allows, but within
               24 hours of being contaminated. A MOPP gear exchange allows a unit to remove the
               gross contamination from Soldiers and equipment and a return to an increased
               operational readiness in the pursuit of mission accomplishment.

        SURVIVABILITY
               5-102. Survivability is a quality or capability of military forces which permits them to
               avoid or withstand hostile actions or environmental conditions while retaining the ability
               to fulfill their primary mission (ATP 3-37.34), which can be enhanced through various
               means and methods. One way the platoon can enhance survivability when existing
               terrain features offer insufficient cover, protection from the effects of fires (FM 3-96),
               and concealment, protection from observation or surveillance (FM 3-96), is to alter the
               physical environment to improve cover and concealment. Similarly, natural, or artificial
               materials may be used as camouflage to confuse, mislead, or evade the enemy. Together,
               these are called survivability operations—those protection activities that alter the
               physical environment by providing or improving cover, camouflage, and concealment
               (ATP 3-37.34). Although survivability encompasses capabilities of military forces both
               while on the move and when stationary, survivability operations focus more on
               stationary capabilities—constructing fighting and protective positions and hardening
               facilities.
               5-103. Survivability construction includes fighting positions, protective positions, and
               hardening. These are prepared to protect Soldiers, weapon systems, and when attached
               and required, vehicles. Positions can be constructed and reinforced with OHC to increase
               the survivability of dismounts and crew-served weapons against shrapnel from airbursts.
               In addition, the Infantry platoon and squad may use digging assets for ammunition
               caches at alternate, supplementary, or subsequent positions. All leaders must understand
               survivability plans and priorities. Typically, at platoon level the engineer platoon leader

        5-30                                        ATP 3-21.8




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            creates a leader’s card, which enables the platoon leader to track the survivability effort.
            Typically, the platoon sergeant is designated to enforce the plan and priorities and
            ensures the completion status is reported to the company and disseminated within the
            platoon, including attachments. (See section VI for a detailed discussed on fighting
            position construction.)
         ELECTROMAGNETIC PROTECTION
            5-104. One of the most recognized electromagnetic protection (EP) techniques at the
            small-unit tactical level is the establishment of a PACE plan. PACE plans (see
            paragraphs 2-34 to 2-39) should use a mix of systems that operate across a wide range
            of the electromagnetic spectrum to present multiple dilemmas to enemy electromagnetic
            warfare (EW) operators. The greatest vulnerability in a PACE plan is the failure to
            understand and rehearse the plan at the lowest possible level. Triggers must be
            established to move between PACE communications systems. This must be rehearsed
            continuously at all echelons during troop leading procedures (TLP). (See paragraph 2-42
            for additional information on EP.)

           SECTION III – AREA DEFENSE
            5-105. An area defense is a type of defensive operation that concentrates on denying
            enemy forces access to designated terrain for a specific time rather than destroying the
            enemy outright (ADP 3-90). The focus is on retaining terrain where the bulk of the
            defending force positions (main battle area) itself in mutually supporting prepared
            positions. Defenders maintain their positions and control the terrain between these
            positions and focus their fires into engagement area (see paragraph 5-204), which
            reserve units can supplement. The leader uses the reserve force to reinforce fires, add
            depth, block penetrations, restore positions, counterattack to destroy enemy forces, or
            seize the initiative.

         ORGANIZATION OF FORCES
            5-106. The Infantry rifle platoon leader organizes an area defense around the static
            framework of the defensive positions seeking to destroy enemy forces by interlocking
            fire or local counterattacks. The platoon leader (in coordination with the company
            commander) has the option of selecting from the two methods of positioning units,
            defending in-depth or defending forward (see paragraphs 5-114 to 5-118). The platoon’s
            ability to defend in depth depends on the threat, task organization of the company, and
            nature of the terrain. When the leader defends forward within an AO, the force is
            organized so that most of the available combat power is committed early in the defensive
            effort. In an area defense, the leader organizes the defending force to accomplish
            information collection (especially reconnaissance and surveillance), security, main
            battle area, reserve, and sustainment missions.
            5-107. The platoon normally conducts defensive operations within the Infantry rifle
            company as part of an Infantry battalion’s area defense to disrupt or destroy an enemy
            force, control terrain, or protect a friendly force. The orientation of the platoon defense
            is determined from the mission analysis. The platoon’s purpose in the mission statement

                                                 ATP 3-21.8                                      5-31




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               clearly focuses the platoon on the enemy, the terrain, or a friendly force. The platoon
               may take part in many differing roles as part of a larger force: as part of the security
               force (in the security area, see paragraph 5-16) and main body (in the main battle area,
               see paragraph 5-17), conducting information collection (reconnaissance and
               surveillance, and security operations), occupying a battle position(s) in the main battle
               area, or as a reserve or part of a reserve. The platoon defense normally focuses on
               reconnaissance, surveillance, security, defensive operations, and actions by the reserve.
               5-108. The platoon uses numerous security techniques in concert with deliberate
               well-planned defensive positions, incorporating such things as ambushes,
               reconnaissance, and security patrolling (movement to contact). The platoon leader
               analyzes how the terrain effects where the enemy can go and where to emplace forces
               from the platoon (within the security area and main battle area) that deny the enemy the
               ability to compromise the company and battalion defenses.
               5-109. Platoon missions within the security area consist of security, reconnaissance,
               surveillance, and counterreconnaissance missions. Depending on the specific missions
               assigned, the platoon may simply observe and report, engage with indirect fires, and/or
               engage with direct fire (the least preferred) weapons. Security operations are crucial
               throughout the security area initially, to support the preparation of the defense; early in
               the fight, to disrupt the enemy attack and/or to identify the main effort; and in the main
               battle area, to support the higher commander’s decision-making process. The platoon
               leader considers activities that must be conducted in the security area that inhibit the
               enemy compromising the defense. Combat patrols, ambushes, security patrols, and raids
               should be considered in concert with the preparation of defensive positions. The combat
               power applied to these combat patrols are affected by METT-TC (I) and the higher
               commander’s intent.
               5-110. Platoon missions conducted in the main battle area are oriented on enemy
               destruction, terrain retention, and force protection. Normally, the decisive fight occurs
               in the main battle area; therefore, the main effort is located there. Units tasked with
               security missions, supporting efforts, or reserve missions must support the main effort
               in the commander’s concept for conducting the defense.

                 Note. The reserve is used to seize and maintain the initiative. Although the
                 reserve does not have an assigned mission that directly supports the main effort,
                 the reserve is positioned to be employed at the decisive time and place to ensure
                 the success of the defense.

               5-111. The platoon uses numerous local security techniques in concert with deliberate
               well planned defensive positions, incorporating such things as ambushes,
               reconnaissance, and security patrolling (movement to contact). The platoon leader
               analyzes how the terrain effects where the enemy can go and where to emplace forces
               from the platoon (within the security area and main battle area) that deny—a task to
               hinder or prevent the enemy from using terrain, space, personnel, supplies, or facilities
               (ATP 3-21.20)—the enemy the ability to compromise the company and battalion
               defenses.


        5-32                                        ATP 3-21.8




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                                                                                              Defense



            5-112. Sustainment missions in an area defense requires a balance between
            establishing forward supply stocks of ammunition, barrier material, and other supplies
            in sufficient amounts, and having the ability to move the supplies in conjunction with
            enemy advances. Maintenance and medical support, with their associated repair parts
            and medical supplies, must also be balanced between being employed forward and
            having the ability to move. Echeloned company trains (echeloned trains include
            battalion combat and field trains) provide the company commander with the flexibility
            to execute platoon sustainment missions in support of the area defense. Company trains
            (see chapter 8) are located between 500 and 1,000 meters away from forward platoon
            combat missions. By placing at least one terrain feature between it and the enemy, the
            company trains will be out of the enemy’s direct fire weapons. In some circumstances,
            it may be necessary to emplace cache’s forward of the company trains, and to the rear
            of the platoon battle positions or company command post in a defilade position, with
            cover when possible, for easier access throughout the duration of the defense.
            5-113. A platoon may perform all these operations at the same time in its own AO; or
            it may be tasked to do one or more of them for a larger unit. (See ATP 3-21.10 and
            ATP 3-21.20 for additional information.)

         POSITION SELECTION
            5-114. The two methods for the positioning of units within an area defense are defense
            in-depth and forward defense. The Infantry platoon is expected to be able to do both.
            While the Infantry company commander usually selects the type of area defense to use,
            the higher commander often defines the general defensive scheme for the Infantry rifle
            company and platoon. The specific mission may impose constraints such as time,
            security, and retention of certain areas that are significant factors in determining how
            the rifle company and platoon will defend. Regardless of the method of positioning,
            platoon will typically defend from battle positions.
         DEFENSE IN-DEPTH
            5-115. Defense in-depth reduces the risk of the attacking enemy quickly penetrating
            the defense. The enemy is unable to exploit a penetration because of additional defensive
            positions employed in-depth. (See figure 5-4 on page 5-34.) The in-depth defense
            provides more space and time to defeat the enemy attack. Platoons can achieve depth in
            positions through planning supplementary or subsequent battle positions (see
            paragraphs 5-22 and 5-23, respectively). When platoons are tasked to defend, the
            expectation is that they plan for depth by planning for multiple battle positions in depth
            within their assigned AO.
            5-116. The Infantry platoon uses a defense in-depth when—
                    The mission allows the platoon to fight throughout the depth of the AO.
                    The terrain does not favor a defense well forward, and better defensible
                    terrain is available deeper in the AO.
                    Sufficient depth is available in the AO.
                    Cover and concealment forward in the AO are limited.
                    Weapons of mass destruction may be used.

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                                   Figure 5-4. Platoon defense in-depth


        FORWARD DEFENSE
               5-117. The intent of a forward defense is to prevent enemy penetration of the defense.
               (See figure 5-5.) Due to lack of depth, a forward defense is least preferred. The platoon
               deploys most of its combat power into forward defensive positions near the forward
               edge of the battle area. While the company defense may lack depth, the platoon and
               squads must build depth into the defense at their levels. Achieving depth usually comes
               with a cost in terms of reduced frontage but is essential to an effective defense. The
               leader fights to retain the forward position and may conduct counterattacks against
               enemy penetrations or destroy enemy forces in a forward engagement area. Often,
               counterattacks are planned forward of the forward edge of the battle area to defeat the
               enemy.
               5-118. The platoon uses a forward defense when—
                        Terrain forward in the AO favors the defense.
                        Strong existing natural or man-made obstacles, such as river or a rail line, are
                        located forward in AO.
                        The assigned AO lacks depth due to location of the area or facility to be
                        protected.
                        Cover and concealment in rear portions of the AO are limited.
                        Directed by higher headquarters to retain or initially control forward terrain.

        5-34                                        ATP 3-21.8




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                                                                                            Defense




                                Figure 5-5. Platoon forward defense


         VARIATIONS OF THE AREA DEFENSE
            5-119. The Infantry rifle platoon usually defends using one of three variations of the
            area defense: defense of a linear obstacle, perimeter defense, or reverse slope. The
            platoon also can defend using a combination of these variations. (See ATP 3-21.10 for
            additional information.)

         DEFENSE OF A LINEAR OBSTACLE
            5-120. A platoon may conduct a defense of a linear obstacle along or behind a linear
            obstacle within an area defense. Linear obstacles such as mountain ranges or river lines
            generally favor a forward defense. It is extremely difficult to deploy in strength along
            the entire length of a linear obstacle. The defending leader must conduct economy of
            force measures in some areas.
            5-121. Within an area defense, the leader’s use of a defense in-depth accepts the
            possibility the enemy may force a crossing at a given point. The depth of the defense
            should prevent the enemy from rapidly exploiting its success. It also diffuses the



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               enemy’s combat power by forcing the enemy to contain bypassed friendly defensive
               positions in addition to continuing to attack positions in greater depth.
               5-122. This variation of an area defense may be used when defensible terrain is
               available in the forward portion of the platoon’s AO, or to take advantage of a major
               linear natural obstacle. This technique allows interlocking and overlapping observation
               and fields of fire across the platoon’s front. (See figure 5-6.) The bulk of the platoon’s
               combat power is well forward. Sufficient resources must be available to provide
               adequate combat power to detect and stop an attack. The platoon relies on fighting from
               well-prepared mutually supporting positions. It uses a high volume of direct and indirect
               fires to stop the attacks. The main concern when fighting this variation of an area defense
               is the lack of flexibility and the difficulty of both seizing the initiative, seeking out
               enemy weaknesses, and the difficulty of developing depth within the defense. Obstacles,
               indirect fires, and contingency plans are vital to this maneuver. The platoon depends
               upon surprise, well-prepared positions, and deadly accurate fires to defeat the enemy.
               The platoon will normally not have the resources to establish a separate reserve, the
               company’s reserve in this case is generally small, and perhaps a squad from one of the
               three platoons.




          Figure 5-6. Defense of a linear obstacle (mutual support between squads)


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            5-123. Minefields and other obstacles are positioned and covered by fire to slow the
            enemy and inflict casualties. Engaging the enemy at long-range by supporting fires
            disrupts the momentum of the enemy’s attack. Use fires from mortars, machine guns,
            and small arms as the enemy comes into range. If the defense is penetrated, block the
            advance with the reserve and shift fire from the forward squads onto the enemy flanks.
            Then, counterattack with the reserve or a less committed squad with intense fires. The
            purpose is to destroy isolated or weakened enemy forces and regain key terrain.
            5-124. The counterreconnaissance effort is critical when fighting to deny the enemy
            the locations of the platoon’s forward positions. If the enemy locates the forward
            positions, the enemy will concentrate combat power where desired while fixing the rest
            of the platoon to prevent their maneuver to disrupt the enemy attack. This effort might
            be enhanced by initially occupying and fighting from alternate positions (see
            paragraph 5-22) forward of the primary positions. This tactic enhances the security
            mission and deceives the enemy reconnaissance that may get through the security force.

         PERIMETER DEFENSE
            5-125. A perimeter defense is a defense oriented in all directions. (See figure 5-7 on
            page 5-38.) The platoon uses it for self-security, and to protect other units located within
            the perimeter. The platoon can employ a perimeter defense in urban or woodland terrain.
            The platoon might be called upon to execute the perimeter defense under a variety of
            conditions including:
                       When it must conserve or build combat power to execute offensive operations
                       or patrolling missions.
                       When it must hold critical terrain in an AO.
                       When its defense is not tied in with adjacent units.
                       When it has been bypassed and isolated by the enemy and must defend in
                       place.
                       When it is used in a reserve position, in a TAA or patrol base, on a follow-on
                       decentralized platoon operation during resupply or when the platoon is
                       otherwise isolated.
                       When it is directed to concentrate fires into two or more adjacent avenues of
                       approach.




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                     Figure 5-7. Perimeter defense (squads positioned in-depth)

                 Note. The actions addressed in paragraph 5-126 will generally apply to the
                 defense of a linear obstacle and reverse-slope defense.


               5-126. Preparing a perimeter defense is like preparing any other position defense, but
               the platoon must disperse in a circular configuration for all-round security. The actual
               shape depends on the terrain. The following actions constitute setting up a perimeter
               defense:
                          The platoon leader assigns squads to cover the most likely approach and
                          prepares alternate and supplementary positions within the perimeter.
                          Javelins (or M3 Multi-role, Antiarmor, Antipersonnel Weapon System
                          [known as MAAWS]) cover likely armor approaches.
                          The platoon may use hide positions and move forward to fire as the enemy
                          appears. The platoon leader assigns several firing positions. If there are few
                          positions for them, they are assigned a primary position and are dug in.
                          Snipers (when attached) or squad designated marksman should cover likely
                          or suspected enemy positions or observation posts.
                          Snipers (when attached) and squad designated marksmen also should be used
                          to observe or overwatch areas where civilians congregate.



        5-38                                        ATP 3-21.8




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                       Keep attached mortars near the center of the perimeter so their minimum
                       range does not restrict their ability to fire in any direction.
                       Mortars should dig in and have covered ammunition storage bunkers.
                       If possible, hold one or more rifle teams in reserve.
                       The platoon leader assigns a primary position to the rear of the platoon,
                       covering the most dangerous avenues of approach, and may assign the rifle
                       squad supplementary positions since the platoon is prepared to fight in all
                       directions.
                       Prepare obstacles in-depth around the perimeter.
                       Plan direct and indirect fire as for any type of defense.
                       Plan and use direct and indirect fire support from outside the perimeter when
                       available.
                       Counter enemy probing attacks by area fire weapons (artillery, mortars,
                       claymores, and grenade launchers) to avoid revealing the locations of fighting
                       positions (rules of engagement [ROE]-dependent).
                       If the enemy penetrates the perimeter, the reserve destroys, and then blocks
                       the penetration:
                           It also covers friendly Soldiers during movement to alternate,
                           supplementary, or subsequent positions.
                           Even though the platoon’s counterattack ability is limited, it must strive
                           to restore its perimeter.
                       Sustainment elements may support from within the perimeter or from another
                       position.
                       Supply and evacuation might be by air. Consider the availability of landing
                       zones and drop zones (protected from enemy observation and fire) when
                       selecting and preparing the position.
                       Position machine gun teams with principal direction of fires (known as PDFs)
                       or FPLs. (Build the defense by first positioning key weapons, and then
                       squads/teams.)
                       Position riflemen where they can protect machine guns.
                       Identify dead space and position grenadiers.
                       Position riflemen with depth, overlap/interlock fires, and stand off to grenade
                       range.
                       Ensure gaps/seams are closed between elements through adjacent unit
                       coordination (left-to-right, front-to-rear).
            5-127. The Y-shaped perimeter defense is a variation of the perimeter defense that uses
            the terrain effectively. This defense is used when the terrain, cover and concealment, or
            fields of fire do not support the physical positioning of the squads in a circular manner.
            The Y-shaped perimeter defense is so named because the squad’s battle positions are
            positioned on three different axes radiating from one central point. (See figure 5-8 on
            page 5-40.)




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        Figure 5-8. Y-shaped perimeter defense (primary and alternate engagements)

               5-128. The Y-shaped variation is still a perimeter defense because it is effective against
               an attack from any direction. The Y-shaped defense provides all-round perimeter fires
               without having to position Soldiers on the perimeter. It is likely to be most effective in
               mountainous terrain, but it also may be used in a dense jungle environment due to limited
               fields of fire. All the fundamentals of a perimeter defense previously discussed apply,
               with the following adjustments and special considerations:
                           Although each squad battle position has a primary orientation for its fires,
                           each squad must be prepared to reorient to mass fires into the engagement
                           areas to its rear.
                           When there is no identified most likely enemy approach, or in limited
                           visibility, each squad may have half its Soldiers oriented into the engagement
                           areas to the front and half into the engagement areas to the rear. Ideally,
                           supplementary individual fighting positions are prepared, allowing Soldiers
                           to reposition when required to mass fires into one engagement area.
                           When a most likely enemy avenue of approach is identified, the platoon
                           leader may adjust the normal platoon orientations to concentrate fires (see
                           figure 5-9) for the following reasons:
                               This entails accepting risk in another area of the perimeter.
                               The platoon security plan should compensate for this with additional
                               observation posts, patrols, or other measures.
                           The positioning of the platoon command post, reserve, or any sustainment
                           assets is much more difficult due to a lack of depth within the perimeter.

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                                                                                              Defense




                         Figure 5-9. Modified Y-shaped perimeter defense

            5-129. The most difficult aspect of the Y-shape perimeter defense is the fire control
            measures required. To fight this defense without casualties from fratricide, the leaders
            must ensure the limits of fire for each weapon do not allow fires into the adjacent squad’s
            positions. In a mountainous environment, firing downward into the engagement area
            may make this simpler. Some measures to consider include:
                       Position medium machine guns near the apex of the “Y” to allow an FPL that
                       covers the platoon front while firing away from the adjacent units.
                       Cover the areas of the engagement areas closest to the apex with claymores,
                       non-persistent mines, or obstacles to reduce the need for direct fires in these
                       areas.
                       Identify those positions at most risk to fratricide and prepare the fighting
                       position to protect the Soldier from fires in this direction.
                       The loss of one squad position may threaten the loss of the entire platoon. To
                       prevent this, plan and rehearse immediate counterattacks with a reserve or the
                       least committed squad.
                       Consider allowing the enemy to penetrate well into the engagement areas and
                       destroy the enemy as in an ambush.
                       Be aware that if a Y-shape defense is established on the prominent terrain
                       feature and the enemy has the ability to mass fires, the enemy may fix the
                       platoon or squad with direct fires and destroy it with massed indirect fires.

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        REVERSE-SLOPE DEFENSE
               5-130. An alternative to defending on the forward slope of a hill or a ridge is to defend
               on a reverse slope. (See figure 5-10.) In such a defense, the platoon is deployed on terrain
               that is masked from enemy direct fire and ground observation by the crest of a hill.
               Although some units and weapons might be positioned on the forward slope, the crest,
               or the counterslope (a forward slope of a hill to the rear of a reverse slope), most forces
               are on the reverse slope. The key to this defense is control the crest by direct fire.




                        Figure 5-10. Reverse-slope defense (slope terminology)

               5-131. Another reverse-slope variation available when line of sight restrictions exist to
               a unit’s direct front is to organize a system of reverse slope defenses firing to the oblique
               defilade, each covering the other. (See figure 5-11.) In this example, platoon main battle
               area positions were unable to engage targets directly to their front but could cover each
               other using oblique defilade. Line of sight restrictions can be obstacles, terrain, and
               vegetation driven. This system of reverse slope defenses protects defenders from enemy
               frontal and flanking fires and from fires coming from above the main defensive area.



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                     Figure 5-11. Reverse-slope defense (oblique defilade)

            5-132. To succeed, the platoon leader prevents the attacker from conducting a detailed
            observation of the reverse-slope defense through the deployment of aggressive patrols
            (combat and reconnaissance [see chapter 7]) and security operations (see chapter 6
            section VII) forward of the topographical crest. The platoon establishes observation
            posts and combat outposts on, or forward of the topographical crest. This allows
            long-range observation over the entire front, and indirect fire coverage of forward
            obstacles. Observation posts may vary in size and should include FOs. During limited
            visibility, the numbers may increase to improve security. Additional planning
            fundamentals to a defense on a reverse slope include:
                        Positioning forward squads so they block enemy approaches and exploit
                        existing obstacles. Plans should—

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                              Permit surprise fire on the crest and on the approaches around the crest.
                              Have rear and OHC to protect friendly Soldiers from fratricide while in
                              forward fighting positions.
                          Positioning observation posts on the crest or the forward slope of the
                          defended hill. Plans should—
                              Increase observation posts and patrols to prevent infiltration at night.
                              Consider attaching medium machine guns to observation posts.
                          Positioning the squad in-depth or reserve where it can provide the most
                          flexibility, support the forward squads by fire, protect the flanks and the rear
                          of the platoon, and counterattack, if necessary. It might be positioned on the
                          counterslope to the rear of the forward squad if that position allows it to fire
                          and hit the enemy when the enemy reaches the crest of the defended hill.
                          Positioning the platoon command post to the rear where it will not interfere
                          with the reserve or supporting units. Plans should consider that—
                              The platoon leader may have an observation post on the forward slope or
                              crest and another on the reverse slope or counterslope.
                              The observation post is used on the forward slope or crest before the battle
                              starts when the platoon leader is determining the enemy’s intentions.
                              During the fight, the platoon leader moves the observation post on the
                              reverse slope or counterslope.
                          Planning indirect fire well forward of, on, and to the flanks of the forward
                          slope, crest, reverse slope, and counterslope.
                          Planning FPFs on the crest of the hill to control the crest and stop assaults.
                          Reinforcing existing obstacles.
                          Planning protective obstacles on the reverse slope—just down from the crest
                          where it can be covered by fire—can slow the enemy’s advance and hold the
                          enemy under friendly fire.
                          Planning for counterattacks and plans to drive the enemy off the crest by fire,
                          if possible.
                          Planning to drive the enemy off by fire and movement.
               5-133. The platoon leader may position all or part of the defending platoon to employ
               a reverse-slope defense. This technique allows subordinate units to concentrate direct
               fires into a relatively small area while being protected from the enemy’s direct
               observation and supporting fires. The defender can destroy the enemy that is isolated
               forward through surprise and concentrated fires. Maintaining control of the forward
               slope is essential for success. Control of the forward slope is accomplished by using
               dominating terrain behind the defender or by using stay behind forces, such as an
               observation post, which can observe and call for fire on the attacker. The platoon leader
               may choose to employ a reverse slope defense when—
                          Enemy fire makes the forward slope untenable.
                          Lack of cover and concealment on the forward slope makes it untenable.
                          The forward slope has been lost or not yet been gained.


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                       The forward slope is exposed to enemy direct fire weapons fired from beyond
                       the effective range of the defender’s weapons. Moving to the reverse slope
                       removes the attacker’s standoff advantage.
                       The terrain on the reverse slope provides better fields of fire than the forward
                       slope.
                       Surprising and deceiving the enemy as to the true location of the platoon’s
                       defensive positions is essential.
                       Enemy weapon systems have overmatch in range and lethality.
            5-134. When executing a reverse slope defense, it is important for the platoon leader
            to consider emplacing overwatching elements forward of the topographic crest and on
            the flanks to protect the main defensive positions of the defending platoon. This is
            especially desirable when overwatching elements can observe and place fires on the
            crest and forward slope. Additional areas of special emphasis include:
                       A direct and indirect fire support plan to prevent the enemy’s occupation and
                       using the crest of the hill.
                       The use of observation posts or reconnaissance elements on the forward slope
                       to provide observation across the entire front and security to the main battle
                       positions.
                       A counterattack plan specifying measures necessary to clear the crest or
                       regain it from the enemy.
                       Fire support to destroy, disrupt, and attrit enemy forces on the forward slope.
            5-135. The forward edge of positions should be at the maximum range allowable by
            the available fields of fire allowing the defender time to place well-aimed fire on the
            enemy before the enemy reaches friendly positions. The platoon establishes observation
            posts on or forward of the topographical crest. This allows long range observation over
            the entire front and indirect fire coverage of forward obstacles. Observation posts
            usually are provided by the unit owning the terrain being observed and may vary in size
            from a few Soldiers to a reinforced squad. They should include FOs. At night, their
            number should be increased to improve security. Additional considerations the platoon
            leader may apply when defending on a reverse slope include:
                       Observation of the enemy is more difficult.
                       Soldiers in this position see forward no farther than the crest. This makes it
                       hard to determine exactly where the enemy is as they advance, especially
                       when visibility is poor.
                       Observation posts must be placed forward of the topographic crest for early
                       warning and long-range observation.
                       Withdraw from the position might be more difficult.
                       Fields of fire are usually short.
                       Obstacles on the forward slope can be covered only with indirect fire or by
                       units on the flanks of the platoon unless some weapon systems are placed
                       forward initially.
                       If the enemy gains the crest, they can assault downhill. This may give the
                       enemy a psychological advantage.

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                          If observation posts are insufficient or improperly placed, the defenders
                          might have to fight an enemy who suddenly appears in strength at close range.
                          It is exceedingly difficult to break contact meaning that a reverse slope
                          engagement is decisive resulting in one or both forces being severely attritted.
                          The attacking force retains the initiative as long as it stays behind the crest of
                          the front slope.

        AREA DEFENSE SEQUENCE OF EVENTS, EXAMPLE
               5-136. The Infantry rifle platoon may assume a defensive mission following an attack
               of its own or in anticipation of an enemy attack. Most defenses will follow a sequence
               of events similar to the example sequence addressed in paragraphs 5-137 to 5-173, as
               part of a larger defense. This sequence of events is used for discussion purposes and is
               not the only way to sequence an area defense. Some events may be performed
               simultaneously or in an order different from shown in the example sequence. For
               example, events (such as reconnaissance and surveillance, security, and occupation)
               may recur several times during the conduct of defense. With any defense, the platoon
               leader and platoon subordinate leaders understand events will vary depending on the
               mission variables of METT-TC (I) and events will overlap.

        LEADER’S RECONNAISSANCE
               5-137. Before occupying any position, to include those in the forward security area,
               leaders at all echelons conduct reconnaissance (building on the company commander’s
               reconnaissance plan) of their assigned position(s). The reconnaissance effort is as
               detailed as possible regarding the mission variables of METT-TC (I). Reconnaissance
               can consist of a simple map reconnaissance, or a more detailed leader’s reconnaissance
               and initial layout of the new position. When feasible, the platoon leader and subordinate
               leaders conduct a leader’s reconnaissance of the complete AO to develop plans based
               on their view of the actual terrain. When available and dependent upon the situation,
               aviation assets may be used to conduct the leader’s reconnaissance.
               5-138. An effective leader’s reconnaissance allows the platoon to rapidly occupy
               defensive positions and immediately start priorities of work. Participants in the platoon’s
               reconnaissance include (the company commander when possible) the platoon leader,
               subordinate squad leaders, and security personnel. The goals are, but not limited to,
               identification of enemy avenues of approach, engagement areas, sectors of fire, the
               tentative obstacle plan, indirect fire plan, observation post locations, command post
               locations, mortar firing point, and logistics element location. The platoon leader
               develops a plan for the leader’s reconnaissance that includes the following:
                           Provisions for security.
                           Areas to reconnoiter.
                           Priorities and time allocated for the reconnaissance.
                           Considerations for fire support, communications, and CASEVAC and
                           MEDEVAC plans.
                           Contingency plan if the reconnaissance is compromised.

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         ESTABLISH SECURITY
            5-139. When the Infantry rifle platoon is part of a larger unit’s area defense, the
            higher-level commander (for example, the company or battalion) establishes a forward
            security area before the unit moves to defend. Even with this forward security area
            established, subordinate platoons of the company must still provide for their own local
            security, especially over large geographical areas or in complex terrain and
            noncontiguous assigned area.

         Security Operations Within the Security Area
            5-140. In order to prevent the enemy from observing and interrupting defensive
            preparations and identifying unit positions, the higher-level commander (normally the
            battalion commander) establishes the security area well forward of the planned main
            battle area for the battalion, but within indirect fire and communications range. When
            the battalion commander is unable to push the security area forward to achieve this
            objective, the battalion may have to hold its positions initially, as it transitions and then
            withdraws units to the defensive main battle area, establishing a forward security force
            in the process. The rifle platoon may be called upon to act as anyone of these forces in
            the conduct of the defense.
            5-141. In a contiguous assigned area, the battalion commander normally organizes and
            defines the security area forward of the forward edge of the battle area and assigns
            company assigned area to prevent gaps in the battalion area defense. In a noncontiguous
            assigned area, the battalion commander normally organizes and defines the security area
            forward of the main battle area, or along likely avenues of approach. In a noncontiguous
            assigned area, individual companies will have more responsibility for independent
            security area actions. The platoon leader ensures the independent security area actions
            at all levels within the platoon align with the security area plan for the company.

         Security Operations Within the Main Battle Area
            5-142. As the security forces forward of the battalion’s main battle area are arrayed,
            the company commander and platoon leaders plan security operations within the main
            battle area, to prevent enemy reconnaissance, reduction of obstacles, targeting of
            friendly positions, and other disruptive actions. Subordinate platoons and squads secure
            obstacles, battle positions, command posts, and sustainment sites (company trains)
            throughout the AO.

         Active and Passive Measures to Avoid Detection
            5-143. Security in the defense includes all active and passive measures taken to avoid
            detection by the enemy, deceive the enemy, and deny enemy reconnaissance elements
            accurate information on friendly positions. The two primary tools available to the
            platoon leader are observation posts and patrols. In planning for security in the defense,
            the platoon leader considers the military aspects of terrain observation and fields of fire,
            avenues of approach, key terrain, obstacles and cover, and concealment. The leader uses
            the map to identify terrain that will protect the platoon from enemy observation and


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               fires, while providing observation and fires into the engagement area. The leader uses
               intelligence and combat information updates to increase situational understanding,
               reducing the possibility of the enemy striking at a time or in a place for which the platoon
               is unprepared.
               5-144. An observation post provides the primary security in the defense. Observation
               posts provide early warning of impending enemy contact by reporting direction,
               distance, and size. It detects the enemy early and sends accurate reports to the platoon.
               The platoon leader establishes observation posts along the most likely enemy avenues
               of approach into the position or into the AO. Leaders ensure that observation posts
               (normally dismounted) have communication with the platoon.
               5-145. Early detection reduces the risk of the enemy overrunning the observation post.
               Observation post may be equipped with a Javelin command launch unit (known as
               CLU); class 1 unmanned aircraft system; seismic, acoustic, or frequency detecting
               sensors to increase its ability to detect the enemy. They may receive infrared trip flares,
               infrared parachute flares, infrared M320 rounds, and even infrared mortar round support
               to illuminate the enemy. The platoon leader weighs the advantages and disadvantages
               of using infrared illumination when the enemy is known to have night vision devices
               that detect infrared light. Although infrared and thermal equipment within the platoon
               enables the platoon to see the observation post at a greater distance, the platoon
               observation post should not be positioned beyond the supporting range of the platoon’s
               small-arms weapons.
               5-146. To reduce the risk of fratricide further, observation posts use Global Positioning
               Systems (GPSs) to navigate to the exit and entry point in the platoon’s position. The
               platoon leader submits an observation post location to the company commander to
               ensure a no fire area is established around each observation post position.
               5-147. Platoons actively patrol in the defense. Patrols enhance the platoon’s ability to
               fill gaps in security between observation posts. The platoon leader forwards the tentative
               patrol route to the commander to ensure it does not conflict with other elements within
               the company. The commander forwards the entire company’s patrol routes to the
               battalion. This allows the operations and intelligence staff officers to ensure all routes
               are coordinated for fratricide prevention and no gaps are present. The patrol leader may
               use a GPS to enhance basic land navigational skills as the leader tracks the patrol’s
               location on a map.
               5-148. During the defense, the platoon leader will either set a security level or comply
               with the security posture established by the company commander, this increases or
               decreases depending on enemy situation. For example, 25 percent security, 50 percent
               security, or up to 100 percent security at stand-to (30 minutes before and after begin
               morning nautical twilight or end evening nautical twilight) or when the situation
               dictates. Local security patrols continually inspect the integrity of emplaced obstacles
               and clear dead space and identify signs of enemy reconnaissance activities within the
               platoon’s AO. Unit alert plans ensure all positions are check periodically, observation
               posts are relieved periodically, and at least one leader (more depending on the situation)
               is always alert.


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         OCCUPATION AND PRIORITIES OF WORK
            5-149. When the battalion or other higher echelon establishes a security area, a
            subordinate company or platoon within the battalion may be identified as a security force
            to deploy forward as remaining forces occupy and prepare positions in the main battle
            area. Security of the main battle area is critical during occupation to ensure units within
            the main battle area avoid detection and maintain combat power for the actual
            engagements with the defense.

         Plan of Occupation
            5-150. The plan of occupation for the platoon must be thoroughly understood to
            maximize the time available for occupation and preparation of the defense. When
            occupying/establishing the security area, the battalion commander may lead with the
            scout platoon to conduct reconnaissance and establish observation post along the
            forward edge of the security area. Company commanders must ensure that subordinate
            forces understand security force locations forward of the main defenses.
            5-151. Within the security area, platoons within the company may be called to assist
            or augment forward security forces from the scout platoon or conduct security force
            operations in support of the battalion. During occupation of the security area, security
            forces establish observation posts forward, and from these observation posts, the
            security forces use long-range fires to hinder the enemy’s preparations, to reduce the
            force of the enemy’s initial blows, and to start the process of wresting the initiative from
            the enemy. Throughout the security area, security forces position and reposition (though
            most movement should be limited to avoid detection) to—
                       Prevent enemy observation of defensive preparations.
                       Defeat infiltrating enemy reconnaissance forces.
                       Prevent the enemy from delivering direct fires or observed indirect fires into
                       the battalion area defense.
                       Provide early warning of the enemy’s approach.
            5-152. Within the main battle area, and depending on the situation, commanders at all
            levels may send a subordinate force to initially secure positions prior to the main body’s
            arrival. The mission of this force is to continue to conduct reconnaissance and
            surveillance of key terrain and obstacles, guide and provide local security as the defenses
            main body occupies the defense and initiates priorities of work. As all elements within
            the main battle area establish local security, priorities of work continue and includes but
            is not limited to refining the plan, positioning of forces, preparing positions, constructing
            obstacles, planning and synchronizing fires, positioning logistics, and conducting
            inspections and rehearsals. To aid in operations security and to reduce vulnerability, the
            platoon leader analyzes the benefits of dispersion against the requirements and resources
            for the security area. Usually, the greater the dispersion between platoons (or companies
            within the battalion defense) the larger the security area.




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        Preparation and Conduct of a Defense
               5-153. Priority of work is a set method of controlling the preparation and conduct of a
               defense. Tactical SOPs should describe priority of work including individual duties. The
               platoon leader changes priorities based on the situation. All leaders in the platoon should
               have a specific priority of work for their duty position. Although listed in sequence,
               several tasks are performed at the same time. An example leader and Soldier priority of
               work sequence is as follows:
                          Post local security.
                          Set and then maintain a designated level of security.
                          Establish the platoon’s reconnaissance and surveillance.
                          Position Javelins (or M3 MAAWS) and machine guns (designate FPLs and
                          FPFs); assign sectors of fire.
                          Position subordinate units and other assets.
                          Prepare hasty fighting positions.
                          Establish platoon command post.
                          Clear fields of fire and prepare standard range cards and sector sketches.
                          Adjust indirect fire FPFs. The firing unit fire direction center should provide
                          a safety box clearing of all friendly units before firing adjusting rounds.
                          Emplace early warning devices.
                          Modify hasty fighting positions to deliberate fighting positions as the enemy
                          situation allows.
                          Install wire communications, if applicable.
                          Emplace obstacles and mines.
                          Mark (or improve marking for) target reference points (TRPs) and direct
                          fire-control measures.
                          Improve primary fighting positions such as OHC.
                          Prepare alternate and supplementary positions.
                          Conduct maintenance (specifically, weapons and communications
                          equipment).
                          Establish sleep and rest plan.
                          Reconnoiter movements and routes (for example, trafficability and timing).
                          Rehearse engagements and disengagements or displacements.
                          Adjust positions and control measures as required.
                          Stockpile ammunition, food, and water.
                          Dig trenches between positions.
                          Continue to improve positions (for example, replaced camouflage
                          concealment if it changes color or dries out).

                 Note. Leaders carefully manage security levels to achieve priorities of work.




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         Duties and Areas of Responsibilities During Defensive Preparation
            5-154. Many platoon leader duties and responsibilities during the defense can be
            delegated to subordinates, but the platoon leader ensures they are done. This includes:
                       Ensuring local security and assigning observation post responsibility.
                       Conducting a leader’s reconnaissance with the platoon sergeant and selected
                       leaders.
                       Confirming or denying significant deductions or assumptions from the
                       mission analysis.
                       Understanding/confirming the initial terrain analysis (for example, avenues
                       of approach, potential gaps and seams, and dead space) made prior to arrival.
                       Confirming/revising the direct fire plan, to include engagement area, sectors
                       of fire, position key weapons, and fire control measures based on the reality
                       of the terrain.
                       Designating primary, alternate, supplementary, and subsequent positions
                       supporting the direct fire plan, for platoons, sections, and supporting
                       elements.
                       Requiring squads to conduct coordination.
                       Integrating indirect fire plan and obstacles to support the direct fire plan.
                       Designating the platoon command post location (for example, collocating
                       with a squad) and positioning key weapons.
                       Checking the platoon command post and briefing the platoon sergeant on the
                       situation and logistics requirements.
                       Upon receipt of the squads’ sector sketches, making two copies of the platoon
                       defensive sector sketch and fire plan, retaining one copy, and forwarding the
                       other copy to the company. (See figure B-7 on page B-13 for an example of
                       a platoon defense sector sketch.)
                       Confirming the direct fire plan and squad positions before digging starts.
                       Coordinating with the left and right units.
                       Checking with the company commander for all changes or updates in the
                       orders.
                       Finishing the security, deception, counterattack, and obstacle plans.
                       Walking the platoon positions after they are dug.
                       Confirming clear fields of fire and complete coverage of the platoon’s entire
                       AO by all key weapons.
                       Looking at the defensive plan from an enemy point of view, conceptually and
                       physically.
                       Checking dissemination of information, interlocking fires, and dead space.
                       Ensuring immediate correction of deficiencies.
                       Ensuring rehearsals are conducted and obstacle locations reported.
                       Ensuring routine report status of and completion of defensive preparations to
                       the company.


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               5-155. Platoon sergeant’s duties and responsibilities include:
                        Establishing the platoon command post and ensures wire communications
                        link the platoon, squads, and attached elements, if applicable.
                        Establishing CCPs, platoon logistics release points (known as LRPs), and
                        detainee collection points, and locating company-level points.
                        Briefing squad leaders on the platoon command post location, logistics plan,
                        and routes between positions.
                        Assisting the platoon leader with the sector of fire and sector sketch.
                        Requesting and allocating pioneer tools, barrier materiel, rations, water, and
                        ammunition.
                        Walking the positions with the platoon leader. Supervising emplacement of
                        squads, key weapons, check standard range cards, and sector sketches.
                        Establishing routine security or alert plans, radio watch, rest plans, and
                        briefing the platoon leader.
                        Supervising continuously and assisting the platoon leader with other duties
                        as assigned.
                        Selecting a straddle trench location and ensuring it is properly marked (see
                        ATP 4-25.12).
               5-156. The squad leader—
                        Emplaces local security.
                        Confirms positioning and assigned sectors of fire within the squad.
                        Confirms positioning and assigned sectors of fire for the CCMS and medium
                        machine gun teams.
                        Positions and assigns sectors of fire for automatic rifleman, grenadiers, and
                        riflemen.
                        Establishes command post and wire communications.
                        Confirms designated FPL and FPFs (for example, changes to locations,
                        directions, or systems).
                        Clears fields of fire and prepares standard range cards.
                        Prepares squad standard range card and sector sketch.
                        Digs fighting positions.
                        Establishes communication and coordination within the platoon and adjacent
                        units.
                        Coordinates with adjacent units. Reviews sector of fire and sector sketch.
                        Emplaces AT and claymores, then wire and other obstacles.
                        Marks or improves marking for TRPs and other fire control measures.
                        Improves primary fighting positions and adds OHC (stage 2, see
                        paragraph 5-237).
                        Prepares supplementary and alternate positions (same procedure as the
                        primary position).
                        Establishes sleep and rest plans.


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                       Distributes and stockpiles ammunition, food, and water.
                       Digs trenches to connect positions.
                       Continues to improve positions, construct revetments, replace camouflage,
                       and add to OHC.
            5-157. The FO—
                    Assists the platoon leader in planning the indirect fires to support defensive
                    missions.
                    Advises the platoon leader on the status of all firing units, and on the use of
                    obscurants or illumination.
                    Coordinates with the Infantry company fire support officer, firing units, and
                    squad leaders to ensure the fire plan is synchronized and fully understood.
                    Ensures the indirect fire plan is rehearsed and understood by all.
                    Ensures all FPFs are adjusted as soon as possible.
                    Develops an observation plan.
                    Coordinates and rehearses all repositioning of observers within the platoon
                    AO to ensure they can observe targets or areas of responsibility.
                    Develops triggers.
                    Reports information collection activities.
                    Ensures redundancy in communications.

         Adjacent Unit Coordination
            5-158. The goal of adjacent unit coordination is to ensure unity of effort in
            accomplishment of the platoon mission. Items adjacent units coordinate include—
                      Unit positions, including locations of vital leaders’ call signs and frequencies.
                      Locations of observation posts and patrols.
                      Overlapping fires (to ensure direct fire responsibility is clearly defined).
                      Coverage of exploitable gaps or seams between units.
                      TRPs (to ensure identification/coordinated method of target handoff).
                      Coverage of terrain features (roads, trails, and dead space) that lay along
                      boundaries.
                      Alternate, supplementary, and subsequent battle positions.
                      Indirect fire information.
                      Obstacles (location and type).
                      Air defense considerations, if applicable.
                      Routes to be used during occupation and repositioning.
                      Sustainment considerations.

         Coordination
            5-159. In the defense, coordination ensures that units provide mutual support and
            interlocking fires. In most circumstances, the platoon leader conducts face-to-face


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               coordination (the preferred method due to reduced signal emissions) to facilitate
               understanding and to resolve issues effectively. However, when time is extremely
               limited, digital coordination may be the only means of sending and receiving this
               information. The platoon leader should send and receive the following information using
               the radio or command and control system before conducting face-to-face coordination:
                          Location of key leaders.
                          Location of fighting positions.
                          Location of observations posts and withdrawal routes.
                          Location and types of obstacles.
                          Location of contact points—in land warfare, points on the terrain, easily
                          identifiable, where two or more units are required to make contact (JP 3-50).
                          Point control measures—designated military symbols are generally
                          numbered from left to right.
                          Location of coordination points—are points that indicate a specific location
                          for the coordination of tactical actions between adjacent units (FM 3-90).
                          Location, activities, and passage plan for scouts and other units forward of
                          the platoon’s position.
                          Platoon’s digital sector sketch.
                          Location of all Soldiers and units operating in and around the platoon’s AO.
               5-160. Current techniques for coordination hold true for units that are digitally
               equipped. If a digitized and a nondigitized unit are conducting adjacent unit
               coordination, face-to-face is the preferred method. The leader of the digitized unit has
               the option to enter pertinent information about the nondigitized unit into command and
               control systems for later reference. The digitally equipped platoon leader should show
               the adjacent unit leader the digital sector sketch. If face-to-face coordination is not
               possible, leaders share pertinent information by radio.

                 Note. The fictional scenario, used as discussion vehicles in figures 5-12 and 5-13
                 on pages 5-55 and 5-57, illustrate different ways an Infantry rifle platoon can
                 accomplish its mission within the conduct of a higher echelon’s area defense.
                 These two examples focus on potential challenges confronting the platoon leader
                 in establishing a battle position within its company’s area defense but are not
                 intended to be prescriptive of how the Infantry rifle platoon performs any
                 particular operation. This same scenario drives the area defense techniques used
                 in ATP 3-21.10 and ATP 3-21.20. ATP 3-21.8 focuses on the techniques used to
                 perform missions, functions, or tasks in support of the Infantry rifle Company B
                 along the enemy avenue of approach in COA 1 in both figures.



        SECURITY AREA ENGAGEMENT
               5-161. When the platoon is part of the higher echelon’s security area defense, the
               platoon leader integrates engagements within the higher echelon’s defense. Within the
               security area defense, planned fires usually include FOs and fire support teams (FISTs)


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            executing indirect fire targets on a primary enemy avenue of approach. Security forces
            within the defense can come in the form of the scout platoon, sniper squad, subordinate
            units within the Infantry rifle company, or a combination of all. (See figure 5-12.) This
            can be in support of the higher headquarters’ scheme of fires using IBCT or higher
            echelon artillery, or in support of the battalion, and company scheme with the use of
            organic mortars and allocated artillery fires.




               Figure 5-12. Area defense (security area engagements), example

            5-162. The scheme of fires within the security area combined with the use of tactical
            obstacles serve to disrupt the enemy and canalize the enemy in the engagement areas,
            and to force the enemy to commit enemy engineer assets prior to the main battle area
            engagement. Tactical obstacles (for example, situational obstacles) and fire support
            tasks are planned and triggered relative to specific enemy COAs. They are essential,
            allowing for more effective engagements within the security area. Forward security
            forces employed forward may cover these situational obstacles with direct fires or
            indirect fires prior to their withdrawal to positions within the main battle area.
            5-163. A platoon may support a higher echelon or its own scheme of maneuver by
            fighting a delay through the depth of the security area and into the main battle area. The
            purpose may be to take advantage of restrictive avenues of approach, to set the
            conditions for a counterattack, or to avoid a decisive engagement until favorable


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               conditions are set. As security forces complete the rearward passage of lines, main battle
               area forces assume control of the battle at the BHL. Battle handover from forward
               security forces to forward main battle area forces requires firm, clear arrangements—
                          For assuming command of the action.
                          For coordinating direct and indirect fires.
                          For the security force’s rearward passage of lines.
                          For closing lanes in obstacles.
                          For movement of the security force with minimal interference to main battle
                          area actions.
               5-164. As security area engagements transition into the main battle area, security area
               forces withdraw to battle positions within the main battle area and counterattack or
               reserve positions. Security area forces may remain in place to continue to attrit the
               enemy as it continues on its avenue of approach or may move to a flank or to the rear of
               the main battle area to provide security. (See ATP 3-21.10 for additional information.)

        MAIN BATTLE AREA ENGAGEMENT
               5-165. The platoon leader seeks to defeat, disrupt, or neutralize the enemy’s attack
               forward of or within the main battle area. The platoon leader integrates direct and
               indirect fires with the obstacle plan, local counterattacks, and, when established, reserve
               forces to destroy the enemy in designated engagement areas or to force the enemy
               transition to a retrograde or hasty defense. The leader uses planned engagement areas
               and battle positions to attack the enemy throughout the depth of the defense. Direct fire
               control measures allow the platoon to focus, shift, or distribute their fires as necessary.
               However, fire support may be limited to critical points and times. Control measures
               allow the leader to rapidly concentrate the use of combat power at the decisive point(s),
               provide flexibility to respond to changes, and allocate responsibility of terrain and
               obstacles to synchronize the employment of combat power.
               5-166. As attacking forces reach the forward edge of the battle area, the enemy will try
               to find weak points in the defense and attempt to force a passage, possibly by a series of
               probing attacks. Forward elements engage the enemy’s lead forces as the enemy attack
               develops along identified enemy avenues of approach. (See figure 5-13.) The platoon
               arrays forces and establishes engagement areas using obstacles and fires to canalize
               enemy forces. When shaping efforts allow for the canalization of the enemy, the enemy
               advance slows, and the increased density of forces present good targets for defensive
               fires within engagement areas. The maximum effects of these simultaneous and
               sequential fires, brought to bear at this stage of the battle, enable the destruction of the
               attacking enemy force. Additional considerations and key leader duties may include:
                          Focusing and shifting fires between direct fire control measures depending
                          on enemy movement and controlling rates of fire.
                          Decisions on displacement to alternate, subsequent, and supplementary
                          positions.
                          Reporting enemy situation and alerts to emerging threats, opportunities, or
                          changing nature of the situation.


        5-56                                         ATP 3-21.8




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                      Reaction to enemy fires (for example, artillery and/or aviation) and CBRN
                      attacks.
                      Reports to higher, monitoring stockage levels, and cross leveling or resupply.
                      CASEVAC and MEDEVAC procedures.
                      Criteria to commitment the reserve.




                Figure 5-13. Main battle area (platoon engagements), example


         FOLLOW THROUGH
            5-167. During the planning for the defensive operation, the platoon leader must discern
            from the company OPORD what the potential follow-on missions are and begin to plan
            how to achieve them. During this planning, the leader determines the possible timeline
            and location for defeat in detail, consolidate, reorganize, and transition which best
            facilitates future operations and provides adequate protection.



                                               ATP 3-21.8                                     5-57




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               5-168. The platoon leader and platoon subordinate leaders plan and prepare for
               consolidate during TLP. The following actions are usually a part of consolidate:
                         Eliminate remaining enemy resistance in battle positions, noncontiguous
                         assigned areas, and the security area.
                         Reestablish, reoccupy fighting positions and adjust unit boundaries.
                         Reestablish local security including OPs and patrols to deny enemy direct or
                         indirect fire on defensive positions.
                         Continue to improve security by conducting other necessary defensive
                         actions. These defensive actions include engagement area development,
                         direct fire planning, and battle position preparation.
                         Adjust FPFs and register targets along likely mounted and dismounted
                         avenues of approach.
                         Close gaps or lanes in obstacles; repair or replace damaged or breached
                         obstacles and replace expended mines.
                         Secure enemy detainees.
                         Prepare for enemy counterattack.
               5-169. Reorganization usually is conducted concurrently with consolidate. It consists
               of actions taken to prepare the unit for follow-on tasks. As with consolidate, the platoon
               leader and platoon subordinate leaders plan and prepare for reorganization during TLP.
               During reorganization, these small-unit leader ensures the following actions are taken:
                           Provide essential medical treatment and evacuate casualties, as necessary.
                           Treat and evacuate wounded detainees and process the remainder of
                           detainees.
                           Reestablish key leaders using the designated succession of command.
                           Reestablish manning of key weapons and equipment: CCMS, machine guns,
                           grenade launchers, radio telephone operators.
                           Reestablish communications within the organization to higher and to adjacent
                           units.
                           Cross-level personnel and adjust forces as required to support operations.
                           Conducts resupply operations.
                           Redistribute ammunition.
                           Conduct required maintenance.
                           Continue improving defensive positions, as necessary.
               5-170. At the conclusion of an engagement, the platoon may continue the defense, or
               if ordered, transition to the offense. The platoon leader considers the higher
               commander’s concept of operations, friendly capabilities, and enemy situation when
               making this decision. All missions should include plans for exploiting success or
               assuming a defensive posture.
               5-171. A defending unit may transition from defensive operations to the retrograde as
               a part of continuing operations. A retrograde (see paragraph 5-174) usually involves a
               combination of a delay, withdrawal, and retirement that may occur simultaneously or
               sequentially. As in other missions, the leader’s concept of operations and intent drive

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            planning for the retrograde. Each form of retrograde has its unique planning
            considerations, but considerations common to all retrogrades are risk, the need for
            synchronization and security.
            5-172. A company commander may order a defending platoon to conduct a hasty
            operation (for example, counterattack) or participate in a movement to contact. As part
            of a reserve force, the platoon and squad may execute a counterattack to destroy exposed
            enemy elements and free decisively engaged friendly elements. A base-of-fire element
            suppresses or fixes the enemy force while the counterattack element moves on a
            concealed route to firing positions from which it can engage the enemy in the flank and
            rear. The counterattack force must maneuver rapidly to its firing position, often fighting
            through enemy flank security elements, to complete the counterattack before the enemy
            can bring follow-on forces forward to influence the fight.
            5-173. Execution of the counterattack is an attack by part or all of a defending force
            against an enemy attacking force, for such specific purposes as regaining ground lost or
            cutting off or destroying enemy advance units, and with the general objective of denying
            to the enemy the attainment of the enemy’s purpose in attacking. Planning and
            preparation considerations for counterattack vary depending on the purpose and location
            of the operation. For example, the counterattack may be conducted forward of friendly
            positions, requiring a force not in contact or the reserve force to move around friendly
            elements and through their protective and tactical obstacles. In other situations, the
            platoon leader may use a counterattack to block, fix, or contain a penetration within its
            AO. In any case, the counterattacking force conducts the counterattack as an
            enemy-oriented task.

              Note. The mobile defense is a type of defensive operation that concentrates on
              the destruction or defeat of the enemy through a decisive attack by a striking
              force (ADP 3-90). Mobile defenses focus on defeating or destroying the enemy
              by allowing enemy forces to advance to a point where they are exposed to a
              decisive counterattack by the striking force—a dedicated counterattack force in
              a mobile defense constituted with the bulk of available combat power
              (ADP 3-90). The fixing force—a force designated to supplement the striking
              force by preventing the enemy from moving from a specific area for a specific
              time (ADP 3-90)—holds attacking enemy in position, to help channel attacking
              enemy forces into ambush areas, to retain areas from which to launch the striking
              force.




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                 Mobile defenses require an AO of considerable depth. Commanders shape their
                 battlefields causing enemy forces to overextend their lines of communications,
                 expose their flanks, and dissipate their combat power. Commanders move
                 friendly forces around and behind enemy forces to cut off and destroy them.
                 Divisions or larger formations usually conduct a mobile defense because of their
                 ability to fight multiple engagements throughout the width, depth, and height of
                 their AO, while simultaneously resourcing the striking, fixing, and reserve
                 forces. Typically, the striking force in a mobile defense consists of one-half to
                 two-thirds of the defender’s combat power. The striking force decisively engages
                 the enemy as it becomes exposed in attempts to overcome the fixing force.

                 The Infantry rifle platoon’s missions as part of a larger force in a mobile defense
                 are similar to the missions in area defense. The platoon is generally part of the
                 fixing force. As part of the fixing force, the platoon defends within its assigned
                 AO, although the AO might be larger than usual. Weapons system from within
                 the Infantry weapons company of the Infantry battalion may be attached to the
                 platoon to enable better coverage of the larger AO and to engage enemy armor
                 heavy forces from fixed positions within the area defense. (See ATP 3-21.10 for
                 additional information.)



          SECTION IV – RETROGRADE
               5-174. A retrograde is a type of defensive operation that involves organized movement
               away from the enemy (ADP 3-90). The enemy may force a retrograde or the commander
               may execute it voluntarily. In either case, the higher commander of the force executing
               the operation must approve retrograding. The three variations of the retrograde are delay,
               withdrawal, and retirement.
               5-175. Retrogrades are conducted to improve a tactical situation or preventing a worse
               situation from developing. Platoons usually conduct retrogrades as part of a larger force
               but may conduct independent retrogrades (withdrawal) as required. Retrograde
               movement is any movement to the rear or away from the enemy (FM 3-90). Retrograde
               operations can accomplish the following:
                           Resist, exhaust, and defeat enemy forces.
                           Draw the enemy into an unfavorable situation.
                           Avoid contact in undesirable conditions.
                           Gain time.
                           Disengage a force from battle for use elsewhere for other missions.
                           Reposition forces, shorten lines of communication, or conform to movements
                           of other friendly units.
                           Secure favorable terrain.




        5-60                                        ATP 3-21.8




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         DELAY
            5-176. A delay is when a force under pressure trades space for time by slowing down
            the enemy’s momentum and inflicting maximum damage on enemy forces without
            becoming decisively engaged (ADP 3-90). Delays allow units to trade space for time,
            avoiding decisive engagement and safeguard its forces. Ability of a force to trade space
            for time requires depth within the AO assigned to the delaying force. The amount of
            depth required depends on several factors, including the—
                       Amount of time to be gained.
                       Relative combat power of friendly and enemy forces.
                       Relative mobility of forces.
                       Nature of terrain.
                       Ability to shape the AO with obstacles and fires.
                       Degree of acceptable risk.
            5-177. Delays succeed by forcing the enemy to concentrate forces to fight through a
            series of defensive positions. Delays must offer a continued threat of serious opposition,
            forcing the enemy to repeatedly deploy and maneuver. Delaying forces displace to
            subsequent positions before the enemy can concentrate sufficient resources to engage
            decisively and defeat delaying forces in current positions. The length of time a force can
            remain in position without facing danger of becoming decisively engaged is primarily a
            function of relative combat power and METT-TC (I). (See ATP 3-21.10 for additional
            information.) Delays gain time to—
                        Allow friendly forces to establish a defense.
                        Cover withdrawing forces.
                        Protect friendly force’s flanks.
                        Allow friendly forces to counterattack.

         PARAMETERS OF THE DELAY
            5-178. Parameters of the delay are specified in the order for a delay mission. First,
            leaders direct one of two alternatives: delay within the AO or delay forward of a
            specified line or terrain feature for a specified time. A delay line is a phase line over
            which an enemy is not allowed to cross before a specific date and time or enemy
            condition (FM 3-90). The delay line is depicted as part of the graphic control measure.
            The second parameter in the order must specify acceptable risk. Acceptable risk ranges
            from accepting decisive engagement to hold terrain for a given time maintaining
            integrity of the delaying force. The order must specify whether the delaying force may
            use the entire AO or must delay from specific battle positions. A delay using the entire
            AO is preferable, but a delay from specific positions may be required to coordinate two
            or more units.

         ALTERNATE OR SUCCESSIVE POSITIONS
            5-179. Leaders normally assign subordinate unit contiguous operations that are deeper
            than they are wide. Leaders use obstacles, fires, and movement throughout the depth of

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               assigned AO. If the leader plans the delay to last only a short time or the AO depth is
               limited, delaying units may be forced to fight from a single set of positions. If the leader
               expects the delay to last for longer periods, or sufficient depth is available, delaying
               units may delay from either alternate or successive positions.
               5-180. In both techniques, delaying forces normally reconnoiter subsequent positions
               before occupying them if possible, and post guides on one or two subsequent positions.
               Additionally, in executing both techniques, it is critical the delaying force maintains
               contact with the enemy between delay positions. Advantages and disadvantages of the
               two techniques are summarized in table 5-5.
                   Table 5-5. Advantages and disadvantages of delay techniques



           Delay from        • Area of              • Masses fires of all         • Limited depth to the
           Subsequent        operations is wide.    available combat elements.    delay positions.
           Positions         • Forces available                                   • Less available time to
                             do not allow                                         prepare each position.
                             themselves to be                                     • Less flexibility.
                             split.
           Delay from        • Area of              • Allows positioning in-      • Requires more forces.
           Alternate         operations is          depth.                        • Requires continuous
           Positions         narrow.                • Provides best security on   maneuver coordination.
                             • Forces are           most dangerous avenue of      • Requires passage of
                             adequate to be         approach.                     lines.
                             split between          • Allows more time for
                             different positions.                                 • Engages only part of the
                                                    equipment and Soldier         force at one time.
                                                    maintenance.
                                                                                  • Risk losing contact with
                                                    • Increases flexibility.      enemy between delay
                                                                                  positions.

               5-181. The alternate position technique normally is preferred when adequate forces are
               available, and AO have sufficient depth. Delays from alternate positions, two or more
               units in a single AO occupy delaying positions in-depth. (See figure 5-14.) As the first
               unit engages the enemy, the second occupies the next position in-depth and prepares to
               assume responsibility for the operation. The first force disengages and passes around or
               through the second force. It then moves to the next position and prepares to re-engage
               the enemy while the second force takes up the fight.




        5-62                                            ATP 3-21.8




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                            Figure 5-14. Delay from alternate positions

            5-182. Delays from subsequent positions are used when assigned AO are so wide
            available forces cannot occupy more than a single tier of positions. (See figure 5-15 on
            page 5-64.) Delays from subsequent positions must ensure all delaying units are
            committed to each of the series of battle positions or across the AO on the same phase
            line. Most of the delaying force is located well forward. Mission dictates the delay from
            one battle position or phase line to the next. Delaying unit movement is staggered so not
            all forces are moving at the same time.




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                              Figure 5-15. Delay from subsequent positions


        WITHDRAWAL
               5-183. Withdraw is to disengage from an enemy force and move in a direction away
               from the enemy (ADP 3-90). Withdrawal is a planned retrograde operation, which a
               force in contact disengages from an enemy force and moves away from the enemy.
               Although the leader avoids withdrawing from action under enemy pressure, it is not
               always possible. Withdrawal is used to preserve the force or release it for a new mission.
               5-184. Withdrawals are inherently dangerous. They involve moving units to the rear
               and away from what is usually a stronger enemy force. The heavier the previous fighting
               and closer the contact with the enemy, the more difficult the withdrawal. Units usually
               confine rearward movement to times and conditions when the advancing enemy force
               cannot observe the activity or easily detect the operation. Operations security is critical,
               particularly during the initial stages of a withdrawal when most of the functional and
               sustainment forces displace. (See ATP 3-21.10 for additional information.)

        5-64                                         ATP 3-21.8




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                                                                                         Defense



         PLANNING A WITHDRAWAL
            5-185. The leader plans and coordinates a withdrawal in the same manner as a delay.
            METT-TC (I) applies differently because of differences between a delay and
            withdrawal. A withdrawal always begins under the threat of enemy interference.
            Because the force is most vulnerable when the enemy attacks, the leader plans for a
            withdrawal under pressure. The leader then develops contingencies for a withdrawal
            without pressure. In both cases, the leader’s main considerations are to—
                      Plan a deliberate break from the enemy.
                      Displace the main body rapidly, free of enemy interference.
                      Safeguard withdrawal routes.
                      Retain sufficient maneuver, functional/multifunctional support and
                      sustainment capabilities throughout the operation supporting forces in
                      contact with the enemy.

         ASSISTED OR UNASSISTED
            5-186. Withdrawals may be assisted or unassisted. They may or may not take place
            under enemy pressure. These two factors combined produce four variations. Figure 5-16
            depicts the mission graphic for a withdrawal and withdrawal under enemy pressure. The
            withdrawal plan considers which variation the force currently faces.




                                Figure 5-16. Types of withdrawals

            5-187. Leaders prefer to conduct a withdrawal while not under enemy pressure and
            without assistance. Actions by the enemy, as well as additional coordination needed
            because of the presence of an assisting unit, complicate the operation.




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               5-188. During an assisted withdrawal, the assisting force occupies positions to the rear
               of the withdrawing unit and prepares to accept control of the situation. Both forces
               closely coordinate the withdrawal. A withdrawing force can receive assistance from
               another force in the form of—
                          Additional security for the area through which the withdrawing force will
                          pass.
                          Information concerning withdrawal routes (reconnaissance and
                          trafficability).
                          Forces to secure choke points or key terrain along withdrawal routes.
                          Elements to assist in movement control, such as traffic control post.
                          Required maneuver, direct fire support and sustainment, which can involve
                          conducting a counterattack to assist the withdrawing unit in disengaging from
                          the enemy.
               5-189. During an unassisted withdrawal, the withdrawing unit establishes routes and
               develops plans for the withdrawal. It establishes the security force as a rear guard while
               the main body withdraws. Sustainment and protection forces usually withdraw first,
               followed by combat forces. As the unit withdraws, the detachment left in contact (DLIC)
               disengages from the enemy and follows the main body to its final destination. A
               detachment left in contact is an element left in contact as part of the previously
               designated security force while the main body conducts its withdrawal (FM 3-90). It
               simulates—as nearly as possible—the continued presence of the main body until it is
               too late for an enemy force to react by conducting activities such as electronic
               transmissions or attacks. The DLIC requires specific instructions about what to do when
               the enemy force attacks and when and under what circumstances to delay or withdraw.
               If the DLIC must disengage from the enemy force, it uses the same techniques as in the
               delay (see paragraph 5-176).
               5-190. A stay-behind operation is an operation in which a unit remains in position to
               conduct a specified mission while the remainder of the force withdraws or retires from
               an area (FM 3-90). While both a DLIC and a stay-behind force delay and disrupt the
               enemy, the biggest difference is the level of stealth. A stay-behind force delays the
               enemy through small scale engagements such as raids and ambushes. A stay-behind
               force only masses its combat power when combat power ratios and the tactical situation
               are in its favor. A DLIC engages the enemy and tries to represent itself as a larger force,
               so its presence must be known as it fights in a very conventional manner. Both forces
               seek to link-up with friendly forces when they accomplish their commander’s intent.
               (See ATP 3-21.10 for additional information.)

        WITHDRAWAL NOT UNDER PRESSURE
               5-191. In a withdrawal not under pressure, platoons may serve as or as part of the
               DLIC. A DLIC is used to deceive the enemy into thinking that the entire force is still in
               position. As the DLIC, the platoon—
                          Repositions squads and weapons to cover the company’s withdrawal.



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                      Repositions a squad in each of the other platoon positions to cover the most
                      dangerous avenue of approach into the position.
                      Continues the normal operating patterns of the company and simulates
                      company radio traffic.
                      Covers the company withdrawal with planned direct and indirect fires if the
                      company is attacked during withdrawal.
                      Withdraws by echelon (squads or teams) once the company is at its next
                      position.
            5-192. In a withdrawal not under pressure, the platoon leader may designate one squad
            to execute the DLIC mission for the platoon or constitute the DLIC using elements from
            the remaining rifle squads with the platoon sergeant as the DLIC leader. Figure 5-17
            shows an example of an unassisted withdrawal, not under pressure.




                   Figure 5-17. Unassisted withdrawal (not under pressure)




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        WITHDRAWAL UNDER PRESSURE
               5-193. In a withdrawal under enemy pressure, all units withdraw simultaneously when
               available routes allow, using delaying tactics to fight their way to the rear. When
               simultaneous withdrawal of all forces is not practical, (for example, when the platoon
               cannot prepare and position the security force, it conducts a fighting withdrawal) the
               platoon leader decides the order of withdrawal. Soldiers and squads not in contact are
               withdrawn first to provide suppressive fire and to allow Soldiers and squads (or teams)
               in contact to withdraw. Several factors influence this decision:
                           Subsequent missions.
                           Availability of transportation assets and routes.
                           Disposition of friendly and enemy forces.
                           Level and nature of enemy pressure.
                           Degree of urgency associated with the withdrawal.

        METHODS OF DISENGAGEMENT
               5-194. Based on the OPORD, the unit may be required to retain defensive positions
               and to remain and fight for a certain amount of time, or it may be required to
               disengage—a tactical mission task in which a unit breaks contact with an enemy to
               conduct another mission or to avoid becoming decisively engaged (FM 3-90)—and
               displace to subsequent positions. A platoon, as part of a company, may disengage to
               defend from another battle position, prepare for a counterattack, delay, withdraw, or
               prepare for another mission.

        Fire and Movement
               5-195. Fire and movement to the rear is the basic method for disengaging. All available
               fires are used to slow the enemy and allow platoons to move away. The company
               commander may move subordinate platoons and mass fires to stop or slow the enemy
               advance before beginning the movement away from the enemy.
               5-196. Using bounding overwatch, a base of fire is formed to cover platoons or squads
               moving away from the enemy. One platoon or squad acts as the base of fire, delaying
               the enemy with fire or retaining terrain blocking the advance, while other platoons or
               squads disengage (see figure 5-18).
               5-197. Moving platoons or squads get to their next position and provide a base of fire
               to cover the rearward movement of forward platoons and squads. Fire and movement is
               repeated until contact with the enemy is broken, the platoons pass through a different
               base-of-fire force, or the platoons are in position to resume their defense.




        5-68                                       ATP 3-21.8




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                           Figure 5-18. Bounding overwatch to the rear


         Plan for Disengagement
            5-198. Tactics used by the platoon to disengage from the enemy differ according to the
            company commander’s plan for disengagement, how the platoon is deployed, and other
            factors. The following actions apply in all cases:
                       Maximum use is made of the terrain to cover rearward movement. Squads
                       back out of position and move, attempting to keep a terrain feature between
                       them and the enemy.
                       Rapid movement and effective base of fire enhance mobility and are key to a
                       successful disengagement.
            5-199. Plans for disengagement may be part of any defensive plan. When squads are
            separated, there are three ways they can disengage: by squads and fire teams; by thinning
            the lines when they must cover their own movement; or simultaneously when they are
            covered by another force.

         Squads and Fire Teams
            5-200. When the rifle platoon must cover their own movement, (for example) two
            squads may stay in position as a base of fire. The third squad and weapons squad then
            move to the rear (crew-served weapons move based on the platoon leader’s assessment
            of when they could best move). The squads left in position must fire into the entire
            element’s sector to cover the movement of the other squad(s). Sectors of fire are adjusted
            for better coverage of the element’s sector. The moving squad may displace by squad or
            as fire teams depending on the enemy’s effective fires or because there are two squads



                                                ATP 3-21.8                                      5-69




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               covering their movement. The squads left in position sequentially disengage. Movement
               to the rear by alternating squads continues until contact is broken.

        Thinning the Lines
               5-201. When disengaging by thinning the lines, selected Soldiers from each fire team
               (usually one Soldier from each fighting position) disengage and move to the rear (see
               figure 5-19). The Soldiers still in position become the base of fire to cover the
               movement.




                           Figure 5-19. Disengagement by thinning the lines

        Simultaneous Disengagement
               5-202. Squads disengage simultaneously when they are covered by another force.
               Simultaneous disengagement is favored when rapid movement is critical, when the
               disengaging element is adequately covered by overwatching fires, when the enemy has
               not closed on the rifle squad or cannot fire effectively at it, and when there are obstacles
               to delay the enemy. Simultaneous disengagement is used when rifle squads are able to
               move before the enemy can close on their position.




        5-70                                         ATP 3-21.8




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         RETIREMENT
            5-203. A retirement is when a force out of contact moves away from the enemy
            (ADP 3-90). Retirement is a form of retrograde, which a force not in contact with the
            enemy moves away from the enemy. A retiring unit organizes for combat but does not
            anticipate interference by enemy ground forces. Typically, another unit’s security force
            covers the tactical movement of one formation as the unit conducts a retirement.
            However, enemy forces may attempt to interdict the retiring force through
            unconventional forces, air strikes, air assault, or long-range fires. The leader anticipates
            enemy actions and organizes the unit to fight in self-defense. The leader usually
            conducts retirement to reposition forces for future operations or to accommodate the
            current concept of operations. Units may utilize tactical road marches (see chapter 6)
            where security and speed are the most important considerations. (See ATP 3-21.10 for
            additional information.)

           SECTION V – ENGAGEMENT AREA
            5-204. The engagement area is an area where the commander masses effects to contain
            and destroy an enemy force (FM 3-90). Contain is a tactical mission task in which a unit
            stops, holds, or surrounds an enemy force (FM 3-90). Destroy is a tactical mission task
            that physically renders an enemy force combat-ineffective until reconstituted (FM 3-90).
            The platoon leader uses natural and man-made obstacles to canalize the attacking force
            into an engagement area where they can be destroyed by direct and indirect fires. The
            key to success is the platoon leader’s ability to integrate the obstacles, fires and direct
            fires plans within the engagement area to achieve the Infantry platoon’s and squads’
            tactical purposes. (See ATP 3-21.10 and ATP 3-21.20 for additional information.)

         KEY ENGAGEMENT CONSIDERATIONS
            5-205. Engagement criteria are protocols that specify those circumstances for
            initiating engagement with an enemy force (FM 3-90). Engagement criteria may be
            restrictive or permissive in nature. For example, the platoon leader may instruct a
            subordinate squad leader not to engage an approaching enemy unit until the enemy
            commits to an avenue of approach. The platoon leader establishes engagement criteria
            in the direct fire plan in conjunction with engagement priorities and other direct fire
            control measures to mass fires and control fire distribution.
            5-206. Engagement priority identifies the order in which the unit engages enemy
            systems or functions (FM 3-90). The platoon leader assigns engagement priorities (see
            paragraph A-61) based on the type or level of threat at different ranges to match organic
            weapon system capabilities against enemy vulnerabilities. Engagement priorities are
            situationally dependent and used to distribute fires rapidly and effectively. Subordinate
            elements can have different engagement priorities but will normally engage the most
            dangerous targets first, followed by targets in-depth or specialized systems, such as
            engineer vehicles.




                                                 ATP 3-21.8                                      5-71




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               5-207. A target reference point is a predetermined point of reference, normally a
               permanent structure or terrain feature that can be used when describing a target location.
               (JP 3-09.3). The platoon may designate TRPs (see paragraph A-41) to define unit or
               individual sectors of fire and observation, usually within the engagement area. TRPs,
               along with trigger lines, designate the center of an area where the platoon leader plans
               to distribute or converge the fires of all weapons rapidly. TRPs allow leaders to
               distribute, shift, or focus fires throughout the width and depth of an engagement area:
               for instance, a squad sector distributes fires between TRP 1 and TRP 2. A machine gun
               PDF may be established using a TRP to focus their fires. A squad may shift fires by
               shifting from TRP 1 in their primary sector to TRP 3 in their secondary sector. Trigger
               lines, when added, serve as a method of control. Once designated, TRPs may also
               constitute indirect fire targets.
               5-208. A trigger line is a phase line located on identifiable terrain used to initiate and
               mass fires into an engagement area at a predetermined range (FM 3-90). The platoon
               leader can designate one trigger line (see paragraph A-62) for all weapon systems or
               separate trigger lines for each weapon or type of weapon system. The leader specifies
               the engagement criteria for a specific situation. The criteria may be either time- or event-
               driven, such as a certain number or certain types of vehicles to cross the trigger line
               before initiating engagement. The leader can use a time-based fires delivery
               methodology or a geography-based fires delivery.

        ENGAGEMENT AREA DEVELOPMENT
               5-209. Engagement area development is a complex function demanding parallel
               planning and preparation if the Infantry platoon and squad are to accomplish the tasks
               for which they are responsible. Despite this complexity, engagement area development
               resembles a drill, and the platoon leader and subordinate leaders use an orderly, standard
               set of procedures. The steps of engagement area development are not a rigid sequential
               process. Some steps may occur simultaneously to ensure the synergy of combined arms
               (asterisks [*] denote steps that occur simultaneously). The platoon leader integrates
               these steps within the TLP and the IPOE (see chapter 2 for additional information).
               Beginning with evaluation of mission variables of METT-TC (I), the development
               process—
                          Identifies likely enemy avenues of approach.
                          Determines most likely enemy COA.
                          Determines where to kill the enemy.
                          Positions subordinate forces and weapon systems.*
                          Plans and integrates obstacles.*
                          Plans and integrates fires.*
                          Rehearses the execution of operations in the engagement area.

        IDENTIFY LIKELY ENEMY AVENUES OF APPROACH
               5-210. This step begins during the IPOE (see paragraph 2-4) and creating the platoon
               graphic terrain analysis overlay (GTAO), see paragraph 2-67, that is similar to the

        5-72                                         ATP 3-21.8




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            modified combined obstacle overlay (MCOO) prepared by the battalion intelligence
            staff officer (S-2) (see paragraph 2-6). Identifying avenues of approach (see
            paragraph 5-1) is important because all COAs that involve maneuver depend on
            available avenues of approach. During defensive operations, it is important to identify
            avenues of approach that support threat offensive capabilities when identifying the most
            likely enemy COA. See paragraphs 2-63 to 2-66 for information on the classification of
            severely restricted terrain, restricted terrain, and unrestricted terrain, reference the
            MCOO. Results of IPOE are validated during leader’s reconnaissance and preparation
            of the defense.

              Note. The primary analytic tools used to aid in determining the effects specific
              to terrain, are the MCOO and the terrain effects matrix. The company
              commander expands upon the products received from the battalion to further
              identify the enemy avenues of approach.


            5-211. Avenues of approach consist of a series of mobility corridors (see
            paragraph 5-1) through which a maneuvering force must pass to reach its objective. (See
            figure 5-20 on page 5-74.) Avenues of approach must provide ease of movement and
            enough width for dispersion of a force large enough to affect the outcome of the
            operation significantly. Avenues of approach are developed by identifying, categorizing,
            and grouping mobility corridors and evaluating avenues of approach. Additional
            procedures and considerations when identifying the enemy’s likely avenues of approach
            include:
                       Conducting initial reconnaissance. If possible, do this from the enemy’s
                       perspective along each avenue of approach into the AO or engagement area.
                       Identifying key terrain—is an identifiable characteristic whose seizure or
                       retention affords a marked advantage to either combatant (ADP 3-90) and
                       decisive terrain—key terrain whose seizure and retention is mandatory for
                       successful mission accomplishment (ADP 3-90). This includes locations
                       affording positions of advantage over the enemy, as well as natural obstacles
                       and choke points restricting forward movement.
                       Determining which avenues provide cover and concealment for the enemy
                       while allowing the enemy to maintain its tempo.
                       Determining what terrain, the enemy is likely to use to support each avenue.
                       Evaluating lateral routes adjoining each avenue of approach.




                                               ATP 3-21.8                                     5-73




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                            Figure 5-20. Likely enemy avenues of approach


        IDENTIFY MOST LIKELY ENEMY COURSE OF ACTION
               5-212. This step is completed after step 4 (determine threat COAs) of the IPOE process
               (see paragraph 2-4) identifies and describes threat COAs that can influence the platoon’s
               AO and area of interest. Outputs from the S-2 cell during step 4 includes situation
               templates (known as SITEMPs) and COA statements for each COA. Procedures and
               considerations in determining the enemy’s most likely COA (enemy scheme of
               maneuver) include:
                          Determining how the enemy will structure the attack.
                          Determining how the enemy will use reconnaissance and surveillance assets.
                          Will the enemy attempt to infiltrate friendly positions?
                          Determining where and when the enemy will change formations and establish
                          support by fire positions.
                          Determining where, when, and how the enemy will conduct the assault or
                          breaching operations.
                          Determining where and when the enemy will commit follow-on forces.
                          Determining the enemy’s expected rates of movement.

        5-74                                        ATP 3-21.8




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                       Assessing the effects of enemy combat multipliers and anticipated
                       locations/areas of employment.
                       Determining what reactions, the enemy is likely to have in response to
                       projected friendly actions.

         DETERMINE WHERE TO KILL THE ENEMY
            5-213. Generally, leaders at the platoon level decide where to kill the enemy within an
            engagement area assigned by a higher headquarters; however, leaders at the platoon
            level must assess the best place to kill the enemy within the assigned AO by
            understanding the terrain effects and the enemy they will face.
            5-214. An analysis of the terrain, enemy scheme of maneuver and avenues of approach
            enables the platoon leader to understand how the enemy will enter, and flow through the
            platoon’s AO. Within the engagement area (either assigned or identified) the platoon
            leader determines through this analysis where exactly to mass fires. For example, is it
            where the enemy stops to cross a stream; is it where the terrain forces the enemy to cross
            in front of the platoon laterally giving it a flank shot; is it where the platoon can fire at
            a point where it can achieve enfilade fires; or is a chokepoint where the platoon can drop
            a wire obstacle to create a place to mass fires on a stationary enemy? Only after this
            analysis can the platoon leader accurately identify the most advantageous places to
            concentrate fires within the engagement area and then identify TRPs to focus, distribute,
            and shift fires within those places.
            5-215. The following steps apply in identifying and marking where the enemy
            engagement (see figure 5-21 on page 5-76) is to occur:
                     Identify TRPs matching the enemy’s scheme of maneuver allowing the
                     Infantry platoon and squad to identify where it will engage enemy forces
                     through the depth of the AO.
                     Identify and record the exact location of each TRP.
                     In marking TRPs, use thermal sights to ensure visibility at the appropriate
                     range under varying conditions, including daylight and limited visibility
                     (darkness, smoke, dust, or other obscurants).
                     Determine how many weapon systems will focus fires on each TRP to
                     achieve the desired end state.
                     Determine which element will mass fires on each TRP.
                     Establish engagement areas around TRPs.
                     Develop the direct fire planning measures necessary to focus fires at each
                     TRP.




                                                 ATP 3-21.8                                       5-75




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                                   Figure 5-21. Locations to kill enemy


        POSITION SUBORDINATE FORCES AND WEAPON SYSTEMS
               5-216. The platoon leader does not normally position subordinate forces and weapon
               systems before completing steps 1, 2, and 3 of engagement area development. With an
               understanding of how the enemy will move through the engagement area, the optimal
               places to kill enemy forces within the engagement area, and tentative TRPs designated,
               the platoon leader plans where to emplace machine guns, antitank (AT) missiles, and
               squad battle positions to most effectively cover those places with direct fires. The
               platoon leader plans the use of primary and secondary sectors of fire, primary and
               alternate, subsequent and supplementary battle positions, and direct fire control
               measures to enable the platoon to focus, shift, and distribute direct fires throughout the
               EA. Additionally, emplacement of forces and weapon systems needs to support the
               desired obstacle effect to maximize the effectiveness of the engagement area. The
               following steps apply in selecting and improving battle positions and emplacing the
               Infantry platoon and squads, antiarmor weapon systems, crew-served weapon systems,
               vehicles (when attached), and individual fighting positions (see figure 5-22 on
               page 5-78):


        5-76                                        ATP 3-21.8




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                     Position key weapons systems first; ensure they can observe likely target
                     locations.
                     Select tentative platoon/squad battle positions capable of massing fires in
                     likely target locations; ensure they can observe tentative TRPs from the prone
                     position.

              Note. When possible, select battle positions while moving in the engagement
              area. Using the enemy’s perspective enables the Infantry leader to assess
              survivability of positions.

                     Conduct a leader’s reconnaissance of tentative battle positions.
                     Move along the avenue of approach into the engagement area (when possible)
                     to confirm selected positions are tactically advantageous.
                     Confirm and mark the selected battle positions.
                     Ensure battle positions do not conflict with those of adjacent units and are
                     tied in with adjacent positions.
                     Select primary, alternate, and supplementary fighting positions to achieve the
                     desired effect for each TRP.
                     Ensure leaders position weapon systems so each TRP is covered by the
                     required number of weapon systems and squads.
                     Stake weapons system positions and vehicles (when attached) according to
                     unit SOPs so engineers can dig in the positions.
                     Confirm all weapons system positions.
                     When established, mark and rehearse route(s) and trigger(s) for the defending
                     force to move from its hide position(s) (concealed from enemy observation)
                     to its OP(s) and/or battle position(s).




                                              ATP 3-21.8                                     5-77




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                   Figure 5-22. Position subordinate forces and weapon systems


        PLAN AND INTEGRATE OBSTACLES
               5-217. The platoon leader, as directed by the company commander, with the assistance
               of the engineer leader (when attached) determine an obstacle’s intent relative to its
               location, and effect to block, disrupt, fix, or turn attacking enemy forces into planned
               engagement areas. Countermobility planning includes the positioning of protective
               obstacles to prevent the enemy from closing with defensive battle positions, and
               integrating mines, wire, indirect fires, and direct fires in conjunction with placement.


        5-78                                       ATP 3-21.8




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            The following apply in planning and integrating obstacles (see figure 5-23 on page 5-80)
            during defensive missions:
                      Platoon leader must understand what obstacle effort the platoon has been
                      tasked to emplace by higher headquarters, whether an obstacle group or a
                      specific directed obstacle. This will take priority.
                      Obstacle effort is time-intensive; platoons must immediately start emplacing
                      obstacles. This may mean emplacing lower priority obstacles first while
                      higher priority obstacles are still being planned.
                      Obstacles shape the engagement area by achieving specific effects: denying
                      enemy access to terrain (block), forcing the enemy to change direction (turn),
                      significantly delaying their movement (fix), or limiting their ability to move
                      freely or maintain their movement formations (disrupt).
                          Block is an obstacle effect that integrates fire planning and obstacle effort
                          to stop an attacker along a specific avenue of approach or prevent the
                          attacking force from passing through an engagement area (FM 3-90).
                          Turn is an obstacle effect that integrates fire planning and obstacle effort
                          to divert an enemy formation from one avenue of approach to an adjacent
                          avenue of approach or into an engagement area (FM 3-90).
                          Fix is an obstacle effect that focuses fire planning and obstacle effort to
                          slow an attacker’s movement within a specified area, normally an
                          engagement area (FM 3-90).
                          Disrupt is an obstacle effect that focuses fire planning and obstacle effort
                          to cause the enemy to break up its formation and tempo, interrupt its
                          timetable, commit breaching assets prematurely, and attack in a
                          piecemeal effort (FM 3-90).
                      Protective obstacles are positioned close to friendly unit positions to disrupt
                      an enemy assault.
                      Tactical wire obstacles support the defensive scheme, for instance by running
                      along a machine gun FPL.
                      Determine the obstacle or obstacle groups’ intent with the engineer platoon
                      leader confirming the target, relative location, and effect. Ensure intent
                      supports the commander’s scheme of maneuver.
                      In conjunction with the engineer platoon leader, identify, site, and mark the
                      obstacles within the obstacle group, tie reinforcing obstacles into natural
                      obstacles.
                      Ensure coverage of all obstacles with observation and direct and/or indirect
                      fires. Ensure squads can observe and fire on obstacles but also on the terrain
                      the enemy will use when making contact with those obstacles.
                      Assign responsibility for guides and lane closure as required.
                      According to METT-TC (I), assist engineer platoons in emplacing obstacles,
                      securing Class IV/V point, and securing obstacle work sites.
                      Coordinate engineer disengagement criteria, actions on contact, and security
                      requirements with the engineer platoon leader at the obstacle work site.
                      Assess what effect the obstacle will have on the enemy.

                                                ATP 3-21.8                                      5-79




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                         Understand resources required to construct each obstacle effect based off the
                         enemy they are facing.
                         Understand how the terrain supports the obstacle effect, examples include
                         block, disrupt, fix, and turn.




                          Figure 5-23. Plans for and integration of obstacles


        PLAN AND INTEGRATE FIRES
               5-218. The platoon leader, as directed by the company commander and with the
               assistance of the fire support officer, determines the purpose of fires and where that

        5-80                                      ATP 3-21.8




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            purpose is best achieved. This plan provides the most effective fires (specifically direct
            and indirect fires) resources and mitigate the risk of fratricide as the attacking enemy
            nears the designated engagement areas while supporting air assets conduct army aviation
            and close air support (CAS) attacks. The following apply in planning and integrating
            fires (see figure 5-24 on page 5-82):
                        Determine the purpose of fires.
                        Determine where purpose will best be achieved.
                        Establish the observation plan that includes—
                            Redundancy for each target.
                            Observers who will include the FIST, as well as members of maneuver
                            elements with direct fire support execution responsibilities.
                        Establish triggers based on enemy movement rates.
                        Obtain accurate target locations using organic target location devices or
                        survey/navigational equipment.
                        Refine target locations to ensure coverage of obstacles.
                        Plan final protection fire.
                        Request critical friendly zone for protection of maneuver elements and
                        no-fire areas for protection of observation posts and forward positions.
                        When able, leaders walk the terrain with their FOs to ensure the observers
                        can fire targets at pre-planned triggers. This also ensures the observers can
                        provide bottom-up refinement through the fires planning process.

              Note. Leaders at the platoon level provide bottom-up refinement on the
              effectiveness of the higher fire support plan. Leaders at the platoon level have a
              better appreciation of the terrain within the engagement area because of their
              proximity to the engagement area.




                                                ATP 3-21.8                                      5-81




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                             Figure 5-24. Plans for and integration of fires


        REHEARSALS
               5-219. The purpose of rehearsals is to ensure every leader and Soldier understands the
               plan and elements are prepared to cover their assigned areas with direct and indirect
               fires. The rehearsal should cover—
                           Rearward passage of security forces (as required).
                           Closure of lanes (as required).
                           Movement from the hide position (when used) to the battle position.


        5-82                                      ATP 3-21.8




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                       Use of fire commands, triggers, and maximum engagement lines to initiate
                       direct and indirect fires.
                       Shifting of fires to refocus and redistribute fire effects.
                       Disengagement criteria.
                       Identification of displacement routes and times.
                       Preparation and transmission of critical reports using radio and digital
                       systems, as applicable.
                       Assessment of the effects of enemy weapon systems.
                       Displacement to alternate, supplementary, or subsequent battle positions.
                       Cross leveling or resupply of Class V.
                       CASEVAC and MEDEVAC procedures.
                       Evacuation of casualties.
                       Friendly passage of lines or reducing own obstacles to counterattack or
                       pursue enemy.
            5-220. The platoon leader should coordinate rehearsals with higher headquarters to
            ensure there are no conflicts with other units. Coordination leads to efficient use of
            planning and preparation time for all units involved with the operation. It eliminates
            dangers of misidentifying friendly forces in the rehearsal area, which could result in
            fratricide.

           SECTION VI – FIGHTING POSITION CONSTRUCTION
            5-221. Whether the defending unit is in a defensive perimeter or on a deliberate
            ambush line, the unit seeks cover from fire and concealment from observation. From the
            time the unit prepares and occupies a fighting position, the unit continues to improve its
            positions. How far the unit gets depends on how much time it has, regardless of whether
            it is a hasty position or a well-prepared one with OHC.

         CHARACTERISTICS OF A FIGHTING POSITION
            5-222. Defending units occupying immediately establish hasty fighting positions and
            designate sectors of fire. Depending on time available, units continue to improve their
            positions through depth and adding frontal, flank, rear, and OHC.

         LEADER RESPONSIBILITIES
            5-223. Leaders ensure assigned fighting positions enable Soldiers to engage the enemy
            within the Soldiers’ assigned sector of fire to the maximum effective range of the
            Soldiers’ weapon (terrain dependent) with grazing fire and minimal dead space. Leader
            responsibilities include:
                       Protect Soldiers.
                       Plan and select fighting position sites.
                       Provide materials.
                       Supervise construction.

                                                ATP 3-21.8                                      5-83




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                          Inspect periodically.
                          Request technical advice from engineers as required.
                          Improve and maintain unit survivability continuously.
                          Determine if need to build up or build down OHC.

        SECTORS OF FIRE AND WEAPONS EMPLACEMENT
               5-224. Though fighting positions provide maximum protection for Soldiers within the
               fighting position, the primary consideration is always given to sectors of fire and
               effective weapons employment. Weapon systems are sited where natural or existing
               positions are available, or where terrain will provide the most protection while
               maintaining the ability to engage the enemy. To maximize the capabilities of a weapon
               system, always consider the best use of available terrain and how to modify it to provide
               the best sectors of fire.

        COVER
               5-225. The inclusion of natural cover afforded by the terrain enhances protection.
               Cover protects against small arms fire and indirect fire fragments. The different types of
               cover, frontal, flank, rear, and OHC, are used to make fighting positions. Positions are
               connected by tunnels and trenches to move between positions for engagements or
               resupply, while remaining protected. Natural covers such as rocks, trees, logs, and
               rubble are best, because it is hard for the enemy to detect. When natural cover is
               unavailable, use dirt removed from the hole to construct the fighting position. Improve
               the effectiveness of dirt as a cover by putting it in sandbags. Fill sandbags only three
               quarters full to alleviate gaps in the cover.

        CONCEALMENT
               5-226. Concealment hides the position from enemy detection. When a position can be
               detected, it can be hit by enemy fire. Natural, undisturbed concealment is better than
               man-made concealment. When digging a position, Soldiers try not to disturb the natural
               concealment around the position. Unused dirt (not used for front, flank, or rear cover
               which must be concealed) from the hole is placed behind the position and camouflage.
               Natural, undisturbed concealment material that does not have to be replaced (rocks, logs,
               live bushes, and grass) is best, but avoid using so much camouflage that the position
               looks different from its surroundings. Man-made concealment must blend with its
               surroundings so that is cannot be detected and must be replaced if it changes color or
               dries out. Protection through concealment requires the position to be undetectable from
               a minimum distance of at least 35 meters.

        PRIORITY OF WORK
               5-227. Leaders establish priorities of work that may include but is not limited to
               posting local security, preparing appropriate fighting positions for all weapon systems,
               assigning sectors of fire, emplacing antiarmor assets such as Javelins (or M3 MAAWS)
               and protective obstacles (mines/wire), and rehearsals. Building fighting positions is

        5-84                                        ATP 3-21.8




                                                                                                      OAG006838
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            woven into the defender’s priority of work (see paragraphs 5-149 to 5-160) and is
            directly limited by levels of security established (see paragraphs 5-139 to 5-148), and
            that the platoon leader will develop a plan for any internal or external resources (for
            example, pioneer tools and engineering assets).

              Note. Firing from fighting positions or enclosures is prohibited for the M3
              MAAWS. (See TC 3-22.84 for additional information on ammunition firing
              restrictions.)



         HASTY AND DELIBERATE FIGHTING POSITIONS
            5-228. Fighting positions protect Soldiers by providing cover from direct and indirect
            fires and concealment through positioning and proper camouflage. Because the
            battlefield conditions confronting Soldiers are never standard, no single standard
            fighting position design fits all tactical situations. The two types of fighting position are
            hasty and deliberate. The one constructed depends on time and equipment available, and
            the required level of protection. Fighting positions are designed and constructed to
            protect the individual Soldier and the Soldier’s weapons system.

         HASTY FIGHTING POSITION
            5-229. Hasty fighting positions, used when there is little time for preparation, should
            be behind whatever cover is available. However, the term hasty does not mean that there
            is no digging. If a natural hole or ditch is available, use it. This position should give
            frontal cover from enemy direct fire but allow firing to the front and the oblique. When
            there is little or no natural cover, hasty positions provide as much protection as possible.
            5-230. A shell crater, which is 2 to 3 feet (0.61 to 1 meter) wide, offers immediate
            cover (except for overhead) and concealment. Digging a steep face on the side toward
            the enemy creates a hasty fighting position. A small crater position in a suitable location
            can later develop into a deliberate position.
            5-231. A skirmisher’s trench is a shallow position that provides a hasty prone fighting
            position. When immediate need for shelter from enemy fire, and there are no defilade
            firing positions available, lie prone or on the side, scrape the soil with an entrenching
            tool, and pile the soil in a low parapet (wall) between the body and the enemy. To form
            a shallow, body-length pit quickly, use this technique in all but the hardest ground.
            Orient the trench so it is oblique to enemy fire. This keeps the silhouette low and offers
            some protection from small-caliber fire.
            5-232. The prone position is a further refinement of the skirmisher’s trench. It serves
            as a good firing position and provides better protection against the direct fire weapons
            than the crater position or the skirmisher’s trench. The position should be about
            18 inches deep and use the dirt from the hole to build cover around the edge of the
            position (see figure 5-25 on page 5-86).



                                                 ATP 3-21.8                                       5-85




                                                                                                    OAG006839
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                                        Figure 5-25. Prone position


        DELIBERATE FIGHTING POSITIONS
               5-233. Deliberate fighting positions are modified hasty positions prepared during
               periods of relaxed enemy pressure. Positions must provide Soldiers protection from
               direct and indirect fires. Soldier construct parapets retaining walls 39 inches (minimum)
               thick (length of M4 rifle [stock extended] or length of M7 rifle [stock extended/without
               suppressor] plus 6 inches) and 10 to 12 inches (length of a bayonet) to the front, flank,
               and rear. Whether building up, or building down, OHC should be a minimum of
               18 inches thick (length of an extended entrenching tool) to protect against overhead
               burst. Leaders identify requirements for additional OHC based on threat capabilities.

                 Note. The following fighting position dimensions use the M4 rifle (or M7 rifle
                 when fielded [stock extended/without suppressor]) with an approximant length
                 of 33 inches/stock extended.


        Two-Soldier Fighting Position with Built-Up Overhead Cover
               5-234. Soldiers prepare a two-Soldier position in four stages. Leaders inspect the
               position at each stage before the Soldier moves to the next stage.

        Stage 1 – Establish Sectors and Decide Whether to Build Overhead Cover Up or Down
        (H+0 to H+.5 Hours)
               5-235. Leaders establish sectors of fire (see figure 5-26) and decide whether to build
               OHC up or down. Leaders consider the mission variables of METT-TC (I) to decide on
               the most appropriate fighting position to construct. For example, due to more open
               terrain the leader may decide to use built-down OHC.




        5-86                                        ATP 3-21.8




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                                                                                               Defense




               Figure 5-26. Establishment of sectors of fire and building method

             5-236. Leader’s checklist—
                      Site position:
                          Check fields of fire from prone.
                          Assign sectors of fire (primary and secondary).
                          Emplace aiming and limiting stakes.
                          Emplace grazing fire logs or sandbags.
                          Decide whether to build OHC up or down, based on potential enemy
                          observation of position.
                      Prepare:
                          Scoop out elbow holes.
                          Trace position outline.
                          Clear primary and secondary fields of fire.
                      Inspect:
                          Site location tactically sound.
                          Low profile maintained.
                          OHC material requirements identified according to paragraphs 5-260 to
                          5-266.

         Stage 2 – Place Supports for Overhead Cover Stringers and Construct Parapet Retaining
         Walls (H+.5 to H+1.5 Hours)
             5-237. During stage 2, Soldiers place supports for OHC stringers and construct parapet
             retaining walls. Stringers are long horizontal timbers, beams, poles, or pickets to support
             the roof (see table 5-6 on page 5-94). The parapet retaining wall supports the stringers
             and protects the front and rear edges of the roof. For an example, see figure 5-27 on
             page 5-88.



                                                 ATP 3-21.8                                       5-87




                                                                                                   OAG006841
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           Figure 5-27. Placement of overhead cover supports and construction of
                                       retaining walls

               5-238. Leader’s checklist—
                        Prepare:
                           OHC supports to front and rear of position:
                        1. Ensure at least 1 foot (about 1 helmet length) or 1/4 cut, whichever is
                            greater, distance from the edge of the hole to the beginning of the
                            supports needed for the OHC.
                        2. If logs or cut timber are used, secure in place with strong stakes about 2
                            to 3 inches in diameter and 18 inches long (short U-shaped picket will
                            work).
                        3. Dig in stringer support (front and rear) about 1/2 the height.
                           Front retaining wall–at least 10 inches high (2 filled sandbags in-depth)
                           and approximately 2 and 1/3 M4s/M7s long.
                           Rear retaining walls–at least 10 inches high and 1 and 1/3 M4s/M7s long.
                           Flank retaining walls:
                        1. At least 10 inches high and 1 and 1/3 M4s/M7s long.
                        2. Start digging hole; use soil to fill sandbags for walls.
                        Inspect preparations:
                           Setback for OHC supports–minimum of 1 foot or 1/4 depth of cut.
                           Front retaining wall–at least 10 inches high (2 filled sandbags in-depth)
                           and approximately 2 and 1/3 M4s/M7s long.
                           Rear retaining walls–at least 10 inches high and 1 and1/3 M4s/M7s long.
                           Flank retaining walls–at least 10 inches high and 1 and 1/3 M4s/M7s long.

        5-88                                      ATP 3-21.8




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                                                                                              Defense



         Stage 3 – Dig Position, Build Parapets, and Place Stringers for Overhead Cover (H+1.5
         to H+6 Hours)
             5-239. During stage 3, Soldiers dig position, build parapets, and place stringers. For an
             example, see figure 5-28.




                            Figure 5-28. Dig position and build supports

             5-240. Leader’s checklist—
                      Prepare:
                         Dig position:
                      1. Maximum depth is armpit deep (if soil condition permits).
                      2. Use spoil from hole to fill parapets in order of front, flanks, and rear.
                      3. Dig two grenade sumps in the floor (one on each end). If the enemy
                          throws a grenade into the hole, kick or throw it into one of the sumps.
                          The sump will absorb most of the blast. The rest of the blast will be
                          directed straight up and out of the hole. Dig the grenade sumps as wide
                          as the entrenching tool blade; at least as deep as an entrenching tool and
                          as long as the position floor is wide (see figure 5-29 on page 5-90).
                      4. Dig a storage compartment in the bottom of the back wall; the size of the
                          compartment depends on the amount of equipment and ammunition to
                          be stored (see figure 5-30 on page 5-90).




                                                 ATP 3-21.8                                     5-89




                                                                                                 OAG006843
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                          Figure 5-29. Grenade sumps




                        Figure 5-30. Storage compartment



        5-90                        ATP 3-21.8




                                                                OAG006844
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                   5.  Dig walls vertically.
                   6.  If site soil properties cause unstable soil conditions, construct
                       revetments, and consider sloping walls.
                   7. Sloped walls: First dig vertical hole and then slope walls at a 1:4 ratio
                       (move 1 foot horizontally for each 4 feet vertically).
                      Install revetments to prevent wall collapse and/or cave-in:
                   1. Required in unstable soil conditions.
                   2. Use plywood or sheeting material and pickets to revet walls.
                   3. Tie back pickets and/or posts.
                      Place OHC stringers (see figure 5-31, reference paragraph 5-261):
                   1. Stringer: 2 inches x 4 inches, 4 inches x 4 inches, or pickets (U-facing
                       down).
                   2. Standard OHC stringer length 8 feet (allows for length if sloping of walls
                       occurs).
                   3. L equals stringer length and H equals stringer spacing.
                   4. Second layer of sandbags in front and rear retaining walls removed to
                       place stringers. Replace these sandbags on top of stringers once stringers
                       are properly positioned.
                   Inspect:
                      Stringers firmly rest on structural support.
                      Stringer spacing based on values found on paragraph 5-261.
                      Lateral bracing placed between stringers at OHC supports.
                      Revetments built in unstable soil to prevent wall cave-in; walls sloped if
                      needed.




                        Figure 5-31. Build parapets and place stringers



                                            ATP 3-21.8                                     5-91




                                                                                            OAG006845
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        Stage 4 – Install Overhead Cover and Camouflage (H+6 to H+11 Hours)
               5-241. During stage 4, Soldiers install OHC and camouflage (they continue to
               re-camouflage throughout occupation as required) their position. See figure 5-32.




                              Figure 5-32. Install built-up overheard cover

               5-242. Leader’s checklist—
                        Prepare:
                           Install OHC:
                        1. Use plywood, sheeting mat, or fighting position cover for dustproof layer
                            (could be boxes, plastic panel, interlocked U-shaped pickets. Standard
                            dustproof layer is 4 feet by 4 feet sheets of 3/4-inch plywood centered
                            over dug position.
                        2. Nail plywood dustproof layer to stringers.
                        3. Use minimum of 18 inches of sand-filled sandbags for overhead burst
                            protection (4 layers). As a minimum, these sandbags must cover an area
                            that extends to the sandbags used for the front and rear retaining walls.
                        4. Use plastic or a poncho for waterproofing layer.


        5-92                                      ATP 3-21.8




                                                                                                  OAG006846
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                                                                                         Defense



                      5.  Fill center cavity with soil dug from hole and surrounding soil (see
                          figure 5-33).
                         Camouflage position—use surrounding topsoil and camouflage screen
                         systems.
                      Inspect:
                         Dustproof layer-plywood or panels.
                         Sandbags filled 75 percent capacity.
                         Burst layer of filled sandbags at least 18 inches deep.
                         Waterproof layer in place.
                         Camouflage in place.
                         Position undetectable at 35 meters.
                         Soil used to form parapets, used to fill cavity, or spread to blend with
                         surrounding ground.




            Figure 5-33. Two-Soldier fighting position with built-up overhead cover

            5-243. Table 5-6 on page 5-94 lists a summary of considerations for the construction
            of a deliberate fighting position.




                                              ATP 3-21.8                                   5-93




                                                                                            OAG006847
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                                Table 5-6. Considerations for construction


          Construct to standard.                                Fail to supervise.
          Ensure adequate material is available.                Use sand for structural support.
          Dig down as much as possible.                         Use sandbags for structural support of a
                                                                position.
          Maintain, repair, and improve positions               Overfill sandbags.
          continuously.
          Inspect and test position safety daily, after         Put Soldiers in marginally safe positions.
          heavy rain, and after receiving direct and
          indirect fires.
          Revet walls in unstable and sandy soil.               Take short cuts.
          Revet walls if staying in positions for extended      Build above ground unless necessary.
          time.
          Interlock sandbags for double wall construction       Forget lateral bracing on stringers.
          and corners.
          Check stabilization of wall bases.                    Forget to camouflage.
          Fill sandbags about 75 percent.                       Drive vehicles within 6 feet.
          Use common sense.
          Use soil to fill sandbags, fill overhead cover
          cavity, or spread to blend with surroundings.


        Two-Soldier Fighting Position with Built-Down Overhead Cover
               5-244. A two-Soldier fighting position with built-down OHC lowers the profile of the
               fighting position (see figure 5-34), which aids in avoiding detection. Leader’s checklist
               remains the same as stated previously for a built-up OHC fighting position. However,
               there are three major differences and/or concerns as stated in paragraphs 5-245 through
               5-247.
               5-245. Maximum height. The maximum height above ground for a built-down OHC
               should not exceed 12 inches. Parapets may be used up to a maximum height of 12 inches.
               Leaders must ensure that Soldiers taper OHC portions and parapets above ground
               surface to conform to the natural lay of the ground.
               5-246. Adequate fighting space. The position is a minimum of 3 and 1/2 M4s/M7s in
               length. This provides Soldiers adequate fighting space between the end walls of the
               fighting position and the built-down OHC. This requires an additional 2.5 hours to dig.
               5-247. Firing platform construction. When firing, Soldiers must construct a firing
               platform in the natural terrain upon which to rest their elbows. They position the firing
               platform to allow the use of the natural ground surface as a grazing fire platform.




        5-94                                              ATP 3-21.8




                                                                                                             OAG006848
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          Figure 5-34. Two-Soldier fighting position with built-down overhead cover
                                       (overhead view)

            5-248. Figure 5-35 on page 5-96 view A depicts a fighting position in which no
            parapets are used, and the OHC is flush with the existing ground surface. View B depicts
            a Soldier utilizing a firing platform.




                                               ATP 3-21.8                                     5-95




                                                                                               OAG006849
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          Figure 5-35. Two-Soldier fighting position with built-down overhead cover
                                          (side view)


        One-Soldier Fighting Position
               5-249. When a one-Soldier fighting position is required, (for example, for an
               ammunition bearer in a machine gun team), except for its size, a one-Soldier position is
               built the same way as a two-Soldier fighting position. The hole of a one-Soldier position
               is only large enough for the Soldier and personal equipment. The one-Soldier fighting
               position does not have the security of a two-Soldier position; therefore, it must allow a
               Soldier to shoot to the front or oblique from behind frontal cover.

        Machine Gun Fighting Position
               5-250. Machine gun fighting positions are usually positioned on a flank, so the gun’s
               designated FPL lies obliquely to the position, firing across the platoon’s front (see
               figure 5-36). When terrain does not support an FPL, the gun is laid on a PDF. A PDF or
               FPL is always the primary sector of fire and is fired from the tripod. To establish the
               orientation of the machine gun fighting position, the crew first positions the tripod on
               the designated PDF or FPL and then identifies the secondary sector of fire. The fighting
               position is then built around these two points.


        5-96                                        ATP 3-21.8




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            5-251. Two Soldiers (gunner and assistant gunner) are required to work the weapon
            system. Therefore, the hole is shaped so both the gunner and assistant gunner can get to
            the gun and fire it from either side of the frontal protection. The gun’s height is reduced
            by digging the tripod platform down as much as possible. However, the platform is dug
            to keep the gun traversable across the entire sector of fire. The tripod is used on the side
            with the primary sector of fire, and the bipod legs are used on the side with the secondary
            sector. When changing from primary to secondary sectors, the machine gun is moved
            but the tripod stays in place. When a machine gun has only one sector of fire, the team
            digs only half of the position.
            5-252. With a three-Soldier crew for a machine gun, the (ammunition bearer) digs a
            one-Soldier fighting position (see paragraph 5-249) to the flank. From this position, the
            Soldier can see and shoot to the front and oblique. Usually, the one-Soldier position is
            on the same side of the machine gun as its FPL or PDF. From that position, the Soldier
            can observe and fire into the machine gun’s secondary sector and, at the same time, see
            the gunner and assistant gunner. The ammunition bearer’s position is connected to the
            machine gun position by a crawl trench so that the ammunition bearer can bring
            ammunition to the gun or replace the gunner or the assistant gunner.




                Figure 5-36. Machine gun fighting position with firing platforms




                                                 ATP 3-21.8                                      5-97




                                                                                                   OAG006851
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        Stage 1 – Establish Sectors (Primary and Secondary) and Outline Position (H+0 to H+.5
        Hours)
               5-253. Leader’s checklist—
                        Site position:
                            Check fields of fire from prone.
                            Assign sectors of fire (primary and secondary) and FPL or PDF.
                            Emplace aiming stakes.
                            Emplace grazing fire logs or sandbags.
                            Decide whether to build OHC up or down based on potential enemy
                            observation of position.
                        Prepare:
                            Mark position of the tripod legs where the gun can be laid on the FPL or
                            PDF.
                            Trace position outline to include location of two distinct firing platforms.
                            Clear primary and secondary fields of fire.
                        Inspect:
                            Site location tactically sound.
                            Low profile maintained.
                            OHC material requirements identified according to paragraphs 5-261 to
                            5-265.

        Stage 2 – Dig Firing Platforms and/or Place Supports for Overhead Cover Stringer
        and/or Construct Parapet Retaining Walls (H + .5 to H + 1.0 Hours)
               5-254. Leader’s checklist—
                        Prepare:
                           OHC supports to front and rear of position-OHC centered in position and
                           supports placed according to steps established for stage 2 of the
                           two-Soldier fighting position.
                           Rear retaining walls–Construction steps same as those established for
                           stage 2 of the two-Soldier fighting position.
                           Start digging hole:
                        1. First dig firing platforms 6 to 8 inches deep and then position machine
                            gun to cover primary sector of fire.
                        2. Use soil to fill sandbags for walls.
                        Inspect:
                           Setback for OHC supports–minimum of 1 foot or 1/4 depth of cut.
                           Dig firing platforms to a depth of 6 to 8 inches.
                           Before moving to stage 3, position the machine gun to cover sector of fire.
                           Ensure machine gun can traverse sector freely.




        5-98                                        ATP 3-21.8




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         Stage 3 – Dig Position, Build Parapets, and Place Stringers for Overhead Cover (H+1.0
         to H+7 Hours)
             5-255. Leader’s checklist—
                      Prepare:
                         Dig position:
                      1. Complete digging the position to a maximum depth if armpit deep
                          around the firing platforms.
                      2. Use soil from hole to fill parapets in order of front, flanks, and rear.
                      3. Dig grenade sumps and slope floor toward them.
                         Install revetments to prevent wall collapse and/or cave-in if needed–
                         follow same steps established for two-Soldier fighting position.
                         Place OHC stringers (see figure 5-31 on page 5-91, reference
                         paragraph 5-240):
                      1. Follow same steps established for two-Soldier fighting position.
                      2. Minimum stringer length is 8 feet.
                      Inspect:
                         Depth of cut is at least armpit deep (if soil conditions permit).
                         If unstable soil conditions exist, then revet walls.
                         Stringers firmly rest on structural support.
                         Lateral bracing of stringers placed between stringers at OHC supports.

         Stage 4 – Install Overhead Cover and Camouflage (H+7 to H+12 Hours)
             5-256. Leader’s checklist—
                      Prepare:
                         Install OHC—for a machine gun position that is built the same as OHC
                         for a two-Soldier fighting position.
                         Camouflage position:
                      1. Use surrounding topsoil and camouflage screen systems.
                      2. Ensure no enemy observation within 35 meters of position.
                      3. Use soil from hole to fill sandbags, OHC cavity, or spread to blend in
                          with the surrounding ground.
                      Inspect:
                         Dustproof layer—plywood or panels.
                         Sandbags filled 75 percent capacity.
                         Burst layer of filled sandbags at least 18-inches deep.
                         Waterproof layer in place.
                         Camouflage in place.
                         Position undetectable at 35 meters.
                         Soil used to form parapets, used to fill cavity, or spread to blend with
                         surrounding ground.


                                               ATP 3-21.8                                  5-99




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        Close-Combat Missile Fighting Position
            5-257. The CCMS available to the Infantry rifle platoon is the Javelin Missile System
            (medium). The organization of Javelin CCMSs within the Infantry rifle platoon includes
            two Javelins teams within each Infantry weapons squad of the platoon. The AT4 CCMS
            system is available within each Infantry rifle squad. Paragraphs 5-258 and 5-259 discuss
            close combat missile fighting positions for the AT4 and Javelin.

        AT4 Position
            5-258. The AT4 is fired from any of the previously described fighting positions.
            However, all Soldiers must be alert to the hazards posed by backblast, particularly in
            terms of positioning fighting positions in depth, when firing from a two-Soldier position,
            or the risk of backblast deflection from walls, parapets, large trees, or other objects to
            the rear of the weapon. The front edge of a fighting position is a good elbow rest to help
            the Soldier steady the weapon and gain accuracy. Stability is better if the body is leaning
            against the position’s front or sidewall.

        Standard Javelin Fighting Position with Overhead Cover
            5-259. The standard Javelin fighting position has cover to protect Soldiers from direct
            and indirect fires (see figure 5-37). The position is prepared the same as the two-Soldier
            fighting position with two additional steps. First, the back wall of the position is
            extended and sloped rearward, which serves as storage area. Secondly, the front and side
            parapets are extended twice the length as the dimensions of the two-Soldier fighting
            position with the Javelin’s primary and secondary seated firing platforms added to both
            sides.




        5-100                                    ATP 3-21.8




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                         Figure 5-37. Standard Javelin fighting position

              Note. When a Javelin is fired, the muzzle end extends 6 inches beyond the front
              of the position, and the rear launcher extends out over the rear of the position. As
              the missile leaves the launcher, stabilizing fins unfold. Soldiers must keep the
              weapon at least 6 inches above the ground when firing to leave room for the fins.
              OHC that would allow firing from beneath it is usually built if the backblast area
              is clear.




                                                ATP 3-21.8                                     5-101




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        CLASS IV MATERIAL REQUIREMENTS FOR STANDARD OVERHEAD COVER
            5-260. The Infantry rifle platoons works within the plan and assigned priorities of work
            to maximize the timely completion of all fighting positions. As the platoon begins
            preparations, the battalion establishes combat and field trains and begins to work the
            defensive logistical concerns that will assist the establishment of the defense, and the
            coordination with company trains to meet the platoon’s Class IV requirements (see
            paragraphs 5-261 to 5-266).

                Note. Typically, each Soldier carries five to seven sandbags which is the starting
                set for building up the position.


            5-261. Lateral supports and stringers:
                     Cut timber:
                         4 inches by 4 inches by 6 feet; Used for supports (need total of 3 each
                         [2 inches front and 1 in rear]).
                         4 inches by 4 inches by 8 feet; Used for stringers (need total of 9).
                     Stringers spaced 6 inches on center.
                     Single U-shaped picket beams:
                         Use pickets or cut timber for supports (6-foot length).
                         If used for supports, need 6 each 6-foot pickets for supports (3 front and
                         3 rear).
                         Need 11 each 8-foot pickets for stringers spaced 5 inches on center; open
                         side facing down.
            5-262. Dustproof layer:
                    One (1) sheet of 3/4- or 1-inch plywood.
                    (4 feet by 4 feet) for two-Soldier position and two sheets (4 feet by 4 feet) for
                    machine gun position.
                    See summary of materials (reference paragraph 5-266) for other materials to
                    be used.
            5-263. Sandbags:
                     Front retaining wall, 12 each.
                     Flank and rear retaining walls, 6 each times 3 equals 18 each.
                     OHC: 76 each sandbag completely covers first layer while next 3 layers form
                     perimeter only. These 3 layers form a cavity to be filled with surrounding soil
                     to meet minimum 18-inch cover. Reference figure 5-32 on page 5-92 to
                     visualize this process. Plan on one 75 percent full sandbag to be 10 inches by
                     15 inches by 5 inches.
                     Position needs (limiting stakes and grazing fire, for example) 10 each.
                     Total sandbags equal 116 each.
            5-264. Waterproofing. Use poncho or plastic sheeting.


        5-102                                     ATP 3-21.8




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                                                                                                   Defense



            5-265. Revetments. 4 feet by 6 feet sheets of plywood and 3 each 6-foot U-shaped
            pickets for each front and rear wall.
            5-266. In a combat situation, the Soldier may need to improvise construction of a
            survivability position by using materials not normally associated with the construction.
            Examples of field-expedient construction materials are listed in table 5-7.
                                     Table 5-7. Field-expedient material


             Sheet metal.                                         55-gallon drums filled with sand.
             Corrugated sheet.                                    Shipping boxes/packing material.
             Plastic sheeting.                                    Expended artillery shells filled with
                                                                  sand.
             Plywood.                                             Prefabricated concrete panels.
             Air mat panels.                                      Prefabricated concrete traffic barriers.
             Air force air load pallets.                          Sand grid material.


             Single pickets.                                      Prefabricated concrete catch basins.
             Double pickets.                                      Military vans.
             Railroad rails.                                      Conex or shipping containers.
             “I” beams.                                           Large diameter pipe/culvert.
             2” (inch)-diameter pipe and larger.                  Steel water tanks.
             Timbers 2 inches by 4 inches, 4 inches by 4          Vehicle hulks.
             inches, and larger.
             Reinforced concrete beams.                           Prefabricated concrete catch basins.
             55-gallon drums cut longitudinally in half.
             Culverts cut in half.
             Precast concrete panels 6 to 8 inches thick.         2-foot pickets.
             Airfield panels.                                     Wooden tent poles.
             Single pickets.


                                                                  2-foot pickets.
                                                                  Wooden tent poles.
                                                                  Filled sandbags.




                                                     ATP 3-21.8                                     5-103




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                                               Chapter 6
            Tactical Enabling Operations and Activities

                As in all operations, Infantry platoons and squads conduct a variety
                of tactical enabling operations—an operation that sets the friendly
                conditions required for mission accomplishment (FM 3-90)—and
                activities in support of offensive and defensive operations. This
                chapter addresses breaching, relief in place, passage of lines, linkup
                tactical deception, security, security operations, and troop
                movement. (See chapter 7 section IV for additional information on
                reconnaissance operations.)

           SECTION I – BREACHING
            6-1. A breach is a tactical mission task in which a unit breaks through or establishes a
            passage through an enemy obstacle (FM 3-90). As a tactical mission task, a breach is an
            action by a friendly force conducted to allow maneuver despite the presence of obstacles.
            During maneuver, the commander attempts to bypass and avoid obstacles and enemy
            defensive positions to the maximum extent possible to maintain tempo and momentum.
            Breaching enemy defenses and obstacle systems is normally the last choice to prevent
            loss of personnel, time, and/or equipment. A breach is a synchronized operation under
            the control of the maneuver commander in contact with the obstacle or enemy defense.
            The breach begins when friendly forces detect an obstacle and begin to apply the
            breaching fundamentals and ends when battle handover has occurred between follow-on
            forces and a unit conducting the breach. See appendix E, Battle Drill–Breach a Mined
            Wire Obstacle for information on the tactical mission task-breach.

              Note. A tactical mission task is the specific activity a unit performs while
              executing a tactical operation or form of maneuver (FM 3-90). A breach as
              defined as a tactical mission task is an action by a friendly force.


            6-2. A breach is a synchronized combined arms activity under the control of the
            maneuver commander conducted to allow maneuver through an obstacle (ATP 3-90.4).
            The breaching tenets (intelligence, breaching fundamentals, breaching organization,
            mass, synchronization) apply when conducting a breach, whether it is a hasty or
            deliberate operation. Breaching activities include the reduction—the creation of lanes
            through a minefield or obstacle to enable passage of the attacking ground force
            (JP 3-15)—of minefields, other explosive hazards, and other obstacles. Breaching at
            battalion and above (and to a lesser degree at company level) require significant combat



                                                ATP 3-21.8                                      6-1




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              engineering support to accomplish. (See ATP 3-21.10 and ATP 3-90.4 for additional
              information.)

        BREACHING FUNDAMENTALS
              6-3. Suppress, obscure, secure, reduce, and assault are the breaching fundamentals
              applied to ensure success when breaching against a defending enemy. These obstacle
              reduction fundamentals will always apply, but they may vary based on the mission
              variables of METT-TC (I) mission, enemy, terrain and weather, troops and support
              available, time available, civil considerations, and informational considerations.

        SUPPRESS
              6-4. Suppression is a tactical task used to employ direct or indirect fires on enemy
              personnel, weapons, or equipment to prevent or degrade enemy fires and observation of
              friendly forces. During breaching operations, the initial purpose of suppression is to
              enable the approach of the breaching force to the obstacle. Then it is to protect, for
              example, the platoon and/or squad reducing and maneuvering through an obstacle.
              Suppression is a mission-critical task performed during breaching operations. Achieving
              suppression is usually the required condition that triggers subsequent breaching actions.
              Fire control measures ensure all fires are synchronized with other actions supporting the
              platoon’s breach of the obstacle. Although suppressing the enemy overwatching the
              obstacle is the mission of the support force, the breach force should always plan to
              provide additional (local) suppression against an enemy the supporting force cannot
              suppress. Effective suppression serves to isolate enemy forces in the breach area—a
              defined area where a breach occurs (ATP 3-90.4). The breach area includes the point of
              breach, reduction area, far side objective, and point of penetration. (See figure 6-1.)




        6-2                                        ATP 3-21.8




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                                       Figure 6-1. Breach area


         OBSCURE
            6-5. Obscuration must be employed to protect forces conducting obstacle reduction
            and passage of assault forces. Obscuration hampers enemy observation and target
            acquisition by concealing friendly activities and movement. Obscuration smoke
            deployed on or near the enemy’s position minimizes its vision. Screening obscurants
            employed between the reduction area—a number of adjacent points of breach that are
            under the control of the breaching commander (ATP 3-90.4)—and the enemy conceals
            movement and reduction activities. It also degrades enemy ground and aerial
            observations. Obscuration must be planned carefully to provide maximum degradation
            of enemy observation and fires, but it must not degrade friendly fires and control
            significantly.

         SECURE
            6-6. Friendly forces secure reduction areas to prevent the enemy from interfering with
            obstacle reduction and the passage of the assault force through lanes created during the
            reduction. Security must be effective against outposts and fighting positions near the
            obstacle and against overwatching units as necessary. The far side of the obstacle must
            be secured by fires or be occupied before attempting efforts to reduce the obstacle. The

                                               ATP 3-21.8                                         6-3




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              attacking unit’s higher headquarters is responsible for isolating the breach area by fixing
              adjacent units, attacking enemy reserves in-depth, and providing counterfire support.
              6-7. Identifying the extent of the enemy’s defenses is critical before selecting the
              appropriate technique to secure the point of breach—the location at an obstacle where
              the creation of a lane is being attempted (ATP 3-90.4). If the enemy controls the point
              of breach and cannot be suppressed adequately, the force must secure the point of breach
              before it can reduce the obstacle.
              6-8. The breach force must be resourced with enough maneuver assets to provide local
              security against the enemy forces the supporting force cannot engage sufficiently.
              Elements within the breach force securing the reduction area also may be used to
              suppress the enemy once reduction is complete. The breach force also may need to
              assault to the far side of the breach and provide local security so the assault element can
              seize its initial objective.

        REDUCE
              6-9. Breaching forces reduce an obstacle to create and mark lanes through, over, or
              around that obstacle to allow the attacking force to accomplish its mission. The number
              and width of lanes created varies with the enemy situation, the assault force’s size,
              composition, and scheme of maneuver. The lanes must allow the assault force to pass
              through the obstacle rapidly. The breach force will reduce, proof (if required), mark, and
              report lane locations and lane-marking method (if changed from the predetermined
              method) to higher command headquarters. Follow-on units will reduce or clear the
              obstacle when required. Reduction cannot be accomplished until suppression and
              obscuration are in place, the obstacle has been identified, and the point of breach is secure.

        ASSAULT
              6-10. The assault force’s primary mission is to seize terrain on the far side of the
              obstacle to prevent the enemy from placing or observing direct and indirect fires on the
              reduction area. If planned, the battle handover with follow-on forces occurs.

        BREACHING ORGANIZATION
              6-11. The platoon leader, when tasked, organizes the platoon to accomplish breaching
              fundamentals quickly and effectively. This generally requires the leader to organize as
              either one or part of the support, breach, or assault force with the necessary assets to
              accomplish its role.




        6-4                                          ATP 3-21.8




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         SUPPORT FORCE
            6-12. The support force’s primary responsibility is to eliminate the enemy’s ability to
            place direct or indirect fire on friendly forces in the reduction area. The support force
            must—
                       Isolate the reduction area with fires and establish a support by fire position to
                       destroy, fix, or suppress the enemy. Depending on METT-TC (I), this may
                       be the weapons squad or the entire platoon.
                       Mass-control direct and indirect fires to suppress the enemy and to neutralize
                       weapons able to bring fires on the breach force.
                       Control obscuring smoke to prevent enemy-observed direct and indirect fires.

         BREACH FORCE
            6-13. The breach force assists in the passage of the assault force by detecting, creating,
            proofing (if necessary), marking and reporting lanes. The breach force is a
            combined-arms force. It may include engineers, reduction assets, and enough maneuver
            forces to provide additional suppression and local security. The entire Infantry platoon
            or squad may be part of the breach force. The breach force may apply portions of the
            following breaching fundamentals as it reduces an obstacle.

         Suppress
            6-14. The breach force must be allocated enough maneuver forces to provide additional
            suppression against various threats, including:
                      Enemy direct-fire systems that cannot be observed and suppressed by the
                      support force due to the terrain or the masking of the support force’s fires by
                      the breach force as it moves forward to reduce the obstacle.
                      Counterattacking and/or repositioning forces that cannot be engaged by the
                      support force.

         Obscure
            6-15. When required, the breach force employs smoke pots, vehicle mounted smoke,
            handheld smoke, or indirect fire obscurants. These type obscurants provide for
            self-defense and cover lanes as the assault force passes through them. As the breach
            force starts their breach, they generally assume control of obscuration fires from the
            support force as they are in a better condition to assess its effects.

         Secure
            6-16. The breach force secures itself from threat forces providing close in protection of
            the obstacle. The breach force also secures the lanes through the tactical obstacles once
            they are created to allow safe passage of the assault force.




                                                 ATP 3-21.8                                         6-5




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        Reduce
              6-17. The breach force performs its primary mission by reducing the obstacle. To
              support the development of a plan to reduce the obstacle, the composition of the obstacle
              system must be an information requirement. If the obstacles are formidable, Infantry
              platoons and squads will be augmented with engineers to conduct reduction. Without
              engineers and special equipment such as Bangalore torpedoes and line charges,
              minefields must be probed.

        ASSAULT FORCE
              6-18. The breach force assaults through the point of breach to the far side of an obstacle
              and seizes the foothold. The assault force’s primary mission is to destroy the enemy and
              seize terrain on the far side of the obstacle to prevent the enemy from placing direct fires
              on the created lanes. The assault force may be tasked to assist the support force with
              suppression while the breach force reduces the obstacle.
              6-19. The assault force must be sufficient in size to seize the point of penetration—the
              location, identified on the ground, where the commanders concentrate their efforts to
              seize a foothold on the far side objective (ATP 3-90.4). Combat power is allocated to
              the assault force to achieve a minimum 3:1 ratio on the point of penetration. The breach
              and assault assets may maneuver as a single force when conducting breaching operations
              as an independent company team conducting an attack.
              6-20. If the obstacle is defended by a small enemy force, assault and breach forces’
              missions may be combined. This simplifies command and control and provides more
              immediate combat power for security and suppression.
              6-21. Fire control measures are essential because support and breach forces may be
              firing on the enemy when the assault force is committed. Suppression of overwatching
              enemy positions must continue, and other enemy forces must remain fixed by fires until
              the enemy has been destroyed. The assault force must assume control for direct fires on
              the assault objective as support and breach force fires are ceased or shifted. Table 6-1
              illustrates the relationship between the breaching organization and breaching
              fundamentals.




        6-6                                         ATP 3-21.8




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            Table 6-1. Relationship between breaching organization and breaching
                                        fundamentals



                         Suppress.                       Suppress enemy direct fire systems covering the
                         Obscure.                        reduction area.
            Support                                      Initiates obscuring smoke.
             force                                       Prevent enemy forces from repositioning or
                                                         counterattacking to place direct fires on the breach
                                                         force.
                         Suppress (provides              Refines/controls obscuration.
                         additional suppression).        Create, proof, and mark the necessary lanes in an
                         Obscure (provides               obstacle.
             Breach      additional obscuration in       Secure the near side and far side of an obstacle.
              force      the reduction area).
                                                         Defeat forces placing immediate direct fires on the
                         Secure (provides local          reduction area.
                         security).
                                                         Report the lane status/location.
                         Reduce.
                         Assault.                        Destroy the enemy on the far side of an obstacle if
                         Suppress (if necessary).        the enemy is capable of placing direct fires on the
                                                         reduction area.
            Assault
                                                         Assist the support force with suppression if the
             force
                                                         enemy is not suppressed.
                                                         Be prepared to breach follow-on and/or protective
                                                         obstacles after passing through the reduction area.


         DETAILED REVERSE PLANNING
            6-22. The platoon leader along with the platoon sergeant and squad leaders develop the
            breaching plan using the reverse planning sequence in figure 6-2 on page 6-8, when
            planning for a protective obstacle breach. The platoon leader can plan to breach wire,
            minefields, trenches, and craters. The following considerations must be made:
                      Reverse planning begins with actions on the objective.
                      Actions on the objective begin from the designated point of penetration.
                      The planned point of penetration determines the point of breach.
                      The size and composition of support, breach, and assault forces are based on
                      the results of reverse planning.
                           Actions on the objective drive the size and composition of the assault
                           force.
                           The ability of the enemy to interfere with the reduction of the obstacle
                           determines the size and composition of the security element in the breach
                           force.
                           The ability of the enemy to mass fires on the point of breach determines
                           the amount of suppression and size and composition of the support force.




                                                     ATP 3-21.8                                             6-7




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                                       Figure 6-2. Reverse planning


          SECTION II – RELIEF IN PLACE
              6-23. A relief in place is an operation in which, by direction of higher authority, all or
              part of a unit is replaced in an area by the incoming unit and the responsibilities of the
              replaced elements for the mission and the assigned zone of operations (Army uses the
              term, area of operations) are transferred to the incoming unit (JP 3-07.3). The incoming
              unit continues the operations as ordered. Normally, the Infantry rifle platoon conducts a
              relief in place as part of a larger operation, primarily to maintain the combat
              effectiveness of committed forces. (See ATP 3-21.10 for additional information.)




        6-8                                        ATP 3-21.8




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         VARIATIONS OF RELIEF IN PLACE
            6-24. The commander directing the relief, in coordination with subordinate elements
            during planning, determine the most appropriate variation of a relief in place. The three
            variations of a relief are sequential, simultaneous, or staggered.

         SEQUENTIAL
            6-25. A sequential relief in place occurs when each element within the relieved unit is
            relieved in succession, from right to left or left to right, depending on how it is deployed
            (ADP 3-90). This technique is the most deliberate and time-consuming; however, it
            minimizes confusion and maintains the best command and control, and readiness
            posture. A sequential relief involves sequentially relieving maneuver platoons of the
            company one at a time. Separate routes to the rear of relieved platoons’ locations are
            planned for each platoon (or squad) and placed on the operations overlay. Routes are
            labeled sequentially and correspond to the order in which the platoon executes them
            during the relief. When the lead platoon reaches its release point, squads are guided into
            the positions they will occupy. Crews exchange standard range card and fire support
            information. Once the relief occurs, relieved units move to the rear to occupy their next
            location. When the lead platoon is in position, the next platoon moves along its
            designated route(s) to relieve its counterpart. This process repeats until each platoon has
            been relieved.

         SIMULTANEOUS
            6-26. A simultaneous relief in place occurs when all elements are relieved at the same
            time (ADP 3-90). Simultaneous relief takes the least time to execute but is more difficult
            to control and more easily detected by the enemy. A simultaneous relief involves
            relieving maneuver platoons of the company at the same time. Separate routes to the
            rear of the relieved platoons’ locations are planned and labeled for each platoon and
            placed on the operations overlay. When relieving platoons reach their release points,
            squads are guided to the positions they are occupying. Crews exchange standard range
            card and fire support information, and the relieved unit then moves to the rear to its next
            location.

         STAGGERED
            6-27. A staggered relief in place occurs when a commander relieves each element in a
            sequence determined by the tactical situation, not its geographical orientation
            (ADP 3-90). As with a sequential relief, staggered reliefs can occur over a significant
            amount of time. Separate routes to the rear of the relieved platoons’ locations are planned
            and labeled for each platoon and placed on the operations overlay. When relieving
            platoons reach their release points, squads are guided to the positions they are
            occupying. Information exchanges and transfers of supplies are the same as in the other
            two techniques. Once the relief occurs, relieved units move to the rear to occupy their
            next location. When the first platoon to move is in position, the next platoon is identified



                                                 ATP 3-21.8                                         6-9




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               to move along its designated route(s) to relieve its counterpart: thereby repeating the
               relief process. This process repeats until each platoon has been relieved.

        PLANNING AND PREPARATION
               6-28. Once ordered to conduct a relief in place, the platoon leader of the relieving unit
               contacts the leader of the unit to be relieved. The collocation of unit command posts also
               helps achieve the level of coordination required. If the relieved unit’s forward elements
               can defend the area of operations (AO), the relieving unit executes the relief in place
               from the rear to the front. This facilitates movement and terrain management.
               6-29. When planning for a relief in place, the platoon leader takes the following actions:
                        Issues a warning order (WARNORD) immediately.
                        Accompanies platoon key leaders in the advance party to conduct detailed
                        reconnaissance and coordination.
                        As the relieving unit, adopts the outgoing unit’s normal pattern of activity as
                        much as possible.
                        As the relieving unit, determines when the platoon will assume responsibility
                        for outgoing unit’s position.
                        As the relieving unit, collocates with the relieved unit’s headquarters.
                        Maximizes operations security to prevent the enemy from detecting the relief
                        operation, to include minimizing signatures on electromagnetic spectrum.

                 Note. When possible, conduct the relief at night or under other limited visibility
                 conditions.

                          As the unit being relieved, plans for transfer of excess ammunition, wire, and
                          other materiel of tactical value to the incoming unit.
                          Controls movement by reconnoitering, designating, and marking routes, and
                          providing guides.
               6-30. The incoming and outgoing unit leaders meet to exchange tactical information,
               conduct a joint reconnaissance of the area, and complete other required coordination.
               The two leaders carefully address passage of command and jointly develop contingency
               actions to deal with enemy contact during the relief. This process usually includes
               coordination of the following information:
                          Location of individual fighting positions (to include hide, alternate, and
                          supplementary positions) and vehicles (if attached). Leaders should verify
                          fighting positions both by conventional map and using command and control
                          systems that are available.
                          The enemy situation.
                          The outgoing unit’s tactical plan, including graphics, platoon and company
                          direct and indirect fire plans, sector sketches, and key weapons’ standard
                          range cards.



        6-10                                        ATP 3-21.8




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                       Direct and indirect fire support coordination, including indirect fire plans and
                       time of relief for supporting artillery and mortar units.
                       Types of weapon systems being replaced.
                       Time, sequence, and relief technique.
                       Location and disposition of obstacles, and time when the leaders will transfer
                       responsibility.
                       Supplies and equipment to be transferred.
                       Movement control, route priority, and placement of guides.
                       Command and signal information.
                       Visibility considerations.

              Note. Units conduct relief on the radio nets (though limited) of the outgoing unit
              to facilitate control during the relief.



         EXECUTION
            6-31. When executing a relief in place, the linkup (see section IV) method chosen prior
            to the intermediate tactical assembly area (TAA) (when used) usually involves
            conducting linkup at a predetermined contact point(s). During movement to the contact
            point(s), the platoon leader monitors the progress and execution of the linkup to ensure
            that established positive control measures are followed or adjusted as required. Contact
            points must be readily recognizable and posted on overlays. When possible, the moving
            force should halt short of the contact point and send a smaller force (patrol or team)
            forward to pinpoint the contact point. After the patrol makes contact with the force in
            position at the contact point, the patrol may leave a portion of patrol at the contact point
            then move back with the remaining members of the patrol to guide the subordinate unit
            back to conduct linkup. Following linkup, the relieving force is guided to a TAA, or
            depending on the situation, guided directly into relief position(s). (See figure 6-3 on
            page 6-12.)




                                                 ATP 3-21.8                                       6-11




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                 Figure 6-3. Platoon relief in place (squads occupy same positions)

               6-32. During the relief, the outgoing leader retains responsibility of the AO and mission.
               The outgoing leader exercises operational control over those subordinate elements of
               the incoming unit that have completed their portion of the relief. Responsibility passes
               to the incoming leader when all elements of the outgoing unit are relieved and adequate
               communications are established.

          SECTION III – PASSAGE OF LINES
               6-33. A passage of lines is an operation in which a force moves forward or rearward
               through another force’s combat positions with the intention of moving into or out of
               contact with the enemy (JP 3-18). A unit conducts a passage of lines to continue an
               attack, conduct a counterattack or retrograde; pass-through security or main battle
               forces; and anytime one unit cannot bypass another unit’s position. A passage of lines
               may involve engagement with the enemy shortly before or after the completion of the
               operation, and usually involves a battle handover. (See ATP 3-21.10 for additional
               information.)


        6-12                                        ATP 3-21.8




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            6-34. Passage of lines occur under two basic conditions. A forward passage of lines
            occurs when a unit passes through another unit’s positions while moving toward the
            enemy (ADP 3-90). A rearward passage of lines occurs when a unit passes through
            another unit’s positions while moving away from the enemy (ADP 3-90).

         PLANNING AND PREPARATION
            6-35. A passage of lines is a complex operation requiring close supervision and detailed
            planning, coordination, and synchronization between the unit conducting the passage
            and the unit being passed. The headquarters ordering the passage of lines is responsible
            for planning and coordination; however, specific coordination tasks are normally
            delegated to subordinate units. Terrain management is critical to successful completion
            of a passage of lines. At least two units are occupying and concentrated on the same
            terrain. The commander and subordinate leaders of both units at all levels must
            understand their respective plans and be flexible in their execution. Terrain is controlled
            through the sharing of a common operational picture and overlays that contain—
                       Assigned/assembly area(s) (AA).
                       Attack positions(s).
                       Battle handover line (BHL).
                       Primary and alternate routes.
                       Checkpoint data.
                       Friendly and enemy unit locations and status.
                       Passage points and lanes.
                       Fire support coordination measures.
                       Friendly and enemy obstacle types and locations.
                       Sustainment locations and descriptions (for example, ambulance exchange
                       points and casualty collection points [CCPs]).
                       Contact points.
            6-36. A passage of lines may require either the reduction of some obstacles or the
            opening and closing of lanes through friendly obstacles. The passing unit should task
            the attached engineer officer if available to coordinate with the stationary unit engineer
            or stationary commander. At a minimum, this coordination must address the following:
                       Location and status of friendly and enemy tactical obstacles.
                       Routes and locations of lanes and bypasses through friendly and enemy
                       obstacles.
                       Transfer of obstacle and passage lane responsibilities.
            6-37. As with any activity involving transferred combat responsibility from one unit to
            another, the complex nature of a passage of lines involves risk. The passage of lines is
            either hasty or deliberate. In a hasty passage of lines, leaders use verbal orders. In a
            deliberate passage of lines, both the stationary and moving force have time to—
                       Review fire support observation plan, target execution, communication
                       linkages, and mutual support.
                       Confirm fire support coordination measures.

                                                ATP 3-21.8                                       6-13




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                          Review routes and positioning.
                          Locations and descriptions of obstacles, lanes, bypasses, and markings.
                          Locations of any stockpiles, especially engineer stockpiles.
                          Responsibility for closing passage lanes after the passage of lines is complete.
                          Air defense weapons locations, early warning communications, air threat, and
                          weapons control status (WCS).
                          Passage point recognition procedures.
                          Route management, contact points, checkpoints, and use of guides.
                          Locations for and movement of sustainment units.
                          Locations of aid stations, ambulance exchange points, and casualty
                          evacuation (CASEVAC) procedures.
               6-38. Units plan their passages of lines to maintain enemy contact and provide constant
               fires on enemy forces. They reduce risk and ensure synchronization through detailed
               planning and centralized execution. The need for positive control increases during the
               passage because of the intermingling of passing and stationary forces. The passage
               requires close coordination, clearly understood control measures, and liaison among all
               headquarters and echelons involved in the passage. Clear identification of the moment
               or event that causes one force to assume responsibility for the assigned area from another
               is vital to successfully performing this task. The passage of lines requires effective
               communication between passing and stationary forces. Units build redundancy of
               communication signals and means into their passage plans. They also designate contact
               points to ensure effective communication between these forces at the lowest possible
               tactical level for example, near and far recognition signals.
               6-39. During rehearsals for a passage of lines, passing forces rehearse when and where
               to move, as well as how to execute required coordination. Passing forces’ rehearsals
               address necessary branches and sequels in case enemy forces attack them during the
               execution of their passages to prevent degrading friendly maneuver.

        FORWARD PASSAGE OF LINES
               6-40. In a forward passage, the passing unit first moves to a TAA or an attack position
               behind the stationary unit. Designated liaison personnel move forward to linkup with
               guides and confirm coordination information with the stationary unit. Guides then lead
               the passing elements through the passage lane—a lane through an obstacle that provides
               safe passage for a passing force (FM 3-90).
               6-41. The platoon conducts a forward passage by employing tactical movement. It
               moves quickly, using appropriate dispersal and formations whenever possible, and
               keeping radio traffic to a minimum. The passing unit holds its fire until it passes the
               BHL or the designated fire control measure unless the leader has coordinated fire control
               with the stationary unit. The stationary unit will hold its fire once the passing unit crosses
               the BHL or designated fire control measure unless the leader has coordinated fire control
               with the passing unit. Once clear of passage lane restrictions, the platoon consolidates
               at a rally point or continues conducting tactical movement according to its orders. (See
               figure 6-4.)

        6-14                                          ATP 3-21.8




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                                Figure 6-4. Forward passage of lines


         REARWARD PASSAGE OF LINES
            6-42. Because of the increased chance of fratricide during a rearward passage,
            coordination of recognition signals and direct fire restrictions are critical. Rehearsals
            and training can help reduce fratricide. The passing unit contacts the stationary unit
            while it is still beyond direct fire range and conducts coordination as discussed
            previously. Near recognition signals and location of the BHL are emphasized. Both
            passing and stationary units can employ additional fire control measures, such as a
            restrictive fire line (RFL), to minimize the risk of fratricide. (See figure 6-5 on
            page 6-16.)




                                                ATP 3-21.8                                       6-15




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                                  Figure 6-5. Rearward passage of lines

               6-43. Following coordination, the passing unit continues tactical movement toward the
               passage lane. The passing unit is responsible for its security until it passes the BHL. If
               the stationary unit provides guides, the passing unit can conduct a short halt to linkup at
               a contact point and coordinate with them. The passing unit moves quickly through the
               passage lane to a designated location behind the stationary unit. See table 6-2 for
               stationary unit and passing unit responsibilities.




        6-16                                        ATP 3-21.8




                                                                                                       OAG006874
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                        Table 6-2. Stationary and passing unit responsibilities


           Clears lanes or reduces obstacles along            May assist with reducing obstacles.
           routes.
           Provides obstacle and friendly units’ locations.   Provides order of movement and scheme of
                                                              maneuver.
           Clears and maintains routes up to the battle       May assist with maintaining routes.
           handover line (BHL).
           Provides traffic control for use of routes and     Augments the traffic control capability of the
           lanes.                                             stationary unit as required.
           Provides security for passage up to the BHL.       Maintains protection measures.
           Identifies locations for the passing unit to use   Reconnoiters from its current location to its
           as a tactical assembly area (TAA) and attack       designated TAA and attack positions.
           positions.
           Provides the passing unit previously               Assumes full responsibility for its own
           coordinated or emergency logistics assistance      sustainment support forward of the BHL.
           within its capability.
           Controls all fires in support of the passage.      Positions artillery to support the passage.


           SECTION IV – LINKUP
             6-44. A linkup is a type of enabling operation that involves the meeting of friendly
             ground forces, which occurs in a variety of circumstances (FM 3-90). It happens when
             an advancing force reaches an objective area previously seized by an airborne or air
             assault; when an encircled element breaks out to rejoin friendly forces or a force comes
             to the relief of an encircled force, and when converging maneuver forces meet. Both
             forces may be moving toward each other, or one may be stationary. (See GTA 07-04-008
             [Infantry Reference Card for Linkup Operations] for additional information.)

         PLANNING AND PREPARATION
             6-45. Whenever possible, joining forces exchange as much information as possible
             before starting an operation. The headquarters ordering the linkup establishes—
                        A common operational picture.
                        Command relationship and responsibilities of each force before, during, and
                        after linkup.
                        Coordination of direct and indirect fire support before, during, and after
                        linkup, including control measures.
                        Linkup method.
                        Recognition signals and communication procedures to use, including
                        pyrotechnics, armbands, vehicle markings, gun-tube orientation, panels,
                        colored obscurant (smoke), lights, and challenge and passwords.
                        Operations to conduct following linkup.



                                                       ATP 3-21.8                                             6-17




                                                                                                               OAG006875
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               6-46. The higher headquarters who orders the linkup, in coordination with the units
               linking up, establishes control measures for the linkup—
                          Assigns each unit an AO defined by left and right boundaries and an RFL
                          also acts as a limit of advance (LOA).
                          Establishes a no fires area around one or both units and establishes a
                          coordinated fire line beyond the area where the unit’s linkup.
                          Establish no fire areas to prevent delivery of fire support across RFLs or
                          boundaries where they can impact friendly forces.
               6-47. The coordinated fire line allows available fires to attack enemy targets quickly as
               they approach the area where the linkup is to occur. The linkup forces use the linkup
               points established by the higher headquarters to make physical contact with each other.
               The higher headquarters designates alternate linkup points since enemy action may
               interfere with the primary linkup points. Control measures are adjusted during the
               operation to provide for freedom of action as well as positive control.

        EXECUTION
               6-48. There are two linkup methods. The preferred method is when the moving force
               has an assigned LOA near the other force and conducts the linkup at predetermined
               contact points. Units then coordinate additional operations. The other method is used
               during highly fluid mobile operations when the enemy force escapes from a potential
               encirclement—where one force loses its freedom of maneuver because an opposing
               force is able to isolate it by controlling all ground lines of communications and
               reinforcement (FM 3-90), or when one of the linkup forces is at risk and requires
               immediate reinforcement. In this method, the moving force continues to move and
               conduct long-range recognition via radio or other measures, stopping only when it
               makes physical contact with the other force.
               6-49. The platoon and squad can conduct linkup activities independently or as part of a
               larger force. Within a larger unit, the platoon may lead the linkup force. The linkup
               consists of three phases. The following actions are critical to the execution of a linkup.

                 Note. See ATP 3-21.10 and ATP 3-21.20 for information regarding situations
                 unique to the conduct of defensive operations that include denial operations,
                 defending encircled, breakout from encirclement, and stay-behind operations.



        PHASE 1 – FAR RECOGNITION SIGNAL
               6-50. During this phase, the forces conducting a linkup establish both radio and when
               possible digital communications before reaching direct fire range. The lead element of
               each linkup force should monitor the radio frequency of the other friendly force.




        6-18                                        ATP 3-21.8




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         PHASE 2 – COORDINATION
            6-51. Before initiating movement to the linkup point, the forces must coordinate
            necessary tactical information including the following:
                       The known enemy situation.
                       Command and control systems.
                       Number of friendly personnel; type and number of friendly vehicles.
                       Disposition of stationary forces (if either unit is stationary).
                       Routes to the linkup point and rally point, if any.
                       Direct and indirect fire control measures.
                       Near recognition signals.
                       Communications information.
                       Sustainment responsibilities and procedures.
                       Finalized location of the linkup point and rally points, if any.
                       Special coordination, such as those covering maneuver instructions or
                       requests for medical support.

         PHASE 3 – MOVEMENT TO THE LINKUP POINT AND LINKUP
            6-52. All units or elements involved in the linkup enforce strict fire control measures to
            help prevent fratricide. Moving or converging forces must easily recognize linkup points
            and RFL. Linkup elements take the following actions:
                       Conduct far recognition using radios or command and control systems.
                       Conduct short-range (near) recognition using the designated signal.
                       Complete movement to the linkup point.
                       Establish local security at the linkup point.
                       Conduct additional coordination and linkup activities, as necessary.

              Note. The following scenario (see figure 6-6 on page 6-20) is used for discussion
              purposes and is not the only way of conducting a linkup operation.




                                                ATP 3-21.8                                       6-19




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                    Figure 6-6. Platoon linkup scenario, example


        6-20                         ATP 3-21.8




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           SECTION V – TACTICAL DECEPTION
            6-53. Surprise, a principle of war, is a combat multiplier that amplifies the effects of the
            other principles of war (see FM 3-0). Its effective use allows friendly units to strike at a
            time and place or in a manner that the enemy is unprepared for, which induces shock
            and causes hesitation. Every echelon works to achieve surprise in an operation and only
            by multiple echelons working together is achieved by surprise. The easiest way to
            achieve surprise is to use deception. This section provides a brief overview of the
            considerations unique to tactical deception operations. (See ATP 3-21.10 and FM 3-90
            for additional information.)
            6-54. Tactical deception is a friendly activity that causes enemy commanders to take
            action or cause inaction detrimental to their objectives (FM 3-90). Tactical deception
            operations are designed to support the commander’s plan by enhancing the probability
            of mission success. It allows units to create windows of opportunity by doing the
            unexpected and causing the target to react to the unit’s operation. Vital to the unit’s
            ability to execute tactical deception is through maintaining operational security and
            ensuring the realism. The purpose of tactical deception is to—
                       Gain the initiative.
                       Reduce the overall operational risk.
                       Preserve combat power.
            6-55. Leaders conduct tactical deception at every echelon with either the means they
            have or with assistance from their higher echelon. Deception means—methods,
            resources, and techniques that can be used to convey information to the deception target
            (JP 3-13.4)—are the tools that friendly commanders use to accomplish tactical
            deception. Leaders normally employ deception plans to supplement several means that
            aim to mislead multiple types of enemy sensors. This increases credibility and the
            likelihood of deceiving the deception target. Tactical deception means provide the
            signatures, associations, and profiles of friendly alleged activities to the enemy.
            Typically, the means are found in either the coordinating instructions of an order or
            through commander’s guidance. There are two tactical deception means categories are
            physical and technical:
            6-56. Physical means are resources, methods, and techniques used to convey
            information normally derived from direct observation or active sensors by the deception
            target. (Most physical means also have technical signatures visible to sensors that collect
            scientifically or electronically.) Examples might include—
                        Movement of the platoon.
                        Decoy equipment and devices.
                        Security measures.
                        Tactical actions.
                        Reconnaissance, surveillance, and security activities.
            6-57. Technical means are resources, methods, and techniques used to convey or deny
            selected information or signatures. Technical means may be applied with corresponding


                                                 ATP 3-21.8                                       6-21




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               physical means or alone to replicate something physical that is absent from visual
               contact. Examples of technical means might include—
                          The establishment of communications networks and interactive transmissions
                          that replicate a specific unit type, size, or activity.
                          Emission or suppression of chemical or biological odors associated with a
                          specific capability or activity.
                          Organic capabilities that disrupt an enemy sensor or affect data transmission.
               6-58. Variations of tactical deception are missions that a higher headquarters can assign
               to a subordinate unit. A unit may be told to conduct one of the two variations of tactical
               deception: feints and demonstrations. The selected variation and its use depend on the
               unit’s understanding of the current situation as well as the commander’s desired end
               state. All other deception guidance should be issued in the coordinating instructions or
               done to accomplish the commander’s intent.
               6-59. Units should consider cost of tactical deception in terms of resource expenditure.
               For tactical deception to appear real, units must dedicate adequate resources. The cost
               depends on the variation of tactical deception (demonstration or feint) and its objective.
               The units should also measure costs in risk and flexibility. For example, it may be very
               risky for the success of a unit’s main effort to rely solely on the success of a planned
               demonstration. Should the demonstration not produce the expected enemy reaction, it
               could cause the main effort to fail. Flexibility is built into the plan by using branches,
               sequels, or executable deceptions.
               6-60. Units have two options to disseminate the tactical deception plan to their
               subordinates. It is imperative that the unit maintains operational security for the success
               of the operation. The first option is for the unit’s leadership to know the true task and
               purpose of the organization, subordinates may receive a different task and purpose in
               order to maintain operational security. The second option is for the unit to provide
               complete briefings to their subordinates. In both options, caution must be exercised to
               ensure that deception details are not mentioned in their operation orders (OPORDs).
               Operations security must be recognized as a vital element of the variation of the tactical
               deception.
               6-61. A demonstration is a variation of tactical deception used as a show of force in an
               area where a unit does not seek a decision and attempts to mislead an adversary
               (FM 3-90). The commander uses demonstrations and feints in conjunction with other
               military deception activities. The commander generally attempts to deceive the enemy
               and induce the enemy commander to move reserves and shift fire support assets to
               locations where they cannot immediately affect the friendly main effort or take other
               actions not conducive to the enemy’s best interests during the defense. The commander
               must synchronize the conduct of these variations of an attack with higher and lower
               echelon plans and operations to prevent inadvertently placing another unit at risk. Both
               variations are always shaping efforts, but a feint will require more combat power and
               usually requires ground combat units for execution.
               6-62. A feint is a variation of tactical deception that makes contact solely to deceive the
               adversary as to the location, time of attack or both (FM 3-90). The principal difference


        6-22                                        ATP 3-21.8




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            between a feint and a demonstration is that in a feint the commander assigns the force
            an objective limited in size, scope, or some other measure. The force conducting the
            feint makes direct fire contact with the enemy but avoids decisive engagement. The
            planning, preparing, and executing considerations for demonstrations and feints are the
            same as for the other attack. The commander assigns the operation to a subordinate unit
            and approves plans to assess the effects generated by the feint, to support the operation.

           SECTION VI – SECURITY
            6-63. Security is measures taken by a military unit, activity, or installation to protect
            itself against all acts designed to, or which may, impair its effectiveness (JP 3-10).
            Maintaining security is a constant theme of tactical movement (see section VIII).
            Security can prevent enemy surprise. Security requires everyone to concentrate on the
            enemy. This means leaders and Soldiers must be proficient in the basics of tactical
            movement (see chapter 3). Failure to attain proficiency diverts attention away from the
            enemy, thereby directly reducing the platoon’s ability to fight.

         PLANNING AND PREPARATION
            6-64. During planning and preparation for movement, leaders analyze the enemy
            situation, determine known and likely enemy positions, and develop possible enemy
            courses of action (COAs) and contact. After first considering the enemy and terrain,
            leaders determine what security measures to emplace during tactical movement.

         ENEMY
            6-65. Leaders must decide whether they are going to move aggressively to make
            contact, or stealthily to avoid contact. Either way, leaders must anticipate enemy contact
            throughout. If possible, leaders should avoid routes with obvious danger areas such as
            built-up areas, roads, trails, and known enemy positions. If these places cannot be
            avoided, risk management should be conducted to develop ways to reduce danger to the
            platoon or squad. If stealth is desired, the route should avoid contact with local
            inhabitants, built-up areas, and natural lines of drift.
            6-66. Movement techniques help the leader manage the amount of security the platoon
            has during movement. Traveling is the least secure and used when contact is unlikely.
            Traveling overwatch is used when contact is likely but not imminent. Bounding
            overwatch is used when contact is imminent. The leader establishes the probable line of
            deployment (PLD) to indicate where the transition from traveling overwatch to
            bounding overwatch should occur. When in contact with the enemy, the platoon
            transitions from movement to maneuver (fire and movement) while the leader conducts
            actions on contact. (See figure 6-7 on page 6-24.)




                                                ATP 3-21.8                                       6-23




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                                    Figure 6-7. Movement to maneuver


        TERRAIN
               6-67. Platoon and squads enhance their own security during movement using covered
               and concealed terrain; the use of the appropriate movement formation and movement
               technique; the actions taken to secure danger areas during crossing; the enforcement of
               noise, light, and emissions control (for example, thermal and electronic) discipline; and
               use of proper individual camouflage techniques. When planning and preparing for
               movement, leaders must consider how terrain affects security while simultaneously
               considering METT-TC (I). Some missions may require the platoon or individual squad
               to move on other than covered and concealed routes. While leaders may not be able to
               prevent the unit’s detection, they can ensure it moves on the battlefield in a time and
               place for which the enemy is unprepared. Particularly when moving in the open, leaders
               must avoid predictability and continue to use terrain to their advantage.

        EXECUTION
               6-68. During execution, leaders enforce camouflage discipline (Soldiers and their
               equipment). Leaders ensure the camouflage used by their Soldiers is appropriate to the
               terrain and season. Platoon standard operating procedures (SOPs) specify elements of
               camouflage, noise and light discipline and emissions control; security halts; and actions
               at security halts.

        CAMOUFLAGE, NOISE, AND LIGHT DISCIPLINE AND EMISSIONS CONTROL
               6-69. The platoon is visible to enemy forces and target acquisition capabilities on every
               spectrum, including visible light, sound, and across the electromagnetic spectrum. The


        6-24                                        ATP 3-21.8




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            platoon must take steps to eliminate or minimize all these signatures to prevent targeting.
            Natural or artificial materials may be used as camouflage to confuse, mislead, or evade
            the enemy. Leaders ensure all elements abide by strict execution of noise (this includes
            carried equipment) and light discipline and emissions control (for example, thermal and
            electronic). Infrared lights can provide additional illumination when necessary;
            however, peer threat forces can easily detect it. Radios and command and control
            systems all emit detectable signatures and must be used carefully; for instance,
            minimizing transmissions, reduced power settings, masking signals with terrain, and so
            forth, can help reduce the likelihood of detection. Cell phones must not be used under
            any circumstances.

         DISMOUNTED SECURITY HALTS
            6-70. Units conducting tactical movement frequently make temporary halts. These halts
            range from brief to extended periods. For short halts, platoons use a cigar-shaped
            perimeter intended to protect the force while maintaining the ability to continue
            movement. When the platoon leader decides not to resume tactical movement
            immediately, the platoon leader transitions the platoon to a perimeter defense. The
            perimeter defense is used for longer halts or during lulls in combat.

              Note. During short halts, Soldiers use a brief relief bag or cat-hole latrine. The
              cat-hole latrine is dug about 1 foot deep and wide, and it is completely covered
              and packed down after use. In temporary AAs (1 to 3 days), the straddle trench
              latrine is used unless permanent facilities are provided. (See ATP 4-25.12 for
              additional information on basic field sanitation.)


         Cigar-Shaped Perimeter
            6-71. When the unit halts, if terrain permits, Soldiers should move off the route and face
            out to cover the same sectors of fire they were assigned while moving, allowing passage
            through the center of the formation. This results in a cigar-shaped perimeter. Actions by
            subordinate leaders and their Soldiers occur without an order from the leader. Soldiers
            initially take a knee; however, if the platoon does not begin movement quickly, they
            automatically move to a covered position and take up a prone position facing out. If the
            halt lasts more than a few minutes, leaders reposition their Soldiers as necessary to take
            advantage of the best cover, concealment, and fields of fire.

         Perimeter Defense
            6-72. When operating independently, the platoon uses a perimeter defense during
            extended halts, resupply, issuance of platoon orders, or lulls in combat. Normally the
            unit first occupies a short halt formation. Then after conducting a leader’s
            reconnaissance of the position and establishing security, the unit moves into the
            perimeter defense.




                                                ATP 3-21.8                                       6-25




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        MOUNTED SECURITY HALT
               6-73. When vehicles are attached, the platoon (squad when moving independently)
               employs the coil, herringbone, and triangle “Y” formations to maintain 360-degree
               security when stationary. The coil provides all-round security and observation when the
               platoon is stationary. The platoon also uses the coil for tactical refueling, resupply, and
               issuing orders. When in a coil, leaders post security. (See figure 6-8.)




                                          Figure 6-8. Coil formation

               6-74. The patrol leader uses the herringbone and triangle during temporary halts or
               when getting off a road to allow another unit to pass. It lets the patrol move to covered
               and concealed positions off a road or from an open area and establishes all-round
               security without issued detailed instructions. The truck commander repositions their
               vehicles as necessary to take advantage of the best cover, concealment, and fields of fire.
               Fire team members dismount and establish security. (See figures 6-9 and 6-10.)




                                     Figure 6-9. Herringbone formation




        6-26                                        ATP 3-21.8




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                                          Figure 6-10. Triangle Y formation

         ACTIONS AT HALTS
             6-75. Table 6-3 lists the standard actions taken at halts by the Soldier, squad leader, and
             platoon leader.
                                         Table 6-3. Actions at halts



          • Moves to as much of a         • Adjusts perimeter:                   • Adjusts perimeter:
          covered and concealed                 If operating independently,            If operating independently,
          position as available.                 the squad leader                      establishes 360-degree,
          • Visually inspects and                establishes 360-degree,               three-dimensional security.
          physically clears                      three-dimensional security.           If operating as part of
          immediate surroundings                Attempts to find terrain that          another organization, arrays
          (a roughly 5- to 25-meter              anchors position.                     squads to best fit into the
          radius around the                     If operating as part of a              controlling commander’s
          position).                             platoon, the squad leader             defensive scheme.
          • Establishes a sector of              arrays teams to best fit into         Supervises the emplacement
          fire for assigned weapon               the platoon leader’s                  of the weapons squad’s
          (using 12 o’clock as the               defensive scheme, based               weapon systems.
          direction the Soldier is               on the platoon leader’s         • Dispatches an element (usually
          facing out, the Soldier’s              guidance.                       a fire team) to visually inspect and
          sector of fire ranges from      • Visually inspects and physically     physically clear the platoon’s
          10 o’clock to 2 o’clock).       clears (if required) the squad’s       immediate surroundings (an area
          • Determines observation        immediate surroundings (about          out to small arms range, roughly
          and field of fire. Identifies   35 meters, the distance within         100 to 300 meters depending on
          dead space in field of fire.    hand grenade range).                   terrain).
          • Identifies obstacles and      • Ensures squad’s individual           • Ensures the squads’ sectors of
          determines enemy                sectors of fire overlap with each      fire overlap with each other,
          avenues of approach             other, creating a seamless             creating a seamless perimeter
          (both mounted and               perimeter with no gaps of fire         with no gaps of fire coverage.
          dismounted).                    coverage.                              • Identifies dead space not
          • Identifies the dominant       • Identifies dead space and            covered and requests indirect fire
          ground in immediate             adjusts grenadiers accordingly.        support to overwatch dead space
          surroundings.                   • Identifies obstacles and the         in the area of operations.
          • Coordinates the actions       likely enemy avenue of approach        • Identifies obstacles and the likely
          with the Soldiers on left       (mounted and dismounted).              enemy avenue of approach
          and right.                      • Identifies the dominant ground       (mounted and dismounted).
          (*These actions occur           in area of operations.                 • Identifies the dominant ground in
          without leader                                                         area of operations.
                                          • Coordinates responsibilities and
          prompting.)
                                          sectors with the units on left and     • Coordinates with the units on the
                                          right.                                 left and right.

                                                         ATP 3-21.8                                             6-27




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          SECTION VII – SECURITY OPERATIONS
               6-76. Security operations are those operations performed by commanders to provide
               early and accurate warning of enemy operations, to provide the forces being protected
               with time and maneuver space within which to react to the enemy, and to develop the
               situation to allow commanders to effectively use their protected forces (ADP 3-90).
               They prevent surprise, reduce uncertainty, and provide early warning of enemy
               activities. This section addresses the general security considerations, fundamentals of
               security, and types of security operations.

                 Note. The main difference between the performance of security operations and
                 reconnaissance operations is that security operations orient on the friendly force,
                 area, or facility, while reconnaissance operations (see chapter 7) orient on the
                 enemy and terrain.



        GENERAL CONSIDERATIONS
               6-77. Security operations are not to be confused with the more general term of security
               (see section VI). Security includes a wide range of activities such as preventing
               unauthorized access into secure areas or establishing perimeter security around a base
               camp. Security is inherent in all operations and is always the first priority of work.
               Security is the responsibility of every Soldier and unit whereas security operations are
               distinct missions. Security operations are supporting efforts. As a supporting effort,
               economy of force is often a condition associated with the performance of security
               operations and essential for preserving friendly force combat power. The following
               activities (local security, observation posts, and combat outposts) are general security
               considerations that are applicable to all security operations and units.

        INFANTRY SMALL UNIT SECURITY OPERATIONS
               6-78. Security operations, assigned to Infantry small units (also called security forces),
               protect their higher organization from observation, indirect fires, harassment, and
               surprise. At the same time, they provide information about the size, composition,
               location, and movement of enemy forces including information about the terrain and
               populations within their higher organization’s assigned area. Effective security
               operations can also draw enemy forces into exposed positions, trade space for time,
               allow the higher organization to concentrate forces elsewhere, deceive the enemy, attrite
               enemy forces, and hold, deny, or control key terrain. Security forces must be prepared
               to destroy enemy reconnaissance efforts and fight for information to seize, retain, or
               exploit the initiative.

        LOCAL SECURITY
               6-79. Local security is the low-level security activities conducted near a unit to prevent
               surprise by the enemy (ADP 3-90). All units are responsible for their own local security.


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            Local security is not an operation of its own. It includes any local measure taken by units
            that protect against enemy actions. It involves avoiding enemy detection or deceiving
            the enemy about friendly positions and intention. Local security provides immediate
            protection to friendly forces and is typically performed by a unit for self-protection, but
            it may also be provided by another unit when the security requirements are greater than
            that unit’s security capabilities. Local security may include countermobility (see
            paragraph 5-44) and survivability activities (see paragraph 5-102) as well as the use of
            active and passive measures (see paragraph 5-143) to provide local security.

         OBSERVATION POSTS
            6-80. An observation post is a position from which observations are made or fires are
            directed and adjusted (FM 3-90). All observation posts should possess appropriate
            communications. Commanders task subordinate units to perform reconnaissance and
            combat patrols to cover gaps between observation posts. Units place restrictive fire
            support coordination measures (such as no-fire area or restrictive fire area) around
            observation post locations to prevent fratricide. Dismounted Infantry observation posts
            provide maximum stealth but lack the speed of displacement, optics, and weapons of
            mounted ones. It takes a minimum of two Soldiers to establish an observation post, and
            then they can only operate effectively for no more than 12 hours. Observation posts
            manned for more than 12 hours require a minimum of an Infantry squad to ensure
            continuous operation. Combat and reconnaissance patrols (see chapter 7) cover dead
            space and the area between observation posts. In addition, under limited-visibility
            conditions, units can establish observation posts as listening posts to take advantage of
            the increased auditory acuteness that occurs when Soldier vision is degraded.

         COMBAT OUTPOSTS
            6-81. A combat outpost is a reinforced observation post capable of conducting limited
            combat operations (FM 3-90). Using combat outposts is a technique for employing
            security forces in restrictive terrain that precludes mounted security forces from
            covering the area. Leaders use combat outposts when enemy forces infiltrating into and
            through the security area could overrun smaller observation posts. Leaders use a combat
            outpost to extend the depth of the security area, to keep friendly forward observation
            posts in place until they can observe the enemy force’s main body, or to secure friendly
            forward observation posts that enemy forces might encircle.
            6-82. While the mission variables of METT-TC (I) determine the size, location, and
            number of combat outposts a unit establishes, a reinforced platoon typically occupies
            each combat outpost. A combat outpost requires enough resources to accomplish its
            missions, but it should not seriously deplete the strength of the main body (see chapter 5,
            main battle area). Combat outposts are usually located far enough forward of the
            protected force to preclude enemy ground reconnaissance elements from observing the
            actions of the protected force.
            6-83. Units organize the combat outpost to provide an all-around defense (see chapter 5,
            perimeter defense) to withstand a superior enemy force. When the enemy force has
            significant armored capability, commanders may give combat outposts more antitank

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               (AT) weapons (see appendix D). Forces operating combat outposts conduct aggressive
               patrolling (combat and reconnaissance), engage and destroy enemy reconnaissance
               elements, and engage the enemy main body before their extraction. Leaders plan to
               extract friendly forces from their outposts before enemy forces overrun them.

        FUNDAMENTALS OF SECURITY OPERATIONS
               6-84. Five fundamentals of security operations establish the framework for security
               operations. These fundamentals, listed in paragraphs 6-85 to 6-89, provide a set of
               principles that remind leaders of the inherent characteristics required to execute security
               operations. These fundamentals include provide early and accurate warning, provide
               reaction time and maneuver space, orient on the force, area, or facility to be secured,
               perform continuous reconnaissance, and maintain enemy contact. (See FM 3-96 for
               additional information.)

        PROVIDE EARLY AND ACCURATE WARNING
               6-85. The platoon (when task in a security force role) detects, observes, and reports
               threat forces that can influence the company’s or higher headquarters main body. Early
               detection and warning through rapid reporting enables the protected commander to make
               timely and well-informed decisions to apply forces relative to the threat. As a minimum,
               security forces should operate far enough from the protected force to prevent enemy
               ground forces from observing or engaging the protected force with direct fires.

        PROVIDE REACTION TIME AND MANEUVER SPACE
               6-86. The platoon (security force) provides the protected force with enough reaction
               time and maneuver space to respond effectively to likely enemy actions by operating at
               a distance from the protected force and by offering resistance (within its capabilities and
               mission constraints) to enemy forces. Providing the platoon with an area of operations
               that has sufficient depth to operate enhances its ability to provide reaction time and
               maneuver space to the protected force.

        ORIENT ON THE FORCE, AREA, OR FACILITY TO BE SECURED
               6-87. While reconnaissance forces orient on the enemy, security forces orient on the
               protected force by understanding their scheme of maneuver and follow-on mission. The
               platoon (security force) focuses all its actions on protecting and providing early warning
               operating between the protected force and known or suspected enemy.

        PERFORM CONTINUOUS RECONNAISSANCE
               6-88. Reconnaissance fundamentals are implicit in all security operations. The platoon
               (security force) continuously seeks the enemy and reconnoiters key terrain. The platoon
               uses continuous reconnaissance to find the enemy (gain and maintain enemy contact),
               develop the situation, report rapidly and accurately, retain freedom of maneuver to
               provide early and accurate warning, and provide reaction time and maneuver space to


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            the protected force. The platoon conducts zone, area, or route reconnaissance (see
            chapter 7 section IV for additional information) along with using observation posts and
            combat outpost (see paragraphs 6-80 and 6-81, respectively) to detect enemy movement
            or enemy preparations for action and to learn as much as possible about the terrain with
            the ultimate goal to determine the enemy’s COA and to assist the protected force in
            countering it.

         MAINTAIN ENEMY CONTACT
            6-89. Once the platoon (security force) makes enemy contact, it does not break contact
            unless the main force commander specifically directs it. However, the individual
            security asset that first makes contact does not have to maintain that contact if the entire
            security force maintains contact with the enemy. The security force commander (or
            platoon leader) ensures that subordinate security assets hand off contact with the enemy
            from one security asset to another in this case. The platoon must continuously collect
            information on the enemy’s activities to assist the protected main body in determining
            potential and actual enemy COAs and to prevent the enemy from surprising the
            protected force. Depth in space and time enables the platoon to maintain continuous
            visual contact, to use direct and indirect fires, and to maneuver freely.

         TYPES OF SECURITY OPERATIONS
            6-90. Security operations provide the protected force with varying levels of protection
            and are dependent upon the size of the unit conducting the security operation. All
            security operations provide protection and early warning to the protected force. The four
            types of security operations are screen, guard, cover, and area security.

              Note. Security operations conducted in the security area by one force or a
              subordinate element of a force that provides security for the larger force are
              screen, guard, and cover. The screen, guard, and cover security operations,
              respectively, contain increasing levels of combat power and provide the main
              body with increasing levels of security. The more combat power in the security
              force means less combat power for the main body. Normally, the commander
              designates a security area in which security forces provide the protected force
              with reaction time and maneuver space to preserve freedom of action. (See
              chapter 5 for additional information on security area and main battle area
              operations within the defense.)



         SCREEN
            6-91. Screen is a type of security operation that primarily provides early warning to the
            protected force (ADP 3-90). Screens provide less protection than guards or covers.
            Screen missions are defensive in nature and accomplished by establishing a series of
            observation posts and patrols to ensure observation of the assigned sector. The screen
            force gains and maintains enemy contact consistent with the fundamentals and destroys
            or repels enemy reconnaissance units by conducting counterreconnaissance (see

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               paragraph 5-9). A unit performing a screen observes, identifies, and reports enemy
               actions. Generally, a screening force engages and destroys enemy reconnaissance
               elements within its capabilities—augmented by indirect fires, Army aviation, and/or
               close air support (CAS)—but otherwise fights only in self-defense. If a significant
               enemy force is expected or a significant amount of time and space is needed to provide
               the required degree of protection, the commander assigns and resources a guard mission
               instead of a screen. A screen is appropriate to cover gaps between forces, exposed flanks,
               or the rear of stationary and moving forces. (See FM 3-90 for additional information.)

        GUARD
               6-92. Guard is a type of security operation conducted to protect the main body by
               fighting to gain time while preventing enemy ground observation of and direct fire
               against the main body (ADP 3-90). A guard differs from a screen in that a guard force
               contains sufficient combat power to defeat, cause the withdrawal of, or fix the lead
               elements of an enemy ground force before it can engage the main body with direct fire.
               A guard force routinely engages enemy forces with direct and indirect fires. A screening
               force, however, primarily uses indirect fires or CAS to destroy enemy reconnaissance
               elements and slow the movement of other enemy forces. A guard force uses all means
               at its disposal to prevent enemy forces from penetrating to a position to observe and
               engage the main body. It operates within the range of the main body’s fire support
               weapons, deploying over a narrower front than a comparable-sized screening force to
               permit concentrating combat power. The three types of guard operations are advance,
               flank, and rear guard. Commanders can assign a guard mission to protect either a
               stationary or a moving force. The guard force commander normally conducts the guard
               mission as an area defense, a delay, a zone reconnaissance, or a movement to contact
               mission in the security area to provide reaction time and maneuver space to the main
               body. (See FM 3-90 for additional information.)

        COVER
               6-93. Cover is a type of security operation done independent of the main body to protect
               them by fighting to gain time while preventing enemy ground observation of and direct
               fire against the main body (ADP 3-90). The biggest difference between a guard force
               and a covering force is that a covering force is able to operate independently of the main
               body, while a guard force relies on indirect support from the main body. A division
               covering force is normally a reinforced BCT. It performs reconnaissance or other
               security missions. If the division assigned area is narrow enough, an adequately
               reinforced combined arms battalion, reconnaissance squadron, or Stryker battalion may
               perform a cover mission. At both corps and division echelons, the amount of
               reinforcement provided to the covering force determines the distance and time it can
               operate away from the main body. These reinforcements typically revert to their parent
               organizations once the covering mission is complete. BCTs and battalions typically
               organize a guard force instead of a covering force because their resources are limited.
               (See FM 3-90 for additional information.)




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         AREA SECURITY
            6-94. Area security is a type of security operation conducted to protect friendly forces,
            lines of communications, installation routes and actions within a specific area
            (FM 3-90). Area security operations occur during all types of operations. They allow
            commanders to provide protection to critical assets without a significant diversion of
            combat power. Protected forces range from echelon headquarters through artillery and
            echelon reserves to the sustaining base. Protected installations can be part of the
            sustaining base, or they can constitute part of the area’s critical infrastructure.
            Operations in noncontiguous assigned areas require units to emphasize area security.
            6-95. During the offense, various military organizations may be involved in conducting
            area security operations in an economy-of-force role to protect lines of communications,
            convoys, or critical fixed sites and radars. Route security operations are defensive in
            nature and are terrain oriented. A route security force may prevent an enemy force from
            impeding, harassing, or destroying lines of communications. Establishing a movement
            corridor for traffic along a route or portions of a route is an example of route security
            operations. (See ATP 3-21.10 for additional information.)

           SECTION VIII – TROOP MOVEMENT
            6-96. Troop movement is the movement of Soldiers and units from one place to another
            by any available means (FM 3-90). This is inherent in all military operations. Successful
            movement places Soldiers and equipment at their destination at the proper time, ready
            for combat. Infantry small units perform troop movements using different methods such
            as dismounted and mounted movement. The method employed depends on the situation,
            the size and composition of the moving unit, the distance the unit must cover, the
            urgency of execution, and the condition of the troops. This section addresses the types
            of troop movement and the methods of troop movement.

         TYPES OF TROOP MOVEMENT
            6-97. The ability of small Infantry leaders to posture their units in the right starting
            location to conduct operations depends on their ability to move their forces. The essence
            of battlefield agility is the capability to conduct rapid and orderly troop movement to
            concentrate combat power at decisive points and times. Units can expect the enemy to
            attempt to deny freedom of movement throughout their assigned area. The two types of
            troop movement are nontactical and tactical movement.

         NONTACTICAL MOVEMENT
            6-98. Nontactical movement is a movement in which troops and vehicles are arranged
            to expedite their movement and conserve time and energy when no enemy ground
            interference is anticipated (FM 3-90). Units only conduct nontactical movements in
            secure areas. Examples of nontactical movements include rail and highway movement
            in the continental United States. Once units deploy into a theater of operation, they do
            not normally conduct nontactical movements.


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        TACTICAL MOVEMENT
               6-99. A tactical movement is a movement in which troops and vehicles are arranged to
               protect combat forces during movement when a threat of enemy interference is possible
               (FM 3-90). Units maintain security against enemy attacks from both the air and ground
               and prepare to take immediate action against enemy ambushes, although they do not
               expect contact with significant enemy ground forces. During movement, the moving
               force employs security measures, even when contact with enemy ground forces is not
               expected. During a tactical movement, units are always prepared to take immediate
               action. There are three methods of a tactical movement that units of all types can
               conduct: approach march, forced march, and tactical road march.

        Approach March
               6-100. An approach march is the advance of a combat unit when direct contact with
               the enemy is intended (FM 3-90). Units employ an approach march when they know the
               approximate location of enemy forces. The approach march terminates in a march
               objective—such as an attack position, TAA, assault position—or it can be used to
               transition to an attack, for example, when the unit is no longer conducting a movement
               to contact. During approach marches, units use movement formations and movement
               techniques (see chapter 3) to balance security and speed throughout the operation. (See
               ATP 3-21.10 for additional information concerning approach marches.)

        Forced March
               6-101. A forced march is a march longer or faster than usual or in adverse conditions
               (FM 3-90). Forced marches require speed, exertion, and an increase in the number of
               hours marched each day beyond normal standards. Soldiers cannot sustain forced
               marches for more than a short period. In a forced march, the platoon may not halt as
               often or for as long as recommended for maintenance, rest, and feeding, or when vehicles
               are attached, fuel. Leaders must understand that immediately following a long and fast
               march, Soldiers experience a temporary deterioration in their physical condition. The
               combat effectiveness and cohesion of the unit also temporarily decreases, and the plan
               must accommodate stragglers. (See ATP 3-21.18 for additional information concerning
               forced marches.)

        Tactical Road March
               6-102. A tactical road march is a rapid movement used to relocate units within an
               assigned area to prepare for combat operations (FM 3-90). The primary consideration of
               the tactical road march is rapid movement. Typically, Infantry small units executes a
               tactical road march using the dismounted method of troop movement (see
               paragraph 6-104). Based on the mission variables of METT-TC (I) a unit can execute a
               mounted method of troop movement (see paragraph 6-105). In both methods, the
               moving force employs security measures, even when contact with enemy ground forces
               is not expected. During a tactical road march, the leader is always prepared to take
               immediate action if the enemy attacks. (See ATP 3-21.10 for additional information
               concerning tactical road marches.)

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              Note. The organization for a tactical road march and forced march is the march
              column. A march column is all march serials using the same route for a single
              movement under control of a single commander (FM 3-90). The subordinate
              element for a march column is a march serial. A march serial is a subdivision of
              a march column organized under one commander (FM 3-90). An example is a
              battalion serial formed from a brigade-sized march column. The subordinate
              element for the march serial is a march unit. A march unit is a subdivision of a
              march serial (FM 3-90). It moves and halts under the control of a single
              commander who uses voice and visual signals. An example of a march unit is a
              company from a battalion-sized march serial. Units organize a march column
              into four elements: reconnaissance, quartering party, main body, and trail party.
              Organized march columns employ three ground movement techniques: open
              column, close column, and infiltration march. All techniques use scheduled halts
              to control and sustain the road march. (See ATP 3-21.20 and ATP 3-21.10 for
              additional information.)



         METHODS OF TROOP MOVEMENT
            6-103. There are five methods of troop movements that units can execute. Generally,
            units can execute these methods in combination. For example, a unit can initially execute
            a mounted movement and then transition to a dismounted movement. Additionally, each
            method can be applied to nontactical or tactical movement. These methods are—
            dismounted movement, mounted movement, air movement, rail movement (see
            ATP 4-14 for additional information concerning rail movement), and water movement
            (see TC 3-21.76 for additional information concerning waterborne operations).

         DISMOUNTED MOVEMENT
            6-104. A dismounted movement is a movement of troops and equipment mainly by
            foot, with limited support by vehicles (FM 3-90). Dismounted movement is also called
            foot marches. Foot marches are characterized by combat readiness (because all Soldiers
            can immediately respond to enemy attack without the need to dismount), ease of control,
            adaptability to terrain, slow rate of movement, and increased Soldier fatigue. Foot
            marches do not depend on the existence of roads. (See ATP 3-21.18 for additional
            information concerning dismounted movement.)

         MOUNTED MOVEMENT
            6-105. A mounted movement is the movement of troops and equipment by combat and
            tactical vehicles (FM 3-90). The speed of the march and the increased supplies that can
            accompany the unit characterize this movement method. Infantry maneuver units cannot
            move themselves with organic truck assets and require assistance from transportation
            elements to conduct mounted movement. (See ATP 3-21.10 for additional information
            concerning mounted movement.)



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        AIR MOVEMENT
               6-106. Air movement is air transport of units, personnel, supplies, and equipment
               including airdrops and air landings (JP 3-36). Planning for air movements is like other
               missions. In addition to the normal planning process, however, air movement planning
               must cover specific requirements for air infiltration and exfiltration. They include—
                          Coordinate with the supporting aviation units.
                          Plan and rehearse with the supporting aviation unit before the mission, if
                          possible. If armed escort accompanies the operation, the platoon leader and
                          company commander, as well as the assault or general support aviation unit,
                          should ensure aircrews are included in the planning and rehearsals.
                          Gather as much information as possible, such as the enemy situation, in
                          preparation of the mission.
                          Plan and coordinate (commonly accomplished at battalion and above
                          echelons) joint suppression of enemy air defense.
                          Plan and coordinate (commonly accomplished at battalion and above
                          echelons) different ingress and egress routes, covering the following:
                             Planned insertion and extraction points.
                             Emergency extraction rally points.
                             Lost communications extraction points.
               6-107. Planned extraction points and emergency extraction rally points require
               communications to verify the preplanned pickup time or coordinate an emergency
               pickup time window. Planning must include details for extraction when communications
               between higher headquarters and unit are lost. The lost communications extraction point
               involves infiltration teams moving to the emergency extraction point after two
               consecutive missed communications windows and waiting up to 24 hours for pickup.
               (See FM 3-99 for additional information concerning air movement.)

        WATER MOVEMENT
               6-108. Use of inland and coastal waterways may add flexibility, surprise, and speed to
               tactical movements. Use of these waterways also increases the load-carrying capability
               of dismounted Infantry rifle units. See TC 3-21.76 chapter 12 for additional information
               on tactical movement by watercraft (specifically, the combat rubber raiding craft).

                 Note. During tactical movement by watercraft and crossing water obstacles,
                 leaders identify weak or non-swimmers and pair them with good swimmers in
                 their squads.




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            6-109. When platoons or squads must move by, into, though, or out of rivers, lakes,
            streams, or other bodies of water, they treat the water obstacle as a danger area. While
            on the water, the platoon is exposed and vulnerable. (See TC 3-21.76 for information on
            waterborne operations.) Common techniques during the employment of waterborne
            operations include:
                       To offset the detection challenges, the platoon—
                           Moves during limited visibility.
                           Disperses.
                           Moves near the shore to reduce the chances of detection.
                       When moving in more than one boat, the platoon—
                           Maintains tactical integrity and self-sufficiency.
                           Cross-loads essential Soldiers and equipment.
                           Ensures the radio is with the leader.
                       If boats are not available, several other techniques can be used such as—
                           Swimming.
                           Poncho rafts.
                           Air mattresses.
                           Waterproof bags.
                           A 7/16-inch rope used as a semisubmersible, one-rope bridge, or safety
                           line.
                           Water wings (made from a set of trousers).




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                                               Chapter 7
                                 Patrols and Patrolling

                A patrol is a detachment sent out by a larger unit to conduct a
                specific mission that operates semi-independently and returns
                to the main body upon completion of mission. Patrolling fulfills
                the Infantry’s primary function of finding the enemy to engage them
                or report their disposition, location, and actions. Patrols act as
                ground sensors or early warnings for larger units and the planned
                action determines the type of patrol. This chapter provides an
                overview on patrolling by the Infantry rifle platoon and squad and
                discusses in detail combat and reconnaissance patrols.

           SECTION I – OVERVIEW
            7-1. When a patrol is made up of a single unit, such as a rifle squad sent out on a
            reconnaissance patrol, the squad leader is responsible and designated as the patrol leader.
            If a patrol is made up of mixed elements from several units, then the senior officer or
            noncommissioned officer is designated as the patrol leader. This temporary title defines
            the role and responsibilities during the mission. The patrol leader may designate an
            assistant, normally the next senior Soldier in the patrol, and subordinate element leaders
            the patrol leader requires.

              Note. In this chapter, the patrol leader is the person in charge of the patrol. In a
              platoon-size element, that person would most likely be the platoon leader. The
              assistant patrol leader (known as APL) is the second person in charge of the
              patrol. In a platoon-size element, that person most likely is the platoon sergeant.



         COMMON CONSIDERATIONS
            7-2. The leader of any patrol, regardless of the type or the tactical task assigned, has
            an inherent responsibility to plan and prepare for possible enemy contact while
            patrolling. Patrols are always assigned a tactical mission. After the mission, the patrol
            returns to the main body, the patrol leader reports to the commander and describes the
            patrol’s actions, observations, and condition.




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        PURPOSE OF PATROLLING
              7-3. The planned action determines if the patrol is combat, or reconnaissance focused.
              Regardless of the type of patrol, the unit needs a clear task and purpose. There are several
              specific purposes which can be accomplished by patrolling—
                         Gathering information on the enemy, on the terrain, or on the populace.
                         Regaining contact with the enemy or with adjacent friendly forces.
                         Engaging the enemy in combat to destroy them or inflict losses.
                         Providing unit security.
                         Protecting essential infrastructure or bases.
                         Deterring and disrupting insurgent or criminal activity.

        ORGANIZATION OF PATROLS
              7-4. A patrol is organized to perform a specific mission. It must be prepared to secure
              itself, navigate accurately, identify and cross danger areas, and reconnoiter the patrol
              objective. If it is a combat patrol, it must be prepared to support by fire, breach obstacles,
              and assault the objective. If it is a reconnaissance patrol, it must reconnoiter and conduct
              surveillance of an objective area while securing itself. Additionally, a patrol must be
              able to conduct detailed searches as well as deal with casualties and detainees.
              7-5. The patrol leader identifies those tasks that must be or will likely be conducted
              during the patrol and decides which elements will perform which tasks. Where possible,
              the leader should maintain squad and fire team integrity. Squads and fire teams may
              perform more than one task during the time a patrol is away from the main body, or it
              may be responsible for only one task. The leader must plan carefully to identify and
              assign all required tasks in the most efficient way.

                Note. A patrol can consist of a unit as small as a fire team but are usually squad
                and platoon sized. For larger combat tasks such as for a raid, the patrol is
                sometimes a company (see ATP 3-21.10).


              7-6. The headquarters element of a patrol (for example, platoon size) normally consists
              of the patrol leader (platoon leader) and a radiotelephone operator (known as RTO). The
              platoon sergeant may be designated as the APL. Additional teams and individuals
              common to all patrols generally include:
                          Forward observer (FO), combat medics, and combat lifesavers (CLSs).
                          Aid and litter teams responsible for locating, treating, and evacuating
                          casualties.
                          Detainee teams responsible for processing detainees, according to the five Ss
                          (search, silence, segregate, speed, and safeguard) and leader’s guidance.
                          These teams also may be responsible for accounting for and controlling
                          recovered personnel.
                          Recorder designated to record all information collected during the patrol.


        7-2                                          ATP 3-21.8




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                          Compass and pace Soldiers to navigate using terrain association, dead
                          reckoning, or a combination of both (see chapter 3 section I).

         RALLY POINTS
             7-7. A rally point is a place designated by the patrol leader where the patrol (or
             individual Soldiers) move(s) to reassemble and reorganize if it becomes dispersed.
             Forces conducting a patrol, or an infiltration or exfiltration commonly use this control
             measure. Despite these different types of rally points (see paragraph 7-10), the
             occupation and actions occurring are generally the same.

         Selection of Rally Points
             7-8. The patrol leader physically reconnoiters routes to select rally points whenever
             possible and determines what actions will occur there. The leader selects tentative points
             if there is only time for a map reconnaissance. Routes are confirmed by the leader
             through actual inspection as the patrol moves through them.
             7-9. When occupying a rally point, leaders use a perimeter defense to ensure all-around
             security. Rally points used to reassemble the unit after an event are likely to be chaotic
             scenes and will require immediate actions by whatever Soldiers happen to arrive. These
             actions and other considerations are listed in table 7-1.
                          Table 7-1. Actions and considerations at a rally point



          Select a rally point that—                • Establish security.      • Travel time and distance.
          • Is easily recognized.                   • Reestablish the          • Maneuver room needed.
          • Is large enough for the unit to         chain of command.          • Adjacent unit coordination
          assemble.                                 • Account for              requirements.
          • Is defensible for a short time.         personnel and              • Line of sight and range
                                                    equipment status.          requirements for
          • Is away from normal movement routes
          and natural lines of drift.               • Determine how long       communication equipment.
                                                    to wait until continuing   • Trafficability and load bearing
          • Designate a rally point by one of the   the unit’s mission or
          following three ways:                                                capacity of the soil (especially
                                                    linkup at a follow-on      when mounted).
            - Physically occupy it for a short      rally point.
            period.                                                            • Ability to prevent surprise
                                                    • Complete last            from the enemy.
            - Use hand and arm signals (either      instructions.
            pass by at a distance or walk                                      • Energy expenditure of
            through).                                                          Soldiers and their condition at
                                                                               the end of the movement.
            - Radio communication.


         Types of Rally Points
             7-10. The most common types of rally points used during movement and crossing
             danger areas are initial, en route, reentry, and nearside and far side. An objective rally
             point (known as ORP) is most used prior to actions on or near the objective area during
             combat and reconnaissance patrols. Soldiers must know which rally point to move to at

                                                    ATP 3-21.8                                                 7-3




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              each phase of the patrol mission. They should know what actions are required there and
              how long they are to wait at each rally point before moving to another. The following is
              a description of each rally point:
                         Initial rally point. A place inside of friendly lines where a unit may assemble
                         and reorganize if it makes enemy contact during the departure of friendly
                         lines or before reaching the first en route rally point. It is normally selected
                         by the commander of the friendly unit.
                         En route rally point. A point where the leader designates en route rally points
                         based on the terrain, vegetation, and visibility.
                         Reentry rally point. A point located out of sight, sound, and small-arms
                         weapons range of the friendly unit through which the patrol will return. This
                         also means the reentry rally point should be outside the final protective fires
                         (FPFs) of the friendly unit.
                         Nearside and far side rally points. These rally points are on the near and far
                         side of danger areas. If the patrol makes contact while crossing the danger
                         area and control is lost, Soldiers on either side move to the rally point nearest
                         them. They establish security, reestablish the chain of command, determine
                         their personnel and equipment status, continue the patrol mission, and linkup
                         at the ORP.
                         ORP. A point out of sight, sound, and small-arms range of the objective area
                         (reconnaissance or combat). It normally is in the direction the patrol plans to
                         move after completing its actions on the objective. The ORP is tentative until
                         the objective is pinpointed. Actions at or from the ORP include—
                             Issuing a final fragmentary order (FRAGORD).
                             Disseminating information from reconnaissance if contact was not made.
                             Making final preparations before continuing operations.
                             Accounting for Soldiers and equipment after actions at the objective are
                             complete.
                             Reestablishing the chain of command after actions at the objective is
                             complete.

                Note. Isolated Soldiers still able to function on their own will execute their
                isolated Soldier guidance designated in the patrol plan. (See ATP 3-21.10 for
                additional information.)


        Occupation of an Objective Rally Point
              7-11. The occupation of an ORP is somewhat different (from the other rally points listed
              in paragraph 7-10) in that it is established in much the same way as a tactical assembly
              area (TAA) (see paragraph 4-61), and a patrol base (see paragraph 7-17). As this rally
              point is typically near the infiltrating (see paragraphs 4-16 to 4-20) unit’s objective, each
              element within the patrol is assigned a sector within the perimeter of the ORP and is
              responsible for its security. Prior to occupation the patrol leader conducts a leader’s
              reconnaissance of the ORP. Once the leader’s reconnaissance is completed and as the

        7-4                                         ATP 3-21.8




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            patrol occupies the ORP, the patrol leader prepares for a second leader’s reconnaissance
            (see paragraph 7-15) of the patrol’s objective. As before the patrol leader assembles the
            appropriate leaders and personnel for this leader’s reconnaissance. Once all elements
            have closed within the ORP, the patrol begins the leader’s reconnaissance of the patrol’s
            objective. The patrol leader can emplace appropriate surveillance, and both the left,
            right, and rear security elements while on the leader’s reconnaissance. The ORP is
            tentative until the objective is pinpointed. The patrol occupies an ORP (see figure 7-1
            for example sequence on page 7-6) in the following general sequence:
                       The patrol halts beyond sight and sound of the ORP (200 to 400 meters in
                       good visibility, 100 to 200 meters in limited visibility).
                       The patrol establishes a security halt (see paragraph 6-70) according to the
                       unit SOP.
                       After issuing a five-point contingency plan (see paragraph 7-15) to the APL,
                       the patrol leader moves forward from the security halt with a reconnaissance
                       element to conduct a leader’s reconnaissance of the ORP.
                       For a squad-sized patrol, the patrol leader moves forward with a compass
                       Soldier and one member of each fire team to confirm the location of the ORP.
                            After physically clearing the ORP location, the patrol leader leaves two
                            Soldiers at the 6 o’clock position facing in opposite directions.
                            The patrol leader issues a contingency plan and returns with the compass
                            Soldier to guide the patrol forward.
                            The patrol leader guides the patrol forward into the ORP, with one team
                            occupying from 3 o’clock through 12 o’clock to 9 o’clock, and the other
                            occupying from 9 o’clock through 6 o’clock to 3 o’clock.
                       For a platoon-sized patrol, the patrol leader, RTO, weapons squad leader, two
                       assistant gunners, a team leader, a squad automatic weapon gunner, and
                       riflemen conduct the leader’s reconnaissance to confirm the ORP.
                            After physically clearing the ORP location, the patrol leader leaves
                            selected Soldiers in the ORP at the 10, 2, and 6 o’clock positions. (For
                            example, the weapons squad leader establishes machine gun positions
                            marked by the assistant gunners at the 10 and 2 o’clock positions and
                            positions the squad automatic weapon gunner at the 6 o’clock position.)
                            The patrol leader leaves a leader (generally the weapons squad leader or
                            team leader) at the ORP, issues a contingency plan, then returns with
                            selected Soldier(s) to guide the patrol forward.
                            The patrol leader guides the patrol forward into the ORP: with the first
                            squad in the order of movement (base squad), occupying from 10 to
                            2 o’clock; trail squads occupy from 2 to 6 o’clock and 6 to 10 o’clock,
                            respectively; and patrol headquarters element occupying the center of the
                            triangle (or circle perimeter [in whichever fits the terrain]).




                                                ATP 3-21.8                                      7-5




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                          Figure 7-1. Occupation of the objective rally point


        MOUNTED PATROLS
              7-12. An analysis of METT-TC (I) mission, enemy, terrain and weather, troops and
              support available, time available, civil considerations, and informational considerations
              variables determines whether the patrol is mounted or dismounted. Some factors to
              consider when determining which mode to use include—
                         Mission, especially where distance and speed are factors.
                         Onboard visibility, navigation, and communication.
                         Firepower and protection.
                         Stealth and surprise.
                         Terrain.

        Additional Considerations
              7-13. The planning and coordination required for dismounted patrols apply to
              vehicle-mounted patrols. The patrol leader additionally considers the following:
                        Organize and orient vehicle gunners and vehicle commanders to maintain
                        all-round security and, for urban areas, high-low security. Carefully consider
                        leader locations in each vehicle and within the convoy.
                        Rehearse mounted battle drills, reaction to contact, roll over drills, and
                        mounting and dismounting in contact. If water hazards are present, include
                        evacuation of the vehicle under these conditions. Include drivers in all
                        rehearsals.


        7-6                                        ATP 3-21.8




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                       Plan alternate routes to avoid civilian traffic and roadblocks.
                       Remember that four is generally the minimum number of vehicles to conduct
                       an operation. If one vehicle is disabled or destroyed, it can be recovered while
                       the others provide security. Unit tactical standard operating procedures
                       (SOPs) determine the number of vehicles required.
                       Plan for actions required if a vehicle breaks down and must be repaired or
                       recovered. Review self-recovery procedures. Plan actions in case a vehicle
                       gets stuck and cannot be recovered. Plan actions for catch-ups and breaks in
                       contact.
                       Establish primary, alternate, contingency, and emergency (known as PACE)
                       communications plan (see paragraphs 2-34 to 2-39).
                       Secure external gear to prevent theft.
                       Plan for heavy civilian vehicle and pedestrian traffic.
                       Conduct a map reconnaissance and identify likely chokepoints, ambush sites
                       (intersections), and overpasses.
                       Plan primary and alternate routes to avoid potential hazards.
                       Drive offensively, unpredictably, but within rules of engagement (ROE)
                       restrictions.
                       Avoid stopping; it can create a potential kill zone.
                       Learn the characteristics of the vehicle, to include how high a vehicle can
                       clear curbs and other obstacles, its turning radius, its high-speed
                       maneuverability, and its estimated width (especially with slat armor).

         Patrols with Mounted and Dismounted Phases
            7-14. The mounted patrol normally moves to a dismount point (often the designated
            ORP) and conducts the same actions on the objective as a dismounted patrol. If possible,
            the vehicles establish a support by fire position to cover the objective, establish blocking
            positions, provide security, or otherwise support the actions of the dismounted element.
            The dismounted element conducts its required part of the mission and returns to the
            vehicles, remounts, and continues mission. Types of combat patrols that are especially
            suited for mounted movement include antiarmor ambushes and reconnaissance and
            security patrols covering long distances.

         LEADER’S RECONNAISSANCE
            7-15. The patrol leader reconnoiters the objective just before an attack or prior to
            sending elements forward to locations where they will support by fire. The leader
            confirms the condition of the objective, gives each subordinate leader a clear picture of
            the terrain where they will move, and identifies parts of the objective they must seize or
            suppress. The leader’s reconnaissance patrol can consist of the patrol leader or
            representative, the leaders of major subordinate elements, and (sometimes) security
            personnel and unit guides. The leader can use the memory aid (see figure 7-2 on
            page 7-8) to help in remembering the five-point contingency plan (going, others, time,



                                                 ATP 3-21.8                                        7-7




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              what, actions [known as GOTWA]) which is used when anybody separates from the
              main body.




                                  Figure 7-2. Five-point contingency plan

              7-16. A patrol leader should conduct a leader’s reconnaissance when time or the
              situation allows. The plan includes a leader’s reconnaissance of the objective once
              subordinate elements establish the ORP. During a reconnaissance, the leader pinpoints
              the objective, selects positions for the elements, squads, and teams and adjusts the plan
              based upon observation of the objective. Each type of patrol requires different tasks
              during the leader’s reconnaissance, and the leader takes different elements depending
              upon the patrol’s mission. The leader ensures the objective remains under continuous
              surveillance once deciding to return to the ORP. The leader designates a rally point and
              plans for adequate time to return to the ORP, complete the plan, disseminate
              information, issue orders and instructions, and allow the subordinate units to make
              additional preparations. (See table 7-2.)
                Table 7-2. Leader’s reconnaissance (tasks and control measures)


         Pinpoint Objective                               Trigger Points
         Determine Enemy Situation                        Left and Right Limits
         Identify Kill Zone/Objective                     Limit of Advance
         Identify Assault Position(s)
         Identify Support by Fire Position(s)
         Identify/Establish Surveillance Position
         Identify/Emplace Security Positions
         Identify Friendly Positions and Routes
         Confirm Plan


                Note. A leader’s reconnaissance may alert the enemy a patrol is in the area by
                evidence of movement or noise before the patrol begins its mission. The leader
                must weigh the risk with that of only conducting a map reconnaissance.




        7-8                                         ATP 3-21.8




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         PATROL BASE ACTIVITIES
            7-17. A patrol base is a security perimeter, which is set up when a squad or platoon is
            conducting patrol halts for an extended period. A patrol base should not be occupied for
            more than a 24-hour period (except in emergency). A patrol never uses the same patrol
            base twice. The following activities at a minimum should be taken into consideration:
                      Use.
                      Site selection.
                      Planning consideration.
                      Security measures.
                      Occupation.
                      Priorities of work.

         USE
            7-18. Patrol bases typically are used to—
                      Avoid detection by eliminating movement.
                      Hide a unit during a long-detailed reconnaissance.
                      Perform maintenance on weapons, equipment, eat, and rest.
                      Plan and issue orders.
                      Reorganize after infiltrating an enemy area.
                      Establish a base from which to execute several consecutive or concurrent
                      operations.

         SITE SELECTION
            7-19. The leader selects the tentative site from a map or by aerial reconnaissance. The
            site’s suitability must be confirmed and secured before the unit moves into it. Plans to
            establish a patrol base must include selecting an alternate patrol base site. The alternate
            site is used if the first site is unsuitable or if the patrol must unexpectedly evacuate the
            first patrol base.

         PLANNING CONSIDERATIONS
            7-20. Leaders planning for a patrol base must consider the mission, and active and
            passive security measures. A patrol base must be located so it allows the unit to
            accomplish its mission:
                      Observation posts and communication with observation posts.
                      Patrol fire plan.
                      Alert plan.
                      Withdrawal plan from the patrol base to include withdrawal routes and a rally
                      point or alternate patrol base.
                      A security system that makes sure specific individuals are always awake.



                                                 ATP 3-21.8                                        7-9




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                          Enforcement of camouflage, noise, and light discipline and elimination of
                          signals emissions to maximum extent possible.
                          The conduct of required activities with minimum movement and noise.
                          Priorities of work.

        SECURITY MEASURES
               7-21. The following security measures should be considered:
                         Select terrain the enemy probably would consider of little tactical value.
                         Select terrain off main lines of drift.
                         Select difficult terrain impeding foot movement, such as an area of dense
                         vegetation, preferably bushes and trees spreading close to the ground.
                         Select terrain near a source of water.
                         Select terrain that is defendable for a short period and offers good cover and
                         concealment.
                         Avoid built up areas and known or suspected enemy positions.
                         Avoid ridges and hilltops, except as needed for maintaining communications.
                         Avoid small valleys.
                         Avoid roads and trails.

        OCCUPATION
               7-22. A patrol base is reconnoitered and occupied in the same manner as an ORP (see
               paragraph 7-11 and figure 7-1 on page 7-6); with the exception, the patrol will typically
               plan to enter at a 90-degree turn. The patrol leader leaves a two-Soldier observation post
               at the turn; the patrol covers tracks from the turn to the patrol base.
               7-23. The patrol moves into the patrol base. Squad-sized patrols generally will occupy
               a cigar-shaped perimeter; platoon-sized patrols generally will occupy a triangle-shaped
               perimeter (see figure 7-3). The patrol leader inspects and adjusts the entire perimeter, as
               necessary.




        7-10                                        ATP 3-21.8




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                                 Figure 7-3. Patrol base occupation

            7-24. After the patrol leader has checked each squad’s portion of the perimeter, each
            squad leader sends a two-Soldier reconnaissance and surveillance team to the leader at
            the patrol’s command post. The leader issues the three reconnaissance and surveillance
            teams a contingency plan, reconnaissance method, and detailed guidance on what to
            look for (enemy, water, built up areas or human areas, roads, trails, or possible rally
            points).

              Note. Squad-sized patrols do not normally send out a reconnaissance and
              surveillance team at night.


            7-25. The patrol leader directs the teams to use a particular reconnaissance method, such
            as a fan or box (see paragraphs 7-229 to 7-231), the route, and specific exit and reentry
            points:
                        If the leader feels the patrol was tracked or followed, the leader may elect to
                        wait in silence at 100 percent alert before sending out reconnaissance and
                        surveillance teams.

                                                ATP 3-21.8                                       7-11




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                          The patrol remains at 100 percent alert during this recon.
                          The reconnaissance and surveillance teams conduct a security patrol,
                          gathering the directed information. Following the patrol, they submit a sketch
                          and detailed observations about the terrain surrounding the patrol base.
                          Based on the reconnaissance and surveillance teams’ reports, the patrol leader
                          decides to either stay in the current patrol base and begin priorities of work
                          or move the patrol base to an alternate location.
               7-26. Key considerations when occupying a passive (clandestine) patrol base include:
                         Squad or smaller-size patrol base established to rest Soldiers.
                         Unit moves as a whole and occupies in force.
                         Unit moves in at a 90-degree angle to the order of movement.
                         A Claymore mine is emplaced on the route entering the patrol base.
                         Alpha and bravo teams sit back-to-back facing outward.
                         One individual (at least) on each team is alert and providing security.

        PRIORITIES OF WORK
               7-27. Once the leader is briefed by the reconnaissance and surveillance teams and
               determines the area is suitable for a patrol base, the leader establishes or modifies
               defensive work priorities to establish the defensive posture of the patrol base. Priorities
               of work are not a laundry list of tasks to be completed; priorities of work must consist
               of a task, a given time, and a measurable performance standard. For each priority of
               work, a clear standard must be issued to guide the element in the accomplishment of
               each task. It also must be designated whether the work will be controlled in a centralized
               or decentralized manner. Priorities of work are determined in accordance with the
               mission variables of METT-TC (I). Priorities of work may include the tasks in
               paragraphs 7-28 to 7-39 but are not limited to them.

        Continuous Security
               7-28. Prepare to use all active and passive measures to cover the entire perimeter all the
               time, regardless of the percentage of weapons used to cover all the terrain. Employ all
               elements, weapons, and personnel to meet conditions of the terrain, enemy, or situation.
               Additional considerations include (METT-TC [I] dependent):
                          Emplacement of obstacles, including claymore mines.
                          Construction of hasty individual fighting positions.
                          Completion of standard range cards for each weapon system.
                          Completion of teams, squads, and patrol sector sketches (before security is
                          decreased from 100 percent).

        Withdrawal Plan
               7-29. The patrol leader designates the signal for withdrawal and order of withdrawal.
               The leader identifies a rally point(s) and alternate patrol base.


        7-12                                        ATP 3-21.8




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         Continuous Communications
            7-30. Communications must be maintained with higher headquarters, observation posts,
            and within the unit. Other Soldiers within the patrol may rotate duties with the patrol
            leader’s RTO allowing accomplishment of continuous radio monitoring, radio
            maintenance, act as runners for the platoon leader, or conduct other priorities of work.

         Mission Planning and Preparation
            7-31. The patrol leader uses the patrol base to plan, issue orders, rehearse, and inspect.
            When time permits, the leader can use the patrol base to prepare for follow-on missions.

         Weapons and Equipment Maintenance
            7-32. The leader ensures medium machine guns, weapon systems, communications
            equipment, night vision devices and all other equipment are maintained. No more than
            one-third of any given type of system carried by the patrol should be disassembled for
            preventative checks and services at any one time. As a rule, weapons should not be
            disassembled for routine maintenance at night. If one of the patrol’s medium machine
            guns is down for maintenance, then security levels for all remaining systems are raised.

         Water Resupply
            7-33. The APL (or platoon sergeant) organizes watering parties, as necessary. The
            watering party carries canteens in an empty rucksack or duffel bag and must have
            communications and contingency plans related to their making enemy contact en route
            to or returning from the water point or if the patrol base has to displace during their
            absence.

         Mess Plan
            7-34. At a minimum, security and weapons maintenance are performed prior to mess.
            Normally no more than half the patrol eats at one time. Soldiers typically eat 1 to
            3 meters behind their fighting positions to avoid distracting those Soldiers providing
            security.

         Rest and Sleep Plan Management
            7-35. All leaders within the patrol must understand the problems associated with sleep
            deprivation and the consequences of not following the unit rest and sleep plan. The body
            needs regular rest to restore physical and mental vigor. Tired Soldiers are sluggish and
            react slower than normal; fatigue makes them more susceptible to sickness, and to
            making errors that could endanger both themselves and the entire patrol. For the best
            health, Soldiers should get 6 to 8 hours of uninterrupted sleep each day. As that is seldom
            possible in combat, use rest periods and off-duty time to rest or sleep.
            7-36. The patrol leader must develop and enforce the unit sleep plan that provides
            Soldiers with a minimum of 4 hours of uninterrupted sleep in a 24-hour period. If sleep
            is interrupted, then 5 hours should be given. During continuous operations when

                                                ATP 3-21.8                                       7-13




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               uninterrupted sleep is not possible, blocks of sleep, which add up to 6 hours in a 24-hour
               period, are adequate for most people. Remember, 4 hours each 24-hour period is far
               from ideal. Do not go with only 4 hours of sleep each 24 hours for more than 2 weeks
               before paying back sleep debt. Recovery time should be approximately 8 to 10 hours of
               sleep each 24 hours over a 5- to 7-day period.

        Alert Plan and Stand To
               7-37. The patrol leader states the alert posture and stand to time. The leader develops
               the plan to ensure all positions are checked periodically, observation posts are relieved
               periodically, and at least one leader always is alert. The patrol typically conducts stand
               to at a time specified by unit tactical SOP such as 30 minutes before and after begin
               morning nautical twilight or end evening nautical twilight.

        Resupply
               7-38. Distribute or cross load ammunition, meals, equipment, and so on. Resupply
               operations, when required, are integrated within the scheme of maneuver, or executed
               as a standalone operation.

        Sanitation and Personal Hygiene
               7-39. The APL (or platoon sergeant) and combat medic ensure a straddle trench is
               prepared and marked. All Soldiers will brush their teeth, wash their face, shave, and
               wash their hands, armpits, groin, and feet. The patrol will not leave trash behind. The
               mission variables of METT-TC (I) are always taken into consideration prior to executing
               sanitation and personal hygiene activities. (See ATP 4-25.12 for additional information
               on basic field sanitation and hygiene.)

          SECTION II – PLANNING AND PREPARATION
               7-40. Planning and preparation are the processes by which the leader develops a specific
               course of action (COA) for execution focused on the expected results from the patrol.
               Planning and preparation help the patrol leader create and communicate a common
               vision and a shared understanding between subordinate leaders. The two processes result
               in an order that synchronizes the action of forces in time, space, and purpose to achieve
               objectives and accomplish missions. The leader relies on intuitive decision making and
               direct contact with subordinate leaders to integrate activities when circumstances are not
               suited for a more deliberate planning timeline.

                 Note. As with any mission assigned to the patrol, the patrol leader employs troop
                 leading procedures (TLPs), see chapter 2, to develop the plan and prepare for the
                 mission.




        7-14                                        ATP 3-21.8




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         INITIAL COORDINATIONS AND ACTIVITIES
            7-41. The patrol leader normally will receive the operation order (OPORD) in the
            battalion or company command post where communications are good and vital
            personnel are available for coordination. The leader must identify required actions on
            the objective, plan backward to the departure from friendly lines, then forward to the
            reentry of friendly lines. Because patrols act semi-independently, move beyond the
            supporting range of the parent unit, and often operate forward of friendly units,
            coordination and activities must be thorough and detailed. As the patrol leader plans, the
            following elements in paragraphs 7-42 to 7-56 are considered.
            7-42. Environment, local situation, and possible threats. The patrol leader should
            coordinate an intelligence briefing covering the operational environment considerations,
            (specifically the enemy, terrain, weather, and civil considerations, and integrated into
            these variables, informational considerations) that might affect the patrol’s mission,
            general and specific threats to the patrol, suspect persons, and vehicles and locations
            known to be in the patrol’s area of operations (AO).
            7-43. Mine and explosive device threat. The patrol leader should make a mine and
            explosive device risk assessment based on the latest information available. This will
            determine many of the actions of the patrol. Patrol members must be informed of the
            latest mine and explosive device threats and restrictions to the unit’s tactical SOPs.
            7-44. Operations update. The patrol leader should coordinate for an up-to-date briefing
            on the location and intentions of other friendly patrols and units in the patrol’s AO. This
            briefing should include the existing control measures in effect, restricted terrain areas,
            special effects of the patrol’s area, and all other operational issues affecting the patrol
            and its mission.
            7-45. Mission and tasks. Every patrol leader should be given a specific task and purpose
            to accomplish with a patrol. Accordingly, each patrol member knows the mission and is
            aware of individual responsibilities.
            7-46. Locations and route. The leader must brief the patrol on all pertinent locations and
            routes. Locations and routes may include drop-off points, pick-up points, planned routes;
            rally points, exit and re-entry points, and alternates for each should be covered in detail.
            7-47. Posture. This is a vital consideration during a civil reconnaissance patrol. (See
            paragraph 7-209.) The patrol leader should not depart until the leader is sure the patrol
            completely understands what posture or attitude the leader wishes the patrol to present
            to the populace it encounters. The posture may be soft or hard depending on the situation
            and environment. The patrol posture may change several times during a patrol.
            7-48. Biometric enrollments/biometric-enabled watchlist (BEWL). An additional
            consideration during civil reconnaissance may be the number of biometric enrollments
            accomplished as well as how many people were identified with organic biometric
            devices as Tier/Level 1 to 6 targets on the BEWL. Biometrics collections and its use
            prior to conducting essential tasks or activities enhance protection. Soldiers utilizing the
            BEWL loaded on handheld devices or other biometrics collect/match systems can
            identify individuals via prior biometric enrollments so that regardless of who they say

                                                 ATP 3-21.8                                      7-15




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               they are their identities are known with certainty. (See FM 3-24.2 for additional
               information.)
               7-49. Personnel recovery. The efforts taken to plan, prepare for, and effect the recovery
               and return to friendly command and control of U.S. military, DOD civilian and
               contractor personnel, or other personnel as directed by the President or Secretary of
               Defense, who are isolated in an operational environment that requires them to survive,
               communicate, organize, resist, escape, and evade. (See ATP 3-21.10 for additional
               information.)
               7-50. Actions on contact and actions at the scene of an incident. These are likely to be
               part of the unit’s tactical SOPs but should be covered especially if there are local
               variations or new patrol members.
               7-51. ROE, rules of interaction, and rules for escalation of force. Each patrol member
               must know and understand these rules. (See ATP 3-21.10 for additional information.)
               7-52. Communications plan/lost communications plan. Every patrol member should
               know the means in which the patrol plans to communicate, to whom, how, and when the
               patrol should report. The patrol leader must consider what actions the patrol will take in
               the event it loses communications. The unit may have established these actions in its
               tactical SOP, but all patrol members should be briefed on the communication plan and
               be given the appropriate frequencies, contact numbers, and passwords in effect.
               7-53. Electromagnetic warfare (EW) countermeasures plan. This is especially important
               if the explosive device threat level is high. The patrol leader should clearly explain to
               all patrol members which EW devices are being employed and their significant
               characteristics. These issues may be covered by the unit’s tactical SOP, but all patrol
               members should be briefed on the EW plan in effect during the patrol.
               7-54. Standard and special uniforms and equipment. Equipment should be distributed
               evenly among the patrol members. The location of essential or unique equipment should
               be known by all members of the patrol. SOPs should be developed to stipulate what
               uniform is to be worn for various types of patrols. The dress state will be linked to threats
               proper preparations. All patrols must have a day and night capability regardless of the
               expected duration of the patrol.
               7-55. Medical. Every Soldier should carry their own individual improved first-aid kit
               per unit tactical SOP. The leader should ensure that every patrol has a combat medic and
               one CLS qualified Soldier with a CLS bag. All patrol members must know who is
               responsible for carrying the bag and know how to use its contents.
               7-56. Attachments. The patrol leader must ensure all personnel attached to the patrol
               are introduced to the other patrol members and briefed thoroughly on the tactical SOP;
               all patrol special orders; and existing chain of command. The following personnel may
               be attached to a unit going out on patrol:
                           Machine gun, antiarmor, sniper, sapper, and air defense teams.
                           Signal intelligence and human intelligence collection teams.
                           Interpreters and host-nation security forces.
                           Explosive ordnance disposal teams.

        7-16                                         ATP 3-21.8




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                       Female Soldiers specifically designated and trained to search local women,
                       when required.
                       Military police or military working dog teams.

         ESSENTIAL ELEMENTS AND SUPPORTING TASKS
            7-57. The patrol leader ensures all essential elements and supporting tasks have been
            assigned to be performed on the objective, at rally points, at chance contact, at danger
            areas, at security or observation locations, along the routes, and at passage lanes.
            Example essential elements and supporting tasks are addressed in paragraphs 7-58 to
            7-79.

         KEY TRAVEL AND EXECUTION TIMES
            7-58. The leader estimates time requirements for movement to the objective, this
            includes movement to an ORP, leader’s reconnaissance of the objective, establishment
            of security and surveillance, and completion of all assigned tasks on the objective. The
            leader also estimates time from the objective back to the ORP and the movement to
            return through friendly lines.

         PRIMARY AND ALTERNATE ROUTES
            7-59. The leader selects primary and alternate routes to and from the objective. Return
            routes should differ from routes to the objective. (See figure 7-4.)




                              Figure 7-4. Primary and alternate routes


         SIGNALS
            7-60. The leader should consider the use of special signals. These include hand and arm
            signals, flares, pyrotechnics, voice, whistles, radios, and visible or nonvisible lasers.
            (See TC 3-21.60.) All signals are rehearsed to ensure all patrol members understand
            what they mean. The leader incorporates a PACE plan for all signals during the patrol.

                                                ATP 3-21.8                                     7-17




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               The PACE plan is a communication plan that exists for a specific mission or task, not a
               specific unit, as the plan considers both intra- and inter-unit sharing of information. The
               PACE plan designates the order in which an element will move through available
               communications systems until contact can be established with the desired distant
               element.

        CHALLENGE AND PASSWORD OUTSIDE OF FRIENDLY LINES
               7-61. The challenge and password from the signal operating instructions must not be
               used when the patrol is outside friendly lines. The unit’s tactical SOP should state the
               procedure for establishing a patrol challenge and password as well as other combat
               identification features and patrol markings. Two methods for establishing a challenge
               and password are the odd number system and running password.

        Odd Number System
               7-62. The leader specifies an odd number. The challenge can be any number less than
               the specified number. The password will be the number that must be added to it to equal
               the specified number, for example, the number is 9, the challenge is 4, and the password
               is 5.

        Running Password
               7-63. Signal operating instructions also may designate a running password. This code
               word alerts a unit that friendly are approaching in a less than organized manner and
               possibly under pressure. The number of friendly approaching follows the running
               password. For example, if the running password is “eagle,” and seven friendlies are
               approaching, they would say “eagle seven.”

        LOCATIONS OF KEY LEADERS
               7-64. The patrol leader considers where best to locate throughout each phase of the
               patrol, and where to locate the APL, and other essential leaders for each phase of the
               patrol. The APL normally is with the following elements for each type of patrol:
                          On a raid or ambush, the APL can be with the patrol leader on the objective
                          or control the support element from the support position.
                          On an area reconnaissance, the APL can move with one of the area
                          reconnaissance elements or supervise security in the ORP.
                          On a zone reconnaissance, the APL can move with one of the zone
                          reconnaissance elements or move with the reconnaissance element setting up
                          the linkup point.

        ACTIONS ON CHANCE CONTACT
               7-65. The leader’s plan must address actions on chance contact at each phase of the
               patrol. (See paragraphs 2-48 to 2-52 for additional information on actions on contact.)
               For the patrol’s mission the plan must address—


        7-18                                        ATP 3-21.8




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                       The handling of seriously wounded in action and killed in action personnel.
                       The actions required to recover isolated Soldiers.
                       The handling of prisoners captured because of chance contact who are not
                       part of the planned mission.

              Note. In both the offense and defense, the nine forms of contact are direct;
              indirect; nonhostile; obstacle; chemical, biological, radiological, and nuclear
              (CBRN); aerial; visual; electromagnetic; and influence.


            7-66. Control measures help leaders anticipate chance contact (see paragraphs 7-7 to
            7-11 for additional information on rally points). They include:
                       ORP. An area designated for an arranged meeting from which to begin an
                       action or phase of an operation or to return to after an action or operation.
                       Rally point. A place designated by the leader where the patrol moves to
                       reassemble and reorganize if it becomes dispersed.
                       Release point. A location on a route where marching elements are released
                       from centralized control. The release point also is used after departing the
                       ORP.
                       Linkup point. A point where two infiltrating elements in the same or different
                       infiltration lanes are scheduled to consolidate before proceeding with their
                       missions. (See chapter 6 section IV for additional information.)

         ACTIONS AT DANGER AREAS
            7-67. When analyzing the terrain through METT-TC (I) during TLP, the patrol leader
            (for example, the platoon leader) may identify danger areas. When planning the route,
            the leader marks the danger areas on the map overlay. The term danger area refers to
            areas on the route where the terrain could expose the patrol to enemy observation, fire,
            or both. If possible, the leader plans to avoid danger areas, but sometimes cannot. When
            the unit must cross a danger area, it does so as quickly and carefully as possible. During
            planning, the leader designates nearside and far-side rally points. If the patrol encounters
            an unexpected danger area, it uses the en route rally points closest to the danger area as
            far side and nearside rally points. Examples of danger areas include:
                        Open areas. First, try boxing around if feasible (see figure 7-7 on page 7-23).
                        If not, conceal the patrol on the near side and observe the area. Post security
                        to give early warning. Send an element across to clear the far side. When
                        cleared, cross the remainder of the patrol at the shortest exposed distance and
                        as quickly as possible (see figure 7-6 on page 7-22).
                        Roads and trails. Crossroads or trails at or near a bend, a narrow spot, or on
                        low ground.
                        Villages. Pass villages on the downwind side and far away from them. Avoid
                        animals, especially dogs, which might reveal the patrol’s presence.
                        Enemy positions. Pass on the downwind side. (The enemy might have scout
                        dogs.) Be alert for trip wires and warning devices.

                                                 ATP 3-21.8                                      7-19




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                         Minefields. Bypass minefields, if possible, even if it requires changing the
                         route by a great distance. Clear a path through minefields only if necessary.
                         Streams. Select a narrow spot in the stream offering concealment on both
                         banks. Observe the far side carefully. Emplace nearside and far-side security
                         for early warning. Clear the far side and cross rapidly but quietly.
                         Wire obstacles. Avoid wire obstacles. (The enemy may cover obstacles with
                         observation and fire.)

        Crossing Danger Areas
               7-68. Regardless of the type of danger area, when the patrol must cross one
               independently, or as the lead element of a larger force, it must perform the following:
                        When the lead element signals “danger area” (relayed throughout the patrol),
                        the patrol halts.
                        The patrol leader moves forward, confirms the danger area, and determines
                        what technique the patrol will use to cross. The APL (for example, the platoon
                        sergeant) also moves forward to the patrol leader.
                        The patrol leader informs all element leaders (for example, squad leaders) of
                        the situation, the nearside and far-side rally points.
                        The APL directs positioning of the nearside security (usually conducted by
                        the trail element or squad). These two security elements may follow the APL
                        forward when the patrol halts and a danger area signal is passed back.
                        The patrol leader reconnoiters the danger area and selects the crossing point
                        providing the best cover and concealment.
                        Nearside security observes to the flanks and overwatches the crossing.
                        When the nearside security is in place, the patrol leader directs the far-side
                        security element (for example, a fire team) to cross the danger area.
                        The far-side security element clears the far side. The team clears to a depth
                        sufficient to allow the entire element to cross.
                        The far-side security element leader establishes an observation post forward
                        of the cleared area.
                        The far-side security element signals to the element leader (for example, the
                        squad leader) the area is clear. The element leader relays the message to the
                        patrol leader.
                        The patrol leader selects the method the patrol will use to cross the danger
                        area.
                        The patrol quickly and quietly crosses the danger area.
                        Once across the danger area, the main body begins moving slowly on the
                        required azimuth.
                        The nearside security element, controlled by the APL, crosses the danger area
                        where the patrol crossed. They may attempt to cover tracks left by the patrol.
                        The APL ensures everyone crosses and sends up the report.



        7-20                                       ATP 3-21.8




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              Note. Same principles stated above are used when crossing a smaller unit (such
              as a squad) across a danger area.


            7-69. The patrol leader decides how the unit will cross based on the time the unit has,
            size of the unit, size of the danger area, fields of fire into the area, and amount of security
            available to post. Units may cross all at once, in buddy teams, or one Soldier at a time.
            A large unit normally crosses its elements one at a time. As each element crosses, it
            moves to an overwatch position or to the far-side rally point until told to continue
            movement.

         Crossing of Linear Danger Areas
            7-70. A linear danger area is an area where the patrol’s flanks are exposed along a
            relatively narrow field of fire. Examples include streets, roads, trails, and streams. The
            patrol crosses a linear danger area in the formation and location specified by the patrol
            leader. (See figure 7-5.)




                              Figure 7-5. Crossing a linear danger area




                                                  ATP 3-21.8                                        7-21




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        Crossing of Large Open Areas
               7-71. If the large open area is so large the patrol cannot bypass it due to the time needed
               to accomplish the mission, a combination of traveling overwatch and bounding
               overwatch is used to cross the large open area. (See figure 7-6.) The traveling overwatch
               technique is used to save time. The patrol (platoon or squad) moves using the bounding
               overwatch technique at any point in the open area where enemy contact may be
               expected. The technique also may be used once the patrol comes within range of enemy
               small-arms fire from the far side (about 250 meters). Once beyond the open area, the
               patrol re-forms and continues the mission. Depending on the security situation, level of
               threat, and desired tempo, the patrol leader may emplace machine guns on the near side
               to provide overwatch while crossing a large open area.




                                  Figure 7-6. Crossing a large open area


        Crossing of Small Open Areas
               7-72. Small open areas are small enough to bypass in the time allowed for the mission.
               Two techniques can be used: contouring around the open area method or detour bypass
               method. (See figure 7-7.)

        Contouring Around the Open Area Method
               7-73. The leader designates a rally point on the far side with the movement azimuth.
               The leader then decides which side of the open area to contour around (after considering

        7-22                                        ATP 3-21.8




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            the enemy situation, distance, terrain, cover, and concealment), and moves around the
            open area. The leader uses the wood line and vegetation for cover and concealment.
            When the patrol arrives at the rally point on the far side, the leader reassumes the azimuth
            to the objective area and continues the mission.

         Detour Bypass Method
            7-74. The patrol turns 90 degrees to the right or left around the open area and moves in
            the direction of travel. Once the patrol has passed the danger area, the unit completes
            the box with another 90-degree turn and arrives at the far-side rally point, then continues
            the mission. The pace counts of the offset and return legs is not added to the distance of
            the planned route.




                               Figure 7-7. Crossing a small open area


         Enemy Contact at Danger Areas
            7-75. An increased awareness of the situation helps the patrol leader control the patrol
            when it makes contact with the enemy. If the patrol makes contact in or near the danger
            area, it moves to the designated rally points. Based on the direction of enemy contact,
            the leader designates the far- or nearside rally point. During limited visibility, the leader
            also can use laser systems to point out the rally points at a distance. If the patrol has a
            difficult time linking up at the rally point, dependent upon the enemy threat, the first
            element to arrive may position listening/observation post(s) away from the rally point
            along natural lines of drift and/or good observation points into the rally point. Also, it

                                                 ATP 3-21.8                                       7-23




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               may mark the rally point (for limited periods) with an infrared light source to help direct
               the rest of the patrol to the location. During movement to the rally point, position updates
               allow separated elements to identify each other’s locations. These updates help them
               linkup at the rally point by identifying friends and foes.

        DEPARTURE FROM FRIENDLY LINES OR FIXED BASE
               7-76. The departure from friendly lines, or from a fixed base, must be thoroughly
               planned and coordinated. The patrol leader coordinates with the unit through which the
               patrol conducts its forward and rearward passage of lines. The leader also coordinates
               patrol activities with its higher echelon and the leaders of other units patrolling in
               adjacent areas. Paragraphs 7-77 to 7-79 highlight additional leader considerations.

        Higher Echelon Coordination
               7-77. The patrol leader may routinely coordinate with the higher commander and/or
               elements of the battalion staff directly. Higher echelon units and the patrol leader should
               have well developed tactical SOPs with detailed checklists to preclude omitting items
               vital to mission accomplishment. Items coordinated between the patrol leader and higher
               commander and/or battalion staff include:
                           Changes or updates in the enemy situation.
                           Best use of terrain for routes, rally points, and patrol bases.
                           Light and weather data.
                           Changes in the friendly situation.
                           The attachment of Soldiers with special skills or equipment (engineers, sniper
                           teams, military working dog teams, FOs, or interpreters).
                           Use and location of landing or pickup zones.
                           Departure and reentry points of friendly lines.
                           Direct and indirect fire support on the objective and along the planned routes,
                           including alternate routes.
                           Rehearsal areas and times. The terrain for rehearsal should be like the
                           objective, to include buildings and fortifications if necessary. Coordination
                           for rehearsals includes security of the area, and when appropriate, use of
                           blanks, pyrotechnics, and live ammunition.
                           Special equipment and ammunition requirements.
                           Transportation support, including transportation to and from rehearsal sites.
                           Signal plan, call signs frequencies, code words, pyrotechnics, and challenge
                           and password.

        Friendly Unit Coordination
               7-78. The patrol leader must coordinate with the commander of the forward unit and
               leaders of other units patrolling in the same or adjacent areas. The coordination includes
               automated network control device information, signal plan, fire plan, running
               passwords, procedures for departure and reentry of lines, planned dismount points (when


        7-24                                         ATP 3-21.8




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            mounted during a part of the mission), initial rally points, and actions at departure and
            reentry points. Additional coordination includes:
                       The patrol leader providing the forward unit leader with the patrol’s
                       identification, size, departure and return times, and AO.
                       The forward unit commander providing the patrol leader with the following:
                           Additional information on terrain just outside the friendly unit lines.
                           Known or suspected enemy positions in the near vicinity.
                           Likely enemy ambush sites.
                           Latest enemy activity.
                           Detailed information on friendly positions, obstacles, and observation
                           posts.
                           Friendly unit fire plan.
                           Support the forward unit can provide (direct and indirect fire support,
                           litter teams, guides, communications, and quick reaction force).

         Planning for Departure
            7-79. In planning for departure of friendly lines, the patrol leader considers the
            following sequence of actions:
                      Contacting friendly guides at the contact point.
                      Moving to a coordinated initial rally point just inside friendly lines.
                      Completing final coordination.
                      Moving to and through the passage point—a designated place where passing
                      units pass through the stationary unit (FM 3-90).
                      Establishing a security-listening halt beyond the friendly unit’s FPFs.

         PRE- AND POST-DEPARTURE PREPARATIONS
            7-80. Patrols should rehearse all specific tactical tasks and battle drills for any situation
            the patrol could encounter. Patrol preparation activities prior to departure and after
            departure are discussed in paragraphs 7-81 to 7-95.

         COMMUNICATIONS CHECKS
            7-81. Communications checks should be conducted with the patrol’s own unit
            headquarters or command post before every patrol. Patrols should not leave the vicinity
            of the main body until all communication systems are operating correctly.




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        PATROL MANIFEST
               7-82. When the situation allows, the patrol leader should submit a written patrol
               manifest to the commander or to command post personnel prior to departing the main
               body. Regardless of the situation, whenever the unit sends out a patrol there should be a
               specific list of the patrol members made before it departs. It should contain the following
               information:
                           Patrol number or call sign designation.
                           Unit designation of unit sending the patrol out.
                           Patrol task and purpose (mission).
                           Names and rank of patrol leader and all subordinate leaders.
                           Estimated date-time-group out.
                           Estimated date-time-group in.
                           Brief description of the patrol’s intended route.
                           Complete names, rank, and unit of all members of the patrol, including
                           attachments.
                           Number, nomenclature, and serial number of all weapons with the patrol.
                           Number, nomenclature, and serial number of all EW devices, radios, and
                           other special or sensitive equipment with the patrol.
                           Vehicle type and registration number, if appropriate.
               7-83. The purpose of the manifest is to allow the higher headquarters to keep track of
               all the patrols that are out and those that have returned. If the patrol engages the enemy
               or fails to return on time without reporting, the headquarters has information on the size,
               capability, and intentions of the patrol that it may need. If the patrol suffers casualties or
               has a vehicle disabled, this manifest can be used to check that all personnel, weapons,
               and sensitive items were recovered.

        DEPARTURE REPORT
               7-84. The patrol leader should render a departure report just as the patrol departs the
               main body location or the base. Depending on the procedure established by the unit’s
               tactical SOP, this might include a detailed listing of the patrol’s composition. It also may
               simply state the patrol’s call sign or patrol number and report its departure.

        WEAPONS STATUS
               7-85. Immediately upon leaving an established base or the main body position, the
               patrol leader, vehicle commanders (when vehicles attached), and team leaders should
               ensure all the patrol weapons are loaded and prepared for in accordance with ROE. EW
               equipment should be checked to ensure it is turned on if appropriate and all radio
               frequency settings should be confirmed.
               7-86. When the patrol returns to the base, all Soldiers clear their weapon immediately
               after entering the protected area. The unit’s tactical SOP normally will establish precise



        7-26                                          ATP 3-21.8




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            procedures for this clearing. The patrol leader (or APL) should ensure all individual and
            crew-served weapons are cleared.

         EQUIPMENT
            7-87. Equipment carried by the patrol will be environment- and task-specific. Types of
            equipment carried include—
                      Radios. Radio equipment should be checked prior to every patrol ensuring it
                      is serviceable and operates correctly. Batteries must be taken for expected
                      duration of the patrol plus some extra for backup. Patrol members must be
                      trained in the operation of all radio equipment. It is the patrol leader’s
                      responsibility to ensure radio equipment is switched on and working and
                      communication checks are conducted prior to leaving the base location.
                      Weapons. All weapons must be prepared for firing prior to departure from
                      the larger unit. Slings should be used to ensure weapons do not become
                      separated from Soldiers who became incapacitated. This also ensures a
                      weapon cannot be snatched away from a distracted Soldier while they are
                      speaking with locals and used against them.
                      Ammunition. Sufficient ammunition, signal pyrotechnics, obscurants, and
                      nonlethal munitions must be carried to enable the patrol to conduct its
                      mission. The amount a patrol carries may be established by the unit’s tactical
                      SOP or the mission the patrol faces.
                      Load-carrying equipment. Patrol members should carry sufficient team and
                      personal equipment to enable them to accomplish other missions such as
                      reassignment to a cordon position before returning to the larger unit for
                      resupply. The unit’s tactical SOP should establish the standard amount of
                      equipment and supplies to be carried. The leader carefully considers the
                      burden being placed on Soldiers going on a foot patrol, especially in extreme
                      weather conditions or rugged terrain.
                      Special purpose equipment (attached augmented teams and individuals).
                      These equipment enablers include, in addition to special purpose equipment
                      teams established internally, individuals with specific environmental skills
                      and capabilities, and attachments such as civil affairs teams, military working
                      dogs, public affairs teams, human intelligence collection teams, EW
                      (protection and support) assets, and interpreters. The patrol leader leverages
                      these enablers by effectively task organizing them within the formation. The
                      leader considers direct fire control measures (see appendix A) and indirect
                      fire coordination measures (see appendix B), and how they will affect
                      supporting enablers, such as engineer support. All attachments, if possible,
                      attend rehearsals to ensure they understand the patrol’s purpose and their
                      individual task(s) and purpose in the operation.
                      Documentation. Team leaders are responsible to the patrol leader for ensuring
                      appropriate documentation is carried by individuals for conducting the
                      mission. Under normal circumstances, Soldiers should carry just their
                      identification card and tags. The unit tactical SOP may prohibit or require the


                                                ATP 3-21.8                                     7-27




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                          carrying of other appropriate theater specific documentation such as cards
                          with rules on escalation of force or ROE.
               7-88. Several equipment checks (individual and precombat checks [PCCs]) and
               inspections (precombat inspections [PCIs]) are conducted prior to the patrol departing.
               (See paragraphs 2-120 to 2-123 for additional information on PCCs and PCIs.) Patrol
               checks/inspections emphasize the following areas:
                          Individual equipment check. It is the responsibility of every patrol member
                          to check their individual equipment. Soldiers should ensure all loose items of
                          carried equipment are secured.
                          Squad leader and team leader individual and equipment check. Leaders must
                          ensure individual team members limit what they carry to which is required
                          for the patrol. Equipment must be checked for serviceability.
                          Patrol leader and APL inspections. Patrol leader and APL inspect individual
                          and team equipment from each team prior to deploying, paying particular
                          attention to the serviceability of mission specific equipment.

        EXITING AND ENTERING A FIXED BASE
               7-89. Exiting and entering a fixed operating base is a high-risk activity due to the way
               Soldiers are channeled through narrow entry or exit points. Enemies are known to
               monitor patrols leaving and entering base locations to identify and exploit patterns and
               areas of weakness. Patrols leaving and entering a base reduce the risks of attack by
               varying the points used to exit and enter the base, and routes used to transit the
               immediate area around the base. If this is not possible, extreme caution should be used
               in the vicinity of the exit and entry points. Patrol leaders ensure their patrols do not
               become complacent. Units should ensure close coordination between patrol leaders and
               guards at the entry point while the patrol is transiting the gate.

        SECURITY CHECKS WHILE ON PATROL
               7-90. Patrol members assist their patrol leader by consistently applying basic patrolling
               techniques. This gives the team leader more time to concentrate on assisting the patrol
               leader in the conduct of the patrol. Team members should concentrate on maintaining
               spacing, formation, alertness, conducting 5- and 25-meter checks and taking up fire
               positions without supervision.

        FIVE- AND TWENTY-FIVE METER CHECKS
               7-91. Every time a patrol stops, it should use a fundamental security technique known
               as the 5- and 25-meter check. The technique requires every patrol member to make
               detailed, focused examinations of the area immediately around the member, looking for
               anything out of the ordinary that might be dangerous or significant. Five-meter checks
               should be conducted every time a patrol member stops. Twenty-five-meter checks
               should be conducted when a patrol halts for more than a few minutes.
               7-92. Soldiers should conduct a visual check using their unaided vision, and by using
               the optics on their weapons and binoculars. They should check for anything suspicious,

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            and anything out of the ordinary. This might be as minor as bricks missing from walls,
            new string or wire run across a path, mounds of fresh soil, or other suspicious signs.
            Check the area at ground level through to above head height.
            7-93. When the patrol makes a planned halt, the patrol leader identifies an area for
            occupation and stops 50 meters short of it. While the remainder of the patrol provides
            security, the patrol leader carries out a visual check using binoculars. After moving the
            patrol forward 20 meters from the position, the patrol leader conducts a visual check
            using optics on the weapon or with unaided vision.
            7-94. Before occupying the position, each Soldier conducts a thorough visual and
            physical check for a radius of 5 meters. Each Soldier must be systematic, take time and
            show curiosity. Use touch and, at night, low-visibility lighting (infrared) or preferable
            thermal optics.
            7-95. Obstacles must be physically checked for command wires. Fences, walls, wires,
            posts, and ground immediately underneath must be carefully felt by hand, without
            gloves.

           SECTION III – COMBAT PATROLS
            7-96. A combat patrol is a patrol that provides security and harasses, destroys, or
            captures enemy troops, equipment, or installations. When the commander assigns a
            combat patrol mission, the commander intends the patrol to make contact with the
            enemy and engage in close combat. A combat patrol always tries to remain undetected
            while moving, but when it discloses its location to the enemy, it is with a sudden and
            violent attack. For this reason, the patrol normally carries a significant number of
            weapons and ammunition. It may carry specialized munitions. A combat patrol collects
            and reports information gathered during the mission, whether related to the combat task
            or not. The three types of combat patrols are raid, ambush, and security.

         ESSENTIAL ELEMENTS FOR A COMBAT PATROL
            7-97. The three essential elements for a combat patrol are assault, support, and security.
            Assault elements accomplish the mission during actions on the objective. Support
            elements suppress or destroy enemy on the objective in support of the assault element.
            Security elements assist in isolating the objective by preventing enemy from entering
            and leaving the objective area as well as by ensuring the patrol’s withdrawal route
            remains open. The size of each element is based on the situation and patrol leader’s
            analysis of the mission variables of METT-TC (I).

         ASSAULT ELEMENT
            7-98. The assault element is the combat patrol’s main effort. Its task is to conduct
            actions on the objective. In most cases, the assault element will accomplish the overall
            purpose. This element must be capable (through inherent capabilities or positioning




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               relative to the enemy) of destroying or seizing the target of the combat patrol. Activities
               typically associated with the assault element include:
                           Conduct of assault across the objective to destroy enemy equipment, capture
                           or kill enemy, and clearing of key terrain and enemy positions.
                           Maneuver close enough to the objective to conduct an immediate assault if
                           detected.
                           Being prepared to support itself if the support element cannot suppress the
                           enemy.
                           Provide support to a breach element (when established) in breaching of
                           obstacles (see chapter 6 section I), if required.
                           Plan detailed fire control and distribution.
                           Conduct controlled withdrawal from the objective.
               7-99. Analysis of the mission variables of METT-TC (I) may result in the requirement
               to organize special purpose teams and activities. Designated special purpose teams and
               activities may include:
                           Surveillance teams. To establish and maintain covert observation of an
                           objective for as long as it takes to complete the patrol’s mission.
                           Search teams. To find and collect documents, equipment, and information in
                           the objective area.
                           Detainee teams. To capture, secure, and document detainees (see paragraphs
                           4-48 to 4-53).
                           Demolition teams. To plan and execute the destruction of obstacles and when
                           necessary, enemy equipment.
                           Breach team. To create lanes in protective obstacles (particularly for a raid)
                           to assist the assault team in getting to the objective.
                           Aid and litter teams. To identify, collect, render immediate aid, and
                           coordinate casualty evacuation (CASEVAC).

        SUPPORT ELEMENT
               7-100. The support element suppresses the enemy on the objective using direct and
               indirect fires. The support element is a shaping effort setting conditions for the mission’s
               main effort. This element must be capable of supporting the assault element (and breach
               team[s] when established). The support force can be divided into multiple elements.
               7-101. The support element is organized to prevent a threat of enemy interference with
               the assault elements. The support force suppresses, fixes, or destroys elements on the
               objective. The support force’s primary responsibility is to suppress enemy forces to
               prevent them repositioning against the main effort. The support force—
                          Initiates fires and gains fire superiority with crew-served weapons and
                          indirect fires.
                          Controls rates and distribution of fires.
                          Shifts/ceases fire on signal.
                          Overwatches the withdrawal of the assault element.

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         SECURITY ELEMENT
            7-102. The security element is a supporting effort having three roles. The first is to
            isolate the objective from enemy personnel and vehicles attempting to enter the objective
            area. These actions range from simply providing early warning, to blocking enemy
            movement. This element may require several different forces located in various
            positions. The patrol leader is careful to consider enemy reserves or response forces that
            will be alerted once the engagement begins. The second role is to prevent enemy from
            escaping the objective area. The third role is to secure the patrol’s withdrawal route.
            7-103. All elements of the patrol are responsible for their own local security. What
            distinguishes the security element is they are protecting the entire patrol. Their positions
            must be such they can, in accordance with their engagement criteria, provide early
            warning of approaching enemy.
            7-104. The security element is organized to prevent a threat of enemy interference with
            the assault element. To facilitate the success of the assault element, the security element
            must fix, or block (or at a minimum screen) all enemy security or response forces located
            on parts of the battlefield away from the raid objective, or ambush site.
            7-105. The security observation post graphic control measure symbol (see figure 7-8)
            identifies the security element position(s) during combat patrols. An ideal security
            observation post—
                        Does not mask fires of the main body.
                        Provides timely information to the main body. (Gives the leader enough time
                        to act on information provided.)
                        Can provide a support by fire position.

              Note. The security observation post graphic control measure symbol is also used
              to identify a reconnaissance and security element position(s) during
              reconnaissance patrols.




                Figure 7-8. Security observation post control measure symbol




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        CONDUCT OF THE RAID
               7-106. A raid is a variation of attack to temporarily seize an objective with a planned
               withdrawal (FM 3-90). A raid is a variation of an attack, usually small scale, involving
               battalion size or smaller forces requiring detailed intelligence (precise, time-sensitive,
               all-source intelligence), planning, and preparation. At the platoon level, a raid is a
               surprise attack against a position or installation for a specific purpose other than seizing
               and holding the terrain. A raid patrol retains terrain just long enough to accomplish the
               intent of the raid. The raid ends with a planned withdrawal off the objective and a return
               to the main body. Characteristics of a raid include:
                           Destruction of essential systems or facilities (command and control nodes,
                           logistical areas, other high value areas).
                           Collection of critical information.
                           Capturing of hostages or prisoners.
                           Confusing the enemy or disrupting their plans.
                           Detailed information collection (significant collection assets committed
                           during planning).
                           Command and control from the higher headquarters to synchronize the
                           operation.
                           Taking advantage of a window of opportunity.

        FUNDAMENTALS
               7-107. The fundamentals of the raid include surprise and speed, coordinated fires,
               violence of action, and a planned exfiltration. Exfiltrate is a tactical mission task in
               which a unit removes Soldiers or units from areas under enemy control by stealth,
               deception, surprise, or clandestine means (FM 3-90). Surprise and speed are
               accomplished through infiltration and moving to the objective undetected. Coordinated
               and well synchronized direct and indirect fires seal off the objective. Violence of action
               overwhelms the enemy with fire and maneuver. The planned withdrawal allows friendly
               forces to move off of the objective in a well-organized manner while maintaining
               security. Raids are normally conducted in five phases (see paragraphs 7-110 to 7-122
               for additional information)—
                          Phase I – Insertion and/or infiltration.
                          Phase II – Objective area sealed off (isolation).
                          Phase III – Surprise attack.
                          Phase IV – Objective seized, and task accomplished.
                          Phase V – Withdrawal.

        ORGANIZATION OF FORCES
               7-108. The patrol leader considers the functions necessary to conduct a raid, and task
               organizes appropriately. The raid is normally organized as three elements; security
               element (see paragraphs 7-102 to 7-105), support element (see paragraphs 7-100 to
               7-101), and the assault element (see paragraphs 7-98 to 7-99). Each sub-element is

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            organized and equipped to do a specific part of the overall mission depending upon the
            specific mission, nature of the target, and enemy situation, and terrain.

         PLANNING AND PREPARATION
            7-109. Although the planning and preparation discussed in chapter 4 for the attack
            apply for the raid as well, there are some differences. Because a raid is normally
            conducted deep in enemy controlled territory and often conducted against an enemy of
            equal or greater strength, the plan must ensure the unit is not detected prior to initiating
            the assault. Detailed planning and preparation ensure the success of the raid as well as
            the survivability of the raid force during infiltration, actions on the objective, and
            withdrawal from the objective area.

         Phases of the Raid
            7-110. When planning the raid, the patrol leader considers the phases of the raid. As
            stated above, raids are normally conducted in five phases; insertion and/or infiltration,
            objective area sealed off (isolation), surprise attack, objective seized and task
            accomplished, and withdrawal. All phases should be rehearsed but with special
            emphasis on the objective seizure and task accomplishment phase, and the withdrawal
            phase.
            7-111. Phase I – Insertion and/or infiltration. The raiding force inserts or infiltrates
            (see paragraph 4-16) into the objective area (see figure 7-9 on page 7-34). The force
            launching the raid plans if possible, launching the raid during an unexpected time or
            place by taking advantage of darkness and limited visibility and moving over terrain that
            the enemy may consider impassable. The raid force avoids detections through proper
            movement techniques and skillful camouflage and concealment to include taking
            advantage of natural terrain cover. During infiltration, the patrol moves to and occupies
            the ORP (see paragraph 7-11) according to the patrol SOP. The patrol then prepares for
            the leader’s reconnaissance (see paragraphs 7-15 to 7-16) and the patrol leader:
                       Leaves a five-point contingency plan with the APL.
                       Establishes the release point; pinpoints the objective; contacts the APL
                       (dependent upon the situation) to prepare Soldiers, weapons, and equipment.
                       Emplaces the surveillance team (if used) to observe the objective; and verifies
                       the intelligence assessment and reports any differences or changes to the
                       intelligence assessment.
                       Provides a five-point contingency plan to the surveillance team.
                       Brings forward security teams on the leader’s reconnaissance and emplaces
                       them before the leader’s reconnaissance leaves the release point.
                       Verifies location of and routes to security, support, and assault positions.
                       Conducts the reconnaissance without compromising the patrol.
                       Conducts a reconnaissance of support by fire position first, then the assault
                       position.
                       Confirms, denies, or modifies the plan and issues instructions to squad
                       leaders.

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                          Assigns positions and withdrawal routes to all elements.
                          Designates control measures on the objective (element objectives, lanes, limit
                          of advance (LOA), target reference points (TRPs), and assault line).

                 Note. Upon the return of the leader’s reconnaissance, the patrol leader allows
                 squad leaders time to disseminate information and confirm that their elements
                 are ready.




                            Figure 7-9. Raid (insertion/infiltration), example

               7-112. Phase II – Objective area sealed off (isolation). The isolation of the objective
               area to seal off support or reinforcement from outside the objective, to include enemy
               air assets is key to the success of the operation. Raiding forces employ security elements,
               support elements, and both direct and indirect fires to successfully isolate the objective.
               (See figure 7-10.) Security elements occupy designated positions, moving undetected
               into positions that provide early warning and can seal off the objective from outside
               support or reinforcement. The support element leader moves the support element to
               designated positions then ensures the element can place well-aimed fire on the objective.




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                Figure 7-10. Raid (objective area sealed off/isolation), example

            7-113. Phase III – Surprise attack. Any enemy forces at or near the objective are
            overcome in a violently executed surprise attack using all available firepower for shock
            effect. Assault forces move through the objective, while using the covering fire of
            support forces. A simple plan that is coordinated and rehearsed will allow for the assault
            element to conduct a rapid and precise assault into and through the objective. During
            phase three, the patrol leader moves with the assault element into the assault position.
            The assault position is normally the last covered and concealed position before reaching
            the objective. As it passes through the assault position, the assault element deploys into
            its assault formation. Its squads and fire teams deploy to place the bulk of their firepower
            to the front as they assault the objective. The assault element:
                         Makes contact with the surveillance team to confirm any enemy activity on
                         the objective.
                         Ensures that the assault position is close enough for immediate assault if the
                         element is detected early.
                         Moves into position undetected and establish local security and fire control
                         measures. Once in position:
                             Element leaders inform the patrol leader when their elements are in
                             position and ready.
                             Patrol leader initiates the raid and directs the support element to fire.


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                             Patrol leader, upon gaining fire superiority, directs the assault element to
                             move towards the objective.
                             Assault element holds fire until engaged, or until ready to penetrate the
                             objective.
                             Patrol leader signals the support element to lift or shift fires.
                             Support element lifts or shifts fires as directed, shifting fire forward of the
                             assault element as it moves across the objective or to the flanks of targets
                             or areas as directed in the order.

                 Note. When planning fires in support of a raid, the patrol leader chooses the at
                 my command or time on target (expressed as a specific time, a not-later-than
                 time, or a conclusive time period) as the method of engagement. This ensures the
                 patrol leader has absolute control of fires on the target. For example, when rounds
                 land on the target or if the fires do not happen the leader can cease-fire the
                 mission before committing the assault. Due to the precise timing issues for a raid,
                 when ready–method of engagement is rarely used. Finally, depending on when
                 the patrol leader wants to incorporate fires, the leader needs to ensure the assault
                 force is outside the danger close radius of the target.


               7-114. Phase IV – Objective seized, and task accomplished. The assault element
               attacks and seizes the objective and accomplishes its assigned task quickly before any
               surviving enemy in the objective area can recover or be reinforced. It is imperative that
               assault element spend as little time as possible on the objective area while accomplishing
               its mission.

                 Note. The assault element may be required to breach a wire obstacle (see
                 chapter 6 section I for additional information).


               7-115. As the assault element moves onto the objective, it increases the volume and
               accuracy of fires (see figure 7-11). Squad leaders assign specific targets or objectives
               for their fire teams. Only when these direct fires keep the enemy suppressed can the rest
               of the unit maneuver. As the assault element gets closer to the enemy, there is more
               emphasis on suppression and less on maneuver. Ultimately, all but one fire team may be
               suppressing to allow that one fire team to break into the enemy position. Throughout the
               assault, Soldiers use proper individual movement techniques.

                 Note. During a deliberate attack, as addressed in chapter 4, when the enemy
                 disposition is better understood the line formation is generally the preferred
                 formation to use during the assault. Because the enemy situation on a raid
                 objective may still be vague, assault elements generally retain their basic shallow
                 wedge formation in order to maintain flexibility and security to their flanks in
                 movement.




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            Figure 7-11. Raid (objective seized and task accomplished), example

            7-116. Once the assault element assaults through the objective to the designated LOA,
            assault element leaders:
                       Establish local security along the LOA and consolidate and reorganize as
                       necessary.
                       Provide liquid, ammunition, casualties, and equipment (known as LACE)
                       reports to the patrol leader and APL.
                       On order, special teams (see paragraph 1-31) accomplish all assigned tasks
                       under the supervision of the patrol leader and/or APL, who are positioned to
                       control the patrol.
                       Special team leaders report to patrol leader or as directed to the APL when
                       assigned tasks are complete.
            7-117. The patrol leader or APL consolidates and reorganizes the patrol based on the
            contact:
                     Establishes security, reorganizes key weapons, initiates the platoon casualty
                     response plan (specifically tactical combat casualty care (TCCC), see
                     chapter 8 section II), and prepares wounded Soldiers for CASEVAC or
                     medical evacuation (MEDEVAC).
                     Redistribute ammunition and supplies and relocate selected weapons to
                     alternate positions if leaders believe that the enemy may have pinpointed
                     them during the attack.

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                          Adjust (as directed by the patrol leader or APL) other positions for mutual
                          support. Other position leaders provide LACE reports (see paragraph 8-13)
                          to the patrol leader or APL.
               7-118. Phase V – Withdrawal. The raiding force withdraws from the objective area to
               the ORP understanding that the patrol may move to the same ORP it moved to the
               objective from or may move to a different ORP, dependent on the situation or the
               extraction location. From the ORP the patrol can move rearward or to an extraction
               location. When using the same location for both insertion and extraction the patrol
               usually use a different route than what was used for movement to the ORP. The patrol
               leader generally considers a different location for extraction than that of the insertion
               location. Due to the nature of the raid normally being conducted in enemy held territory
               it is imperative that the routes, halts, linkup, and pickup locations be in areas where
               enemy contact is unlikely.
               7-119. On order or signal of the patrol leader the assault element withdraws from the
               objective (see figure 7-12). Using prearranged signals, the assault line begins an
               organized withdrawal from the objective site, maintaining control and security
               throughout the withdrawal. The assault element bounds back near the original assault
               line and begins a single file withdrawal through any breached lane. All Soldiers move
               through the choke point for an accurate count. Once the assault element is a safe distance
               from the objective and the headcount is confirmed, the raid force can withdraw the
               support element. If the support elements were a part of the assault line, they withdraw
               together, and security is signaled to withdraw. Once the support is a safe distance off the
               objective, they notify the patrol leader, who contacts the security element and signals
               them to withdraw. All security teams link up at the release point and notify the patrol
               leader before moving to the ORP. Soldiers returning to the ORP immediately secure
               their equipment and establish all-around security. Once the security element returns, the
               raid force moves out of the objective area as soon as possible. Withdrawal actions
               include:
                          Before withdrawing, the demolition team activates devices and charges.
                          Support element or designated Soldier(s) in the assault element maintain local
                          security during the withdrawal.
                          Leaders report updated accountability and status to the patrol leader and APL.




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                        Figure 7-12. Raid (withdrawal/extraction), example

            7-120. Elements withdraw from the objective in the order designated in the order
            (generally assault element first, support element second, and security element third) to
            the ORP. Then from the ORP, the patrol:
                       Account for Soldiers and equipment.
                       Disseminate information.
                       Redistribute ammunition and equipment as required.
            7-121. The patrol leader reports mission accomplishment to the higher headquarters
            from the ORP or during the withdrawal from the ORP rearward or to the extraction
            location. The report includes at a minimum:
                       Raid assessment.
                       Any information requirements and priority intelligence requirements (PIRs)
                       gathered.

         Movement to and Withdrawal from the Objective
            7-122. The patrol leader considers how the patrol will arrive at the objective. The patrol
            leader assesses the need for additional lift capability to deliver the patrol closer to the
            objective, for example, rotary-/fixed-wing aircraft (see FM 3-99), or mounted ground
            movement (directly to the objective area or off set from the objective). It is important
            that the patrol leader ensures the insertion/infiltration is not compromised by the delivery

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               platform(s). It is critical that the patrol leader conducts reverse planning, ensuring the
               development of the ground tactical plan prior to analyzing the delivery method for the
               patrol. If the delivery method requested is unable to support the ground tactical plan, the
               patrol leader re-assesses and makes necessary adjustments to allow for greater overall
               mission success. The patrol leader also considers site selection of landing zones, drop
               zones, ORPs, security observation posts, support locations, and assault positions. These
               specific sites must support the planned actions at the objective.

        Additional Considerations
               7-123. Additional planning and preparation considerations include but are not limited
               to—
                       Security in all directions throughout the raid.
                       Clear abort criteria for the raid based on the higher CCIRs. Criteria may
                       include loss of personnel, equipment, or support assets, and changes in the
                       enemy situation. Abort criteria is normally identified within each phase of the
                       operation.
                       Contingency plans for contact before and after actions on the objective.
                       CASEVAC/MEDEVAC (when available) and raiding force extraction
                       throughout the entire depth of the operation.
                       Rally points for units to assemble during movement, to prepare for the attack,
                       and to assemble after the mission is complete and when the force is ready to
                       conduct their planned exfiltration.
                       Contingency plans to prepare for and execute the recovery of isolated patrol
                       members (see ATP 3-21.10 for additional information).

        CONDUCT OF THE AMBUSH
               7-124. An ambush is a variation of attack from concealed positions against a moving
               or temporarily halted enemy (FM 3-90). It can include an assault to close with and
               destroy the target or as an attack by fire. An ambush need not seize or hold ground. The
               general purpose of an ambush is to destroy or to harass enemy forces. The ambush
               combines the advantages of the defense with the advantages of the offense, allowing a
               smaller force with limited means the ability to destroy a much larger force. Ambushes
               are enemy-oriented. Terrain is held only long enough to conduct the ambush, and then
               the force withdraws.
               7-125. Ambushes range from simple to complex and synchronized; short duration of
               minutes to long duration of hours; and within hand grenade range, to maximum standoff.
               Ambushes employ direct fire systems as well as other destructive means, such as
               antitank (AT) missiles, command-detonated mines and explosives, and indirect fires on
               the enemy force. The ambush may include an assault to close with and destroy the enemy
               or may just be a harassing attack by fire. Ambushes may be conducted as independent
               operations or as part of a larger operation.
               7-126. The leader develops the ambush based on its purpose, form, time, and
               formation. The purpose of an ambush is either harassment or destruction. A harassing

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            ambush is one in which attack is by fire only (meaning there is no assault element). A
            destruction ambush includes assault to close with and destroy the enemy.
            7-127. A typical ambush is organized into three elements: assault, support, and security
            (see paragraphs 7-97 to 7-105). The assault element fires into the kill zone—the location
            where fires are concentrated in an ambush (FM 3-90). Its goal is to destroy the enemy
            force. When used, the assault force attacks into and clears the kill zone. It also may be
            assigned additional tasks, to include searching for items of intelligence value, capturing
            prisoners, photographing new types of equipment and when unable to take enemy
            equipment, completing the destruction of enemy equipment to avoid its immediate
            reuse. The support element supports the assault element by firing into and around the
            kill zone, and it provides the ambush’s primary killing power. The support element
            attempts to destroy most of the enemy combat power before the assault element moves
            into the objective or kill zone. The security element isolates the kill zone, provides early
            warning of arrival of all enemy relief forces, and provides security for the assault and
            support elements. It secures the ORP and blocks—tactical mission tasks that deny the
            enemy access to an area or an avenue of approach (FM 3-90)—enemy avenues of
            approach into and out of the ambush site, which prevents the enemy from entering or
            leaving.
            7-128. The three common forms of a small-unit ambush are point, area, and antiarmor
            ambushes. In a point ambush, Soldiers deploy to attack a single kill zone. In an area
            ambush, Soldiers deploy as two or more related point ambushes. These ambushes at
            separate sites are related by their purpose. (See figure 7-13 on page 7-42.) A unit smaller
            than a platoon normally does not conduct an area ambush. Antiarmor ambushes focus
            on moving or temporarily halted enemy armored vehicles. An antiarmor ambush can be
            either a point or area ambush.




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                                   Figure 7-13. Point and area ambush

               7-129. Based on the amount of time available to set an ambush, ambushes are hasty or
               deliberate. A hasty ambush is conducted based on an unanticipated opportunity. It is
               used when a patrol sees the enemy before the enemy sees it, and the patrol has time to
               act. The leader gives the prearranged signal to start the action and all Soldiers move to
               concealed firing positions, prepared to engage the enemy. Depending on the mission,
               the patrol may allow the enemy to pass if the enemy does not detect the patrol.
               7-130. A deliberate ambush is conducted against a specific target at a location chosen
               based on current intelligence products and assessments. With a deliberate ambush,
               leaders plan and prepare based on detailed information allowing them to anticipate
               enemy actions and enemy locations. Detailed information includes type and size of
               target, organization or formation, routes and direction of movement, time the force will
               reach or pass certain points on its route, and weapons and equipment carried.

        TERMINOLOGY
               7-131. During terrain analysis, leaders identify at least four different locations: the
               ambush site, the kill zone, security observation posts (see paragraph 7-105 for additional
               information), and rally points (see paragraphs 7-7 to 7-11 for additional information on

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            rally points). As much as possible, so-called “ideal” ambush sites should be avoided
            because alert enemies avoid them if possible and increase their vigilance and security
            when they must be entered. Therefore, surprise is difficult to achieve. Instead, unlikely
            sites should be chosen when possible. The following are characteristics of these four
            ideal positions.

         Ambush Site
            7-132. The ambush site is the terrain on which a point ambush is established. The
            ambush site consists of a support by fire position for the support element and an assault
            position for the assault element. An ideal ambush site—
                       Has a good field of fire into the kill zone.
                       Has good cover and concealment.
                       Has a protective obstacle (natural or man-made).
                       Has a covered and concealed withdrawal route.
                       Makes it difficult for the enemy to conduct a flank attack.

         Kill Zone
            7-133. The kill zone is the part of an ambush site where fire is concentrated to isolate
            or destroy the enemy. An ideal kill zone has the following characteristics:
                       Enemy forces are likely to enter it.
                       It has natural tactical obstacles.
                       Large enough to observe and engage the anticipated enemy force.
            7-134. A near ambush is a point ambush with the assault element within reasonable
            assaulting distance of the kill zone (less than 50 meters). Close terrain, such as an urban
            area or heavy woods, may require this positioning. It also may be appropriate in open
            terrain in a “rise from the ground” ambush.
            7-135. A far ambush is a point ambush with the assault element beyond reasonable
            assaulting distance of the kill zone (beyond 50 meters). This location may be appropriate
            in open terrain offering good fields of fire or when attack is by fire for a harassing
            ambush.

         FORMATIONS
            7-136. Many ambush formations exist. Paragraphs 7-137 to 7-143 discuss the linear,
            L-shaped, and V-shaped. All formations require leaders to exercise strict direct fire
            control. Leaders need to understand strengths and weaknesses of their units and plan
            accordingly. The formation selected is based on the following: terrain, visibility,
            Soldiers available, weapons and equipment, ease of control, and target to be attacked.

         Linear Ambush
            7-137. In an ambush using a linear formation, the assault and support elements parallel
            the target’s route. This positions the assault and support elements on the long axis of the


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               kill zone and subjects the target to flanking fire. (See figure 7-14.) Only a target that can
               be covered with a full volume of fire can be engaged in the kill zone. A dispersed target
               might be too large for the kill zone. This is the disadvantage of linear formations.
               7-138. The linear formation is good in close terrain restricting the target’s maneuver,
               and in open terrain where one flank is blocked by natural obstacles or can be blocked by
               other means such as claymores. Claymores or explosives can be placed between the
               assault and support elements and kill zone to protect the unit from counterambush
               actions.
               7-139. When the ambushing unit deploys this way, it leaves access lanes through the
               obstacles so it can assault the target. An advantage of the linear formation is the relative
               ease by which it can be controlled under all visibility conditions.




                                         Figure 7-14. Linear ambush


        L-Shaped Ambush
               7-140. An ambush in the L-shaped formation (see figure 7-15) is a variation of the
               linear formation. The long leg of the L (assault element) is parallel to the kill zone. This
               leg provides flanking fire. The short leg (support element) is at the end of and at a right
               angle to the kill zone. This leg provides enfilade fire working with fire from the other
               leg. The L-shaped formation can be used at a sharp bend in a trail, road, or stream.
               Typically, crew-served weapons are positioned on the leg to maximize their
               effectiveness through enfilade fires.




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                                    Figure 7-15. L-shaped ambush


         V-Shaped Ambush
            7-141. The V-shaped ambush assault elements (see figure 7-16 on page 7-46) are
            placed along both sides of the enemy route so they form a V. Take extreme care to ensure
            neither group fires into the other. This formation subjects the enemy to both enfilading
            and interlocking fire.
            7-142. When performed in dense terrain, the legs of the V close in as the lead elements
            of the enemy force approach the point of the V. The legs then open fire from close range.
            Here, even more than in open terrain, all movement and fire is carefully coordinated and
            controlled to avoid fratricide.
            7-143. A wider separation of the elements makes this formation difficult to control,
            and fewer sites favor its use. Its main advantage, it is difficult for the enemy to detect
            the ambush until well into the kill zone.




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                                      Figure 7-16. V-shaped ambush


        FINAL PREPARATIONS
               7-144. Final preparations begin with the unit occupying an ORP (see paragraph 7-11)
               and end with the main body prepared to depart for the ambush site. The unit halts at the
               ORP and establishes security. When ready, the leader conducts a leader’s
               reconnaissance to confirm the plan and then returns to the ORP. The leader may position
               the flank ambush security elements during the leader’s reconnaissance or upon returning
               to the ORP. If the security element returns to the ORP, the security elements leave the
               ORP first. Teams of the security element move to positions from which they can secure
               flanks of the ambush site and the ORP. (See figure 7-17.)

                 Note. Security elements should use a release point if there is a large distance
                 between the ORP and objective.




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                              Figure 7-17. Security teams in position


         OCCUPY THE SITE AND CONDUCT AMBUSH
            7-145. Occupying the site and conducting the ambush begins with main body
            movement out of the ORP and ends when the leader initiates a withdrawal. Common
            control measures include:
                      Kill zone.
                      LOA.
                      Attack by fire and/or support by fire position.
                      Security and assault positions.
                      TRPs.

         Time of Occupation
            7-146. As a rule, the ambush force occupies the ambush site at the latest possible time
            permitted by the tactical situation and amount of site preparation required. This reduces
            the risk of discovery and time Soldiers must remain still and quiet in position.

         Occupying the Site
            7-147. Security elements are positioned first to prevent surprise while the ambush is
            being established. When the security teams are in position, the support and assault
            elements leave the ORP and occupy their positions. If there is a suitable position, the

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               support element can overwatch the assault element’s move to the ambush site. If not,
               both elements leave the ORP at the same time. (See figure 7-18.)




               Figure 7-18. Assault and support elements moving to the ambush site

               7-148. The main body moves into the ambush site from the rear. Ideally, the leader
               emplaces the most casualty-producing weapons first, ensuring they have line of sight
               along the entire kill zone. Once in place, the leader locates subordinate units to
               complement and reinforce the vital positions. The leader then selects a location where
               the leader can best initiate and control the action. Once on the objective, movement is
               kept to a minimum to enhance security measures.

        Positions
               7-149. Each Soldier must be hidden from the target and have line of sight into the kill
               zone. At the ambush site, positions are prepared with minimal change in the natural
               appearance of the site. Soldiers conceal debris resulting from preparation of positions.
               If sufficient water is available, Soldiers dampen the ground under their muzzles to
               decrease their firing signature to prevent detection once the ambush is triggered.

        Confirming the Direct Fire Plan
               7-150. Claymores, explosives, and grenade launchers may be used to cover dead space
               left by automatic weapons. All weapons are assigned sectors of fire to provide mutual
               support. The unit leader sets a time by which positions must be prepared.


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         Movement in the Kill Zone
             7-151. The kill zone is not entered if entry can be avoided. When emplacing tactical
             obstacles, care is taken to remove tracks or signs that might alert the enemy and
             compromise the ambush. If claymores or explosives are placed on the far side, or if the
             appearance of the site might cause the enemy to check it, a wide detour around the kill
             zone should be made. Here, too, care is taken to remove all traces that might reveal the
             ambush. An alternate route from the ambush site also is planned.

         Initiating the Ambush
             7-152. Once all friendly elements are in position, the unit waits for enemy targets.
             When the target approaches, the security team spots it and alerts the ambush leader. The
             security team reports the target’s direction of movement, size, and special weapons or
             equipment. Upon receipt of the report, the leader alerts the other elements.
             7-153. When most of the enemy force is in the kill zone, the leader initiates the ambush
             with the most casualty-producing weapon, medium machine gun fire, or the detonation
             of mines or explosives. The blast of explosives may reduce accuracy of the initial volley
             of direct fires due to obscuration; however, the unit must immediately establish a high
             volume of fire and continue to fire until conditions are set to cease or shift fires. The
             assault element may conduct an assault through the kill zone to the LOA. If the assault
             element must assault the kill zone, the leader signals to cease or shift fire. This also
             signals the start of the assault. Besides destruction of the enemy force, other kill zone
             tasks can include searching for items of intelligence value, capturing prisoners, and
             completing the destruction of enemy equipment. When the assault element has finished
             its mission in the kill zone, the leader gives the signal to withdraw to the ORP.
             7-154. Fire discipline is critical during an ambush. Soldiers do not fire until the signal
             is given. Then it must be delivered at once in the heaviest, most accurate volume
             possible. Well-trained gunners and well-aimed fire help achieve surprise and destruction
             of the target. If the enemy force is large, subordinate leaders designate individuals or
             teams to use various rates of fire (rapid, sustained, or cyclic) to prevent entire elements
             from conducting magazine changes at the same time and allow the unit to maintain a
             volume of fire in the kill zone. When the target is to be assaulted, the ceasing or shifting
             of fire also must be precise. If it is not, the assault is delayed, and the target has a chance
             to react. Sector stakes should be used if possible.

         Withdrawal
             7-155. The withdrawal begins once the assault element completes its actions on the
             objective and ends with consolidate/reorganization at a designated rally point. On signal,
             the unit withdraws to the ORP, reorganizes, and continues its mission. At a set terrain
             feature, the unit halts and disseminates information. If the ambush fails and enemy
             pursues, the unit withdraws by bounds. Units should use obscurants to help conceal the
             withdrawal. Obstacles already set along the withdrawal routes can help stop the pursuit.




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        CONDUCT A POINT AMBUSH
               7-156. In a point ambush (see figures 7-14, 7-15, and 7-16 on pages 7-44, 7-45, and
               7-46 respectively for examples of three different formations), Soldiers deploy to attack
               an enemy in a single kill zone. The patrol leader (or platoon leader) is the leader of the
               assault element. The APL (or platoon sergeant) probably will locate with the patrol
               leader in the assault element.
               7-157. The security or surveillance teams should be positioned first. The support
               element should then be emplaced before the assault element moves forward. The support
               element must overwatch the movement of the assault element into position.
               7-158. The patrol leader must check each Soldier once the Soldier emplaces. The patrol
               leader signals the surveillance team to rejoin the assault element if it is positioned away
               from the assault location. Actions of the assault element, support element, and security
               element are shown in table 7-3.
                                    Table 7-3. Actions by ambush elements


         • Identify sectors of fire for all    • Identify sectors of fire for all   • Identify individual sectors of
         weapons; emplace aiming               weapons, especially medium           fire assigned by the patrol
         stakes.                               machine guns.                        leader; emplace aiming stakes.
         • Emplace claymores and other         • Emplace limiting stakes to         • Emplace claymores and other
         protective obstacles.                 prevent friendly fires from          protective obstacles.
         • Camouflage positions.               hitting the assault element in       • Emplace claymores, mines,
                                               an L-shaped ambush.                  or other explosives in dead
         • Secure the objective rally point.
                                               • Emplace claymores and              space within the kill zone.
         • Secure a route to the objective     other protective obstacles.
         rally point, as required.                                                  • Camouflage positions.
                                               • Camouflage positions.              • Take weapons off safe when
                                                                                    directed by the patrol leader.

               7-159. The patrol leader instructs the security element (or teams) to notify the leader
               when the enemy approaches the kill zone using the size, activity, location, unit, time,
               and equipment (SALUTE) reporting format. The security element also must keep the
               patrol leader informed if additional enemy forces are following the lead enemy force.
               This will allow the leader to know if the enemy force meets the engagement criteria
               directed by the company commander. The patrol leader is prepared to let pass enemy
               forces which are too large or do not meet the engagement criteria. The leader must report
               to the higher commander enemy forces passing through the ambush unengaged.
               7-160. The patrol leader initiates the ambush with the greatest casualty-producing
               weapon, typically a command-detonated claymore. The leader also must plan a back-up
               method, typically a medium machine gun, to initiate the ambush should the primary
               means fail. All Soldiers in the ambush must know the primary and back-up methods.
               The patrol should rehearse with both methods to avoid confusion and loss of surprise
               during execution of the ambush.
               7-161. The patrol leader must include a plan for engaging the enemy during limited
               visibility. Based on the company commander’s guidance, the leader should consider the
               use and mix of tracers and employment of illumination, night vision devices, and

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            thermal weapon sights. For example, if Javelins are not used during the ambush, the
            leader still may employ the command launch unit (known as CLU) with its thermal
            sights in the security or support element to observe enemy forces. The M3 Multi-role,
            Antiarmor, Antipersonnel Weapon System (known as MAAWS), when replacing the
            Javelin, can provide the platoon with an antipersonnel as well as an antiarmor capability.
            7-162. The patrol leader also may include the employment of indirect fire support
            (when available) in the plan. Based upon the company commander’s guidance, the
            leader may employ indirect fires to cover flanks of the kill zone. This isolates an enemy
            force or assists the patrol’s disengagement if the ambush is compromised, or the patrol
            departs the ambush site under pressure.
            7-163. The patrol leader has a good plan (day and night) for signals that direct cease
            fire or shift fire and that signal the advance of the assault element into the kill zone to
            begin its search and collection activities. The leader should take into consideration the
            existing environmental factors. For example, obscurants may not be visible to the
            support element because of limited visibility or the lay of the terrain. Soldiers must know
            and practice relaying the signal during rehearsals to avoid the potential of fratricide.
            7-164. The assault element must be prepared to move across the kill zone using
            individual movement techniques if there is return fire once they begin to search.
            Otherwise, the assault element moves across by bounding fire teams.
            7-165. The assault element collects and secures all enemy prisoner of war and moves
            them out of the kill zone to an established location before searching dead enemy bodies.
            The enemy prisoner of war collection point should provide cover and should not be
            easily found by enemy forces following the ambush. The friendly assault element
            searches from the far side of the kill zone to the near side.
            7-166. Once the bodies have been thoroughly searched, search teams continue in this
            manner until all enemy personnel in and near the kill zone have been searched. Enemy
            bodies should be marked once searched (for example, arms folded over the chest and
            legs crossed) to ensure thoroughness and speed and to avoid duplication of effort.
            7-167. The patrol identifies and collects equipment to be carried back and prepares it
            for transport. Enemy weapon chambers are cleared and put on safe. The patrol also
            identifies and collects at a central point the enemy equipment to be destroyed. The
            demolition team prepares the fuze and awaits the signal to initiate. This is normally the
            last action performed before departing the ambush site. The flank security element
            returns to the ORP after the demolition team completes its task.
            7-168. The flank security teams also may emplace antiarmor mines after the ambush
            has been initiated if the enemy is known to have armored vehicles that can quickly
            reinforce the ambushed enemy force. If a flank security team makes enemy contact, it
            fights as long as possible without becoming decisively engaged. It uses prearranged
            signals to inform the patrol leader it is breaking contact. The leader may direct a portion
            of the support element to assist the security element in breaking contact.




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               7-169. The patrol leader must plan the withdrawal of the patrol from the ambush site.
               The planning process should include the following:
                         Elements normally are withdrawn in the reverse order they established their
                         positions.
                         Elements may return to the release point, then to the ORP, depending on the
                         distance between the elements.
                         The security element at the ORP must be alerted to assist the platoon’s return.
                         It maintains security of the ORP while the remainder of the platoon prepares
                         to depart.
               7-170. Actions back at the ORP include, but are not limited to, accounting for
               personnel and equipment, stowing captured equipment, and first aid (as necessary).
               Upon return personnel within the patrol reorganized as required, and ammunition and
               equipment are redistributed for movement out of the ORP.

        CONDUCT AN AREA AMBUSH
               7-171. In an area ambush, Soldiers deploy in two or more related point ambushes. The
               patrol may conduct an area ambush as part of a company offensive or defensive plan, or
               it may conduct a point ambush as part of a company area ambush (see ATP 3-21.10).
               7-172. The platoon is usually the smallest unit to conduct an area ambush. Patrols
               conduct area ambushes (see figure 7-19) where enemy movement is largely restricted to
               trails or streams.




                                         Figure 7-19. Area ambush

               7-173. The patrol leader selects one principal ambush site around which to organize
               outlying ambushes. These secondary sites are located along the enemy’s most likely

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            avenue of approach and escape routes from the principal ambush site. Squad-size
            elements normally are responsible for each ambush site when conducting a platoon-size
            area ambush.
            7-174. The patrol leader considers the mission variables of METT-TC (I) to determine
            the best employment of the weapons squad. The leader normally locates the medium
            machine guns with the support element in the principal ambush site.
            7-175. Squad- or section-size elements responsible for outlying ambushes do not
            initiate their ambushes until the principal one has been initiated. They then engage to
            prevent enemy forces from escaping the principal ambush or reinforcing the ambushed
            force.

         CONDUCT AN ANTIARMOR AMBUSH
            7-176. Patrols conduct antiarmor ambushes (see figure 7-20) to destroy armored
            vehicles. The antiarmor ambush may be part of an area ambush. The antiarmor ambush
            consists of the assault element (armor-killer element) and support-security element.




                                  Figure 7-20. Antiarmor ambush

            7-177. The armor-killer element is built around the close combat missile system
            (known as CCMS) Javelin (or M3 MAAWS). (See appendix D of this publication for
            information about employment of the Javelin [or M3 MAAWS].) Typically, antiarmor
            ambushes are executed at long range, and may only employ CCMS (or M3) fires, or
            those of the CCMS (or M3) and machine guns fires. The patrol leader should consider
            additional shoulder launched munitions (for example, AT4s, see appendix D) available
            to supplement the CCMS (or M3) fires. Depending on the terrain, these may mass fires

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               in the kill zone, or simply be positioned to cover a planned withdrawal or simply fire in
               response to an assaulting enemy force. The leader considers the mission variables of
               METT-TC (I) to position all antiarmor weapons to take advantage of their best
               engagement aspect (rear, flank, or top). The remainder of the patrol must function as
               support-security elements in the same manner as the other forms of ambushes to cover
               dismounted enemy avenues of approach into the ambush site. However, to achieve
               stand-off and increase survivability, these elements may be out of range of the kill zone.
               7-178. In a platoon-size antiarmor ambush, the company commander selects the
               general site of the ambush with the platoon leader finding a specific site restricting the
               movement of enemy armored vehicles out of the designated kill zone. The platoon leader
               should emplace weapons, so an obstacle is between the platoon and the kill zone. In a
               squad (with attachments from the weapons squad) antiarmor ambush, the platoon leader
               selects the general site of the ambush, and the squad leader then finds a site restricting
               the movement of enemy armored vehicles out of the kill zone.
               7-179. The leader should consider the method for initiating the antiarmor ambush. The
               preferred method (common to all ambushes) should be a mass casualty-producing signal
               initiated by a reliable weapon system or the detonation of mines or explosives. The
               Javelin (M3 MAAWS) can be used to initiate the ambush, but even with its limited
               signature, it may be less desirable than an AT mine.
               7-180. The armor-killer team destroys the first and last vehicle in the enemy formation,
               if possible. Designated weapons begin firing once the ambush has been initiated.
               7-181. The leader must determine how the presence of dismounted enemy soldiers
               with armored vehicles will affect the success of the ambush. With appropriate terrain
               utilization, natural or reinforcing obstacles, and stand-off ranges, enemy dismounts
               should not be able to affect the ambush rapidly. The leader’s choices include:
                           Initiate the ambush as planned.
                           Withdraw without initiating the ambush.
                           Divert some medium machine gun fires from armored or lightly armored
                           vehicles to engage enemy dismounts.
                           Initiate the ambush with either CCMS or medium machine guns, upon
                           completion conduct withdrawal.
               7-182. Because of the speed, enemy armored forces can reinforce the ambushed enemy
               with, the leader should plan to keep the engagement short and have a quick withdrawal
               planned. The patrol, dependent on METT-TC (I), may not clear the kill zone as in other
               forms of ambushes.

        SECURITY PATROLS
               7-183. Security patrols prevent surprise of the main body by patrolling to the front,
               flank, and rear of the main body to detect and destroy enemy forces in the local area.
               These patrols detect and disrupt enemy forces conducting reconnaissance
               (counterreconnaissance) of the main body or massing to conduct an attack. They
               normally are away from the main body of the unit for limited periods, returning

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            frequently to coordinate and rest. Security patrols do not operate beyond the range of
            communication and supporting fires from the main body, especially mortar fires,
            because they normally operate for limited periods, and are combat-oriented.

              Note. Leaders orient their security effort by identifying a security objective—the
              most important entity to protect during that specific security effort (FM 3-90)—
              within a patrol’s assigned area.


            7-184. A security patrol is sent out from a unit location when the unit is stationary or
            during a halt to search the local area, detect enemy forces near the main body, and to
            engage and destroy the enemy within the capability of the patrol. This form of combat
            patrol normally is sent out by units operating in close terrain with limited fields of
            observation and fire. Although this form of combat patrol seeks to make direct enemy
            contact and to destroy enemy forces within its capability, it should try to avoid decisive
            engagement. When the main body is stationary, the security patrol prevents enemy
            infiltration, reconnaissance, surveillance, or attacks (for example, patrolling the area
            surrounding a battle position or the area between battle positions). When the main body
            is moving, the security patrol prevents the unit from being ambushed or coming into
            surprise chance contact (for example, a meeting engagement, see paragraph 4-72).

           SECTION IV – RECONNAISSANCE PATROLS
            7-185. A reconnaissance patrol employs many tactics, techniques, and procedures
            throughout the course of the patrol, one of which may include an extended period of
            surveillance. A reconnaissance patrol collects information and confirms or disproves the
            accuracy of information previously gained. The intent for this type of patrol is to avoid
            enemy contact and accomplish its mission without engaging in close combat.
            Reconnaissance patrols always try to accomplish their mission without being detected
            or observed. Because detection cannot always be avoided, a reconnaissance patrol
            carries the necessary arms and equipment to protect itself and break contact with the
            enemy. Platoons or squads generally perform three types of reconnaissance patrols: area
            reconnaissance, route reconnaissance, or zone reconnaissance.

              Note. The main difference between the performance of reconnaissance
              operations and security operations is that reconnaissance operations orient on the
              enemy and terrain, while security operations (see chapter 6 section VII) orient on
              the friendly force, area, or facility. The reconnaissance fundamentals ensure
              continuous reconnaissance; do not keep reconnaissance assets in reserve; orient
              on the reconnaissance objective; report all required information rapidly and
              accurately; retain freedom of maneuver; gain and maintain enemy contact (find
              the enemy); and develop the situation rapidly (see FM 3-96 for additional
              information).




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                          Area reconnaissance—a form of reconnaissance operation that focuses on
                          obtaining detailed information about the terrain or enemy activity within a
                          prescribed area (FM 3-90).
                          Route reconnaissance—a form of reconnaissance operation to obtain detailed
                          information of a specified route and all terrain from which the enemy could
                          influence movement along that route (FM 3-90).
                          Zone reconnaissance—a form of reconnaissance operation that involves a
                          directed effort to obtain detailed information on all routes, obstacles, terrain,
                          and enemy forces within a zone defined by boundaries (FM 3-90).

                 Note. Leaders orient their reconnaissance effort by identifying a reconnaissance
                 objective—the most important result desired from that specific reconnaissance
                 effort (FM 3-90)—within a patrol’s assigned area. The objective can be either
                 threat or terrain based, depending on what type of operation its higher echelon is
                 conducting. Every reconnaissance mission specifies a reconnaissance objective
                 by priority, intent, and the information to obtain. For a platoon or squad, the
                 reconnaissance objective is usually a small and narrowly defined area, such as a
                 particular building, a bridge or suspected enemy position designated as a named
                 area of interest (NAI).



        ESSENTIAL ELEMENTS FOR A RECONNAISSANCE
        PATROL
               7-186. A reconnaissance patrol normally travels light, with as few personnel and as
               little arms, ammunition, and equipment as possible. This increases stealth and
               cross-country mobility in close terrain. Regardless of how the patrol is armed and
               equipped, the patrol leader always plans for direct-fire contact with a hostile force.
               Leaders must anticipate where they may possibly be observed and control the hazard by
               planning their movement or employment to lessen their risk. If detected, or unanticipated
               opportunities arise, reconnaissance patrols must be able to rapidly transition to combat.
               A reconnaissance patrol is organized with a reconnaissance element and a security
               element.

        RECONNAISSANCE ELEMENT
               7-187. The reconnaissance element gathers information to answer PIRs which enable
               leaders to make tactical decisions. The primary means is reconnaissance with extended
               periods of surveillance enabled by tactical movement, and continuous and accurate
               reporting. Thorough and accurate reconnaissance and surveillance (see paragraph 2-3
               and note on page 2-5) is important. However, avoiding detection is equally important.
               The following are activities normally associated with reconnaissance and extended
               periods of surveillance:
                          Reconnoiter all terrain within the assigned area, route, or zone.



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                   Determine trafficability routes or potential avenues of approach (based on the
                   personnel or vehicles to be used on the route):
                       Inspect and classify all bridges, overpasses, underpasses, and culverts on
                       the route.
                       Locate fords or crossing sites near bridges on the route.
                   Determine the time it takes to traverse the route.
                   Reconnoiter to the limit of direct fire range—
                       Terrain influencing the area, route, or zone.
                       Built-up areas.
                       Lateral routes.
                   Within capabilities, reconnoiter natural and man-made obstacles to ensure
                   mobility along the route. Locate a bypass or reduce/breach, clear, and mark—
                       Lanes.
                       Defiles and other restrictive/severely restrictive terrain.
                       Minefields.
                       Contaminated areas.
                       Log obstacles such as abatis, log cribs, stumps, and posts.
                       AT ditches.
                       Wire entanglements.
                       Fills, such as a raised railroad track.
                       Other obstacles along the route.
                   Zone reconnaissance and area reconnaissance accomplish the following
                   activities within the unit’s capability (unless otherwise ordered):
                       Find and report all enemy forces within the zone.
                       Based on engagement criteria, clear all enemy forces in the designated
                       assigned area of the unit conducting reconnaissance.
                       Inspect and classify all bridges in the zone.
                       Inspect and classify all overpasses, underpasses, and culverts.
                       Locate fords, crossing sites, or obstacle bypasses in the zone.
                       Reconnoiter specific terrain in the zone, for example, an NAI.
                       Report reconnaissance information.
                       Confirm or deny commander’s PIR.
                   Extended periods of surveillance may include:
                       Decision points where decisions by the commander are required—for
                       example, determining an enemy COA.
                       Information requirements to identify critical events linked to NAIs and
                       target area of interests.
                   Find all threat forces influencing movement along the area, route, or zone.
                   Report information.




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                 Note. Infantry rifle platoons and squads typically require engineer augmentation
                 to complete a full technical inspection of bridges, roads, and culverts; however,
                 platoons and squads do have the ability to conduct a general assessment.



        SECURITY ELEMENT
               7-188. The security element’s primary purpose is to protect the reconnaissance
               element. The security element provides overwatch to the reconnaissance element from
               support by fire positions. This element must be able to observe the reconnaissance
               objective and avenues of approach as well as provide early warning. The security
               element is prepared to provide alternate communications to higher headquarters or relay
               for the reconnaissance element. Security elements must be able to engage the enemy
               with direct and indirect fire within and beyond the reconnaissance objective. If a
               reconnaissance element is compromised, the security element immediately provides
               overwhelming fires against enemy forces to enable the element in contact to withdraw.
               This worst-case scenario must be well-rehearsed and well thought out.

        ACTIONS ON THE RECONNAISSANCE OBJECTIVE
               7-189. The actual reconnaissance begins at the designated transition point and ends
               with a follow-on transition to tactical movement away from the reconnaissance
               objective. Leaders mark the follow-on transition point with a control measure like the
               first transition point, using a linkup point, an LOA, or a phase line. During this phase,
               leaders execute one of the three types of reconnaissance (area, zone, or route). These
               types of reconnaissance are distinguished by the scope of the reconnaissance objective.
               The general types of reconnaissance patrols Infantry units conduct are area, zone, and
               route. (See figure 7-21.)




                             Figure 7-21. Types of reconnaissance patrols



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         ORGANIZATION-TASKS TO SUBORDINATE UNITS
            7-190. Regardless of how reconnaissance (and/or surveillance) and security elements
            are organized, each element always maintains responsibility for its own local security.
            In a small reconnaissance patrol, the patrol headquarters may form a part of one of the
            subordinate elements rather than being a separate element. The number and size of the
            various teams and elements must be determined through the leader’s mission analysis.
            There are three ways to organize reconnaissance and security elements.
            7-191. The first technique is to organize the reconnaissance (and/or surveillance)
            elements separate from security elements. This technique is used when the security
            element can support the reconnaissance element from one location. This requires the
            reconnaissance objective to be defined clearly and the area to be fairly open.
            7-192. The second technique is to organize the reconnaissance (and/or surveillance)
            elements and security elements together into reconnaissance and security teams. This
            technique is used when the reconnaissance objective is not defined clearly, or the teams
            are not mutually supporting, and each reconnaissance element potentially needs its own
            security force. Within the reconnaissance and security team, the reconnaissance can be
            done by one or two individuals while the rest of the element provides security. The
            number of Soldiers in a reconnaissance and security team varies depending on the
            mission. Usually a fire team (three to four Soldiers) is required for an adequate
            reconnaissance and still provide local security.
            7-193. The third technique is to establish reconnaissance (and/or surveillance) and
            security teams with an additional separate security element. The separate security
            element also can act as a quick reaction force.

         REVERSE-PLANNING PROCESS
            7-194. The patrol leader uses a reverse-planning process to plan for a reconnaissance
            patrol. The leader first determines the reconnaissance objective, an information
            requirement corresponding to the terrain or enemy in a specific area, route, or zone; it
            may be designated by a control measure such as named area of interest (NAI), target
            area of interest, checkpoints, objective, route, phase lines, or boundaries. Once the patrol
            leader has clarified the reconnaissance objective, the leader determines the observation
            plan enabling the patrol to obtain the information required. After determining the
            observation plan, the leader determines the tactical movement necessary to position the
            elements of the patrol to achieve the plan.

         INFORMATION REQUIREMENTS
            7-195. Information requirements are the basis for the development of the CCIRs, the
            answers to which are needed to allow commanders to make tactical decisions. The
            controlling headquarters must clearly define the information requirements it wants the
            patrol to determine. The patrol leader must clarify these information requirements prior
            to conducting the mission. Table 7-4 on page 7-60 illustrates an example matrix used to
            capture the information requirements for the headquarters’ collection plan.


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                              Table 7-4. Infrared collection matrix, example



           Are enemy forces                                        From:            Facilitate the platoon’s
                                        NV 12349875
           within small arms                                   20 1700 Nov           passage through the
         range of intersection?       road intersection                                       area
                                                              To: 21 0600 Nov
         Legend: Nov–November

               7-196. Information requirements can be enemy-oriented, terrain-oriented,
               civil-oriented, or a combination. It is important the leader clarifies the requirement prior
               to conducting the reconnaissance. Knowing this orientation enables the leader to use
               disciplined initiative to meet the higher commander’s information requirement.
               7-197. Terrain-oriented information requirements focus on determining information
               on the terrain of a particular area, route, or zone. While the unit looks for enemy
               presence, the overall intent is to determine the terrain’s usefulness for friendly purposes.
               For example, the company commander may send out a squad-sized reconnaissance
               patrol to identify a location, for example, the company’s future TAA or battle
               position(s). The patrol leader may send out a squad or team-sized reconnaissance patrol
               to obtain information about a bridge on a proposed infiltration route.
               7-198. Enemy-oriented information requirements focus on finding a particular enemy
               force. The purpose of enemy-oriented reconnaissance is to confirm or deny planning
               assumptions. While the unit may be given a terrain feature as a reference point, the
               overall intent is to find the enemy. This means if the enemy is not in the location
               referenced, the leader must demonstrate the initiative to find the enemy force within the
               mission parameters.
               7-199. Civil-oriented information requirements focus on determining information on
               the human environment in a particular area, route, or zone. A civil-oriented information
               requirement is a larger, vaguer category requiring more clarification than the other two
               categories. Examples of civil-oriented information requirements are the physical
               infrastructures; service infrastructures such as sewer, water, electric, and trash; the
               political situation; demographics; and dislocated civilians.

        OBSERVATION PLAN
               7-200. Once the patrol leader understands the information requirement, the leader
               develops an observation plan to obtain the information. The leader captures the
               observation plan as part of the patrol leader’s COA sketch. This is done by asking two
               basic questions:
                          What is the best location to obtain the information required?
                          What is the best way to obtain the information without compromising the
                          patrol?
               7-201. The answer to the first question is: all vantage points and observation posts
               from which the patrol can best obtain the required information. A vantage point is a
               temporary position enabling observation of the enemy. It is meant to be occupied only

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            until the enemy activity is confirmed or denied. The answer to the second question is:
            use the routes and number of teams necessary to occupy the vantage points and/or
            observation posts. An observation post is a position where military observations can be
            made, and fire can be directed and adjusted. Observation posts must possess appropriate
            communications. The observation post can be short-term (12 hours or less) or long-term,
            depending upon guidance from higher. Unlike a vantage point, the observation post
            normally is occupied, and surveillance is conducted for a specified period.
            7-202. The patrol views the reconnaissance objective from as many perspectives as
            possible, using whatever combinations of observation posts and vantage points are
            necessary. The leader selects the tentative locations for patrol’s vantage points,
            observation posts, and movement after analyzing METT-TC (I). These locations are
            proposed and are confirmed and adjusted as necessary by the actual leader on the ground.
            After analysis, the leader determines how many vantage points and observation posts
            must be established and where to position them. After deciding on these general
            locations, the leader designs the routes for necessary movement between these and other
            control measures (such as the release point[s] and linkup point[s]). Positions should have
            the following characteristics:
                        Covered and concealed routes to and from each position.
                        Unobstructed observation of the assigned area, route, or zone. Ideally, the
                        fields of observation of adjacent positions overlap to ensure full coverage.
                        Cover and concealment. Leaders select positions with cover and concealment
                        to reduce their vulnerability on the battlefield. Leaders may need to pass up
                        a position with favorable observation capability but no cover and
                        concealment to select a position affording better survivability.
                        A location not attracting attention. Positions should not be sited in such
                        locations as a water tower, an isolated grove of trees, or a lone building or
                        tree. These positions draw enemy attention and may be used as enemy
                        artillery TRPs.
                        A location not sky lining the observers. Avoid hilltops. Locate positions
                        farther down the slope of the hill or on the side, provided there are covered
                        and concealed routes into and out of the position.
            7-203. The locations selected by the patrol leader are either long-range or short-range.
            Long-range positions must be far enough from the objective to be outside enemy’s
            small-arms weapons, sensors, and other local security measures. Long-range positions
            are the most desirable method for executing a reconnaissance because the patrol does
            not come in close enough to be detected. If detected, the patrol can employ direct and
            indirect fires. Therefore, it is used whenever METT-TC (I) permits the required
            information to be gathered from a distance. Security must be maintained by—
                       Selecting covered and concealed observation posts.
                       Using covered and concealed routes in and around the AO.
                       Deploying security elements, including sensors, to give early warning, and
                       providing covering fire, if required.
            7-204. Short-range positions are within the range of enemy local security measures
            and small arms fire. When information required cannot be obtained by a long-range

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               position, reconnaissance elements move closer to the objective. The vantage points and
               routes used during short-range observation should be planned carefully and verified
               prior to using them. Doing so prevents detection by the enemy or friendly units from
               stumbling into one another or covering ground already passed over by another element.
               7-205. Once a subordinate element establishes the observation post, the occupying
               element prepares a sector sketch for the position. Figure 7-22 is a similar sketch to an
               individual fighting position sketch but with some important differences. At a minimum,
               the sketch should include:
                          A rough sketch of key and significant terrain.
                          The location of the observation post and alternate observation post.
                          The location of the hide position.
                          Routes to the observation post and fighting positions.
                          Sectors of observation.
                          Direct and indirect fire control measures.




                              Figure 7-22. Observation post sector sketch



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         AREA RECONNAISSANCE PATROL
            7-206. Area reconnaissance patrols focus on obtaining detailed information about the
            enemy activity, terrain, and/or specific civil considerations and integrated into these
            variables, informational considerations within a prescribed area. The area may be given
            as a grid coordinate, an objective, on an overlay. In an area reconnaissance, the patrol
            uses surveillance (vantage points or observation posts) around the objective to observe
            it and the surrounding area. The area may include a town, a neighborhood, a ridgeline,
            woods, an airhead, or any other feature critical to operations. The area may consist of a
            single point (such as a bridge or an installation). Areas are normally smaller than zones
            and not usually contiguous to other friendly areas targeted for reconnaissance. Because
            the area is smaller, units conduct an area reconnaissance quicker than a zone
            reconnaissance. Other unique techniques falling under area reconnaissance actions on
            the objective include point, contact, civil, and tracking reconnaissance patrols.

         POINT RECONNAISSANCE
            7-207. A point reconnaissance patrol goes straight to a specific location and determines
            the situation there. As soon as it does so, it either reports the information by radio or
            returns to the larger unit to report. This patrol can obtain, verify, confirm, or deny
            extremely specific information for the platoon leader or commander.

         CONTACT RECONNAISSANCE
            7-208. A contact reconnaissance patrol is a special type of reconnaissance patrol sent
            from one unit to physically contact and coordinate with another. Modern technology has
            reduced, but not eliminated, the need for contact patrols in some environment. In other
            environments, for example, against a peer threat, the need for contact patrols may be the
            best means of passing information safely. These type of patrols are often used today
            when a U.S. force must contact a non-U.S. coalition partner who lacks compatible
            communications or position-reporting equipment. Contact patrols may either go to the
            other unit’s position or the units can link up at a designated contact point. The leader of
            a contact patrol provides the other unit with information about the location, situation,
            and intentions of the patrol, and obtains and reports the same information about the
            contacted unit back to the patrol. A contact patrol also observes and reports pertinent
            information about the area between the two units.

         CIVIL RECONNAISSANCE
            7-209. A civil reconnaissance patrol is a targeted, planned, and coordinated
            observation and evaluation of specific civil aspects of the environment. Civil
            reconnaissance focuses on the civil component, the elements which are best represented
            by areas, structures, capabilities, organizations, people, and events (ASCOPE). PIRs or
            information requirements focus on civil reconnaissance for purposes of collecting civil




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               information to enhance situational understanding and facilitate decision making.
               Potential sources of civil information which a coordinated civil reconnaissance plan
               considers include:
                          Ongoing ASCOPE assessments of the AO.
                          Identified unknowns in civil information:
                             Gaps identified during collation and analysis.
                             Gaps remaining in the area study and area assessment.
                          Civil affairs interaction, including but not limited to:
                             Host-nation government officials.
                             Religious leaders.
                             Tribal or clan leaders.
                             Dislocated civilian camp leaders.
                             Dislocated civilians on the move.
                             Infrastructure managers and workers.
                             Local industry personnel.
                             Medical and educational personnel.
               7-210. The civil reconnaissance element enables information requirements for the
               purposes of facilitating tactical decision making. The following are activities normally
               associated with civil reconnaissance and extended periods of surveillance:
                          Determine the size, location, and composition of society/human
                          demographics.
                          Identify essential infrastructure influencing military operations, including the
                          following:
                              Political, government, and religious organizations and agencies.
                              Physical facilities and utilities (such as power generation, transportation,
                              and communications networks).

        TRACKING RECONNAISSANCE
               7-211. A tracking reconnaissance patrol is normally a squad-size, possibly smaller,
               element. It is tasked to follow the trail of a specific enemy unit in order to determine its
               composition, final destination, and actions en route. Patrol members look for subtle signs
               left by the enemy as it moves. As the patrol tracks, the members of the patrol gather
               information about the enemy unit, the route it took, and surrounding terrain. Normally,
               a tracking reconnaissance patrol avoids direct fire contact with the tracked unit. Tracking
               reconnaissance patrols often use military working dog teams with scouting capability to
               help them detect enemy presence by scent, sound, and sight.

        ACTIONS IN THE OBJECTIVE AREA
               7-212. Actions in the objective area for an area reconnaissance begin with the patrol
               in the ORP, followed by the execution of the observation plan, and end with a
               dissemination of information after a linkup of the patrol’s subordinate elements. This


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            dissemination of information can occur in the ORP, other contact point, or other
            designated location prior to the patrol’s return to its higher unit.

         Actions From the Objective Rally Point
            7-213. The patrol occupies the ORP and conducts associated priorities of work. While
            the patrol establishes security and prepares for the mission, the patrol leader and selected
            personnel conduct a leader’s reconnaissance (see paragraphs 7-15 and 7-16). The leader
            must accomplish three things during this reconnaissance: pinpoint the objective and
            establish surveillance, identify a release point and follow-on linkup point (if required),
            and confirm the observation plan.
            7-214. Upon returning from the leader’s reconnaissance, the patrol leader disseminates
            information and updates to the plan as required. Once ready, the patrol departs. The
            leader first establishes security. Once security is in position, the reconnaissance element
            moves along the specified routes to the observation posts and vantage points in
            accordance with the observation plan.
            7-215. Upon nearing the objective, the patrol leader should establish a forward release
            point. It should be sited so it is well hidden, no closer than 200 meters from known
            enemy patrol routes, observation posts, or sentry positions. The forward release point
            provides the patrol leader with a temporary location close to the objective from which
            to operate. While the reconnaissance is in progress, the forward release point is manned
            by the patrol second in charge and RTO. Only vital transmissions are made while in the
            forward release point. The volume setting should be as low as possible on the radio, and
            if available, the operator should use an earphone.
            7-216. The reconnaissance team makes its final preparation in the forward release
            point. Movement from the forward release point must be slow and deliberate. The patrol
            leader should allow sufficient time for the team to obtain the information. If time is
            limited, the team should only be required to obtain essential information. If the enemy
            position is large, or time is limited, the leader may employ more than one reconnaissance
            team. If this occurs, each team must have clearly defined routes for movement to and
            from the forward release point. They also must have clearly defined areas in which to
            conduct their reconnaissance in order to avoid contact with each other.
            7-217. The reconnaissance team(s) normally consists of one to two observers and two
            security Soldiers. The security Soldiers should be close enough to provide protection to
            the observer, but far enough away, so their position is not compromised. When moving
            in areas near the enemy position, only one Soldier should move at one time.
            Accordingly, bounds should be short.
            7-218. Once in position, the team(s) observes and listens to acquire the needed
            information. No eating, talking, or unnecessary movement occurs during this time. If a
            reconnaissance team cannot acquire the information needed from its initial position, it
            retraces the route and repeats the process. This method of reconnaissance is extremely
            risky. The reconnaissance team must remember the closer it moves to an objective, the
            greater the risk of being detected.



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        Multiple Reconnaissance and Surveillance Teams
               7-219. When information cannot be gathered from just one observation post or vantage
               point, successive points may be used. Once determined, the patrol leader decides how
               the patrol will occupy them. The critical decision is determining the number of teams in
               the reconnaissance element. The advantages of a single team are the leader’s ability to
               control the team, and a decreased probability of enemy detection. The challenges of a
               single team are the lack of redundancy, and the objective area is observed with just one
               team. The advantages of using multiple teams include providing the leader redundancy
               in accomplishing the mission, potentially finishing faster, and ability to look at the
               objective area from more than one perspective. Challenges include an increased
               likelihood of compromise and the challenge of controlling the teams.
               7-220. The patrol leader may include a surveillance team in the reconnaissance of the
               objective from the ORP. The leader positions these surveillance teams while on the
               reconnaissance. The leader may move them on one route, posting them as they move, or
               may direct them to move on separate routes to their assigned locations.

        ROUTE RECONNAISSANCE PATROL
               7-221. A route reconnaissance patrol is conducted to obtain detailed information about
               one route and all its adjacent terrain, or to locate sites for emplacing obstacles. Route
               reconnaissance is oriented on a road, a narrow axis such as an infiltration lane, or on a
               general direction of attack. Patrols conducting route reconnaissance operations attempt
               to view the route from both the friendly and enemy perspective. Infantry rifle platoons
               and squads conducting the patrol require augmentation with technical expertise for a
               complete detailed route reconnaissance. However, platoons are capable of conducting
               hasty route reconnaissance or area reconnaissance of selected points along a route.

        FOCUS AND CONDUCT
               7-222. A route reconnaissance patrol focuses along a specific line of communications
               (such as a road, railway, or cross-country mobility corridor). It provides new or updated
               information on route conditions, for example, trafficability, determining radius of a
               curve, or degree of slope. Additional more detailed information may include obstacles
               and bridge classifications, and enemy and civilian activity along the route. This type of
               reconnaissance includes not only the route itself, but also all terrain along the route from
               which the enemy could influence the friendly force’s movement. A route reconnaissance
               patrol is conducted to obtain and locate the following:
                           Detailed information about trafficability on the route and all adjacent terrain.
                           Detailed information about enemy activity or enemy force moving along a
                           route.
                           Sites for emplacing hasty obstacles to slow enemy movement.
                           Obstacles, CBRN contamination, and so forth.
               7-223. The patrol can be tasked to survey a route in a planned infiltration lane. After
               being briefed on the proposed infiltration, the patrol leader conducts a thorough map


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            reconnaissance and plans a series of fans along the route. (See figure 7-23.) The
            coverage must reconnoiter all intersecting routes for a distance greater than the range at
            which enemy direct-fire weapons could influence the infiltrating forces.




                          Figure 7-23. Route reconnaissance using fans

            7-224. The patrol reports conditions likely to affect friendly movement. These
            conditions include:
                       Presence of the enemy.
                       Terrain information.
                       Location and condition of bypasses, fords, and obstacles.
                       Choke points.
                       Route and bridge conditions.
            7-225. If all or part of the proposed route is a road, the leader must treat the road as a
            danger area. The patrol moves parallel to the road, using a covered and concealed route.
            When required, reconnaissance (and/or surveillance) and security teams move close to
            the road to reconnoiter important areas. The patrol plans a different route for its return.

         CONTROL MEASURES
            7-226. Control measures for a route reconnaissance create an AO for the unit
            conducting the reconnaissance. The leader should submit the patrol report in an overlay
            format including:
                       Two grid references (required).
                       Magnetic north arrow (required).
                       Route drawn to scale (required).
                       Title block (required).
                       Route classification formula (required).
                       Road curves with a radius of less than 45 degrees.
                       Steep grades and maximum gradients.



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                          Road width of constrictions such as bridges and tunnels, with the widths and
                          lengths of the traveled ways (in meters).
                          Underpass limitations with limiting heights and widths.
                          Bridge bypasses classified as easy, hard, or impossible.
                          Civil or military road numbers or other designations.
                          Locations of fords, ferries, and tunnels with limiting information.
                          Causeways, snow sheds, or galleries if they are in the way. Data about
                          clearance and load-carrying capacity should be included to permit an
                          evaluation to decide whether to strengthen or remove them.

        ZONE RECONNAISSANCE PATROL
               7-227. A zone reconnaissance patrol is conducted to obtain information on enemy,
               terrain, and routes within a specified zone. Zone reconnaissance techniques include the
               use of moving elements, stationary teams, or multiple area reconnaissance actions.

        MOVING ELEMENT TECHNIQUES
               7-228. When moving elements are used, the elements (squads or fire teams) move
               along multiple routes to cover the whole zone. When the mission requires a patrol to
               saturate an area, the patrol uses one of the following techniques: the fan, the box,
               converging routes, or successive sectors.

        Fan Method
               7-229. When using the fan method, the leader first selects a series of ORPs throughout
               the zone from during the operation. The patrol establishes security at the first ORP. Upon
               confirming the ORP location, the leader confirms reconnaissance routes out from and
               back to the ORP. These routes form a fan-shaped pattern around the ORP. The routes
               must overlap to ensure the entire area is reconnoitered. Once the routes are confirmed,
               the leader sends out reconnaissance (and/or surveillance) and security teams along the
               routes. When all reconnaissance and security teams have returned to the ORP, the
               platoon collects and disseminates all information to every Soldier before moving on to
               the next ORP.
               7-230. Each reconnaissance and security team moves from the ORP along a different
               fan-shaped route overlapping with others to ensure reconnaissance of the entire area.
               (See figure 7-24.) These routes should be adjacent to each other. Adjacent routes prevent
               the patrol from potentially making contact in two different directions. The leader
               maintains a reserve at the ORP.




        7-68                                        ATP 3-21.8




                                                                                                      OAG006964
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                                      Figure 7-24. Fan method


         Box Method
            7-231. When using the box method, the leader sends reconnaissance (and/or
            surveillance) and security teams from the ORP along routes forming a boxed-in area.
            The leader sends other teams along routes through the area within the box. (See
            figure 7-25.) All teams meet at a linkup point at the far side of the box from the ORP.




                                      Figure 7-25. Box method

                                               ATP 3-21.8                                    7-69




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        Converging Routes Methods
               7-232. When using the converging routes method, the leader selects routes from the
               ORP through the zone to a rally point at the far side of the zone from the ORP. Each
               reconnaissance (and/or surveillance) and security team moves along a specified route
               and uses the fan method (see paragraph 7-229) to reconnoiter the area between routes.
               (See figure 7-26.) The leader designates a time for all teams to linkup. Once the unit
               arrives at the rally point, it halts and establishes security.




                                 Figure 7-26. Converging routes method


        Successive Sector Method
               7-233. The successive sector method is a continuation of the converging routes
               method. (See figure 7-27.) The leader divides the zone into a series of sectors. The
               platoon uses the converging routes within each sector to reconnoiter to an intermediate
               linkup point where it collects and disseminates the information gathered to that point. It
               then reconnoiters to the next sector. Using this method, the leader selects an ORP, a
               series of reconnaissance routes, and linkup points. The actions from each ORP to each
               linkup point are the same as in the converging routes method. Each linkup point becomes
               the ORP for the next phase. Upon linkup at a linkup point, the leader again confirms or
               selects reconnaissance routes, a linkup time, and next linkup point. This action continues
               until the entire zone has been reconnoitered. Once the reconnaissance is completed, the
               unit returns to friendly lines.




        7-70                                        ATP 3-21.8




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                              Figure 7-27. Successive sector method


         STATIONARY ELEMENT TECHNIQUES
            7-234. Using the stationary element technique, the leader positions reconnaissance
            (and/or surveillance) and security teams in locations where they can collectively observe
            the entire zone for long-term, continuous information gathering. (See figure 7-28.) The
            leader considers sustainment requirements when developing Soldiers’ load plans.




                            Figure 7-28. Stationary element technique

                                                ATP 3-21.8                                     7-71




                                                                                                OAG006967
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        MULTIPLE AREA RECONNAISSANCE
               7-235. When using multiple area reconnaissance, the leader tasks each of the
               subordinate units to conduct a series of area reconnaissance actions within the zone. (See
               figure 7-29.)




                                Figure 7-29. Multiple area reconnaissance


          SECTION V – POST PATROL ACTIVITIES
               7-236. Immediately on reentering a secure location or rejoining the unit, the patrol
               leader should positively verify all members of the patrol and attachments, and detainees
               are accounted for. The patrol leader should check in with the company or battalion
               command post as soon as possible after entering a secure location or rejoining the unit.
               Additional post patrol activities will include:
                          Account for weapons and equipment.
                          Debrief.
                          Patrol report.

        ACCOUNTING FOR WEAPONS AND EQUIPMENT
               7-237. The patrol leader is responsible for verifying all the patrol’s weapons,
               ammunition, munitions, and equipment are properly accounted for and reporting the
               status to the commander or the command post. Lost or missing equipment must be

        7-72                                        ATP 3-21.8




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            reported immediately. The patrol may be ordered to return to the area where it was lost,
            if it is assessed safe to do so, and try to find the item.

         DEBRIEF
            7-238. The patrol leader should conduct a “debrief” with the entire patrol as soon as
            possible after entering the secure location or rejoining the main body. This allows the
            leader to capture low-level information while the Soldiers’ memories are fresh and
            information relevant. The leader should go over the notes taken by the patrol scribe
            chronologically to facilitate the discussion. Every patrol member should participate. If
            there was an interpreter or other attachments with the patrol, they should be debriefed
            as part of the patrol debriefing, allowing them to pass on information they obtained
            during the patrol.
            7-239. Normally the debriefing is oral. Sometimes a written report is required.
            Information on the written report should include:
                      Size and composition of the unit conducting the patrol.
                      Mission of the platoon such as type of patrol, location, and purpose.
                      Departure and return times.
                      Routes use checkpoints, grid coordinates for each leg or include an overlay.
                      Detailed description of terrain and enemy positions identified.
                      Results of contact with the enemy.
                      Unit status at the conclusion of the patrol mission, including the disposition
                      of dead or wounded Soldiers.
                      Number of isolated Soldiers’ platoon/squad unable to recover during
                      execution of the mission.
                      Conclusions or recommendations.

         PATROL REPORT
            7-240. The patrol leader is responsible for the patrol report and may be assisted by the
            APL and specialist personnel attached to the patrol. Immediately after the debriefing,
            the patrol leader should render the patrol report to the commander. This report may be
            verbal or written, simple, or elaborate depending on the situation and commander’s
            requirements.
            7-241. The commander may have the patrol leader render the report to the battalion
            intelligence officer or to the duty officer at the battalion command post. The patrol report
            (see figure 7-30 on page 7-74) should include a description of the actual route taken by
            the patrol (as opposed to the planned route), including halt locations. If the unit uses
            digital command and control systems automatically tracking and displaying the patrol’s
            route, the information is known already. If not, the patrol leader reports it.
            7-242. When Global Positioning System (GPS) devices are used by the patrol,
            gathering route information is easier and faster. The actual route the patrol took is
            important for planning future patrol routes and actions. Enemy intelligence operations


                                                 ATP 3-21.8                                      7-73




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               attempt to identify patterns set by U.S. and coalition patrols, including the locations of
               halts. This may result in attack against locations regularly used by security forces.
               7-243. Additional information may include the number of biometric enrollments and
               identification on the BEWL; was anyone detained according to the instructions on the
               BEWL; and what is the status? (See FM 3-24.2 for additional information.)




                                    Figure 7-30. Patrol report, example




        7-74                                        ATP 3-21.8




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                                               Chapter 8
                                          Sustainment

                Sustainment is the provision of logistics, financial management,
                personnel services, and health service support necessary to maintain
                operations until successful mission completion (ADP 4-0). In the
                Infantry rifle platoon, the platoon leader is responsible for planning
                sustainment; the platoon sergeant and squad leaders have the
                responsibility to execute the plan. The platoon sergeant is the
                platoon’s primary sustainment operator and works closely with the
                company executive officer and first sergeant to ensure the platoon
                receives the required support for its assigned missions. The
                company normally forecasts supplies and “pushes” to the platoon
                rather than having the platoon “pull” them. This chapter describes
                sustainment in support of the Infantry rifle platoon. It concludes
                with a discussion of casualty response, specifically the three phases
                (care under fire, tactical field care, and tactical evacuation care) of
                tactical combat casualty care (TCCC). (See ATP 3-21.10 for
                additional information.)

              Note. See ATP 3-21.18 for additional information on Soldier load.



           SECTION I – SUSTAINING THE PLATOON
            8-1. Sustaining the platoon is primarily a company- and battalion-level operation.
            While the company commander and executive officer plan the company’s concept of
            support for the operation, the platoon leader and platoon sergeant are responsible for
            sustainment planning, preparation, execution, and assessment at platoon level.
            Sustainment is characterized by the following eight principles: integration, anticipation,
            responsiveness, simplicity, economy, survivability, continuity, and improvisation. (See
            FM 3-96 for additional information.) The platoon leader, with the assistance of the
            platoon sergeant, integrates these guiding principles to shape the sustainment concept of
            support for the platoon. This section describes sustainment operations in support of the
            platoon, specifically responsibilities, functions, tasks, and activities, and unit
            relationships throughout high operating tempo operations.




                                                ATP 3-21.8                                       8-1




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        RESPONSIBILITIES
              8-2. Sustainment responsibilities for the platoon include reporting and requesting
              support requirements through the company and ensuring sustainment elements execute
              operations properly when they arrive in the platoon’s area. The platoon sergeant is
              normally in charge of these functions, with guidance and oversight provided by the
              platoon leader. Prior to and during operations, the platoon sergeant must submit accurate
              personnel and sustainment reports, along with other necessary information and requests
              to receive the needed support and services at the precise place and time needed. The
              following paragraphs (see paragraphs 8-3 to 8-5) address key leader sustainment specific
              responsibilities within the platoon and squad.

        PLATOON LEADER
              8-3. The platoon leader is responsible for developing the platoon’s sustainment
              concept of support. The platoon leader (assisted by the platoon sergeant) develops the
              concept of support to sustain the platoon’s scheme of maneuver. The platoon leader
              (assisted by the platoon sergeant) identifies support requirements for the platoon’s
              mission to the company where the company headquarters consolidates it and passes it
              on to the battalion.

        PLATOON SERGEANT
              8-4. The platoon sergeant is the platoon’s primary sustainment coordinator and
              operator, reporting directly to the platoon leader. The platoon sergeant executes the
              platoon’s sustainment plan, relying heavily on platoon and company tactical standard
              operating procedures (SOPs). The platoon sergeant (assisted by squad leaders)
              supervises and controls the Soldiers and equipment within the platoon. During
              preparations for the mission, the platoon sergeant works closely with the platoon leader
              and squad leaders to determine specific support requirements of the tactical plan. The
              platoon sergeant then ensures proper arrangements are made to provide those support
              requirements. Additional sustainment responsibilities include:
                         Determining the location of the platoon’s resupply point (as required) based
                         on data developed during initial planning and war-gaming processes.
                         Compiling DA Form 2404 (Equipment Inspection and Maintenance
                         Worksheet) or DA Form 5988-E (Equipment Maintenance and Inspection
                         Worksheet), from the squad leaders and providing updates to the platoon
                         leader as required.
                         Ensuring the platoon executes sustainment operations according to the
                         platoon and company sustainment plans.
                         Leading the sustainment rehearsal in coordination with squad leaders to
                         ensure integration into the platoon/company rehearsal.
                         Assisting the platoon leader in developing sustainment priorities (to include
                         load tailoring [see ATP 3-21.18]) and guidance according to the company’s
                         concept of support and enforcing them.



        8-2                                        ATP 3-21.8




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                      Conducting close coordination with the company executive officer and first
                      sergeant for planning and resourcing the platoon’s mission.
                      Coordinating and synchronizing human resources support with the company
                      first sergeant. This includes personnel accountability reports, casualty
                      reports, replacement operations, personnel readiness management, mail
                      operations, essential personnel services, and other administrative or
                      personnel requirements.
                      Meeting the logistics package at the company logistics release point (known
                      as LRP) or company trains; guiding it to the platoon resupply point and
                      supervising platoon resupply operations (see paragraphs 8-16 to 8-25, or
                      ATP 3-21.10 for additional information).
                      Providing a platoon orientation for new personnel and, in consultation with
                      the platoon leader, makes recommendations on replacements to leaders
                      within the platoon.
                      Directing and supervising evacuation of casualties, detainees, and damaged
                      equipment.
                      Directing and supervising the collection, initial identification, and evacuation
                      of human remains to the mortuary affairs collection point.
                      Maintaining the platoon-manning roster.
                      Cross-leveling supplies and equipment throughout the platoon.
                      Ensuring leaders within the platoon supervise the proper maintenance on all
                      assigned equipment.
                      Coordinating logistics/personnel requirements with attached or operational
                      controlled units.

         SQUAD LEADER
            8-5. Squad leader (assisted by team leaders) sustainment duties include:
                     Ensuring Soldiers perform proper maintenance on all assigned equipment.
                     Ensuring Soldiers maintain personal hygiene.
                     Compiling personnel and logistics reports for the platoon and submitting
                     them to the platoon sergeant as directed or in accordance with unit SOP.
                     Obtaining supplies, equipment (except Class VIII), and mail from the platoon
                     sergeant and ensuring proper distribution.
                     Cross-leveling supplies and equipment throughout the squad.
                     Assisting the platoon sergeant in developing sustainment priorities (to
                     include load tailoring [see ATP 3-21.18]).

              Note. The squad leader ensures all squad members carry their own improved
              first-aid kit to sustain survivability. See paragraphs 1-43 and 1-46 to 1-48 for
              information on combat lifesaver (CLS) and the platoon’s medic, respectively.




                                               ATP 3-21.8                                        8-3




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        PLAN, PREPARE, EXECUTE, AND ASSESS
              8-6. The platoon leader, with the assistance of the platoon sergeant, fully integrates
              and synchronizes the company’s sustainment concept of support within the platoon’s
              concept of operations. This concept of support describes how the unit will execute and
              receive sustainment during the operation. Planning during troop leading procedures
              (TLP) is continuous and concurrent with ongoing support preparation, execution, and
              assessment.

        PLANNING
              8-7. Company and platoon SOPs should be the basis for sustainment operations, with
              planning conducted to determine specific requirements and to prepare for contingencies.
              The platoon planning should address specific support matters of the mission. Deviations
              from the sustainment SOPs should be covered early in the planning process. In most
              situations, sustainment planning begins before receipt of the mission, as part of the
              ongoing process of refining the sustainment plan.
              8-8. The platoon leader develops the platoon sustainment plan by first determining
              exactly what the platoon has on hand to accurately estimate the platoon’s support
              requirements. It is critical for the company to know what the platoon has on hand,
              especially for designated critical supplies. This process is important not only in
              confirming the validity of the sustainment plan but also in ensuring the platoon’s support
              requests are submitted as early as possible. The platoon leader formulates the
              sustainment plan and submits, through the platoon sergeant, support requests based on
              the results of the platoon’s maneuver plan. The sustainment plan should provide answers
              based on the nature of the operation and specific tactical considerations, such as—
                          What types of support will the platoon need?
                          In what quantities will this support be required?
                          Will contingency resupply (for example, Class I-water, Class V-ammunition)
                          be required during the operation (see note on page 8-5)?
                          Does this operation require pre-position supplies?
                          What is the composition, disposition, and capabilities of the expected enemy
                          threat? How will these affect sustainment during execution?
                          Where and when will the expected contact occur?
                          What are the platoon’s expected casualties and equipment losses based on the
                          nature and location of expected contact?
                          What impact will the enemy’s special weapons capabilities (such as
                          chemical, biological, radiological, and nuclear [CBRN]) have on the battle
                          and on expected sustainment requirements?
                          How many enemy prisoners of war are expected, and where?
                          How will terrain and weather affect the sustainment plan during the
                          operation?
                          What ground will provide the best security for maintenance collection points
                          (when vehicles attached) and casualty collection points (CCPs)?


        8-4                                        ATP 3-21.8




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                      What are the platoon’s casualty evacuation (CASEVAC) and/or medical
                      evacuation (MEDEVAC) routes?
                      What are the company’s dirty routes for evacuating contaminated personnel,
                      vehicles, and equipment?
                      When and where will the platoon need resupply?
                      Based on the nature and location of expected contact, what are the best sites
                      for the CCP?
                      Where will the enemy prisoner of war collection points be located?
                      What are the support requirements, by element and type of support?
                      Which squad or team has priority for support and resupply?
                      Will lulls in the operation permit support elements to conduct resupply
                      operations in relative safety?
                      Based on information developed during the sustainment planning, which
                      resupply technique should the platoon use (see paragraphs 8-16 to 8-25, or
                      ATP 3-21.10 for additional information)?

              Note. Contingency resupply is the on-call delivery of prepackaged supplies
              during the execution phase of an operation. This type of on call delivery of a
              prepackaged resupply is generally used to support an operation of limited
              duration, such as an Airborne or air assault or other limited engagement of short
              duration. Contingency resupply operations for the platoon are identified during
              the TLP, normally during war gaming as the course of action (COA) is analyzed.
              Contingency resupply differs from a planned resupply (for example logistics
              package) or emergency (immediate) resupply, in that, prior to execution, triggers
              for delivery are developed to tie contingency resupply operations to the ground
              tactical plan. (See ATP 3-21.10 for additional information.)



         PREPARATION
            8-9. Preparation for sustainment consists of activities performed by the platoon to
            improve its ability to execute the operation. These preparations refine the sustainment
            concept of support. Preparations include but are not limited to plan refinement,
            rehearsals, coordination, inspections, and movements. Sustaining factors to consider,
            although not inclusive, include geography information and the availability of supplies
            and services, facilities, transportation, maintenance, and general skills (such as
            translators or laborers). Preparations may include building pre-packaged resupply drops;
            for instance, bags loaded with loaded rifle magazines, rations, water, batteries, and so
            forth.
            8-10. Sustainment rehearsals help synchronize the platoon’s concept of support within
            the company’s overall operation. These rehearsals typically involve coordination and
            procedure drills for transportation support, resupply, maintenance and vehicle recovery
            (when attached), and MEDEVAC and CASEVAC. Throughout preparation, units
            rehearse battle drills and SOPs. Leaders place priority on those drills or actions they
            anticipate occurring during the operation. Sustainment rehearsals validate logistical

                                               ATP 3-21.8                                      8-5




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              synchronization with the concept of operations. Rehearsals focus on the supported and
              supporting unit with respect to sustainment operations across time and space as well as
              the method of support for specific actions (for example, contingency resupply) during
              the operation. If the platoon is using unfamiliar movement assets, rehearsals should
              include both evacuating injured Soldiers from those vehicles and loading casualties in
              them.

        EXECUTION
              8-11. The platoon leader and platoon sergeant plan and organize sustainment operations
              that can be executed rapidly, possibly with widely dispersed operations. Sustainment
              determines the depth and duration of the platoon operation and is essential to retaining
              and exploiting the initiative to provide the support necessary to maintain operations until
              the mission is completed. Failure to sustain operations could cause a pause or
              culmination of an operation resulting in the loss of the initiative. The platoon sergeant,
              reporting directly to the platoon leader, and company executive officer and first sergeant
              work closely prior to execution to synchronize all sustainment functions to allow the
              platoon maximum freedom of action.

        ASSESSMENT
              8-12. The platoon leader and platoon sergeant, through continued assessment of the
              current situation determine if the current operation is proceeding according to the
              company commander’s intent and if planned future operations are supportable. For
              example, the platoon sergeant may assess the need to apply additional security measures
              to an LRP in the platoon’s area of operations (AO). The mission of, threat to, and
              location of the LRP determines the degree of protection needed.
              8-13. Additionally, knowing the status of liquid, ammunition, casualties, and equipment
              (known as LACE) through the reporting of subordinates provides information to the
              platoon leader and platoon sergeant on the impact of these areas on the mission. The
              status of these areas is compared to execution to assess whether they are shortages: now;
              will arise as shortages that can impact the mission; or are shortages that will not impact
              mission accomplishment. Examples include, knowing:
                          The extent of casualties, the consumption of medical supplies.
                          The status of ammunition and water, comparing consumed to expected
                          continued consumption.
                          The status of serviceable equipment and weapons systems.

        SUPPLY AND FIELD SERVICES
              8-14. Supply provides the materiel required to accomplish the mission. Supplies such
              as subsistence items, water, ammunition, and barrier materials are the most common.
              Field services maintain combat strength of the force by providing for its basic needs and
              promoting its health, welfare, morale, and endurance. Field services provide life support
              functions. Common services that may be available consist of shower and laundry, field
              feeding, sanitation services, mortuary affairs, and water purification.

        8-6                                        ATP 3-21.8




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            8-15. The Infantry rifle platoon normally deploys with 72 hours of supplies specific to
            its assigned mission. Supply commodities are used in support of missions and are
            separated into ten supply classes:
                       Class I – Perishable and semi-perishable subsistence items, water, and
                       gratuitous health and comfort items, includes rations that are packaged as
                       individual or group meals.
                       Class II – Individual equipment and general supplies, items consist of
                       common consumable items such as clothing, individual equipment, tentage,
                       tool sets and kits, maps, administrative/housekeeping supplies, and CBRN
                       protective equipment.
                       Class III – Packaged fuel—petroleum, oils, and lubricants, consists of
                       packaged petroleum, oils and lubricants that can be handled similarly to dry
                       cargo.
                       Class III – Bulk fuel—gasoline, diesel, and aviation fuel.

              Note. Consumption rates of Class III packaged, and bulk are especially important
              when the Infantry rifle platoon has attached or in direct support vehicles and
              armored or Stryker vehicles.

                      Class IV – Construction and barrier materials, consists of construction,
                      fortifications, and barrier materials. Typically, a platoon will not have a
                      requirement for Class IV materials unless in the defense. For example, gloves
                      and picket pounders for handling of concertina wire and placement of pickets.
                      Class V – Ammunition, unit basic load—the quantity of supplies required to
                      be on hand within, and moved by a unit or formation, expressed according to
                      the wartime organization of the unit or formation and maintained at the
                      prescribed levels (JP 4-09)—is determined by the weapon density, number of
                      Soldiers, and specific mission requirements over time.
                      Class VI – Sundry personal demand items such as toiletry, hygiene, and small
                      recreational items. In most cases, a Soldier deploys with a 30-day supply of
                      health and comfort items. After the first 30 days, health and comfort packages
                      are provided at 30-day intervals through Class I channels at the request of the
                      unit commander.
                      Class VII – Major end items, this class of supply is intensely managed and
                      controlled through higher command channels. Detailed planning at all
                      echelons includes recovery operations and battle loss/battle damage
                      replacement operations. This is particularly import to the platoon when
                      attached with mounted assets.
                      Class VIII – Medical supplies.

              Note. Typically, the medical platoon of the Infantry battalion will deploy with a
              3-day supply of Class VIII to support the battalion. When forecasting Class VIII
              requirements, take the mission, location, projected casualty rates, and available
              medical assets into consideration.


                                               ATP 3-21.8                                       8-7




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                         Class IX – Repair parts include individual repair parts and major assemblies
                         such as engines, transmissions, and final drives, which are required to
                         maintain equipment and operational readiness.

        DISTRIBUTION AND RESUPPLY OPERATIONS
              8-16. The platoon sergeant, in coordination with the platoon leader, is the primary
              coordinator and operator for synchronizing distribution and resupply operations for the
              platoon. Distribution encompasses the movement of personnel, materiel, and equipment
              in support of the platoon. Resupply operations cover all classes of supply, water, mail,
              and any other items usually requested. The company executive officer is responsible for
              requesting and coordinating support capabilities against the platoon’s requirements. The
              platoon sergeant identifies these requirements through daily logistics status (known as
              LOGSTAT) reports. Whenever possible, the platoon conducts resupply on a regular
              basis, ideally during hours of limited visibility.

        METHODS OF DISTRIBUTION
              8-17. Distribution is the operational process of synchronizing all elements of the logistic
              system to deliver the “right things” to the “right place” at the “right time” to support the
              platoon’s concept of operations. The elements of logistics include maintenance,
              transportation, supply, field services, distribution, operational contract support, and
              general engineering. The platoon sergeant requests and executes distribution operations
              based on supply requirements communicated by the platoon leader and squad leaders.
              The platoon sergeant communicates the platoon’s requirements through LOGSTAT
              reports and other means, through the company executive officer or first sergeant, to the
              battalion.
              8-18. Methods of distribution integrate and synchronize materiel management and
              transportation. Supporting sustainment units use the best distribution method dependent
              on the mission, the urgency of requirement, the threat, the supported unit’s priority of
              support, time/distance, and other mission variables of METT-TC (I) mission, enemy,
              terrain and weather, troops and support available, time available, civil considerations,
              and informational considerations. The two methods of distribution are unit distribution
              and the three techniques (service station, tailgate, or in-position) of supply point
              distribution. (See ATP 3-21.10 for additional information on each method of
              distribution.)

        METHODS OF RESUPPLY
              8-19. Resupply operations require continuous and close coordination between the
              supporting and supported units. The two methods of resupply are planned resupply and
              emergency resupply. Planned resupply is the preferred method of resupply. At the
              platoon level, the company sustainment concept of support and LOGSTAT reports by
              the platoon sergeant, normally establish the requirement, timing, and frequency for
              planned resupply. A planned resupply may occur during an operation. Emergency
              resupply is the least preferred method of supply. While instances of emergency resupply


        8-8                                         ATP 3-21.8




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                                                                                       Sustainment



            may be required, especially when combat losses or a change in the enemy situation
            occurs, requests for it may indicate a breakdown in coordination and collaboration
            between supported and supporting units.
            8-20. The platoon sergeant is responsible for synchronizing resupply operations for
            subordinate squads and other elements assigned or attached to the platoon. The platoon
            sergeant identifies requirements through daily LOGSTAT reports and sustainment
            planning conducted during TLP. (See ATP 3-21.10 for additional information on the
            methods of resupply to sustain the platoon during operations.)

         DELIVERY TECHNIQUES OF RESUPPLY
            8-21. Logisticians and supported units can use several techniques for resupply during
            planned and emergency resupply operations. See ATP 3-21.10 for additional
            information on the following delivery techniques for resupply:
                      Logistics package. A grouping of multiple classes of supply and supply
                      vehicles under the control of a single convoy commander, is a simple and
                      efficient way to accomplish planned (routine) resupply.
                      Contingency resupply. The on-call delivery of prepackaged supplies during
                      the execution phase of an operation.
                      LRP. The company most commonly executes supply point distribution by
                      means of an LRP:
                          Any place on the ground where unit distribution vehicles take supplies
                          met by the company representative (for example, the first sergeant).
                          Then takes the supplies forward to subordinate platoons for subsequent
                          distribution.
                      Pre-positioned supplies. The pre-positioning of supplies is a planned resupply
                      technique that reduces the reliance on traditional convoy operations and other
                      resupply operations.
                      Cache. A pre-positioned and concealed supply point (different from standard
                      pre-positioned supplies because the supported or supporting units conceal the
                      supplies from the enemy whereas units may not conceal other pre-positioned
                      supplies).
                      Aerial delivery. By airland, airdrop, and sling-load operations that provides
                      additional capability to resupply the platoon when the terrain or enemy
                      situation limits access by ground transportation.

         ECHELON SUPPORT
            8-22. How the Infantry battalion, including external and attached organizations and the
            brigade support battalion of the Infantry brigade combat team (IBCT), array in echelon
            varies widely based upon the mission variables of METT-TC (I). The forward support
            company, in support of the Infantry battalion’s concept of support (prepared by the
            battalion logistics staff officer), plans and synchronizes echelon support—the method of
            supporting an organization arrayed within an area of operation (see ATP 4-90). Current
            mission, task organization, command and control, concept of support, capability and

                                               ATP 3-21.8                                      8-9




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               capacity, and terrain influence how support is echeloned. As the Infantry battalion’s
               primary sustainment organization, the forward support company’s organization
               facilitates echeloned support. Common echelon of support at the lowest level of
               sustainment is executed at the battalion and company echelons. (See ATP 3-21.20 and
               FM 3-96 for additional information.)
               8-23. Company trains provide sustainment for a company during combat missions.
               Company trains (when established) usually include the first sergeant, supply sergeant,
               armorer, and combat medic. When pushed down to company level, a MEDEVAC team
               may collocate in the company trains. The supply sergeant can collocate in the battalion
               combat trains (when established) or battalion field trains if it facilitates logistics package
               operations. The first sergeant controls the company trains to ensure its operational
               responsiveness and survivability although the company commander may assign the
               responsibility to the company executive officer. The distance of the company trains from
               the company’s combat mission is METT-TC (I) dependent. By placing at least one
               terrain feature between it and the enemy, the company trains will be concealed from the
               enemy’s direct fire weapons.
               8-24. Configuring the company trains with the assets described above gives the
               company virtually immediate access to essential logistical functions to support
               subordinate platoons while allowing the trains to remain in a covered and concealed
               position out of enemy contact. Because the security of support elements is critical to the
               success of any mission, battalion and company trains develop plans for continuous
               security. Where feasible, they plan and execute a perimeter defense. Trains, however,
               can lack the personnel and combat power to conduct this level of security effort. In such
               situations, they implement passive measures (see paragraph 5-143) to avoid detection
               by the from enemy during unit and supply point distribution operations.
               8-25. METT-TC (I) ultimately dictates the actual distance at which the trains operate.
               In some instances, the company trains can be collocated with the battalion combat trains
               or even the battalion field trains. Figure 8-1 illustrates a notional battalion concept of
               support to the platoon echelon. (See ATP 3-21.10 for additional information.)




        8-10                                          ATP 3-21.8




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           Figure 8-1. Sustainment concept of support (echelon support example)


         MAINTENANCE
            8-26. Maintenance is all actions taken to retain materiel in a serviceable condition. The
            maintenance of weapons and equipment is continuous. All Soldiers must know how to
            maintain their weapon and equipment according to the related technical manual. The
            platoon leader, platoon sergeant, and squad leaders must understand maintenance for
            every piece of equipment in the platoon.
            8-27. Maintenance includes inspecting, testing, servicing, repairing, requisitioning,
            recovering, and evacuating vehicles and equipment. Maintenance at the platoon and
            squad level comprises thorough preventive maintenance checks and services, and
            accurate reporting of maintenance problems to the company.
            8-28. Maintenance and the early identification of problems prevent equipment
            downtime and the reduction of combat effectiveness. The result of good preventive
            maintenance checks and services is a properly completed equipment inspection and
            maintenance forms. These forms, DA Form 2404 or DA Form 5988-E, are the primary
            means through which the platoon and squads obtain maintenance support or repair parts.
            The forms follow a pathway from crew level to the brigade support area (BSA) and
            back. Per unit SOP, the company executive officer or first sergeant supervises the flow
            of these critical maintenance documents and parts. The maintenance flow is as follows:
                        Squad leaders and/or vehicle (when equipped) commanders collect the
                        maintenance forms to give them to the platoon sergeant (or sends them via,

                                                ATP 3-21.8                                     8-11




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                         Joint Capabilities Release Logistics or Joint Battle Command-Platform) who
                         then consolidates the forms for the platoon.
                         The platoon sergeant gives a hard copy of the forms (or forwards an electronic
                         version) to the executive officer or first sergeant, who reviews and verifies
                         problems and deficiencies and requests parts needed for maintenance and
                         repairs.
                         The hard copy of the forms (or electronic versions) are consolidated at
                         company level and then transmitted to the battalion and/or its supporting
                         combat repair team.
                         During the next logistics package operation, the completed hard copy forms
                         are returned to the combat repair team to document completion of the repair.
                         In the BSA, required repair parts are packaged for delivery during the next
                         scheduled (planned) resupply or through emergency resupply means.
                         When the repair or installation of the part requires higher skills and
                         equipment than the operator, a combat repair team is dispatched to assess the
                         repair and to install the part on site.
                         The operator conducts initial maintenance, repair, and recovery actions on
                         site. Once it is determined that the crew cannot repair or recover the
                         equipment or vehicle (when attached), the platoon contacts the executive
                         officer or first sergeant. If additional assistance is needed, the combat repair
                         team assesses the damaged or broken equipment and makes necessary repairs
                         to return the piece of equipment to a fully mission-capable or mission-capable
                         status, if appropriate.
               8-29. The unit SOP should detail when maintenance is performed (at least once a day
               in the field), to what standards, and who inspects it. The squad leader is often the one
               who inspects maintenance work whereas the platoon sergeant, platoon leader, first
               sergeant, executive officer, and commander conduct spot-checks. A technique is for the
               platoon leader or platoon sergeant to spot check equipment at the platoon’s planned
               (routine) resupply time to ensure equipment is clean and the proper maintenance forms
               are complete before receiving Class I. Another technique is for each to spot-check a
               different squad whereas another is for each to check a single type of weapon or piece of
               equipment in all squads daily. Instructions for routine maintenance must be integrated
               into the SOP for patrol bases, tactical assembly areas (TAAs), defenses, and
               reorganization. They help ensure that Soldiers make a habit of maintenance and that they
               perform it without jeopardizing unit security. In addition to operator maintenance,
               selected Soldiers are trained to perform limited maintenance on damaged weapons and
               battle damage assessment and repair.

          SECTION II – TACTICAL COMBAT CASUALTY CARE
               8-30. TCCC is divided into the three phases—care under fire, tactical field care, and
               tactical evacuation care. TCCC occurs during a combat mission and is the military
               counterpart to prehospital emergency medical treatment. (See FM 4-02 for additional
               information.)


        8-12                                       ATP 3-21.8




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         CARE UNDER FIRE
            8-31. In the care under fire phase, combat medical personnel and their units are under
            effective hostile fire and are very limited in the care they can provide. In essence, only
            those lifesaving interventions that must be performed immediately are undertaken
            during this phase. Casualty care under fire has a positive impact on the morale of a unit.
            Casualties are cared for at the point of injury (or under nearby cover and concealment)
            and receive self- or buddy-aid, advanced first aid from the CLS, and/or emergency
            medical treatment from the platoon or company combat medics.

              Note. Nonmedical personnel (specifically individuals performing self-aid and
              buddy-aid and CLSs [see paragraph 1-43]) within the platoon assist combat
              medics (see paragraphs 1-46 to 1-48) within platoons and the company senior
              combat medic in their duties. Individuals (self-aid and buddy-aid) and CLS
              administer appropriate TCCC. If needed, Soldiers are evacuated to the Role 1
              medical treatment facility (MTF) (battalion aid station) in the battalion support
              area, or the Role 2 MTF (brigade support medical company of the brigade
              support battalion) in the BSA of the IBCT. (See ATP 3-21.20 and FM 3-96 for
              additional information.)


            8-32. All platoon CLSs and the combat medic carry multiple blank versions and use
            (they complete all entries as fully as possible) DD Form 1380 (see figure 8-2 on
            page 8-14) to document pre-MTF care at the point of injury. Such care relates to both
            battle and nonbattle injuries. Once completed, DD Form 1380 is visibly attached to the
            patient when transferred to the CCP and/or to a Role 1 or Role 2 MTF. All entries on
            the DD Form 1380 will be made using a non-smearing pen or marker. All entries on the
            DD Form 1380 should be printed clearly, including the first responder’s name.




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           Figure 8-2. DD Form 1380 (Tactical Combat Casualty Care [TCCC] Card)

               8-33. During the fight, casualties should remain under cover where they received initial
               treatment (self- or buddy-aid). (See collective tasks–Evacuate Casualties 07-SQD-9033
               and Evacuate Casualties 07-PLT-9033.) As soon as the situation allows, casualties are
               moved to the platoon CCP (when established). Once the casualties are collected,
               evaluated, and treated, they are prioritized for evacuation back to the company CCP.
               Once they arrive at the company CCP, the above process is repeated while awaiting their
               evacuation back to the battalion aid station or other facility in the battalion support area
               or BSA. Unit SOPs address these activities, to include the marking of casualties in
               limited visibility operations. Small, standard, or infrared chemical lights work well for
               this purpose.
               8-34. An effective technique, particularly during an attack, is to task-organize a logistics
               team under the first sergeant. This team carries additional ammunition forward to the
               platoons and evacuates casualties to either the company or the battalion CCP. The
               commander determines the size of the team during mission analysis.
               8-35. When the platoons are widely dispersed, casualties might be evacuated directly
               from the platoon CCP by nonmedical vehicles and personnel. However, casualties are
               usually moved to the company CCP before evacuation. If the capacity of the battalion’s
               organic ambulances is exceeded, unit leaders may re-assign supply or other nonmedical
               vehicles to backhaul or otherwise transport non urgent casualties to the battalion aid
               station. In other cases, the platoon sergeant may direct platoon aid and litter teams to
               carry the casualties to the rear. Unless the threat environment is highly permissive,

        8-14                                         ATP 3-21.8




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            helicopter evacuation is unlikely to occur farther forward on the battlefield than the
            battalion’s ambulance exchange points between the battalion aid station (Role 1) and the
            brigade’s medical company (Role 2) in the BSA.
            8-36. Leaders minimize the number of Soldiers required to evacuate casualties.
            Casualties with minor wounds can walk or even assist with carrying the more seriously
            wounded. Soldiers can make field-expedient litters by cutting small trees and putting the
            poles through the sleeves of buttoned uniform blouses. A travois, or skid, might be used
            for CASEVAC. Wounded are strapped on this type of litter, then one person can pull it.
            It can be made locally from durable, rollable plastic. Tie-down straps are fastened to it.
            In rough terrain, or on patrols, litter teams can evacuate casualties to the battalion aid
            station. Then, they are carried with the unit either until transportation can reach them or
            until they are left at a position for later pickup.
            8-37. Unit SOP and operation order (OPORD) address casualty treatment and
            evacuation in detail. They cover the duties and responsibilities of key personnel, the
            evacuation of chemically contaminated casualties (on separate routes from
            noncontaminated casualties), and the priority for operating key weapons and positions.
            They specify preferred and alternate methods of evacuation and make provisions for
            retrieving and safeguarding the weapons, ammunition, and equipment of casualties.
            Slightly wounded personnel are treated and returned to duty by the lowest echelon
            possible. Platoon combat medics evaluate (under the control to the platoon sergeant)
            sick Soldiers and either treat or evacuate them as necessary. MEDEVAC and
            CASEVAC are rehearsed like any other critical part of an operation.
            8-38. As casualties occur, the nearest observer informs the platoon sergeant who then
            informs the first sergeant via the most expedient method available (for example, radio
            voice). The first sergeant then submits a personnel status report to the battalion personnel
            staff officer section. This report documents duty status changes on all casualties. A
            casualty report is filled out when a casualty occurs, or as soon as the tactical situation
            permits. This usually is done by the Soldier’s squad leader and turned in to the platoon
            sergeant, who forwards it to the first sergeant. A brief description of how the casualty
            occurred (including the place, time, and activity being performed) and who or what
            inflicted the wound is included. If the squad leader does not have personal knowledge
            of how the casualty occurred, the squad leader gets this information from Soldiers who
            have the knowledge.
            8-39. DA Form 1156, (Casualty Feeder Card) (see figures 8-3a and 8-3b on page 8-16),
            are used to report those Soldiers who have been killed and recovered, and those who
            have been wounded. This form also is used to report captured or killed in action Soldiers
            who are missing or not recovered. The Soldier with the most knowledge of the incident
            should complete the witness statement. During lulls in the battle, the platoon forwards
            casualty information to the company headquarters. The first sergeant ensures a
            completed DA Form 1156 is forwarded to the Infantry battalion personnel staff officer,
            who then enters the data into the Defense Casualty Information Processing System.




                                                 ATP 3-21.8                                      8-15




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                      Figure 8-3a. DA Form 1156 (Casualty Feeder Card) (front)




                      Figure 8-3b. DA Form 1156 (Casualty Feeder Card) (back)

               8-40. Before casualties are evacuated to the CCP or beyond, leaders remove all key
               operational or sensitive items and equipment, including communications security
               devices or signal operating instructions, maps, position location devices. Every unit
               should establish an SOP for handling the weapons and ammunition of its wounded or
               killed in action. Protective masks and other protective equipment must stay with the
               individual.
               8-41. Casualties are taken to CCP for classification based on their medical condition,
               assigned evacuation precedence (urgent, priority, routine, and convenience), and
               availability of MEDEVAC platforms. Within a CCP, the combat medic conducts triage
               of all patients, takes the necessary steps to stabilize their conditions, and initiates the
               process of evacuating them to the rear for further treatment. The combat medic helps the
               first sergeant arrange evacuation via ground or air ambulance, or by nonstandard means.



        8-16                                        ATP 3-21.8




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            See FM 4-02 and ATP 4-02.2 for additional information on evacuation precedence for
            Army operations at Roles 1 through 3 MTFs.
            8-42. When possible, the battalion medical platoon ambulances provide evacuation and
            en route care from the Soldier’s point of injury or the CCP to the battalion aid station.
            The ambulance team supporting the company or platoon works in coordination with the
            combat medic supporting the company or platoon. In mass casualty situations,
            nonmedical vehicles can be used to assist in CASEVAC as directed by the platoon leader
            or company commander. Plans for the use of nonmedical vehicles to perform
            CASEVAC should be included in the unit SOP. Ground ambulances from the brigade
            support medical company or other supporting ambulances evacuate patients from the
            battalion aid station back to the brigade support medical company MTF located in the
            BSA.

         TACTICAL FIELD CARE
            8-43. During the tactical field care phase, medical personnel and their patients are no
            longer under effective hostile fire and medical personnel can provide more extensive
            patient care. In this phase, interventions directed at other life-threatening conditions, as
            well as resuscitation and other measures to increase the comfort of the patient may be
            performed. The physician and physician assistant at the battalion aid station or during
            tailgate medicine support provide TCCC. Tailgate medical support is an economy of
            force device employed primarily to retain maximum mobility during movement halts or
            to avoid the time and effort required to set up a formal, operational treatment facility
            (for example, during rapid advance and retrograde operations) (FM 4-02). During
            tactical field care, personnel must be prepared to transition back to care under fire, or to
            prepare the casualty for tactical evacuation, as the tactical situation dictates. (See
            FM 4-02 and ATP 4-02.4 for additional information on tactical field care.)




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                 Note. The Infantry battalion’s organic medical resources within its headquarters
                 and headquarters company include a medical platoon staffed with a field surgeon,
                 physician assistant, and numerous combat medics. The mission of the battalion
                 medical platoon is to provide Role 1 Army Health System support to the Soldiers
                 of the Infantry battalion. Role 1 (also referred to as unit-level medical care) is the
                 first medical care a Soldier receives. The medical platoon within the Infantry
                 battalion is configured with a headquarters section, medical treatment squad,
                 ambulance squad (ground), and combat medic section. The treatment squad
                 consists of two teams (treatment team alpha and team bravo). The treatment
                 squad operates the battalion aid station and provides Role 1 medical care and
                 treatment (to include disease and nonbattle injury prevention, sick call,
                 emergency medical treatment [including TCCC], and patient decontamination).
                 Team alpha is clinically staffed with the physician assistant while team bravo is
                 clinically staffed with the field surgeon. Medical platoon ambulances provide
                 MEDEVAC and en route care from the Soldiers’ point of injury, the CCP, or an
                 ambulance exchange point to the battalion aid station. The ambulance squad is
                 four teams of two ambulances composed of one emergency care sergeant and
                 two ambulance aide/drivers assigned to each ambulance. (See ATP 4-02.4 for
                 additional information on the medical platoon.)



        TACTICAL EVACUATION
               8-44. In the tactical evacuation phase, casualties are transported from the battlefield to
               MTFs. MTFs provide medical treatment and include the Role 1 facility (battalion aid
               station), Role 2 facility (brigade support medical company of the brigade support
               battalion), dispensaries, clinics, and hospital. Evacuation can be by either MEDEVAC
               (dedicated platforms [ground or air] manned with dedicated medical providers) or
               CASEVAC (ranging from nondedicated, but tasked, platforms [ground or air]
               augmented with medical equipment and providers to platforms of opportunity without
               medical equipment or providers).

                 Note. For the purposes of this discussion, CASEVAC will mean that which is
                 done when moving casualties from the point of injury to the platoon CCP or
                 company CCP. Ideally, casualties are transferred from a CCP to an MTF by a
                 MEDEVAC asset. When this is not possible, the casualty is moved from the
                 CCP, when required to move, aboard a nonmedical vehicle or aircraft to a
                 MEDEVAC asset or an MTF.


               8-45. Casualty evacuation is the movement of casualties aboard nonmedical vehicles or
               aircraft without en route medical care (FM 4-02). CASEVAC encompasses a wide
               spectrum of potential capability—depending on the mix of transport platform, medical
               equipment, and medical providers allocated to the mission. At the upper end of the
               spectrum, nondedicated platforms can be outfitted with the requisite medical equipment
               and MEDEVAC assets. At the lower end of the spectrum, CASEVAC can be no more

        8-18                                         ATP 3-21.8




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            than the transport of casualties using platforms of opportunity with no medical
            equipment or medical providers (in using such assets, the risk of not moving the casualty
            must outweigh the risk evacuating the casualty in such a manner). Effective CASEVAC
            complements MEDEVAC by providing additional evacuation capacity when number of
            casualties (workload) or reaction time exceeds the capabilities of MEDEVAC assets.
            CASEVAC requires detailed assessment and planning to achieve an effective integration
            of MEDEVAC and CASEVAC capabilities. (See ATP 4-02.13 for additional
            information on CASEVAC).


                                                CAUTION
                        Casualties transported in a CASEVAC platform may
                        not receive proper en route medical care or be
                        transported to the appropriate MTF that can best
                        address the casualty’s medical needs. This may
                        have an adverse impact on the casualty’s prognosis,
                        long-term disability or even death may result.


            8-46. Medical evacuation is the timely and effective movement of the wounded, injured,
            or ill to and between medical treatment facilities on dedicated and properly marked
            medical platforms with en route care provided by medical personnel (ATP 4-02.2).
            MEDEVAC is the key factor to ensuring the continuity of care provided to Soldiers by
            providing en route medical care during evacuation and facilitating the transfer of patients
            between MTFs to receive the appropriate specialty care. This ensures that scarce medical
            resources (personnel, equipment, and supplies [to include blood]) can be rapidly
            transported to areas of critical need on the battlefield.

              Note. The Army MEDEVAC system is comprised of dedicated, standardized
              MEDEVAC platforms (ground and air ambulances). These ambulances have
              been designed, staffed, and equipped to provide en route medical care to patients
              being evacuated and are used exclusively to support the medical mission, in
              accordance with the law of land warfare and the Geneva Conventions (see
              FM 6-27 for additional information).

              Dedicated air MEDEVAC aircraft include specifically trained medical personnel
              to provide en route care. The 9-line MEDEVAC request (see GTA 08-01-004) is
              the standard method to request air ambulance MEDEVAC.




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                                               Appendix A
                                            Direct Fires

                Suppressing or destroying the enemy with direct fires is
                fundamental to success in close combat. This appendix addresses
                direct fire planning and control in support of Infantry operations. Its
                primary focus is on the organization and employment of direct fires
                organic to the Infantry rifle platoon.

           SECTION I – DIRECT FIRE PLANNING AND CONTROL
            A-1. Direct fire is inherent in maneuver, as is close combat. Small-unit leaders of the
            Infantry rifle platoon must plan to focus, distribute, and shift the overwhelming mass of
            the platoon’s direct fire capability at critical locations and times to succeed in combat.
            Efficient and effective fire control means the platoon acquires the enemy and masses the
            effects of direct fires to achieve decisive results in the close fight. This section covers
            the principles of direct fire, direct fire planning, and direct fire control. (See
            TC 3-20.31-4 for additional information.)

         PRINCIPLES OF DIRECT FIRE
            A-2. When executing direct fires, leaders must know how to apply several fundamental
            principles. The purpose of the principles of direct fire is not to restrict the actions of
            subordinates. Applied correctly, they help the platoon to accomplish its primary goal in
            direct fire engagements both to acquire first and shoot first. These principles give
            subordinates the freedom to act quickly upon acquisition of the enemy. This discussion
            focuses on the following principles:
                       Destroy the greatest threat first.
                       Mass the effects of direct fire.
                       Employ the best weapon for the specific target.
                       Avoid target overkill.
                       Minimize exposure.
                       Plan and implement control measures.
                       Plan for limited visibility conditions.
                       Plan for degraded capabilities.

         DESTROY THE GREATEST THREAT FIRST
            A-3. The order in which the platoon engages enemy forces is in direct relation to the
            danger they present. The threat posed by the enemy depends on the weapons, range, and
            positioning. Presented with multiple targets, a unit will, in almost all situations, initially

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        Appendix A



              concentrate fires to destroy the greatest threat first and then distribute fires over the
              remainder of the enemy force. What constitutes the greatest threat will vary with the
              situation. For instance, while enemy vehicles or crew-served weapons are normally the
              most dangerous, an enemy rifle squad in position to flank a defending platoon would
              become the most dangerous threat. Friendly direct fire planning must be able to shift,
              focus and distribute direct fires over the width and depth of the anticipated area of
              operations (AO).

        MASS THE EFFECTS OF DIRECT FIRE
              A-4. The platoon must mass its fires to achieve decisive results. Massing entails
              focusing fires at critical points and distributing the effects. Random application of fires
              is unlikely to have a decisive effect. For example, concentrating the platoon’s fires at a
              single target may ensure its destruction or suppression; however, that fire control
              technique its unlikely to achieve a decisive effect on the enemy formation or position.
              Leaders must direct their formations’ fires through careful planning and rehearsal of
              direct fire control measures and establish appropriate rates of fire to achieve mass.

        EMPLOY THE BEST WEAPON FOR THE SPECIFIC TARGET
              A-5. Using the appropriate weapon increases the probability of rapid enemy
              destruction or suppression; at the same time, it saves ammunition. Leaders have many
              weapons with which to engage the enemy. Target type, range, and exposure are vital
              factors in determining the weapon and ammunition being employed, as are weapons and
              ammunition availability and desired targets effects. Additionally, leaders should
              consider individual crew capabilities when deciding on the employment of weapons.
              The platoon leader arrays forces based on the terrain, enemy, and desired effects of fires.
              As an example, when a platoon leader expects an enemy dismounted assault in restricted
              terrain, the platoon leader would employ subordinate squads, taking advantage of their
              ability to engage numerous fast-moving targets.

        AVOID TARGET OVERKILL
              A-6. Use only the amount of fire required to achieve necessary effects. Target overkill
              wastes ammunition and ties up weapons better employed acquiring and engaging other
              targets. The idea of having every weapon engage a different target, however, must be
              tempered by the requirement to destroy the greatest threats first. Two simple ways to
              minimize overkill are with sectors of fire, and by establishing fire patterns. Establishing
              primary and secondary sectors of fire ensures direct fires are planned throughout the
              width of the area. Leaders ensure that Soldiers first engage targets in their assigned
              primary sector and then engage targets in their secondary sector if their primary sector
              is clear. Soldiers should not engage outside of these sectors unless directed to. Utilizing
              one of the standard fire patterns (frontal, cross, or depth) acts similarly to an assigned
              sector, but also controls the sequence of targets to be engaged. For instance, in frontal
              fires, the right-most Soldier engages the right-most target first and works inwards. In
              prepared defensive positions with frontal cover, the default fire pattern is almost always
              a cross pattern which interlocks with adjacent fighting positions.

        A-2                                        ATP 3-21.8




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                                                                                            Direct Fires



         MINIMIZE FRIENDLY EXPOSURE
            A-7. Units increase their survivability by exposing themselves to the enemy only to the
            extent necessary to engage the enemy. Natural or man-made defilade provides the best
            cover from lethal direct fire munitions. Infantry Soldiers minimize their exposure by
            constantly seeking available cover, attempting to engage the enemy from the flank,
            remaining dispersed, firing from multiple positions, and limiting engagement times.

         PLAN AND IMPLEMENT CONTROL MEASURES
            A-8. The leader has numerous tools to assist in the planning and implementation of
            controlling direct fires. These tools include graphic control measures for friendly forces,
            engagement criteria, identification training for combat vehicles and aircraft, unit
            weapons safety posture, weapons control status, recognition markings, and a situational
            understanding to include standard range cards, area sketches, and rehearsals. Knowledge
            and employment of applicable control measures and rules of engagement are the primary
            means of preventing fratricide and noncombatant casualties.

              Note. Because it is difficult to distinguish between friendly and enemy
              dismounted Soldiers, small-unit leaders must constantly monitor positions of
              friendly squads.



         PLAN FOR LIMITED VISIBILITY CONDITIONS
            A-9. At night, limited visibility fire control equipment enables the platoon to engage
            enemy forces at nearly the same ranges that are applicable during the day. Obscurants
            such as dense fog, heavy obscuration, and blowing sand, however, can reduce the
            capabilities of thermal and infrared equipment. Leaders should develop contingency
            plans for such extreme limited visibility conditions. Although decreased acquisition
            capabilities have minimal effect on area fire, point target engagements likely will occur
            at decreased ranges. Typically, firing positions, whether offensive or defensive, must be
            adjusted closer to the area or point where the leader intends to focus fires. Another
            alternative is the use of visual or infrared illumination when there is insufficient ambient
            light for passive light intensification devices. While night vision capabilities can deliver
            high accuracy, their use can be hazardous. The use of tracers, lasers, infrared
            illuminators, or even the glow of unshielded optics can be detected by peer forces and
            then targeted for fires. Additionally, the use of optics tends to significantly limit
            peripheral vision by both individuals and units. Leaders must ensure that their forces
            deliberately widen their scan to reduce tunnel-vision and observe the full width of
            assigned sectors.

              Note. Vehicles (when attached) equipped with thermal sights can assist squads
              in detecting and engaging enemy infantry forces in conditions such as heavy
              obscurants and low illumination.



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        PLAN FOR DEGRADED CAPABILITIES
              A-10. Leaders initially develop plans based on their units’ maximum capabilities; they
              make backup plans for implementation in the event of casualties or weapon damage or
              failure. While leaders cannot anticipate or plan for every situation, they should develop
              plans for what they view as the most probable occurrences. Building redundancy into
              these plans, such as having two systems observe the same AO, is an invaluable asset
              when the situation (and number of available systems) permits. Designating secondary
              sectors of fire provide a means of shifting fires if adjacent elements are knocked out of
              action.

        DIRECT FIRE PLANNING
              A-11. Leaders plan direct fires as part of the troop leading procedures (TLP).
              Determining where and how the platoon and subordinate units can and will mass fires
              is an essential step as leaders develop their concept of operations.

        EMPLOYMENT OF DIRECT FIRES
              A-12. A field of fire is the area that a weapon or group of weapons may cover effectively
              from a given position (FM 3-90). In selecting a position, a unit must balance how the
              field of fire will best gain an advantage while simultaneously providing cover and
              mitigating the effect of the enemy’s weapons systems. (See figure A-1.)




                           Figure A-1. Field of fire control measure symbol


        ORIENT, FOCUS, DISTRIBUTE, AND SHIFT FIRES
              A-13. Leaders plan direct fires to be able to command and control their fire. Determining
              where and how they can mass fires is an essential step in the process for planning direct
              fires in both the offense and defense. This planning must enable leaders to orient, focus,
              distribute, and shift their direct fires in execution.
              A-14. Orienting fires allows the leader to effectively engage the enemy with direct fires.
              The plan must allow friendly forces to acquire enemy elements rapidly and accurately.
              Orienting friendly forces on probable enemy locations and on likely avenues of approach
              speeds target acquisition. Conversely, failure to orient subordinate elements results in
              slower acquisition, greatly increases the likelihood that enemy forces can engage first.


        A-4                                        ATP 3-21.8




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                                                                                           Direct Fires



            A-15. Leaders determine points or areas to focus combat power after identifying
            probable enemy locations. The leader’s visualization of where and how the enemy may
            attack or defend enables the leader to determine the volume of fire necessary at points
            to have a decisive effect. Leaders establish weapons ready postures for the unit as well
            as triggers for initiating fires based on where and how they want to focus. Leaders
            evaluate the risk of fratricide and establish controls to prevent it (see paragraphs A-30
            to A-31). Control measures, although not inclusive, include the designation of
            recognition markings, weapons safety posture (see paragraph A-57), and weapons
            control status (WCS) (see paragraph A-59).
            A-16. Distribution of fires enables the firing unit to distribute the effects of fires
            throughout the width and depth of the enemy array. Shifting fires means the ability to
            shift fires from one area to another area rapidly. In the defense these are typically
            planned areas; however, in the offense, they may be ad hoc. Leaders typically shift the
            focus or distribution of fires from one area to another in response to an emerging threat
            or a changed enemy formation.
            A-17. Leaders shift fires to refocus and redistribute the effects based on the evolving
            estimate of the situation as the engagement proceeds. Situational awareness becomes an
            essential part of the fire control process at this point. Leaders apply the same techniques
            and considerations, including fire control measures that they used earlier to focus fires.

         PLANNING TECHNIQUES
            A-18. Based on where and how they want to focus and distribute fires, leaders can
            establish the weapons ready postures of their elements as well as triggers for initiating
            fires. During mission preparation, leaders plan, and conduct rehearsals of direct fires
            (and of the fire control process) based on the mission variables of METT-TC (I) mission,
            enemy, terrain and weather, troops and support available, time available, civil
            considerations, and informational considerations.
            A-19. The leaders plan direct fires in conjunction with development of their mission
            analysis and completion of the plan. Determining where and how leaders can and will
            mass fires are also essential steps as leaders develop their concept of operations.
            A-20. After identifying probable enemy locations, leaders determine the points or areas
            on the ground where they can focus combat power against the enemy. Their visualization
            of where and how the enemy will attack or defend assists them in determining enemy
            locations and the volume of fire against the enemy to have a decisive effect. If they
            intend to mass the fires of more than one subordinate element, leaders must establish the
            means for distributing fires.
            A-21. Based on where and how they want to focus and distribute fires, leaders can then
            establish the weapons ready postures for platoon elements as well as triggers for
            initiating fires. Additionally, they must evaluate the risk of fratricide and establish
            controls to prevent it; these measures include the designation of recognition markings,
            WCS, and weapons safety posture.
            A-22. After determining where and how they will mass and distribute fires, leaders then
            must orient elements so they can rapidly and accurately acquire the enemy. They also

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              can war-game the selected course of action (COA) or concept of operations to determine
              probable requirements for refocusing and redistributing fires and to establish other
              required controls. During mission preparation, leaders plan and conduct rehearsals of
              direct fires (and of the fire control process) based on their mission analysis.
              A-23. Leaders must continue to apply planning procedures and considerations
              throughout execution. They must be able to adjust direct fires based on a continuously
              updated mission analysis, combining situational awareness with the latest available
              intelligence products and assessments. When necessary, they also must apply direct fire
              SOPs, which are covered in the following discussion.

        STANDARD OPERATING PROCEDURES
              A-24. A well-rehearsed direct fire SOP ensures quick, predictable actions by all
              members of the platoon. Leaders base the various elements of the SOP on the
              capabilities of their forces and on anticipated conditions and situations. SOP elements
              should include standing means for focusing fires, distributing their effects, orienting
              forces, and preventing fratricide. The platoon leader should adjust the direct fire SOP
              whenever changes to anticipated and actual METT-TC (I) become apparent.
              A-25. If the platoon leader does not issue other instructions, the squads begin the
              engagement using the SOP. Subsequently, the platoon leader can use a fire command to
              refocus or redistribute fires. The following paragraphs discuss specific SOP provisions
              for orienting forces, orienting fires, focusing fires, distributing fires, shifting fires, and
              preventing fratricide.

        Orienting Forces and Fires
              A-26. A standard means of orienting friendly forces is to assign a principal direction of
              fire (known as PDF), using a target reference point (TRP), to orient each element on a
              probable enemy position or likely avenue of approach. To provide all-around security,
              the SOP can supplement the PDF with sectors using a friendly-based quadrant. The
              following example SOP elements illustrate the use of these techniques:
                        The center (front) squad’s PDF is TRP 2 (center) until otherwise specified;
                        the squad is responsible for the front two quadrants.
                        The left flank squad’s PDF is TRP 1 (left) until otherwise specified; the squad
                        is responsible for the left two friendly quadrants (overlapping with the center
                        squad).
                        The right flank squad’s PDF is TRP 3 (right) until otherwise specified; the
                        squad is responsible for the right two friendly quadrants (overlapping with
                        the center squad).

        Focusing Fires
              A-27. TRPs are a common means of focusing fires. One technique is to establish a
              standard respective position for TRPs in relation to friendly elements and to number
              TRPs consistently, such as from left to right. This allows leaders to determine and
              communicate the location of a TRP quickly.

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         Distributing Fires
            A-28. Three useful means of distributing the platoon’s fires are TRPs, engagement
            priorities, and target array. While single TRPs (see paragraph A-41) allow leaders to
            focus fires, leaders can distribute fires by designating TRPs as the left and right limits
            of a squad’s fires. For instance, 1st Squad covers from TRP 1 to TRP 2. Leaders can
            designate engagement priority (see paragraph A-61), by type of enemy vehicle or
            weapon, for each type of friendly weapons system. The target array technique (see
            paragraph A-76) can assist in distribution by assigning specific friendly elements to
            engage enemy elements of approximately similar capabilities.

         Shifting Fires
            A-29. Leaders establish standards to designate the shifting of fires. For example, the
            support element shifts fires as directed or in accordance with established standards,
            shifting fire forward of the assault element as it moves across the objective or to the
            flanks of targets or areas. Additionally, leaders establish triggers for shifting fires (or
            ceasing) based on battlefield events such as the movement of enemy or friendly forces.
            One standard is the use of a minimum safe line when a friendly element, such as a breach
            force, is moving toward an area of indirect fires. As the element approaches the
            minimum safe line, observers call for fires shift (or cease), allowing the friendly force
            to move safely in the danger area (see figure 4-9 on page 4-52). In the defense,
            designating secondary sectors of fire provide a means of shifting fires if adjacent
            elements are knocked out of action.

         Preventing Fratricide
            A-30. A primary means of minimizing fratricide risk is to establish a standing WCS (see
            paragraphs A-59 and A-60). The SOP also must dictate ways of identifying friendly rifle
            squads and other dismounted elements; techniques include using an infrared light source
            or detonating an obscuration grenade of a designated color at the appropriate time.
            Minimizing the risk of fratricide in the platoon can be accomplished through command
            and control systems (if equipped); however, this does not supplant the platoon leader’s
            responsibility to plan for fratricide prevention.
            A-31. Finally, the SOP must address the most critical requirement of fratricide
            prevention maintaining situational awareness. It must direct subordinate leaders to
            inform the platoon leader, adjacent elements, and subordinates whenever a friendly force
            is moving or preparing to move. Leaders must be especially cognizant of the heightened
            risk of fratricide when friendly elements enter or exit friendly lines, or when security
            elements, engineers, or other elements operate forwards of, or to the rear of, defensive
            positions. This information must always be disseminated to all levels.

         DIRECT FIRE CONTROL
            A-32. Small-unit leaders communicate to their subordinates the manner, method, and
            time to initiate, shift, and mass fires, and when to disengage by using direct fire control
            measures. Leaders control their unit’s fires so they can direct the engagement of enemy


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              systems to gain the greatest effect. Leaders use the intelligence preparation of the
              operational environment (known as IPOE) and information collection to determine the
              most advantageous way to use direct fire control measures to mass the effects on the
              enemy and reduce fratricide from direct fire systems. (See chapter 2 paragraphs 2-4 to
              2-7 and 2-102 to 2-106 and ATP 2-01.3 and FM 3-55 [respectively] for additional
              information.)

        FIRE CONTROL PROCESS
              A-33. To bring direct fires against an enemy force, leaders must continuously apply the
              steps of the fire control process. At the heart of this process are two critical actions:
              rapid, accurate target acquisition and massing of fire to achieve decisive effects on the
              target. Target acquisition is the detection, identification, and location of a target in
              sufficient detail to permit the employment of weapons. Massing entails focusing fires at
              critical points and distributing the fires for optimum effect. The following discussion
              examines target acquisition and massing of fires using the following basic steps of the
              fire control process:
                          Identify probable enemy locations and determine the enemy scheme of
                          maneuver.
                          Determine where and how to mass fires.
                          Orient forces to speed target acquisition.
                          Shift fires to refocus or redistribute.

        Identify Probable Enemy Locations and Determine the Enemy Scheme of
        Maneuver
              A-34. Leaders plan and execute direct fires based on their mission analysis. An essential
              part of this process is the analysis of the terrain and enemy force, which aids the leader
              in visualizing how the enemy will attack or defend a particular piece of terrain. A
              defending enemy’s defensive positions or an attacking enemy’s support positions are
              normally driven by intervisibility. Typically, there are limited points on a piece of terrain
              providing both good fields of fire and adequate cover for a defender. Similarly, an
              attacking enemy will have only a limited selection of avenues of approach providing
              adequate cover and concealment.
              A-35. Coupled with available terrain analysis products and intelligence products and
              assessments, an understanding of the effects of a specific piece of terrain on maneuver,
              figure A-2 will assist leaders in identifying probable enemy locations and likely avenues
              of approach both before and during the fight. Leaders may use all the following products
              or techniques in developing and updating the analysis:
                         An enemy situation template (known as SITEMP) based on the analysis of
                         terrain and enemy.
                         A spot or contact report on enemy locations and activities.
                         Information collection within the AO.




        A-8                                         ATP 3-21.8




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                                                                                            Direct Fires




           Figure A-2. Identifying probable enemy locations and determining enemy
                                      scheme of maneuver


         Determine Where and How To Mass Fires
            A-36. To achieve decisive effects, friendly forces must mass their fires. (See figure A-3
            on page A-10.) Massing requires leaders to focus the fires of subordinate elements and
            to distribute the effects of the fires. Based on their mission analysis and their concept of
            operations, leaders identify points where they want to, or must, focus the unit’s fires.
            Most often, these are locations they have identified as probable enemy positions or
            points along likely avenues of approach where the unit can mass fires. Because
            subordinate elements may not initially be oriented on the point where leaders want to
            mass fires, they may issue a fire command to focus the fires. At the same time, leaders
            must use direct fire control measures to distribute the fires of subordinate elements,
            which now are focused on the same point. In the offense, leaders should plan direct fire
            control measures to enable fires during the approach and to achieve mass at the
            objective. The ground scheme of maneuver is designed to enable the platoon to execute
            the direct fire plan.




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                        Figure A-3. Determining where and how to mass fires


        Orient Forces to Speed Target Acquisition
               A-37. To engage the enemy with direct fires, friendly forces must rapidly and accurately
               acquire enemy elements. (See figure A-4.) Orienting friendly forces on probable enemy
               locations and on likely avenues of approach will speed target acquisition. Conversely,
               failure to orient subordinate elements will result in slower acquisition; this greatly
               increases the likelihood enemy forces will be able to engage first. The clock direction
               orientation method, which is prescribed in most unit tactical standard operating
               procedures (SOPs), is good for achieving all-around security; however, it does not
               ensure friendly forces are most oriented to detect the enemy. To achieve this critical
               orientation, leaders typically designate TRPs on or near probable enemy locations and
               avenues of approach; they orient subordinate elements using directions of fire or sectors
               of fire. Normally, the gunners on crew-served weapons scan the designated direction,
               sector, or area while other crewmembers observe secondary sectors or areas to provide
               all-around security.




        A-10                                        ATP 3-21.8




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                                                                                             Direct Fires




                     Figure A-4. Orienting forces to speed target acquisition


         Shift Fires to Refocus and Redistribute
            A-38. As the engagement proceeds, leaders must shift fires to refocus and redistribute
            the effects based on their evolving mission analysis. Situational awareness becomes an
            essential part of the fire control process at this point. Leaders apply the same techniques
            and considerations, including fire control measures they used earlier to focus and
            distribute fires (see figure A-5 on page A-12). A variety of situations will dictate shifting
            of fires, including the following:
                        Appearance of an enemy force posing a greater threat than the one currently
                        being engaged.
                        Extensive attrition of the enemy force being engaged, creating the possibility
                        of target overkill.
                        Attrition of friendly elements engaging the enemy force.
                        Change in the ammunition status of the friendly elements engaging the enemy
                        force.
                        Maneuver of enemy or friendly forces resulting in terrain masking.
                        Increased fratricide risk as a maneuvering friendly element closes with the
                        enemy force being engaged.

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                            Figure A-5. Shift fires to refocus and redistribute


        FIRE CONTROL MEASURES
               A-39. Leaders use fire control measures to control fires. Application of these concepts,
               procedures, and techniques assists the unit in acquiring the enemy, focusing fires on the
               enemy, distributing the effects of the fires, and preventing fratricide. At the same time,
               no single measure is sufficient to control fires. At the platoon level, fire control measures
               will be effective only if the entire unit has a common understanding of what they mean
               and how to employ them. The following discussion focuses on the various fire control
               measures employed by the Infantry platoon. Table A-1 lists terrain-based and
               threat-based control measures.




        A-12                                         ATP 3-21.8




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                                Table A-1. Common fire control measures


                       Target reference point                           Rules of engagement
                         Engagement area                               Weapons ready posture
                            Sector of fire                            Weapons safety posture
                          Direction of fire                            Weapons control status
                      Terrain-based quadrant                            Engagement priorities
                      Friendly-based quadrant                                  Trigger
           Maximum engagement line; restrictive fire line;   Engagement techniques; fire patterns; target
                      final protective line                                   array


         Terrain-Based Fire Control Measures
             A-40. Leaders use terrain-based fire control measures to focus and control fires on a
             particular point, line, or area rather than on a specific enemy element. The following
             paragraphs describe the tactics, techniques, and procedures associated with this type of
             control measure.

         Target Reference Point
             A-41. A TRP (see paragraph 5-207) is a recognizable point on the ground leaders use to
             orient friendly forces, and to focus, distribute, shift, or otherwise control direct fires. In
             addition, when leaders designate TRPs as indirect fire targets, they can use the TRP
             when calling for and adjusting indirect fires. Leaders designate TRPs at probable enemy
             locations and along likely avenues of approach. These points can be natural or
             man-made. A TRP can be an established site. For example, a hill or a building, or an
             impromptu feature such as a burning enemy vehicle or obscurants generated by an
             artillery round can be designated as a TRP. Friendly units can construct markers to serve
             as a TRP. (See figure A-6 on page A-14.) Ideally, a TRP should be visible in three
             observation modes (unaided, passive-infrared, and thermal) so all forces can see them.
             Examples of TRPs include the following features and objects:
                         Prominent hill mass.
                         Distinctive building.
                         Observable enemy position.
                         Destroyed vehicle.
                         Ground-burst illumination.
                         Obscurant rounds for immediate engagements only; this is the least preferred
                         method.




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                  Figure A-6. Constructed target reference point markers, example

        Engagement Area
               A-42. This fire control measure is an area along an enemy avenue of approach where
               leaders intend to mass the fires of available weapons to destroy an enemy force. The size
               and shape of the engagement area is determined by the degree of relatively unobstructed
               intervisibility available to the unit’s weapon systems in their firing positions and by the
               maximum range of those weapons. Typically, the platoon leader delineates
               responsibility within the engagement area by assigning each squad a sector of fire or
               direction of fire. (See chapter 5 section V for additional information.)

        Sector of Fire
               A-43. A sector of fire is a defined area being covered by direct fire. Leaders assign
               sectors of fire to subordinate elements, crew-served weapons, and individual Soldiers to
               ensure coverage of sectors; they also may limit the sector of fire of an element or weapon
               to prevent accidental engagement of an adjacent unit. In assigning sectors of fire, leaders
               consider the number and types of weapons available. Typically, leaders designate both
               primary and secondary sectors of fire with the primary scanned first and, if empty, the
               secondary is then scanned. In addition, leaders must consider acquisition system type
               and field of view in determining the width of a sector of fire. For example, while unaided
               vision has a wide field of view, its ability to detect and identify targets at range and in
               limited visibility conditions is restricted. Conversely, most fire control acquisitions
               systems have greater detection and identification ranges than the unaided eye, but their
               field of view is narrow. Means of designating sectors of fire include the following:
                           TRPs.
                           Clock direction.
                           Terrain-based quadrants.
                           Friendly-based quadrants.
                           Azimuth or cardinal direction.


        A-14                                        ATP 3-21.8




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         Direction of Fire
             A-44. A direction of fire is an orientation or point used to assign responsibility for a
             particular area on the battlefield being covered by direct fire. Leaders designate
             directions of fire for purposes of acquisition or engagement by subordinate elements,
             crew-served weapons, or individual Soldiers. Direction of fire is most commonly
             employed when assigning sectors of fire would be difficult or impossible because of
             limited time or insufficient reference points, or when the purpose is to cover a narrow
             point on the ground such as a road junction, the mouth of a draw or similar features.
             Means of designating a direction of fire include the following:
                        Closest TRP.
                        Clock direction.
                        Azimuth or cardinal direction.
                        Tracer on target.
                        Infrared laser pointer.
                        Grenadier obscuration round.

         Quadrants
             A-45. Quadrants are subdivisions of an area created by superimposing an imaginary pair
             of perpendicular axes over the terrain to create four separate areas or sectors. Establish
             quadrants on the terrain, friendly forces, or on the enemy formation. The method of
             quadrant numbering is established in the unit SOP; however, care must be taken to avoid
             confusion when quadrants based on terrain, friendly forces, and enemy formations are
             used simultaneously.

                Note. Techniques in which quadrants are based on enemy formations usually are
                referred to as target array; it is covered in the discussion of threat-based fire
                control measures.


         Terrain-Based Quadrant
             A-46. A terrain-based quadrant entails the use of a TRP, either existing or constructed,
             to designate the center point of the axes dividing the area into four quadrants. This
             technique can be employed in both the offense and defense. In the offense, platoon
             leaders designate the center of the quadrant using an existing feature or by creating a
             reference point. For example, using a ground burst illumination round, an obscurant
             marking round, or a fire ignited by incendiary or tracer rounds. The axes delineating the
             quadrants run parallel and perpendicular to the direction of movement. In the defense,
             platoon leaders designate the center of the quadrant using a planned TRP.
             A-47. In examples shown in figure A-7 on page A-16, quadrants are marked using the
             letter “Q” and a number (Q1 to Q4); quadrant numbers are in the same relative positions
             as on military map sheets (from Q1 as the upper left-hand quadrant clockwise to Q4 as
             the lower left-hand quadrant).


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                             Figure A-7. Terrain-based quadrants, example

        Friendly-Based Quadrant
               A-48. The friendly-based quadrant technique entails superimposing quadrants over the
               unit’s formation. The center point is based on the center of the formation, and axes run
               parallel and perpendicular to the general direction of travel, and the quadrant travel with
               the formation. For rapid orientation, the friendly quadrant technique may be better than
               the clock direction method; because different elements of a large formation rarely are
               oriented in the same exact direction and the relative dispersion of friendly forces causes
               parallax to the target. Figure A-8 illustrates use of friendly-based quadrants.




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                          Figure A-8. Friendly-based quadrants, example

         Maximum Engagement Line
             A-49. Maximum engagement line is the linear depiction of the farthest limit of effective
             fire for a weapon or unit. This line is determined by the weapons or unit’s maximum
             effective range and by the effects of terrain. For example, slope, vegetation, structures,
             and other features provide cover and concealment preventing the weapon from engaging
             to the maximum effective range. A maximum engagement line serves several purposes.
             Platoon leaders can use it to prevent crews from engaging beyond the maximum
             effective range, to define criteria of the establishment of triggers, and to delineate the
             maximum extent of sectors on the sector sketch.

         Restrictive Fire Line
             A-50. A restrictive fire line (RFL) is a linear fire control measure beyond which
             engagement is prohibited without coordination. In the offense, RFLs serve to deconflict
             maneuver elements during movement and planned maneuver. At the objective, platoon
             leaders can designate an RFL to prevent a base-of-fire element from firing into the area
             where an assaulting element is maneuvering. This technique is particularly important
             when armored vehicles support the maneuver of rifle squads. In the defense, platoon
             leaders may establish an RFL to prevent the unit from engaging a friendly rifle squad
             positioned in restricted terrain on the flank of an avenue of approach. Wherever used,
             RFLs are an essential element in fratricide reduction.

         Final Protective Line
             A-51. Final protective line (FPL) is a selected line of fire where an enemy assault is to
             be checked by interlocking fire of all available weapons and obstacles (FM 3-90). The
             unit reinforces this line with protective obstacles and with final protective fires (FPFs)


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               whenever possible. Initiation of the FPFs is the signal for elements, crews, and
               individual Soldiers to shift fires to their assigned portion of the FPL. They spare no
               ammunition in repelling the enemy assault, a particular concern for medium machine
               guns and other automatic weapons. (See paragraphs B-20 to B-21 and paragraphs C-70
               to C-71 for additional information on FPLs.)

        Threat-Based Fire Control Measures
               A-52. Platoon leaders use threat-based fire control measures to focus and control fires
               by directing their units to engage a specific enemy element rather than to fire on a point
               or area. The following paragraphs describe the tactics, techniques, and procedures
               associated with this type of control measure.

        Rules of Engagement
               A-53. Rules of engagement (ROE) specify the circumstances and limitations under
               which forces may engage; they include definitions of combatant and noncombatant
               elements and prescribe the treatment of noncombatants. Factors influencing ROE are
               national command policy, mission, commander’s intent, the operational environment,
               and the law of war. ROE always recognize a Soldier’s right of self-defense, but at the
               same time, they clearly define circumstances in which the Soldier may fire.
               A-54. As an example, higher command directives, (ROE) have limited the use of
               antiarmor weapons in certain situations to prevent civilian casualties. Therefore, a
               subordinate commander establishes a WCS of WEAPONS TIGHT for antiarmor
               weapons.

        Weapons Ready Posture
               A-55. Weapons ready posture is the selected ammunition and range for individual and
               crew-served weapons in rifle squads. It is a means by which leaders use their mission
               analysis to specify the ammunition and range of the most probable anticipated
               engagement. Ammunition selection depends on the target type, but the leader may adjust
               it based on engagement priorities, desired effects, and effective range. Range selection
               depends on the anticipated engagement range; it is affected by terrain intervisibility,
               weather, and light conditions. Within the platoon, weapons ready posture affects the
               types and quantities of ammunition carried by rifle squads; consider the following:
               A-56. Examples of weapons ready posture include:
                        A grenadier, whose, most likely engagement is to cover dead space at
                        200 meters from the position, might load high explosive dual purpose (known
                        as HEDP) ammunition and set 200 meters on the quadrant sight.
                        To prepare for an engagement in a wooded area where engagement ranges
                        are extremely short, an antiarmor specialist might plan to engage with an
                        M136 AT4-series rocket instead of a Javelin.




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               Note. The M3 Multi-role, Antiarmor, Antipersonnel Weapon System (known as
               MAAWS), when replacing the Javelin, may provide the platoon with a better
               antiarmor and antipersonnel capability against enemy personnel, field
               fortifications, and enemy vehicles in a wooded areas where engagement ranges
               are decreased.


         Weapons Safety Posture
            A-57. Weapons safety posture is an ammunition handling instruction enabling platoon
            leaders to control the safety of their units’ weapons precisely. Subordinate leaders’
            supervision of the weapons safety posture, as well as Soldiers’ adherence to it,
            minimizes the risk of accidental discharge and fratricide. Table A-2 outlines procedures
            and considerations for the platoon when using the four weapons safety postures, listed
            in ascending order of restrictiveness—
                       AMMUNITION LOADED.
                       AMMUNITION LOCKED.
                       AMMUNITION PREPARED.
                       WEAPONS CLEARED.
            A-58. When setting and adjusting the weapons safety posture, platoon leaders must
            weigh the desire to prevent accidental discharges against the requirement for immediate
            action based on the enemy threat. If the threat of direct contact is high, platoon leaders
            could establish the weapons safety posture as AMMUNITION LOADED. If the
            requirement for action is less immediate, they might lower the posture to
            AMMUNITION LOCKED or AMMUNITION PREPARED. Additionally, the platoon
            leader can designate different weapons safety postures for different elements of the unit.
                              Table A-2. Weapons safety posture levels


            Ammunition Loaded           Rifle rounds chambered. Machine gun and squad automatic
                                        weapon ammunition on feed tray; bolt locked to rear. Grenade
                                        launcher loaded. Weapons on manual safe.
            Ammunition Locked           Magazines locked into rifles. Machine gun and squad automatic
                                        weapon ammunition on feed tray; bolt locked forward. Grenade
                                        launcher unloaded.
            Ammunition Prepared         Magazines, ammunition boxes, launcher grenades, and hand
                                        grenades prepared but stowed in pouches/vests.
            Weapons Cleared             Magazine, ammunition boxes, and launcher grenades removed;
                                        weapons cleared.


         Weapons Control Status
            A-59. The three levels of WCS outline the conditions, based on target identification
            criteria, under which friendly elements can engage. Platoon leaders set and adjust the
            WCS based on friendly and enemy disposition, and clarity of the situation. The higher



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               the probability of fratricide, the more restrictive the WCS. The three levels, in
               descending order of restrictiveness, are—
                         WEAPONS HOLD. Engage only if engaged or ordered to engage.
                         WEAPONS TIGHT. Engage only targets positively identified as enemy.
                         WEAPONS FREE. Engage targets not positively identified as friendly.
               A-60. As an example, platoon leaders may establish the WCS as WEAPONS HOLD
               when friendly forces are conducting a passage of lines. By maintaining situational
               understanding of their own elements and adjacent friendly forces, however, they may be
               able to lower the WCS. In such a case, platoon leaders may be able to set a WEAPONS
               FREE status when they know there are no friendly elements in the vicinity of the
               engagement. This permits their elements to engage targets at extended ranges even
               though it is difficult to distinguish targets accurately at ranges beyond 2,000 meters under
               battlefield conditions. Another consideration is the WCS are extremely important for
               forces using combat identification systems. Establishing the WCS as WEAPONS FREE
               permits leaders to engage an unknown target when they fail to get a friendly response.

        Engagement Priorities
               A-61. Engagement priorities (see paragraph 5-206), which entail the sequential ordering
               of targets to be engaged, can serve one or more of the following critical fire control
               functions:
                          Prioritize high-payoff targets (generally developed and identified during
                          Step 3-Make a Tentative Plan [specifically, mission analysis] of TLP). In
                          concert with the company’s concept of operations, platoon leaders identify
                          the high-payoff targets in their AO as a unit engagement priority. For
                          example, destroying enemy engineer assets is the best way to prevent the
                          enemy from reducing an obstacle.
                          Employ the best weapons to the target. Establishing engagement priorities for
                          specific friendly systems increases the effectiveness with which the unit
                          employs its weapons. For example, the engagement priority of the Javelin
                          could be enemy tanks first, then enemy personnel carriers; this would
                          decrease the chance the platoon’s lighter systems will have to engage enemy
                          armored vehicles.
                          Distribute the unit’s fires. Establishing different priorities for similar friendly
                          systems helps to prevent overkill and achieve distribution of fires. For
                          example, platoon leaders may designate the enemy’s tanks as the initial
                          priority for the weapons squad, while making the enemy’s personnel carriers
                          the priority for one of the rifle squads.
        Trigger
               A-62. A trigger (see paragraph 5-208) is a specific set of conditions dictating initiation
               of fires. Often referred to as engagement criteria, a trigger specifies the circumstances
               in which subordinate elements should engage. The circumstances can be based on a
               friendly or enemy event. For example, the trigger for a friendly platoon to initiate
               engagement could be three or more enemy combat vehicles passing or crossing a given


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            point or line. This line can be natural or man-made linear feature, such as a road,
            ridgeline, or stream. It also may be a line perpendicular to the unit’s orientation,
            delineated by one or more reference points.
         Engagement Techniques
            A-63. Engagement techniques are effects-oriented fire distribution measures. The
            following engagement techniques are common in platoon operations:
                      Point fire.
                      Area fire.
                      Simultaneous.
                      Alternating fire.
                      Observed fire.
                      Sequential fire.
                      Time of suppression.
                      Reconnaissance by fire.
            A-64. Point fire. Entails concentrating the effects of a unit’s fire against a specific,
            identified target such as a vehicle, machine gun bunker, or antitank (AT) guided missile
            position. When leaders direct point fire, all unit weapons engage the target, firing until
            it is destroyed, or the required time of suppression has expired. Employing converging
            fires from dispersed positions makes point fire more effective because the target is
            engaged from multiple directions. The unit may initiate an engagement using point fire
            against the most dangerous threat, and revert to area fire against other, less threatening
            point targets.
            A-65. Area fire. Involves distributing the effects of a unit’s fire over an area in which
            enemy positions are numerous or are not obvious. If the area is large, leaders assign
            sectors of fire to subordinate elements using a terrain-based distribution method such as
            the quadrant technique. Typically, the primary purpose of the area fire is suppression;
            however, sustaining suppression requires judicious control of the rate of fire.
            A-66. Simultaneous fires. To mass the effects of their fires rapidly or to gain fire
            superiority. For example, a unit may initiate a support by fire operation with
            simultaneous fire, then, revert to alternating or sequential fire to maintain suppression.
            Simultaneous fire also is employed to negate the low probability of the hit and kill of
            certain antiarmor weapons. For example, a rifle squad may employ simultaneous fire
            with its M136 AT4-series to ensure rapid destruction of an enemy armored fighting
            vehicle engaging a friendly position.
            A-67. Alternating fire. Pairs of elements continuously engage the same point or area
            target one at a time. For example, an Infantry rifle company may alternate fires of two
            platoons; an Infantry rifle platoon may alternate the fires of its squads; or an Infantry
            rifle platoon may alternate the fires of a pair of medium machine guns. Alternating fire
            permits the unit to maintain suppression for a longer duration than does volley fire; it
            also forces the enemy to acquire and engage alternating points of fire.




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               A-68. Observed fire. Usually is used when the platoon is in protected defensive positions
               with engagement ranges more than 2,500 meters for stabilized systems (when attached)
               and 1,500 meters for unstabilized systems. It can be employed between elements of the
               platoon, such as the squad lasing and observing while the weapons squad engages. The
               platoon leader directs one squad to engage. The remaining squads observe fires and
               prepare to engage on order in case the engaging element consistently misses its targets,
               experiences a malfunction, or runs low on ammunition. Observed fire allows for mutual
               observation and assistance while protecting the location of the observing elements.
               A-69. Sequential fire. Entails the subordinate elements of a unit engaging the same point
               or area target one after another in an arranged sequence. Sequential fire also can help to
               prevent the waste of ammunition, as when a platoon waits to see the effects of the first
               Javelin before firing another. Additionally, sequential fire permits elements already have
               fired to pass on information they have learned from the engagement. An example would
               be a Soldier who missed an enemy armored fighting vehicle with M136 AT4-series fires
               passing range and lead information to the next Soldier preparing to engage the enemy
               armored fighting vehicle with an M136 AT4-series.
               A-70. Time of suppression. The period, specified by the platoon leader, during which an
               enemy position or force is required to be suppressed. Suppression time is typically
               dependent on the time it will take a supported element to maneuver. Usually, a unit
               suppresses an enemy position using the sustained rate of fire of its automatic weapons.
               In planning for sustained suppression, a leader must consider several factors: the
               estimated time of suppression, the size of the area being suppressed, the type of enemy
               force to be suppressed, range to the target, rates of fire, and available ammunition
               quantities.
               A-71. Reconnaissance by fire. The process of engaging possible enemy locations to
               elicit a tactical response, such as return fire or movement. This response permits platoon
               leaders and their subordinate leaders to make target acquisition and to mass fires against
               the enemy element. Typically, platoon leaders direct a subordinate element to conduct
               the reconnaissance by fire (see paragraph 2-52). For example, they may direct an
               overwatching squad to conduct the reconnaissance by fire against a probable enemy
               position before initiating movement by a bounding element.
        Fire Patterns
               A-72. Fire patterns are a threat-based measure designed to distribute the fires of a unit
               simultaneously among multiple, similar targets. Platoons use those most often to
               distribute fires across an enemy formation. Leaders designate and adjust fire patterns
               based on terrain and anticipated enemy formation. The basic fire patterns, illustrated in
               figure A-9, include:
                           Frontal fires.
                           Cross fires.
                           Depth fires.
               A-73. Frontal fires. Leaders may initiate frontal fires when targets are arrayed in front
               of the unit in a lateral configuration. Weapon systems engage targets to their respective
               fronts. For example, the left flank weapon engages the left-most target; the right flank

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             weapon engages the right-most target. As weapon systems destroy targets, weapons shift
             fires toward the center of the enemy formation from near to far.
             A-74. Cross fires. Leaders initiate cross fires when targets are arrayed laterally across
             the unit’s front in a manner permitting diagonal fires at the enemy’s flank, or when
             obstructions prevent unit weapons from firing frontally. Right flank weapons engage the
             left-most targets; left flank weapons engage the right-most targets. Firing diagonally
             across an engagement area provides more flank shots, thus increasing the chance of kills;
             it also reduces the possibility of the enemy detecting friendly elements should the enemy
             continue to move forward. As friendly elements destroy targets, weapons shift fires
             toward the center of the enemy formation.
             A-75. Depth fires. Leaders initiate depth fires when enemy targets disperse in-depth,
             perpendicular to the unit. Center weapons engage the closest targets; flank weapons
             engage deeper targets. As the unit destroys targets, weapons shift fires toward the center
             of the enemy formation.




                                  Figure A-9. Fire pattern, examples
         Target Array
             A-76. Target array enables leaders to distribute fires when an enemy force is
             concentrated, and terrain-based controls are inadequate. Forces create this threat-based
             distribution measure by superimposing a quadrant pattern on the enemy formation.
             Soldiers center the pattern on the enemy formation, with the axes running parallel and
             perpendicular to the enemy’s direction of travel. The target array fire control measure is
             effective against an enemy with a well-structured organization and standardized
             doctrine. However, it may prove less effective against an enemy presenting few
             organized formations or those that do not follow strict prescribed tactics. Leaders
             describe quadrants using the quadrants’ relative locations. The examples in figure A-10
             on page A-24 illustrate the target array technique. Target arrays may be planned in both
             the offense or defense, or simply designated upon contact with an enemy force.

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                                   Figure A-10. Target array, examples


        FIRE COMMANDS
               A-77. Fire commands are oral orders issued by leaders to focus and distribute fires as
               required achieving decisive effects against the enemy. They allow leaders to articulate
               their firing instructions using a standard format rapidly and concisely. Fire commands
               (for Soldiers, leaders, crews, teams, and small units) include these elements, which are
               discussed in the following paragraphs:
                           Alert.
                           Weapon or ammunition (optional).
                           Target description.
                           Direction.
                           Range (optional).
                           Method.
                           Control (optional).
                           Execution.
                           Termination.

        Alert
               A-78. The alert specifies the elements directed to fire. It does not require leaders
               initiating the command to identify the unit. Examples of the alert element (call signs and
               code words based on unit SOP) include the following:
                           “GUIDONS” (all subordinate elements).
                           “RED” (1st platoon only).

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         Weapon or Ammunition (Optional)
            A-79. This element identifies the weapon and ammunition to be employed by the alerted
            elements. Leaders may designate the type and number of rounds to limit expenditure of
            ammunition. Examples of this element include the following:
                      “JAVELIN.”
                      “TOP ATTACK” or “DIRECT ATTACK.”

         Target Description
            A-80. Target description designates which enemy elements are to be engaged. Leaders
            may use the description to focus fires or achieve distribution. Examples of target
            description include the following:
                       “TROOPS IN TRENCH.”
                       “BUNKER.”
                       “ARMORED PERSONNEL CARRIER.”

         Direction
            A-81. This element identifies the location of the target. There are several ways to
            designate the location of target, including the following:
                       Closest TRP. Example: “TRP 13.”
                       Clock direction. Example: “ONE O’CLOCK.”
                       Terrain quadrant. Example: “QUADRANT ONE.”
                       Friendly quadrant. Example: “LEFT FRONT.”
                       Target array. Example: “NEAR/FAR.”
                       Tracer on target. Example: “ON MY TRACER.”
                       Laser pointer. Example: “ON MY POINTER.”

         Range (Optional)
            A-82. The range element identifies the distance to the target. Announcing range is not
            necessary for systems ranging finder-equipped or employing command-guided or
            self-guided munitions. For systems requiring manual range settings, leaders have a
            variety of means for determining range, including the following—
                       Predetermined ranges to TRPs or phase lines.
                       Handheld range finders.
                       Range stadia.
                       Mil reticle.

         Method
            A-83. Method describes to the firer the way or method the target(s) are engaged. Leaders
            use this element when presented with multiple targets to identify which target to engage



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               first. For collective fire commands, this can also indicate the fire pattern used to engage
               the threats. Multiple methods may be used in one fire command.

        Control (Optional)
               A-84. The platoon leader may use this optional element to direct desired target effects,
               distribution methods, or engagement techniques. Subordinate leaders may include the
               control element to supplement the platoon leader’s instructions and achieve distribution.
               Examples of information specified in the control element include the following:
                          Target array. Example: “NEAR/FAR.”
                          Fire pattern. Example: “FRONTAL.”
                          Terrain quadrant. Example: “QUADRANT ONE.”
                          Engagement priorities. Example: “M320/SHOULDER-LAUNCHED
                          MUNITIONS ENGAGE BUNKERS; MACHINE GUNS ENGAGE
                          TROOPS.”
                          Engagement technique. Example: “VOLLEY.”
                          Target effect. Example: “AREA.”

        Execution
               A-85. The execution element specifies when fires will be initiated. The platoon leader
               may wish to engage immediately, delay initiation, or delegate authority to engage.
               Examples of this element include the following:
                         “FIRE.”
                         “AT MY COMMAND.”
                         “AT YOUR COMMAND.”
                         “AT PHASE LINE ORANGE.”

        Termination
               A-86. Termination is the ninth element of the fire command. It informs the Soldiers to
               stop firing all weapons and systems in their control. All fire commands are terminated.
               This command may be given by any Soldier or crewmember for any reason.
               A-87. The leader that issued the fire command is required to terminate the fire command
               at the completion of every engagement, regardless of another Soldier or crewmember
               announcing it. All fire commands, regardless of type or who issued them, are terminated
               by the announcement of CEASE FIRE.

          SECTION II – STANDARD RANGE CARD AND SECTOR
          SKETCHES
               A-88. Standard range cards are used to record firing data for individual or crew-served
               weapons. Sector sketches are used to record a unit’s positioning of its weapons and
               direct fire control measures.


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         DA FORM 5517
            A-89. A DA Form 5517 is a sketch of the assigned area for a direct fire weapon system
            on a given sector of fire. (See STP 7-11B1-SM-TG for additional information.) A
            standard range card aids in planning and controlling fires and aids the squad’s gunners
            in acquiring targets during limited visibility. The individual Soldier or gunner prepares
            two copies of the standard range card. If alternate and supplementary firing positions are
            assigned, two copies are required for these as well.

         TARGET AREAS AND TERRAIN FEATURES
            A-90. Standard range cards show possible target areas and terrain features plotted with
            a firing position. The process of walking and sketching the terrain to create a standard
            range card allows the individual Soldier to become more familiar with their sector of
            fire. Soldiers should continually assess the area and, if necessary, update the standard
            range card. The standard range card is an aid for replacement personnel or platoons or
            squads to move into the position and orient on their sector of fire. To prepare a standard
            range card, the individual Soldier must know the following information:
                        Sector of fire. A sector of fire is a piece of the battlefield for which a gunner
                        is responsible.
                        TRPs. Leaders designate natural or man-made features as reference points. A
                        Soldier uses these reference points for target acquisition and range
                        determination.
                        Dead space. Dead space is an area that cannot be observed or covered by
                        direct-fire systems within the sector of fire.
                        Maximum engagement line. The maximum engagement line is the depth of
                        the area and is normally limited to the maximum effective engagement range
                        of the weapon systems. It can be less if objects prevent the Soldier or gunner
                        from engaging targets at maximum effective ranges of an assigned weapon.
                        Weapons reference point. The weapons reference point is an easily
                        recognizable terrain feature on the map used to assist leaders in plotting the
                        weapon position, squad, and (when attached) vehicle.

         DATA SECTION
            A-91. The gunner completes the position identification, date, weapon, and circle value
            according to STP 7-11B1-SM-TG. The table information is as follows:
                      Number. Start with left and right limits, then list TRPs and reference points
                      in numerical order.
                      Direction and deflection. The direction is in degrees and taken from a lensatic
                      compass.
                      Elevation. Show the gun elevation reading (for example, for a medium
                      machine gun) in tens or hundreds of mils. The smallest increment of measure
                      on the elevation scale is tens of mils. Any number other than “0” is preceded



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                          by a “plus” or “minus” symbol to show whether the gun needs to be elevated
                          or depressed. Range must be indexed to have an accurate elevation reading.
                          Range. This is the distance, in meters, from position to TRPs.
                          Ammunition. List types of ammunition used.
                          Description. List the name of the object.
                          Remarks. Enter the weapons reference point data. As a minimum, weapons
                          reference point data include a description of what the weapons reference
                          point is, a six-digit or eight-digit grid coordinate of the weapons reference
                          point, the magnetic azimuth, and the distance from the weapons reference
                          point to the position.

        SECTOR SKETCHES
               A-92. As discussed earlier in this section, individual Soldiers in squads prepare standard
               range cards. Squad and platoon leaders prepare sector sketches. Section leaders may
               have to prepare sector sketches if they are assigned separate positions. Platoon leaders
               review their squads’, and if applicable section’s, sector sketches and ensure the sketches
               are accurate and meet their requirements. If they find gaps or other flaws, platoon leaders
               adjust weapons locations within the assigned area. Once platoon leaders approve the
               squad and section sector sketches, they prepare a consolidated report for the company
               commander and incorporate this into a consolidated platoon sector sketch. The platoon
               leader or platoon sergeant physically prepares the platoon sector sketch. The sector
               sketch can be on acetate taped to a map or it can be a hand drawn sketch. Accurate and
               detailed sketches aid in direct fire planning, and in direct fire control and distribution.

        SQUAD SECTOR SKETCH
               A-93. The squad leaders and section leaders make two copies of their sector sketches;
               one copy goes to the platoon leader; the other remains at the position. The squad leaders
               and section leaders draw sector sketches (see figure B-8 on page B-14 for an example
               sector sketch) as close to scale as possible, showing—
                          Main terrain features in the assigned sector and the range to each.
                          Each primary position.
                          Engagement area or primary and secondary sectors of fire covering each
                          position.
                          Light and medium machine gun FPL or PDF.
                          Type of weapon in each position.
                          Reference points and TRPs in the assigned sector.
                          Observation post locations.
                          Dead space.
                          Obstacles, including mines.
                          Maximum engagement lines for all weapon systems.
                          Indirect fire targets.



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         PLATOON SECTOR SKETCH
            A-94. Squad leaders and section leaders prepare their sketches and submit them to the
            platoon leader. The platoon leader combines all sector sketches (and possibly separate
            standard range cards) to prepare a platoon sector sketch (see figure B-7 on page B-13
            for an example sector sketch), which is drawn as close to scale as possible and includes
            a target list for direct and indirect fires. One copy is submitted to the company
            commander, one copy is given to the platoon sergeant, and one copy is kept by the
            platoon leader. At a minimum, the platoon sector sketch should show—
                       Primary and secondary sectors of fire or engagement areas.
                       Primary, alternate (when established), and supplementary (when established)
                       squad positions.
                       Remount points (when vehicles attached).
                       Javelin and machine gun positions with a PDF.
                       Machine gun (light and medium) FPLs.
                       Maximum engagement lines for the medium machine gun.
                       Observation posts.
                       TRPs.
                       Mines and other obstacles.
                       Indirect fire target locations and FPF location (if applicable).
                       Position and area of flanking unit (and when attached, vehicles).
                       Priority engagement by weapon system and crew.

         COORDINATION WITH ADJACENT UNITS
            A-95. Platoon leaders coordinate with adjacent platoons. Squad leaders coordinate with
            adjacent squads so that all positions and all platoons and squads are mutually supporting.
            The platoon leader must ensure that this coordination take place. Coordination is usually
            initiated from left to right. Gaps between positions are covered by fire at a minimum.
            Contact points are established to ensure friendly forces meet at some specific point on
            the ground to tie in their flanks. In many cases, the exchange of sector sketches will
            accomplish most of this. Typical information that is exchanged includes—
                        Locations of primary, alternate, and supplementary positions; sectors of fire
                        for medium machine guns, Javelins, and attached (if applicable) weapon
                        systems.
                        Location of dead space between platoons and how it is to be covered.
                        Location of observation posts.
                        Location and types of obstacles and how to cover them.
                        Patrols (size, type, time of departure and return, and routes).

              Note. When conditions require platoon, and/or squad positions to be arrayed in
              noncontiguous assigned area, security patrols (see chapter 7) between positions
              may be necessary.


                                                ATP 3-21.8                                     A-29




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                                               Appendix B
                                 Fire Support Planning

                Fire support planning is the continual process of selecting targets on
                which fires are prearranged to support a phase of the scheme of
                maneuver. Fire support planning is accomplished concurrently with
                maneuver planning at all echelons. Leaders conduct fire support
                planning to suppress, isolate, obscure, neutralize, destroy, deceive,
                or disrupt known, likely, or suspected targets, and to support the
                actions of the maneuver forces. Fires are planned for all phases of
                an operation. This appendix addresses the lethal fires coming from
                Infantry brigade combat team (IBCT) organic indirect fires, Army
                artillery and aviation assets, and joint and multinational artillery and
                aviation assets in support of the Infantry rifle platoon. (See
                ATP 3-21.10 and FM 3-09 for additional information.)

         FIRE SUPPORT CONSIDERATIONS
            B-1. Fire support planning starts as soon as the leader receives a mission. Once begun,
            fire support planning continues through the operation’s completion. The primary aim of
            fire planning is to develop how fire is to be massed, distributed, and controlled to best
            support the leader’s scheme of maneuver.

         TARGETING CATEGORIES
            B-2. The targeting process can be generally grouped into two categories: deliberate and
            dynamic. Deliberate targeting prosecutes planned targets. These targets are known to
            exist in the area of operations (AO) and have actions scheduled against them. Examples
            range from targets on target lists in the applicable order, targets detected in sufficient
            time to place in the joint air tasking cycle and get into the air tasking order, mission-type
            orders, or fire support plans. Dynamic targeting is targeting that prosecutes targets
            identified too late or not selected for action in time to be included in deliberate targeting
            (JP 3-60). Dynamic targeting (see ATP 3-60.1) prosecutes targets of opportunity and
            changes to planned targets or objectives. Targets of opportunity are targets identified
            too late, or not selected for action in time, to be included in deliberate targeting. Targets
            engaged as part of dynamic targeting are previously unanticipated, unplanned, or newly
            detected.




                                                   ATP 3-21.8                                        B-1




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        Appendix B



        TARGET TYPES: PLANNED TARGETS AND TARGETS OF OPPORTUNITY
              B-3. Deliberate targeting prosecutes planned targets. These targets are known to exist
              in the AO and have actions scheduled against them. The two types of planned targets
              are scheduled and on-call:
                        Scheduled targets exist in the AO and are located in sufficient time so that
                        fires or other actions upon them are identified for engagement at a specific,
                        planned time.
                        On-call targets have actions planned, but not for a specific delivery time. The
                        commander expects to locate these targets in sufficient time to execute
                        planned actions.
              B-4. Dynamic targeting prosecutes targets of opportunity and changes to planned
              targets or objectives. Targets of opportunity are targets identified too late, or not selected
              for action in time, to be included in deliberate targeting. Targets engaged as part of
              dynamic targeting are previously unanticipated, unplanned, or newly detected. The two
              types of targets of opportunity are unplanned and unanticipated:
                          Unplanned targets are known to exist in the AO, but no action has been
                          planned against them. The target may not have been detected or located in
                          sufficient time to meet planning deadlines. Alternatively, the target may have
                          been located, but not previously considered of sufficient importance to
                          engage.
                          Unanticipated targets are unknown or not expected to exist in the AO.

        TARGETING PRIORITIES
              B-5. Targeting priorities must be addressed for each phase or critical event of an
              operation. Targeting priorities emphasize the identification of resources and activities
              the enemy can least afford to lose or that provide the greatest advantage (high-value
              target) and whose loss will significantly contribute to the success of the friendly COA
              (high-payoff target). Targeting links desired effects to activities and tasks involving
              specific fires. For example, a target area of interest is a point or area where the
              commander can acquire and engage high payoffs. The targeting decisions made are
              reflected in the following visual products:
                          The high-payoff target list is a prioritized list of high-payoff targets by phase
                          of the operation.
                          A high-payoff target is a target whose loss to the enemy will significantly
                          contribute to the success of the friendly course of action (JP 3-60).
                          A high-value target is a target the enemy commander requires for the
                          successful completion of the mission (JP 3-60).

        CONCEPT OF FIRES
              B-6. Fire planning begins with the concept of fires. This essential component of the
              concept of operations complements the leader’s scheme of maneuver detailing the
              leader’s plan for direct and indirect preparatory and supporting fires. Fire planning
              requires a detailed knowledge of weapon characteristics and logistical capabilities of

        B-2                                          ATP 3-21.8




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                                                                                  Fire Support Planning



            those providing the support. Although leaders may be augmented with personnel to
            assist in planning and controlling attached or supporting assets, the responsibility for
            planning and execution of fires lies with the leader. Leaders do not wait to receive the
            higher headquarters’ plan to begin their own fire planning but begins as soon as possible
            to integrate fires into concept of operations and concept of operations of the higher
            headquarters.

         Fire Support Teams
            B-7. Company fire support team (FIST) headquarters personnel and platoon forward
            observers (FOs) provide support to subordinate platoons to plan and coordinate all
            available supporting fires, including mortars, field artillery, naval surface fire support,
            Army aviation attack, and close air support (CAS) integration. When attached, FISTs
            provide the platoon with fire support coordination, targeting, input for terminal attack
            control, and assessment capabilities. FOs are trained to adjust ground or naval gunfire
            and pass back battlefield information. Effective fires require qualified observers to call
            for and adjust fires on located targets. FOs, forward air controllers, naval gunfire spotter
            teams, joint fires observers, and joint terminal attack controllers (JTACs) train together
            and work effectively as a team to request, plan, coordinate, and place accurate fires on
            targets that create the desired effects. (See ATP 3-21.10 for additional information.)
            B-8. Additional assets are allocated in either a command or support relationship. An
            example of a command relationship would be an attachment of a section from the
            weapons company (reference direct fire support, see note on page 3-39). The leader
            relies on the senior representative from the organization to provide expertise when
            planning. An example of a support relationship would be direct support from the artillery
            battalion or from an aviation attack company. When planning Army aviation attack fires
            (see paragraph B-64) or CAS from a supporting unit (see paragraph B-74), the leader
            normally receives someone from that organization to assist them. Attached FIST and
            JTACs are examples. Developing the concept of fire should be straightforward during
            deliberate operations because of the ability to conduct reconnaissance, planning, and
            preparation. However, during hasty operations the unit may have to rely on its internal
            SOPs and more hands-on control by the leader.

         Tactical Uses of Planned Fires
            B-9. Fires are used for many different tactical reasons. They include:
                     Preparatory fire, delivered before an attack to weaken the enemy position.
                     (See ADP 3-90 for additional information.)
                     Supporting fires (covering fires). Supporting fires enable the friendly
                     maneuver element to move by destroying, neutralizing, or suppressing enemy
                      fires, positions, and observers.
                     Final protective fire is an immediately available, prearranged barrier of fire
                     designed to impede enemy movement across defensive lines or areas
                     (JP 3-09.3).
                     Suppression—temporary or transient degradation by an opposing force of the
                     performance of a weapons system below the level needed to fulfill its mission

                                                 ATP 3-21.8                                       B-3




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                         objectives (JP 3-01). Suppression—in the context of the computed effects of
                         field artillery fires, renders a target ineffective for a short period of time
                         producing suppression of enemy air defenses at least 3-percent casualties or
                         materiel damage (FM 3-09).
                         Obscuration—the employment of materials into the environment that
                         degrade optical and/or electro-optical capabilities within select portions of
                         the electromagnetic spectrum in order to deny acquisition by or deceive an
                         enemy or adversary (ATP 3-11.50).
                         Counterfire (indirect fires only). Counterfire is fire to destroy or neutralize
                         enemy artillery/mortars. These missions normally are controlled at higher
                         level headquarters. Counterfire radars are positioned to maintain radar
                         coverage to ensure continuous coverage during rapid movement forward.
                         Harassing fire is observed or predicted (unobserved) fire intended to disrupt
                         enemy troop and vehicle movement, disturb their rest, and lower their morale.
                         Illumination. While obscuration smoke hides friendly movements,
                         illumination exposes enemy formations at night. Utilizing illumination
                         rounds can be effective; however, friendly positions should remain in
                         shadows, and enemy positions should be highlighted.

        Echelonment of Fires
              B-10. Echelonment of fires is the schedule of fire ranging from the highest caliber
              munitions to the lowest caliber munitions. The purpose of echeloning fires is to maintain
              constant fires on the enemy while using the optimum delivery system. As distances
              between friendly and enemy forces close, echeloning of fires is the principle of reducing
              the caliber of fires employed, reducing the associated risk. Leaders use risk estimate
              distance, surface danger zones, and minimum safe distance as per ATP 3-09.32, to
              manage associated risks. In the defense, triggers are tied to the progress of the enemy as
              it moves through the AO, enabling the leader to engage the enemy throughout the depth
              of the AO. In the offense, triggers are tied to the progress of the maneuver element as it
              moves toward the objective protecting the force and facilitating momentum up to the
              objective.

        Defensive Echelonment
              B-11. In defensive missions, echeloning fires are scheduled based on their optimum
              ranges to maintain continuous fires on the enemy, disrupting the formation and
              maneuver. Echelonment of fires in the defense places the enemy under increasing
              volumes of fire as they approach a defensive position. Aircraft and long-range indirect
              fire rockets and artillery deliver deep supporting fires. Close supporting fires, such as
              final protective fires (FPFs), are integrated closely with direct fire weapons such as
              Infantry weapons, tank support, and antiarmor weapon systems. Figure B-1 illustrates
              an example of defensive echelonment.




        B-4                                        ATP 3-21.8




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                                                                              Fire Support Planning




                            Figure B-1. Defensive echelonment of fires

         Offensive Echelonment
            B-12. In the offense, weapons are scheduled based on the point of a predetermined safe
            distance away from maneuvering friendly troops. When scheduled, fires provide
            protection for friendly forces as they move to and assault an objective. They also allow
            friendly forces to get in close with minimal casualties and prevent the defending enemy
            from observing and engaging the assault by forcing the enemy to take cover. The overall
            objective of offensive scheduled fires is to allow the friendly force to continue the
            advance unimpeded. (See figure B-2 on page B-6.)




                                               ATP 3-21.8                                     B-5




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                               Figure B-2. Offensive echelonment of fires

              B-13. As an example of echelonment of fires use during the conduct of a mission,
              consider an operation in which a platoon assaults an enemy position. (See figures B-3
              through B-6 on pages B-7 through B-10.) As the lead elements of the unit approach the
              designated phase line en route to the objective, the leader orders the fire support officer
              to begin the preparation. Observers track friendly movement rates and confirm them.
              Other fire support officers in the chain of command may need to adjust the plan during
              execution based on unforeseen changes to anticipated friendly movement rates.
              B-14. As the unit continues its movement toward the objective, the first weapon system
              engages its targets. It maintains fires on the targets until the unit crosses the next phase
              line corresponding to the risk estimate distance of the weapon system being fired.
              B-15. To maintain constant fires on the targets, the next weapon system begins firing
              before the previous weapon system ceases or shifts. This ensures no break in fires,
              enabling the friendly forces’ approach to continue unimpeded. However, if the unit rate
              of march changes, the indirect fire support system must remain flexible to the changes.
              B-16. The fire support officer shifts and engages with each delivery system at the
              prescribed triggers, initiating the fires from the system with the largest risk estimate
              distance to the smallest. Once the maneuver element reaches the final phase line, the fire
              support officer ceases the final indirect fire system or shifts to targets beyond the
              objective to cease all fires on the objective. Direct fire assets in the form of supporting


        B-6                                         ATP 3-21.8




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            fires also are maintained until the final assault, then ceased or shifted to targets beyond
            the objective.




                           Figure B-3. 81-millimeter mortars begin firing




                                                ATP 3-21.8                                       B-7




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        Figure B-4. 81-millimeter mortars shift, 60-millimeter mortars and supporting
                                         fires begin




        B-8                               ATP 3-21.8




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                        Figure B-5. 60-millimeter mortars shift




                                      ATP 3-21.8                                 B-9




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                                    Figure B-6. Supporting fires cease


        Fire Planning for the Defense
               B-17. In the defense, fires are generally planned in three locations-in front of the unit
               positions, on the position’s FPFs, and behind positions. To develop a defensive fire plan,
               the platoon leader within the company defense—
                          Redefines designation of unit point or area targets and other control measures,
                          such as TRPs, to coordinate the fire when more than one subordinate is firing
                          into the same engagement area or AO.
                          Masses fires on choke points and key terrain (for example, obstacles, water
                          crossings, and dead space) to canalize, slow, and block the enemy’s
                          movements.
                          Ensures fires are integrated into the obstacle plan.
                          Considers the use of obscurants to support the obstacle plan.
                          Refines and bases fire plans on the commander’s guidance for fires and
                          allocation of resources.




        B-10                                        ATP 3-21.8




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                        Identifies requirements for positioning primary and alternate observers
                        forward of friendly maneuver forces. Ensures that extraction guidelines are
                        established and understood.
                        Develops alternate plans in case these FOs are forced to withdraw prior to
                        execution of fire support tasks.
                        Determines the time needed for all fire support systems to be ready based on
                        the scheme of maneuver. Ensure that these times are met.
                        Determines how and recommend when to shift the priority of fires. Determine
                        what will be the trigger to shift the priority of fires.
                        Plans for the use of obscurants during periods of limited visibility to degrade
                        enemy night vision capabilities.
                        Receives target information from subordinates (normally provided on sector
                        sketches or individual weapon standard range cards).
                        Reviews target information to ensure fires are equally distributed across the
                        entire unit’s AO and sufficient control measures are established.
                        Completes the unit’s fire plan and gives sector sketch to the higher
                        headquarters.

         Final Protective Line and Final Protective Fire
             B-18. Final protective line (FPL) is a line of fire selected where an enemy assault is to
             be checked by interlocking fire from all available weapons and obstacles. The defending
             unit reinforces this line (see paragraph A-51) with protective obstacles and with FPFs
             whenever possible. The FPL consists of all available measures, to include protective
             obstacles, direct fires, and indirect fires. The FPFs target the highest type of priority
             targets and takes precedence over all other fire targets. The FPFs differ from a standard
             priority target in that fire is conducted at the maximum rate until the mortars are ordered
             to stop, or until ammunition is depleted. If possible, the FPFs should be registered.
             B-19. If Soldiers are in well-prepared defensive positions with overhead cover (known
             as OHC), FPFs can be adjusted close to the friendly positions, just beyond bursting
             range. If the threat situation warrants it (for example, in the event the friendly position
             is over run), the unit leader can call for artillery fires right on the unit’s position using
             proximity or time fuzes for airbursts. Table B-1 on page B-12 shows indirect fire mortar
             weapon system characteristics being used when planning the FPF.




                                                  ATP 3-21.8                                       B-11




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           Table B-1. Normal final protective fires dimensions for each number of
                                           mortars




                                                       MORTARS
         120 mm                   4              300                70
                                                                                400 m           100 m
         120 mm                   2              150                70
         81 mm                    4              150                40
                                                                                230 m            80 m
         81 mm                    2              75                 40
         60 mm                    2              60                 30          175 m            65 m
         Legend: m–meters; mm–millimeters; PI–probability of incapacitation; %–percent


        Platoon Fire Planning
               B-20. Squad leaders prepare their sketches and submit them to the platoon leader. The
               platoon leader combines all sectors of fire and sector sketches (and possibly separate
               standard range cards) to prepare a platoon sector sketch. A platoon sector sketch is drawn
               as close to scale as possible including a target list for direct and indirect fires. One copy
               is submitted to the company commander, one copy is given to the platoon sergeant, and
               one copy is maintained by the platoon leader. At a minimum, the platoon sector sketch
               should show the elements contained in figure B-7.




        B-12                                           ATP 3-21.8




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                                 Figure B-7. Platoon sector sketch

         Squad Fire Planning
            B-21. Squad leaders make two copies of their sector sketches. One copy goes to the
            platoon leader; the other remains at the position. Squad leaders draw sector of fire
            sketches as close to scale as possible, showing the elements contained in figure B-8 on
            page B-14.




                                               ATP 3-21.8                                   B-13




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                         Figure B-8. Squad sector sketch
        B-14                        ATP 3-21.8




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         Fire Planning for the Offense
             B-22. Offensive fire planning follows the same methodology as defensive fire planning
             within constraints of the situation. The presence of a friendly element requires a baseline
             of fire support planning and control throughout the entire mission (specifically
             movement and maneuver) to ensure indirect fire support is effective and efficient.
             B-23. Leaders must plan how they will engage known or suspected enemy targets, where
             friendly suppressive fire may be needed, and how they will control their units’ fires
             against both planned targets and targets of opportunity. Fire planning should include a
             thorough analysis of the type of threat expected. This will aid the supporting friendly
             element in tailoring the weapon and ammunition requirements to suit the situation.
             B-24. Offensive fire planning supports four phases: planning and preparation, approach
             to the objective, actions on the objective, and follow through. The degree of
             completeness and centralization of offensive fire planning depends on the time available
             to prepare the offensive. Fires are planned in four locations on the battlefield short of
             the line of departure (LD)/line of contact (known as LC), LD/LC to the objective, on the
             objective, and beyond the objective. Table B-2 lists planning considerations for each of
             the four locations.
                                   Table B-2. Planning considerations


           1) Planning and        • Support unit in tactical assembly area.
           Preparation (Short     • Support unit’s movement to the LD/LC.
           of the LD/LC)          • Disrupt enemy reconnaissance forces.
                                  • Disrupt enemy defensive preparations.
                                  • Disrupt enemy spoiling attacks.
           2) Approach to the     • Begin echeloning fires for maneuver units.
           Objective (LD/LC to    • Suppress and obscure for friendly breaching operations.
           the Objective)         • Suppress and obscure enemy security forces throughout movement.
                                  • Provide priority of fires to lead element.
                                  • Screen/guard exposed flanks.
           3) Actions on the      • Fires to block enemy reinforcements.
           Objective (On the      • Fires to suppress enemy direct fire weapons.
           Objective)             • Suppress and obscure point of penetration.
                                  • Suppress and obscure enemy observation of friendly forces.
           4) Follow Through      • Disrupt movement of enemy reinforcements during the assault.
           (Beyond the            • Block avenues of enemy approach.
           Objective)             • Disrupt enemy withdraw.
                                  • Screen friendly forces from enemy counterattacks during the assault.
                                  • Consolidate objective after the assault.
           Legend: LC–line of contact; LD–line of departure




                                                   ATP 3-21.8                                          B-15




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               B-25. Offensive fire planning is divided into two categories—preparatory and
               supporting fires. The concept of fires has artillery and mortars in support of an attack to
               gain and maintain fire superiority on the objective until the last possible moment. When
               this indirect fire ceases, the enemy should be stunned and ineffective for a few moments.
               Take full advantage of this period by executing any or all the following:
                           Maintaining fire superiority. Small-arms fire from local and internal support
                           by fire is continued as long as possible.
                           Maneuver elements. Assaulting Soldiers must try to fire as they advance.
                           Troops must observe fire discipline, as in many cases fire control orders will
                           not be possible. They must arrive at the objective with ammunition.
                           Audacity. Where the ground and vegetation do not prohibit movement,
                           leading sections should move quickly over the last 30 or 40 meters to the
                           enemy positions to minimize exposure.
                           Combat vehicles. Vehicles used in the attack, or as direct fire support,
                           continue to give close support.
               B-26. When planning fires for the offense, leaders verify the fire element’s task
               organization and ensure their plans coordinate measures for the attack, site exploitation,
               pursuit, and contingency plans. Leaders develop or confirm with the responsible level
               authority supporting systems are positioned and repositioned to ensure continuous fires
               throughout the operation. Mutual support of fire systems promotes responsive support
               and provides the commanders of maneuver units freedom of action during each critical
               event of the engagement or battle.
               B-27. There exists a diverse variety of munitions and weapon systems, direct and
               indirect, to support close offensive missions. To integrate direct and indirect fire support,
               the leader must understand the mission, commander’s intent, concept of operations, and
               critical tasks to be accomplished. Leaders plan fires to focus on enemy capabilities and
               systems being neutralized. Critical tasks include:
                           Softening enemy defenses by delivering preparatory fires.
                           Suppressing and obscuring enemy weapon systems to reduce enemy standoff
                           capabilities.
                           Scheduling indirect fires with direct fires to provide protection for friendly
                           forces as they move to and assault an objective.
                           Deconflicting fires during the approach and assault through the use of
                           restrictive fire lines (RFLs), restrictive fire area, or no fire area.
                           Continuous in-depth fire support (accomplished by proper positioning of
                           systems), including support by fire and attack by fire positions.
                           Interdicting enemy counterattack forces, isolating the defending force, and
                           preventing its reinforcement and resupply.

        MORTAR AND FIELD ARTILLERY FIRES
               B-28. The majority of fire support to an Infantry rifle platoon is provided by indirect fire
               support systems of the Infantry rifle company. Indirect fire support systems include
               mortars and field artillery cannon and rocket fires. (See ATP 3-09.32 for a detailed

        B-16                                         ATP 3-21.8




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            listing of indirect fire system capabilities and characteristics.) Indirect fire support
            systems may be under direct command of the maneuver battalion/company or may be
            in a supporting role. Indirect fire targets during movement are planned on probable
            locations of enemy attempts to attack the movement. (See ATP 3-21.90 and
            ATP 3-09.42 for additional information.)

         CALL FOR FIRE
            B-29. Call for fire (see table B-3) is the request for fire containing data necessary for
            obtaining the required mortar and artillery fire on a target. The ability for mortars and
            artillery to engage targets from reverse-slopes and areas of defilade is a tremendous
            advantage, especially in adverse terrain. As with other operations, employing indirect
            fires in adverse terrain and climate does have its challenges. (See ATP 3-21.10,
            ATP 3-09.32, and FM 3-09 for additional information.) Unique challenges include—
                        Unpredictable weather conditions affecting accuracy of rounds.
                        Targets located on peaks and steep terrain, making adjustments difficult.
                        Intervening crests requiring placement of observers on dominating heights
                        for overwatch.
                        Limited terrain suitable for firing positions to cover a particular movement.
                        Mortar and artillery locations ideal for range and coverage unsuitable due to
                        intervening adverse terrain features.
                        Locations tactically positioned but in an area with difficult or limited access.
                        Shifting mortar and artillery assets to alternate locations requiring significant
                        time and engineering and logistical efforts.
                             Table B-3. Artillery and mortar call for fire




            B-30. Indirect fires must be integrated and synchronized in time, space, and purpose
            over the entire concept of operations. Integration means all available assets are planned
            and used throughout an operation. Synchronization means these assets are sequenced in


                                                 ATP 3-21.8                                       B-17




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               time, space, and purpose in an optimal manner, producing complementary and
               reinforcing effects of the maneuver element.

        TARGET EFFECTS PLANNING
               B-31. Not only must indirect fire support planners determine what enemy targets to hit,
               and when, but also must decide how to attack each enemy target. Leaders should
               consider all the aspects of target effects when planning fires. Although this section is
               specific to mortars, the following concepts generally apply to most indirect fires. (See
               ATP 3-09.32 for additional information.)

        High Explosive Ammunition
               B-32. When mortar rounds impact, they throw fragments in a pattern never truly
               circular, and may even travel irregular, based on the round’s angle of fall, the slope of
               the terrain, and type soil. However, for planning purposes, each mortar high explosive
               (HE) round is considered to have a circular lethal bursting area. Figure B-9 shows a
               scale representation of the lethal bursting areas of mortar rounds.




               Figure B-9. Comparison of lethal bursting area for U.S. mortar rounds

                 Note. The bursting radius is the standard method to compare the effectiveness of
                 shells. It is defined as the distance from the bursting point within 50 percent of
                 standing targets will become casualties. The bursting diameter is therefore twice
                 the bursting radius. The above mortar-bursting areas (diameters) are estimations
                 since the type of round, fuze, range, and target surface all affect the mortar’s
                 bursting diameter.

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         Fuze Setting
            B-33. The decision concerning what fuze setting to use depends on the position of the
            enemy. Exposed enemy troops standing up are best engaged with impact or near surface
            burst fuze settings. The round explodes on, or near, the ground. Shell fragments travel
            outward perpendicular to the long axis of the standing target. (See figure B-10.)




                                    Figure B-10. Standing targets

            B-34. If exposed enemy troops are lying prone, the proximity fuze setting is most
            effective. The rounds explode high above the ground, and fragments coming downward
            are traveling once again perpendicular to the long axis of the targets. (See figure B-11.)




                                      Figure B-11. Prone targets




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               B-35. The proximity setting is the most effective if the enemy is in open fighting
               positions without OHC. Even proximity settings will not always produce effects if the
               positions are deep. (See figure B-12.)




                            Figure B-12. Targets in open fighting positions

               B-36. The delay fuze setting is most effective when the enemy is below triple canopy
               jungle or in fighting positions with OHC. Light mortars will have little effect against
               OHC. Even medium mortars have limited effect. Heavy mortars can destroy a bunker,
               or enemy troops beneath jungle canopy with a hit or near miss. (See figure B-13.)




                          Figure B-13. Targets beneath triple canopy jungle

        B-20                                       ATP 3-21.8




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         Effects of Cover on High Explosive Rounds
            B-37. Enemy forces normally will be either standing or prone. They maybe in the open
            or protected by varying degrees of cover. Each of these changes the target effects of
            mortar fire.
            B-38. Surprise mortar fire is always more effective than fire against an enemy who has
            been warned and is seeking cover. Recent studies have shown a high casualty rate can
            be achieved with only two rounds against an enemy platoon standing in the open. The
            same studies required 10 to 15 rounds to duplicate the casualty rate when the platoon
            was warned by adjusting rounds and sought cover. If the enemy soldiers merely lay
            prone, they significantly reduce the effects of mortar fire. Mortar fire against standing
            enemy forces is almost twice as effective as fire against prone targets.
            B-39. Proximity fire is usually more effective than surface-burst rounds against targets
            in the open. The effectiveness of mortar fire against a prone enemy is increased by about
            40 percent by firing proximity-fuzed rounds rather than surface-burst rounds.
            B-40. If the enemy is in open fighting positions without OHC, proximity-fuzed mortar
            rounds are about five times as effective as impact-fuzed rounds. When fired against
            troops in open fighting positions, proximity-fuzed rounds are only 10 percent as
            effective as they would be against an enemy in the open. The greatest effectiveness
            against troops in open fighting positions, the charge with the lowest angle of fall should
            be chosen. It produces almost two times as much effect as the same round falling with
            the steepest angle.
            B-41. If the enemy has prepared fighting positions with OHC, only impact-fuzed and
            delay-fuzed rounds will have much effect. Proximity-fuzed rounds can restrict the
            enemy’s ability to move from position to position, but they will cause few, if any,
            casualties. Impact-fuzed rounds cause some blast and suppressive effect. Delay-fuzed
            rounds can penetrate and destroy a position but must achieve a direct hit. Only the
            120-mm mortar with a delay-fuze setting can damage a fighting position with 18 inches
            of OHC (see chapter 5 section VI). This type of fighting position cannot be destroyed
            by light or medium mortar rounds. Consider use of white phosphorous (WP) to drive
            enemy personnel out of fighting positions.

         Suppressive Effects of High Explosive Mortar Rounds
            B-42. Suppression from mortar is not as easy to measure as the target effect. It is the
            psychological effect produced in the mind of the enemy preventing the enemy from
            returning fire or carrying on their duties. Inexperienced or surprised Soldiers are more
            easily suppressed than experienced, warned Soldiers. Soldiers in the open are much
            more easily suppressed than those with OHC. Suppression is most effective when mortar
            fires first fall; as they continue, their suppressive effects lessen. HE rounds, when used,
            are the most suppressive and have a great psychological effect on the enemy. WP is used
            to ignite and suppress enemy materiel. (See figure B-14 on page B-22.) Examples
            include if a—
                         60-mm mortar round lands within 20 meters of a target, the target probably
                         will be suppressed, if not hit.

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                       60-mm mortar round lands within 35 meters of a target, there is a 50 percent
                       chance it will be suppressed. Beyond 50 meters, little suppression takes place.
                       81-mm mortar round lands within 30 meters of a target, the target probably
                       will be suppressed, if not hit.
                       81-mm mortar round lands within 75 meters of a target, there is a 50 percent
                       chance the target will be suppressed. Beyond 125 meters, little suppression
                       takes place.
                       120-mm mortar round (proximity-fuzed) lands within 65 meters of target, the
                       target probably will be suppressed, if not hit. Within 125 meters of a target,
                       there is a 50 percent chance the target will be suppressed. Beyond 200 meters,
                       little suppression takes place.

               Note. Because the effects of suppression end almost immediately after the enemy
               realizes the suppression mission has stopped, friendly forces must be prepared to
               act (for instance assault) immediately upon achieving suppression of enemy
               forces.




               Figure B-14. Suppressive effects of common U.S. mortar rounds




        B-22                                     ATP 3-21.8




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            B-43. Obscuration fires use smoke and WP ammunition to degrade the enemy by
            obscuring their view of the battlefield. (High explosive ammunition may also obscure
            their view with dust and fires, but the unit should not rely on it as the primary means.)
            Mortars only have WP or red phosphorous while artillery has smoke, WP, and red
            phosphorous. Obscurants are subject to changes in wind direction and terrain contours;
            therefore, its use must be coordinated with other friendly units affected by the mission.
            Used properly, obscuration fires can—
                        Slow enemy vehicles to blackout speeds.
                        Obscure the vision of enemy direct fire weapon crews.
                        Reduce accuracy of enemy-observed fires by obscuring observation posts and
                        command posts.
                        Cause confusion and apprehension among enemy Soldiers.
                        Limit the effectiveness of the enemy’s visual command and control signals.
            B-44. Screening fires are closely related to obscuration fires; they also involve the use
            of smoke and WP. However, screening fires mask friendly maneuver elements to
            disguise the nature of their missions. Screening fires may assist in consolidate by placing
            smoke in areas beyond the objective. They may also be used to deceive the enemy to
            believe that a unit is maneuvering when it is not. Screening fires require the same
            precautions as obscuration fires.
            B-45. The WP round is used mainly to produce immediate, close point obscuration. It
            can be used to screen the enemy’s field of fire for short periods, which allows the unit
            to maneuver against the enemy. The 60-mm WP round is not sufficient to produce a
            long-lasting, wide-area obscurants screen, but the much larger WP round from the heavy
            mortar is.
            B-46. WP rounds generally should not be used solely to produce casualties due to the
            law of war principle of humanity, which forbids the infliction of suffering, injury, or
            destruction unnecessary to accomplish a legitimate military purpose. Unnecessary
            suffering would be implicated because of the persistent burning WP causes in the
            wounds it produces and the availability of a superior round for producing casualties, the
            HE round. While the bursting WP round can produce casualties among exposed enemy
            troops the casualty producing radius of the WP round is much less than that of the HE
            round. Generally, more casualties can be produced by firing HE ammunition than by
            firing WP. A few WP rounds mixed into a fire mission of HE rounds for a valid purpose
            (that is target marking) may increase the suppressive effect of the fire because of the
            significant psychological effect a WP burst may have on exposed troops.
            B-47. As with other weapons, it is prohibited to make the civilian population as such,
            individual civilians, or civilian objects, the object of attack by WP. Although bursting
            WP rounds are not designed to cause casualties, the fragments of the shell casing and
            bits of burning WP can cause injuries. Inhalation from WP is also a primary hazard once
            the smoke screen is going in. Feasible precautions to reduce the risk of harm to civilians
            must be taken. (See FM 6-27.)




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               B-48. The WP rounds can be used to mark targets, especially for attack by aircraft.
               Base-ejecting obscurants’ rounds, such as the 81-mm M819 red phosphorous round,
               produce a dispersed obscurant cloud, normally too indistinct for marking targets.
               B-49. The effects of atmospheric stability can determine whether mortar obscurants are
               effective at all or, if effective, how much ammunition will be needed:
                          During unstable conditions, mortar obscurants and WP rounds are almost
                          ineffective the obscurant does not spread but often climbs straight up and
                          quickly dissipates.
                          Under moderately unstable atmospheric conditions, base-ejecting
                          obscurants’ rounds are more effective than bursting WP rounds. The M819
                          red phosphorous round of the M252 mortar screens for over 2 and a half
                          minutes.
                          Under stable conditions, both red phosphorous and WP rounds are effective.
                          The higher the humidity, the better the screening effects of mortar rounds.
               B-50. The M819 red phosphorous round loses up to 35 percent of its screening ability if
               the ground in the target area is covered with water or deep snow. During extremely cold
               and dry conditions over snow, up to four times the number of obscurant’s rounds than
               expected may be needed to create an adequate screen. The higher the wind velocity, the
               more bursting WP rounds are needed, and less effective burning obscurant’s rounds
               become.
               B-51. If the terrain in the target area is swampy, rain-soaked, or snow-covered, then
               burning obscurant’s rounds may not be effective. These rounds produce obscurants by
               ejecting felt wedges soaked in red phosphorous. These wedges then burn on the ground,
               producing a dense, long-lasting cloud. If the wedges fall into mud, water, or snow, they
               can be extinguished. Shallow water can reduce the obscurants produced by these rounds
               by as much as 50 percent. Bursting WP rounds are affected little by the terrain in the
               target area, except deep snow and cold temperatures which can reduce the obscurant
               cloud by about 25 percent.

        Illumination
               B-52. Illumination missions are important functions for mortars. Atmospheric stability,
               wind velocity, and wind direction are the most important factors when planning target
               effects for illumination mortar rounds. The terrain in the target area also affects
               illumination rounds. Illumination rounds can be used to disclose enemy formations, to
               signal, or to mark targets. There are illumination rounds available for all mortars.
               B-53. The 60-mm illumination round available now is the standard cartridge,
               illuminating M83A3. This round has a fixed time of delay between firing and start of
               the illumination. The illumination lasts for about 25 seconds, providing moderate light
               over a square kilometer.
               B-54. The 60-mm illumination round does not provide the same degree of illumination
               as do the rounds of the heavier mortars and field artillery. However, it is sufficient for
               local, point illumination. The small size of the round can be an advantage where
               illumination is desired in an area, but adjacent friendly forces do not want to be seen.

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             The 60-mm illumination round can be used without degrading the night vision devices
             of adjacent units.
             B-55. The medium and heavy mortars can provide excellent illumination over wide
             areas. The 120-mm mortar illumination round provides 1 million candlepower for
             60 seconds.
             B-56. The M320 40-mm grenades, as well as all mortars have the capability to deliver
             infrared illumination rounds in addition to the more common white light.

         Special Illumination Techniques
             B-57. Illumination is always planned for attacks to be conducted in limited visibility.
             The following are three mortar special illumination techniques.
             B-58. An illumination round fired extremely high over a general area will not always
             alert an enemy force that it is being observed. However, it will provide enough
             illumination to optimize the use of image intensification (starlight) scopes such as night
             vision devices.
             B-59. An illumination round fired to burn on the ground will prevent observation
             beyond the flare into the shadow. This is one method of countering enemy use of image
             intensification devices. A friendly force could move behind the flare with greater
             security.
             B-60. An illumination round fired to burn on the ground can be used to mark targets
             during day or night. Illumination rounds have an advantage over WP as target markers
             during high winds. The obscurant cloud from a WP round will be blown quickly
             downwind. The obscurants from the burning illumination round will continue to
             originate from the same point, regardless of the wind. Multiple illumination rounds are
             used to spread the illumination over the width and depth of the illuminated area.

         Considerations When Using Thermal Sights
             B-61. Although illumination rounds may aid target acquisition when friendly forces are
             using image intensification devices (such as night vision devices), this is not so when
             thermal sights are used. As the illumination flares burn out and land on the ground, they
             remain as a distinct hot spot seen through thermal sights for several minutes. This may
             cause confusion, especially if the flare canisters are between the enemy and friendly
             forces. WP rounds also can cause these hot spots which can make target identification
             difficult for gunners using thermal sights (for example, Javelin).

         AIR-GROUND OPERATIONS
             B-62. Air-ground operations are the simultaneous or synchronized employment of
             ground forces with aviation maneuver and fires to seize, retain, and exploit the initiative
             (FM 3-04). Employing the combined and complementary effects of air and ground
             maneuver and fires through air-ground operations presents the enemy with multiple
             dilemmas and ensures that aviation assets are positioned to support ground maneuver.
             Air-ground operations increase the overall combat power, mission effectiveness, agility,

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               flexibility, and survivability of the entire combined arms team. Air-ground operations
               ensure that all members of the combined arms team, whether on the ground or in the air,
               work toward common and mutually supporting objectives to meet the higher
               commander’s intent.

        ARMY AVIATION
               B-63. Army aviation attack and reconnaissance units use maneuver to concentrate and
               sustain combat power at critical times and places to find, fix, and destroy enemy forces.
               During the planning process, Army aviation attack and reconnaissance units are
               integrated into the Infantry unit’s scheme of maneuver to ensure responsiveness, synergy
               and agility during actions on the objective or upon contact with the enemy. Pre-mission
               development of control measures provides a foundation for the successful integration of
               Army aviation into Infantry operations. Among these control measures are engagement
               criteria; the triggers and conditions for execution; target control measures, such as TRPs
               or point targets; fire support coordination measures, such as no-fire area or restrictive
               fire area; engagement areas; and airspace coordinating measures, such as aerial ingress
               and egress routes and restricted operations zones.

        Army Aviation Attack Call for Fire
               B-64. Call for fire is a standardized request for fire containing data necessary for
               obtaining the required fire on a target (FM 3-09). Army aviation attack targets are
               planned on probable enemy locations. Army aviation attack call for fire is a coordinated
               attack by Army aviation attack against enemy forces in close proximity to friendly units.
               Army aviation attack call for fire (see figure B-15) is not synonymous with CAS flown
               by joint and multinational aircraft. Terminal control from ground units or controllers is
               not required due to aircraft capabilities and enhanced situational understanding of the
               aircrew. Depending on the enemy situation, Army aviation attack can be on station
               during times when contact is most likely to occur. Air-ground integration ensures
               frequencies are known and markings are standardized to prevent fratricide.
               B-65. Coordination between ground maneuver units and aviation attack units maximizes
               the capabilities of the combined arms team while minimizing the risk of fratricide and
               friendly fire. To ensure adequate air-ground integration, the following major problem
               areas should be addressed:
                           Ensure aircrews understand ground tactical plan and unit commander’s
                           intent.
                           Ensure adequate common control measures are used to allow both air and
                           ground unit’s maximum freedom of maneuver.
                           Ensure aircrews and ground forces understand methods of differentiating
                           between enemy and friendly forces on the ground.
                           Ensure aircrews understand ground force methods of designating or marking
                           targets.




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                 Figure B-15. Army aviation attack request call for fire format


         Employment Considerations
            B-66. Mission success in Army aviation attack call for fire employment depends on
            leaders conducting detailed planning and coordination between the aerial attack team
            and ground unit already engaged in close combat. Once execution begins, there must be
            integration of the fires and movement of both maneuver and aerial elements.
            B-67. During call for fire, the flight lead must have direct communication with the
            on-scene ground force commander to provide direct fire support. After receiving the call
            for fire brief from ground forces, pilots must be able to positively identify friendly
            locations before engagement. Once the crew has identified both enemy and friendly
            locations, flight leads formulate an attack plan and brief the supported commander and
            their other attack team members. (See ATP 3-09.32 for Army aviation attack call for fire
            capabilities.)
            B-68. Planning for attack reconnaissance helicopter support usually begins at the
            battalion level or above. The aviation battalion provides the aviation brigade and
            Infantry battalion with information on locations, routes, and communications before the
            attack team’s departure from its assembly area (AA). As part of this effort, Infantry
            companies and platoons usually provide information for aviation attack call for fire


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               employment. All platoon Soldiers should familiarize themselves with the procedures
               used to call for attack reconnaissance helicopter support. If attack reconnaissance
               helicopter assets are working for their battalion, the platoon and company provide
               suppressive fires on any known or suspected threat air defense artillery locations.
               B-69. Critical elements of the planning process are the procedures and resources used
               in marking and identifying targets and friendly positions. Leaders consider these factors
               thoroughly, regardless of the time available to the ground and air commanders.
               B-70. The aerial attack team coordinates directly with the lowest-level unit in contact
               on the Infantry platoon and company radio command nets. Whenever practicable, before
               the attack team launches the aviation attack call for fire operation, the leader or
               commander conducts final coordination with the attack reconnaissance helicopters in a
               concealed position known as the aerial holding area. The holding area is a point in space
               within the supported unit’s AO oriented toward the threat; it allows the attack team to
               receive requests for immediate aviation attack call for fire and expedite the attack. The
               aerial holding area could be an alternate battle position positioned out of range of the
               threat’s direct fire and indirect fire weapons ranges.
               B-71. Final coordination between the ground and helicopter units must include
               agreement on methods of identifying and marking friendly and threat positions. This
               should take advantage of the equipment and capabilities of the attack team, including
               the forward-looking infrared system (when equipped), the thermal imaging system, and
               night vision devices. Final coordination should identify limitations of the attack team as
               well. For example, ground units must understand that without a forward-looking infrared
               system attack helicopters will not be able to identify infrared light sources. In this case
               the ground unit may mark friendly positions with smoke or an enemy position with tracer
               fire.
               B-72. Coordination also should cover the battle position, and assault by fire, or support
               by fire positions used by the attack reconnaissance helicopters. The leader should offset
               these positions from the ground maneuver unit and the gun-target line of supporting fires
               to maximize the effects of the attack team’s weapons and to minimize the risk of
               fratricide. To prevent indirect fires within the AO or zone from posing a danger to the
               helicopters, the commander informs direct support artillery and organic mortars of the
               aerial positions. (See ATP 3-09.32 for additional information.)

        CLOSE AIR SUPPORT
               B-73. Infantry battalions’ allocated CAS sorties may allocate assets to individual rifle
               companies. Close air support is air action by aircraft against hostile targets that are in
               close proximity to friendly forces and that require detailed integration of each air
               mission with the fire and movement of those forces (JP 3-09.3). CAS can be employed
               to blunt an enemy attack; to support the momentum of the ground attack; to help set
               conditions for Infantry operations as part of the overall counterfire fight; to disrupt, delay
               and destroy enemy second echelon forces and reserves; and to provide cover for friendly
               movements. The effectiveness of CAS is related directly to the degree of local air
               superiority attained. Until air superiority is achieved, competing demands between CAS
               and counterair operations may limit sorties apportioned for the CAS role. CAS is the

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            primary support given to committed battalions and IBCT by Air Force, Navy, and
            Marine aircraft.

         Mission
            B-74. The IBCT normally plans and controls CAS. However, this does not preclude the
            battalion from requesting CAS, receiving immediate CAS to support a company-level
            operation, or accepting execution responsibility for a planned CAS mission. CAS is
            another means of fire support available to the battalion. In planning CAS missions, the
            commander must understand the capabilities and limitations of CAS and synchronize
            CAS missions with both the battalion fire plan and scheme of maneuver. CAS
            capabilities and limitations such as windows for use, targets, observers, and airspace
            coordination present some unique challenges, but the commander must plan CAS with
            maneuver the same way indirect artillery and mortar fires are planned. When executing
            a CAS mission, the battalion must have a plan that synchronizes CAS with maneuver
            and the scheme of fires of maneuver companies.

         Preplanned Close Air Support
            B-75. Battalion planners, in coordination with maneuver companies, forward CAS
            requests as soon as they can be forecasted. These requests for CAS normally do not
            include detailed timing information because of the lead time involved. Preplanned CAS
            requests involve any information about planned subordinate schemes of maneuver, even
            general information, which can be used in the apportionment, allocation, and distribution
            cycle.

         Immediate Close Air Support
            B-76. Immediate requests are used for air support mission requirements identified too
            late to be included in the current air tasking order. Those requests initiated below
            battalion level are forwarded to the battalion main command post by the most rapid
            means available. At battalion level, the commander, fire support officer, air liaison
            officer, and battalion operations staff officer consider each request. Approved immediate
            CAS requests are transmitted by the tactical air control party over the Joint Air Request
            Net directly to the air support operations center who works with the division Joint Air
            Ground Integration Center to execute the air tasking order, integrate airspace use and
            users, and control CAS and other air support missions in the division AO.

         Executing Close Air Support
            B-77. Units having a reasonable expectation of utilizing CAS will need to have a
            qualified JTAC, forward air controller (airborne) (FAC[A]), or JFC available. In the
            extreme circumstance that CAS is needed and a JTAC, (FAC[A]) or joint fires observer
            is not available, then aircrews executing CAS under these circumstances must be in
            contact with the ground commander (or the commander’s designated representative).
            Aircrews bear increased responsibility for the detailed integration required to minimize
            fratricide normally done by a JTAC/FAC (A)/joint fires observer. In these rare


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               circumstances, the aircrews providing CAS assist the ground movement commander to
               the greatest extent possible to bring fires to bear.
               B-78. The flow and prosecution of CAS targets normally begins with a check-in briefing
               between the aircrew and the JTAC or the FAC(A). The JTAC will give a ground
               situation update followed by a game plan and a CAS 9-line brief (see figure B-16). (See
               ATP 3-09.32 for information on check-in brief, situation update briefing.) A game plan
               is a concise situational awareness-enhancing tool to inform all players of the flow of the
               CAS mission. At a minimum, the game plan will contain the type of control and method
               of attack. The type of terminal attack control—the authority to control the maneuver of
               and grant weapons release clearance to attacking aircraft (JP 3-09.3)—and method of
               attack are separate and independent constructs. The method of attack is broken down
               into two categories: bomb on target and bomb on coordinate. The method of attack
               conveys the JTAC’s/FAC(A)’s intent for the aircraft prosecution of the target; either the
               aircraft will be required to acquire the target (bomb on target) or not (bomb on
               coordinate). These two categories define how the aircraft will acquire the target or mark
               the target. Any type of control can be utilized with either method of attack, and no type
               of control is attached to one particular method of attack. (See ATP 3-21.10 appendix D
               for additional information.)




                       Figure B-16. Game plan and 9-line close air support brief


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                                            Appendix C
                Machine Gun Employment and Theory

                Whether organic to the unit or attached, machine guns provide the
                heavy volume of close and continuous fire needed to achieve fire
                superiority. They are the Infantry platoon’s most effective weapons
                against a dismounted enemy force. These formidable weapons can
                engage enemy targets beyond the capability of individual weapons
                with controlled and accurate fire. This appendix addresses the M249
                light machine gun and M240 medium machine gun organic to the
                Infantry rifle platoon.

         TECHNICAL DATA
            C-1. Leaders must know the technical data of their assigned weapon systems and
            associated ammunition to maximize their killing and suppressive fires while minimizing
            the risk to friendly forces. This section discusses machine gun technical data of the
            Infantry platoon and squad.
            C-2. Machine gun fire has different effects on enemy targets depending on the type of
            system, ammunition used, range to target, and nature of the target. It is important
            gunners and leaders understand technical aspects of each system and different
            ammunition available to ensure the machine guns are employed in accordance with their
            capabilities. Machine guns use several different types of standard military ammunition.
            Soldiers should use only authorized ammunition manufactured to U.S. and North
            Atlantic Treaty Organization specifications.
            C-3. The following paragraphs discuss the technical data for the tactical employment
            of M249 and M240-series machine guns. See the specific publication of the machine
            guns listed in table C-1 on page C-2 for complete information regarding their technical
            data.




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        Appendix C



                                Table C-1. Machine gun technical data


         Field Manual                        TC 3-22.249                       TC 3-22.240
                                   5.56-mm gas-operated automatic     7.62-mm gas-operated medium
         Description
                                              weapon                          machine gun
                                      16.41 lbs. (gun with barrel)      27.6 lbs. (gun with barrel)
         Weight
                                            16 lbs. (tripod)                  20 lbs. (tripod)
         Length                                 104 cm                          110.5 cm
         Sustained Rate of
         Fire                               50 RPM 6 to 9                    100 RPM 6 to 9
         Rounds/Burst                   rounds 4 to 5 seconds             rounds 4 to 5 seconds
         Interval Minutes to                 10 minutes                        10 minutes
         Barrel Change


         Rapid Rate of Fire                100 RPM 6 to 9                     200 RPM 10 to
         Rounds/Burst
                                        rounds 2 to 3 seconds           13 rounds 2 to 3 seconds
         Interval Minutes to
         Barrel Change                        2 minutes                         2 minutes



                                             850 RPM in                       650 to 950 RPM
         Cyclic Rate of Fire        continuous burst barrel change   in continuous burst barrel change
                                            every 1 minute                     every 1 minute
                                                                           Bipod/point: 600 m
                                          Bipod/point: 600 m               Tripod/point: 800 m
         Maximum Effective                Bipod/area: 800 m                Bipod/area: 800 m
         Ranges                          Tripod/area: 1,000 m             Tripod/area: 1,100 m
                                            Grazing: 600 m                Suppression: 1,800 m
                                                                             Grazing: 600 m
         Maximum Range                         3,600 m                           3,725 m
         Legend: cm–centimeter; lbs.–pounds; m–meters; mm–millimeter; RPM–rounds per minute; TC–
         training circular


        M249 LIGHT MACHINE GUN
              C-4. The M249 light machine gun is organic to the Infantry rifle squad. It provides
              squads with a light automatic weapon for employment during assault. (See figure C-1.)
              The M249 also can be used in the medium machine gun role in defensive missions or
              support by fire position. The M249 fires from the bipod, the shoulder, the hip, or from
              the underarm position. The hip and underarm positions normally are used for close in
              fire during an assault when the M249 gunner is on the move and does not have time to
              set the gun in the bipod position. It is best used when a high rate of fire is needed
              immediately. Accuracy of fire is decreased when firing from either the hip or shoulder.




        C-2                                        ATP 3-21.8




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                           Figure C-1. M249 light machine gun, bipod mode

            C-5. Available M249 ammunition is classified as follows (see table C-2):
                    M855 5.56-mm ball. For use against light materiel, utility/unarmored
                    vehicles, and personnel, but not armored vehicles.
                    M856 5.56-mm tracer. Generally used for adjustments after observation,
                    incendiary effects, and signaling. When tracer rounds are fired, they normally
                    are mixed with ball ammunition in a ratio of four ball rounds to one tracer
                    round.
                           Table C-2. M249 light machine gun ballistic data



              Ball, M855               3,600                 —             Light materials, personnel
                                                                           Observation and adjustment
             Tracer, M856              3,600                 900           of fire, incendiary effects,
                                                                           signaling


         M240B MEDIUM MACHINE GUN
            C-6. Two medium machine guns and crews are found in the weapons squad. (See
            figure C-2 on page C-4.) The M240B can be fired in the assault mode in emergencies,
            but normally is fired from the bipod or tripod platform. It also can be vehicle mounted.
            Platoon leaders (through their weapons squad leader) employ the M240B medium
            machine guns with a rifle squad to provide long range, accurate, sustained fires against
            dismounted Infantry, apertures in fortifications, buildings, and lightly armored vehicles.
            The M240B also provides a high volume of short-range fire in self-defense against
            aircraft. Machine gunners use point, traversing, searching, or searching and traversing
            fire to kill or suppress targets.




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               Figure C-2. M240B medium machine gun, bipod- and tripod-mounted

              C-7. Available M240 medium machine gun ammunition is classified as follows (see
              table C-3):
                          M80 7.62-mm ball. For use against light materiel and personnel.
                          M61 7.62-mm armor piercing. For use against lightly armored targets.
                          M62 7.62-mm tracer. For observation of fire, incendiary effects, signaling,
                          and for training. When tracer rounds are fired, they normally are mixed with
                          ball ammunition in a ratio of four ball rounds to one tracer round.
                            Table C-3. M240 medium machine gun ammunition



               Ball, M80             3,725                 —            Light materials, personnel
         Armor Piercing,                                                Lightly armored targets
                                     3,725                 —
             M61
                                                                        Observation and adjustment of
              Tracer, M62            3,725                900           fire, incendiary effects,
                                                                        signaling


        M240L MEDIUM MACHINE GUN
              C-8. The M240L short barrel reduces the length of the standard barrel by 4 inches and
              the weight by .5 pounds, while maintaining accurate fire at extended ranges. The shorter
              barrel improves mobility in military operations in urban terrain environments. The
              M240L is 5.1 pounds lighter than the M240B and is 5.6 pounds lighter with the short
              barrel installed. (See figure C-3.)

                 Note. The M240L incorporates titanium construction and alternative
                 manufacturing methods for fabricating major M240B components to achieve
                 significant weight savings. These improvements reduce the Soldier’s combat
                 load while allowing easier handling and movement of the weapon.




        C-4                                       ATP 3-21.8




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                      Figure C-3. M240L Medium machine gun, bipod mode


         COMBAT TECHNIQUES OF FIRE
            C-9. Combat techniques of fire illustrates the characteristics of machine gun fire, the
            types of enemy targets engaged, and how to apply machine gun fire on those enemy
            targets. Read the appropriate publications as shown in table C-1 on page C-2 for more
            weapon-specific information on engaging enemy targets with a particular machine gun.

         CHARACTERISTICS OF FIRE
            C-10. The gunner’s or leader’s knowledge of the machine gun is not complete until the
            gunner or leader learns about the action and effect of the projectiles when fired. The
            following definitions will help the leader, gunner, and assistant gunner understand the
            characteristics of fire of the weapons squad’s machine guns.

         Line of Sight
            C-11. Line of sight is an imaginary line drawn from the firer’s eye through the sights to
            the point of aim. Example line of sight restrictions can be obstacles, terrain, and
            vegetation driven.

         Burst of Fire
            C-12. A burst of fire is a number of successive rounds fired with the same elevation and
            point of aim when the trigger is held to the rear. The number of rounds in a burst can
            vary depending on the type of fire employed.

         Trajectory
            C-13. Trajectory is the curved path of the projectile in its flight from the muzzle of the
            weapon to its impact. The major factors influencing trajectory are the velocity of the
            round, gravity, rotation of the round, and air resistance. As the range to the target
            increases, so does the curve of trajectory. (See figure C-4 on page C-6.)




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                             Figure C-4. Trajectory and maximum ordinate


        Cone of Fire
              C-14. The cone of fire is the pattern formed by the different trajectories in each burst as
              they travel downrange. Vibration of the weapon and variations in ammunition and
              atmospheric conditions all contribute to the trajectories making up the cone of fire. (See
              figure C-5.)




                                Figure C-5. Cone of fire and beaten zone


        Beaten Zone
              C-15. The beaten zone is the elliptical pattern formed when the rounds within the cone
              of fire strike the ground or target. (See figure C-5.) The size and shape of the beaten
              zone change as a function of the range to and slope of the target but is normally oval or
              cigar shaped, and density of rounds decreases toward the edges. Gunners and automatic
              riflemen should engage targets to take maximum effect of the beaten zone. The simplest
              way to do this is to aim at the center base of the target. Most rounds will not fall over
              (beyond) the target and falling short creates ricochets into the target.
              C-16. Effective beaten zone. Leaders and gunners strive to position their gun teams to
              achieve an effective beaten zone. Because of dispersion, only part of the beaten zone in
              which 85 percent of the rounds fall is considered the effective beaten zone.
              C-17. Effect of range on the beaten zone. As the range to the target increases, the beaten
              zone becomes shorter and wider. Conversely, as the range to the target decreases, the
              beaten zone becomes longer and narrower. (See table C-4.)


        C-6                                        ATP 3-21.8




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            C-18. Effect of slope on the beaten zone. The length of the beaten zone for given ranges
            varies according to the slope of the ground. On rising ground, the beaten zone becomes
            shorter but remains the same width. On ground sloping away from the gun, the beaten
            zone becomes longer but remains the same width.
                                Table C-4. Beaten zones of the M240


                             Range: 500 meters (1 meter wide by 110 meters long)
                            Range: 1,000 meters (2 meters wide by 75 meters long)
                            Range: 1,500 meters (3 meters wide by 55 meters long)
                            Range: 2,000 meters (4 meters wide by 50 meters long)


         Danger Space
            C-19. This is the space between the muzzle of the weapon and target where trajectory
            does not rise above 1.8 meters (the average height of a standing Soldier) including the
            beaten zone. When firing over level or uniformly sloping terrain danger space would
            include the M240 and M249 attaining grazing fires (see paragraph C-23) to a maximum
            of 600 meters. Gunners should consider the danger space of weapons when planning
            overhead fires. Plunging fire (see paragraph C-24) occurs when there is little or no
            danger space from the muzzle of the weapon to the beaten zone.

         Surface Danger Zone
            C-20. Surface danger zones were developed for each weapon and are defined as the area
            in front, back, or side of the muzzle of the weapon providing a danger to friendly forces
            when the weapon is fired. The surface danger zone is not just the area comprising the
            cone of fire as it moves downrange. It also involves the possible impact area on both
            sides of the gun target line and possible dispersion of materiel caused by the strike of
            the rounds, the possible ricochet area, and areas to the rear adversely affected by the
            effects of firing the weapon. (See figure C-6 on page C-8.)
            C-21. Surface danger zones were developed primarily for ranges and must be complied
            with when training, but they also should be complied with in combat, when possible, to
            minimize risk to friendly forces. (See DA Pam 385-63 for additional information.)




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                         Figure C-6. Surface danger zones for machine guns


        CLASSIFICATIONS OF AUTOMATIC WEAPONS FIRE
              C-22. The U.S. Army classifies automatic weapons fires with respect to the ground,
              target, and weapon. Fires with respect to the ground include grazing and plunging fire.

        Classification of Fires with Respect to the Ground
              C-23. Grazing fires. Automatic weapons achieve grazing fire when the center of the
              cone of fire does not rise more than 1 meter above the ground. Grazing fire is employed
              in the final protective line (FPL) in the defense and is only possible when the terrain is
              level or sloping uniformly. When firing over level or uniformly sloping terrain, the
              machine gun M240-series and M249 can attain a maximum of 600 meters of grazing
              fire. Typically, an FPL is planned where the gunner can achieve grazing fire. The unit
              plans indirect fires, including M320s, to cover dead space along the FPL.
              C-24. Plunging fires. Plunging fire occurs when there is little or no danger space from
              the muzzle of the weapon to the beaten zone. It occurs when weapons fire at long range,
              when firing from high ground to low ground, when firing into abruptly rising ground, or
              when firing across uneven terrain, resulting in a loss of grazing fire at points along the
              trajectory. (See figure C-7.)

                Note. Folds or depressions in the ground preventing a target from being engaged
                from a fixed position are termed dead space. Paragraph C-72 discusses methods
                of determining dead space.




        C-8                                        ATP 3-21.8




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                     Figure C-7. Classes of fires with respect to the ground


         Classification of Fires with Respect to the Target
            C-25. Fires with respect to the target include enfilade, frontal, flanking, and oblique fire.
            (See figure C-8 on page C-10, figures C-9 and C-10 on page C-11.) These targets
            normally are presented to gun teams by the enemy and must be engaged as they are
            presented. For example, if the enemy presents its flank to the gun crew as it moves past
            their position from the left or right, the gun crew will have no choice but to employ
            flanking fire on the enemy.
            C-26. Leaders and gunners strive to position their gun teams where they can best take
            advantage of the machine gun’s beaten zone with respect to an enemy target. Channeling
            the enemy by use of terrain or obstacles so they approach a friendly machine gun
            position from the front in a column formation is one example. In this situation, the
            machine gun would employ enfilade fire on the enemy column, and effects of the
            machine gun’s beaten zone would be much greater than if it engaged enemy column
            from the flank.
            C-27. Enfilade fire. Fires that occur when the long axis of the beaten zone coincides or
            nearly coincides with the long axis of the target. It can be frontal fire on an enemy
            column formation or flanking fire on an enemy line formation. This is the most desirable
            class of fire with respect to the target because it makes maximum use of the beaten zone.
            Leaders and gunners always should strive to position the guns to the extent possible
            engaging enemy targets with enfilade fire.


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               C-28. Frontal fire. Fires that occur when the long axis of the beaten zone is at a right
               angle to the front of the target. This type of fire is highly desirable when engaging a
               column formation. It then becomes enfilade fire as the beaten zone coincides with the
               long axis of the target. Frontal fire is not as desirable when engaging a line formation
               because most of the beaten zone normally falls below or after the enemy target.
               C-29. Flanking fire. Fires that are delivered directly against the flank of the target.
               Flanking fire is highly desirable when engaging an enemy line formation. It then
               becomes enfilade fire as the beaten zone will coincide with the long axis of the target.
               Flanking fire against an enemy column formation is least desirable because most of the
               beaten zone normally falls before or after the enemy target.
               C-30. Oblique fire. Gunners and automatic riflemen achieve oblique fire when the long
               axis of the beaten zone is at an angle other than a right angle to the front of the target.
               Oblique fire is less desirable than enfilade fire with respect to the target because it does
               not maximize the use of the beaten zone.




                          Figure C-8. Classes of fire with respect to the target

        C-10                                         ATP 3-21.8




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                              Figure C-9. Frontal fire and flanking fire




                             Figure C-10. Oblique fire and enfilade fire


         Classification of Fires with Respect to the Machine Gun
            C-31. Fires with respect to the weapon include fixed, traversing, searching, traversing
            and searching, swinging traverse, and free gun fires. (See figure C-11 on page C-13.)
            C-32. Fixed fire. Fire is delivered against a stationary point target when the depth and
            width of the beaten zone covers the target with little or no manipulation needed. After
            the initial burst, the gunners follow changes or movement of the target without
            command.
            C-33. Traversing fire. Traversing disperses fires in width by successive changes in
            direction, but not elevation. It is delivered against a wide target with minimal depth.


                                               ATP 3-21.8                                    C-11




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               When engaging a wide target requiring traversing fire, the gunner selects successive
               aiming points throughout the target area. These aiming points should be close enough
               together to ensure adequate target coverage. However, they do not need to be so close
               as to waste ammunition by concentrating a heavy volume of fire into a small area.
               C-34. Searching fire. Searching distributes fires in-depth by successive changes in
               elevation. It is employed against a deep target or a target having depth and minimal
               width, requiring changes in only the elevation of the gun. The amount of elevation
               change depends upon the range and slope of the ground.
               C-35. Traversing and searching fire. This class of fire is a combination in which
               successive changes in direction and elevation result in the distribution of fires both in
               width and depth. It is employed against a target whose long axis is oblique to the
               direction of fire.
               C-36. Swinging traverse. Swinging traverse fire is employed against targets requiring
               major changes in direction but little or no change in elevation. Targets may be dense,
               wide, in close formations moving slowly toward or away from the gun, or vehicles or
               mounted troops moving across the front. If tripod mounted, the traversing slide lock
               lever is loosened enough to permit the gunner to swing the gun laterally. When firing
               swinging traverse, the weapon normally is fired at the cyclic rate of fire. Swinging
               traverse consumes a lot of ammunition and the weapon does not have a beaten zone
               because the rapid traverse distributes the impact of the rounds laterally across a wide
               area.
               C-37. Free gun. Fire delivered against moving targets rapidly engaging with fast
               changes in both direction and elevation. Examples are aerial targets, vehicles, mounted
               troops, or Infantry in relatively close formations moving rapidly toward or away from
               the gun position. When firing free gun, the weapon normally is fired at the cyclic rate of
               fire. Free gunfire consumes a lot of ammunition and does not have a beaten zone because
               each round seeks its own area of impact.




        C-12                                        ATP 3-21.8




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                       Figure C-11. Classes of fire with respect to the gun


         APPLICATION OF FIRE
            C-38. Application of fire consists of the methods the gunner uses to cover an enemy
            target area. Training these methods of applying fire can be accomplished only after the
            weapons squad leader and gunners have learned how to recognize the different types of
            targets they may find in combat. They also must know how to distribute and concentrate
            their fire, and how to maintain the proper rate of fire. Normally, the gunner is exposed
            to two types of targets in the squad or platoon area of operations (AO): enemy soldiers
            and supporting automatic weapons. Leaders must ensure targets have priority and are
            engaged immediately.
            C-39. Machine gun fire must be distributed over the entire target area. Improper
            distribution of fire results in gaps allowing the enemy to escape or use its weapons
            against friendly positions without opposition.
            C-40. The method of applying fire to a target is generally the same for either a single
            gun or a pair of guns. Direct lay is pointing the gun for direction and elevation, so the
            sights are aligned directly on the target. Fire is delivered in width, depth, or in a
            combination of the two. To distribute fire properly, gunners must know where to aim,
            how to adjust their fire, and direction to manipulate the gun. The gunner must aim, fire,

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               and adjust on a certain point of the target. Binoculars may be used by the leader to
               facilitate fire adjustment.

        Sight Picture
               C-41. A correct sight picture has the target, front sight post, and rear sight aligned. The
               sight picture has sight alignment and placement of the aiming point on the target. The
               gunner aligns the front sight post in the center of the rear sight and aligns the sights with
               the target. The top of the front sight post is aligned on the center base of the target.

        Beaten Zone
               C-42. The gunner ensures throughout firing the center of the beaten zone is maintained
               at the center base of the target for maximum effect from each burst of fire. When this is
               done, projectiles in the upper half of the cone of fire will pass through the target if it has
               height, and projectiles in the lower half of the beaten zone may ricochet into the target.
               (See figure C-12.)




          Figure C-12. Line of aim and placement of center of beaten zone on target

               C-43. The gunner must move the beaten zone in a certain direction over the target. The
               direction depends on the type of target and whether the target is engaged with a pair of
               guns or a single gun. When engaging targets other than point targets with a pair of guns,
               the targets are divided so fire is distributed evenly throughout the target area. Fire
               delivered on point target, or a specific area of other target configurations is called
               concentrated fire.

        TARGET ENGAGEMENTS
               C-44. Gunners engage targets throughout their respective sectors. They must know how
               to engage all types of targets, either individually or with other gunners. When a single
               gunner is assigned targets, the gunner is responsible for covering the entire target. When
               a pair of gunners engage an enemy target, each gunner normally is responsible for

        C-14                                          ATP 3-21.8




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            covering one half of the target. The gunners must be prepared to engage the entire target
            should the other gun go down.

         Enemy Troops and Light Vehicles
            C-45. Gunners’ targets in combat are normally enemy troops and light vehicles in
            various formations or displacements, which require distribution and concentration of
            fire. These targets often have both width, depth, and application of machine gun fire is
            designed to cover the area in which the enemy is known or suspected to be completely.
            These targets may be easy to see or may be indistinct and difficult to locate. The size of
            the target, stated in terms of the number of aiming points required to engage it
            completely, determines its type.

         Self-Defense Against Hostile Low-Flying, Low-Performance Aircrafts
            C-46. The machine gun can provide units with a self-defense capability against hostile
            low-flying, low-performance aircraft. These guns are employed in the air defense role
            as part of the unit’s local defense. The machine guns are not components of an integrated
            and coordinated air defense system. Unless otherwise directed, hostile aircraft within
            range of the gun (about 800 meters maximum effective range) should be engaged. The
            decision will be made by the commander or leader. Typical targets are surveillance,
            reconnaissance, and liaison aircraft; troop carriers; helicopters; and drones.
            C-47. Employment of machine guns used for air defense is guided by the following
            defensive design factors:
                      Defensive design should produce an equally balanced defense in all
                      directions unless a forced route of ingress/egress exists.
                      Machine guns should be positioned so the maximum number of targets can
                      be engaged, continuous fire can be delivered, and likely routes of approach
                      are covered.
                      Machine guns used to defend march columns should be interspersed in the
                      convoy, with emphasis on the lead and rear elements.

         Selection and Engagement Control
            C-48. These actions depend upon visual means. The sites selected for guns must provide
            maximum observation and unobstructed sectors of fire. Units furnished machine guns
            in sufficient numbers should position them within mutually supportive distances of 90
            to 360 meters. Each gun is assigned a primary and secondary sector of fire. Weapon
            crews maintain constant vigilance in their primary sectors of fire, regardless of the sector
            in which the guns are engaged.

         Distributed and Concentrated Fire
            C-49. Distributed fire is delivered in width and depth such as at an enemy formation.
            Concentrated fire is delivered at a point target such as an automatic weapon or an enemy
            fighting position.


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        Rate of Fire
               C-50. The size and nature of the enemy target determines how machine gun fire is
               applied. Automatic weapons fire in one of three rates: rapid, sustained, or cyclic. The
               rates of fire for each machine gun are shown in table C-1 on page C-2. The situation
               normally dictates the rate used, but the availability of ammunition and need for barrel
               changes play important roles as well. The rate of fire must be controlled to cover the
               target adequately, but not waste ammunition or destroy the barrel.

        Rapid Fire
               C-51. Rapid rate of fire places an exceptionally high volume of fire on an enemy
               position. Machine gunners normally engage targets at the rapid rate to suppress the
               enemy quickly. Rapid fire requires more ammunition than sustained fire and requires
               frequent barrel changes.

        Sustained Fire
               C-52. Once the enemy has been suppressed, machine gunners fire at the sustained rate.
               Sustained fire conserves ammunition and requires only infrequent barrel changes, but it
               might not be enough volume of fire to suppress or destroy.

        Cyclic Rate of Fire
               C-53. To fire the cyclic rate, the gunner holds the trigger to the rear while the assistant
               gunner feeds ammunition into the weapon. This normally is used only to engage aerial
               targets in self-defense or to fire the FPLs in the defense to protect the perimeter. This
               produces the highest volume of fire the machine gun can fire but can permanently
               damage the machine gun and barrel and should be used only in case of emergency.

        Limited Visibility
               C-54. Gunners have difficulty detecting and identifying targets during limited visibility.
               The leader’s ability to control the fires of the gunners’ weapons also is reduced;
               therefore, the leader may instruct the gunners to fire without command when targets
               present themselves.
               C-55. Gunners should engage targets only when they can identify the targets, unless
               ordered to do otherwise. For example, if one gunner detects a target and engages it, the
               other gunner observes the area fired upon and adds fire only if the gunner can identify
               the target or if ordered to fire.
               C-56. Often referred to as engagement criteria, a trigger specifies the circumstances in
               which subordinate elements should engage. The circumstances can be based on a
               friendly or enemy event. For example, the trigger for a friendly platoon to initiate
               engagement could be three or more enemy combat vehicles passing or crossing a given
               point or line. This line can be any natural or man-made linear feature, such as a road,
               ridgeline, or stream. It may also be a line perpendicular to the unit’s orientation,
               delineated by one or more reference points.


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             C-57. Tracer ammunition helps a gunner engage targets during limited visibility and
             should be used if possible. It is important to note in certain circumstances the enemy
             will have an easy time identifying the machine gun’s position if the gunner uses tracer
             ammunition. The need to engage targets must be balanced with the need to keep the guns
             safe before deciding to employ tracers. If firing unaided or during limited visibility,
             gunners must be trained to fire low at first and adjust upward. This overcomes the
             tendency to fire high.
             C-58. When two or more gunners are engaging linear targets, linear targets with depth,
             or deep targets, they do not engage these targets as they would when visibility is good.
             With limited visibility, the center and flanks of these targets may not be defined clearly.
             Therefore, each gunner observes the tracers and covers what each gunner believes to be
             the entire target.

         Techniques
             C-59. Techniques of fire include assault fire, overhead fire, and fire from a defilade
             position. Generally, only automatic rifles use assault fire (see paragraphs C-126 to C-128
             when the medium machine gun is used in the assault element).

         Assault Fire
             C-60. Automatic riflemen use assault fire when in close combat. Assault fire involves
             firing without the aid of sights using the hip, shoulder, and underarm positions. The
             underarm position is best when rapid movement is required. In all three positions,
             automatic riflemen adjust their fire by observing the tracer and impact of the bullets on
             the target area. Additional considerations for automatic riflemen using assault fire
             include:
                        Maintaining alignment with the rest of the assault element.
                        Reloading rapidly.
                        Aiming low and adjusting the aim upward toward the target.
                        Distributing fires across the objective when not engaging enemy automatic
                        weapons.
                        Automatic riflemen can control rates of fire by firing short bursts as they
                        advance, for instance firing every other left step, every left step, or every step.

         Overhead Fire
             C-61. Gunners can use overhead fire when there is sufficient low ground between the
             machine gun and target area of the maneuver friendly forces. A machine gun on a tripod
             is capable of delivering this type of fire because of the small and uniform dispersion of
             the cone of fire. Gunners must accurately estimate range to the target and establish a
             safety limit imaginary line parallel to the target where fire would cause casualties to
             friendly Soldiers. Gun crews and leaders must be aware of this safety limit. Leaders
             must designate signals for lifting or shifting fires. Gunners should not attempt overhead
             fires if the terrain is level or slopes uniformly, if the barrel is badly worn, or if visibility
             is poor.


                                                   ATP 3-21.8                                         C-17




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               C-62. Gunner’s rule. The gunner’s rule can be applied when the friendly troops are at
               least 350 meters in front of the gun position and range to the target is 850 meters or less.
               (See figure C-13.) The tripod mounted machine gun rule follows:
                          Lay the gun on the target with the correct sight setting to hit the target.
                          Without disturbing the lay of the gun, set the rear sight at a range of
                          1,600 meters.
                          Look through the sights and notice where the new line of aim strikes the
                          ground. This is the limit of troop safety. When the feet of the friendly troops
                          reach this point, fire must be lifted or shifted.




                                 Figure C-13. Application of gunner’s rule

               C-63. Leader’s rule. When the range to the target is greater than 850 meters, overhead
               fire should be delivered only in an emergency. Even then, fire should extend only to a
               range at which the tracers or strike of the bullets can be seen by the gunner. In this
               situation, the leader’s rule applies. (See figure C-14.) The platoon or section leader uses
               the leader’s rule only when the target is greater than 850 meters. The rule follows:
                           Select a point on the ground where it is believed friendly troops can advance
                           with safety.
                           Determine the range to this point by the most accurate means available.
                           Lay the gun on the target with the correct sight setting to hit the target.
                           Without disturbing the lay of the gun, set the rear sight to 1,600 meters or the
                           range to the target plus 500 meters, whichever is the greater of the two ranges.
                           Under no conditions should the sight setting be less than 1,500 meters.
                           Note the point where the new line of aim strikes the ground:
                               If it strikes at the selected point, that point marks the limit of safety.
                               If it strikes short of the selected point, it is safe for troops to advance to
                               the point where the line of aim strikes the ground and to an unknown point
                               beyond. If fire is called for after friendly troops advance farther than the

        C-18                                          ATP 3-21.8




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                           point where the line of aim strikes the ground, this farther point is
                           determined by testing new selected points until the line of aim and
                           selected point coincide.
                           If it clears the selected point, it is safe for troops to advance to the selected
                           point and to an unknown point beyond. If it is advantageous to have troops
                           advance beyond the selected point, this farther point must be determined
                           by testing new selected points until the line of aim and selected point
                           coincide. This point marks the line of safety.




                              Figure C-14. Application of leader’s rule

         Fire from a Defilade Position
             C-64. Defilade positions protect gunners from frontal or enfilading fires. (See
             figure C-15 on page C-20.) Cover and concealment may not provide the gunner a view
             of some or all of the target area. In this instance, some other member of the platoon or
             squad must observe the impact of the rounds and communicate adjustments to the
             gunner. (See figure C-16 on page C-20.) Gunners and leaders must consider the
             complexity of laying on the target. They also must consider the gunner’s inability to
             make rapid adjustments to engage moving targets, which includes the ease with which
             targets are masked and the difficulty in achieving grazing fires for an FPL.




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                                       Figure C-15. Defilade positions




                                   Figure C-16. Observer adjusting fire


        PREDETERMINED FIRES
               C-65. Predetermined fires organize the battlefield for gunners. They allow the leader
               and gunner to select potential targets or target areas most likely to be engaged or have
               tactical significance. This includes dismounted enemy avenues of approach, likely
               positions for automatic weapons, and probable enemy assault positions.

        TERMINOLOGY
               C-66. The terminology used by gunners for predetermined fires maximizes the
               effectiveness of the machine gun during good as well as limited visibility. It enhances
               fire control by reducing the time required to identify targets, determine range, and
               manipulate the weapon onto the target. Abbreviated fire commands and previously
               recorded data enable the gunner to aim or adjust fire on the target quickly and accurately.
               Selected targets should be fired on in daylight whenever practical to confirm data. The
               standard range card (GTA 07-10-001 [Machine Gunner’s Card] outlines the process in
               preparing a machine gun range card for the weapon’s primary position) identifies the

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            targets and provides a record of firing data. DA Form 5517 provides a record of firing
            data and aids defensive fire planning. If time permits, the gunner also prepares standard
            range cards for the weapon’s alternate and supplementary positions. Gunners need to
            know several terms associated with predetermined fire.

         Sector of Fire
            C-67. A sector of fire is that area assigned to a unit or weapon system in which it will
            engage the enemy according to the established engagement priorities (FM 3-90).
            Individual Soldiers and gunners normally are assigned a primary and a secondary sector
            of fire.

         Planned Targets
            C-68. The platoon leader or weapons squad leader will designate planned targets within
            the primary and secondary sectors of fire. The gunner will number them, determine
            firing data, and can then fire them as directed whether visible, on command, or in periods
            of limited visibility.

         Final Protective Line
            C-69. An FPL is a predetermined line along which grazing fire is placed to stop an
            enemy assault. If an FPL is assigned, (see figure C-17) the machine gun is sighted along
            it except when other targets are being engaged. An FPL becomes the machine gun’s part
            of the unit’s FPFs. An FPL is fixed in direction and elevation. However, a small shift
            for search must be employed to prevent the enemy from crawling under the FPL and to
            compensate for irregularities in the terrain or the sinking of the tripod legs into soft soil
            during firing. Fire must be delivered during all conditions of visibility. The FPL is
            always the left or right limit of an assigned primary sector of fire.
            C-70. A good FPL covers the maximum area with grazing fire. Grazing fire can be
            obtained over various types of terrain out to a maximum of 600 meters. To obtain the
            maximum extent of grazing fire over level or uniformly sloping terrain, the gunner sets
            the rear sight at 600 meters. The gunner then selects a point on the ground the gunner
            estimates to be 600 meters from the machine gun, and the gunner aims, fires, and adjusts
            on that point. To prevent enemy soldiers from crawling under grazing fire, the gunner
            searches (downward) by lowering the muzzle of the weapon.




                   Figure C-17. Final protective line control measure symbol


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        Principal Direction of Fire
               C-71. Principal direction of fire (known as PDF) is assigned to a gunner to cover an area
               having good fields of fire or has a likely dismounted avenue of approach. It also provides
               mutual support to an adjacent unit. Machine guns are sited using the PDF if an FPL has
               not been assigned. If a PDF is assigned and other targets are not being engaged, machine
               guns remain on the PDF. A PDF has the following characteristics:
                          It is used only if an FPL is not assigned; it then becomes the machine gun’s
                          part of the unit’s FPFs.
                          When the target has width, direction is determined by aiming on one edge of
                          the target area and noting the amount of traverse necessary to cover the entire
                          target.
                          The gunner is responsible for the entire wedge-shaped area from the muzzle
                          of the weapon to the target, but elevation may be fixed for a priority portion
                          of the target.

                 Note. Figure C-18 shows the sector of fire of an automatic rifle or machine gun.
                 In this example, the PDF is along the left side of the sector. The field A shows
                 the equipment symbol for an automatic rifle or machine gun.




                   Figure C-18. Principal direction of fire control measure symbol


        Dead Space and Grazing Fire
               C-72. The extent of grazing fire and dead space may be determined in two ways. In the
               preferred method, the machine gun is adjusted for elevation and direction. A squad
               member then walks along the FPL while the gunner aims through the sights. In places
               where the Soldier’s waist (midsection) falls below the gunner’s point of aim, dead space
               exists. Hand and arm signals (see TC 3-21.60) must be used to control the Soldier who
               is walking and to obtain an accurate account of the dead space and its location. Another
               method is to observe the flight of tracer ammunition from a position behind and to the
               flank of the weapon.

        Primary Sector of Fire
               C-73. The primary sector of fire is assigned to the gun team to cover the most likely
               avenue of enemy approach from all types of defensive positions. Secondary sectors of

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            fire, when there are no targets in the primary sector or when the leader needs to cover
            the movement of another friendly element, correspond to another element’s primary
            sector of fire to obtain mutual support. When used, the tripod will be set to fire into the
            primary sector of fire. If assigned, the FPL will generally be the left or right limit of the
            primary sector of fire.

         Secondary Sector of Fire
            C-74. The secondary sector of fire is assigned to the gun team to cover the second most
            likely avenue of enemy approach. It is fired from the same gun position as the primary
            sector of fire; however, the gun will probably have to be dismounted from the tripod to
            fire within the secondary sector of fire.

         FIELD EXPEDIENT TECHNIQUES
            C-75. When laying the machine gun for predetermined targets, the gunner can use field
            expedients as a means of engaging targets when other sources are not available. These
            can include following:

         Base Stake Technique
            C-76. A base stake is used to define sector limits and may provide the lay of the FPL or
            predetermined targets along a primary or secondary sector limit. This technique is
            effective in all visibility conditions. The gunner uses the following steps:
                        Defines the sector limits by laying the gun for direction along one sector limit
                        and by emplacing a stake along the outer edge of the folded bipod legs.
                        Rotates the legs slightly on the receiver, so the gunner takes up the “play.”
                        Uses the same procedure for placing a stake along the opposite sector limit.
                        Lays the machine gun along the FPL by moving the muzzle of the machine
                        gun to a sector limit. Adjusts for elevation by driving a stake into the ground
                        so the top of the stake is under the gas cylinder extension. This allows a few
                        mils of depression to cover irregularities in the terrain.
                        Lays the machine gun to engage other targets within a sector limit. Done in a
                        primary sector by using the procedure described previously, except the
                        gunner keeps the elevation fixed.

         Notched-Stake or Tree-Crotch Technique
            C-77. The gunner uses the notched-stake or tree-crotch technique with the bipod mount
            to engage predetermined targets within a sector or to define sector limits. This technique
            is effective during all conditions of visibility and requires little additional materiel. The
            gunner uses the following steps:
                        Drives either a notched stake or tree crotch into the ground where selected
                        targets are anticipated. Places the stock of the machine gun in the nest of the
                        stake or crotch and adjusts the weapon to hit the selected targets and to define
                        the sector limits.


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                          Digs shallow, curved trenches or grooves for the bipod feet. (These trenches
                          allow for rotation of the bipod feet as the gunner moves the stock from one
                          crotch or stake to another.)

        Horizontal Log or Board Technique
               C-78. This technique is used with the bipod or tripod mount to mark sector limits and
               engage wide targets. It is good for all visibility conditions and is best suited for flat, level
               terrain. The gunner uses the following steps:

        Bipod-Mounted Machine Gun
               C-79. Using a bipod-mounted machine gun, the gunner places a log or board beneath
               the stock of the weapon so the stock can slide across it freely. The gunner digs shallow,
               curved trenches or grooves for the bipod feet to allow rotation of the feet as the gunner
               moves the stock along the log or board. (The gunner may mark the sector limits by
               notching or placing stops on the log or board. The gunner uses the bipod firing position
               and grip.)

        Tripod-Mounted Machine Gun
               C-80. Using a tripod-mounted machine gun, the gunner places a log or boards beneath
               the barrel, positioning it so the barrel, when resting on the log or board, is at the proper
               elevation to obtain grazing fire. When appropriate, the gunner marks the sector limits as
               described of the bipod in the preceding paragraph. (This technique is used only if a
               traversing and elevating mechanism is not available.)

        FIRE CONTROL
               C-81. Fire control includes all actions of leaders and Soldiers in planning, preparing,
               and applying fire on a target. Leaders select and designate targets. They also designate
               the midpoint and flanks or ends of a target unless they are obvious to the gunner.
               Gunners fire at the instant desired. They then adjust fire, regulates the rate of fire, shift
               from one target to another, and cease fire. When firing, gunners should continue to fire
               until the target is neutralized or until signaled to do otherwise by their leader.
               C-82. Predetermined targets, including the FPL or PDF, are engaged on order or by
               SOP. The signal for calling these fires normally is stated in the defensive order. Control
               these predetermined targets by using hand and arm signals, voice commands, or
               pyrotechnic devices. Gunners fire the FPL or PDF at the sustained rate of fire unless the
               situation calls for a higher rate. When engaging other predetermined targets, the
               sustained rate of fire also is used unless a different rate is ordered.

        METHODS OF FIRE CONTROL
               C-83. The noise and confusion of battle may limit the use of some of the following fire
               control methods. Therefore, leaders must select a method or combination of methods to
               accomplish the mission.


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         Oral
            C-84. The oral fire control method can be effective, but sometimes leaders may be too
            far away from the gunner, or the noise of the battle may make it impossible for them to
            hear. The primary means of the oral fire control method is the issuance of a fire
            command (see paragraph C-90).

         Hand and Arm Signals
            C-85. Hand and arm signals are an effective fire control method when the gunner can
            see the leader. All gunners must know the standard hand and arm signals. The leader
            gets the gunner’s attention and points to the target. When the gunner returns the READY
            signal, the leader commands FIRE. (See TC 3-21.60 for hand and arm signals.)

         Prearranged Signals
            C-86. Prearranged signals are either visual or sound signals such as casualty-producing
            devices (rifle or claymore), pyrotechnics, whistle blasts, or tracers. These signals should
            be included in SOPs. If leaders want to shift fire at a certain time, they give a prearranged
            signal such as obscurants or pyrotechnics. Upon seeing the signal, the gunner shifts fire
            to a prearranged point.

         Personal Contact
            C-87. In many situations, leaders must issue orders directly to individual Soldiers.
            Personal contact is used more than other methods by Infantry rifle leaders. Leaders must
            use maximum cover and concealment to keep from disclosing the position or
            themselves.

         Standard Range Cards
            C-88. When using the standard range card method of fire control, leaders must ensure
            all standard range cards are current and accurate. Once this is accomplished, leaders may
            designate certain targets for certain weapons with the use of limiting stakes or with fire
            commands. They also should designate no-fire zones or restricted fire areas to others.
            The vital factor in this method of fire control is gunners must be well disciplined and
            pay attention to detail.

         STANDARD OPERATING PROCEDURES
            C-89. SOPs are actions to be executed without command developed during the training
            of the squads. Their use eliminates many commands and simplifies the leader’s fire
            control. SOPs for certain actions and commands can be developed to make gunners
            effective. Some examples follow:
                        Observation. The gunners continuously observe their sectors.
                        Fire. Gunners open fire without command on appropriate targets appearing
                        within their sectors.



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                         Check. While firing, the gunners periodically check with the leader for
                         instructions.
                         Return fire. The gunners return enemy fire without order, concentrating on
                         enemy automatic weapons.
                         Shift fire. Gunners shift their fires without command when more dangerous
                         targets appear.
                         Rate of fire. When gunners engage a target, they initially fire at the rate
                         necessary to gain and maintain fire superiority.
                         Mutual support. When two or more gunners are engaging the same target and
                         one stops firing, the other increases the rate of fire and covers the entire target.
                         When only one gunner is required to engage a target and the leader has alerted
                         two or more, the gunner not firing aims on the target and follows the
                         movements of the target. The gunner does this to fire instantly in case the
                         other machine gun malfunctions or ceases fire before the target has been
                         eliminated.

        FIRE COMMANDS
               C-90. A fire command is given to deliver fire on a target quickly and without confusion.
               When leaders decide to engage a target not obvious to the squad, they must provide it
               with the information needed to engage the target. Leaders must alert the Soldiers; give
               a target direction, description, and range; name the method of fire; and give the
               command to fire. There are initial fire commands and subsequent fire commands.
               C-91. It is essential the commands delivered by the weapons squad leader, are
               understood, and echoed by the assistant gunner or gun team leader and gunner.
               Table C-5 provides an example of the weapons squad fire commands and actions taken
               by the weapons squad leader, assistant gunner, gun team leader, and gunner.




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                       Table C-5. Weapons squad fire commands and actions




                                                   LIGHT-SKINNED         Gunner looks for
                                                      TRUCK, 3               laser and
                               LIGHT-SKINNED
            WSL or GTL                                O’CLOCK,            identifies TGT.        TARGET
                                  TRUCK, 3
           identifies TGT         O’CLOCK,         400 METERS,           Gunner traverses      IDENTIFIED.
             within gun                            ON MY LASER,          and gets on TGT.        TARGET
           team’s sector.      400 METERS,                               Gunner engages         ACQUIRED.
                                                     ONCE ON
                               ON MY LASER.                              TGT with correct
                                                     TARGET,
                                                     ENGAGE.                rate of fire.
           Gun team (or                             Repeats GUN 1-          Gets down
            weapons                  GUN              BIPOD and           beside AG/GTL       GUN 1 UP once
           squad) go to           1-BIPOD.         identifies location     un-collapsing       ready to fire.
              bipod.                                    for gun.            bipod legs.
                                                                          Gunner picks up
                                                   Repeats GUN 1-          gun and places
                                                   TRIPOD and lays            into tripod.
                                   GUN 1-            down tripod (if         Gunner gets
                                                                                              GUN 1 UP once
          Gun team go to                             not done) and        AG/GTL to lock it
                                   TRIPOD.                                                     ready to fire.
             tripod.                                prepares to lock       in. Once locked
                                                     gun on tripod.        in, the AG/GTL
                                                                           collapses bipod
                                                                                 legs.
                                                       GUN 1
                                                   PREPARE FOR
                                                                          Fires one more      Repeats AG/GTL
                                                      BARREL
           Barrel change.            N/A                                  burst. Waits for    command. Once
                                                   CHANGE. GUN
                                                                          barrel change.      done, GUN 1 UP.
                                                     1 BARREL
                                                     CHANGE.
                                                   GUN 1 OUT OF            Gunner takes
                                                      ACTION,              gun off tripod,
                               GUN 1 OUT OF
                                                    PREPARE TO              continues to
                                 ACTION,                                                      GUN 1, READY
           Displace gun.                            MOVE. Breaks           orient towards
                               PREPARE TO                                                      TO MOVE.
                                                   down barrel bag,       target on bipod,
                                  MOVE.
                                                     prepares to          and prepares to
                                                        move.                  move.
           WSL identifies
          sector of fire for                                              Gunner makes
                                GUN 1, LEFT,
            gun teams.                             Using binoculars          necessary
                               CENTER, RIGHT
                                                   identifies sectors    adjustments, tells      SECTOR
          Day-marks with        SECTORS ON
                                                   and states, GUN       AG/GTL whether        IDENTIFIED to
              tracer.           MY MARK. DO
                                                    1 IDENTIFIES.        gunner identifies      AG/GTL once
           Night-marks         YOU IDENTIFY?
                                                    Adjusts gunner        or not. Engages        identifies.
          with PEQ-series       (Always marks
                                                      onto target.       or makes further
            night vision         left to right.)
                                                                           adjustments.
           device/tracer.
          Legend: AG–assistant gunner; GTL–gun team leader; N/A–not applicable; TGT–target; WSL–
          weapons squad leader




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        INITIAL FIRE COMMANDS
               C-92. Initial fire commands are given to adjust onto the target, change the rate of fire
               after a fire mission is in progress, interrupt fire, or terminate the alert. Commands for all
               direct-fire weapons follow a pattern including similar elements. There are six elements
               in the fire command of the machine gun: alert; direction; description; range; method of
               fire; and command to open fire. The gunners repeat each element of fire command as it
               is given.

        Alert
               C-93. This element prepares the gunners for more instructions. Platoon leaders may alert
               both gunners in the squad and may have only one fire, depending upon the situation. To
               alert and have both gunners fire, leaders announce FIRE MISSION. If they desire to
               alert both gunners but have only one fire, they announce GUN NUMBER ONE, FIRE
               MISSION. In all cases, upon receiving the alert, the gunners load their machine guns
               and place them on fire.

        Description
               C-94. The target description creates a picture of the target in the gunners’ minds. To
               properly apply their fire, the Soldiers must know the type of target they are to engage.
               Leaders should describe it briefly. If the target is obvious, no description is necessary.

        Direction
               C-95. This element indicates the general direction to the target. It may be given in one
               or a combination of the following methods.
               C-96. Oral. The leader orally gives the direction to the target in relation to the position
               of the gunner. For example, FRONT, LEFT FRONT, or RIGHT FRONT.
               C-97. Pointing. Leaders designate a small or obscure target by pointing with their finger
               or aiming with a weapon. When they point with their finger, a Soldier standing behind
               them should be able to look over their shoulder and sight along their arm and index
               finger to locate the target. When aiming the weapon at a target, a Soldier looking through
               the sights should be able to see the target. Leaders also may use lasers in conjunction
               with night vision devices to designate a target to the gunner.
               C-98. Tracer ammunition. Tracer ammunition is a quick and sure method of designating
               a target not clearly visible. When using this method, leaders first should give the general
               direction to direct the gunner’s attention to the target area. To prevent the loss of surprise
               when using tracer ammunition, leaders do not fire until they have given all elements of
               the fire command except the command to fire. Leaders may fire their individual weapon.
               The firing of the tracers then becomes the last element of the fire command, and it is the
               signal to open fire.




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                                                 CAUTION
                         Soldiers must be aware night vision devices,
                         temporary blindness (“white out”) may occur when
                         firing tracer ammunition at night or when exposed to
                         other external light sources. Lens covers may reduce
                         this effect.


            C-99. Reference points. Another way to designate obscure targets is to use
            easy-to-recognize reference points. All leaders and gunners must know terrain features
            and terminology used to describe them. (See TC 3-25.26 for additional information.)
            When using a reference point, the word “reference” precedes its description. This is done
            to avoid confusion. The general direction to the reference point should be given.

         Range
            C-100. Leaders always announce the estimated range to the target. The range is given,
            so the gunner knows how far to look for the target and what range setting to put on the
            rear sight. Range is announced in meters. However, since the meter is the standard unit
            of range measurement, the word “meters” is not used. With machine guns, the range is
            determined and announced to the nearest hundred or thousand example, THREE
            HUNDRED, or ONE THOUSAND.

         Method of Fire
            C-101. This element includes manipulation and rate of fire. Manipulation dictates the
            class of fire with respect to the weapon. It is announced as FIXED, TRAVERSE,
            SEARCH, or TRAVERSE AND SEARCH. (See paragraphs C-31 to C-37.) Rate
            controls the volume of fire (sustained, rapid, and cyclic). Normally, the gunner uses the
            sustained rate of fire. When a sustain rate of fire is to be used, rate of fire is omitted from
            the fire command. The method of fire of the machine gun is usually 3- to 5-round bursts
            (M249) and 6- to 9-round bursts (M240-series).

         Command to Open Fire
            C-102. When fire is to be withheld so surprise fire can be delivered on a target or to
            ensure both gunners open fire at the same time, leaders may preface the command to
            commence firing with AT MY COMMAND or AT MY SIGNAL. When the gunners
            are ready to engage the target, they report READY to the leader. The leader then gives
            the command FIRE at the specific time desired. If immediate fire is required, the
            command FIRE is given without pause and gunners fire as soon as they are ready.




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        SUBSEQUENT FIRE COMMANDS
               C-103. Subsequent fire commands are used to make adjustments in direction and
               elevation, to change rates of fire after a fire mission is in progress, to interrupt fires, or
               to terminate the alert. If the gunner fails to engage a target properly, the leader must
               correct the gunner promptly by announcing or signaling the desired changes. When these
               changes are given, the gunner makes the corrections and resumes firing without further
               command.
               C-104. Adjustments in direction and elevation with the machine gun always are given
               in meters one finger is used to indicate 1 meter and so on. Adjustment for direction is
               given first. Example: RIGHT ONE ZERO METERS or LEFT FIVE METERS.
               Adjustment for elevation is given next. Example: ADD FIVE METERS or DROP ONE
               FIVE METERS. These changes may be given orally or with hand and arm signals:
                          Changes in the rate of fire are given orally or by hand and arm signals.
                          To interrupt firing, the leader announces CEASE FIRE, or the leader signals
                          to cease fire. The gunners remain on the alert. They resume firing when given
                          the command FIRE.
                          To terminate the alert, the leader announces CEASE FIRE, END OF
                          MISSION.

        DOUBTFUL ELEMENTS AND CORRECTIONS
               C-105. When gunners are in doubt about elements of fire commands, they reply, SAY
               AGAIN RANGE, TARGET. Leaders then announces THE COMMAND WAS, repeats
               the element in question, and continues with the fire command.
               C-106. When leaders make an error in the initial fire command, they correct it by
               announcing CORRECTION, and gives the corrected element. When leaders make an
               error in the subsequent fire command, they may correct it by announcing
               CORRECTION. They then repeat the entire subsequent fire command.

        ABBREVIATED FIRE COMMANDS
               C-107. Fire commands do not need be complete to be effective. In combat, leaders give
               only the elements necessary to place fire on a target quickly and without confusion.
               During training, however, they should use all the elements to get gunners in the habit of
               thinking and reacting properly when a target is to be engaged. After the gunner’s initial
               training in fire commands, the gunner should be taught to react to abbreviated fire
               commands, using one of the following methods.

        Oral
               C-108. When leaders want to place the fire of one machine gun on an enemy machine
               gun, they may want to use oral commands. For example, leaders can quickly tell the
               gunner to fire on an enemy gun.




        C-30                                          ATP 3-21.8




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         Hand and Arm Signals
            C-109. Battlefield noise and distance between the gunners and leaders often make it
            necessary to use hand and arm signals to control fire (see figure C-19 on page C-32).
            When an action or movement is to be executed by only one of the gunners, a preliminary
            signal is given to the gunner only. The following are commonly used signals for fire
            control:
                       Ready. Gunners indicate they are ready to fire by yelling UP or having the
                       assistant gunner raise the hand above the head toward the leader.
                       Commence firing or change rate of firing. Leaders bring their hand (palm
                       down) to the front of their body about waist level and moves it horizontally
                       in front of the body. To signal an increase in the rate of fire, they increase the
                       speed of the hand movement. To signal slower fire, they decrease the speed
                       of the hand movement.
                       Change direction or elevation. Leaders extend their arm and hand in the new
                       direction and indicates the amount of change necessary by the number of
                       fingers extended. The fingers must be spread so gunners can easily see the
                       number of fingers extended. Each finger indicates 1 meter of change of the
                       weapon. If the desired change is more than 5 meters, leaders extend their hand
                       the number of times necessary to indicate the total amount of change. For
                       example, right nine would be indicated by extending the hand once with five
                       fingers showing and a second time with four fingers showing for a total of
                       nine fingers.
                       Interrupt or cease firing. Leaders raise their hand and arm (palm outward) in
                       front of their forehead and brings it downward sharply.
                       Other signals. Leaders can devise other signals to control their weapons. A
                       detailed description of hand and arm signals is given in TC 3-21.60.




                                                 ATP 3-21.8                                       C-31




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        Appendix C




                                    Figure C-19. Hand and arm signals


        MACHINE GUN USE
               C-110. Despite their post-Civil War development, modern machine guns did not
               exhibit their full potential in battle until World War I. Although the machine gun has
               changed, the role of the machine gun and machine gunner has not. The mission of
               machine guns in battle is to deliver fires when and where leaders want them in both the
               offense and defense. Machine guns rarely, if ever, have independent missions. Instead,
               they provide their unit with accurate, heavy fires to accomplish the mission.

        TACTICAL ORGANIZATION OF THE MACHINE GUN
               C-111. The accomplishment of the platoon’s or squad’s mission demands efficient and
               effective machine gun crews. Leaders consider the mission and organize machine guns
               to deliver firepower and direct fire support to area(s) or point(s) needed to accomplish
               the assigned mission.
               C-112. Infantry rifle platoons have an organic weapons squad consisting of a weapons
               squad leader, two-Javelin teams (see appendix D), and two-medium machine gun teams.

        C-32                                       ATP 3-21.8




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             (See chapter 1 for additional information on weapons squad.) Depending on the
             platoon’s or squad’s mission, there could be additional machine gun teams attached to
             the platoon or squad.
             C-113. The medium machine gun team has a gunner, assistant gunner, and ammunition
             bearer. In some units the senior member of the gun team is the gunner. In other units the
             assistant gunner is the senior gun team member who also serves as the gun team leader.
             C-114. Table C-6 illustrates equipment carried by the weapons squad. Table C-7 on
             page C-34 illustrates the duty positions within the weapons squad and gives possible
             duty descriptions and responsibilities. The table shows possible position and equipment
             use only. Individual unit SOPs and available equipment dictate the exact role each
             weapons squad member plays within the squad.

                Note. See appendix D for information on the Javelin (and when replaced with the
                M3 Multi-role, Antiarmor, Antipersonnel Weapon System [known as MAAWS])
                teams in the weapons squad.


                     Table C-6. Weapons squad equipment by position, example



                                  M4-series (w/ 7        M4-series (w/       M240-series (50     M4-series (w/ 7
              Weapon
                                   magazines*)           7 magazines*)       to 100 rounds)       magazines)
                                                                                   M145
                                    M68 or M150           M68 or M150
             Day Optic                                                        Machine Gun          M68 Optics
                                       Optics                 Optics
                                                                                 Optic
                Laser                 PEQ-15                 PEQ-15              PEQ-15              PEQ-15
                                                         3x magnifier**                          Tripod traversing
             Additional
                                   3x magnifier**            Spare            3x magnifier**       and elevating
             Equipment
                                                           barrels***                               mechanism
            M240-Series
                                     100 rounds            300 rounds           100 rounds         300 rounds
            Ammunition
                                  Whistle pen gun
                                                          M-17 pistol           M-17 pistol
                                 flare** Other shift
           Miscellaneous                                  cleaning kit       cleaning kit CLP          N/A
                                  signals** VS-17
                                                         Binoculars****      for 72 hours*****
                                panel Binoculars****
          *WSL and AG/GTL load tracer rounds (4:1 mix) in magazines for marking targets.
          **3x magnifier, flares, and shift signals are readily accessible at all times.
          ***Spare barrels marked by relative age with 1/4 pieces of green tape on carrying handle. Oldest
          barrel=2 parallel strips, second newest barrel=1 strip, and newest barrel=no tape
          ****Binoculars carried in the assault pack or in suitable pouch on vest (mission dependent).
          *****Gunners always carry enough CLP for 72 hours of operations.
          Legend: AG–assistant gunner; CLP–cleaner, lubricant, preservative; GTL–gun team leader; N/A–
          not applicable; w/–with; WSL–weapons squad leader




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                Table C-7. Weapons squad duty positions and responsibilities


         WSL            Senior squad leader within the platoon. Responsible for all training and employment
                        of the medium machine guns. The WSL’s knowledge, experience, and tactical
                        proficiency influence the effectiveness of the squad. The WSL controls/adjusts rates
                        of fire, assesses effectiveness of fires, monitors ammunition expenditures, cross-
                        levels ammunition between gun teams, and knows and leads gun teams through
                        crew drills.
         AG/GTL         -AG/GTL is a team leader with the responsibilities of a fire team leader.
                        -If second in the gun team’s chain of command, the AG is always fully capable of
                        taking the GTL position.
                        -GTL is responsible for the team members and all the gun equipment.
                        -GTL redistributes crew duties if short the ammunition bearer and prepares and
                        submits DA Form 5517 (Standard Range Card).
                        -GTL knows and lead gun team through crew drills.
                        -TL and the team will be tactically proficient and knowledgeable on this ATP and
                        applicable TCs and TMs applying to the medium machine gun.
                        -GTL assists the WSL on the best way to employ the M240-series. GTL enforces
                        field discipline while the gun team is employed.
                        -GTL leads by example in all areas. Sets the example in all things.
                        -GTL assists the WSL in all areas. Advises the WSL of problems either tactical or
                        administrative.
                        -AG is responsible for all action concerning the gun.
                        -AG/GTL calls the ammunition bearer if ammunition is needed or actively seeks it
                        out if the ammunition bearer is not available. Constantly updates the WSL on the
                        round count and serviceability of the M240-series.
                        -When the gun is firing, AG/GTL spots rounds and makes corrections to the
                        gunner’s fire. Also watches for friendly troops to the flanks of the target area or
                        between the gun and target.
                        -If the gunner is hit by fire, AG/GTL immediately assumes the role of the gunner.
                        -AG/GTL is always prepared to change the gun’s barrel (spare barrel is always out
                        when the gun is firing). Ensures the hot barrel is not placed on live ammunition or
                        directly on the ground when it comes out of the gun.
         Machine        -Primary responsibility is to the gun. Focused on its cleanliness and proper function.
         Gunner         Immediately reports abnormalities to the GTL or WSL.
                        -If necessary for gunner to carry M240-series ammunition, carries it in on the back
                        so the AG/GTL can access it without stopping the fire of the gun.
                        -Always carries the necessary tools of the gun to be properly cleaned, along with a
                        sufficient amount of oil for the gun’s proper function.
         Ammunition     -The ammunition bearer is the RFLM/equipment bearer of the gun team.
         Bearer         -Normally the newest member of the gun team. Ammunition bearers must quickly
                        learn everything they can, exert maximum effort at all times, and attempt to outdo
                        the gun team members in every situation.
                        -Follows the gunner without hesitation. During movement moves to the right side of
                        the gunner and no more than one 3- to 5-meter rush away from the gun.
                        -During firing, pulls rear security and if the gunner comes under enemy fire,
                        provides immediate suppression while the gun moves into new position.
                        -Responsible for the tripod and traversing and elevating mechanism.
                        -They always must be clean and ready for combat. Responsible for replacing them,
                        if necessary.
         Legend: AG–assistant gunner; ATP–Army techniques publication; DA–Department of Army; GTL–
         gun team leader; TC–training circular; TL–team leader; TM–training manual; WSL–weapons squad
         leader


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         SECURITY
            C-115. Security includes all command measures to protect against surprise,
            observation, and annoyance by the enemy. The gun team is responsible for its immediate
            local security, specifically provided by the assistant gunner and/or ammunition bearer
            for close in local security to the gunner, who is fixated on deeper targets. Though the
            principal unit security measures against ground forces include employment of
            observation posts, security patrols, and detachments covering the front flanks and rear
            of the unit’s most valuable weapons systems and vulnerable areas. The composition and
            strength of these detachments depends on the size of the main body, its mission, and
            nature of the opposition expected. The presence of machine guns with security
            detachments augments their firepower to delay, attack, and defend, by virtue of inherent
            firepower.
            C-116. The potential of air and ground attacks on the unit demands every possible
            precaution for maximum security while on the move. Where this situation exists, the
            machine gun crew must be thoroughly trained in the hasty delivery of antiaircraft fire
            and of counterfire against enemy ground forces. The distribution of the medium machine
            guns in the formation is critical. The medium machine gun crew is constantly on the
            alert, particularly at halts, ready to deliver fire as soon as possible. If leaders expect a
            halt to exceed a brief period, they carefully choose medium machine gun positions to
            avoid unduly tiring the medium machine gun crew. If they expect the halt to extend for
            a long period, they can have the medium machine gun crew take up positions in support
            of the unit. The crew covers the direction from which they expect enemy activity as well
            as the direction from which the unit came. Leaders select positions permitting the
            delivery of fire in the most probable direction of enemy attack, such as valleys, draws,
            ridges, and spurs. They choose positions offering obstructed fire from potential enemy
            locations.

         EMPLOYMENT OF FIRE AND MOVEMENT
            C-117. The employment of fire and movement is essential and greatly depends upon
            the other during maneuver. Without the support of covering fires, maneuvering in the
            presence of enemy fire can result in disastrous losses. Covering fires, especially
            providing fire superiority, allow maneuvering in the offense. However, fire superiority
            alone rarely wins battles. The primary objective of the offense is to advance, occupy,
            and hold the enemy position.

         Machine Gun as a Base of Fire
            C-118. Machine gun fire from a support by fire position must be the minimum possible
            to keep the enemy from returning fire. Ammunition must be conserved so the guns do
            not run out of ammunition.
            C-119. The weapons squad leader positions and controls the fires of all medium
            machine guns in the element. Machine gun targets include essential enemy weapons or
            groups of enemy targets either on the objective or attempting to reinforce or
            counterattack. In terms of engagement ranges, medium machine guns in the base-of-fire


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               element may find themselves firing at targets within a range of 800 meters. The nature
               of the terrain, desire to achieve some standoff, and the mission variables of
               METT-TC (I) mission, enemy, terrain and weather, troops and support available, time
               available, civil considerations, and informational considerations prompt the leader to the
               correct tactical positioning of the base-of-fire element.
               C-120. The medium machine gun quickly delivers an accurate, high-volume rate of
               lethal fire on large areas. When accurately placed on the enemy position, medium
               machine gun fires can achieve fire superiority for duration of the firing. Troops
               advancing in the attack should take full advantage of this period to maneuver to a
               favorable position from where they can facilitate the last push against the enemy. In
               addition to creating enemy casualties, medium machine gun fire destroys the enemy’s
               confidence and neutralizes their ability to engage the friendly maneuver element.
               C-121. All vocal commands from the leaders to change the rates of fire are
               accompanied simultaneously by hand and arm signals. There are distinct phases of rates
               of fire employed by the base-of-fire element:
                          Initial heavy volume (rapid rate) to gain fire superiority.
                          Slower rate to conserve ammunition (sustained rate) while still preventing
                          return fire as the assault moves forward.
                          Increased rate as the assault nears the objective.
                          Shift fires (commonly called walking fires) forward of the assault line.
                          Lift and/or shift to other targets or targets of opportunity.
               C-122. Machine guns in the support by fire role should be set in and assigned a primary
               and secondary sector of fire as well as a primary and alternate position. They are
               suppressive fire weapons used to suppress known and suspected enemy positions.
               Therefore, gunners cannot be allowed to empty all their ammunition into one bunker
               simply because it is all they can identify at the time.
               C-123. The support by fire position, not the assault element, is responsible for ensuring
               there is no masking of fires. The assault element might have to mask the support by fire
               line because it has no choice on how to move. It is the support by fire gunner’s job to
               shift fires continually or move gun teams or the weapons squad to support the assault
               and prevent masking.
               C-124. Shift and shut down the weapons squad gun teams one at a time, not all at once.
               M320 and mortar or other indirect fire can be used to suppress while the medium
               machine guns are moved to where they can fire.
               C-125. Leaders must consider the surface danger zones of the machine guns when
               planning and executing the lift and/or shift of the support by fire guns. The effectiveness
               of the enemy on the objective will play a large role in how much risk should be taken
               with respect to the lifting or shifting of fires. Once the support by fire line is masked by
               the assault element, fires are shifted and/or lifted to prevent enemy withdrawal or
               reinforcement.




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         Machine Gun with the Maneuver Element
            C-126. The medium machine guns seldom accompany the maneuver element. The
            gun’s primary mission is to provide covering fire. The medium machine guns only are
            employed with the maneuver element when the AO assigned to the assault, platoon,
            squad, or company is too narrow to permit proper control of the guns. The medium
            machine guns then are moved with the unit and readied to employ on order from the
            leader and in the direction needing the supporting fire.
            C-127. When medium machine guns move with the element undertaking the assault,
            the maneuver element brings the medium machine guns to provide additional firepower.
            These weapons are fired from a bipod, in an assault mode, from the hip, or from the
            underarm position. They target enemy automatic weapons anywhere on the unit’s
            objective. Once the enemy’s automatic weapons have been destroyed (if any), the
            gunners distribute their fire over their assigned sector. In terms of engagement ranges,
            the medium machine gun in the assault engages within 300 meters of its target and
            frequently at point-blank ranges.
            C-128. Where the AO is too wide to allow proper coverage by the platoon’s organic
            medium machine guns, the platoon or squads can be assigned additional medium
            machine guns or personnel from within the company. This may permit the platoon or
            squads to accomplish its assigned mission. The medium machine guns are assigned a
            sector to cover and move with the maneuver element.

         MACHINE GUNS IN THE OFFENSE
            C-129. In the offense, the platoon leaders have the option to establish their base-of-fire
            element with one or two medium machine guns, the M249 light machine gun, the M320
            weapon system, or a combination of the weapons. The platoon sergeant or weapons
            squad leader may position this element and control its fires when the platoon scheme of
            maneuver is to conduct the assault with the Infantry squads.

         M249 Light Machine Gun in the Offense
            C-130. In the offense, M249s target enemy-supporting weapons and can be fired from
            fixed positions anywhere on the squad’s objective. When the enemy’s supporting
            weapons have been destroyed, or if there are none, the machine gunners distribute their
            fire over the portion of the objective corresponding to their team’s position.

         M240-Series Medium Machine Guns in the Offense
            C-131. In the offense, the M240-series machine gun, when placed on a tripod, provides
            stability and accuracy at greater ranges than the bipod, but it takes more time to
            maneuver the machine gun should the need arise. The machine gunners target essential
            enemy weapons until the assault element masks their fires. They also can be used to
            suppress the enemy’s ability to return accurate fire, or to hamper the maneuver of the
            enemy’s assault element. They fix the enemy in position and isolate by cutting off their
            avenues of reinforcement. They then shift their fires to the flank opposite the one being
            assaulted and continue to target automatic weapons providing enemy support and

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               engage enemy counterattack. M240-series fires also can be used to cover the gap created
               between the forward element of the friendly assaulting force and terrain covered by
               indirect fires when the indirect fires are lifted and shifted. On signal, the machine
               gunners and base-of-fire element displace to join the assault element on the objective.

        MACHINE GUNS IN THE DEFENSE
               C-132. The platoon’s defense centers on its machine guns. The medium machine gun
               is the base for the defense, they are planned first, around a PDF or FPL, and then other
               planned targets within the primary sector of fire. They engage targets in secondary sector
               of fire when not firing the primary sector, and, when necessary, transition to the FPL.
               Machine gun teams are also prepared to fire in support of the unit’s counterattack.
               Platoon leaders site the rifle squad to protect the machine guns against the assault of a
               dismounted enemy formation. The machine gun provides the necessary range and
               volume of fire to cover the squad’s front in the defense.
               C-133. The primary requirement of a suitable machine gun position in the defense is
               its effectiveness in accomplishing specific missions. The position should be accessible
               and afford cover and concealment. Machine guns are sited to protect the front, flanks,
               and rear of occupied portions of defensive positions, and to be mutually supporting.
               Attacking troops usually seek easily traveled ground providing cover from fire. Every
               machine gun should have three positions: primary, alternate, and supplementary. Each
               of these positions should be chosen by leaders to ensure their sector is covered and
               machine guns are protected on their flanks.
               C-134. Leaders site the machine gun to cover the entire sector or to overlap sectors
               with the other machine guns. The engagement range may extend from more than
               1,000 meters where the enemy begins the assault to point-blank range. Machine gun
               targets include enemy automatic weapons and command and control elements.
               C-135. Machine gun fire is distributed in width and depth in a defensive position.
               Leader can use machine guns to subject the enemy to increasingly devastating fire from
               the initial phases of the attack, and to neutralize partial successes the enemy might attain
               by delivering intense fires in support of counterattacks. The machine gun’s tremendous
               firepower enables the unit to hold ground. This is what makes it the backbone or
               framework of the defense.

        M249 Light Machine Gun in the Defense
               C-136. In the defense, the M249 adds increased firepower without the addition of
               manpower. Characteristically, M249s are light, fire rapidly, and have more ammunition
               than the rifles in the squad they support. Under certain circumstances, the platoon leader
               may designate the M249 machine gun as a platoon crew-served weapon.

        M240-Series Medium Machine Guns in the Defense
               C-137. In the defense, the medium machine gun provides sustained direct fires
               covering the most likely or most dangerous enemy dismounted avenues of approach. It
               protects friendly units against the enemy’s dismounted close assault. Platoon leaders

        C-38                                         ATP 3-21.8




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            position their machine guns to concentrate fires in locations where they want to inflict
            the most damage to the enemy. Leaders also place them where they can take advantage
            of grazing enfilade fires, stand-off or maximum engagement range, and best observation
            of the target area. Machine guns provide overlapping and interlocking fires with adjacent
            units and cover tactical and protective obstacles with traversing or searching fires. When
            FPFs are called for, machine guns (aided by M249 fires) place a barrier of fixed, direct
            fire across the platoon or squad front. Leaders position machine guns to—
                        Concentrate fires where they want to kill the enemy.
                        Fire across the platoon and squad front.
                        Cover obstacles by direct fire.
                        Tie in with adjacent units.

         AMMUNITION PLANNING
            C-138. Leaders must carefully plan the rates of fire to be employed by machine guns
            as they relate to the mission and amount of ammunition available. The weapons squad
            leader must understand fully the mission the amount of available ammunition and
            application of machine gun fire needed to support fully all vital events of the mission.
            Planning ensures the guns do not run out of ammunition.
            C-139. A mounted platoon or squad might have access to enough machine gun
            ammunition to support the guns throughout its operation. A dismounted platoon or squad
            with limited resupply capabilities must plan for only the basic load to be available. In
            either case, leaders must consider vital events the guns must support during the mission.
            They must plan the rate of machine gun fire needed to support the vital events, and
            amount of ammunition needed for scheduled rates of fire.
            C-140. Leaders must make an estimate of the total amount of ammunition needed to
            support all the machine guns. They then must adjust the amount of ammunition used for
            each event to ensure enough ammunition is available for all phases of the operation.
            Because medium machine guns may see different parts of the battlefield, their
            expenditure rates will vary. The weapons squad leader must monitor ammunition
            consumption to ensure rates are not too high, and cross-level ammunition between gun
            teams as necessary. Examples of planning rates of fire and ammunition requirements for
            a platoon or weapons squad’s machine guns in the attack follow.

         Know Rates of Fire
            C-141. Leaders and gunners must know how much ammunition is required to support
            the different rates of fire each platoon or weapons squad machine gun and assault
            weapon will require. Coupling this knowledge with an accurate estimate of the length
            of time and rates of fire their guns are scheduled to fire will ensure enough ammunition
            resources to cover the entire mission. As part of an example of the planning needed to
            use M240-series in support by fire roles, the rates of fire of the M240-series are listed in
            table C-8 on page C-40.




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                                    Table C-8. M240-series rates of fire


                              • 100 rounds per minute
                              • Fired in 6- to 9-round bursts
                              • 4 to 5 seconds between bursts (barrel change every 10 minutes)
                              • 200 rounds per minute
                              • Fired in 10- to 12-round bursts
                              • 2 to 3 seconds between bursts (barrel change every 2 minutes)
                              • 650 to 950 rounds per minute
                              • Continuous burst (barrel change every minute)


        Ammunition Requirement
               C-142. Leaders must calculate the number of rounds needed to support every machine
               gun throughout all phases of the operation. Ammunition must be allocated for each vital
               event and to support movement with suppressive fires. Additional amounts of
               ammunition, when required, are carried/distributed (for example, every Soldier may be
               required to carry an extra 100 rounds for the guns) across the platoon or pre-stocked in
               the defense.




        C-40                                            ATP 3-21.8




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                                            Appendix D
              Shoulder-Launched Munitions and Close
                      Combat Missile System

                The Infantry rifle squad and weapons squad employ
                shoulder-launched munitions (known as SLMs), the Javelin close
                combat missile system (known as CCMS), and the M3 Multi-role,
                Antiarmor, Antipersonnel Weapon System (known as MAAWS) to
                destroy enemy personnel, field fortifications, and to disable enemy
                vehicles at ranges from 15 to 2,000 meters. They can engage targets
                in the assault, support by fire, and defensive roles, and are the
                Infantry platoon’s highest casualty producing organic weapons
                when used against armored enemy vehicles.

              Note. Leaders must employ SLMs (see TM 3-23.25 for safety considerations),
              the Javelin CCMS, medium (see TC 3-22.37 for safety considerations), and the
              M3 MAAWS (see TC 3-22.84 for safety considerations) to minimize danger to
              friendly Soldiers caused by the surface danger zones or backblast danger zones.
              They must weigh the risk of firing the missile in close proximity to friendly
              assault forces against the need to suppress or destroy enemy fortifications or
              vehicles from support by fire or attack by fire positions.



         SHOULDER-LAUNCHED MUNITIONS
            D-1. SLMs are used against field fortifications, enemy vehicles, or other similar enemy
            targets. Infantry Soldiers are issued SLMs as rounds of ammunition in addition to their
            assigned weapons. SLMs include the M136A1 AT4-CS, M136 AT4; the M72A2/A3
            light antitank weapon (known as LAW), improved M72A4/5/6/7 LAW; and M141
            bunker defeat munitions (known as BDMs). The M141 BDM, also referred to as the
            shoulder-launched multipurpose assault weapon disposable. Table D-1 on page D-2 lists
            select SLM specifications. (See TM 3-23.25 for additional information.)
            D-2. All SLMs are lightweight, self-contained, single-shot, disposable weapons
            consisting of unguided free flight, fin-stabilized, rocket-type cartridges packed in
            expendable, telescoping launchers (except the M136 AT4/AT4-CS which does not
            telescope) also serving as storage containers. The only requirement for their care is a
            visual inspection. SLMs can withstand extreme weather and environmental conditions,
            including arctic, tropical, and desert climates.
            D-3. SLMs increase the lethality and survivability of the Infantryman and provide a
            direct fire capability to defeat enemy personnel within armored platforms. BDM

                                                 ATP 3-21.8                                     D-1




                                                                                                OAG007091
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              provides the Soldier a direct fire capability to defeat enemy personnel located within
              field fortifications, bunkers, caves, masonry structures, and lightly armed vehicles and
              to suppress enemy personnel in lightly armored vehicles.
              D-4. The individual Soldier will use SLM to engage threat combatants at close ranges,
              across the street or from one building to another. The Soldier may employ SLM as a
              member of a support by fire element to incapacitate threat forces threatening the assault
              element. When the assault element clears a building, the leader may reposition the SLM
              gunner inside to engage a potential counterattack force.

                Note. Several numbers in table D-1 are rounded off and might not represent exact
                numbers.


                               Table D-1. Shoulder-launched munitions



          Technical Manual             TM 3-23.25                    TM 3-23.25          TM 3-23.25
          Carry Weight                  15.0 lbs.                     17.0 lbs.            5.0 lbs.
          Length:                       40 inches                     41 inches           25 inches
          Carry Extended:                  N/A                           N/A              35 inches
          Caliber                        84-mm                         84-mm                66-mm
          Muzzle Velocity                290 m/s                      225 m/s             144.8 m/s
                                         950 f/s                       738 f/s              475 f/s
          Operating                   -40° to 60° C                 -40° to 60° C        -40° to 60° C
          Temperature                 -40° to 140° F                -40° to 140° F      -40° to 140° F
          Maximum Effective                                                           Stationary – 200 m
                                          300 m                        300 m
          Range                                                                        Moving – 165 m
          Maximum Range                  2,100 m                      2,100 m              1,000 m
          Minimum Arming
                                          10 m                          10 m                 10 m
          Range
          Legend: °–degree; AT–antitank; C–Celsius; CS–confined space; DODIC–Department of Defense
          identification code; F–Fahrenheit; f/s–feet per second; LAW–light antitank weapon; lbs.–pounds;
          N/A–not applicable; m–meters; mm–millimeters; m/s–meters per second; TM–technical manual




        D-2                                            ATP 3-21.8




                                                                                                            OAG007092
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                       Table D-1. Shoulder-launched munitions (continued)




             Technical Manual                            TM 3-23.25              TM 3-23.25
             Carry Weight                                  8.0 lbs.                16.0 lbs.
             Length:                                      31 inches               32 inches
             Carry Extended:                              39 inches               55 inches
             Caliber                                       60-mm                   83-mm
             Muzzle Velocity                               200 m/s                 217 m/s
                                                              656 f/s               712 f/s
             Operating Temperature                       -40° to 60° C           -32° to 49° C
                                                        -40° to 140° F          -20° to 120° F
             Maximum Effective Range                          200 m                 500 m
             Maximum Range                                 1,400 m                 2,000 m
             Minimum Arming Range                             25 m                  15 m
             Legend: °–degree; BDM–bunker defeat munitions; C–Celsius; DODIC–Department of
             Defense identification code; F–Fahrenheit; f/s–feet per second, LAW–light antitank
             weapon; lbs.–pounds; m–meters; mm–millimeter; m/s–meters per second; TM–technical
             manual


         M136 AT4/M136A1 AT4-CS
            D-5. The M136 AT4 is a lightweight, self-contained, SLM designed for use against the
            improved armor of light-armored vehicles. It provides lethal fire against light-armored
            vehicles and has some effect on most enemy field fortifications.
            D-6. The M136A1 AT4-CS is similar to the M136 AT4 but uses a different propulsion
            system. This system enables the M136A1 AT4-CS to be fired from an enclosure.
            D-7. The M136 AT4 and M136A1 AT4-CS is a round of ammunition with an integral,
            rocket-type cartridge. The cartridge consists of a fin assembly with tracer element, a
            point detonating fuze, and a high explosive antitank (known as HEAT) warhead. (See
            figures D-1 and D-2 on page D-4.)




                                                 ATP 3-21.8                                       D-3




                                                                                                  OAG007093
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              Figure D-1. M136 AT4 launcher and high explosive antitank cartridge




         Figure D-2. M136A1 AT4-CS launcher and high explosive antitank cartridge


        M72-SERIES LIGHT ANTITANK WEAPON
              D-8. The M72-series (M72A3 and M72A7) are lightweight and self-contained SLMs
              consisting of a rocket packed in a launcher. They are man-portable and may be fired
              from either shoulder. The launcher, which consists of two tubes, one inside the other,
              serves as a watertight packing container of the rocket and houses a percussion-type firing
              mechanism activating the rocket.
              D-9. The M72A3 LAW contains a nonadjustable propelling charge and a 66-mm
              rocket. Every M72A3 has an integral HEAT warhead in the rocket’s head (or body)
              section. (See figures D-3 and D-4.) Although the M72A3 mainly is employed as an
              antiarmor weapon, it may be used with limited success against secondary targets such
              as gun emplacements, pillboxes, buildings, or light vehicles.




        D-4                                        ATP 3-21.8




                                                                                                     OAG007094
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                             Figure D-3. M72A3 light antitank weapon




            Figure D-4. M72A3 light antitank weapon 66-millimeter high explosive
                                      antiarmor rocket

            D-10. The M72A7 is the improved LAW currently employed by the platoon. It is a
            compact, lightweight, single-shot, disposable weapon optimized to defeat lightly
            armored vehicles at close combat ranges. (See figure D-5 on page D-6.) The M72A7
            offers enhanced capabilities beyond the original M72-series. The improved M72
            consists of a 66-mm unguided rocket prepackaged at the factory in a telescoping,
            throwaway launcher. The system performance improvements include a higher velocity
            rocket motor extending the weapon effective range, increased lethality warhead, lower
            and more consistent trigger release force, rifle-type sight system, and better overall
            system reliability and safety. The weapon contains a 66-mm rocket and an integral


                                              ATP 3-21.8                                     D-5




                                                                                             OAG007095
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              HEAT warhead. The warhead is designed to penetrate 150-mm (5.9 inches) of
              homogenous armor and is optimized for maximum fragmentation behind light armor,
              Infantry fighting vehicles, and urban walls.




                  Figure D-5. Improved M72A7 light antitank weapon with rocket

        M141 BUNKER DEFEAT MUNITIONS
              D-11. The M141 BDM was developed to defeat enemy bunkers and field fortifications.
              (See figure D-6.) The M141 BDM is a disposable, lightweight, self-contained,
              man-portable, shoulder fired, HE multipurpose munition.




                               Figure D-6. M141 bunker defeat munitions

              D-12. The M141 BDM utilizes the 83-mm HEDP assault rocket. (See figure D-7.) The
              83-mm HEDP assault rocket warhead consists of a dual mode fuze and 2.38 pounds of
              A-3 explosive.
              D-13. Warhead function, in quick or delay mode, is determined automatically by the
              fuze when the rocket impacts a target. The M141 BDM is fired at hard or soft targets
              without selection steps required by the gunner. This automatic feature assures the kill
              mechanism is employed. Warhead detonation is instantaneous when impacting a hard
              target, such as a brick or concrete wall or an armored vehicle. Impact with a softer target,
              such as a sandbagged bunker, results in a fuze time delay permitting the rocket to
              penetrate the target before warhead detonation.

        D-6                                         ATP 3-21.8




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            D-14. The M141 BDM can destroy bunkers but is not optimized to kill the enemy
            soldiers within masonry structures in urban terrain or armored vehicles. The M141 BDM
            can penetrate masonry walls, but multiple rounds may be necessary to deliver sufficient
            lethality against enemy personnel behind the walls. The M141 BDM has been used with
            great success in destroying personnel and equipment in enemy bunkers, field
            fortifications, and caves in recent operations.




            Figure D-7. M141 bunker defeat munition high explosive dual purpose
                                      assault rocket

         JAVELIN-CLOSE COMBAT MISSILE SYSTEM
            D-15. The Javelin is used primarily to defeat main battle tanks and other armored combat
            vehicles. (In the current force, the CCMS category of weapons includes the Javelin and
            tube launched, optically tracked, wire guided. The tube launched, optically tracked, wire
            guided CCMS, heavy is organic to the Infantry weapons company of the Infantry
            battalion [see ATP 3-21.20 for information on employment].) The Javelin provides
            overmatch antitank (AT) fires during the assault and provide extended range capability
            for engaging armor during both offensive and defensive missions. The system has a
            moderate capability against bunkers, buildings, and other fortified targets commonly
            found during combat in urban areas.
         FIRE-AND-FORGET CAPABILITY
            D-16. The Javelin is a fire-and-forget, shoulder-fired man-portable CCMS consisting of
            a reusable M98A1 (Block 0) and the improved M98A2 (Block 1), command launch unit
            (known as CLU) and a round. (See figure D-8 on page D-8.) The CLU houses the
            daysight, night vision sight, controls, and indicators. The round consists of the missile,
            the launch tube assembly, and battery coolant unit. The launch tube assembly serves as
            the launch platform and carrying container of the missile. (See TC 3-22.37 for additional
            information.)
            D-17. The Javelin CCMS’s primary role is to destroy enemy armored vehicles out to
            2,000 meters with the M98A1 and 2,500 meters with the M98A2. The Javelin can be
            employed in a secondary role of providing an attack by fire capability against point


                                                ATP 3-21.8                                      D-7




                                                                                                 OAG007097
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              targets such as bunkers and crew-served weapons positions. In addition, the Javelin CLU
              can be used alone as an aided vision device for reconnaissance, security operations, and
              surveillance. The Javelin gunner should be able to engage up to three targets in
              2 minutes.




                           Figure D-8. Javelin close combat missile system

        COMMAND LAUNCH UNIT
              D-18. The M98A1 and M98A2 CLU is the reusable portion of the Javelin system. It
              contains the controls and indicators. The CLU provides increased utility to the Infantry
              platoon by allowing accurate surveillance out to 2.5 plus kilometers in both day and
              night. CLUs have been used to spot and destroy enemy snipers in hidden positions more
              than 1,000 meters away.
              D-19. Tables D-2 through D-4 (on pages D-9 to D-10) list the Javelin’s capabilities. In
              addition, it features the physical characteristics of the CLU, and physical characteristics
              of the round.




        D-8                                        ATP 3-21.8




                                                                                                      OAG007098
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                              Table D-2. Javelin capabilities and features

          Type of System    Surface attack guided missile and M98A1 and M98A2 CLU fire and forget
          Crew              One- to three-Soldier teams based on TO&E
          Missile modes     Top attack (default)
                            Direct attack
          Ranges            Top attack mode minimum effective engagement: 150 meters
                            Direct attack mode minimum effective engagement range: 65 meters
                            Maximum effective engagement range (direct attack and top attack modes):
                            2,000 meters for the M98A1 and 2,500+ meters for the M98A2 with the fire-and-
                            forget guided missile (FGM)-148 round
          Flight Time       About 14 seconds at 2,000 meters with the M98A1 and 2,500+ meters with the
                            M98A2
          Backblast Area    Primary danger zone extends out 25 meters at a 60-degree (cone-shaped)
                            angle
                            Caution zone extends the cone-shaped area out to 100 meters
          Firing from       Minimum room length: 15 feet
          Inside            Minimum room width: 12 feet
          Enclosures        Minimum room height: 7 feet
          Legend: CLU–command launch unit; TO&E–table of organization and equipment
                 Table D-3. Physical characteristics of the command launch unit

                              With battery, carrying bag, and cleaning kit
             M98A1/M98A2      Weight: 14.16 lbs. (6.42 kg)/14.99 lbs. (6.80 kg)
           Command Launch     Length: 13.71 in (34.82 cm)/19.29 in (49.00 cm)
                Unit          Height: 13.34 in (33.88 cm)/13.00 in (33.02 cm)
                              Width: 19.65 in (49.91 cm)/1,650 in (41.91 cm)
                              Day sight
                              Magnification: 4X
                              Field-of-view (FOV): 4.80° x 6.40° /6.4°x 4.8°
                              Night Vision Sight
               Sights
                              Wide field-of-view (WFOV) magnification: 4.2X
                              WFOV: 4.58° x 6.11°
                              Narrow field-of-view (NFOV) magnification: 9.2X/12X
                              NFOV: 2.00° x 3.00° /2° x 1.5° (approximately)
                          Lithium Sulfur Dioxide (LiSO2) BA-5590/U (Nonchargeable)
                               Nickel metal hydride battery, BB-390A/U rechargeable (training use only)
                               Number required: 1
                               NSN: 6135-01-036-3495
            Battery Type       Weight: 2.2 lbs. (1.00 kg)
                                                    4.0 hrs 120°F (49°C)
                                                    3.0 hrs between 50°F to 120°F (10°C to 49°C)
                               Life:
                                                    1.0 hrs between -20°F to 50°F (-49°C to 10°C)
                                                    0.5 hrs above 120°F (49°C)
          Legend: °–degree; C–Celsius; cm–centimeters; F–Fahrenheit; hrs–hours; lbs.–pounds; kg–
          kilograms; in–inches; NSN–national stock number


                                                    ATP 3-21.8                                            D-9




                                                                                                          OAG007099
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                           Table D-4. Physical characteristics of the round

                                    Weight: 35.14 pounds (lbs.) (15.97 kilograms [kg])
           Complete Round
             (Launch tube           Length: 47.60 inches (in) (120.90 centimeters [cm])
            assembly with           Diameter with end caps: 11.75 in (29.85 cm)
           missile and BCU)
                                    Inside diameter: 5.52 in (14.00 cm)
                                    Weight: 2.91 lbs. (1.32 kg)
                                    Length: 8.16 in (20.73 cm)
          Battery Coolant Unit      Width: 4.63 in (11.75 cm)
                 (BCU)              Battery type: lithium, nonrechargeable
                                    Battery life: 4 minutes of BCU time
                                    Battery coolant gas: argon

        CAPABILITIES AND LIMITATIONS
               D-20. The Javelin provides the platoon leader with a unique antiarmor capability.
               However, the leader must also understand antiarmor limitations in order to employ the
               system effectively. (See table D-5.)
                             Table D-5. Javelin capabilities and limitations


                            • Maximum effective range is          • Command launch unit sight cannot discriminate
                            2,000 meters.                         targets past 2,000 meters.
                            • Fire-and-forget capability.         • NVS cool-down time is from 2.5 to 3.5 minutes.
                            Missile I2R system gives              • Seeker’s cool-down time is about 10 seconds.
                            missile ability to guide itself to    • BCU life, once activated, is only about 4 minutes.
                            the target when launched by           • FOV can be rendered useless during limited
                            the gunner.                           visibility conditions (rain, snow, sleet, fog, haze,
                            • Two missile flight paths:           obscurants, dust, and night). Visibility is limited by
                            • Top attack – impacts on top         the following:
                            of target.                            • Day FOV relies on daylight to provide the gunner
                            • Direct attack – impacts on          a suitable target image; limited visibility conditions
                            front, rear, or flank of target.      may block sun.
                                                                  • NVS uses the infrared naturally emitted from
                            • Gunner can fire up to three
                                                                  objects. Infrared crossover is the time at both
                            missiles within 2 minutes.
                                                                  dawn and dusk that terrain and targets are close
         FIREPOWER          • Dual-shaped charge                  enough in temperature to cause targets to blend in
                            warhead can defeat known              with their surroundings.
                            enemy armor.
                                                                  • Natural clutter occurs when the sun heats
                            • NVS sees little degradation         objects to a temperature close enough to
                            of target image.                      surrounding terrain that it causes a target to blend
                            • Countermeasures used by             in with terrain.
                            enemy are countered by the            • Artificial clutter occurs when there are man-made
                            NVS filter.                           objects that emit large amounts of infrared (for
                                                                  example, burning vehicles).
                                                                  • Heavy fog reduces the capability of the gunner to
                                                                  detect and engage targets.
                                                                  • Flight path of missile is restricted in wooded,
                                                                  mountainous, and urban terrain.
                                                                  • Gunner must have LOS of the seeker to lock
                                                                  onto a target.


        D-10                                            ATP 3-21.8




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                     Table D-5. Javelin capabilities and limitations (continued)


                             • Man-portable.                   • Weight of Javelin makes maneuvering slow over
                             • Fire-and-forget capability      long distances.
                             allows gunner to shoot and        • The Javelin round is bulky and restricts
                             move before missile impact.       movement in heavily-wooded or vegetative terrain.
          MOBILITY           • Soft launch capability allows
                             it to be fired from inside
                             buildings and bunkers.
                             • Maneuverable over short
                             distances of the gunners.
                             • Passive infrared targeting      • Gunners must partially expose themselves to
                             system used to acquire lock-      engage the enemy.
                             on cannot be detected.            • CLU requires an LOS to acquire targets.
                             • Launch motor produces a
          PROTECTION         small signature.
                             • Fire-and-forget feature
                             allows gunner to take cover
                             immediately after missile is
                             launched.
          Legend: BCU–battery coolant unit; CLU–command launch unit; FOV–field of view; I2R–missile imaging
          infrared system; LOS–line of sight; NVS–night vision sight

         M3 MULTI-ROLE, ANTIARMOR, ANTIPERSONNEL
         WEAPON SYSTEM
             D-21. The M3 MAAWS is an 84-mm breach loaded and laterally, percussion fired
             recoilless rifle. The barrel has an internal steel liner. The liner is made with a laminate
             of epoxy and carbon fiber. The weapon is recoilless as part of the propellant gases escape
             rearwards through the venturi, equalizing the recoil force. The normal sight of the
             weapon is the telescopic sight; with the open sights being an auxiliary means of aiming.
             D-22. The M3 MAAWS consists of components, assemblies, subassemblies, and
             individual parts. Figure D-9 on page D-12 illustrates the major components of the
             M3 MAAWS. Soldiers must be familiar with the components, assemblies,
             subassemblies, and individual parts, considerations, and how they interact during
             operation:
                        Components are a uniquely identifiable group of fitted parts, pieces,
                        assemblies, or subassemblies that are required and necessary to perform a
                        distinctive function in the operation of the weapon.
                        Components are usually removable as one piece and are considered
                        indivisible for a particular purpose or use.
                        Assemblies are a group of subassemblies and parts that are fitted to perform
                        a specific set of functions during operation and cannot be used independently
                        for any other purpose.
                        Subassemblies are a group of fitted parts that perform a specific set of
                        functions during operation.
                        Subassemblies are compartmentalized to complete a specific task.



                                                    ATP 3-21.8                                         D-11




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                         Subassemblies may be grouped with other assemblies, subassemblies, and
                         parts to create a component.
                         Parts are the individual items that perform a function when attached to a
                         subassembly, assembly, or component that serves a specific purpose.




                                      Figure D-9. Major components

               D-23. The design of the M3 MAAWS allows it to engage lightly armored targets at
               ranges up to 700 meters, and soft-skinned vehicles and similar targets at ranges up to
               1,300 meters. Gunners can fire the M3 MAAWS from standing, kneeling, sitting, or
               prone positions. A subcaliber adapter 553B is available for realistic live fire training
               with the M3 MAAWS. Table D-6 list the technical data of the M3 MAAWS.
                                   Table D-6. Equipment technical data


         Caliber                                          84 mm
         Weight                                           20 lbs. (approximately 9 kgs)
         Weight With Bipod and Telescopic Sight           22.6 lbs. (approximately 10 kgs)
         Weight With ITWS and Storm                       23.8 lbs. (approximately 11 kgs)
         Weight of Telescopic Sight                       2.0 lbs. (0.09 kgs)
         Weight of Bipod                                  0.60 lbs. (0.25 kgs)
         Length                                           41.93 lbs. (1065 kgs)
         Weight of Transport Package with Weapon and      64 lbs. (29 kgs)
         Accessories
         Dimensions of Transport Package                  26.28 x 17.83 x 10.55 inches (1173 x 453 x 268
                                                          mm)
         Practical Rate of Fire                           Approximately 6 Rounds Per Minute
         Legend: ITWS–integrated thermal weapon sight; kgs–kilograms; lbs.–pounds; mm–millimeter;
         STORM–small, tactical, optical rifle—mounted


        D-12                                       ATP 3-21.8




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            D-24. The primary role of the M3 MAAWS gunner is to engage a target with a
            well-aimed shot. Consistently hitting a target with precision is a complex interaction of
            factors immediately before, during, and after firing the round. The interactions include
            maintaining postural steadiness, establishing and maintaining the proper aim on the
            target, stabilizing the weapon while pressing the trigger, and adjusting for environmental
            and battlefield conditions. (See TC 3-22.84 for additional information.)

         EMPLOYMENT CONSIDERATIONS
            D-25. The platoon’s objective is to concentrate combat power at the right time and place,
            by massing fires rather than by massing forces, and by presenting the enemy with
            multiple threats. A lethal mix of the SLMs and Javelin CCMS (or the M3 MAAWS)
            provide the Infantry rifle platoon with the flexibility to employ multiple systems
            designed to deliver maximum direct fire lethality and destroy enemy formations in close
            combat. At close combat ranges (15 to 300 meters), SLMs provide Soldiers with the
            ability to deliver direct fire lethality at close proximity to the enemy. At close combat
            extended ranges (maximum effective out to 2,000 meters), a mix of SLMs and Javelin
            provide the platoon with overwhelming combat overmatch. When the Javelin is replaced
            with the M3 MAAWS (dependent on the ammunition round selected) the platoon
            engages enemy personnel, lightly armored targets at ranges up to 700 meters, and
            soft-skinned vehicles and similar targets at ranges up to 1,300 meters. These weapons
            serve as vital components by applying overlapping and interlocking fires to achieve
            synergy and mutual support for maneuver.

         URBAN OPERATIONS AND FIELD FORTIFICATIONS
            D-26. Operations in complex terrain and urban environments alter the basic nature of
            close combat. History tells us engagements are more frequent and occur more rapidly
            when engagement ranges are close. Studies and historical analyses have shown only
            5 percent of all targets are more than 100 meters away. About 90 percent of all targets
            are located 50 meters or less from the identifying Soldier. Few personnel targets will be
            visible beyond 50 meters. Engagements usually occur at 35 meters or less.
            D-27. Soldiers employ SLM in the short, direct fire, close-quarter engagement range of
            close combat. Their use is preferable in urban areas where other direct fire (M1-series
            Abrams tank and M2-series Bradley fighting vehicle), indirect fire (artillery, mortars),
            Army aviation attack, and close air support (CAS) are incapable of operating due to risks
            of fratricide and collateral damage. In close combat, Soldiers employ SLM against a
            wide variety of targets. These include personnel armed with individual and crew-served
            weapons fighting from armored platforms (T-72); light armored personnel carriers and
            Infantry fighting vehicles (BMPs [Boyevaya Mashina Pekhotys], BRDMs [Boyevaya
            Razvedyvatelnaya Dozornaya Mashina], and BTRs [bronyetransportyor]); modified
            personnel/Infantry vehicles; lightly armed vehicles; and enemy in fortified positions,
            behind walls, inside caves and masonry buildings, and within earthen bunkers.




                                                ATP 3-21.8                                     D-13




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                 Note. Firing the M136A1 AT4-CS from a confined area requires a room that is
                 a minimum of 12 feet wide and 15 feet long and has a ceiling height of at least
                 7 feet. (See TM 3-23.25 for additional information on firing from a confined
                 area.)


               D-28. Javelin CCMS (or M3 MAAWS) teams provide overwatching AT fires during the
               attack of a built-up area. They are employed best in areas along major thoroughfares and
               in upper floors (Javelin only) of buildings or roofs to attain long-range fields of fire.
               Because the minimum engagement distance limits firing opportunities in the confines of
               densely built-up areas, the Javelin (or the M3 MAAWS) may not be the weapon of
               choice in the urban environment. Urban area hazards include fires caused by both
               friendly and enemy forces may cause target acquisition and lock-on problems, clutter on
               the battlefield may cause lock-on problems, and line of sight communications limited
               by structures. The Javelin’s (or the M3 MAAWS’s) unique flight path forces the gunner
               to think in three dimensions. Other urban environment hazards include overhead
               obstacles such as street signs, light poles, and wires, which could impede the missile’s
               flight path.

                 Notes. The Javelin has a soft launch system, allowing it to be fired safely from
                 inside of a building, provided that the room is at least 7 feet high, 12 feet wide,
                 and 15 feet deep. (See TC 3-22.37 for additional information of firing from
                 enclosures.)

                 Firing from fighting positions or enclosures is prohibited for the M3 MAAWS.
                 (See TC 3-22.84 for additional information on ammunition firing restrictions.)


        Shoulder-Launched Munitions Employment Against Field Fortifications and
        Buildings
               D-29. The current inventory of the M136 AT4 and M141 BDM SLMs provide the
               platoon with the capability to incapacitate personnel within earth and timber bunkers,
               masonry buildings, and light armored vehicles. However, neither system (the M136 AT4
               or M141 BDM) is fully capable of fire from enclosure. The M136A1 AT4-CS SLM can
               be fired safely from an enclosure to incapacitate personnel within earth and timber
               bunkers, masonry buildings, and light armored vehicles.
               D-30. The M141 BDM was specifically designed to better enhance the destruction of
               field fortifications and buildings. (See table D-7.) The M141 BDM contains an HEDP
               round with a dual-mode fuze that automatically adjusts for the type of target on impact.
               For soft targets, such as sandbagged bunkers, the M141 BDM warhead automatically
               adjusts to delayed mode and hits the target with high kinetic energy. This energy propels
               the warhead through the barrier and into the fortification or building, where the fuze
               detonates the warhead, causing greater damage.



        D-14                                        ATP 3-21.8




                                                                                                       OAG007104
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          Table D-7. Effects of the M141 bunker defeat munition on field fortifications
                                          or bunkers



          Bunkers        Rounds fired into firing ports or apertures can destroy     Coordinate fire: Fire
                         standard earth and timber bunkers, and hasty urban          shoulder-launched
                         fighting positions (example, vehicles, and metal            munitions at and
                         dumpsters). Rounds will detonate inside the rear of the     through firing ports.
                         position, causing major structural damage. Damage to
                         enemy equipment may be minor unless it is hit directly.
                         The round will cause injury or death to occupants.
                                         Rounds fired through windows and            Coordinate fire: Fire
                                         doorways can destroy the contents of        an M141 bunker
                                         the building. Destruction may not be        defeat munitions
                                         contained within a single room.             (BDMs) at the center
                                         Rounds and debris from the round and        of the visible part of a
                          Windows/
            Buildings                    materiel may pass through into other        window or door.
                          Doorways
                                         sections of the building, causing
                                         collateral damage. Damage to enemy
                                         equipment may be minor unless it is
                                         hit directly. The round will cause injury
                                         or death to occupants.
                                         Rounds fired at walls will penetrate        Coordinate fire: Fire
                                         double- reinforced concrete walls up to     one or more M141
                                         8 inches thick, and triple-brick            BDMs at the center of
                                         structures. The initial blast will open a   the desired location for
                                         hole in the wall but may or may not         the opening.
                                         completely penetrate the building.          Fire a second round
                                                                                     through the opening to
            Buildings                                                                destroy targets within
                            Walls
           (continued)                                                               the structure.
                                                                                     Note. It takes more
                                                                                     than one round to
                                                                                     create a Soldier-size
                                                                                     hole. Use pair or volley
                                                                                     fire, placing the rounds
                                                                                     about 12 to 18 inches
                                                                                     apart.
                         Rounds fired through underground openings can               Coordinate fire: Fire
                         collapse the opening or destroy the contents within it.     one or more M141
                         Destruction may not be contained within the opening.        BDMs.
                         Rounds and debris may pass through into other
          Underground    sections of the opening, causing more damage.
            Opening      Damage to enemy equipment may be minor unless it is
                         hit directly. The round will cause injury or death to
                         occupants at the front entrance, and others farther into
                         the opening may be incapacitated or die from the
                         concussion, heat, and debris caused by the explosion.




                                                 ATP 3-21.8                                             D-15




                                                                                                           OAG007105
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        Javelin Employment Considerations in Urban Terrain
               D-31. Urban employment considerations for Javelin include engagement distance,
               thermal crossover, backblast, weapon penetration, and breaching structural walls.
               Details follow:
                          Engagement distance. The Javelin missile has a minimum engagement
                          distance (150 meters in the top attack mode and 65 meters in the direct attack
                          mode), which limits its use in built-up areas.
                          Crossover. Sometimes the Javelin seeker will not be able to distinguish
                          between the background and target because the two have the same
                          temperature (crossover).
                          Time. When a gunner comes across a target of opportunity, the gunner may
                          not be able to take advantage of it. The cooldown time of the Javelin’s night
                          vision sight is 2.5 to 3.5 minutes. Javelin seeker cooldown takes about
                          10 seconds. Once the battery coolant unit is activated, the gunner has a
                           maximum of 4 minutes to engage the target before the battery coolant unit is
                           depleted.
                          Backblast. The soft launch capability of the Javelin enables the gunner to fire
                          from inside buildings because there is little overpressure or flying debris.
                          Weapon penetration. The dual-charge Javelin warhead penetrates typical
                          urban targets. The direct attack mode is selected when engaging targets in a
                          building. Enemy positions or bunkers in the open closer than 150 meters are
                          engaged using the direct attack mode. Positions in the open farther than
                          150 meters are engaged using either the top or direct attack mode, depending
                          on the situation.
                          Breaching structural walls. The Javelin is not effective when breaching
                          structural walls. AT guided missiles are not designed to breach structural
                          walls. All Javelin is designed to produce a small hole, penetrate armor, and
                          deliver the explosive charge. Breaching calls for the creation of a large hole.
                          Javelins are better used against armored vehicles or the destruction of
                          enemy-fortified fighting positions.

        M3 MULTI-ROLE, ANTIARMOR, ANTIPERSONNEL WEAPON SYSTEM
        AMMUNITION SAFETY PRECAUTIONS
               D-32. Leaders and Soldiers must be familiar with the safety precautions during training
               and combat operations for the M3 MAAWS. The two basic safety rules to keep in mind
               when operating the M3 is to always wear double hearing protection and to always ensure
               the backblast area is clear. Firing teams will be observant of all safe separation and
               surface safety distances. Failure to comply with this warning could result in injury or
               death to personnel. Table D-8 details the ammunition safe separation and fuze arming
               distances.




        D-16                                        ATP 3-21.8




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               Table D-8. Ammunition safe separation and fuze arming distances


          Minimum Fuze        72 Feet              151 Feet            56 to 66 Feet       39 Feet
          Arming Distance     22 Meters            46 Meters           17 to 20 Meters     12 Meters
          *Safe Distance of   279 Feet             820 Feet            600 Feet            No
          Gunner and          85 Meters            250 Meters          183 Meters          Fragmentation
          Assistant Gunner                                                                 Hazard at 39
                                                                                           Feet or 12
                                                                                           Meters
          **Safe Distance     279 Feet             984 Feet            1,083 Feet          591 Feet
          of All Other        85 Meters            300 Meters          330 Meters          180 Meters
          Personnel
          Remarks
          *Leaders must train teams not to engage targets closer than safe separation distance because
          fragmentation may cause injury or death.
          **Teams shall use extreme caution when firing within these distances of adjacent personnel and
          friendly troops.
          Measure distances from intended target or point of detonation.
          Legend: ASM–Antistructure Munition; HE–High Explosive; HEAT–High Explosive Antitank; HEDP–
          High Explosive Dual-Purpose; RS–Reduced Sensitivity



                Note. The reduced sensitivity (known as RS) of the bursting charge; for example,
                withstands outer heat better than the Octol charge in the standard round. See
                operator’s manual (TM 9-1015-262-10) for additional information.


             D-33. Due to excessive noise and blast over pressurization that occurs when firing the
             M3, the gunner and assistant gunner may only fire a limited number of rounds during
             training and combat. Table D-9 on page D-18 details the ammunition firing restrictions
             (rounds) by ammunition type and firing position. The table provides the maximum
             amount of rounds the gunner and assistant gunner can fire in a 24-hour period. Each type
             of ammunition and firing position have a point value assigned. The gunner and assistant
             gunner cannot exceed a total of 6 points within a 24-hour period regardless of the firing
             position or ammunition type. Leaders must use the ammunition type and firing position
             information to determine the maximum number of rounds that can be fired. For example,
             if the Soldier fired 3 rounds of HEDP 502 RS from the standing, kneeling, and prone
             positions (1 round from each position), the total point value would be 5. The Soldier
             may now only fire an additional round from the standing or kneeling position to ensure
             the 6-point rule is not exceeded.




                                                     ATP 3-21.8                                          D-17




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                 Note. Ammunition firing restrictions for ammunition type and firing position
                 apply to both gunner and assistant gunner over a 24-hour period. Failure to
                 comply with this warning could result in injury or death to personnel. Seek
                 immediate medical attention if injury occurs. Double hearing protection is
                 required. Failure to wear double hearing protection when firing the M3 will cause
                 permanent hearing loss. Failure to comply with this warning could result in injury
                 or death to personnel. Seek immediate medical attention if injury occurs.


                           Table D-9. Ammunition firing restrictions (rounds)
                               Firing Position (Firing from Fighting Position or Enclosure is
           Round                                          Prohibited)
            Type             Standing             Kneeling             Sitting              Prone
                          Rounds Points        Rounds Points       Rounds Points        Rounds Points
             TP 552         1         1          1         1         1         3          1       1
         HEAT 551C          1         1          1        1.5        1         1          1       1
               RS
           HE 441D         1         1.5        1          1          1         3          1     3
               RS
          HEDP 502         1          1         1          1          1         2          1     3
               RS
           ADM 401         1          1         1          1          1         2          1    1.5
               (All
           Variants)
             Smoke         1         1.5        1          1          1        1.5         1     3
              469C
          Illuminator      1          1         1          1          1         1          0    N/A
              545C
           TPT 141         1          1         1          1          1         1          1     1
           ASM 509         1          1         1          1          1         1          1     1
          SCA 553B         44         1         27         1         27         1         10     1
         Legend: ADM–Area Deterrent Munition; ASM–Antistructure Munition; HE–High Explosive; HEAT–
         High Explosive Anti-Tank; HEDP–High Explosive Dual-Purpose; N/A–Not Applicable; RS–Reduced
         Sensitivity; SCA–Subcaliber Adapter; TP–Target Practice; TPT–Target Practice Tracer


        EXPLOITING ARMORED VEHICLE WEAKNESSES
               D-34. Because they are designed mainly for offense against other armored vehicles (see
               figure D-10), armored vehicles usually have their heaviest armor in front. All vehicles
               are vulnerable to repeated hits on their flanks and rear, though the flank offers the largest
               possible target. (See TC 3-20.31-4.) Shooters always should aim center of mass to
               increase the probability of a hit. The older the vehicle model, the less protection it has
               against SLM and Javelins. Newer versions of older vehicle models may use bolt-on
               (appliqué) armor to improve their survivability. Reactive armor usually covers the
               forward-facing portions and sides of the vehicle and can defeat shaped-charge weapons
               such as the SLM. When reactive armor detonates, it disperses metal fragments to
               200 meters. SLM cause only a small entry hole in an armored vehicle target, though
               some fragmentation or spall may occur.


        D-18                                         ATP 3-21.8




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                             Figure D-10. Armored vehicle weak points

            D-35. Natural or man-made obstacles can be used to force the armored vehicle to slow,
            stop, or change direction. This pause enables the shooter to achieve a first-round hit. If
            the gunner does not achieve a catastrophic kill on the first round, the gunner or another
            shooter must be ready to engage the target vehicle immediately with another round.
            D-36. The gray area in figure D-11 shows the most favorable direction of attack when
            the turret is facing to the front. The white area shows the vehicle’s principal direction of
            fire (known as PDF) and observation when the turret is facing to the front. Volley fires
            can degrade the additional protection appliqué and reactive armors provide to the target
            vehicle greatly.




                        Figure D-11. Limited visibility of armored vehicles


                                                 ATP 3-21.8                                      D-19




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               D-37. Armored vehicle kills are classified according to the level of damage achieved.
               (See table D-10.)
                                     Table D-10. Armored vehicle kills


                                 Suspension (track, wheels, or road wheels)    Vehicle cannot move, but it
          Mobility Kill          or power train (engine or transmission) has   can still return fire.
                                 been damaged.
                                 Main armament has been disabled.              Vehicle still can move, so it
          Firepower Kill
                                                                               can get away.
                                 Ammunition or fuel storage section has        Vehicle completely
          Catastrophic Kill
                                 been hit by more than one round.              destroyed.


        ANTIARMOR ROLE (SHOULDER-LAUNCHED MUNITIONS)
               D-38. When Soldiers employ the M136 AT4, M136A1 AT4-CS, and M72-series LAW
               to defeat threat armored vehicles, it requires Soldiers to engage threat vehicles using
               single or paired shots. Gunners require positions allowing engagement against the flank
               or rear of the target vehicles. Gunners prepare standard range cards (Individual Task
               071-317-0000 [Prepare an Antiarmor Range Card] outlines the process in preparing an
               antiarmor range card) for the SLM’s primary position. If time permits, gunners also
               prepare standard range cards for the SLM’s alternate and supplementary positions. They
               must seek covered and concealed positions from where targets can be engaged. The
               M136A1 AT4-CS is the only SLM that can be fired safely from within an enclosure
               because of its countermass propulsion system. TM 3-23.25 advises firing the M136 AT4
               and M141 BDM from an enclosure under combat conditions only when no other tactical
               option exists due to the risk of both auditory and nonauditory injury.

        Shoulder-Launched Munitions Warhead Effects on Armor
               D-39. SLM warheads have excellent armor penetration ability and lethal after-armor
               effects (especially the M136 AT4, M136A1 AT4-CS, and M72A7). The extremely
               destructive shaped-charge explosives can penetrate more than 14 inches
               (35.6 centimeters) of rolled homogeneous armor. Types of warhead armor effects follow
               and are illustrated in figure D-12:
                           Impact. The nosecone crushes: the impact sensor activates the fuze.
                           Ignition. The fuze element activates the electric detonator. The booster
                           detonates, initiating the main charge.
                           Penetration. The main charge fires and forces the warhead body liner into a
                           directional gas jet-penetrating armor plate.
                           Spalling (after-armor effects). The projectile fragments and incendiary
                           effects produce blinding light and highly destructive results.




        D-20                                         ATP 3-21.8




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            Figure D-12. Effects of shoulder-launched munition warheads on armor
                                            targets


         Employment Against of Other Vehicles
             D-40. The M72-series LAW proves more effective against light-armored vehicles. The
             M136 AT4 proves more effective against armored vehicles. Nonarmored vehicles such
             as trucks, cars, and boats are considered soft targets. Firing along their length offers the
             greatest chance of a kill, because this type of shot is most likely to hit their engine block
             or fuel tank. Effects of different munitions on vehicle types are listed in table D-11.
                     Table D-11. Effects of different munitions on vehicle types
          Heavy-Armored Vehicle
          The older the vehicle model, the less protection it has against shoulder-launched munitions. Newer
          versions may use bolt-on (appliqué) armor to improve their survivability. Some vehicles are equipped
          with reactive armor, which consists of metal plates and plastic explosives.


                            Can cause mobility kills by disabling the       The M141 BDM should be a last
          M141 BDM          vehicle’s suspension system.                    resort when engaging armored
                                                                            vehicles.
                            Causes only a small entry hole, though some     Reactive armor usually covers
          M136-series
                            fragmentation or spalling may occur.            the front and sides of the vehicle,
                                                                            and can defeat shaped-charge
                            Causes only a small entry hole, though some
                                                                            weapons; however, the
                            fragmentation or spalling may occur.
                                                                            munitions can restrict the
          M72-series                                                        vehicle’s mobility and may
                                                                            destroy the vehicle if the round
                                                                            hits a vulnerable spot, such as
                                                                            the engine compartment area.
          Legend: BDM–bunker defeat munition




                                                     ATP 3-21.8                                          D-21




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            Table D-11. Effects of different munitions on vehicle types (continued)
         Light-Armored Vehicle
         All current shoulder-launched munitions are capable of destroying most light-armored vehicles, if the
         round hits a vulnerable spot, such as the engine compartment area, or fuel tank. Unit leaders should
         provide squad and platoon supporting fires when engaging light-armored troop carriers. Any Infantry
         troops who survive the initial assault may dismount and return fire.


                            Can cause a catastrophic kill, if the round hits a
         M141 BDM           vulnerable spot, such as the engine
                            compartment area or fuel tank.
                            Can cause a catastrophic kill, if the round hits a
         M136-series        vulnerable spot, such as the engine
                            compartment area or fuel tank.
                            Can cause a catastrophic kill, if the round hits a
         M72-series         vulnerable spot, such as the engine
                            compartment area or fuel tank.
         Nonarmored Vehicles
         Nonarmored vehicles, such as trucks and cars, are considered soft targets. Firing along their length
         (flank) offers the greatest chance of a kill, because this type of shot is most likely to hit their engine
         block or fuel tank. Front and rear angles offer a much smaller target, reducing the chance of a first
         time hit.


         M141 BDM           Causes a catastrophic kill.
                            May penetrate but will pass through the body          When engaging enemy-used
         M136-series        with limited damage unless the rocket hits a          privately owned vehicles with
                            vital part of the engine.                             M136- or the M72-series
                                                                                  munitions, do not fire at the
                            May penetrate but will pass through the body
                                                                                  main body. Instead, fire at the
         M72-series         with limited damage unless the rocket hits a
                                                                                  engine compartment area.
                            vital part of the engine.
         Legend: BDM–bunker defeat munition


        Methods of Employment
               D-41. The four employment methods for SLM include single, sequence, pair, and volley
               firing. The leader evaluates the situation on the ground to determine which of these
               methods to use. Regardless of whether they are used singly or in combination,
               communications are needed as well. The methods of employment are rehearsed in
               accordance with the unit SOP.

        Single Firing
               D-42. A single Soldier with one SLM may engage an armored vehicle, but this is not the
               preferred method of employment. Several SLM normally are required to kill an armored
               vehicle. A single gunner firing one round must hit a vital part of the target in order to do
               damage. (See figure D-13.) A single shooter can engage targets out to 225 meters with
               the LAW, or 300 meters with the M136 AT4 (when the actual range is known).




        D-22                                              ATP 3-21.8




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                       Figure D-13. Shoulder-launched munitions single firing

         Sequence Firing
             D-43. A single shooter is employed, equipped with two or more SLMs prepared for
             firing, to engage a target. After engaging with the first round and observing the impact,
             the shooter adjusts the point of aim. The shooter then engages with another round until
             the target is destroy or all rounds are expended. (See figure D-14.)




                   Figure D-14. Shoulder-launched munitions sequence firing

         Pair Firing
             D-44. Two or more shooters, equipped with two or more SLMs prepared for firing, are
             employed to engage a single target. Before firing, the first shooter informs the others of
             the estimated speed and distance to the target. If the impact of the first shooter’s round
             proves to be correct, the other shooters engage the target until it is destroyed. If the
             impact of the first shooter’s round proves to be incorrect, the second shooter informs the



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               others shooter of the estimate and engages the target. This continues until the target is
               destroyed or all rounds are expended. (See figure D-15).




                         Figure D-15. Shoulder-launched munitions pair firing

        Volley Firing
               D-45. Volley firing involves two or more firers employed against a single target (when
               the range is known) at the same time on a prearranged signal (such as a command,
               whistle, mine, or TRP). Volley firing can be the most effective means of employment,
               as it places the most possible rounds on one target at one time, increasing the possibility
               of a kill. (See figure D-16.)




        D-24                                        ATP 3-21.8




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                     Figure D-16. Shoulder-launched munitions volley firing


         ANTIARMOR ROLE (JAVELIN-CLOSE COMBAT MISSILE SYSTEM)
            D-46. The platoon conducts an antiarmor ambush (see paragraphs 7-176 to 7-182 for
            additional information) to destroy small groups of armored vehicles, force the enemy to
            move slowly and cautiously, or force the enemy into a choke point. The Javelin’s
            2,000-meter range allows flexibility in choosing ambush positions. Leaders must
            understand with the Javelin’s slow rate of fire, while the Javelin gunners attach the CLU
            to new rounds, other weapon systems must be prepared to engage the vehicle(s). In
            addition to fires into the kill zones (see figure 7-20 on page 7-53), the Javelin can be
            employed in a security role to guard high-speed avenues of approach, to slow or stop
            enemy reinforcements, or to destroy vehicles attempting to flee the kill zone.
            D-47. In the offense, the Javelin CCMS contributes by providing long-range fires to
            destroy enemy armor and by protecting the platoon from armored counterattacks. In the
            absence of armored targets, the Javelin can engage enemy fortifications and hovering
            helicopters. Javelins are normally used in a support by fire or an attack by fire role during
            the offense. The primary consideration for such employment is the availability of
            appropriate fields of fire and armored threat. Javelin teams can protect flanks against
            armored threats and can provide overwatch for the platoon’s movement. In the offense,
            once the objective is secured, leaders must rapidly position Javelin CCMS and other
            available SLM to defend against enemy counterattack.
            D-48. During the defense, the platoon leader considers the enemy armor threat, then
            positions antiarmor weapons accordingly to cover armor avenues of approach. The
            leader considers the fields of fire, tracking time, and minimum engagement distance of
            each weapon and selects a primary position and sector of fire for each antiarmor weapon.
            The leader then picks alternate and supplementary positions for each system. Each
            position should allow flank fire and have cover and concealment. The leader integrates
            the CLU into the platoon’s limited visibility security and observation plan.
            D-49. The platoon leader selects Javelin fighting positions and assigns their sectors of
            fire. Considering the fundamentals of antiarmor employment will improve the team’s
            survivability greatly in the defense. The weapons squad leader and the Javelin team

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               coordinate with adjacent units to ensure security. The Javelin’s maximum effective
               engagement range (direct attack and top attack modes): 2,000 meters for the M98A1 and
               2,500 meters for the M98A2 makes it difficult for the enemy to engage the team with
               direct fire, which forces the enemy to deploy earlier than intended. The gunner prepares
               a standard range card (TC 3-22.37 outlines the process for preparing the standard range
               card for the Javelin) for the system’s primary position. If time permits, the gunner also
               prepares standard range cards for the system’s alternate and supplementary positions.
               (See table D-12 for Javelin team duties and responsibilities.)

                 Note. The duties and responsibilities stated in table D-12 also applied when the
                 M3 MAAWS is used in place of the Javelin.


                          Table D-12. Javelin team duties and responsibilities


         Integrate Javelins into the platoon tactical plan:
                    Select general weapons positions.                          X
                    Assign sectors of fires.                                   X
                     Coordinate mutual support.                                X            X
                     Coordinate with adjacent units.                           X            X       X
         Positions (primary, alternate, and supplementary) and routes
         between positions.                                                    X            X
         Supervise continual preparation and improvement of positions.         X            X
         Coordinate security of the Javelin teams.                             X            X
         Confirm or make adjustments.                                          X            X
         Supervise preparation of DA Form 5517 (Standard Range
         Card).                                                                X            X
         Control movement of gunners between positions.                        X            X
         Issue fire commands to gunners.                                       X            X
         Coordinate resupply and collection of extra rounds carried in
         platoon.                                                              X            X
         Identify enemy avenues of approach.                                   X            X
         Prepare fighting position (primary, alternate, supplementary).                     X       X
         Prepare standard range card.                                                       X       X
         Designate target reference point.                                     X            X
         Pre-stock rounds.                                                                  X       X
         Prepare round for firing.                                                          X       X
         React to fire commands.                                                            X       X
         Engage targets.                                                                    X
         Legend: AH–ammunition handler; DA–Department of Army; JG–Javelin gunner

               D-50. Reserve forces armed with the Javelin (and to a lesser degree SLMs) may be
               employed to assist counterattacks to regain essential positions. They are used to block
               enemy penetrations, to meet unexpected enemy thrusts, and to provide support by fire


        D-26                                            ATP 3-21.8




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            to endangered friendly units during disengagements and withdrawals. In the event
            defensive positions are in danger of being overrun by enemy armored vehicles, they may
            be used against armored vehicles and lightly armored vehicles posing an immediate
            threat. The maximum range provides the platoon leader with greater flexibility in
            positioning each round and provides a means of achieving overlapping sectors of fire
            for increased survivability.

         ANTIPERSONNEL AND ANTIARMOR ROLE (M3 MULTI-ROLE, ANTIARMOR,
         ANTIPERSONNEL WEAPON SYSTEM)
            D-51. The primary role of the M3 MAAWS gunner is to engage a target with a
            well-aimed shot. Consistently hitting a target with precision is a complex interaction of
            factors immediately before, during, and after firing the round. The interactions include
            maintaining postural steadiness, establishing and maintaining the proper aim on the
            target, stabilizing the weapon while pressing the trigger, and adjusting for environmental
            and battlefield conditions. (See TC 3-22.84 for additional information.)

         Shot Process
            D-52. The shot process is the basic outline of an individual engagement sequence all
            firers consider during an engagement, regardless of the weapon employed. The shot
            process formulates all decisions, calculations, and actions that lead to taking the shot.
            Soldiers may interrupt the shot process at any point before the trigger sear disengages
            and fires the weapon should the situation change. The shot process has three distinct
            phases: pre-shot, shot, and post-shot.
            D-53. Soldiers must understand and correctly apply the shot process to achieve
            consistent, accurate, well-aimed shots. The sequence of the shot process does not
            change; however, the application of each element varies based on the conditions of the
            engagement. Every shot that the Soldier fires has a complete shot process. The shot
            process allows the Soldier to focus on one cognitive task at a time. The Soldier must
            maintain the ability to mentally organize the shot process’s tasks and actions into a
            disciplined mental checklist, and focus their attention on activities, which produce the
            desired outcome—a well-aimed shot.

         Types of Ammunition
            D-54. Ammunition for use in the M3 MAAWS is described as a cartridge. A cartridge
            is an assembly consisting of a cartridge case, a percussion cap, a quantity of propellant,
            a projectile, and a base plate. The following terminology describes the general
            components (see figure D-17 on page D-28) of an M3 MAAWS round:
                       Cartridge case. The cartridge case is made of light alloy that holds the other
                       components of the cartridge.
                       Propellant. The propellant (or powder) provides the energy to propel the
                       projectile through the barrel and downrange towards a target through
                       combustion.



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                          Percussion cap. The percussion cap is a small explosive charge that provides
                          an ignition source for the propellant.
                          Projectile. The projectile is the component that travels to the target.
                          Base plate. The rear portion of the cartridge. Upon firing, the case base and
                          seal assembly provide rear obturation.




                            Figure D-17. General components of a cartridge

        84-millimeter High Explosive 441D Reduced Sensitivity Cartridge
               D-55. The 84-mm HE 441D RS round is intended for use against troops in the open,
               behind cover, or in trenches as well as soft-skinned transport vehicles, and similar types
               of targets. The cartridge is subject to firing limitations. See table D-8 on page D-17 and
               table D-9 on page D-18 or the operator’s manual (TM 9-1015-262-10) for information
               on firing considerations and the maximum allowable quantity of cartridges that may be
               fired per Soldier per 24-hour period. Additional firing considerations include:
                           Do not engage targets closer than 250 meters (820 feet).
                           Use extreme caution when firing within 300 meters (984 feet) of friendly
                           troops.
                           Teams shall be trained not to engage targets closer than minimum
                           engagement distance because fragmentation may cause injury or death.
                           Teams shall use extreme caution when firing within these distances of
                           adjacent personnel or friendly troops.
                           Distances are measured from intended target or point of detonation.

        84-millimeter Area Deterrent Munition 401 (Variants) Cartridge
               D-56. The 84-mm area deterrent munition 401 is intended for area protection; used as
               an antipersonnel munition for close in protection in tight conditions of jungle or urban
               warfare. The area deterrent munition 401 round will spread approximately 1,100
               flechettes against the target area. At a distance of 100 meters and a target of (h x w) 2 x
               7 meters divided into 14 square meters, at least 10 of the squares will be fully penetrated.

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             The 84-mm, area deterrent munition 401B round contains approximately 300 ball
             bearings with an effective range of 200 meters. Both cartridges are subject to firing
             limitations. See table D-8 on page D-17 and table D-9 on page D-18 or the operator’s
             manual (TM 9-1015-262-10) for information on the maximum allowable quantity of
             cartridges that may be fired per Soldier per 24-hour period. Additional firing
             considerations include:
                        Do not engage targets closer than 150 meters (492 feet).
                        Use extreme caution when firing within 330 meters (1,083 feet) of friendly
                        troops.
                        Distances are measured from intended target or point of detonation.

         84-millimeter High Explosive Dual Purpose 502 Reduced Sensitivity Cartridge
             D-57. The 84-mm HEDP 502 RS is a high explosive (HE), dual purpose round for use
             against armored personnel carriers and field fortifications. The round has an impact (I)
             mode and a delay (D) mode. The impact mode provides HEAT capability against
             armored personnel carriers and reinforced concrete walls. The delay mode provides
             delay burst capability to achieve maximum lethality against armored vehicles and delay
             action for bursting inside field fortifications and buildings. The cartridge is subject to
             firing limitations. See table D-8 on page D-17 and table D-9 on page D-18 or the
             operator’s manual (TM 9-1015-262-10) for information on firing considerations and the
             maximum allowable quantity of cartridges that may be fired per Soldier per 24-hour
             period. Additional firing considerations include:
                        Do not engage targets closer than 183 meters (600 feet).
                        Use extreme caution when firing with 330 meters (1,083 feet) of friendly
                        troops.
                        Teams shall be trained not to engage targets closer than safe separation
                        distance because fragmentation may cause injury or death.
                        Teams shall use extreme caution when firing within these distances of
                        adjacent personnel and friendly troops.
                        Distances are measured from intended target or point of detonation.

         84-millimeter High Explosive Antitank 551 Reduced Sensitivity Cartridge
             D-58. The 84-mm HEAT 551 RS round is intended for use against all types of armored
             fighting vehicles with armor less than 16 inches thick including those fitted with
             protective devices such as skirting plates, grids, and other devices. It is also effective
             against concrete bunkers, landing craft, and similar hard targets. In addition to its great
             penetrating power, the fragments of the projectile body have a high lethal effect on
             personnel near the target. The design of the fuze system makes it possible to fire the
             projectile through brush and scrub without the projectile initiating. The cartridge is
             subject to firing limitations. See table D-8 on page D-17 and table D-9 on page D-18 or
             the operator’s manual (TM 9-1015-262-10) for information on firing considerations and
             the maximum allowable quantity of cartridges that may be fired per Soldier per 24-hour
             period. Additional firing considerations include:
                         Do not engage targets closer than 85 meters (279 feet).

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                          Use extreme caution when firing within 85 meters (984 feet) of friendly
                          troops.
                          Teams shall be trained not to engage targets closer than minimum
                          engagement distance because fragmentation may cause injury or death.
                          Teams shall use extreme caution when firing within these distances of
                          adjacent personnel or friendly troops.
                          Distances are measured from intended target or point of detonation.

        84-millimeter Antistructure Munition 509 Cartridge
               D-59. The 84-mm antistructure munition 509 is an antistructure munition that provides
               a defeat capability against masonry walls, parapets made of bricks and light concrete,
               and light armored vehicles. The fuze system has an impact (I) mode and a delay (D)
               mode. The impact mode defeats masonry walls and light, armored vehicles. The delay
               mode defeats enemy inside structures and field fortifications as well as any enemy
               behind masonry walls when they are close to the impact point. The cartridge is subject
               to firing limitations. See table D-8 on page D-17 and table D-9 on page D-18 or the
               operator’s manual (TM 9-1015-262-10) for information on firing considerations and the
               maximum allowable quantity of cartridges that may be fired per Soldier per 24-hour
               period. Additional firing considerations include:
                           Do not engage targets closer than 12 meters (39 feet).
                           Use extreme caution when firing with 180 meters (591 feet) of friendly
                           troops.
                           Teams shall be trained not to engage targets closer than safe separation
                           distance because fragmentation may cause injury of death.
                           Teams shall use extreme caution when firing within these distances of
                           adjacent personnel and friendly troops.
                           Distances are measured from intended target or point of detonation.

        84-millimeter Illuminator 545C Cartridge
               D-60. The 84-mm illuminator 545C is designed to meet the requirement for a very quick
               illumination of target areas, offering facilities for all types of direct firing weapons and
               guided antitank weapons to engage armored fighting vehicles including support and
               other weapons. The illuminator 545C round is also intended to facilitate for the subunits
               of a battalion to supply their own illumination of a battlefield, even continuously, when
               required. The cartridge is subject to firing limitations. See table D-8 on page D-17 and
               table D-9 on page D-18 or the operator’s manual (TM 9-1015-262-10) for information
               on firing considerations and the maximum allowable quantity of cartridges that may be
               fired per Soldier per 24-hour period. Teams must train not to engage targets closer than
               150 meters when firing illumination rounds in impact mode. Firing the illuminator 545C
               from the prone position is limited to a horizontal firing elevation (0 degrees). Failure to
               comply with this warning could result in injury or death to personnel. Seek immediate
               medical attention if injury occurs.




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         84-millimeter Multi-target 756 Cartridge
             D-61. The 84-mm multi-target 756 is intended mainly for combat in urban areas and is
             therefore, a wall piercing round. The projectile is provided with a tandem warhead,
             which gives good effect in different types of targets as 8 inches reinforced concrete
             walls, 12 inches triple brick walls and earth and timber bunker. The tandem warhead
             consists of precursor and follow-through-charge. When hitting the wall, the precursor
             detonates and creates a hole in the wall. The follow-through charge passes through the
             hole, detonating behind the wall distributing steel fragments and creating a blast effect.
             The cartridge is subject to firing limitations. See the operator’s manual
             (TM 9-1015-262-10) for information on firing considerations and the maximum
             allowable quantity of cartridges that may be fired per Soldier per 24-hour period.
             Additional firing considerations include:
                        Do not engage targets closer than 77 meters (252 feet).
                        Use extreme caution when firing within 115 meters (377 feet) of friendly
                        troops.
                        Teams shall be trained not to engage targets closer than safe separation
                        distance because fragmentation may cause injury of death.
                        Teams shall use extreme caution when firing within these distances of
                        adjacent personnel/friendly troops.
                        Distances are measured from intended target or point of detonation.

         84-millimeter Smoke 469C Cartridge
             D-62. The 84-mm smoke 469C is intended for tactical use on the battlefield to obscure
             direct-fire weapons such as supporting tanks, self-propelled artillery, armored fighting
             vehicles, machine guns, and so forth. On impact, a smoke screen with a 10- to 15-meter
             width and with good screening effect is instantly obtained. Using this round enables the
             subunit to lay a smoke screen rapidly when required. Use this round in the combat
             situations, to include blinding, launch round directly at target; screening, between enemy
             and friendly position; and marking, show position of target to artillery or CAS. The
             cartridge is subject to firing limitations. See table D-8 on page D-17 and table D-9 on
             page D-18 or the operator’s manual (TM 9-1015-262-10) for information on firing
             considerations and the maximum allowable quantity of cartridges that may be fired per
             Soldier per 24-hour period.




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                                              Appendix E
                                           Battle Drills

                Infantry rifle platoons and squads undergo extensive training to
                conduct combat operations in all operational environments. In
                preparation for these operations, battle drills are conducted to
                mitigate the risk of making contact with the enemy before
                maneuvering. Battle drills are rehearsed and well understood
                actions made in response to common battlefield occurrences
                (ADP 3-90).

         OVERVIEW
            E-1. Battle drills are tasks (individual and collective) designed to teach a Soldier or
            small unit to react and survive in common combat situations. A platoon, squad, team, or
            crew performs these actions when initiated by a predetermined cue (verbal or visual).
            Battle drills are performed instinctively; they require minimal leader direction and have
            little to no notice. When initiated they are considered vital to the success of the combat
            operation or critical to preserving life (see FM 7-0). A drill has the following advantages:
                         It is based on unit missions and the specific tasks, conditions, standards, and
                         performance measures required to support mission proficiency.
                         It builds from simple to complex but focuses on the basics.
                         It links how-to-train and how-to-fight at the small-unit level.
                         It provides an agenda for continuous coaching and analyzing.
                         It develops leaders and builds teamwork and cohesion under stress.
                         It enhances the chance for individual and unit survival on the battlefield.

         SELECTED BATTLE DRILLS
            E-2. This section identifies essential battle drills that an Infantry rifle platoon and
            squad must train on to ensure success. (See the Army Training Network or the Central
            Army Registry websites to view selected battle drills.) They include:
                     Battle Drill 1: React to Direct Fire Contact While Dismounted – Platoon
                     (07-PLT-D9501).
                     Battle Drill 1A: React to Direct Fire Contact While Dismounted – Squad
                     (07-SQD-D9501).
                     Battle Drill 2: Conduct a Platoon Assault (07-PLT-D9514).
                     Battle Drill 2A: Conduct a Squad Assault (07-SQD-D9515).
                     Battle Drill 3: Break Contact – Platoon (07-PLT-D9505).
                     Battle Drill 3A: Break Contact – Squad (07-SQD-D9505).

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        Appendix E



                     Battle Drill 4: React to Ambush (Dismounted) – Platoon (07-PLT-D9502).
                     Battle Drill 4A: React to Ambush (Dismounted) – Squad (07-SQD-D9502).
                     Battle Drill 5: Knock Out a Bunker – Squad (07-SQD-D9406).
                     Battle Drill 6: Enter and Clear a Room – Squad (07-SQD-D9509).
                     Battle Drill 7: Enter a Trench to Secure a Foothold – Platoon
                     (07-PLT-D9510).
                     Battle Drill 8: Breach of a Mined Wire Obstacle – Platoon (07-PLT-D9412).
                     Battle Drill 9: React to Indirect Fire While Dismounted – Platoon
                     (07-PLT-D9504).
                     Battle Drill 9A: React to Indirect Fire While Dismounted – Squad
                     (07-SQD-D9504).
                     Battle Drill 10: React to Aircraft While Dismounted – Platoon
                     (07-PLT-D8015).
                     Battle Drill 11: Establish Security at the Halt – Platoon (07-PLT-D9508).
                     Battle Drill 12: Conduct a Hasty Attack – Platoon (07-PLT-D9511).
                     Battle Drill 13: Dismount a Vehicle Under Direct Fire – Squad
                     (07-SQD-D9506).
                     Battle Drill 14: React to Nuclear Attack – Platoon (07-PLT-D9483).
                     Battle Drill 15: React to a Chemical Agent Attack – Platoon
                     (03-PLT-D0071).




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                                         Glossary

               The glossary lists acronyms and terms with Army or joint
               definitions. Where Army and joint definitions differ, (Army)
               precedes the definition. Terms for which ATP 3-21.8 is the
               proponent publication (the authority) are marked with an
               asterisk (*). The proponent publication for other terms is listed in
               parentheses after the definition.

           SECTION I – ACRONYMS AND ABBREVIATION
                      AO            area of operations
                      AA            assembly area
                     ADP            Army doctrine publication
                  AFTTP             Air Force tactics, techniques, and procedures
                     APL            assistant patrol leader
                ASCOPE              areas, structures, capabilities, organizations, people, and
                                    events
                      AT            antitank
                     ATP            Army techniques publication
                   ATTP             Army tactics, techniques, and procedures
                    BDM             bunker defeat munition
                  BEWL              biometric-enabled watchlist
                     BHL            battle handover line
                    BMP             Boyevaya Mashina Pekhotys
                  BRDM              Boyevaya Razvedyvatelnaya Dozornaya Mashina
                     BSA            brigade support area
                     BTR            bronyetransportyor
                     CAS            close air support
               CASEVAC              casualty evacuation
                   CBRN             chemical, biological, radiological, and nuclear
                   CCIR             commander’s critical information requirement
                   CCMS             close combat missile system


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        Glossary



                        CCP    casualty collection point
                     CGTTP     Coast Guard tactics, techniques, and procedures
                        CLS    combat lifesaver
                        CLU    command launch unit
                       COA     course of action
                         CS    confined space
                         DA    Department of the Army
                     DA Pam    Department of Army pamphlet
                         DD    Department of Defense
                       DLIC    detachment left in contact
                       DOD     Department of Defense
                      DODD     Department of Defense Directive
                   DRAW-D      defend, reinforce, attack, withdraw, or delay
                     EMCON     emission control
                         EP    electromagnetic protection
                        EW     electromagnetic warfare
                     FAC (A)   forward air controller (airborne)
                       FIST    fire support team
                      FLOT     forward line of own troops
                         FM    field manual
                         FO    forward observer
                        FPF    final protective fire
                        FPL    final protective line
               FRAGORD         fragmentary order
                     GOTWA     going, others, time, what, actions
                        GPS    Global Positioning System
                       GTA     graphic training aid
                      GTAO     graphic terrain analysis overlay
                         HE    high explosive
                      HEAT     high explosive antitank
                      HEDP     high explosive dual purpose
                   HOPE-LW     higher, operational, planning, enemy, light/weather
                       IBCT    Infantry brigade combat team
                       IPOE    intelligence preparation of the operational environment


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                                                                                 Glossary



                     JP       joint publication
                 JSLIST       joint service lightweight integrated suit technology
                   JTAC       joint terminal attack controller
                  LACE        liquid, ammunition, casualties, and equipment
                   LAW        light antitank weapon
                     LC       line of contact
                     LD       line of departure
                    LOA       limit of advance
               LOGSTAT        logistics status
                    LRP       logistics release point
                MAAWS         Multi-role Antiarmor, Antipersonnel Weapon System
                  MCOO        modified combined obstacle overlay
                  MCRP        Marine Corps reference publication
                  MCTP        Marine Corps training publication
                 MCWP         Marine Corps warfighting publication
              MEDEVAC         medical evacuation
             METT-TC (I)      mission, enemy, terrain and weather, troops and support
                              available, time available, civil considerations, and
                              informational considerations
                    mm        millimeter
                  MOPP        mission-oriented protective posture
                   MTF        medical treatment facility
                    NAI       named area of interest
                   NTTP       Navy tactics, techniques, and procedures
                 OAKOC        observation and fields of fire, avenues of approach, key
                              terrain, obstacles, and cover and concealment
                   OHC        overhead cover
                 OPORD        operation order
                    ORP       objective rally point
                   PACE       primary, alternate, contingency, and emergency
                    PCC       precombat check
                    PCI       precombat inspection
                     PD       point of departure
                    PDF       principal direction of fire
                    PIR       priority intelligence requirement

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        Glossary



                       PLD              probable line of deployment
                       PPEP             personal protective equipment posture
                       RFL              restrictive fire line
                        RM              risk management
                       ROE              rules of engagement
                         RS             reduced sensitivity
                       RTO              radiotelephone operator
                         S-2            battalion or brigade intelligence staff officer
                     SALUTE             size, activity, location, unit, time, and equipment
                       SDM              squad-designated marksman
                     SITEMP             situation template
                       SLM              shoulder-launched munition
                        SOP             standard operating procedure
                        STP             Soldier training publication
                       TAA              tactical assembly area
                         TC             training circular
                      TCCC              tactical combat casualty care
                        TLP             troop leading procedures
                        TM              technical manual
                       TRP              target reference point
                        U.S.            United States
               WARNORD                  warning order
                       WCS              weapons control status
                        WP              white phosphorous

          SECTION II – TERMS
        actions on contact
                 A process to help leaders understand what is happening and to take action.
                 (FM 3-90)
        air-ground operations
                The simultaneous or synchronized employment of ground forces with aviation
                maneuver and fires to seize, retain, and exploit the initiative. (FM 3-04)
        air movement
                Air transport of units, personnel, supplies, and equipment including airdrops and
                air landings. (JP 3-36)


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                                                                                               Glossary



         alternate position
                 A defensive position that the commander assigns to a unit or weapon system for
                 occupation when the primary position becomes untenable or unsuitable for
                 carrying out the assigned task. (FM 3-90)
         ambush
                   A variation of attack from concealed positions against a moving or temporarily
                   halted enemy. (FM 3-90)
         approach march
                The advance of a combat unit when direct contact with the enemy is intended.
                (FM 3-90)
         area defense
                 A type of defensive operation that concentrates on denying enemy forces access to
                 designated terrain for a specific time rather than destroying the enemy outright.
                 (ADP 3-90)
         area of influence
                  An area inclusive of and extending beyond an operational area wherein a
                  commander is capable of direct influence by maneuver, fire support, and
                  information normally under the commander’s command or control. (JP 3-0)
         area of interest
                  That area of concern to the commander, including the area of influence, areas
                  adjacent to it, and extending into enemy territory. (JP 3-0)
         area reconnaissance
                 A form of reconnaissance operation that focuses on obtaining detailed information
                 about the terrain or enemy activity within a prescribed area. (FM 3-90)
         area security
                 A type of security operation conducted to protect friendly forces, lines of
                 communications, installation routes and actions within a specific area. (FM 3-90)
         assailable flank
                  A flank exposed to attack or envelopment. (ADP 3-90)
         assault
                   (Army) A short and violent well-ordered attack against a local objective.
                   (FM 3-90)
         assault position
                  A covered and concealed position short of the objective from which final
                  preparations are made to assault the objective. (ADP 3-90)
         assembly area
                An area a unit occupies to prepare for an operation. (FM 3-90)




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        Glossary



        attack
                   A type of offensive operation that defeats enemy forces, seizes terrain, or secures
                   terrain. (FM 3-90)
        attack by fire
                A tactical mission task using direct and indirect fires to engage an enemy from a
                distance. (FM 3-90)
        attack by fire position
                The general position from which a unit performs the tactical task of attack by fire.
                (ADP 3-90)
        attack position
                (Army) The last position an attacking force occupies or passes through before
                crossing the line of departure. (ADP 3-90)
        avenue of approach
                A path used by an attacking force leading to its objective or to key terrain.
                Avenues of approach exist in all domains. (ADP 3-90)
        basic load
                 The quantity of supplies required to be on hand within, and moved by a unit or
                 formation, expressed according to the wartime organization of the unit or
                 formation and maintained at the prescribed levels. (JP 4-09)
        battle drill
                 Rehearsed and well understood actions made in response to common battlefield
                 occurrences. (ADP 3-90)
        battle handover
                 A coordinated mission between two units that transfers responsibility for fighting
                 an enemy force from one unit to another. (FM 3-90)
        battle handover line
                 A designated phase line where responsibility transitions from the stationary force
                 to the moving force and vice versa. (ADP 3-90)
        battle position
                 A defensive location oriented on a likely enemy avenue of approach. (ADP 3-90)
        block
                   1. A tactical mission task that denies the enemy access to an area or an avenue of
                   approach. (FM 3-90) 2. An obstacle effect that integrates fire planning and
                   obstacle effort to stop an attacker along a specific avenue of approach or prevent
                   the attacking force from passing through an engagement area. (FM 3-90)
        bounding overwatch
               A movement technique used when contact with enemy forces is expected.
               (FM 3-90)



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         breach
                    1. A tactical mission task in which a unit breaks through or establishes a passage
                    through an enemy obstacle. (FM 3-90) 2. A synchronized combined arms activity
                    under the control of the maneuver commander conducted to allow maneuver
                    through an obstacle. (ATP 3-90.4)
         breach area
                 A defined area where a breach occurs. (ATP 3-90.4)
         bypass
                    A tactical mission task in which a unit deliberately avoids contact with an obstacle
                    or enemy force. (FM 3-90)
         bypass criteria
                 Measures established by higher echelon headquarters that specify the conditions
                 and size under which enemy units and contact may be avoided. (FM 3-90)
         call for fire
                   A standardized request for fire containing data necessary for obtaining the
                   required fire on a target. (FM 3-09)
         canalize
                    (Army) A tactical mission task in which a unit restricts enemy movement to a
                    narrow zone. (FM 3-90)
         casualty evacuation
                 (Army) The movement of casualties aboard nonmedical vehicles or aircraft
                 without en route medical care. (FM 4-02)
         checkpoint
                A predetermined point on the ground used to control movement, tactical
                maneuver, and orientation. (FM 3-90)
         clear
                    A tactical mission task in which a unit eliminates all enemy forces within an
                    assigned area. (FM 3-90)
         close air support
                  Air action by aircraft against hostile targets that are in close proximity to friendly
                  forces and that require detailed integration of each air mission with the fire and
                  movement of those forces. (JP 3-09.3)
         close combat
                 Warfare carried out on land in a direct-fire fight, supported by direct and indirect
                 fires and other assets. (ADP 3-0)
         combat load
                 The minimum mission-essential equipment and supplies as determined by the
                 commander responsible for carrying out the mission, required for Soldiers to fight
                 and survive immediate combat operations. (FM 4-40)


                                                   ATP 3-21.8                               Glossary-7




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        Glossary



        combat outpost
               A reinforced observation post capable of conducting limited combat operations.
               (FM 3-90)
        *combat patrol
               A patrol that provides security and harasses, destroys, or captures enemy troops,
               equipment, or installations.
        combat power
               (Joint) The total means of destructive and disruptive force that a military
               unit/formation can apply against an enemy at a given time. (JP 3-0)
        combined arms
               The synchronized and simultaneous application of arms to achieve an effect
               greater than if each element was used separately or sequentially. (ADP 3-0)
        command and control
              The exercise of authority and direction by a properly designated commander over
              assigned and attached forces in the accomplishment of the mission. (JP 1, Vol 2)
        command and control warfighting function
              The related tasks and a system that enable commanders to synchronize and
              converge all elements of combat power. (ADP 3-0)
        commander’s intent
              A clear and concise expression of the purpose of an operation and the desired
              objectives and military end state. (JP 3-0)
        concealment
                Protection from observation or surveillance. (FM 3-96)
        concept of operations
                (Army) A statement that directs the manner in which subordinate units cooperate
                to accomplish the mission and establishes the sequence of actions the force will
                use to achieve the end state. (ADP 5-0)
        confirmation brief
               A brief subordinate leaders give to the higher commander immediately after the
               operation order is given to confirm understanding. (ADP 5-0)
        consolidate
                To organize and strengthen a captured position to use it against the enemy.
                (FM 3-90)
        contact point
                In land warfare, a point on the terrain, easily identifiable, where two or more units
                are required to make contact. (JP 3-50)
        contain
                   A tactical mission task in which a unit stops, holds, or surrounds an enemy force.
                   (FM 3-90)

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                                                                                               Glossary



         control
                   (Army) A tactical mission task in which a unit maintains physical influence over
                   an assigned area. (FM 3-90)
         conventional warfare
                 A violent struggle for domination between nation-states or coalitions of nation-
                 states. (FM 3-0)
         coordination point
                 A point that indicates a specific location for the coordination of tactical actions
                 between adjacent units. (FM 3-90)
         cordon and search
                 A variation of movement to contact where a friendly force isolates and searches a
                 target area. (FM 3-90)
         counterattack
                 A variation of attack by a defending force against an attacking enemy force.
                 (FM 3-90)
         countermobility
                A set of combined arms activities that use or enhance the effects of natural and
                man-made obstacles to prevent the enemy freedom of movement and maneuver.
                (ATP 3-90.8)
         counterreconnaissance
                 A tactical mission task that encompasses all measures taken by a unit to counter
                 enemy reconnaissance and surveillance efforts. (FM 3-90)
         cover
                   (Army) 1. Protection from the effects of fires. (FM 3-96) 2. A type of security
                   operation done independent of the main body to protect them by fighting to gain
                   time while preventing enemy ground observation of and direct fire against the
                   main body. (ADP 3-90)
         cyberspace operations
                 The employment of cyberspace capabilities where the primary purpose is to
                 achieve objectives in or through cyberspace. (JP 3-0)
         deception means
                 Methods, resources, and techniques that can be used to convey information to the
                 deception target. (JP 3-13.4)
         decisive point
                  Key terrain, key event, critical factor, or function that, when acted upon, enables
                  commanders to gain a marked advantage over an enemy or contribute materially
                  to achieving success. (JP 5-0)
         decisive terrain
                  Key terrain whose seizure and retention is mandatory for successful mission
                  accomplishment. (ADP 3-90)

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        Glossary



        decisively engaged
                 A fully committed force or unit that cannot maneuver or extricate itself.
                 (FM 3-90)
        defeat
                   To render a force incapable of achieving its objectives. (ADP 3-0)
        defeat in detail
                 Concentrating overwhelming combat power against separate parts of a force rather
                 than defeating the entire force at once. (ADP 3-90)
        defensive operation
                An operation to defeat an enemy attack, gain time, economize forces, and develop
                conditions favorable for offensive or stability operations. (ADP 3-0)
        delay
                   When a force under pressure trades space for time by slowing down the enemy’s
                   momentum and inflicting maximum damage on enemy forces without becoming
                   decisively engaged. (ADP 3-90)
        delay line
                 A phase line over which an enemy is not allowed to cross before a specific date
                 and time or enemy condition. (FM 3-90)
        deliberate operation
                An operation in which the tactical situation allows the development and
                coordination of detailed plans, including multiple branches and sequels.
                (ADP 3-90)
        demonstration
               (Army) A variation of tactical deception used as a show of force in an area where
               a unit does not seek a decision and attempts to mislead an adversary. (FM 3-90)
        deny
                   A task to hinder or prevent the enemy from using terrain, space, personnel,
                   supplies, or facilities. (ATP 3-21.20)
        destroy
                   A tactical mission task that physically renders an enemy force combat-ineffective
                   until reconstituted. (FM 3-90)
        detachment left in contact
               An element left in contact as part of the previously designated security force while
               the main body conducts its withdrawal. (FM 3-90)
        directed obstacle
                An obstacle directed by a higher commander as a specified task to a subordinate
                unit. (ATP 3-90.8)




        Glossary-10                               ATP 3-21.8




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         disengage
                 A tactical mission task in which a unit breaks contact with an enemy to conduct
                 another mission or to avoid becoming decisively engaged. (FM 3-90)
         disengagement criteria
                 Protocols that specify those circumstances where a friendly force must break
                 contact with the direct fire and observed indirect fire to avoid becoming decisively
                 engaged or to preserve friendly combat power. (FM 3-90)
         disengagement line
                 A phase line located on identifiable terrain that, when crossed by the enemy,
                 signals to defending elements that it is time to displace to their next position.
                 (ADP 3-90)
         dismounted movement
                A movement of troops and equipment mainly by foot, with limited support by
                vehicles. (FM 3-90)
         disrupt
                   1. A tactical mission task in which a unit upsets an enemy’s formation or tempo
                   and causes the enemy force to attack prematurely or in a piecemeal fashion.
                   (FM 3-90) 2. An obstacle effect that focuses fire planning and obstacle effort to
                   cause the enemy to break up its formation and tempo, interrupt its timetable,
                   commit breaching assets prematurely, and attack in a piecemeal effort. (FM 3-90)
         domain
                   A physically defined portion of an operational environment requiring a unique set
                   of warfighting capabilities and skills. (FM 3-0)
         double envelopment
                 A variation of envelopment where forces simultaneously attack along both flanks
                 of an enemy force. (FM 3-90)
         dynamic targeting
                Targeting that prosecutes targets identified too late or not selected for action in
                time to be included in deliberate targeting. (JP 3-60)
         electromagnetic protection
                 (Joint) Division of electromagnetic warfare involving actions taken to protect
                 personnel, facilities, and equipment from any effects of friendly or enemy use of
                 the electromagnetic spectrum that degrade, neutralize, or destroy friendly combat
                 capability. (JP 3-85)
         electromagnetic warfare
                 Military action involving the use of electromagnetic and directed energy to control
                 the electromagnetic spectrum or to attack the enemy. (JP 3-85)




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        Glossary



        emission control
                The selective and controlled use of electromagnetic, acoustic, or other emitters to
                optimize command and control capabilities while minimizing, for operations
                security: a. detection by enemy sensors, b. mutual interference among friendly
                systems, and/or c. enemy interference with the ability to execute a military
                deception plan. (JP 3-85)
        enabling operation
                An operation that sets the friendly conditions required for mission
                accomplishment. (FM 3-90)
        encirclement
                Where one force loses its freedom of maneuver because an opposing force is able
                to isolate it by controlling all ground lines of communications and reinforcement.
                (FM 3-90)
        end state
                 The set of required conditions that defines achievement of the commander’s
                 objectives. (JP 3-0)
        enemy
                   A party identified as hostile against which the use of force is authorized.
                   (ADP 3-0)
        engagement area
               An area where the commander masses effects to contain and destroy an enemy
               force. (FM 3-90)
        engagement criteria
               Protocols that specify those circumstances for initiating engagement with an
               enemy force. (FM 3-90)
        engagement priority
               Identifies the order in which the unit engages enemy systems or functions.
               (FM 3-90)
        envelopment
               A form of maneuver in which an attacking force avoids an enemy’s principal
               defense by attacking along an assailable flank. (FM 3-90)
        exfiltrate
                 A tactical mission task in which a unit removes Soldiers or units from areas under
                 enemy control by stealth, deception, surprise, or clandestine means. (FM 3-90)
        exploitation
                 (Army) A type of offensive operation following a successful attack to disorganize
                 the enemy in depth. (FM 3-90)
        feint
                   A variation of tactical deception that makes contact solely to deceive the
                   adversary as to the location, time of attack or both. (FM 3-90)

        Glossary-12                                ATP 3-21.8




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         field of fire
                   The area that a weapon or group of weapons may cover effectively from a given
                   position. (FM 3-90)
         final coordination line
                  A phase line close to the enemy position used to coordinate the lifting or shifting
                  of supporting fires with the final deployment of maneuver elements. (ADP 3-90)
         final protective fire
                  An immediately available, prearranged barrier of fire designed to impede enemy
                  movement across defensive lines or areas. (JP 3-09.3)
         final protective line
                  A selected line of fire where an enemy assault is to be checked by interlocking fire
                  from all available weapons and obstacles. (FM 3-90)
         fire and movement
                  The concept of applying fires from all sources to suppress, neutralize, or destroy
                  the enemy, and the tactical movement of combat forces in relation to the enemy
                  (as components of maneuver, applicable at all echelons). At the squad level, fire
                  and maneuver entails a team placing suppressive fire on the enemy as another
                  team moves against or around the enemy. (FM 3-96)
         fire superiority
                  The dominating fires of one force over another force that permits that force to
                  maneuver at a given time and place without prohibitive interference by the other.
                  (FM 3-90)
         fix
                  1. A tactical mission task in which a unit prevents the enemy from moving from a
                  specific location for a specific period. (FM 3-90) 2. An obstacle effect that focuses
                  fire planning and obstacle effort to slow an attacker’s movement within a
                  specified area, normally an engagement area. (FM 3-90)
         fixing force
                  A force designated to supplement the striking force by preventing the enemy from
                  moving from a specific area for a specific time. (ADP 3-90)
         follow and assume
                 A tactical mission task in which a committed force follows and supports a lead
                 force conducting an offensive operation and continues mission if lead force cannot
                 continue. (FM 3-90)
         follow and support
                 A tactical mission task in which a committed force follows and supports a lead
                 force conducting an offensive operation. (FM 3-90)
         forced march
                 A march longer or faster than usual or in adverse conditions. (FM 3-90)



                                                 ATP 3-21.8                              Glossary-13




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        forms of maneuver
                Distinct tactical combinations of fire and movement with a unique set of doctrinal
                characteristics that differ primarily in the relationship between the maneuvering
                force and the enemy. (ADP 3-90)
        forward boundary
               A boundary that delineates the forward edge of a unit’s area of operation.
               (FM 3-90)
        forward edge of the battle area
               The foremost limits of a series of areas in which ground combat units are
               deployed to coordinate fire support, the positioning of forces, or the maneuver of
               units, excluding areas in which covering or screening forces are operating.
               (JP 3-09.3)
        forward line of own troops
               A line that indicates the most forward positions of friendly forces in any kind of
               military operation at a specific time. (FM 3-90)
        forward passage of lines
               Occurs when a unit passes through another unit’s positions while moving toward
               the enemy. (ADP 3-90)
        fragmentary order
               An abbreviated operation order issued as needed to change or modify an order or
               to execute a branch or sequel. (JP 5-0)
        fratricide
                 The unintentional killing or wounding of friendly or neutral personnel by friendly
                 firepower. (ADP 3-37)
        frontal attack
                 A form of maneuver in which an attacking force seeks to destroy a weaker enemy
                 force or fix a larger enemy force in place over a broad front. (FM 3-90)
        gap
                   1. An area free of obstacles that enables forces to maneuver in a tactical
                   formation. (FM 3-90) 2. A ravine, mountain pass, river, or other terrain feature
                   that presents an obstacle that may be bridged. (ATP 3-90.4)
        guard
                   A type of security operation done to protect the main body by fighting to gain
                   time while preventing enemy ground observation of and direct fire against the
                   main body. (ADP 3-90)
        hasty operation
                An operation in which a commander directs immediately available forces, using
                fragmentary orders, to perform tasks with minimal preparation, trading planning
                and preparation time for speed of execution. (ADP 3-90)



        Glossary-14                               ATP 3-21.8




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         high-payoff target
                 A target whose loss to the enemy will significantly contribute to the success of the
                 friendly course of action. (JP 3-60)
         high-value target
                 A target the enemy commander requires for the successful completion of the
                 mission. (JP 3-60)
         human dimension
                Encompasses people and the interaction between individuals and groups, how
                they understand information and events, make decisions, generate will, and act
                within an operational environment. (FM 3-0)
         infiltration
                   A form of maneuver in which an attacking force conducts undetected movement
                   through or into an area occupied by enemy forces. (FM 3-90)
         infiltration lane
                   A control measure that coordinates forward and lateral movement of infiltrating
                   units and fixes fire planning responsibilities. (FM 3-90)
         information dimension
                The content and data that individuals, groups, and information systems
                communicate and exchange, as well as the analytics and technical processes used
                to exchange information within an operational environment. (FM 3-0)
         information environment
                The aggregate of social, cultural, linguistic, psychological, technical, and physical
                factors that affect how humans and automated systems derive meaning from, act
                upon, and are impacted by information, including the individuals, organizations,
                and systems that collect, process, disseminate, or use information. (JP 3-04)
         informational considerations
                Those aspects of the human, information, and physical dimensions that affect how
                humans and automated systems derive meaning from, use, act upon, and are
                impacted by information. (FM 3-0)
         interdict
                  A tactical mission task in which a unit prevents, disrupts, or delays the enemy’s
                  use of an area or route in any domain. (FM 3-90)
         isolate
                   A tactical mission task in which a unit seals off an enemy, physically and
                   psychologically, from sources of support and denies it freedom of movement.
                   (FM 3-90)
         key terrain
                 (Army) An identifiable characteristic whose seizure or retention affords a marked
                 advantage to either combatant. (ADP 3-90)



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        Glossary



        kill zone
                    The location where fires are concentrated in an ambush. (FM 3-90)
        knowledge management
               The process of enabling knowledge flow to enhance shared understanding,
               learning, and decision making. (ADP 6-0)
        lateral boundary
                 A boundary defining the left or right limit of a unit’s assigned area. (FM 3-90)
        leadership
                The activity of influencing people by providing purpose, direction, and motivation
                to accomplish the mission and improve the organization. (ADP 6-22)
        limit of advance
                  A phase line used to control forward progress of the attack. (ADP 3-90)
        line of contact
                  A general trace delineating the locations where friendly and enemy forces are
                  engaged. (FM 3-90)
        line of departure
                 In land warfare, a line designated to coordinate the departure of attack elements.
                 (JP 3-31)
        linkup
                    A type of enabling operation that involves the meeting of friendly ground forces,
                    which occurs in a variety of circumstances. (FM 3-90)
        linkup point
                A designated place where two forces are scheduled to meet. (FM 3-90)
        local security
                 The low-level security activities conducted near a unit to prevent surprise by the
                 enemy. (ADP 3-90)
        main battle area
               The area where the commander intends to deploy the bulk of their unit to defeat
               an attacking enemy. (FM 3-90)
        main effort
                A designated subordinate unit whose mission at a given point in time is most
                critical to overall mission success. (ADP 3-0)
        maneuver
              (Army) Movement in conjunction with fires. (ADP 3-90)
        march column
               All march serials using the same route for a single movement under control of a
               single commander. (FM 3-90)



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         march serial
                A subdivision of a march column organized under one commander. (FM 3-90)
         march unit
                A subdivision of a march serial. (FM 3-90)
         medical evacuation
                 The timely and effective movement of the wounded, injured, or ill to and between
                 medical treatment facilities on dedicated and properly marked medical platforms
                 with en route care provided by medical personnel. (ATP 4-02.2)
         meeting engagement
                 A combat action that occurs when a moving force engages an enemy at an
                 unexpected time and place. (FM 3-90)
         mission
                   The essential task or tasks, together with the purpose, that clearly indicates the
                   action to be taken and the reason for the action. (JP 3-0)
         mission command
                 (Army) The Army’s approach to command and control that empowers subordinate
                 decision making and decentralized execution appropriate to the situation.
                 (ADP 6-0)
         mission orders
                 Directives that emphasize to subordinates the results to be attained, not how they
                 are to achieve them. (ADP 6-0)
         mission statement
                 A short sentence or paragraph that describes the organization’s essential task(s),
                 purpose, and action containing the elements of who, what, when, where, and why.
                 (JP 5-0)
         mobile defense
                 A type of defensive operation that concentrates on the destruction or defeat of the
                 enemy through a decisive attack by a striking force. (ADP 3-90)
         mounted movement
                The movement of troops and equipment by combat and tactical vehicles.
                (FM 3-90)
         movement
               The positioning of combat power to establish the conditions for maneuver.
               (ADP 3-90)
         movement formation
               An ordered arrangement of forces for a specific purpose and describes the general
               configuration of a unit on the ground. (ADP 3-90)




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        Glossary



        movement to contact
              (Army) A type of offensive operation designed to establish or regain contact to
              develop the situation. (FM 3-90)
        multidomain operations
               The combined arms employment of joint and Army capabilities to create and
               exploit relative advantages to achieve objectives, defeat enemy forces, and
               consolidate gains on behalf of joint force commanders. (FM 3-0)
        named area of interest
               A geospatial area or systems node or link against which information that will
               satisfy a specific information requirement can be collected, usually to capture
               indications of enemy and adversary courses of action. (JP 2-0)
        networked munitions
               Remotely controlled, interconnected, weapon systems designed to provide rapidly
               emplaced ground-based countermobility and protection capability through
               scalable application of lethal and nonlethal means. (JP 3-15)
        neutralize
                A tactical mission task in which a unit renders the enemy incapable of interfering
                with an operation. (FM 3-90)
        nontactical movement
                A movement in which troops and vehicles are arranged to expedite their
                movement and conserve time and energy when no enemy ground interference is
                anticipated. (FM 3-90)
        objective area
                A geographical area, defined by competent authority, within which is located an
                objective to be captured or reached by the military forces. (JP 3-06)
        objective rally point
                An easily identifiable point where all elements of the infiltrating unit assemble
                and prepare to attack the objective. (ADP 3-90)
        obscuration
                The employment of materials into the environment that degrade optical and/or
                electro-optical capabilities within select portions of the electromagnetic spectrum
                in order to deny acquisition by or deceive an enemy or adversary. (ATP 3-11.50)
        observation post
                A position from which observations are made or fires are directed and adjusted.
                (FM 3-90)
        occupy
                   A tactical mission task in which a unit moves into an area to control it without
                   enemy opposition. (FM 3-90)




        Glossary-18                               ATP 3-21.8




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         offensive operation
                  An operation to defeat or destroy enemy forces and gain control of terrain,
                  resources, and population centers. (ADP 3-0)
         operation
                 A sequence of tactical actions with a common purpose or unifying theme.
                 (JP 1, Vol 1)
         operational environment
                 The aggregate of the conditions, circumstances, and influences that affect the
                 employment of capabilities and bear on the decisions of the commander. (JP 3-0)
         operational framework
                 A cognitive tool used to assist commanders and staffs in clearly visualizing and
                 describing the application of combat power in time, space, purpose, and resources
                 in the concept of operations. (ADP 1-01)
         operations in depth
                 The simultaneous application of combat power throughout an area of operations.
                 (ADP 3-90)
         operations process
                 The major command and control activities performed during operations: planning,
                 preparing, executing, and continuously assessing the operation. (ADP 5-0)
         operations security
                 A capability that identifies and controls critical information, indicators of friendly
                 force actions attendant to military operations, and incorporates countermeasures to
                 reduce the risk of an adversary exploiting vulnerabilities. (JP 3-13.3)
         overwatch
                A task that positions an element to support the movement of another element with
                immediate fire. (ATP 3-21.10)
         passage lane
                 A lane through an obstacle that provides safe passage for a passing force.
                 (FM 3-90)
         passage of lines
                 An operation in which a force moves forward or rearward through another force’s
                 combat positions with the intention of moving into or out of contact with the
                 enemy. (JP 3-18)
         passage point
                 A designated place where passing units pass through the stationary unit.
                 (FM 3-90)
         *patrol
                   A detachment sent out by a larger unit to conduct a specific mission that operates
                   semi-independently and returns to the main body upon completion of mission.


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        Glossary



        penetration
                A form of maneuver in which a force attacks on a narrow front. (FM 3-90)
        physical dimension
                The material characteristics and capabilities, both natural and manufactured,
                within an operational environment. (FM 3-0)
        physical security
                That part of security concerned with physical measures designed to safeguard
                personnel; to prevent unauthorized access to equipment, installations, material,
                and documents; and to safeguard them against espionage, sabotage, damage, and
                theft. (JP 3-0)
        point of breach
                 The location at an obstacle where the creation of a lane is being attempted.
                 (ATP 3-90.4)
        point of departure
                 The point where the unit crosses the line of departure and begins moving along a
                 direction of attack. (ADP 3-90)
        point of penetration
                 (Army) Point of penetration is the location, identified on the ground, where the
                 commanders concentrate their efforts to seize a foothold on the far side objective.
                 (ATP 3-90.4)
        primary position
               The position that covers the enemy’s most likely avenue of approach into the
               assigned area. (FM 3-90)
        probable line of deployment
               A phase line that designates the location where the commander intends to deploy
               the unit into assault formation before beginning the assault. (ADP 3-90)
        pursuit
                   A type of offensive operation to catch or cut off a disorganized hostile force
                   attempting to escape, with the aim of destroying it. (FM 3-90)
        quartering party
                A group dispatched to a new assigned area in advance of the main body.
                (FM 3-90)
        quick reaction force
                A commander designated force to respond to threat attacks or emergencies.
                (FM 3-90)
        raid
                   (Army) A variation of attack to temporarily seize an objective with a planned
                   withdrawal. (FM 3-90)



        Glossary-20                               ATP 3-21.8




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         rally point
                  An easily identifiable point on the ground at which units can reassemble and
                  reorganize if they become dispersed. (FM 3-90)
         rear boundary
                 A boundary that delineates the rearward limits of a unit’s assigned area.
                 (FM 3-90)
         rearward passage of lines
                Occurs when a unit passes through another unit’s positions while moving away
                from the enemy. (ADP 3-90)
         reconnaissance
                 A mission undertaken to obtain information about the activities and resources of
                 an enemy or adversary, or to secure data concerning the meteorological,
                 hydrographic, geographic, or other characteristics of a particular area, by visual
                 observation or other detection methods. (JP 2-0)
         reconnaissance by fire
                 A technique in which a unit fires on a suspected enemy position. (FM 3-90)
         reconnaissance objective
                 The most important result desired from that specific reconnaissance effort.
                 (FM 3-90)
         reduce
                  A tactical mission task in which a unit destroys an encircled or bypassed enemy
                  force. (FM 3-90)
         reduction
                 The creation of lanes through a minefield or obstacle to enable passage of the
                 attacking ground force. (JP 3-15)
         reduction area
                 A number of adjacent points of breach that are under the control of the breaching
                 commander. (ATP 3-90.4)
         rehearsal
                 A session in which the commander and staff or unit practices expected actions to
                 improve performance during execution. (ADP 5-0)
         release point
                  A designated place on a route where elements are released from centralized
                  control. (FM 3-90)
         relief in place
                   An operation in which, by direction of higher authority, all or part of a unit is
                   replaced in an area by the incoming unit and the responsibilities of the replaced
                   elements for the mission and the assigned zone of operations are transferred to the
                   incoming unit (JP 3-07.3)


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        Glossary



        reorganization
                All measures taken by the commander to maintain unit combat effectiveness or
                return it to a specified level of combat capability. (ATP 3-94.4)
        reserved obstacle
                (Army) Obstacles of any type, for which the commander restricts execution
                authority. (ATP 3-90.8)
        retain
                   A tactical mission task in which a unit prevents enemy occupation or use of
                   terrain. (FM 3-90)
        retirement
                When a force out of contact moves away from the enemy. (ADP 3-90)
        retrograde
                (Army) A type of defensive operation that involves organized movement away
                from the enemy. (ADP 3-90)
        retrograde movement
                Any movement to the rear or away from the enemy. (FM 3-90)
        risk management
                The process to identify, assess, and mitigate risks and make decisions that balance
                risk cost with mission benefits. (JP 3-0)
        route
                   The prescribed course to be traveled from a point of origin to a destination.
                   (FM 3-90)
        route reconnaissance
                A form of reconnaissance operation to obtain detailed information of a specified
                route and all terrain from which the enemy could influence movement along that
                route. (FM 3-90)
        scheme of fires
               (Joint) The detailed, logical sequence of targets and fire support events to find and
               engage targets to support the commander’s objectives. (JP 3-09)
        screen
                   A type of security operation that primarily provides early warning to the protected
                   force. (ADP 3-90)
        search and attack
                A variation of a movement to contact where a friendly force conducts coordinated
                attacks to defeat a distributed enemy force. (FM 3-90)
        sector
                   An operational area assigned to a unit in the defense that has rear and lateral
                   boundaries and interlocking fires. (FM 3-0)


        Glossary-22                                ATP 3-21.8




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         sector of fire
                  That area assigned to a unit or weapon system in which it will engage the enemy
                  according to the established engagement priorities. (FM 3-90)
         secure
                    A tactical mission task in which a unit prevents the enemy from damaging or
                    destroying a force, facility, or geographical location. (FM 3-90)
         security
                    Measures taken by a military unit, activity, or installation to protect itself against
                    all acts designed to, or which may, impair its effectiveness. (JP 3-10)
         security area
                  That area occupied by a unit’s security elements and includes the areas of
                  influence of those security elements. (ADP 3-90)
         security objective
                  The most important entity to protect during that specific security effort. (FM 3-90)
         security operations
                  Those operations performed by commanders to provide early and accurate
                  warning of enemy operations, to provide the forces being protected with time and
                  maneuver space within which to react to the enemy, and to develop the situation
                  to allow commanders to effectively use their protected forces. (ADP 3-90)
         seize
                    (Army) A tactical mission task in which a unit takes possession of a designated
                    area by using overwhelming force. (FM 3-90)
         sequential relief in place
                 Occurs when each element within the relieved unit is relieved in successions, from
                 right to left or left to right, depending on how it is deployed. (ADP 3-90).
         simultaneous relief in place
                 Occurs when all elements are relieved at the same time. (ADP 3-90)
         single envelopment
                  A variation of envelopment where a force attacks along one flank of an enemy
                  force. (FM 3-90)
         situational obstacle
                  An obstacle that a unit plans and possibly prepares prior to starting an operation,
                  but does not execute unless specific criteria are met. (ATP 3-90.8)
         spoiling attack
                  A variation of an attack employed against an enemy preparing for an attack.
                  (FM 3-90)
         staggered relief in place
                 Occurs when a commander relieves each element in a sequence determined by the
                 tactical situation, not its geographical orientation. (ADP 3-90)

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        Glossary



        start point
                 A designated place on a route where elements fall under the control of a
                 designated march commander. (FM 3-90)
        stay-behind operation
                An operation in which a unit remains in position to conduct a specified mission
                while the remainder of the force withdraws or retires from an area. (FM 3-90)
        striking force
                 A dedicated counterattack force in a mobile defense constituted with the bulk of
                 available combat power. (ADP 3-90)
        strong point
                A heavily fortified battle position tied to a natural or reinforcing obstacle to create
                an anchor for the defense or to deny the enemy decisive or key terrain.
                (ADP 3-90)
        subsequent position
               A position that a unit expects to move to during the course of battle. (FM 3-90)
        supplementary position
               A defensive position located within a unit’s assigned area that provides the best
               sectors of fire and defensive terrain along an avenue of approach that is not the
               primary avenue where the enemy is expected to attack. (FM 3-90)
        support by fire
                A tactical mission task in which a unit engages the enemy by direct fire in support
                of another maneuvering force. (FM 3-90)
        support by fire position
                The general position from which a unit performs the tactical mission task of
                support by fire. (ADP 3-90)
        supporting effort
                A designated subordinate unit with a mission that supports the success of the main
                effort. (ADP 3-0)
        suppress
                A tactical mission task in which a unit temporarily degrades a force or weapon
                system from accomplishing its mission. (FM 3-90)
        suppression
                (Joint) Temporary or transient degradation by an opposing force of the
                performance of a weapons system below the level needed to fulfill its mission
                objectives. (JP 3-01) (Army) In the context of the computed effects of field
                artillery fires, renders a target ineffective for a short period of time producing
                suppression of enemy air defenses at least 3-percent casualties or materiel
                damage. (FM 3-09)




        Glossary-24                              ATP 3-21.8




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                                                                                             Glossary



         surveillance
                  The systematic observation of aerospace, cyberspace, surface or subsurface areas,
                  places, persons, or things by visual, aural, electronic, photographic, or other
                  means. (JP 3-0)
         survivability
                 (Army, Marine Corps) A quality or capability of military forces which permits
                 them to avoid or withstand hostile actions or environmental conditions while
                 retaining the ability to fulfill their primary mission. (ATP 3-37.34)
         survivability operations
                 Those protection activities that alter the physical environment by providing or
                 improving cover, camouflage, and concealment. (ATP 3-37.34)
         sustainment
                 (Army) The provision of logistics, financial management, personnel services, and
                 health service support necessary to maintain operations until successful mission
                 completion. (ADP 4-0)
         tactical assembly area
                  An area that is generally out of the reach of light artillery and the location where
                  units make final preparations (precombat checks and inspections) and rest, prior to
                  moving to the line of departure. (JP 3-35)
         tactical mission task
                  The specific activity a unit performs while executing a tactical operation or form
                  of maneuver. (FM 3-90)
         tactical movement
                  A movement in which troops and vehicles are arranged to protect combat forces
                  during movement when a threat of enemy interference is possible. (FM 3-90)
         tactical road march
                   A rapid movement used to relocate units within an assigned area to prepare for
                   combat operations. (FM 3-90)
         tactics
                   (Army) The employment, ordered arrangement, and directed actions of forces in
                   relation to each other. (ADP 3-90)
         tailgate medical support
                  An economy of force device employed primarily to retain maximum mobility
                  during movement halts or to avoid the time and effort required to set up a formal,
                  operational treatment facility (for example, during rapid advance and retrograde
                  operations). (FM 4-02)
         target reference point
                  A predetermined point of reference, normally a permanent structure or terrain
                  feature that can be used when describing a target location. (JP 3-09.3)



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        Glossary



        tempo
                   The relative speed and rhythm of military operations over time with respect to the
                   enemy. (ADP 3-0)
        terminal attack control
                The authority to control the maneuver of and grant weapons release clearance to
                attacking aircraft. (JP 3-09.3)
        terrain management
                The process of allocating terrain by specifying locations for units and activities to
                deconflict activities that might interfere with each other. (FM 3-90)
        traveling
                 A movement technique used when speed is necessary and contact with enemy
                 forces is not likely. (FM 3-90)
        traveling overwatch
                 A movement technique used when contact with enemy forces is possible.
                 (FM 3-90)
        trigger line
                 A phase line located on identifiable terrain used to initiate and mass fires into an
                 engagement area at a predetermined range. (FM 3-90)
        troop leading procedures
                 A dynamic process used by small-unit leaders to analyze a mission, develop a
                 plan, and prepare for an operation. (ADP 5-0)
        troop movement
               The movement of Soldiers and units from one place to another by any available
               means. (FM 3-90)
        turn
                   An obstacle effect that integrates fire planning and obstacle effort to divert an
                   enemy formation from one avenue of approach to an adjacent avenue of approach
                   or into an engagement area. (FM 3-90)
        turning movement
                (Army) A form of maneuver in which the attacking force seeks to avoid the
                enemy’s principal defensive positions by attacking to the rear of their current
                positions forcing them to move or divert forces to meet the threat. (FM 3-90)
        vertical envelopment
                 A variation of envelopment where air-dropped or airlanded troops attack an
                 enemy forces rear, flank, or both. (FM 3-90)
        warfighting function
                A group of tasks and systems united by a common purpose that commanders use
                to accomplish missions and training objectives. (ADP 3-0)



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                                                                                               Glossary



         withdraw
                To disengage from an enemy force and move in a direction away from the enemy.
                (ADP 3-90)
         zone
                  An operational area assigned to a unit in the offense that only has rear and lateral
                  boundaries. (FM 3-0)
         zone reconnaissance
                 A form of reconnaissance operation that involves a directed effort to obtain
                 detailed information on all routes, obstacles, terrain, and enemy forces within a
                 zone defined by boundaries. (FM 3-90)




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